                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                           Civil Action No: ______
WALGREEN COMPANY,
                                           MDL 2724
           Plaintiff,
vs.                                        JURY TRIAL DEMANDED

ACTAVIS HOLDCO U.S., INC., ACTAVIS         FILED UNDER SEAL
PHARMA, INC., AKORN, INC., ALVOGEN INC.,
AMNEAL PHARMACEUTICALS, INC.,
AMNEAL PHARMACEUTICALS, LLC, APOTEX
CORP., AUROBINDO PHARMA USA, INC.,
BRECKENRIDGE PHARMACEUTICAL, INC.,
CAMBER PHARMACEUTICALS, INC., CITRON
PHARMA, LLC, DR. REDDY’S
LABORATORIES, INC., EMCURE
PHARMACEUTICALS, LTD., EPIC PHARMA,
LLC, FOUGERA PHARMACEUTICALS, INC.,
G&W LABORATORIES, INC., GENERICS
BIDCO I, LLC, GLENMARK
PHARMACEUTICALS INC., USA,
GREENSTONE LLC, HERITAGE
PHARMACEUTICALS, INC., HI-TECH
PHARMACAL CO., INC., HIKMA LABS, INC.,
HIKMA PHARMACEUTICALS, USA, INC.,
IMPAX LABORATORIES, INC., JUBILANT
CADISTA PHARMACEUTICALS, INC.,
LANNETT COMPANY, INC., LUPIN
PHARMACEUTICALS, INC., MAYNE PHARMA
USA INC., MALLINCKRODT INC.,
MALLINCKRODT LLC, MALLINCKRODT PLC;
MORTON GROVE PHARMACEUTICALS, INC.,
MYLAN PHARMACEUTICALS, INC., MYLAN,
INC., MYLAN N.V., OCEANSIDE
PHARMACEUTICALS, INC., PAR
PHARMACEUTICAL, INC., PERRIGO NEW
YORK, INC., PFIZER INC., PLIVA, INC.,
SANDOZ, INC., STRIDES PHARMA, INC., SUN
PHARMACEUTICAL INDUSTRIES, INC., TARO
PHARMACEUTICALS USA, INC., TELIGENT,
INC., TEVA PHARMACEUTICALS USA, INC.,
TORRENT PHARMA INC., UDL
LABORATORIES, INC., UPSHER-SMITH
LABORATORIES, LLC, VALEANT


                                    1
PHARMACEUTICALS NORTH AMERICA, LLC,
VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., VERSAPHARM,
INC.,WEST-WARD COLUMBUS, INC. WEST-
WARD PHARMACEUTICALS CORP.,
WOCKHARDT USA LLC, AND ZYDUS
PHARMACEUTICALS (USA) INC.

          Defendants.




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       Walgreen Company (“Walgreens”), files this Complaint under the antitrust laws of the

United States against Defendants Actavis Holdco U.S., Inc., Actavis Pharma, Inc., Akorn, Inc.,

Alvogen Inc., Amneal Pharmaceuticals, Inc., Amneal Pharmaceuticals, LLC, Apotex Corp.,

Aurobindo Pharma USA, Inc., Breckenridge Pharmaceutical, Inc., Camber Pharmaceuticals, Inc.,

Citron Pharma, LLC, Dr. Reddy’s Laboratories, Inc., Emcure Pharmaceuticals, Ltd., Epic Pharma,

LLC, Fougera Pharmaceuticals, Inc., G&W Laboratories, Inc., Generics Bidco I, LLC, Glenmark

Pharmaceuticals Inc., USA, Greenstone LLC, Heritage Pharmaceuticals, Inc., Hi-Tech Pharmacal

Co., Inc., Hikma Labs, Inc., Hikma Pharmaceuticals, USA, Inc., Impax Laboratories, Inc., Jubilant

Cadista Pharmaceuticals, Inc., Lannett Company, Inc., Lupin Pharmaceuticals, Inc., Mayne

Pharma USA Inc., Mallinckrodt Inc., Mallinckrodt LLC, Mallinckrodt plc, Morton Grove

Pharmaceuticals, Inc., Mylan Pharmaceuticals, Inc., Mylan, Inc., Mylan N.V., Oceanside

Pharmaceuticals, Inc., Par Pharmaceutical, Inc., Perrigo New York, Inc., Pfizer Inc., Pliva, Inc.,

Sandoz, Inc., Strides Pharma, Inc., Sun Pharmaceutical Industries, Inc., Taro Pharmaceuticals

USA, Inc., Teligent, Inc., Teva Pharmaceuticals USA, Inc., Torrent Pharma Inc., UDL

Laboratories, Inc., Upsher-Smith Laboratories, LLC, Valeant Pharmaceuticals North America,

LLC, Valeant Pharmaceuticals International, Inc., Versapharm, Inc., West-Ward Columbus, Inc.,

West-Ward Pharmaceuticals Corp., Wockhardt USA LLC, and Zydus Pharmaceuticals (USA)

Inc., (collectively “Defendants”), and alleges as follows:

I.     INTRODUCTION

       1.      This is a civil antitrust action against Defendants and their co-conspirators for

violating Section One of the Sherman Act, 15 U.S.C. § 1, by conspiring to fix, increase, stabilize,

or maintain prices of the specified generic pharmaceutical drugs. As a result of this unlawful

conspiracy, Plaintiff seeks damages against Defendants, jointly and severally, as provided in



                                                 1
Section 4 of the Clayton Act, 15 U.S.C. § 15, injunctive relief, and such other relief as provided

by law.

          2.   The existence of the conspiracy alleged in this Complaint is supported by, among

other facts, the fact that a number of Defendants have already admitted to its existence. For

example, Jeffrey Glazer (Heritage’s former CEO) and Jason Malek (Heritage’s former President),

have pled guilty to participating in a conspiracy to fix prices of “generic pharmaceutical products,”

including Glyburide and Doxycycline. Similarly, Armando Kellum, a Vice President of Sandoz

responsible for pricing of generic drugs, pled guilty to participating in a conspiracy to fix prices of

generic drugs including, but not limited to, Clobetasol and Nystatin. Additionally, Heritage,

Sandoz, Apotex, Taro, and Co-conspirator Rising Pharma have each entered into deferred

prosecution agreements that involved admissions that they collectively conspired to fix the prices

of Glyburide, Benazepril HCTZ, Pravastatin, Clobetasol, Desonide, Nystatin Triamcinolone,

Clotrimazole, Etodolac, Tobramycin, Carbamazepine and numerous additional generic drugs not

specified in their agreements with DOJ. Heritage also resolved False Claims Act claims brought

by the United States related to its price fixing of Hydralazine and Theophylline ER. By operation

of law, these guilty pleas and judicial admissions merely define the minimum parameters of the

generic drug price fixing conspiracy.

          3.   Indeed, other criminal actions brought by DOJ, along with the criminal enforcement

actions described above and other conduct alleged in this Complaint, demonstrate that the

conspiracy is broader than these companies and these specified drugs. The plea agreements and

deferred prosecution agreements mentioned above expressly implicate as co-conspirators Emcure,

Taro, Perrigo, Glenmark, and Teva. Further, additional criminal enforcement actions related to

this price-fixing conspiracy have been filed against Glenmark and Teva (in their corporate



                                                  2
capacities) and Ara Aprahamian, a senior executive at Taro. A Grand Jury found probable cause

that Aprahamian conspired to fix the prices of generic drugs, including (but not limited to)

Carbamazepine, Clobetasol, Clotrimazole, Desonide, Etodolac, Fluocinonide, Lidocaine, Nystatin

Triamcinolone, and Warfarin. Similarly, the indictment against Glenmark and Teva alleges that

they conspired to fix prices of Pravastatin, and that Teva also conspired to fix the prices of

Carbamazepine, Clotrimazole, Etodolac, Fluocinonide, Warfarin, Tobramycin, Nadolol,

Temozolomide, and also other unnamed generic drugs. Thus, the scope of the conspiracy

actionable in this civil antitrust action may be (and as alleged in this Complaint is) broader than

the judicial admissions to date. These admissions and pending criminal enforcement actions

establish that a conspiracy did exist.

       4.      In addition to the criminal enforcement actions, the Attorney General of

Connecticut and the Attorneys’ General of 48 additional jurisdictions (the “States”) have further

exposed collusion in the generic drug industry and the market-allocation and price-fixing scheme

as a result of evidence they received from Civil Investigative Demands. As detailed by the States,

the purpose of the conspiracy was to fix, maintain, increase, and stabilize prices – either for a

particular generic drug or any number of generic drugs. In this way, each conspiring manufacturer

would benefit from coordination as a whole, even if a manufacturer did not seek a market

allocation for a particular drug. Manufacturers implemented the conspiracy by refusing to bid for

a particular customer or by providing a pretextual bid that they knew would not be successful.

This prevented prices from declining.

       5.      Currently, the States are pursing claims against 30 generic drug manufacturers

alleging collusion that distorted the prices of approximately two hundred generic drugs. The

States’ investigation is ongoing.



                                                3
       6.      All of these criminal and civil enforcement actions arise from the same agreement

or understanding to restrain trade that is detailed in this Complaint and in which all Defendants

and their co-conspirators knowingly participated. Through this agreement or understanding,

Defendants implemented a series of rules to raise the price for every generic drug identified in this

Complaint. Pursuant to this agreement or understanding, every Defendant and co-conspirator was

entitled to its specified allocation of market share for each drug identified in this Complaint that it

manufactured. Further, when other Defendants in the market for a generic drug raised prices on

that drug, the rules of the overarching conspiracy provided that other Defendants would follow the

price increase and also not seek to add market share, which allowed the price increases to stick.

Indeed, through this industry-wide agreement, Defendants were also able to implement substantial

price increases that, in some instances, approached 5000% or more.

       7.      This agreement applied with full force to Walgreens. As one of the largest

purchasers of generic drugs in the country, the conspirators often speficially targeted Walgreens

by rigging bids and establishing pretexts not to bid, or not to bid aggressively, for its business.

       8.      Throughout the conspiracy, Defendants would speak in person and by phone and

determine among themselves who would bid for Walgreens business, and who would not.

                    For example, during a phone call in mid-2009,                   of Taro and CW-

                     4 of Sandoz discussed plans to allocate the market for Carbamazepine ER.

                     As the first generic manufacturer to enter the market, the rules of the

                     conspiracy provided that Taro was entitled to between 50-60% of the market,

                     and CW-4 and            agreed to follow this allocation.         informed CW-

                     4 that Taro had sent offers to Walgreens and several other large customers, as

                     part of its plan to obtain its share of the market. CW-4 understood from the



                                                  4
    conversation that Sandoz should not compete for Walgreens and the other

    customers Taro was targeting, and she reported this information to

                 her boss. As a result of this collusion, Sanodz and Taro entered

    the market for Carbamazepine ER and were able to maintain pricing almost

    at the level of the branded offering.

   On another occasion in April 2010, as Fougera was planning its pricing for

    Imiquimod based on Perrigo’s pending entry,                 of Fougera wrote

    internally to




   Similarly, in September 2012, Walgreens learned that Sandoz was planning

    to enter the market for Erythromycin solution. On September 5, 2012, in an

    effort to obtain better pricing on Erythromycin solution than was being

    offered by Perrigo or Wockhardt, Walgreens requested that Sandoz submit a

    bid to supply the drug. In internal discussions with other Sandoz executives,

    Armando Kellum of Sandoz directed his team, which included CW-3 and

    others, to                              Over the next week, CW-3 had several

    phone conversations with                                                  of

    Wockhardt. Following these conversations with its competitors, Sandoz

    decided on September 17 that it would pursue business only at Cardinal and


                                5
    Wal-Mart, but not at Walgreens. In the week after this decision was made,

    CW-3 spoke again with           (Wockhardt) and            (Perrigo). Within

    weeks of these calls, Perrigo willingly conceded both these accounts to

    Sandoz, and Sandoz did not bid for Walgreens’ (or anyone else’s) business.

    As a result of the conspiracy and unbeknownst to Walgreens, this collusion

    prevented Walgreens from leveraging Sandoz’ entry into a lower price for

    Erythromycin solution.

   The same result occurred in June and July of 2014 with respect to

    Metronidazole.    Prior to June 2014, Sandoz was the exclusive generic

    manufacturer, but Taro entered the market that month as the authorized

    generic (“AG”).     Taro submitted a bid to Walgreens Boots Alliance

    Development “WBAD” to supply both ABC and Walgreens, and Brian

    Schneider of WBAD informed                       of Sandoz of the competitive

    bid. Greenstein tried to lobby others at Sandoz to lower its price in order to

    retain Walgreens and ABC, but Armando Kellum directed otherwise,

    explaining



                              Sandoz ultimately declined to bid, and Walgreens

    was forced to accept Taro’s bid on July 2.

   On February 5, 2013, CW-3 of Sandoz and Ara Aprahamian of Actavis spoke

    by phone and agreed that Sandoz, and not Actavis, would get Walgreens’

    business for Betamethasone Valerate. Aprahamian also provided CW-3 with

    the non-public dead net pricing that Actavis was charging its customers for


                               6
    the drug. The next week, on February 13, 2013, Sandoz obtained Walgreens’

    business for the drug, because Actavis conceded the account. As Rick

    Rogerson of Actavis commented to Aprahamian,




   Two months later, the same pattern repeated itself. The only difference was

    that Aprahamian had moved from Actavis to Taro. On April 15, 2013, Sandoz

    had an internal call and determined which customers it would target for

    Nystatin Triamcinolone cream.       Walgreens was one of several large

    customers that Sandoz decided to target. That same day, CW-3 of Sandoz

    relayed to Aprahamian, now of Taro, which customers Sandoz wanted.

    Aprahamian agreed to concede Walgreens, and also provided CW-3 with

    Taro’s non-public dead net pricing for Nystatin Triamcinolone for Walgreens

    and others. On May 8, 2013, Walgreens awarded its Nystatin Triamcinolone

    business to Sandoz at a price that was surely inflated by the fact that Sandoz

    knew Walgreens’ pricing from Taro, and also knew that Taro would not

    compete for the Walgreens business. Taro noted internally that the Walgreens

    account was

   Although Aprahamian had moved to a new company, this did not stop Actavis

    and Sandoz from colluding. Just as Actavis conceded Walgreens to Sandoz

    when Sandoz entered the market for Betamethasone Valerate, Sandoz

    returned the favor a few months later and conceded the Walgreens business




                               7
    back to Actavis when Actavis entered the market for Fluocinonide solution in

    July 2013.

   In January 2014, following a number of calls between CW-3 of Sandoz and

    Tony          of Perrigo during which             provided Perrigo’s non-public

    dead net pricing to for Desonide,         demanded that Sandoz not bid for

    Walgreens’ business on the drug. This conversation, and               demand,

    are reflected in CW-3’s notes from these calls.

   On another occasion, after Amneal increased prices to Walgreens on

    Phenytoin Sodium in April 2014, Walgreens requested a bids from Taro and

    Mylan on the drug. Although Walgreens represented a substantial 20% of the

    market and Taro recognized that it would be able to supply the product,

    Aprahamian instructed his team to stand down on any bid, explaining



   Aprahamian decided what Taro would do based on his communications with

    executives at Amneal and Mylan over the next two months. As a result of

    these communications, both Mylan and Taro declined to bid on Walgreens’

    business for Phenytoin Sodium. As a Mylan employee noted internally on

    July 11, 2014,




   On another occasion, on July 7, 2014, Nisha Patel of Teva and CW-1 of

    Sandoz agreed to the contours of a collusive allocation between the two

    companies for Tobramycin, following the expiration of Teva’s 180-exclusive


                               8
    window and Sandoz’s entry into the market. The two agreed that Teva would

    keep Walgreens and several other large customers, while Sandoz would keep

    CVS and several GPOs. As a result of the agreement, Sandoz did not even

    attempt to contact Walgreens when it entered the market for Tobramycin.

   On yet another occasion, Walgreens – who was supplied by Cadista –

    solicited Sandoz to submit a bid for Methylprednisolone in December 2012.

    Upon learning that Walgreens was soliciting bids,                       , the

    Vice President of Sales & Marketing at Sandoz, instructed his sales associate

    that

                                                                  Of course, the

            was the collusion between the competitors that led to the price

    increase in the first place, which Tremonte was unwilling to put in writing.

    Tremonte confirmed this instruction with Armando Kellum of Sandoz.

   Walgreens continued to seek a lower price on Methylprednisolone in 2013.

    In September 2013, Kellum of Sandoz intervened again to prevent a sales

    associate from bidding on the large account, which still belonged to Cadista.

    Upon learning that a sales executive was working on a bid for Walgreens for

    Methylprednisolone, Kellum instructed               :




                               9
       9.      In other instances, manufacturers indicated that they would bid for less than all of

Walgreens’ business if the result of any award might put them over their allotted share.

                     For example, On May 13, 2014, Zydus submitted a bid to supply Walgreens

                      for Fenofibrate. Over the next two days, Teva – Walgreens’ incumbent

                      supplier – debated internally how to respond to Zydus’ challenge.

                      Ultimately, Patel directed her team that



                                After sending this directive to her team, Patel called            ,

                      her former Teva colleague who was now responsible for pricing of generic

                      drugs at Zydus, and the two spoke for twenty minutes. Upon information

                      and belief, the purpose of this call was to convey to Zydus that Teva

                      intended to concede 25% of the Walgreens business to Zydus.

                     In another instance in June 2015, as G&W was planning to enter the

                      Ketoconazole cream market, Erika Vogel-Baylor wrote to her team member

                      that




                     By strictly limiting its bid to     of market share, G&W was able to win

                      Walgreens’ business and also coordinate with Sandoz and Taro to impose a

                      large price increase. One month after awarding G&W its Ketoconazole

                      business, Courtney Wolf of Walgreens requested that G&W reduce its

                      pricing and stated that Walgreens would bid the product out if G&W did


                                                10
    not comply. Upon hearing of Walgreens’ threat,                   of G&W

    called Ara Aprahamian of Taro, and they spoke several times before July

    31, when Taro announced a price increase of its own. As a result of this

    coordination, G&W knew that Ms. Wolf’s plan to bid out the product would

    not yield a competitive bid, and G&W declined to lower its prices to

    Walgreens.

   This channel of collusion between G&W and Taro harmed Walgreens. On

    December 3, 2015, Erika Vogel-Baylor emailed Courtney Wolf and asked

    her for Walgreens’ usage volume for Fluocinonide, so that G&W could put

    in a bid. Vogel-Baylor submitted a formal bid on December 14, 2015. As

    Ms. Wolf urged to Ms. Vogel-Baylor,



   Upon receiving the G&W bid, Ms. Wolf endeavored to leverage it against

    Taro (the incumbent supplier for Fluocinonide) to obtain a lower price. On

    December 17, 2015, she emailed




   Unbeknownst to Ms. Wolf, the fix was already in. Although some at Taro

    believed the company was the sole generic manufacturer following Teva’s

    exit, Aprahamian of Taro had spoken to                  of G&W several

    times in the week prior, while G&W was planning to bid for Taro’s

    business. Aprahamian coyly reported to his team that




                            11
                     Urbanski confirmed Aprahamian’s intelligence a few hours later after trying

                      unsuccessfully to glean more info from Ms. Wolf. He reported

                                                         Aprahamian then provided direction to

                                on how to respond:




                     The next day,           of Taro and           of G&W spoke by phone. Taro

                      then declined Ms. Wolf’s invitation to compete to retain Walgreens’

                      business, explaining:



                     The day after Taro declined to bid for Walgreens’ Fluocinonide business,

                                of Taro spoke by phone with Vogel-Baylor of G&W for 25

                      minutes. According to the millions of pages of phone records available to

                      Plaintiff in the MDL, this is the only phone call between the two competitors

                      that ever occurred, either before or since.

       10.    In addition to refusing to bid for Walgreens business in order to implement the

market allocation agreement, generic manufacturers would also submit bids that were collusively

rigged in advance and intended to lose.

                     For example, in late December 2013, Teva was planning its strategy to

                      launch Tolterodine ER. Teva knew in advance that Mylan would be its only

                      competitor for the generic version of the drug. On December 23, David


                                                12
                  Rekentheler of Teva and Jim Nesta of Mylan spoke by phone several times.

                  Immediately following one of the calls, Rekentheler emailed a colleague

                  with the exact, word-for-word language that Mylan was using in its

                  contracts to govern changes in price.

                 Additionally, Rekentheler and Nesta also agreed that Teva should get 60%

                  market share and Mylan would get the remaining 40%. To implement this

                  allocation, the executives agreed which companies Teva and Mylan would

                  supply. As part of this brokered allocation, Teva agreed that Mylan should

                  supply Walgreens. But rather than simply not bid for Walgreens business,

                  Rekentheler decided to inflate Teva’s bid to Walgreens so that Mylan could

                  win the business. Below are the direct invoice pricing that Teva was

                  planning to offer Walgreens prior to the December 23, 2013 call between

                  Rekentheler and Nesta, and also the direct invoice pricing that Teva

                  ultimately did offer Walgreens after this collusive phone call:



  Dosage Strength/Package size

Tolterodine ER 2 mg/30 capsules

Tolterodine ER 2 mg 90 capsules

Tolterodine ER 2 mg 500 capsules

Tolterodine ER 4 mg 30 capsules

Tolterodine ER 4 mg 90 capsules

Tolterodine ER 2 mg 500 capsules




                                           13
                    Accordingly, as a result of Teva’s agreement with Mylan to rig its bid to

                     Walgreens, Mylan won the Walgreens’ business for Tolterodine ER.

       11.    Due to its sophisticated purchasing practices, Walgreens was occasionally able to

partially defeat the conspiracy price increases. Even when it was not able to do so, Walgreens

fought vigorously whenever a manufacturer sought to increase prices. Walgreens’ ability to

negotiate lower prices was a sore point for many of the generic manufacturers, and one they

complained about in often undignified terms.

                    For example, on August 9, 2011, Walgreens awarded Fougera its business

                     for Metronidazole and Desonide, agreeing to pay a modest price increase.

                     CW-6 of Fougera informed his colleague, CW-3, of the award, and CW-3

                     asked

                    But because of the rules of the conspiracy, Walgreens’ ability to negotiate

                     a lower price was hampered, and they were forced to accept the price

                     increase because Fougera’s competitors were unwilling to bid below

                     Fougera’s price. CW-6 confirmed as much, bragging




                    Along the same lines, when Perrigo raised prices to Walgreens for

                     Hydrocortisone Valerate cream,                 of Perrigo complained that




                                               14
   Similarly, in March 2012, G&W entered the market for Ciclopirox cream

    and Walgreens was able to leverage this entry to switch from its incumbent

    supplier, Glenmark, to G&W at lower prices than Glenmark was offering.

    Following the switch, Walgreens was paying a direct price of



   As G&W recognized in internal communications, it offered this lower

    pricing to Walgreens without letting Glenmark know in advance, which

    went against the rules of the conspiracy. Indeed, even after Walgreens

    awarded G&W the business, Erika Vogel-Baylor cautioned a colleague to

    keep this information confidential because



   Vogel-Baylor promptly confessed to Glenmark that G&W had taken the

    Walgreens business, and actively worked to smooth over this breach of the

    unlawful agreement between the companies. Indeed, within a week, she

    befriended CW-5 of Glenmark, and began texting and speaking with him

    regularly. Although they had never met before late March of 2012, by

    April, the two were texting and speaking hundreds of times per month. For

    example, between April 11-12, 2012, they exchanged more than 50 texts

    and phone calls.




                            15
   These communications between Vogel-Baylor and CW-5 quickly resulted

    in a plan to try to increase prices for Ciclopirox cream at Walgreens and

    other customers. For Walgreens, G&W planned to raise prices by between

       % and        %, depending on the dosage strength. G&W and Glenmark

    both began notifying their customers of upcoming price increases on

    Ciclopirox in April, and also agreed to decline to bid on each other’s

    customers. For example, on April 24, 2012, G&W declined a request by

    Cardinal to bid on the drug. Also, on May 24, 2012, Vogel-Baylor also

    reached out to CW-6, of Fougera, to request that he introduce her to

               of Perrigo, so that G&W could coordinate with Perrigo (who was

    the other supplier of Ciclopirox). The same say that Vogel-Baylor spoke

    with           , Perrigo submitted a bid to Publix for Cilcopirox, and Vogel-

    Baylor directed her team to concede the Publix business to Perrigo. As a

    result of this coordination, Glenmark, Perrigo, and G&W were able to

    implement substantial price increases for their Ciclopirox customers.

   On April 27, 2012, G&W prepared a letter to Walgreens raising prices by

    between                    , as Vogel-Baylor had recommended earlier in the

    month based on her conversations with CW-5 of Glenmark. However,

    G&W did not send the letter to Walgreens until June 4, 2012, due to

    contractual protections Walgreens had preventing a price increase before

    the end of July. In the June 4, 2012 letter, G&W sought to raise pricing as

    follows:




                               16
                     In response to this request from G&W, Chris McHugh of Walgreens

                      rejected the price increase. Following the call,                   of G&W

                      wrote that McHugh



                      McHugh proposed the following pricing instead:




                     G&W took seriously McHugh’s negotiating position that he would take

                      Walgreens’ business elsewhere. Two days later, Vogel-Baylor exchanged

                      18 text messages with CW-5 of Glenmark to determine whether Walgreens

                      was soliciting a bid from the competition. Ultimately, G&W compromised

                      and agreed to a price increase in line with what McHugh requested. Thus,

                      although McHugh was able to negotiate the price increase down below what

                      G&W had demanded, the market-wide collusion nonetheless resulted in

                      Walgreens being forced to accept a substantial price increase on Ciclopirox.

       12.     Other economic evidence confirms the broader scope of the conspiracy alleged in

this Complaint and its impact on Walgreens. Indeed, there are no market forces that explain the

pricing of the drugs identified in this Complaint other than collusion. Moreover, as alleged below,

each Price-Fixed Generic Drug has commodity-like characteristics, there are barriers to entry of a

new competitor, the demand is highly inelastic, and the market for the sale of each generic drug is


                                                17
relatively concentrated. These economic conditions make the market for the manufacture and sale

of the Price-Fixed Generic Drugs conducive to cartelization.

       13.       In addition to the information made public from these government investigations,

the allegations in this Complaint are further supported by the fact that Defendants engaged in an

extremely high level of communications between direct horizontal competitors.               These

communications included a large number of in-person meetings facilitated by an almost constant

stream of industry trade events, such as the trade association meetings sponsored by the Generic

Pharmaceutical Association. In addition to these in-person meetings, Defendants frequently

communicated by telephone, e-mail, and text message. As demonstrated in this Complaint, these

communications between direct horizontal competitors involved high-level executives with

pricing authority and directly affected Defendants’ pricing decisions on the generic drugs

identified in this Complaint.

       14.       Defendants and their co-conspirators carried out their continuing conspiracy

regarding generic drugs through in-person meetings and communications, including e-mails, text

messages, and telephone calls. During these meetings and communications, they conspired on the

terms alleged in this Complaint, and coordinated price increase announcements or pricing terms,

allocated markets and customers, rigged bids, secretly and collusively exchanged pricing

information and prospective pricing announcements and business plans, and collectively reduced

quantity and restrained output of generic drugs sold to Plaintiff, its assignor, and others in the

United States. The allegations in this Complaint are pled in the alternative if necessary to avoid

inconsistency.




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II.      DRUGS INVOLVED IN THE CONSPIRACY

         15.      As it is used in this Complaint, the term “Price-Fixed Generic Drugs” (individually

or collectively, as context requires) refers to all dosages, strengths, and formulations (if none are

specified) of the following generic drugs.

               Acetazolamide              Disopyramide Phosphate         Moexipril HCL Tablets
                                                 Capsules
                Adapalene                 Drospirenone and ethinyl        Moexipril HCL/HCTZ
                                             estradiol (Ocella)                 Tablets
                 Albuterol                        Econazole                Mometasone Furoate
      Alclometasone Dipropionate          Enalapril Maleate Tablets        Nabumetone Tablets
                Allopurinol                       Entecavir                  Nadolol Tablets
           Amantadine HCL                       Epitol Tablets                   Nafcillin
      Amiloride HCL/HCTZ Tablets                 Eplerenone                 Naproxen Sodium
               Amitriptyline               Erythromycin Solution            Niacin ER Tablets
          Ammonium Lactate                    Estazolam Tablets                Nimodipine
        Amoxicillin/Clavulanate               Estradiol Tablets            Nitrofurantoin MAC
          Chewable Tablets                                                       Capsules
 Amphetamine/Dextroamphetamine             Estradiol/Norethindrone        Norethindrone Acetate
  (aka Mixed Amphetamine Salts)           Acetate Tablets (Mimvey)
        Atenolol Chlorthalidone           Ethambutol HCL Tablets          Norethindrone/ethinyl
                                                                           estradiol (Balziva)
               Azithromycin                  Ethinyl estradiol and          Nortriptyline HCL
                                          levonorgestrel (Portia and            Capsules
                                                   Jolessa)
                 Baclofen                       Ethosuximide                     Nystatin
         Balsalazide Disodium                      Etodolac              Nystatin Triamcinolone
           Benazepril HCTZ                       Fenofibrate           Omega-3-Acid Ethyl Esters
    Betamethasone Dipropionate               Fluconazole Tablets               Ondansetron
  (including Augmented and CBD
           formulations)
        Betamethasone Valerate             Fluocinolone Acetonide           Oxacillin Sodium
      Bethanechol Chloride Tablets              Fluocinonide                Oxaprozin Tablets



                                                  19
    Bromocriptine Mesylate        Fluoxetine HCL Tablets      Oxybutynin Chloride
                                                                   Tablets
   Budesonide DR Capsules          Flurbiprofen Tablets     Oxycodone/Acetaminophen
     Budesonide Inhalation          Flutamide Capsules             Paricalcitol
      Bumetanide Tablets          Fluticasone Propionate          Paromomycin
Buspirone Hydrochloride Tablets     Fluvastatin Sodium        Penicillin VK Tablets
                                         Capsules
     Butorphanol Tartrate            Fosinopril HCTZ          Pentoxifylline Tablets
         Cabergoline                Gabapentin Tablets             Permethrin
         Calcipotriene              Glimepiride Tablets           Perphenazine
 Calcipotriene Betamethasone             Glipizide             Phenytoin Sodium
   Dipropionate Ointment
         Capecitabine                   Glyburide               Pilocarpine HCL
           Captopril               Glyburide-Metformin          Pioglitazone HCL
                                                                   Metformin
        Carbamazepine                  Griseofulvin                Piroxicam
           Cefdinir                     Halobetasol            Potassium Chloride
     Cefpodoxime Proxetil               Haloperidol                Pravastatin
       Cefprozil Tablets               Hydralazine           Prazosin HCL Capsules
      Cefuroxime Axetil           Hydrocortisone Acetate      Prednisolone Acetate
          Celecoxib               Hydrocortisone Valerate          Prednisone
    Cephalexin Suspension          Hydroxyurea Capsules         Prochlorperazine
     Chlorpromazine HCL            Hydroxyzine Pamoate         Promethazine HCL
                                        Capsules
        Cholestyramine                  Imiquimod                  Propranolol
          Ciclopirox                    Irbesartan           Raloxifene HCL Tablets
      Cimetidine Tablets                 Isoniazid               Ranitidine HCL
  Ciprofloxacin HCL Tablets         Isosorbide Dinitrate      Spironolactone HCTZ
  Clarithromycin ER Tablets            Ketoconazole           Tacrolimus Ointment
 Clemastine Fumarate Tablets       Ketoprofen Capsules      Tamoxifen Citrate Tablets
    Clindamycin Phosphate         Ketorolac Tromethamine         Temozolomide
                                          Tablets
          Clobetasol              Labetalol HCL Tablets        Terconazole Cream


                                         20
                Clomipramine               Lamivudine/Zidovudine              Theophylline ER
                                             (generic Combivir)
           Clonidine TTS Patch                    Latanoprost                 Timolol Maleate
                Clotrimazole                     Leflunomide                     Tizanidine
       Cyproheptadine HCL Tablets               Levothyroxine                    Tobramycin
       Desmopressin Acetate Tablets        Lidocaine HCL Ointment        Tolmetin Sodium Capsules
       Desogestrel/Ethinyl Estradiol         Lidocaine-Prilocaine                Tolterodine
            Tablets (Kariva)
                  Desonide                Loperamide HCL Capsules           Topiramate Sprinkle
                                                                                 Capsules
             Desoximetasone                  Medroxyprogesterone          Triamcinolone Acetonide
                                                   Tablets
       Dexmethylphenidate HCL ER                 Meprobamate                 Triamterene HCTZ
               Capsules
   Dextroamphetamine Sulfate ER                 Metformin ER                Trifluoperazine HCL
       Diclofenac Potassium Tablets            Methadone HCL                      Ursodiol
   Dicloxacillin Sodium Capsules                Methazolamide                 Valsartan HCTZ
            Diflunisal Tablets               Methotrexate Tablets                Verapamil
                  Digoxin                      Methylphenidate            Warfarin Sodium Tablets
          Diltiazem HCL Tablets               Methylprednisolone              Zoledronic Acid
         Diphenoxylate Atropine                 Metronidazole


III.      VENUE AND JURISDICTION

          16.     This civil antitrust action arises under Section 1 of the Sherman Act, 15 U.S.C. § 1,

for treble damages and injunctive relief pursuant to Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§ 15(a) and 26.

          17.     This Court has subject matter jurisdiction of each of the claims in this action

pursuant to 28 U.S.C. §§ 1331 & 1337.




                                                   21
        18.     Venue is proper in this Court pursuant to Sections 4 and 12 of the Clayton Act, 15

U.S.C. §§ 15 & 22, and 28 U.S.C. § 1391, for any one or more of the reasons stated in the

subparagraphs below:

                (a)     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to this claim occurred in this District, including the sale

of generic drugs to Plaintiff and others at supracompetitive prices;

                (b)     Venue is proper in this District pursuant to 28 U.S.C. § 1391(c) because

each Defendant is subject to personal jurisdiction in this District;

                (c)     Defendants transact business or are found in this District, and, therefore,

venue is proper under 15 U.S.C. § 22; and/or

                (d)     To the extent that there is no District in which this action may otherwise be

brought, then venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because one or more

Defendants is/are found in this District.

        19.     Defendants are subject to the personal jurisdiction of this Court for any one or more

of the reasons stated below:

                (a)     Defendants are amenable to service of process because, as alleged in this

Complaint, each inhabits, transacts business in, has continuous or systematic contacts with, or is

found or has sufficient minimum contacts in the United States sufficient to satisfy due process;

                (b)     Defendants are amenable to service of process because, as alleged in this

Complaint, each inhabits, transacts business in, or is found in this District.            Defendants

headquartered outside this District are nevertheless engaged in the business of developing,

manufacturing, distributing, advertising and/or selling generic drugs throughout the United States,

including in this District;



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                (c)      Defendants are amenable to service of process because, as alleged in this

Complaint, each Defendant belonged to the conspiracy alleged in this Complaint, and one or more

of them, and their co-conspirators, performed unlawful acts in furtherance of the conspiracy in this

District including, without limitation, selling one or more generic drugs to Plaintiff and others in

this District at artificially inflated prices;

                (d)      Defendants are amenable to service of process pursuant to Rule 4(k)(1)(A)

of the Federal Rules of Civil Procedure and the long-arm statute of the State in which this Federal

Court sits because, as alleged in this Complaint, each Defendant has transacted business in the

State, each Defendant has contracted to supply services or things in this State, each Defendant has

caused harm by acts taken within this State, each Defendant has caused harm in this State by acts

or omissions outside this State, each Defendant has committed violations of 15 U.S.C. § 1 within

this State, and because the State’s long-arm statute extends jurisdiction to the limits of due process

and each Defendant has sufficient minimum contacts with the State to satisfy due process;

                (e)      This Court has personal jurisdiction over Defendants because, as alleged in

this Complaint, they and one or more of their co-conspirators contracted to supply services or

goods, including generic drugs, in the State where this Federal Court sits; money flowed from

Plaintiff or other purchasers in the State to pay Defendants and their co-conspirators for generic

drugs; Defendants and one or more of their co-conspirators transact business in the State in

furtherance of the conspiracy; Defendants and their co-conspirators did or caused one or more

unlawful acts alleged in this Complaint to be done, or consequences to occur, in the State;

Defendants and their co-conspirators engaged in unlawful conduct described in this Complaint

outside of the State causing injury to Plaintiff in the State, and because this Court’s exercise of




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jurisdiction is not inconsistent with the Constitution of this State or the Constitution of the United

States; and/or

                 (f)    Based on the allegations in this Complaint, Defendants are subject to the

general and specific personal jurisdiction of this Court because they have purposefully directed

their contacts and conspiratorial conduct at the United States (including the forum State) and have

purposefully availed themselves of the laws of the United States. As alleged in this Complaint,

each Defendant, either directly, or indirectly through their subsidiaries, engaged in price-fixing

activities and anticompetitive conduct that were intended to have, and did have, direct, substantial

and reasonably foreseeable effects on the commerce of the forum State and the United States.

IV.    PARTIES

       A.        Plaintiff

       20.       Plaintiff Walgreen Co. (“Walgreens”) is an Illinois corporation with its principal

place of business in Deerfield, Illinois. Walgreens owns and operates retail stores at which it

dispenses prescription drugs to the public, including each of the Price-Fixed Generic Drugs.

Walgreens brings this action on its own behalf for injunctive relief and to recover overcharges that

it paid directly to Defendants or their co-conspirators. Walgreens also brings this action as the

assignee of AmerisourceBergen Drug Corporation (“ABC”), a pharmaceutical wholesaler, for

overcharges on purchases of generic drugs by ABC that were resold to Walgreen during the period

relevant to this Complaint.     During the time period relevant to this Complaint, Walgreens

purchased at supracompetitive prices some or all of the Price Fixed Generic Drugs directly from

Defendants or their coconspirators. Additionally, during the relevant time period, ABC purchased

at supracompetitive prices each of the Price-Fixed Generic Drugs directly from Defendants and

co-conspirators for resale to Walgreens. ABC has expressly assigned its claims arising out of those



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purchases to Walgreens. Accordingly, Walgreens (including its assignor) sustained injury and

damages as a proximate result of the antitrust violations alleged in this Complaint.

       B.      Defendants

       21.     Defendant Actavis Holdco U.S., Inc. (“Actavis Holdco”) is a Delaware corporation

with its principal place of business in Parsippany, New Jersey. Watson Pharmaceuticals, Inc.,

(“Watson”) acquired Actavis in or about October 2012. The two companies operated as a

single entity, albeit under separate names, until January 2013, when Watson announced that it

had adopted Actavis, Inc. as its new global name. March 2015, Actavis, plc, the parent company

of Defendant Actavis, merged with Allergan, plc (“Allergan”) and adopted Allergan’s name. In

August 2016, Defendant Teva USA purchased Actavis’ generics business, which included Actavis

Inc., Actavis Elizabeth Inc. and Defendant Actavis Pharma Inc., from Allergan, plc. All the assets

of the entities were then transferred to the newly formed Actavis Holdco. The acquisition cost

Teva USA $33.43 billion in cash and approximately 100 million shares of Teva securities. During

the time period relevant to Plaintiff’s claims, Actavis Holdco directly participated in the conspiracy

alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout

the United States and its territories, knowingly received conspiracy proceeds from Defendant

Actavis Pharma, Inc., and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       22.     Defendant Actavis Pharma, Inc. (“Actavis Pharma”) is a Delaware corporation with

its principal place of business in Parsippany, New Jersey. It is a wholly-owned subsidiary of

Actavis Holdco and is now a principal operating company in the U.S. for Teva’s generic products

acquired from Allergan plc. During the time period relevant to Plaintiff’s claims, Actavis Holdco

directly participated in the conspiracy alleged in this Complaint, produced and sold one or more



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Price-Fixed Generic Drugs throughout the United States and its territories, and engaged in the

unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman Act. Actavis

Holdco (and its predecessors, including Watson) and Actavis Pharma are collectively defined as

“Actavis.” Actavis is defined to include its managers, officers, employees, and agents acting on

its behalf.

        23.    Defendant Akorn, Inc. (“Akorn”) is a Louisiana corporation with its principal place

of business located in Lake Forest, Illinois. Akorn is the parent company of Defendant Hi-Tech

(defined below). Akorn is defined to include its managers, officers, employees, and agents acting

on its behalf. During the time period relevant to Plaintiff’s claims, Akorn directly participated in

the conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic

Drugs throughout the United States and its territories, and engaged in the unlawful conduct alleged

in this Complaint in violation of Section 1 of the Sherman Act.

        24.    Defendant Alvogen Inc. (“Alvogen”) is a Delaware corporation with its principal

place of business in Pine Brook, New Jersey. Robert Wessman, the former CEO of Actavis,

stepped down from that position in order to found Alvogen in 2009. Alvogen is defined to include

its managers, officers, employees, and agents acting on its behalf. Alvogen is further defined to

include County Line Pharmaceuticals, LLC, which it acquired in March 2016. During the time

period relevant to Plaintiff’s claims, Alvogen directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

        25.    Defendant Amneal Pharmaceuticals, Inc. is a Delaware corporation with its

principal place of business located in Bridgewater, New Jersey. The company was formed for the



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purpose of facilitating the merger between Amneal Pharmaceuticals LLC (also a Delaware limited

liability company) and Defendant Impax (defined below). Accordingly, Amneal Pharmaceuticals

Inc., is the predecessor in interest to Amneal Pharmaceuticals LLC, and both companies will be

collectively referenced in this Complaint as “Amneal.” Amneal is defined to include its managers,

officers, employees, and agents acting on its behalf. At all times relevant to the Complaint, Amneal

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

       26.     Defendant Apotex Corp. (“Apotex”) is a Florida corporation with its principal place

of business in Weston, Florida. Apotex is defined to include its managers, officers, employees,

and agents acting on its behalf. During the time period relevant to Plaintiff’s claims, Apotex

directly participated in the conspiracy alleged in this Complaint, produced and sold one or more

Price-Fixed Generic Drugs throughout the United States and its territories, either on its own or

through its subsidiaries, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       27.     Defendant Aurobindo Pharma USA, Inc. (“Aurobindo”) is a Delaware corporation

with its principal place of business located in Dayton, New Jersey. Aurobindo is defined to include

its managers, officers, employees, and agents acting on its behalf. During the time period relevant

to Plaintiff’s claims, Aurobindo directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.




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       28.     Defendant Breckenridge Pharmaceutical, Inc. (“Breckenridge”) is a Delaware

corporation with its principal place of business located in Fairfield, New Jersey. Breckenridge is

wholly-owned by Pensa Pharma S.A. Breckenridge is defined to include its managers, officers,

employees, and agents acting on its behalf. During the time period relevant to Plaintiff’s claims,

Breckenridge directly participated in the conspiracy alleged in this Complaint, produced and sold

one or more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman

Act.

       29.     Defendant Camber Pharmaceuticals, Inc. (“Camber”) is a Delaware corporation

with its principal place of business in Piscataway, New Jersey. Camber is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, Camber directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

       30.     Defendant Citron Pharma, LLC (“Citron”) is a Delaware corporation with its

principal place of business located in East Brunswick, New Jersey. Citron is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, Citron directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.




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       31.     Defendant Dr. Reddy’s Laboratories, Inc. (“Dr. Reddy’s”) is a New Jersey

corporation with its principal place of business located in Princeton, New Jersey. Dr. Reddy’s is

a wholly-owned subsidiary of Dr. Reddy’s Laboratories Ltd., an Indian pharmaceutical company.

Dr. Reddy’s is defined to include its managers, officers, employees, and agents acting on its behalf.

During the time period relevant to Plaintiff’s claims, Dr. Reddy’s directly participated in the

conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct alleged in

this Complaint in violation of Section 1 of the Sherman Act.

       32.     Defendant Emcure Pharmaceuticals, Ltd. (“Emcure”) is an Indian company with

its principal place of business located in Pune, India. In April 2011, Emcure acquired Defendant

Heritage (defined below).      Heritage, as a subsidiary of Emcure, conducts Emcure’s U.S.

commercial operations. Emcure is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiff’s claims, Emcure directly

participated in the conspiracy alleged in this Complaint; produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories both directly and through its

wholly owned subsidiaries, directly and/or through its subsidiaries sold Price-Fixed generic drugs

to Plaintiff, its assignor, and others in the United States, and engaged in the unlawful conduct

alleged in this Complaint in violation of Section 1 of the Sherman Act. In addition, during the

time period relevant to this Complaint, Defendant Emcure purposefully directed its activities at

the United States (including the forum state) and also purposefully derived the benefit of

conspiracy proceeds taken from the United States (including the forum state).

       33.     Defendant Epic Pharma, LLC (“Epic”) is a Delaware limited liability company with

its principal place of business in Laurelton, New York. Epic is defined to include its managers,



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officers, employees, and agents acting on its behalf. During the time period relevant to Plaintiff’s

claims, Epic directly participated in the conspiracy alleged in this Complaint, produced and sold

one or more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman

Act.

       34.     Defendant Fougera Pharmaceuticals, Inc. (“Fougera”) is a New York corporation

with its principal place of business in Melville, New York. In 2012, Novartis International AG

acquired Fougera and merged it with its existing generic pharmaceutical subsidiary Sandoz

(defined below). Fougera is defined to include its managers, officers, employees, and agents acting

on its behalf. During the time period relevant to Plaintiff’s claims, Fougera directly participated

in the conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic

Drugs throughout the United States and its territories, and engaged in the unlawful conduct alleged

in this Complaint in violation of Section 1 of the Sherman Act. As used in this Complaint,

“Sandoz” refers to Fougera and Sandoz, collectively, for the period beginning July 23, 2012.

       35.     Defendant G&W Laboratories, Inc. (“G&W”) is a New Jersey Corporation with its

principal place of business in South Plainfield, New Jersey. G&W is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, G&W directly participated in the conspiracy alleged in this Complaint, produced

and sold one or more Price-Fixed Generic Drugs throughout the United States and its territories,

and engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the

Sherman Act.

       36.     Defendant Glenmark Pharmaceuticals Inc., USA (“Glenmark”) is a Delaware

corporation with its principal place of business located in Mahwah, New Jersey. Glenmark is



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defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims, Glenmark directly participated in the conspiracy alleged

in this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the

United States and its territories, and engaged in the unlawful conduct alleged in this Complaint in

violation of Section 1 of the Sherman Act.

       37.     Defendant Greenstone LLC (“Greenstone”) is a Delaware limited liability company

with its principal place of business in North Peapack, New Jersey. Greenstone is a wholly-owned

subsidiary of Defendant Pfizer Inc. (“Pfizer”), a global pharmaceutical company headquartered in

New York, New York, and has at all relevant times operated as the generic drug division of Pfizer.

Greenstone operates out of Pfizer’s Peapack, New Jersey campus, and a majority of Greenstone’s

employees are also employees of Pfìzer’s Essential Health Division, including Greenstone’s

President. Greenstone employees also use Pfizer for financial analysis, human resources and

employee benefit purposes, making the two companies essentially indistinguishable. At all times

relevant to the Complaint, Greenstone has – under the direction and control of Pfizer – marketed

and sold generic pharmaceuticals in this District and throughout the United States. Greenstone

and Pfizer are defined to include their managers, officers, employees, and agents acting on its

behalf. During the time period relevant to Plaintiff’s claims, Greenstone and Pfizer directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, received the proceeds of their

unlawful in the United States, and engaged in the unlawful conduct alleged in this Complaint in

violation of Section 1 of the Sherman Act.




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               (a)     In the Sections below, and throughout this Complaint, all references to

Defendant Greenstone apply equally to Defendant Pfizer. Indeed, the two companies operate in

many important respects as a single functioning entity, without regard to corporate formalities.

               (b)     As such, Greenstone is the alter ego of Pfizer, because Pfizer exercised

domination and control over Greenstone; and injustice will result if the separate identity is

maintained despite unity of interests between Pfizer and Greenstone. Indeed, Greenstone sold

price-fixed drugs to Plaintiff and others at the direction of Pfizer and for the benefit of Pfizer.

During the period relevant to this Complaint, Pfizer received billions of dollars in proceeds of the

conspiracy because of actions taken on its behalf by Greenstone, and Pfizer was therefore unjustly

enriched.

               (c)     Pfizer is the sole owner and shareholder of Greenstone, but treats

Greenstone as its generics division or an internal business unit rather than as a separate and

independent entity, controlling and directing Greenstone’s business activities including

Greenstone’s marketing and sale of generic drugs. Both companies share the same office space at

Pfizer’s Peapack, New Jersey campus.         They also share common officers, managerial and

supervisory personnel, and other employees.

               (d)     Pfizer performs many of the important business functions of Greenstone

that an independent corporate entity would typically perform on its own, including but not limited

to: financial and sales analysis, business technology, customer service, legal, intellectual property,

supply chain, human resources and employee benefits. Importantly, Greenstone – which as of

2017 was the 15th largest generic manufacturer in the country with annual gross sales of over one

billion dollars – does not have its own Finance Department, Accounting Department, Legal

Department, Customer Services Department, Human Resources Department, Operations



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Department or Information Technology Department – all critical functions for a legitimate

business operation. All of those functions are performed by Pfizer.

               (e)     Most – if not all – of Greenstone’s “employees” are actually employed by

Pfizer. The two primary individuals identified throughout this Complaint as having conspired with

competitors on behalf of Greenstone – Jill Nailor and                 – are Pfizer employees. They

are paid directly by Pfizer, and Pfizer is listed as their employer in W-2 Wage and Tax Statements

submitted to the United States government. In their communications internally and with customers

and competitors, both Nailor and          regularly used e-mail addresses that ended with Pfizer’s

e-mail domain: “@pfizer.com.” This is the case for most if not all of Greenstone’s “employees.”

Nailor and           also both received shares of Pfizer stock as compensation for their work, in

addition to their Pfizer-paid salaries. They were reimbursed and/or compensated by Pfizer through

its accounts payable system for membership in industry trade associations; they used Pfizer cell

phones and/or iPads; and they used Pfizer teleconference and WebEx services to conduct their

work.

               (f)     Jill Nailor received regular performance evaluations directly from Pfizer,

called “Pfizer Senior Leader Excellence Profile[s],” and participated in a program called “Pfizer

Cornerstones of Management.” Accordingly, Nailor and             were agents of Pfizer during the

period relevant to this Complaint because there was a manifestation by Pfizer that Nailor and

        would act on Pfizer’s behalf; Nailor and         accepted the undertaking; and there was

an understanding between Pfizer on the one hand and both Nailor and               on the other that

Pfizer would be in control of the undertaking.

               (g)     During all times relevant to this Complaint, Greenstone has not had its own

President, Chief Executive Officer, Chief Operating Officer, Chief Financial Officer, Chief



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Commercial Officer or any Vice Presidents. The highest-ranking position at Greenstone has been

the General Manager, a position held by a Pfizer employee that reports directly to higher-level

executives at Pfizer.

               (h)      During all times relevant to this Complaint, Pfizer has operated with

multiple business units, one of which was always responsible for overseeing the marketing and

sale of “established” products, including the generic drugs sold by Greenstone. The name of this

business unit has changed over time.        As of 2014, it was called the Global Established

Pharmaceuticals Division (“GEP”). Today, it is referred to as “Pfizer Essential Health” (“PEH”).

Within Pfizer, Greenstone has operated as part of GEP and/or PEH, and Greenstone “employees”

(often referred to as the “Greenstone team”) were all included in Pfizer’s organizational charts –

demonstrating that Greenstone was acting as an internal division within Pfizer rather than as a

separate company. For example, as of 2017, Jill Nailor and other Greenstone executives were

prominently identified as PEH employees in certain Pfizer organizational charts.

               (i)      Similarly, as of 2014 these same individuals were considered part of GEP.

In an April 2014 presentation to Greenstone customers at the NACDS Annual Conference in

Scottsdale, Arizona, Jill Nailor gave what she referred to as a “Greenstone/Pfizer overview” where

she discussed the new streamlined organization of Pfizer and Greenstone. Specifically, Nailor told

customers that the General Manager of Greenstone – Jim Cannon – was now only three levels

away from the CEO of Pfizer within the overall Pfizer corporate structure. She showed customers

the organizational structure of Pfizer, which included both Jim Cannon (General Manager of

Greenstone) and herself as reports within the Pfizer corporate hierarchy.

               (j)      Even Greenstone’s own separate organizational charts, to the extent they

exist, include all Pfizer employees, the Pfizer trademarked logo and brand name, and refer to the



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“Extended Pfizer Team” of individuals who perform many important business functions for the

company. Greenstone also promotes itself publicly as a marketing or distribution wing of Pfizer,

specifically adopting the Pfizer logo in its marketing materials.       Greenstone touts that the

authorized generic drugs it sells

                              and that they

                                                                     Greenstone has consistently

advertised its connection with Pfizer in order to strategically capitalize on Pfizer’s brand

recognition and respect, for purposes of increasing its own sales.

               (k)     In carrying out its business, Greenstone’s internal training and marketing

documents regularly carry Pfizer’s trademarked logo and brand name. This includes internal

“Greenstone” presentations relating solely to generic drugs and issues specific to the generic

pharmaceutical industry.

               (l)     Because Greenstone operates as part of Pfizer, Pfizer is directly involved in

the generics business and extensively evaluates generic competitors, price erosion in the generic

industry, and other strategic issues on behalf of Greenstone. Greenstone and Pfizer management

regularly coordinate on strategy and communicate about concepts such as “responsible pricing”

and following other competitors’ price increases in particular generic drug markets.

               (m)     Pfizer employees also work directly with the FDA on Greenstone’s behalf

to obtain approval for the drugs that Greenstone sells.

               (n)     Greenstone also relies on Pfizer for cost and pricing strategy. For new

products in particular, Pfizer’s Global Supply unit (“PGS”) makes the budget, defines the costs of

goods sold, and then conveys that information to Greenstone without significant feedback. PGS




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is also heavily involved in deciding which new molecules will be produced and/or sold by

Greenstone.

               (o)     Pfizer performs all financial analyses, sales reports, revenue projections,

and other finance functions for Greenstone. Since at least January 2013, these tasks have been

performed by Pfizer’s Director of Business Finance, Gerardo Cabriada. In his LinkedIn profile,

Cabriada lists his employer as Pfizer, and includes within his responsibilities that he is the “Finance

Lead” for Greenstone – a “business unit” of Pfizer that sells generic pharmaceuticals in the U.S.

and Puerto Rico.

               (p)     Greenstone does not have its own separate IT infrastructure, and Pfizer

provides access to its bid-tracking software and other business tools so that Greenstone can keep

track of its operations, including but not limited to: budget, supply, pricing, molecules sold,

competition, market share, and financial performance generally.

               (q)     In every important respect, including financially, Pfizer directly controls the

decision-making of Greenstone. Greenstone does not even have the authority to implement its own

price increases without first obtaining the approval of Pfizer. This includes the price increases

discussed below. Not only does Pfizer have to approve Greenstone’s price increases, but it also

directs Greenstone’s strategy regarding the increases, and Greenstone always acts at the direction

of Pfizer. For example, in a “Business Review” presentation to the President of PEH in May 2017,

Greenstone indicated that, for price increases specifically, it must

               (r)     For these reasons, although technically Greenstone is a separately

incorporated entity, it is separate in name only. Any actions attributed to Defendant Greenstone

throughout this Complaint, including specifically those of Jill Nailor or                 , are actions

taken, directed and/or controlled by Pfizer.



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        38.    Defendant Heritage Pharmaceuticals, Inc. (“Heritage”) is a Delaware corporation

with its principal place of business located in Mahwah, New Jersey. In April 2011, Emcure

acquired Heritage. Heritage is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiff’s claims, Heritage directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

        39.    Defendant Hi-Tech Pharmacal Co., Inc. (“Hi-Tech”) is a Delaware corporation with

its principal place of business located in Amityville, New York. Hi-Tech is a wholly-owned

subsidiary of Defendant Akorn, which purchased Hi-Tech in April 2014, for $640 million. Hi-

Tech is defined to include its managers, officers, employees, and agents acting on its behalf.

During the time period relevant to Plaintiff’s claims, Hi-Tech directly participated in the

conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct alleged in

this Complaint in violation of Section 1 of the Sherman Act.

        40.    Defendant Impax Laboratories, Inc. (“Impax”) is a Delaware corporation with its

principal place of business located in Philadelphia, Pennsylvania. Defendant Impax is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiff’s claims, Impax directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act. As noted above, Defendant Amneal acquired Impax in October

2017.



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       41.     Defendant Jubilant Cadista Pharmaceuticals, Inc. (“Cadista”) is a Delaware

corporation with its principal place of business in Salisbury, Maryland. Defendant Cadista is

defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims, Cadista directly participated in the conspiracy alleged in

this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       42.     Defendant Lannett Company, Inc. (“Lannett”) is a Delaware corporation with its

principal place of business located in Philadelphia, Pennsylvania. Defendant Lannett is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiff’s claims, Lannett directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       43.     Defendant Lupin Pharmaceuticals, Inc. (“Lupin”) is a Delaware corporation with

its principal place of business located in Baltimore, Maryland. Lupin is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, Lupin directly participated in the conspiracy alleged in this Complaint, produced

and sold one or more Price-Fixed Generic Drugs throughout the United States and its territories,

and engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the

Sherman Act.

       44.     Defendant Mayne Pharma USA, Inc. (“Mayne”) is a Delaware corporation with its

principal place of business located in Paramus, New Jersey. Mayne is defined to include its



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managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, Mayne directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

       45.     Defendant Mallinckrodt Inc. is a Delaware corporation with its principal place of

business in Webster Groves, Missouri. Mallinckrodt LLC is a Delaware limited liability company

that is a wholly owned subsidiary of Mallinckrodt Inc., and shares its headquarters in Webster

Groves. Mallinckrodt plc was created in 2013 as part of a corporate tax inversion so that

Mallinckrodt Inc. would not have to pay income taxes in the United States (where it is

headquartered and where it derives 90% of its revenue). Accordingly, Mallinckrodt plc is the now

the corporate parent of its wholly owned subsidiary, Mallinckrodt Inc.         Mallinckrodt Inc.,

Mallinckrodt LLC, and Mallinckrodt plc are collectively referred to in this Complaint as

“Mallinckrodt.” Mallinckrodt is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiff’s claims, Mallinckrodt directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act. Prior to the 2013

corporate tax inversion, the unlawful conduct of the Mallinckrodt employees detailed in this

Complaint was done on behalf of both Mallinckrodt Inc. and Mallinckrodt LLC, but for the

ultimate benefit of Mallinckrodt Inc. After the corporate tax inversion, the unlawful conduct of

the Mallinckrodt employees was done on behalf of each of the three Mallinckrodt entities, but for

the ultimate benefit of Mallinckrodt plc. However, at all times during the period relevant to this



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Complaint, each of the named Mallinckrodt entities acted as a single entity, without regard to

corporate formalities.

       46.     Defendant Morton Grove Pharmaceuticals, Inc. (“Morton Grove”) is a Delaware

corporation with its principal place of business located in Morton Grove, Illinois. Wockhardt,

Ltd., an Indian company, is the parent company of Morton Grove. Defendant Morton Grove is

defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims, Morton Grove directly participated in the conspiracy

alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout

the United States and its territories, and engaged in the unlawful conduct alleged in this Complaint

in violation of Section 1 of the Sherman Act.

       47.     Defendant Mylan N.V. is a Dutch corporation with its principal place of business

and global headquarters in Canonsburg, Pennsylvania. Mylan N.V. is the direct parent corporation

of Defendant Mylan Inc. and the ultimate parent and owner of Defendants Mylan Pharma and

UDL (both defined below). During the time period relevant to Plaintiff’s claims, Mylan N.V.

directly participated in the conspiracy alleged in this Complaint, produced and/or sold one or more

Price-Fixed Generic Drugs throughout the United States and its territories, either on its own or

through its subsidiaries, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       48.     Defendant Mylan Inc. (“Mylan”) is a Pennsylvania corporation with its principal

place of business in Canonsburg, Pennsylvania. Mylan Inc. is the parent company of Defendant

UDL (defined below) and Defendant Mylan Pharma (defined below). Mylan Inc. is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiff’s claims Mylan Inc. directly participated in the conspiracy alleged in this



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Complaint, produced and/or sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, either on its own or through its subsidiaries, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       49.     Defendant Mylan Pharmaceuticals, Inc. (“Mylan Pharma”) is a West Virginia

corporation with its principal place of business in Morgantown, West Virginia. Mylan Pharma is

a subsidiary of Defendant Mylan Inc. Mylan Pharma is defined to include its managers, officers,

employees, and agents acting on its behalf. During the time period relevant to Plaintiff’s claims

Mylan Pharma directly participated in the conspiracy alleged in this Complaint, produced and sold

one or more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman

Act. Mylan N.V., Mylan Inc., Mylan Pharma, and UDL (defined below) are collectively defined

as “Mylan.”

       50.     Defendant Par Pharmaceutical, Inc. (“Par”) is a New York corporation with its

principal place of business located in Chestnut Ridge, New York. Defendant Par Pharmaceutical,

Inc. is defined to include its managers, officers, employees, and agents acting on its behalf. During

the time period relevant to Plaintiff’s claims, Par Pharmaceutical, Inc. directly participated in the

conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs

throughout the United States and its territories, and engaged in the unlawful conduct alleged in

this Complaint in violation of Section 1 of the Sherman Act.

       51.     Co-Conspirator Endo International plc (“Endo”) is an Irish company with its

principal place of business in Dublin, Ireland, and with its U.S. headquarters located in Malvern,

Pennsylvania. Generics Bidco I LLC (“Qualitest”) is a Delaware limited liability company with

its principal place of business in Huntsville, Alabama that was previously known as Qualitest



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Pharmaceuticals. Defendant DAVA Pharmaceuticals, LLC (“DAVA”) is a Delaware company

with its principal place of business in Fort Lee, New Jersey. Endo is the ultimate parent and owner

of Par, Qualitest, and DAVA. At all times relevant to the Complaint, Endo has marketed and sold

generic pharmaceuticals in this District and throughout the United States, participated in the

conspiracy alleged in this Complaint, either on its own or through its owned and controlled

subsidiaries/affiliates, and knowingly received proceeds of the unlawful conduct. In addition,

during the time period relevant to this Complaint, Endo purposefully directed its activities at the

United States (including the forum state) and also purposefully derived the benefit of conspiracy

proceeds taken from the United States (including the forum state). Additionally, Endo participated

in the conspiracy through employees of Qualitest. For example, the predecessor entity to Endo,

Endo Pharmaceuticals Inc., holds an ANDA for Oxycodone/Acetaminophen. As alleged, Qualitest

colluded with other Defendants on Oxycodone/Acetaminophen on Endo’s behalf. For example,

in November of 2013, Qualitest received an inquiry from Econdisc to bid for

Oxycodone/Acetaminophen, but upon information and belief, it declined to bid for this business

upon learning that the request was due to a price increase from the incumbent supplier. Qualitest

sales executive                      had communicated with a Teva executive regarding

Oxycodone/Acetaminophen shortly before this call, and                         , another Qualitest

executive spoke with Marc Falkin of Actavis thereafter for the purpose of confirming Endo’s

intention to support the price increase. As a result of these collusive communications, Qualitest,

Endo, and its competitors have been able to maintain Oxycodone/ Acetaminophen at a

supracompetitive level since July 2012, for the benefit of Endo.

       52.     Unless addressed individually, Qualitest, Par Pharmaceutical, Inc., and Endo are

collectively referred to herein as “Par,” for the period beginning May 15, 2015, because each of



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the entities acted as a single entity following Endo’s acquisition of Par, without regard to corporate

formalities. Indeed, following the acquisition, Qualitest’s employees became Par employees.

Moreover, following the acquisition, Par began to sell generic drugs that had been subject to price-

fixing and market allocation agreements reached by Qualitest and Endo, and Par continued to abide

by the unlawful agreements reached by Qualitest and Endo.

       53.     Defendant Perrigo New York, Inc. (“Perrigo”) is a Delaware corporation with its

principal place of business in Allegan, Michigan. Perrigo is a subsidiary of Perrigo Company, plc,

an Irish company. Perrigo is defined to include its managers, officers, employees, and agents

acting on its behalf. During the time period relevant to Plaintiff’s claims, Perrigo directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       54.     Defendant Pliva, Inc. (“Pliva”) is a New Jersey corporation with its principal place

of business in East Hanover, New Jersey. Pliva is a wholly-owned subsidiary of Defendant Teva

(defined below). Pliva is defined to include its managers, officers, employees, and agents acting

on its behalf. During the time period relevant to Plaintiff’s claims Pliva directly participated in

the conspiracy alleged in this Complaint, produced and sold one or more Price-Fixed Generic

Drugs throughout the United States and its territories, and engaged in the unlawful conduct alleged

in this Complaint in violation of Section 1 of the Sherman Act.

       55.     Defendant Sun Pharmaceutical Industries, Inc. (f/k/a Caraco Pharmaceutical

Laboratories, Ltd.) (“Sun”) is a Michigan corporation with its principal place of business in

Cranbury, New Jersey. Co-conspirator Sun Pharmaceutical Industries Ltd., (“Sun Ltd.”), based in

Mumbai, India, along with certain of its wholly-owned subsidiaries, owns 100% of Sun. Sun Ltd.



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also owns approximately 70% of Defendant Taro (defined below) and Taro’s parent, Taro

Pharmaceutical Industries, Ltd. In late 2012, Sun acquired URL Pharma, Inc., which is a wholly-

owned subsidiary of co-conspirator Mutual Pharmaceutical Company, Inc. (“Mutual”). Mutual is

a wholly-owned subsidiary of Sun. Sun is defined to include its managers, officers, employees,

and agents acting on its behalf. During the time period relevant to Plaintiff’s claims Sun directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       56.     Defendant Sandoz, Inc. (“Sandoz USA”) is a Colorado corporation with its

principal place of business located in Princeton, New Jersey. Sandoz USA distributes the drugs

that its parent, Sandoz Germany, develops and manufacturers. Sandoz USA and Sandoz Germany

are both owned by Novartis International AG. Defendant Sandoz USA is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, Sandoz USA directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act. Sandoz USA is hereinafter referred to as “Sandoz.”

       57.     Defendant Strides Pharma, Inc. (“Strides”) is a New Jersey corporation with its

principle place of business in East Brunswick, New Jersey. Strides is the U.S. subsidiary and sales

agent of Strides Pharma Science Limited, an Indian pharmaceutical conglomerate. Strides is

defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims, Strides directly participated in the conspiracy alleged in

this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United



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States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       58.     Defendant Taro Pharmaceuticals USA, Inc. (“Taro”) is a New York corporation

with its principal place of business in Hawthorne, New York. Taro is a subsidiary of Taro

Pharmaceutical Industries, Ltd., an Israeli corporation. Taro is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to Plaintiff’s

claims, Taro directly participated in the conspiracy alleged in this Complaint, produced and sold

one or more Price-Fixed Generic Drugs throughout the United States and its territories, and

engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the Sherman

Act.

       59.     Defendant Teligent, Inc. (f/k/a IGI Laboratories, Inc.) (“Teligent”) is a Delaware

corporation with its principal place of business located in Buena, New Jersey. Teligent is defined

to include its managers, officers, employees, and agents acting on its behalf. During the time

period relevant to Plaintiff’s claims Teligent directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       60.     Defendant Teva Pharmaceuticals USA, Inc. (“Teva”) is a Delaware corporation

with its principal place of business in North Wales, Pennsylvania. Teva is a wholly-owned

subsidiary of Teva Pharmaceutical Industries, Ltd., an Israeli corporation. Teva is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiff’s claims, Teva directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its



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territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

       61.     Defendant Torrent Pharma Inc. (“Torrent”) is a Delaware corporation with its

principal place of business in Basking Ridge, New Jersey. Torrent is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims: Teva directly participated in the conspiracy alleged in this Complaint, produced

and sold one or more Price-Fixed Generic Drugs throughout the United States and its territories,

and engaged in the unlawful conduct alleged in this Complaint in violation of Section 1 of the

Sherman Act.

       62.     Defendant UDL Laboratories, Inc. (“UDL”) is an Illinois corporation with its

principal place of business in Rockford, Illinois. UDL, n/k/a Mylan Institutional Inc., is a

subsidiary of Defendant Mylan Inc. UDL is defined to include its managers, officers, employees,

and agents acting on its behalf. During the time period relevant to Plaintiff’s claims, UDL directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       63.     Defendant Upsher-Smith Laboratories, LLC (f/k/a Upsher-Smith Laboratories,

Inc.) (“Upsher-Smith”) is a Minnesota limited liability company with its principal place of

business located in Maple Grove, Minnesota. During the time period relevant to Plaintiff’s claims,

Upsher-Smith manufactured generic Baclofen and Propranolol. Upsher-Smith is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiff’s claims, Upsher-Smith directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United



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States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       64.     Defendant Valeant Pharmaceuticals International (“Valeant International”) is a

Canadian company with its principal place of business in Bridgewater, New Jersey. Valeant

International was a California company until September 2010, when it merged with Biovail

Corporation, a Canadian company. Defendant Valeant Pharmaceuticals North America, LLC

(“Valeant North America”) is a Delaware limited liability corporation with its principal place of

business in Bridgewater, New Jersey. It is a wholly-owned subsidiary of Valeant International.

Defendant Oceanside Pharmaceuticals, Inc. (“Oceanside”) is a Delaware corporation with its

principal place of business in Aliso Viejo, California. Oceanside is a wholly-owned subsidiary of

Valeant. In 2018, in an attempt to distance itself from wide-ranging corporate malfeasance

(including, but not limited to, conduct alleged in this Complaint), Valeant Pharmaceuticals

International changed its name to Bausch Health Companies Inc., and Valeant North America

changed its name to Bausch Health US, LLC. In this Complaint, Valeant International, Valeant

North America, and Oceanside are referred to collectively as “Valeant.” Valeant is defined to

include its managers, officers, employees, and agents acting on its behalf. During the time period

relevant to Plaintiff’s claims, Valeant directly participated in the conspiracy alleged in this

Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.

       65.     Defendant Versapharm, Inc. (“Versapharm”) is a corporation organized and

existing under the laws of the State of Georgia with its principal place of business in Marietta,

Georgia. Versapharm is defined to include its managers, officers, employees, and agents acting



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on its behalf.    During the time period relevant to Plaintiff’s claims, Versapharm directly

participated in the conspiracy alleged in this Complaint, produced and sold one or more Price-

Fixed Generic Drugs throughout the United States and its territories, and engaged in the unlawful

conduct alleged in this Complaint in violation of Section 1 of the Sherman Act.

       66.       Defendant West-Ward Pharmaceuticals Corp., (now known as Hikma

Pharmaceuticals USA, Inc.) and West-Ward Columbus Inc. are Delaware corporations with their

principal place of business located in the same office in Eatontown, New Jersey. West-Ward is

defined to include its managers, officers, employees, and agents acting on its behalf. During the

time period relevant to Plaintiff’s claims, West-Ward directly participated in the conspiracy

alleged in this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout

the United States and its territories, and engaged in the unlawful conduct alleged in this Complaint

in violation of Section 1 of the Sherman Act.

       67.       Defendant Hikma Labs Inc. (formerly known as Roxane Laboratories, Inc.)

(“Roxane”) is a Nevada corporation with its principal place of business in the same Eatontown,

New Jersey office as West-Ward Pharmaceuticals Corp., and West-Ward Columbus Inc. Each of

the three companies is a wholly-owned subsidiary of Hikma Pharmaceuticals plc, a multinational

pharmaceutical company founded in Amman, Jordan and headquartered in London. Hikma Labs

Inc., West-Ward Pharmaceuticals Corp., and West-Ward Columbus Inc. are collectively referred

to in this Complaint as “West-Ward” for the period beginning March 2, 2016. During the time

period relevant to Plaintiff’s claims, West-Ward directly participated in the conspiracy alleged in

this Complaint, produced and sold one or more Price-Fixed Generic Drugs throughout the United

States and its territories, and engaged in the unlawful conduct alleged in this Complaint in violation

of Section 1 of the Sherman Act.



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       68.     Defendant Wockhardt USA LLC (“Wockhardt”) is a Delaware corporation with its

principal place of business in Parsippany, New Jersey. Wockhardt is a wholly-owned subsidiary

of Defendant Morton Grove Pharmaceuticals, Inc. Wockhardt is defined to include its managers,

officers, employees, and agents acting on its behalf. During the time period relevant to Plaintiff’s

claims, Wockhardt directly participated in the conspiracy alleged in this Complaint, produced and

sold one or more Price-Fixed Generic Drugs throughout the United States and its territories, either

on its own or through its subsidiaries, and engaged in the unlawful conduct alleged in this

Complaint in violation of Section 1 of the Sherman Act.

Defendant Zydus Pharmaceuticals (USA) Inc. (“Zydus”) is a New Jersey corporation with its

principal place of business located in Pennington, New Jersey. Zydus is defined to include its

managers, officers, employees, and agents acting on its behalf. During the time period relevant to

Plaintiff’s claims, Zydus directly participated in the conspiracy alleged in this Complaint,

produced and sold one or more Price-Fixed Generic Drugs throughout the United States and its

territories, and engaged in the unlawful conduct alleged in this Complaint in violation of Section

1 of the Sherman Act.

V.     TRADE AND COMMERCE

       69.     During the time period relevant to Plaintiff’s claims, Defendants engaged in

business that affects or is within the flow of interstate or foreign commerce, and the effect of that

business on interstate or foreign commerce is substantial. In particular, the activities of Defendants

are within the flow of interstate and foreign commerce or have a substantial effect upon interstate

or foreign commerce in that:




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                (a)     Defendants sold and shipped substantial quantities of generic drugs in a

continuous and uninterrupted flow in interstate commerce to customers located in States other than

the States in which the Defendants produced the generic drugs;

                (b)     Data, information, correspondence and/or financial material were

exchanged between each Defendant in the State in which each is located, incorporated, or has its

principal place of business and other States;

                (c)     Money flowed between banks outside of the State in which each Defendant

is located, incorporated, or has its principal place of business and other States; and/or

                (d)     Defendants imported substantial quantities of raw materials for generic

drugs from outside the United States.

        70.     The effect of Defendants’ anticompetitive conduct on United States commerce

gives rise to Plaintiff’s claims.

VI.     GENERIC DRUGS, THE FDCA AND THE HATCH-WAXMAN AMENDMENTS

        71.     Retailers like Walgreens play an important role in driving down prescription drug

costs in the United States. The most important tool that retailers like Plaintiff have at their disposal

is the availability of generic drug manufacturers operating in a competitive marketplace. As

explained below, when drug manufacturers begin selling generic bio-equivalent alternatives to

branded prescription drugs that have previously been subject to a patent, retailers are able to drive

the prices paid for those drugs down substantially.

        72.     Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers that

create a new drug must obtain Food and Drug Administration (“FDA”) approval to sell the product

by filing a New Drug Application (“NDA”). 21 U.S.C. §§ 301-392. An NDA must include

specific data concerning the safety and effectiveness of the drug, as well as any information on



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applicable patents. 21 U.S.C. § 355(a), (b). The Hatch-Waxman Amendments, enacted in 1984,

simplified the regulatory hurdles for prospective generic manufacturers by eliminating the need

for them to file lengthy and costly NDAs. See Drug Price Competition and Patent Term

Restoration Act, Pub. L. No. 98-417, 98 Stat. 1585 (1984). A manufacturer seeking approval to

sell a generic version of a brand drug may instead file an Abbreviated New Drug Application

(“ANDA”). An ANDA relies on the scientific findings of safety and effectiveness included in the

brand manufacturer’s original NDA by showing that the generic drug contains the same active

ingredient(s), dosage form, route of administration, and strength as the brand drug, and is absorbed

at the same rate and to the same extent as the brand drug – that is, that the generic drug is

pharmaceutically equivalent and bioequivalent (together, “therapeutically equivalent”) to the

brand drug. The FDA assigns generic drugs that are therapeutically equivalent to their brand-name

counterpart an “AB” rating.

       73.     The FDCA and Hatch-Waxman Amendments operate on the presumption that

bioequivalent drug products containing identical amounts of the same active ingredients, having

the same route of administration and dosage form, and meeting applicable standards of strength,

quality, purity, and identity are therapeutically equivalent and may be substituted for one another.

Bioequivalence demonstrates that the active ingredient of the proposed generic drug would be

present in the blood of a patient to the same extent and for the same amount of time as the branded

counterpart. 21 U.S.C. § 355(j)(8)(B).

       74.     Congress enacted the Hatch-Waxman Amendments to expedite the entry of

legitimate generic competitors, thereby reducing healthcare expenses nationwide. Congress also

sought to protect pharmaceutical manufacturers’ incentives to create new and innovative products.




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       75.     The Hatch-Waxman Amendments achieved both goals, advancing substantially the

rate of generic product launches, and ushering in an era of historic high profit margins for brand

manufacturers. In 1983, before the Hatch-Waxman Amendments, only 35% of the top-selling

drugs with expired patents had generic alternatives; by 1998, nearly all did. In 1984, prescription

drug revenue for branded and generic drugs totaled $21.6 billion; by 2009, total prescription drug

revenue had soared to $300 billion.

       76.     Generic versions of brand name drugs contain the same active ingredient, and are

determined by the FDA to be just as safe and effective, as their brand name counterparts. The only

material difference between generic and brand name drugs is their price: generics are usually at

least 25% less expensive than their brand name counterparts when there is a single generic

competitor, and this discount typically increases to 50% to 80% (or more) when there are multiple

generic competitors on the market for a given brand. The launch of a generic drug thus usually

brings huge cost savings for all drug purchasers. The Federal Trade Commission (“FTC”)

estimates that about one year after market entry, the generic version takes over 90% of the brand’s

unit sales and sells for 15% of the price of the brand name product. Because each generic is readily

substitutable for another generic of the same brand drug, the products behave like commodities,

with pricing being the main differentiator and the basis for competition among manufacturers.

Over time, generics’ pricing nears the generic manufacturers’ marginal costs.

       77.     Generic competition usually enables purchasers to purchase generic versions of the

brand drug at a substantially lower price than the brand drug. Generic competition to a single

blockbuster brand drug (i.e., a drug that generates annual sales of $1 billion or more) can result in

billions of dollars in savings to direct purchasers, consumers, insurers, local, state, and federal




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governments, and others. Indeed, one study found that the use of generic drugs saved the United

States healthcare system $1.68 trillion between 2005 and 2014.1

       78.     Due to the price differentials between brand and generic drugs, and other

institutional features of the pharmaceutical industry, pharmacists liberally and substantially

substitute for the generic version when presented with a prescription for the brand-name

counterpart.   Since passage of the Hatch-Waxman Amendments, every State has adopted

substitution laws that either require or permit pharmacies to substitute generic equivalents for

branded prescriptions (unless the prescribing physician has specifically ordered otherwise by

writing “dispense as written” or similar language on the prescription).

       79.     There is an incentive to choose the less expensive generic equivalent in every link

in the prescription drug chain. Pharmaceutical wholesalers and retailers pay lower prices to

acquire generic drugs than to acquire the corresponding brand-name drug. Health insurers and

patients also benefit from the lower prices that result from generic competition.

       80.     Further, the more generic manufacturers that enter a market, the more the price for

the drug decreases. As an FDA study reflects, “generic competition is associated with lower drug

prices, with the entry of the second generic competitor being associated with the largest price

reduction,” as average prices fall to roughly half the price of the branded drug. Further, with the

entry of each additional generic manufacturer up to the ninth manufacturer, the price continues to

fall. In mature markets with 19 or more generic manufacturers, the price of the generic drug is as

low as 6% of the branded version. This phenomenon is demonstrated in the following chart

prepared by the FDA:


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        1
             GPhA, Generic Drug Savings in the U.S. (7th ed. 2015) at 1, available at
http://www.gphaonline.org/media/wysiwyg/PDF/GPhA_Savings_Report_2015.pdf.


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       81.     Generic manufacturers typically report a Wholesale Acquisition Cost (“WAC”) for

their drugs. WAC prices represent the manufacturer’s benchmark or reported list price. The WAC

typically functions as the manufacturer’s list or benchmark price in sales to wholesalers or other

direct purchasers and typically does not include discounts that may be provided, e.g., for volume

sales. Manufacturers generally provide their WACs to purchasers or report them to publishers that

compile that information for the market.2

VII.   THE DOJ AND STATE ATTORNEYS GENERAL INVESTIGATIONS

       82.     As noted above, Defendants’ conduct regarding generic drugs is under

investigation by the DOJ, State Attorneys General, the United States Congress and others.

       A.      The DOJ is Leading a Broad-Ranging Criminal Investigation Into the
               Anticompetitive Conduct of Generic Drug Manufacturers

       83.     No later than November 3, 2014, as noted above, the DOJ opened a confidential,

wide-ranging grand jury investigation into the marketing and pricing practices of generic drugs.


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        2
               At one time, payers relied on cost-based pricing metrics to reimburse pharmacies
that dispensed drugs to their insured customers, paying the dispensing pharmacies an amount based
on the manufacturer’s list price for the drug, plus a small mark-up or dispensing fee.



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       84.     On December 12, 2016, DOJ filed criminal charges against Jeffrey Glazer (the

former CEO of Heritage) and Jason Malek (the former president of Heritage). Both Glazer and

Malek have since pled guilty to violations of Section 1 of the Sherman Act for their participation

in conspiracies to fix prices, rig bids, and allocate customers for generic drugs, including Glyburide

and Doxycycline.

       85.     The Hon. Barclay Surrick of this Court determined that there was a factual basis

for both Glazer’s and Malek’s pleas, and convicted each individual of a felony violation of the

Sherman Act. Sentencing for both Glazer and Malek was originally set for April 2017, but both

sentencings have been repeatedly rescheduled as Glazer and Malek continue to cooperate with the

DOJ.

       86.     As alleged above, by operation of law, these guilty pleas merely define the

minimum parameters of the conspiracy alleged in this Complaint.                The conspiracy (or,

alternatively, conspiracies) detailed in this Complaint encompasses and is based in part on the

criminal conduct of Glazer and Malek, as detailed in the Informations filed against each of them.

However, the conspiracy alleged in this Complaint is an eventual outgrowth of the conspiracy

described in the Glazer and Malek charging documents. In other words, the conspiracy (or,

alternatively, conspiracies) alleged in this Complaint are based at least in part on, and bear a real

relation to, the matters complained of in the Malek and Glazer Informations.

       87.     This is evidenced by the fact that in filing the charges against Glazer and Malek,

the DOJ issued a press release saying that “[t]oday’s charges are the result of an ongoing federal

antitrust investigation into price-fixing, bid rigging, and other anticompetitive conduct in the

generic pharmaceutical industry…” To that end, following the plea agreements of Malek and

Glazer, the DOJ obtained and executed search warrants against at least Aceto Corporation (which



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purchased Citron’s generic drugs business in December 2016), Perrigo, and Mylan in connection

with the generic drug price fixing probe. Accordingly, at least one federal judge has necessarily

found probable cause that such a conspiracy existed, and that it was likely that evidence of the

conspiracy would be found in the offices of Perrigo, Mylan, and Citron.Additionally, public

sources have reported that at least one Defendant or co-conspirator has applied for conditional

amnesty under ACPERA. That a target has applied for leniency is significant. As the DOJ notes

on its web site (https://www.justice.gov/atr/page/file/926521/download):

               5.      Does a leniency applicant have to admit to a criminal violation of
               the antitrust laws before receiving a conditional leniency letter?

               Yes. The Division’s leniency policies were established for corporations and
               individuals “reporting their illegal antitrust activity,” and the policies
               protect leniency recipients from criminal conviction. Thus, the applicant
               must admit its participation in a criminal antitrust violation involving price
               fixing, bid rigging, capacity restriction, or allocation of markets, customers,
               or sales or production volumes before it will receive a conditional leniency
               letter. Applicants that have not engaged in criminal violations of the
               antitrust laws have no need to receive leniency protection from a criminal
               violation and will receive no benefit from the leniency program.

               The DOJ further provides that the leniency applicant must also satisfy the
               following condition, among others, to avail itself of the government’s
               leniency: “[t]he confession of wrongdoing is truly a corporate act, as
               opposed to isolated confessions of individual executives or officials.3

Id.

       88.     The DOJ has intervened in MDL 2724 as well as numerous civil antitrust actions

alleging price-fixing, bid rigging, and market and customer allocation of generic pharmaceuticals

stating that these cases overlap with the DOJ’s ongoing criminal investigation. For example, in a

civil antitrust action related to the generic pharmaceutical Propranolol, the DOJ intervened and

requested a stay, stating that “the reason for the request for the stay is the government’s ongoing

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      3
            https://www.justice.gov/atr/page/file/926521/download.


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criminal investigation and overlap of that investigation and this case,” and that “the government’s

ongoing investigation is much broader than the [Glazer and Malek] Informations that were

unsealed.’’ The DOJ filed a brief with the United States Judicial Panel on Multidistrict Litigation

noting that: “The complaints in those civil cases – which typically allege that a group of generic

pharmaceutical companies violated Section 1 of the Sherman Act by conspiring to fix prices and

allocate customers for a particular drug - overlap significantly with aspects of the ongoing criminal

investigation.’’ As noted above, the DOJ also filed a motion to stay discovery in MDL 2724,

stating that: “Evidence uncovered during the criminal investigation implicates other companies

and individuals (including a significant number of the Defendants here) in collusion with respect

to Doxy Hyclate, Glyburide, and other drugs (including a significant number of the drugs at issue

here).”4 DOJ has continued to maintain that a Stay of certain discovery is necessary to protect its

investigation even after the judicial admissions by Heritage, Rising, Sandoz, Taro, and Apotex

(detailed further below).

       89.     Since the charges against Glazer and Malek, DOJ’s ongoing criminal investigation

into the generic pharmaceutical drug industry has resulted in additional charges against seven

generic drug manufacturers: Heritage, Rising, Sandoz, Apotex, Glenmark, Taro, and Teva.

Additionally, Armando Kellum and Sandoz and Ara Aprahamian of Taro were also charged

criminally in their individual capacities. Upon information and belief, DOJ also intends to charge

additional companies and/or individuals that relate to this same investigation.

       90.     On May 30, 2019, DOJ charged Heritage with participating in a conspiracy to fix

prices of Glyburide and reached a deferred prosecution agreement with Heritage to resolve that


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               See Intervenor United States’ Motion to Stay Discovery, In re: Generic Pharm.
Pricing Antitrust Litig., MDL No. 2724, ECF No. 279 (E.D. Pa. May 1, 2017).


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charge. In that agreement, Heritage admitted, accepted, and acknowledged that it is responsible

under United States law for the acts of its officers, directors, employees, and agents as charged in

the Information.

       91.     Jason Malek is one of the “officers, directors, employees, and agents” whose acts

for which Heritage admitted, acknowledged, and accepted responsibility.

       92.     Jeffrey Glazer is one of the officers, directors, employees, and agents” whose acts

for which Heritage admitted, acknowledged, and accepted responsibility.

       93.     Heritage further admitted that, from in or around April 2014 and continuing until

at least December 2015, Heritage, through certain of its officers and employees, including certain

of its high-level personnel, participated in a conspiracy with other persons and entities engaged in

the production and sale of generic pharmaceutical products, including Glyburide, a purpose of

which was to suppress and eliminate competition by allocating customers and fixing and

maintaining prices for Glyburide sold in the United States. To further the conspiracy, Heritage,

through certain of its officers and employees, including certain of its high-level personnel, engaged

in discussions with co-conspirators involved in the production and sale of Glyburide. During these

discussions, agreements were reached to allocate customers, rig bids, and fix and maintain the

prices of Glyburide sold in the United States. During the relevant period, Glyburide sold by one

or more of the conspirators, and equipment and supplies necessary to the production and

distribution of Glyburide, as well as payments for Glyburide, traveled in interstate commerce. The

business activities of Heritage and its co-conspirators in connection with the production and sale

of Glyburide affected by this conspiracy were within the flow of and substantially affected,

interstate trade and commerce. Glyburide was sold by one or more of the conspirators to customers




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in the Eastern District of Pennsylvania and acts in furtherance of this conspiracy were carried out

within the Eastern District of Pennsylvania.

          94.    In December 2019, co-conspirator Rising Pharmaceuticals LLC reached a deferred

prosecution agreement with DOJ in which Rising agreed that, between April 2014 and September

2015, it knowingly entered into and engaged in a conspiracy to suppress and eliminate competition

by agreeing to allocate customers for and to stabilize, maintain, and fix prices of Benazepril HCTZ

sold in the United States. Rising further admitted that it (a) discussed the allocation of and agreed

to allocate customers located in the United States; (b) provided or received specific non-public

prices paid by the allocated customers to the existing supplier; (c) submitted offers to and declined

requests to submit offers from customers in accordance with the agreement reached; and (d) sold

and accepted payment for Benazepril HCTZ in the United States at collusive and noncompetitive

prices.

          95.    On February 4, 2020, Ara Aprahamian, the former Vice President of Sales and

Marketing of Defendant Taro, was indicted by a Grand Jury for criminal violations of the Sherman

Act. Aprahamian participated in a conspiracy between Sandoz, Taro, and other conspiring

companies, the purpose of which was to suppress and eliminate competition by agreeing to allocate

customers and rig bids for, and stabilize, maintain, and fix prices of, generic drugs sold in the

United States.

          96.    On February 14, 2020, Armando Kellum – formerly the Senior Director of Pricing

and Contracts and, beginning in approximately November 2013, the Vice President of Contracting

and Business Analytics of Sandoz – pled guilty to DOJ charges that he participated in a conspiracy

with Sandoz, Taro, and other co-conspirators, the purpose of which was to suppress and eliminate

competition by agreeing to allocate customers and rig bids for, and stabilize, maintain and fix



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prices of, generic drugs sold in the United States between at least as early as March 2013 and

continuing until at least June 2015.

       97.     On March 2, 2020, DOJ charged Sandoz with a four-count Information alleging

four separate violations of the Sherman Act. Count 1 of the Information charged that Sandoz

conspired with Taro to suppress and eliminate competition by agreeing to allocate customers and

rig bids for, and stabilize, maintain, and fix prices of, generic drugs sold in the United States, from

at least as early as March 2013 and continuing until at least December 2015. Count 2 of the

Information charged that Sandoz conspired to suppress and eliminate competition with Kavod

Pharmaceuticals LLC (f/k/a Rising Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.), a

generic drug company with its principal place of business in New Jersey, by agreeing to allocate

customers for, and stabilize, maintain, and fix prices of, Benazepril HCTZ sold in the United

States, from at least as early as April 2014 and continuing until at least September 2015. Count 3

of the Information charged that Sandoz conspired with Perrigo to suppress and eliminate

competition by agreeing to allocate customers and rig bids for, and stabilize, maintain, and fix

prices of, generic drugs sold in the United States, from at least as early as July 2013 and continuing

until at least December 2015. Count 4 of the Information charged that Sandoz conspired with

Teva to suppress and eliminate competition by agreeing to allocate customers and rig bids for, and

stabilize, maintain, and fix prices of, generic drugs sold in the United States, from at least as early

as July 2013 and continuing until at least December 2015.

       98.     Sandoz reached a deferred prosecution agreement with DOJ to resolve these

charges in which Sandoz Inc. admitted that it is responsible for the acts of certain of its current

and/or former employees that give rise to the charges in the Information. Under that agreement,

Sandoz Inc. further admitted that, from in or about March 2013 and continuing until in or about



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December 2015, Sandoz, through certain of its officers and employees, including an individual

within high-level personnel, conspired with other persons and entities engaged in the production

and sale of generic drugs to suppress and eliminate competition by allocating customers, rigging

bids, and increasing and/or maintaining prices for certain generic drugs sold in the United States.

Sandoz, through certain of its officers and employees, including an individual within high-level

personnel, engaged in discussions with co-conspirators involved in the production and sale of

certain generic drugs that competed with Sandoz products. During these discussions, agreements

were reached with co-conspirators to allocate customers, rig bids, and/or stabilize, maintain, and

fix the prices of certain generic drugs sold in the United States. Sandoz’s sales of generic drugs

affected by these conspiracies totaled more than $500,000,000.

       99.     Sandoz further admitted that, from in or about March 2013 and continuing until in

or about December 2015, Sandoz conspired to suppress and eliminate competition by agreeing to

allocate customers and rig bids for, and/or stabilize, maintain, and fix prices of, certain generic

drugs, including Clobetasol (cream, emollient cream, gel, ointment, and solution), Desonide

ointment, and nystatin triamcinolone cream, with Defendant Taro. Generic drugs sold by Sandoz

and its co-conspirators, as well as payments for affected generic drugs, traveled in interstate

commerce. The business activities of Sandoz and its co-conspirators in connection with the

production and sale of generic drugs affected by this conspiracy were within the flow of, and

substantially affected, interstate trade and commerce. Generic drugs affected by the activities of

Sandoz and its co-conspirators were sold to customers in the Eastern District of Pennsylvania.

       100.    Sandoz further admitted that, from in or about April 2014 and continuing until in

or about September 2015, Sandoz conspired to suppress and eliminate competition by agreeing to

allocate customers for, and/or stabilize, maintain, and fix prices of, Benazepril HCTZ with Kavod



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Pharmaceuticals LLC (f/k/a Rising Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.).

Benazepril HCTZ sold by Sandoz and its co-conspirators, as well as payments for Benazepril

HCTZ, traveled in interstate commerce. The business activities of Sandoz and its co-conspirators

in connection with the production and sale of Benazepril HCTZ affected by this conspiracy were

within the flow of, and substantially affected, interstate trade and commerce. Benazepril HCTZ

affected by the activities of Sandoz and its co-conspirators was sold to customers in the Eastern

District of Pennsylvania.

       101.    Sandoz further admitted that, from on or about July 2013 and continuing until in

about December 2015, Sandoz conspired to suppress and eliminate competition by agreeing to

allocate customers and rig bids for, and/or stabilize, maintain, and fix prices of, certain generic

drugs, including Desonide ointment, with Defendant Perrigo. Generic drugs sold by Sandoz and

its co-conspirators, as well as payments for affected generic drugs, traveled in interstate commerce.

The business activities of Sandoz and its co-conspirators in connection with the production and

sale of generic drugs affected by this conspiracy were within the flow of, and substantially affected,

interstate trade and commerce. Generic drugs affected by the activities of Sandoz and its co-

conspirators were sold to customers in the Eastern District of Pennsylvania.

       102.    Sandoz further admitted that, from in or about July 2013 and continuing until in or

about December 2015, Sandoz Inc. conspired to suppress and eliminate competition by agreeing

to allocate customers and rig bids for, and/or stabilize, maintain, and fix prices of, certain generic

drugs, including tobramycin inhalation solution, with Defendant Teva Pharmaceuticals USA, Inc.

Generic drugs sold by Sandoz and its co-conspirators, as well as payments for affected generic

drugs, traveled in interstate commerce. The business activities of Sandoz and its co-conspirators

in connection with the production and sale of generic drugs affected by this conspiracy were within



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the flow of, and substantially affected, interstate trade and commerce. Generic drugs affected by

the activities of Sandoz and its co-conspirators were sold to customers in the Eastern District of

Pennsylvania.

        103.    On May 6, 2020, DOJ charged Defendant Apotex with participating in a

conspiracy, the purpose of which was to suppress and eliminate competition by agreeing to

increase and maintain prices of Pravastatin in the United States between May 2013 and December

2015.

        104.    On May 7, 2020, Apotex entered into a deferred prosecution with DOJ to resolve

that charge. Apotex admitted that, under United States law, it is responsible for the acts of certain

of its current and/or former employees that give rise to the DOJ charges. Apotex further admitted

that, from May 2013 and continuing until at least December 2015, Apotex, through certain of its

current and/or former employees, conspired with other persons and entities engaged in the sale of

generic drugs to suppress and eliminate competition by agreeing to increase and maintain prices

of Pravastatin sold in the United States. Apotex’s relevant sales of Pravastatin totaled at least

$105,000,000.

        105.    Apotex further admitted that, from May 2013 and continuing until at least

December 2015, Pravastatin sold by one or more conspirators, as well as payments for Pravastatin,

traveled in interstate commerce. The business activities of Apotex and its co-conspirators in

connection with the production and/or sale of Pravastatin affected by this conspiracy were within

the flow of, and substantially affected, interstate trade and commerce. Pravastatin affected by the

activities of Apotex and its co-conspirators was sold to customers in the Eastern District of

Pennsylvania.




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       106.    On July 14, 2020, a Grand Jury charged Defendant Glenmark with criminal

violations of the Sherman Act. Defendant Glenmark, Defendant Apotex, Defendant Teva, and

other co-conspirators knowingly entered into and engaged in a conspiracy to suppress and

eliminate competition by agreeing to increase and maintain prices of Pravastatin and other generic

drugs sold in the United States.

       107.    On July 23, 2020, DOJ charged Defendant Taro with conspiring with Sandoz Inc.

to suppress and eliminate competition by agreeing to allocate customers and rig bids for, and

stabilize, maintain, and fix prices of, generic drugs sold in the United States, from at least as early

as March 2013 and continuing until at least December 2015; and with conspiring with Defendant

Teva to suppress and eliminate competition by agreeing to allocate customers and rig bids for, and

stabilize, maintain, and fix prices of, generic drugs sold in the United States, from at least as early

as May 2013 and continuing until at least December 2015.

       108.    On July 23, 2020, Taro reached a deferred prosecution agreement with DOJ to

resolve these charges. In that agreement, Taro acknowledged that under United States law, it is

responsible for the acts of its officers, directors, employees, and agents that give rise to the DOJ

charges. Ara Aprahamian was one of the “officers, directors, employees, and agents” for which

Taro acknowledged and accepted legal responsibility. Taro further admitted that, from in or about

March 2013 and continuing until in or about December 2015, through certain of its officers and

employees, including Ara Aprahamian, Taro U.S.A.’s Vice President of Rx Marketing, and

beginning in April 2014, Taro U.S.A.’s Vice President of Sales and Marketing, conspired with

other individuals and entities engaged in the manufacture and sale of generic drugs to suppress and

eliminate competition by agreeing to allocate customers and rig bids for, and/or stabilize, maintain,

and fix prices of certain generic drugs sold in the United States in violation of the Sherman



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Antitrust Act, 15 U.S.C. § 1. Taro U.S.A.’s sales of generic drugs affected by these conspiracies

totaled at least $524,625,555.

       109.    Taro further admitted that from in or about March 2013 and continuing until in or

about December 2015, Defendant Taro conspired to suppress and eliminate competition by

agreeing to allocate customers and rig bids for, and stabilize, maintain, and fix prices of, certain

generic drugs in the United States, including Clobetasol (cream, emollient cream, gel, ointment,

and solution), Desonide ointment, and Nystatin Triamcinolone cream, with Sandoz; Armando

Kellum, Sandoz’s Senior Director of Pricing and Contracts, and beginning in November 2013,

Sandoz’s Vice President of Contracting and Business Analytics; and other individuals. Between

in or about March 2013 and December 2015, the generic drugs sold by Defendant Taro and Sandoz

that were affected by this conspiracy, as well as payments for the affected generic drugs, traveled

in interstate trade and commerce. The business activities of Defendant Taro and its co-conspirators

in connection with the manufacture and sale of generic drugs affected by this conspiracy were

within the flow of, and substantially affected, interstate trade and commerce. Generic drugs

affected by the activities of Defendant Taro and its co-conspirators were sold to customers located

in various states in the United States, including within the Eastern District of Pennsylvania.

       110.    Defendant Taro further admitted that, from on or about May 2013 and continuing

until about December 2015, Defendant Taro conspired to suppress and eliminate competition by

agreeing to allocate customers and rig bids for, and stabilize, maintain, and fix prices of, certain

generic drugs in the United States, including Etodolac immediate release and extended release and

Carbamazepine tablets and chews, with Defendant Teva. Between on or about May 2013 and

December 2015, the generic drugs affected by this conspiracy sold by Defendant Taro and

Defendant Teva, as well as payments for the affected generic drugs, traveled in interstate trade and



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commerce. The business activities of Defendant Taro and its co-conspirators in connection with

the manufacture and sale of the generic drugs affected by this conspiracy were within the flow of,

and substantially affected, interstate trade and commerce. The generic drugs affected by the

activities of Defendant Taro and its co-conspirators were sold to customers in various states in the

United States, including within the Eastern District of Pennsylvania.

       111.    On August 25, 2020, a Grand Jury superseded the Indictment issued against

Glenmark. In this Second Superseding Indictment, the Grand Jury identified as co-conspirators

Apotex, Taro, Sandoz, and also various entities and individuals both known and unknown to the

grand jury.

       112.    The Grand Jury established that, between May 2013 and December 2015, Teva,

Glenmark, and their co-conspirators knowingly entered into and engaged in a conspiracy to

suppress and eliminate competition by agreeing to increase and maintain prices of Pravastatin,

Carbamazepine, Clotrimazole, Etodolac, Fluocinonide, Warfarin, Tobramycin, Nadolol,

Temozolomide, and other generic drugs sold in the United States. Additionally, Teva, Glenmark,

and their co-conspirators (including Apotex) sold substantial quantities of generic drugs affected

by the conspiracy.

       113.    Teva and its co-conspirators derived at least $350,000,000 in gains from the

conspiracy.

       B.      At Least 49 State Attorneys General are Also Investigating the
               Anticompetitive Conduct in the Generic Drug Industry

       114.    In addition to the DOJ’s criminal enforcement action, at least 49 States’ Attorneys

General, led by the State of Connecticut, have also filed several civil enforcement actions based

on their investigation to date into generic drug pricing. To date, the States have identified as co-

conspirators 30 corporate generic drug manufacturers that conspired to fix prices of approximately


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200 different generic drugs. Those companies are Actavis, Ascend, Apotex, Amneal, Aurobindo,

Breckenridge, Citron, Dr. Reddy’s, Emcure, Fougera, G&W, Glenmark, Greenstone, Heritage,

Lannett, Lupin, Mallinckrodt, Mayne, Mylan, Par, Perrigo, Pfizer, Sandoz, Sun, Taro, Teligent,

Teva, Upsher-Smith, Valeant, Wockhardt, and Zydus.

       115.    In essence, the States allege that the market for more than 200 generic drugs (along

with many other drugs not included in their Complaints) was cartelized based on an agreement or

understanding between or among Defendants and their co-conspirators to refrain from competing

with each other on the pricing and sale of the generic drugs in the United States. This agreement

or understanding that the Defendants and their co-conspirators adhered to provides that each

generic manufacturer “is entitled to its [predetermined share] of the market, whether the market is

a particular drug, or a number of generic drugs. [The predetermined share] is an approximation of

how much market share each competitor is entitled to, based on the number of competitors in the

particular drug market, with a potential adjustment based on the timing of their entry.... The

objective is to attain a state of equilibrium, where none are incentivized to compete for additional

market share by eroding price.” In other words, generic drug manufacturers followed an agreement

or understanding to apply market allocation rules that governed the market share that generic drug

manufacturers should receive for every generic drug that they sold.

       116.    In furtherance of the conspiracy, the States allege that Defendants would frequently

rig bids by increasing pricing to existing customers in order to allow another conspirator to win

the business of that customer and obtain the market share to which it was entitled by the

conspiracy’s rules.

       117.    These market allocation and price-fixing agreements were often negotiated across

more than one generic drug. In order to maintain supracompetitive prices, “customers in one drug



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market might be traded for customers in another drug market.... Alternatively, competitors might

allow price increases on one or more generic drugs without competing based on a quid pro quo

from other competitors on different drugs.”

       118.    For example, Rajiv Malik of Mylan, N.V., spoke with Jeffrey Glazer of Heritage,

and Malik agreed that Mylan would walk away from two large accounts for Doxycycline DR so

that Heritage could win this business. Malik noted that Mylan’s consideration for abandoning this

business had been provided previously, when Heritage intentionally forfeited accounts to Mylan

on a different drug. During this exchange, as with all collusive communications involving Mylan

alleged in this Complaint, the senior executive from Mylan (in this case Mr. Malik) acted on behalf

of and reached an agreement that bound all of the Mylan entities identified in this Complaint.

       119.    By adhering to the common understanding regarding the market share that each

conspirator was entitled to, the Defendants also facilitated substantial price increases.

       120.    These allegations – and numerous others – from the States’ investigation are

supported by direct evidence from at least six cooperating witnesses. The expected testimony from

these cooperating witnesses will directly support and corroborate the allegations throughout this

Complaint. Some of those cooperating witnesses include:

              (a)      A former pricing executive at Defendant Sandoz during the time period

relevant to this Complaint [referred to herein as CW-1];

              (b)      A former sales and marketing executive at Rising Pharmaceuticals, Inc.

(“Rising”) and Defendant Sandoz during the time period relevant to this Complaint [referred to

herein as CW-2];

              (c)      A former senior sales executive at Defendant Sandoz and Defendant

Fougera during the time period relevant to this Complaint [referred to herein as CW-3];



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               (d)     A former senior sales executive at Defendant Sandoz during the time period

relevant to this Complaint [referred to herein as CW-4];

               (e)     A former senior executive at Defendant Glenmark during the time period

relevant to this Complaint [referred to herein as CW-5];

               (f)     A former senior executive at Defendant Fougera and Defendant Aurobindo

during the time period relevant to this Complaint [referred to herein as CW-6]; and

               (g)     Jason Malek (“Malek”), the former Vice President of Commercial

Operations at Defendant Heritage who pled guilty to his role in the price-fixing Glyburide and

Doxycycline.

VIII. CONGRESSIONAL RESPONSES TO GENERIC DRUG PRICE INCREASES

       121.     In addition to the investigations by the DOJ and the States, Congress has raised

concerns about the alarming price spikes for numerous generic pharmaceuticals.

       122.     In the Fall of 2014, Senator Bernie Sanders and Representative Elijah Cummings

requested information from manufacturers of ten drugs that had experienced extraordinary price

increases.5 In November 2014, Senator Sanders conducted a hearing entitled “Why Are Some

Generic Drugs Skyrocketing in Price?” (“Senate Hearing”). Various witnesses discussed the price

hikes for generic drugs, but none of the industry executives that were invited to testify appeared.6

       123.     Senator Sanders and Representative Cummings followed up with a request to the

Office of the Inspector General of the Department of Health & Human Services (“OIG”), asking


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        5
               Senator Sanders, Press Release, Congress Investigating Why Generic Drug Prices
Are Skyrocketing (Oct. 2, 2014), available at https://www.sanders.senate.gov/newsroom/press-
releases/congress-investigating-why-generic-drug-prices-are-skyrocketing.
       6
              Senate Hearing (Nov. 20, 2014), available at https://www.help.senate.gov/
hearings/why-are-some-generic-drugs-skyrocketing-in-priced.


                                                69
it to investigate the effect that price increases of generic drugs have had on the Medicare and

Medicaid programs. The OIG issued its report in December 2015, confirming that price increases

for numerous generic drugs far outpaced inflation.7

        124.    In response to a Congressional request from Senators Susan Collins, Claire

McCaskill, Bill Nelson, and Mark Warner, the United States Government Accountability Office

(“GAO”) issued a report in August 2016 entitled “Generic Drugs Under Medicare: Part D Generic

Drug Prices Declined Overall, but Some Had Extraordinary Price Increases.”8             The GAO

investigation confirmed that in a competitive market, generic drug prices decline and remain

stable, absent shortages or other market disruptions.9 And this was the case for most generics. But

it identified numerous drugs that experienced “extraordinary” increases, which it defined as an

increase of more than 100%.10

IX.     THE GENERIC DRUG MANUFACTURING INDUSTRY WAS
        CHARACTERIZED BY AN EXTREMELY HIGH LEVEL OF COMPETITOR
        CONTACTS, WHICH FACILITATED COLLUSION BETWEEN DEFENDANTS

        125.    The collusion alleged in this Complaint infected the generic drug manufacturing

industry, and at a minimum it contaminated the pricing and sale of the Price-Fixed Generic Drugs

in this case.




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       7
              HHS OIG, Average Manufacturer Prices Increased Faster than Inflation for Many
Generic Drugs (Dec. 2015), available at https://oig.hhs.gov/oas/reports/region6/61500030.pdf.
        8
              GAO Report to Congressional Requesters, Generic Drugs Under Medicare (Aug.
12, 2016) (“GAO Report”), available at http://www.gao.gov/products/GAO-16-706.
        9
                GAO Report, at 23-25.
        10
                Id. at 1 & Appendix III.


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          126.   As Connecticut’s Attorney General George C. Jepsen commented, there is “a

culture of cronyism [in the generic drugs manufacturing industry] where, whether it’s over a game

of golf or a dinner or drinks, there’s just systematic cooperation.”11

          127.   As alleged in this Complaint, these numerous competitor contacts between generic

drug manufacturers resulted in express agreements between Defendants to fix prices, allocate

markets, and rig bids on the pricing and sale of generic drugs sold in the United States to Plaintiff

and others, including the Price-Fixed Generics. In other words, the Defendants got together and

exchanged assurances of common action and also adopted a common plan to cartelize the pricing

and sale of the Price-Fixed Generic Drugs.

          A.     Defendants Used Trade Association Meetings to Facilitate Their Collusion

          128.   As the civil and criminal enforcement actions indicate, Defendants were members

of numerous trade associations and used the meetings of those associations to facilitate their

collusion. The frequent trade association meetings provided an ideal mechanism through which

Defendants could and did meet in person and reach agreements with their competitors to increase

prices on the Price-Fixed Generic Drugs sold to Plaintiff, its assignor, and others in the United

States.

          129.   Upon information and belief, Defendants’ anticompetitive conduct was a result of

an agreement (or series of agreements) to fix, maintain, and stabilize prices, rig bids, and allocate

customers for the sale of the Price-Fixed Generic Drugs. The agreement (or series of agreements)

was furthered by discussions held at industry meetings and events hosted by various trade



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       11
              K. Thomas, 20 States Accuse Generic Drug Companies of Price Fixing, NY TIMES
(Dec. 15, 2016), https://www.nytimes.com/2016/12/15/business/generic-drug-price-lawsuit-teva-
mylan.html?mcubz=3.


                                                 71
associations, including GPhA, HDMA, ECRM, and MMCAP (all defined below) as well as other

meetings and communications.

          130.   In formulating and effectuating their conspiracy, Defendants engaged in numerous

anticompetitive activities, including, among other acts:

                 (a)    Participating, directing, authorizing, or consenting to the participation of

subordinate employees in meetings, conversations, and communications with coconspirators to

discuss the sale and pricing of Price-Fixed Generic Drugs in the United States;

                 (b)    Participating, directing, authorizing, or consenting to the participation of

subordinate employees in meetings, conversations, and communications with co-conspirators to

engage in market and customer allocation or bid rigging for Price-Fixed Generic Drugs sold in the

United States;

                 (c)    Agreeing during those meetings, conversations, and communications to

engage in market and customer allocation or bid rigging for Price-Fixed Generic Drugs sold in the

United States;

                 (d)    Agreeing during those meetings, conversations, and communications not to

compete against each other for certain customers for Price-Fixed Generic Drugs sold in the United

States;

                 (e)    Submitting bids, withholding bids, and issuing price proposals in

accordance with the agreements reached;

                 (f)    Selling Price-Fixed Generic Drugs in the United States at collusive and

noncompetitive prices; and

                 (g)    Accepting payment for Price-Fixed Generic Drugs sold in the United States

at collusive and noncompetitive prices.



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       131.    To sustain a conspiracy, conspirators often communicate to ensure that all are

adhering to the collective scheme.        Here, such communications between generic drug

manufacturers occurred primarily through: trade association meetings and conferences, private

meetings, dinners, and outings among smaller groups of employees of various generic drug

manufacturers, and individual private communications between and among Defendants’

employees through use of the phone, electronic messaging and similar means.

       132.    These secret, conspiratorial meetings, discussions, and communications helped to

ensure that all Defendants agreed to participate in, implement, and maintain an unlawful bid

rigging, price-fixing, and market and customer allocation scheme.

       133.    The industry intelligence-gathering reporting firm Policy and Regulatory Report

has reportedly obtained information regarding the investigation of generic drug companies by the

DOJ, and has indicated that the DOJ is investigating the extent to which trade associations and

industry conferences have been used as forums for collusion among competing generic drug

companies. The States have similarly noted the centrality of trade associations and industry

conferences in their investigation, stating that they have uncovered evidence that certain generic

drug companies “routinely coordinated their schemes through direct interaction with their

competitors at industry trade shows, customer conferences, and other events, as well as through

direct e-mail, phone, and text message communications.”12

       134.    Defendants were members of numerous trade associations, which they used to

facilitate their conspiratorial communications and implement their anticompetitive scheme to

raise, maintain, and stabilize prices, rig bids, and engage in market and customer allocation


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            http://www.ct.gov/ag/cwp/view.asp?Q=590616&A=2341.



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concerning Price-Fixed Generic Drugs, including but not limited to GPhA and HDMA. In

addition, Defendants regularly attended industry events hosted by the MMCAP.13

       135.    The GPhA bills itself as “the nation’s leading trade association for manufacturers

and distributors of generic prescription drugs, manufacturers of bulk active pharmaceutical

chemicals, and suppliers of other goods and services to the generic industry.” The trade association

was the result of a 2000 merger between the GPhA and two rival trade associations (the National

Association of Pharmaceutical Manufacturers, and the National Pharmaceutical Alliance).

According to GPhA’s website, its “member companies supply approximately 90 percent of the

generic prescription drugs dispensed in the U.S. each year.” The GPhA’s website touts the

“business networking opportunities” and the “peer-to-peer connections” as the primary reasons to

join the trade association. See http://www.gphaonline.org/about/ membership. GPhA members

during the relevant time period have included Defendants Actavis, Amneal, Apotex, Aurobindo,

Cadista, Dr. Reddy’s, Glenmark, Greenstone, Heritage, Impax, Lupin, Mallinckrodt, Mylan, Par,

Perrigo, Sandoz, Sun, Teva, West-Ward, Wockhardt, and Zydus.

       136.    Throughout the period relevant to Plaintiff’s claims, the GPhA held three

conferences each year. The GPhA’s Fall Technical Conference was held each year in late October

in Bethesda, Maryland. The GPhA’s Annual Meeting was held each year in mid-February in

Orlando, Florida. The GPhA’s CMC Workshop was held each year in early June in Bethesda,

Maryland. Exhibit 1 lists GPhA meetings attended by Defendants.




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                Exhibit 1 to the Complaint contains a chart which details all known trade
association meetings, conferences, and/or events attended by Defendants from 2010-2016. The
latter half of Exhibit 1 lists the names of individual attendees at each meeting.


                                                74
       137.    Upon information and belief, each of the conspiratorial price increases alleged in

this Complaint was discussed, at least in part, at the GPhA’s three annual meetings (including the

numerous social events that were attendant to these meetings, such as golf outings, cocktail parties,

and even informal dinners). In many of the instances alleged above, attendees for each conspirator

included individuals with pricing authority over generic pharmaceutical drugs, including the Price-

Fixed Generic Drugs. Indeed, the States allege that the GPhA meetings and other events “provide

generic drug manufacturers ... with ample opportunity to meet, discuss, devise and implement a

host of anticompetitive schemes that unreasonably restrain competition in the United States’

market for generic drugs.”

       138.    Moreover, several of Defendants’ high-ranking corporate officers served on

GPhA’s Board of Directors, which gave Defendants an opportunity to communicate with each

other. Listed below are the individuals and their companies.

                                   Defendants’ Membership in
                                GPhA Board of Directors 2012-2016
                                     2012-2013 (Charles Mayr)
                       Actavis
                                     2015 (Bob Stewart)
                       Apotex        2012-2016 (Jeff Watson)
                       Amneal        2012-2013 (Chriag Patel)
                       Aurobindo     2016 (Robert Cunard)
                       Dr. Reddy’s   2016 (Alok Sonig)
                       Heritage      2012-2015 (Jeffrey Glazer)
                                     2012-2014 (Carole Ben-Maimon)
                       Impax
                                     2015-2016 (Marcy Macdonald)
                       Lupin         2014-2016 (Paul McGarty)
                                     2012-2014 (Tony Mauro)
                       Mylan         2015 (Marcie McClintic Coates)
                                     2016 (Heather Bresch)
                       Par           2015-2016 (Tony Pera)
                                     2013-2015 (Doug Boothe)
                       Perrigo
                                     2016 (Richard Stec)
                                     2012-2013 (Don DeGolyer)
                       Sandoz
                                     2014-2016 (Peter Goldschmidt)
                       Sun           2015-2016 (Jim Kedrowski)



                                                 75
                                 Defendants’ Membership in
                              GPhA Board of Directors 2012-2016
                                   2012-2013 (Debra Barrett)
                       Teva        2014 (Allan Oberman)
                                   2015-2016 (Debra Barrett)
                       West-Ward   2016 (Michael Raya)
                       Zydus       2012-2016 (Joseph Renner)

       139.    In addition to the GPhA meetings, other industry events provided Defendants with

opportunities to collude, and Defendants did in fact use these opportunities to discuss their

unlawful agreements.

       140.    The HDMA (now called HDA) is a national trade association that represents

“primary pharmaceutical distributors” which links the nation’s drug manufacturers and more than

200,000 pharmacies, hospitals, long-term care facilities, and clinics. HDMA holds regular

conferences where its members, including generic drug manufacturers, meet to discuss various

issues affecting the pharmaceutical industry. HDMA members, during the relevant time period,

have included Defendants Apotex, Breckenridge, Citron, Dr. Reddy’s, Heritage, Impax, Lannett,

Lupin, Mayne, Mylan, Par, Sandoz, Sun, Teva, Upsher-Smith, Wockhardt, and Zydus. Exhibit 1

lists HDMA meetings attended by Defendants.

       141.    Other events at which Defendants may have conspired included meetings held by

the Efficient Collaborative Retail Marketing (ECRM).

       142.    According to its website, ECRM conducts Efficient Program Planning Sessions that

are made of one on-on-one strategic meetings that connect decision makers in an effort to

maximize time, grow sales, and uncover industry trends. Exhibit 1 lists ECRM meetings attended

by Defendants.

       143.    At these various conferences and trade shows, representatives from at least some

Defendants, as well as other generic drug manufacturers, discussed their respective businesses and


                                               76
customers. These discussions would occur at social events, including lunches, cocktail parties,

dinners, and golf outings, that usually accompanied these conferences and trade shows.

Defendants’ employees used these opportunities to discuss and share upcoming bids, specific

generic drug markets, pricing strategies and pricing terms in their contracts with customers.

          144.   In conjunction with meetings at these conferences and trade shows, representatives

of generic drug manufacturers got together separately, in smaller groups, allowing them to further

meet face-to-face with their competitors and discuss their business. In fact, high-level executives

of many generic drug manufacturers got together periodically for what at least some of them

referred to as industry dinners.

          145.   A large number of generic drug manufacturers, including many Defendants here,

are headquartered in close proximity to one another in New York, New Jersey, and eastern

Pennsylvania, giving them easier and more frequent opportunities to meet and collude. For

example, in January 2014, at a time when the prices of a number of generic drugs were reportedly

soaring, at least thirteen high-ranking male executives, including CEOs, Presidents, and Senior

Vice Presidents of various generic drug manufacturers, met at a steakhouse in Bridgewater, New

Jersey.

          146.   Through these various interactions, Defendants’ employees were often acutely

aware of their competition and, more importantly, each other’s current and future business plans.

This familiarity and opportunity often led to agreements among competitors to fix prices or to

allocate a given market so as to avoid competing with one another on price.

          147.   Defendants also routinely communicated and shared information with each other

about bids and pricing strategy. This included forwarding bid packages received from a customer

(e.g., a Request for Proposal or “RFP”) to a competitor, either on their own initiative, at the request



                                                  77
of a competitor, or by contacting a competitor to request that the competitor share that type of

information. Upon information and belief, these information exchanges were made by individuals

with pricing and bidding authority and impacted the prices charges by Defendants for the Price-

Fixed Generic Drugs.

         148.   In sum, during meetings of the GPhA, HDMA, ECRM, and MMCAP, and the other

meetings described in Exhibit 1, Defendants exchanged confidential, commercially sensitive

information in furtherance of the conspiracy, or agreed to fix prices, or both of Price-Fixed Generic

Drugs.

         B.     Defendants Communicated in Secret through E-Mail, Telephone, and Text
                Messages

         149.   In addition to the in-person meetings, Defendants also communicated regularly in

furtherance of the conspiracy via e-mail, telephone, and text.

         150.   Telephone records produced to the States establish that senior sales executives and

other individuals with responsibility for pricing at Heritage had at least 513 contacts with

executives from their horizontal competitors – Actavis, Apotex, Aurobindo, Citron, Dr. Reddy’s,

Glenmark, Lannett, Mayne, Par, Sandoz, Sun, Teva, and Zydus.

         151.   Similarly, senior sales executives and other individuals responsible for pricing at

Teva had at least 1,501 contacts with executives from their horizontal competitors – Actavis,

Apotex, Aurobindo, Citron, Dr. Reddy’s, Glenmark, Heritage, Lannett, Mayne, Par, Sandoz, Sun,

and Zydus.

         152.   Collusion is the only plausible inference to draw from the extremely high number

of competitors’ contacts revealed by Defendants’ phone records. Upon information and belief,

Defendants used these contacts to discuss the unlawful agreements alleged in this Complaint.




                                                 78
       C.      The Overarching Conspiracy Between Generic Drug Manufacturers

       153.    As a result of these communications, sales and marketing executives in the generic

pharmaceutical industry are well aware of their competitors’ current and future business plans.

       154.    The overarching conspiracy among generic manufacturers, however – which ties

together all of the agreements on individual drugs identified in this Complaint – is an agreed- upon

code that each competitor is entitled to its allotted share of the market, whether that market is a

particular generic drug, or a number of generic drugs. This is generally understood as an

approximation of how much market share each competitor is entitled to, based on the number of

competitors in the market, with a potential adjustment based on the timing of entry. Once a

manufacturer has achieved its allotted share, it is generally understood that the competitor will no

longer compete for additional business. The common goal or purpose of this overarching

agreement is to keep prices high, avoid price erosion and serve as the basis for further supra-

competitive price increases.

       155.    This overarching agreement is widespread across the generic drug industry and is

broader than the Defendant manufacturers named in this Complaint. This Complaint focuses on

the role of these named Defendants and their participation in, and agreement with, this overarching

conspiracy. This Complaint describes conspiracies regarding the sale of specific drugs, and how

these specific conspiracies are also part of the larger overarching conspiracy.

       156.    The exact contours of this understanding, which has been in place for many years,

has evolved over time during the numerous in-person meetings, telephonic communications, and

other interactions between generic manufacturers about specific drugs. These events occur with

such great frequency that there is an almost constant ability for Defendants to meet in person and

discuss their business plans. For example, between February 20, 2013 and December 20, 2013 (a



                                                79
41-week period), there were at least forty-four different tradeshows or customer conferences when

the Defendants had the opportunity to meet in person. These in-person meetings gave the

Defendants the opportunity and cover to have these conversations, and reach these agreements,

without fear of detection.

       157.    As described in more detail below, when necessary, this larger understanding was

reinforced through phone calls and text messages between the Defendants to discuss desire to

maintain or raise prices with respect to specific drugs. These types of communications occur with

great frequency across the industry, including among Defendants.

       158.    For example, from the period of January 1, 2013 through December 31, 2013,

senior sales executives and other individuals responsible for the pricing, marketing and sales of

generic drugs at Defendant Teva spoke to representatives of every significant competitor by phone

and/or text on multiple occasions. Phone calls and text messages with several of those key

competitors during the 2013 calendar year are set forth below. The following Table (Table 1),

which is conservative because it is based on phone and text message records from only some of

the executives and salespeople at issue, and therefore shows only some of the phone calls and text

messages between the Defendants during that period, sheds some light on the frequency with

which Defendants communicated with each other throughout 2013.

           Teva Phone/Text Communications with Other Defendants (By Month)
                         January 1, 2013 – December 31, 2013




                                               80
       159.    Of the 1,389 calls listed in Table 1, 1,234 of them – or 89% – involved Green, Patel

and Rekenthaler of Teva speaking with competitors.          Many – though not all – of those

communications involve matters that are addressed throughout this Complaint.

       160.    Similarly, from the period of January 1, 2014 through December 31, 2014, senior

sales executives and other individuals responsible for the pricing, marketing and sales of generic

drugs at Defendant Teva continued to speak to representatives of every significant competitor by

phone and/or text on multiple occasions.

       161.    It was not just Teva personnel speaking to their competitors, however. All of these

individuals were speaking to each other, when needed, hundreds or even thousands of times to

ensure adherence to the overarching conspiracy. Because it would be too voluminous to list the

total number of calls among all of the Defendants, the following graphic shows the interlocking

web of communications and relationships between just some of the individuals employed by Teva

and its key competitors. Each line in the graphic below demonstrates that at least one phone call

or text message was sent between those individuals (identified by their initials) while they were

competitors.   For many of these individuals, there were hundreds of calls and texts with

competitors, but the volume of those communications is not captured in the graphic below.




                                                81
       162.    In order to provide some organizational principle around the massive amount of

collusive behavior by the Defendants described in this Complaint, certain sections below are

centered on the relationship between Defendant Teva and another conspirator. However, this

convenience should not imply that the Complaint is solely concerned with bilateral relationships

involving Teva, because it is not.

       163.    The specific drug agreements often involve overlapping sets of Defendants in

communication with each other, all following their agreed-upon code of conduct. For example, to

view only a small portion of the interlocking, overlapping web of collusion formed by Defendants:

Teva, Taro and Wockhardt discussed among themselves the allocation of the Enalapril Maleate

market; Teva and Taro communicated with Sandoz concerning the prices for Ketoconazole Cream;

Sandoz worked with Mylan to allocate the market for Valsartan HCTZ; Teva, Mylan and Par all

communicated with each other in the spring of 2014 concerning the market for Budesonide DR

Capsules. These are not isolated, one-off agreements, but rather demonstrate the ongoing,

sprawling nature of the Defendants’ overarching conspiracy.

       164.    Referred to sometimes as the                           for the generic drug industry,

the understanding among Defendants dictates that when two generic manufacturers enter the

market at the same time, they generally expect that each competitor is entitled to approximately

50% of the market. When a third competitor enters, each competitor expects to obtain 33% share;

when a fourth competitor enters, each expects 25%; and so on, as additional competitors enter the

market.

       165.    When a generic drug manufacturer is the first to enter a particular drug market on

an exclusive basis it is commonly understood that that manufacturer is entitled to a little more than

its proportional share of the market. For example, when Defendant Dr. Reddy’s was about to enter



                                                 82
the market for a drug in January 2013, the Vice President of Sales and Marketing explained during

negotiations with his competitor that




       166.    Conversely, those generic manufacturers that enter later are typically entitled to a

little less than their proportional share. One of the many examples of this occurred in March 2014,

when – as discussed more fully below – Defendant Lupin entered the Niacin ER market after

Defendant Teva had previously been exclusive. Patel of Teva and Berthold of Lupin spoke directly

by phone a number of times during this period, including three calls on March 24, 2014. That

same day, Rekenthaler of Teva sent an internal e-mail to Patel stating:



                        Here, Teva’s expectation to maintain 60% share in a two-player market,

after being the first in that market, was consistent with the overarching conspiracy.

       167.    Defendant Taro went so far as to create a graphic representation of that

understanding, taking into account both the number of competitors and order of entry to estimate

what its allocated should be in any given market:




                                                83
       168.    By following these rules of the conspiracy, Defendants were able to achieve their

common objective of increasing prices on all generic drugs identified in this Complaint to

supracompetitive levels. Indeed, Defendants were able to implement the substantial price increases

identified in this Complaint because every Defendant committed to this shared goal by refraining

from competition when those price increases were intiated.

       169.    This common goal was stated succinctly by Aprahamian, who advised the Taro

Pricing Department in training documents from September and November 2013 that



                                                                 As demonstrated throughout the

Complaint, Aprahamian’s idea of                     meant constantly reaching out to competitors in

order to coordinate the conspiracy and keep prices high.

       170.    This scheme to minimize competition was typically implemented as follows. First,

Defendants allocate the market for an individual drug based on the number of competitors and the

timing of their entry so that each competitor obtains an acceptable share of the market. Then, the

competitors agree on ways to avoid competing on price and, at times, significantly raise price.

This pattern is frequently followed even in the absence of direct communication between the

competitors, demonstrating the universal code of conduct agreed to by Defendants.

       171.    The rules of the conspiracy also dictated how generic drug manufacturers

responded when a competitor experienced supply issues. If the disruption was temporary, the

existing competitors would refrain from taking any action that might upset the market balance. By

contrast, if the disruption was longer term, the competitors would divide up customers until each

player achieved a revised allocation based on the number of players remaining in the market. For

example, in July 2013, a retail pharmacy customer e-mailed Defendant Taro stating that one of



                                               84
Defendant Mylan’s products was on back order and asked Taro to bid for the business.

Aprahamian sent an internal e-mail stating:




       172.    These rules” applied equally to price increases. As long as everyone was playing

fair, the larger understanding dictates that they will not seek to compete or take advantage of a

competitor’s price increase by bidding a lower price to take that business. Doing so is viewed as

“punishing” a competitor for raising prices – which is against the “rules.” Indeed, rather than

competing for customers in the face of a price increase, competitors often use this as an opportunity

to follow with comparable price increases of their own.

       173.    For example, in May 2013 after a Glenmark price increase on a number of different

drugs (discussed more fully below), Teva was approached by a large retail customer requesting a

bid for several drugs. Kevin Green immediately sought to determine whether this request was due

to a competitor price increase, in order to determine what Teva’s strategy should be:




       174.    Teva declined to bid, after conversations with its competitors confirming that the

reason for the request was due to a competitor’s price increase.

       175.    When a generic manufacturer participates in this scheme, and prices stay high, the

generic manufacturer is generally referred to as a “responsible” or “rational” competitor. For

instance, in May 2013,                      , a senior sales and marketing executive at Defendant

Sandoz, sent an internal e-mail to            , another Sandoz senior executive, stating:


                                                 85
           176.   Defendant Sandoz, in turn, uses that same terminology to refer to its competitors

that are acting in accordance with the conspiracy’s principles. For example, in internal company

presentations throughout 2014, Sandoz consistently referred to Defendant Actavis as a

                             and Defendant Taro as a

           177.   Defendant Teva had its own term of art – referring to the competitors it had the

most collusive relationships with as “high quality” competitors. As explored more fully below,

Teva had long-standing relationships with these competitors, including several of the corporate

Defendants, which affected nearly every overlapping drug they sold. As just one example, Patel

of Teva exchanged seven text messages and had two long phone calls with Aprahamian of Taro

on June 3 and 4, 2014. After a lengthy twenty-five minute call with Aprahamian on the morning

of June 4, Patel sent an internal e-mail to                       , a Teva senior marketing executive,

stating:



           178.   Adherence to the rules is critical in order to maintain high prices. Indeed, that is the

primary purpose of the agreement. If even one competitor does not participate (and, thus behave

in accordance with) the larger understanding, it can lead to unwanted competition and lower prices.

In the relatively few instances where a competitor prioritizes gaining market share over the larger

understanding of maintaining higher prices that competitor is viewed as “irresponsible,” and is

spoken to by other competitors. For example, in March 2015, Defendant Upsher-Smith learned

that Defendant Sandoz had submitted a bid for Chlorpromazine at one of Upsher-Smith’s GPO



                                                    86
customers.              , a senior account manager at Upsher-Smith, forwarded that information

internally stating:



       179.    Generic drug manufacturers actively and routinely monitor their competitors, as

well as discuss customer allocation amongst each other within the context of agreements on

specific drugs, as set forth more fully below. For example, in July 2013,                a senior

marketing executive at Sandoz, sent an internal e-mail identifying 47 products for which the rules

of the conspiracy justified Sandoz seeking additional market share. After some back-and-forth

internal joking among Sandoz executives about the idea that Sandoz might actually attempt to

compete for business in those markets by driving prices down, Kellum responded by emphasizing

the truly industry-wide nature of the agreement:




       180.    Similarly, in September 2014, a large wholesale customer reached out to several

large generic manufacturers, including Defendant Teva, asking them to submit a




                                               87
           181.   The agreement is not limited to any one drug; these principles constantly inform

and guide the market actions that generic drug manufacturers decide to take (or not take) both

within and across individual-drug markets. For example, in November 2013, Defendant Dr.

Reddy’s won the “B” slot14 business at a large wholesale customer on Divalproex ER. Dr. Reddy’s

had previously won the “A” slot business at that customer because Defendant Mylan had yielded

the business.                , a senior account executive at Dr. Reddy’s, sent an internal e-mail

stating:




           182.   Similarly, in October 2013, CW-1, a senior pricing executive at Sandoz, sent an

internal e-mail, including to Kellum, stating that Sandoz had decided not to bid on Haloperidol

and Trifluoperazine at Walgreens. CW-1 explained his reasoning as follows:




                                                           These decisions were made by Sandoz

executives as a direct result of communications between the competitors, and in the context of an

ongoing understanding between Defendants Sandoz and Mylan to fix prices and avoid competition

on a number of different drugs, including Nadolol and Benazepril HCTZ.



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        14
                Sometimes purchasers contract with multiple suppliers – referring to them as
primary (“A slot”) or secondary (“B slot”) suppliers – so that in the event of a supply disruption
for a particular drug, there is a secondary source of supply.


                                                 88
       183.    A similar scenario occurred in August 2015, when Defendant Taro declined to bid

on Etodolac extended release tablets at a large supermarket chain where Defendant Zydus was the

incumbent. Taro voiced concerns internally that Zydus might retaliate and take share from them

on another product, Warfarin Sodium Tablets.

                                                                         As discussed more fully

below, both Etodolac ER and Warfarin were drugs where Taro had previously agreed with its

competitors, including Teva and Zydus, to fix prices and allocate customers in 2014. Taro’s focus

on furthering the conspiracy was merely an extension of those already-existing agreements.

       184.    As these examples make clear, the interdependence among generic manufacturers

transcends product markets as these companies make decisions not only based on what impact

their actions will have in a given product market, but also on how those actions will impact other

product markets where the competitors overlap, and any future markets where they might

eventually compete.

       185.    In fact, as explained in more detail below, certain Defendants had long-standing

agreements with some of their competitors to limit competition on any products on which the

companies overlapped. For instance, shortly after Patel was hired by Teva in 2013, she reached

out to CW-1 and asked how Sandoz handled price increases. Patel explained that she had been

hired by Teva to identify products where Teva could increase prices. CW-1 told Patel that Sandoz

would follow any Teva price increases and that Sandoz would not poach Teva’s customers after

Teva increased price. CW-1 reiterated his conversation to Kellum, who understood and approved.

       186.    Indeed, generic manufacturers often communicated about, and colluded on,

multiple drugs at any given time. As just one example, in July 2013, Defendant Teva increased

pricing on a list of 21 different products. There was a great deal of internal pressure from



                                               89
management at Sandoz – including from Kellum and CW-1 – to obtain a copy of the Teva price

increase list. As a result, CW-2 (then a Sandoz employee) reached out to his former colleague,

Rekenthaler, the Vice President of Sales at Teva, to obtain a copy of the full Teva price increase

list. Rekenthaler forwarded the list to his own personal e- mail address before then forwarding it

to CW-2’s personal e-mail address. Upon receiving the list, CW-2 read it to his supervisor – CW-

1 – over the phone. Notably, the Teva list included a number of products that Defendant Sandoz

did not even sell.

       187.    It was not uncommon for generic manufacturers to communicate with each other

about products that they did not sell. In another example, Defendants Teva, Wockhardt, and Mylan

collusively raised pricing on Enalapril in July 2013 (discussed more fully below). After a lengthy

conversation with Patel in the midst of the price increases, Aprahamian of Taro (not in the market

for Enalapril at that time) sent an internal e-mail, including to




              Taro then re-entered the Enalapril market and matched competitor pricing.

       188.    In another example, on January 1, 2013 – the day before a substantial Mylan price

increase on a number of items – Green of Teva spoke five times with Nesta of Mylan. The next

day, Green spoke with Kellum of Sandoz. Kellum then sent an internal e-mail to the Sandoz team




                                               90
                           Despite that fact that Teva did not sell Levothyroxine, Green still

conveyed to Sandoz that Mylan raised price on that product.

         189.   Unlike their branded counterparts, generic drugs are commodities and generic

manufacturers are constantly making decisions to enter new markets and leave existing markets.

Often these decisions are made, at least in part, based on who the competitors are and how strong

the relationship is between the two companies. As one example, in July 2013, Defendant Sandoz

was looking to implement a                   that involved temporarily delisting ten products that

they overlapped on with Defendant Taro. This strategy would allow Taro to raise price on these

products while Sandoz was out of the market, and then Sandoz could re-enter later at the higher

price.

         190.   This interdependence between generic manufacturers is further demonstrated by

the countless examples of generic manufacturers sharing sensitive information directly with

competitors as a matter of course. The States have gathered evidence going back more than a

decade of generic manufacturers routinely communicating and sharing information with each other

about bids and pricing strategy. This includes forwarding bid packages received from a customer

(e.g., a Request for Proposal or “RFP”) to a competitor, either on their own initiative, or at the

request of a competitor.

         191.   Defendants and other generic drug manufacturers also share information among

themselves regarding the pricing terms, price protection and rebates terms in their contracts with

customers. Defendants use this information to negotiate prices or terms that are more favorable to

them, often to the ultimate detriment of purchasers and payers. For instance, in December 2013,

Defendant Teva was negotiating new price increase language in its customer contracts, and wanted

some comfort that its competitors had similar language. On December 23, 2013, Rekenthaler



                                               91
spoke with Nesta of Mylan three times, including a thirteen minute call. Immediately after hanging

up the phone with Nesta after the third call, Rekenthaler sent the following e-mail:




       192.    Defendants were well aware that what they were doing was illegal and took steps

to cover up evidence of the overarching conspiracy. For example, in May 2014, a large customer

of Taro’s received a bid on augmented Betamethasone Dipropionate and gave Taro an opportunity

to bid to retain the business.



                                                           :




       193.    Similarly, handwritten notes from an internal Sandoz business review presentation

from May 2017 – after the States’ investigation was well underway – read: “Avoid fair share

terminology on slides – underdeveloped or overdeveloped is better.”

       194.    To avoid creating a potentially incriminating paper trail, Kellum of Sandoz

routinely admonished colleagues for putting information that was too blatant in e-mails,

understanding that it could lead to significant legal exposure for both the company and the

individuals involved.




                                                92
       195.    It bears noting that the examples referenced in this section, and in the sections that

follow, include only illustrative examples of the types of conduct described. Indeed, to date, many

of the Defendants have made no document productions in connection with the States’ investigation

or MDL 2724, including Defendants Amneal, Apotex, Breckenridge, Glenmark, Lupin, and

Zydus, and several other Defendants have made only limited productions focused on particular

drugs or custodians, including Actavis, Mylan, Par, and Wockhardt. Even Teva, the central figure

in this Complaint, has to date only produced documents from two custodians to the States.

X.     INDUSTRY COMMENTARY FURTHER SUGGESTS THAT DEFENDANTS’
       COLLUSIVE CONDUCT IS A PLAUSIBLE EXPLANATION FOR THE
       INCREASED PRICES OF THE PRICE-FIXED GENERIC DRUGS

       224.    Comments from industry analysts suggest manufacturers alternative explanations

for the price hikes (e.g., supply disruptions) are mere pretext, intended to shroud the Defendants’

and co-conspirators’ conspiratorial conduct and ends. For instance, Richard Evans at Sector &

Sovereign Research wrote:

               A plausible explanation [for price increases] is that generic manufacturers,
               having fallen to near historic low levels of financial performance are
               cooperating to raise the prices of products whose characteristics – low sales
               due to either very low prices or very low volumes - accommodate price
               inflation.15

       225.    One study of the generic drug industry concluded that in 2014: “292 generic

medication listings went up by 10% or more, 109 at least doubled in price and 14 went up by ten

or more times in price that year.”16 The GAO Report also noted similar “extraordinary price


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       15
              See Ed Silverman, Generic Drug Prices Keep Rising, but is a Slowdown
Coming?, WALL ST. J. (Apr. 22, 2015), available at http://blogs.wsj.com/pharmalot/2015/
04/22/generic-drug-prices-keep-rising-but-is-a-slowdown-coming/.
       16
               David Belk, MD, Generic Medication                 Prices,    available   at    http://
truecostofhealthcare.net/generic_medication_prices/.


                                                93
increases” across many generic drugs, including Doxycycline, in recent years that could not be

linked to any particular cause.

XI.    CORPORATE AND INDIVIDUAL RELATIONSHIPS THAT ALLOWED THE
       CONSPIRACY TO EVOLVE

       226.    An important event in the evolution of the conspiracy occurred in April 2013, when

Teva took a major step toward implementing more significant price increases by hiring Nisha Patel

as its Director of Strategic Customer Marketing. In hiring Patel, Teva threw gasoline on an already

smoldering conspiracy.

       227.    In this position, Patel’s job responsibilities included, among other things: serving

as the interface between the marketing (pricing) department and the sales force teams to develop

customer programs; establishing pricing strategies for new product launches and in-line product

opportunities; and overseeing the customer bid process and product pricing administration at Teva.

       228.    Most importantly, she was responsible for – in her own words –



                       In that role, Patel had 9-10 direct reports in the pricing department at Teva.

One of Patel’s primary job goals was to effectuate price increases. This was a significant factor in

her performance evaluations and bonus calculations and, as discussed more fully below, Patel was

rewarded handsomely by Teva for doing it.

       229.    Teva hired Patel away from ABC (where she worked for more than eight years)

specifically to identify potential generic drugs for which Teva could raise prices. Ara Aprahamian,

the Vice President of Sales and Marketing at Defendant Taro, sent an e-mail to the Chief Operating

Officer (“COO”) at Taro stating:                                                           The COO

responded by saying “[m]aybe the industry will be better for it. Teva can only improve.” Teva

had, up to that point, acquired a reputation in the industry for being slow to follow price increases,


                                                 94
and the Taro COO viewed Patel as someone who would change that mindset at Teva. Patel had

also worked with Aprahamian several years earlier at ABC.

       230.    Patel’s last day at ABC was April 11, 2013, and she started at Teva on April 22,

2013. Patel began communicating with competitors, by phone and text, the day after she left ABC,

before she even started at Teva. In other words, as soon as she left ABC, she began working with

Teva to cartelize the generic drug market to the detriment of her former employer.

       231.    Once Patel began her employment at Teva, her communications with certain

competitors became much more systematic and frequent – and focused around market events such

as price increases, market entry, customer challenges and loss of exclusivity.

       A.      Ranking “Quality of Competition” to Identify Price Increase Candidates

       232.    When she joined Teva, Patel’s highest priority was identifying drugs where Teva

could effectively raise price without competition. As part of her process of identifying candidates

for price increases, Patel started to look very closely at Teva’s relationships with its competitors,

and also her own relationships with individuals at those competitors. In a separate tab of the same




       233.    Patel understood – and stressed internally at Teva – that

                                                                                        Thus, it was

very important for Patel to identify those competitors who were willing to share information about

their price increases in advance, so that Teva would be prepared to follow quickly. Conversely, it

was important for Patel to be able to inform Teva’s competitors of Teva’s increase plans so those

competitors could also follow quickly. Either way, significant coordination would be required for



                                                 95
price increases to be successful – and quality competitors were those who were more willing to

coordinate.

       234.      As she was creating the list, Patel was talking to competitors to determine their

willingness to increase prices and, therefore, where they should be ranked on the scale. For

example, in one of her first conversations with CW-1 after Patel joined Teva, Patel told CW-1 that

she had been hired by Teva to identify drugs where Teva could increase its prices. She asked CW-

1 how Sandoz handled price increases. CW-1 told Patel that Sandoz would follow Teva’s price

increases and, importantly, would not poach Teva’s customers after Teva increased.              Not

surprisingly, Sandoz was one of Teva’s highest “quality” competitors. Patel and Teva based many

price increase (and market allocation) decisions on this understanding with Sandoz over the next

several years.

       235.      It is important to note that Patel had several different ways of communicating with

competitors. Throughout this Complaint, you will see references to various phone calls and text

messages that she was exchanging with competitors. But she also communicated with competitors

in various other ways, including but not limited to instant messaging through social media

platforms such as LinkedIn and Facebook; encrypted messaging through platforms like WhatsApp;

and in-person communications. Although the States have been able to obtain some of these

communications, many of them have been destroyed by Patel.

       236.      By May 6, 2013, Patel had completed her initial ranking of fifty-six different

manufacturers in the generic drug market by their “quality.” Patel defined “quality” by her

assessment of the “strength” of a competitor as a leader or follower for price increases. Ranking

was done numerically, from a +3 ranking for the “highest quality” competitor to a -3 ranking for




                                                 96
the “lowest quality” competitor. The top ranked competitors at that time included the following

companies:




       237.    The lowest ranked competitors were:




       238.    Patel created a formula, which heavily weighted those numerical ratings assigned

to each competitor based on their “quality,” combined with a numerical score based on the number

of competitors in the market and certain other factors including whether Teva would be leading or

following the price increase. According to her formula, the best possible candidate for a price

increase (aside from a drug where Teva was exclusive) would be a drug where there was only one

other competitor in the market, which would be leading an increase, and where the competitor was

the highest “quality.” Conversely, a Teva price increase in drug market with several “low quality”

competitors would not be a good candidate due to the potential that low quality competitors might

not follow Teva’s price increase and instead use the opportunity to steal Teva’s market share.

       239.    Notably, the companies with the highest rankings at this time were companies with

whom Patel and other executives within Teva had significant relationships. Some of the notable

relationships are discussed in more detail below.




                                               97
                1.     The “High Quality” Competitor Relationships

         240.   The highest quality competitors in Patel’s rankings were competitors where Teva

had agreements to lead and follow each other’s price increases.             The agreements and

understandings regarding price increases were what made each of those competitors a high quality

competitor. As part of their understandings, those competitors also agreed that they would not

seek to compete for market share after a Teva price increase.

                       (a)    Mylan (+3)

         241.   Mylan was Teva’s highest-ranked competitor by “quality.”         The relationship

between these two competitors was longstanding, and deeply engrained. It survived changes in

personnel over time, and pre-dated Patel’s creation of the quality competitor rankings.

         242.   Kevin Green, who was employed by Teva beginning in 2006 through late October

2013, first began communicating with Jim Nesta of Mylan by telephone on February 21, 2012.

From that time until the time that Green left Teva, Green and Nesta were in almost constant

communication, speaking by phone at least 392 times, and exchanging at least twelve text

messages – including at or around every significant price increase taken by either company. This

amounts to an average of nearly one call or text message every business day during this period.

         243.   Shortly after Patel started her employment at Teva, she called Nesta on May 10,

2013 and the two spoke for over five minutes.         Because Green had already established a

relationship with Mylan, Patel did not need to speak directly with Nesta very often. Typically,

Patel would e-mail Green and ask him to obtain market intelligence about certain Mylan drugs;

Green would then speak to Nesta – often about a long list of drugs – and report his findings back

to Patel. Several examples of these communications are outlined more fully in various sections

below.



                                               98
       244.    When Green left Teva to join Zydus in late October 2013, the institutional

relationship and understanding between Teva and Mylan remained strong. Rekenthaler promptly

took over the role of communicating with Nesta. Starting in December 2013, through the time that

Rekenthaler left Teva in April, 2015, Rekenthaler spoke to Nesta 100 times. Prior to Green leaving

Teva in late October 2013, Rekenthaler and Nesta had only spoken by phone once, more than a

year earlier in 2012.

       245.    The relationship between Teva and Mylan even pre-dated the relationship between

Green and Nesta. For example, between January 1, 2010 and October 26, 2011,                       ,a

senior executive at Teva, communicated with               , a senior executive counterpart at Mylan,

by phone or text at least 135 times. The pace of communications between the two companies

slowed dramatically in November 2011 after                     left Teva and before Green began

communicating with Nesta – but continued nevertheless as needed during that time through

communications between Rekenthaler and             at Mylan.

                        (b)   Watson/Actavis (+3)

       246.    Actavis was Teva’s next highest quality competitor by ranking. Patel had strong

relationships with several executives at Actavis, including Rogerson, the Executive Director of

Pricing and Business Analytics, and                , a senior sales executive at Actavis. Rekenthaler

also communicated frequently with                      , a senior sales executive at Actavis – a

relationship that pre-dated Patel joining Teva.

       247.    Patel contacted        shortly after she started her employment at Teva, as she was

creating the quality competitor rankings. She called him on April 30, 2013, and the two exchanged

several text messages the next day, May 1, 2013. But as detailed herein, Patel communicated on

a more frequent basis with Rogerson, her counterpart in the pricing department at Actavis. From



                                                  99
May 2, 2013 through November 9, 2015, Patel spoke and/or texted with Rogerson 157 times,

including calls at or around every significant price increase taken by the respective companies.

        248.   In August 2013, Marc Falkin joined Actavis and the relationship between Teva and

Actavis grew stronger through his communications with Rekenthaler. From August 7, 2013

through the date that Rekenthaler left Teva in April, 2015, Rekenthaler and Falkin communicated

by phone or text at least 433 times.

        249.   Maureen Cavanaugh also had a very strong relationship with Falkin. The two

communicated with great frequency. From August 7, 2013 through the end of May 2016,

Cavanaugh and Falkin spoke or texted with each other 410 times.

                       (c)    Sandoz (+3)

        250.   Sandoz was also considered a top-quality competitor by Teva. Patel had a very

strong relationship with CW-1 at Sandoz.

        251.   Beginning on April 12, 2013 – the day after Patel’s last day at ABC – until August

2016, Patel and CW-1 spoke 185 times by phone, including at or around every significant price

increase taken by either company. As detailed above, in one of her initial calls with CW-1 after

she joined Teva, Patel asked CW-1 how Sandoz handled price increases. Patel explained that she

had been hired at Teva to identify products where Teva could increase prices. CW-1 reassured

Patel that Sandoz would follow any Teva price increases on overlapping drugs, and that Sandoz

would not poach Teva’s customers after Teva increased price.

        252.   Green and Rekenthaler of Teva also both had a very strong relationship with CW-

2, who was – at that time – a senior Sandoz executive. These relationships pre-dated Patel joining

Teva.




                                               100
                      (d)       Glenmark (+3)

       253.    Glenmark was one of Teva’s highest-ranked competitors primarily because Patel

had very significant relationships with several different individuals at Glenmark, including CW-5,

Brown and                   , a sales and marketing executive at Glenmark.

       254.    As stated above, Patel began communicating with CW-5 even before she began her

employment at Teva. Patel was also communicating frequently with both CW-5 and

during the time she created the quality competitor rankings, and agreed to follow several Glenmark

price increases, in May 2013.

       255.    Patel and CW-5 communicated by phone with great frequency – including at or

around the time of every significant price increase affecting the two companies – until CW-5 left

Glenmark in March 2014, at which point their communication ceased for nearly six months. After

CW-5 left Glenmark, Patel began communicating with Brown with much greater frequency to

obtain competitively sensitive information from Glenmark. Patel and Brown had never spoken by

phone before Patel started at Teva, according to the phone records produced.

                      (e)       Taro (+3)

       256.    Taro was highly rated because of Patel’s longstanding relationship with the Vice

President of Sales at Taro, Ara Aprahamian. Patel had known Aprahamian for many years, dating

back to when Patel had started her professional career as an intern at ABC.

       257.    Even though she knew Aprahamian well, they rarely ever spoke or texted by phone

until Patel started at Teva. From April 22, 2013 through March 2016, however, Patel and

Aprahamian spoke or texted at least 100 times, including calls or text messages at or around the

time of every significant price increase affecting the companies during those years.




                                                101
                       (f)    Lupin (+2)

       258.    Although initially not the highest ranked competitor, Lupin was assigned a high

rating because of Patel’s strong relationship with David Berthold, the Vice President of Sales at

Lupin. The relationship between Teva and Lupin, however, pre-dated Patel. Prior to Patel starting

at Teva, Green and others at Teva conspired directly with Berthold. Between January 2012 and

October 2013, Berthold and Green, for example, communicated by phone 125 times.

       259.    From May 6, 2013 through April 8, 2014, Patel and Berthold communicated by

phone 76 times, including at or around the time of every significant drug price increase where the

two companies overlapped.

       260.    Demonstrating the strength of the relationship between the two companies, the

price increase coordination continued between Defendants Teva and Lupin even when Green had

left Teva and when Patel was out on maternity leave. For example, in October 2013, Lupin was

preparing to increase its pricing on the drug Cephalexin Oral Suspension. Without Green or Patel

to communicate with, Berthold instead communicated with Rekenthaler and                          of

Teva in order to coordinate the price increase.

       B.      Leaders of the Conspiracy

       261.    Although the collusion discussed in this Complaint was rampant and in no way

limited to a handful of key actors, certain individuals played prominent roles in the conspiracy and

appear frequently below. The following sections discuss certain of these individuals who held

senior positions at certain Defendants and who played central roles in the conspiracy’s operation.

               1.      Ara Aprahamian

       262.    Aprahamian is the Vice President of Sales at Defendant Taro and has held that

position since he moved to Taro from Actavis in March 2013.                 Aprahamian regularly



                                                  102
communicated with competitors, including with several of his former colleagues at Actavis, and

has established relationships with individuals at many of the corporate Defendants. For example,

between March 2013 and October 2018, Aprahamian exchanged at least 706 phone calls and text

messages with his contacts at Defendants Sandoz, Glenmark, Teva, Dr. Reddy’s, Actavis, Mylan,

Wockhardt, Lannett, Amneal, Aurobindo, and Greenstone.

              2.      David Berthold

       263.   Berthold is the Vice President of Sales at Defendant Lupin and has held that

position since June 2006. During his tenure at Lupin, Berthold has been the primary person at the

company communicating with competitors. Indeed, Berthold has relationships with individuals at

many of the corporate Defendants and is one of the most prolific communicators of all the

individual participants. For example, between March 2011 and October 2018, Berthold exchanged

at least 4,185 phone calls and text messages with his contacts at Defendants Aurobindo, Glenmark,

Actavis, Wockhardt, Zydus, Teva, Breckenridge, Mylan, Sandoz, Dr. Reddy’s, Amneal, Lannett,

and Greenstone.

              3.      Jim Brown

       264.   Brown is the Vice President of Sales at Defendant Glenmark and has held that

position since November 2012. Brown was one of several Glenmark executives that conspired

with competitors. Although not as prolific in his communications with competitors as some of the

other individuals, he did communicate when necessary to further the agreements. For example,

between June 2012 and August 2018, Brown exchanged at least 395 calls and text messages with

his contacts at Defendants Actavis, Teva, Lupin, Amneal, Wockhardt, Breckenridge, Lannett,

Sandoz, Aurobindo, Zydus, Par, Apotex, and Taro.




                                              103
              4.      Maureen Cavanaugh

       265.   Cavanaugh was the Senior Vice President and Commercial Officer, North America,

at Defendant Teva until April 2018. She is currently the Senior Vice President and Chief

Commercial Officer at Defendant Lannett. During her employment at Teva, Cavanaugh knew that

her subordinates were communicating with competitors about pricing and customer allocation. In

addition, Cavanaugh maintained her own relationships with certain competitors and coordinated

with them directly when necessary to further the agreements. For example, between January 2011

and August 2017, Cavanaugh exchanged at least 612 phone calls and text messages with her

contacts at Defendants Actavis, Amneal, Zydus, Sandoz, Glenmark, and Greenstone.

              5.      Marc Falkin

       266.   Falkin was the Vice President of Marketing, Pricing and Contracts at Defendant

Actavis until Actavis was acquired by Teva in August 2016. For a period of time, Falkin was also

the Senior Vice President, US Generic Sales, at Teva. During his employment at Actavis, which

is the focus of this Complaint, Falkin was a prolific communicator and had established

relationships with executives at many of the corporate Defendants. For example, between August

2013 and July 2016, Falkin exchanged at least 2,562 phone calls and text messages with his

contacts at Defendants Zydus, Teva, Glenmark, Lannett, Aurobindo, Mylan, Lupin, Par, Apotex,

Taro, Amneal, Sandoz, Wockhardt, and Greenstone.

              6.      Jim Grauso

       267.   Grauso was employed as a Senior Vice President of Commercial Operations at

Defendant Aurobindo until January 2014.       In February 2014, Grauso moved to Defendant

Glenmark and currently holds the position of Executive Vice President, North America,

Commercial Operations. Grauso regularly communicated with competitors while he was at



                                              104
Aurobindo and continued those relationships when he transferred to Glenmark. For example,

between December 2011 and January 2014, Grauso exchanged at least 1,763 phone calls and text

messages with his contacts at Defendants Lupin, Teva, Actavis, Taro, Zydus, Amneal, Glenmark,

Wockhardt, Breckenridge, and Greenstone.

       268.    Similarly, after moving to Glenmark, Grauso continued to communicate frequently

with his contacts at competitor companies, including his former colleagues at Aurobindo. For

example, between February 2014 and October 2018, he exchanged at least 2,018 phone calls and

text messages with his contacts at Defendants Lupin, Aurobindo, Zydus, Teva, Taro, Wockhardt,

Sandoz, Dr. Reddy’s, Amneal, Rising, Par, Breckenridge, Upsher-Smith, Mylan, and Greenstone.

              7.     Kevin Green

       269.   Green worked at Defendant Teva as a Director of National Accounts until

November 2013 when he took a position with Defendant Zydus. Green is currently the Vice

President of Sales at Zydus. Green developed a number of relationships with individuals at many

of the corporate Defendants. He regularly communicated with competitors while at Teva and then

carried those relationships over to his time at Zydus. For example, between January 2010 and

October 2013, Green exchanged at least 1,410 phone calls and text messages with his contacts at

Defendants Zydus, Mylan, Dr. Reddy’s, Aurobindo, Lupin, Sandoz, Breckenridge, Wockhardt,

Lannett, and Greenstone.

       270.   Similarly, when Green became employed at Zydus, he continued to communicate

frequently with competitors, including with his former colleagues at Teva. For example, between

November 2013 and August 2018, Green exchanged at least 969 phone calls and text messages

with his contacts at Defendants Teva, Glenmark, Mylan, Lupin, Aurobindo, Rising, Amneal,

Sandoz, Lannett, Dr. Reddy’s, and Greenstone.



                                             105
               8.     Armando Kellum

        271.   Kellum was the Director of Pricing and Contracts at Defendant Sandoz until July

2015. While at Sandoz, Kellum directed his subordinates, including CW-1, CW-2, CW-3, and

CW-4, to enter into price fixing and market allocation agreements with competitors. In addition,

Kellum had his own relationships with certain competitors and communicated with those contacts

directly when necessary to further the agreements. For example, between May 2011 and April

2015, Kellum exchanged at least 182 phone calls and text messages with his contacts at Defendants

Lupin, Teva, Upsher-Smith, Zydus, Actavis, Amneal, Dr. Reddy’s, and Greenstone.

               9.     Jill Nailor

        272.   Nailor has worked at Defendant Greenstone since August 2010 and is currently the

Senior Director of Sales and National Accounts. Nailor directed her subordinate               ,a

national account executive, and others at Greenstone to fix prices and allocate customers with

competitors on overlap drugs, including with several of the Defendants. She also instructed them

to avoid putting any evidence of such communications into writing.

        273.   In addition, Nailor regularly communicated directly with competitors herself. For

example, between August 2010 and May 2017, Nailor exchanged at least 4,439 phone calls and

text messages with her contacts at Defendants Amneal, Dr. Reddy’s, Actavis, Aurobindo, Mylan,

Glenmark, Zydus, Teva, Sandoz, Lupin, Wockhardt, Lannett, Apotex, Upsher-Smith, Par, and

Taro.

               10.    James Nesta

        274.   Nesta started his employment with Mylan in 2000 and is currently the Vice

President of Sales at Defendant Mylan. Nesta communicates regularly with his counterparts at

many of the corporate Defendants. For example, between January 2011 and February 2016, Nesta



                                              106
exchanged at least 5,293 phone calls and text messages with his contacts at Defendants Amneal,

Teva, Dr. Reddy’s, Zydus, Aurobindo, Actavis, Lupin, Sandoz, Lannett, Taro, Par, and

Greenstone.

               11.    Konstantin Ostaficiuk

       275.    Ostaficiuk is the President of Defendant Camber and has held that position since

2009. During his tenure at Camber, Ostaficiuk has been the primary person responsible for

furthering price fixing and market allocation agreements with his competitors. Indeed, Ostaficiuk

regularly communicated with competitors and maintained relationships with executives at many

of the corporate Defendants. For example, between March 2011 and August 2017, Ostaficiuk

exchanged at least 464 phone calls with his contacts at Defendants Amneal, Lannett, Breckenridge,

Aurobindo, Lupin, Teva, Breckenridge, Taro, Glenmark, Zydus, Dr. Reddy’s, Wockhardt, Sandoz,

and Actavis.

               12.    Nisha Patel

       276.    Patel worked at Defendant Teva from April 2013 to December 2016, first as a

Director of Strategic Customer Marketing and then as a Director of National Accounts. As

discussed in great detail above, Patel was in frequent communication with her counterparts at the

corporate Defendants to fix prices and allocate markets. For example, during her time at Teva,

Patel exchanged at least 1,240 phone calls and text messages with her contacts at Defendants

Zydus, Sandoz, Actavis, Glenmark, Taro, Lupin, Dr. Reddy’s, Lannett, Par, Apotex, Aurobindo,

Mylan, Amneal, Upsher-Smith, Breckenridge, and Greenstone. As discussed in various sections

of this Complaint, Patel also frequently communicated with competitors using Facebook

Messenger, LinkedIn messaging, and the encrypted messaging application WhatsApp.




                                              107
              13.    David Rekenthaler

       277.   Rekenthaler was the Vice President of Sales, US Generics at Defendant Teva until

April 2015. Rekenthaler is now the Vice President of Sales at Defendant Apotex. During his time

at Teva, Rekenthaler knew that his colleagues, including Green and Patel, were colluding with

competitors. Indeed, Rekenthaler was also in frequent contact with competitors himself and had

relationships with executives at nearly all the corporate Defendants. For example, between

January 2011 and March 2015, Rekenthaler exchanged at least 1,044 phone calls and text messages

with his contacts at Defendants Actavis, Mylan, Par, Aurobindo, Apotex, Zydus, Sandoz, Rising,

Amneal, Breckenridge, Lupin, Dr. Reddy’s, Glenmark, Taro, Lannett, Wockhardt, and

Greenstone.

              14.    Rick Rogerson

       278.   Rogerson was the Executive Director of Pricing and Business Analytics at

Defendant Actavis until Actavis was acquired by Teva in August 2016. Rogerson now works at

Defendant Amneal as a Senior Director of Marketing and Business Analytics. During his time at

Actavis, Rogerson communicated with his contacts at several corporate Defendants. For example,

between February 2010 and July 2016, Rogerson exchanged at least 635 phone calls and text

messages with his contacts at Defendants Wockhardt, Teva, Dr. Reddy’s, Sandoz, Lannett,

Glenmark, Taro, and Zydus.

              15.    Tracy Sullivan

       279.   Tracy Sullivan has been employed at Defendant Lannett since 2007 and is currently

the Director of National Accounts. Sullivan regularly communicated with competitors and

maintained relationships with executives at many of the corporate Defendants. For example,

between March 2011 and August 2016, Sullivan exchanged at least 495 phone calls and text



                                             108
messages with her contacts at Defendants Zydus, Wockhardt, Teva, Dr. Reddy’s, Par, Amneal,

Aurobindo, Mylan, Breckenridge, and Greenstone.

XII.     THE CONSPIRATORIAL PRICE-FIXING, BID-RIGGING, & MARKET
         ALLOCATION AGREEMENTS

         280.   As a result of their frequent in-person meetings and the collusive communications

that ensued as a result of these meetings via e-mail, telephone, and text messages, Defendants and

their co-conspirators were able to implement, and did implement, radical, extraordinary, and

abrupt price increases on many of the Price-Fixed Generic Drugs identified in this Complaint.

         281.   There were no market-based justifications for any of the abrupt price increases

described below. The increases in price were not necessitated by increased manufacturing costs,

or research and development costs. Federal law requires drug manufacturers to report potential

drug shortages to the FDA, and no supply disruption was reported during the duration of the

alleged conspiracy as to any of the Price-Fixed Generic Drugs (except where expressly alleged

below). Similarly, during the time frame relevant to these allegations, there were no known raw

material shortages affecting the manufacture of any of the Price-Fixed Generic Drugs in the United

States, nor did demand for any of these drugs suddenly increase.

         282.   Each of the conspiratorial price increases would have been against each

Defendant’s self-interest if taken unilaterally and without advance agreement. As the last 30 years

of generic drug pricing has demonstrated, in a competitive industry, a firm would cut its price with

the expectation of increasing its market share if its competitors were setting prices above marginal

costs.

         283.   Consequently, in the absence of coordinated pricing activity among generic

manufacturers, an individual generic manufacturer cannot significantly increase its price without




                                                109
incurring the loss of a significant volume of sales, and the price increases of the Price-Fixed

Generic Drugs described in this Complaint were against each Defendant’s individual self-interest.

       284.    While drug-specific agreements involve those Defendants that marketed and sold

the particular drug, each Defendant, including the Defendants who did not manufacture the

particular drug involved in each drug-specific agreement, was also a party to the broader,

overarching conspiracy to maintain high prices covering all of the drugs that are the subject of this

Complaint. From this broad agreement among all Defendants sprang additional agreements among

the manufacturers relating to each of the individual drugs. The purpose and effect of all of these

agreements was to lessen competition in the markets for each drug and throughout the industry

and raise prices.

       285.    When entering a generic drug market, Defendants routinely and systematically

sought out their competitors in an effort to artificially maintain high prices for a large number of

generic drugs and creating an appearance of competition where in fact little to none existed. Some

illustrative examples of these agreements are set forth below, describing specific examples relating

to specific drugs over time.

       286.    As evident from the many examples below, the overarching conspiracy was well

established in the industry by 2012, including among each of the Defendants.                Generic

manufacturers replaced competition with coordination in order to avoid price erosion. The

structure and inner workings of the agreement were well understood and adopted throughout the

industry.

       287.    As further detailed below, manufacturers eventually began to focus more on price

increases than they had in the past. They were no longer satisfied to simply maintain prices at

already supracompetitive levels – there was a concerted effort by many in the industry to



                                                110
significantly raise prices. Manufacturers started communicating with each other about those

increases with greater and greater frequency.

       288.    A troubling pattern began to emerge. Starting sometime in 2012 or even earlier,

and continuing for several years, competitors would systematically communicate with each other

as they were identifying opportunities and planning new price increases, and then again shortly

before or at the time of each increase. The purpose of these communications was not only to secure

an agreement to raise prices, but also to reinforce the essential tenet underlying the agreement –

i.e., that they would not punish a competitor for leading a price increase, or steal a competitor’s

market share on an increase. There was an understanding among many of these generic drug

manufacturers – including the Defendants – that a competitor’s price increase be quickly followed;

but even if it could not, the overarching conspiracy dictated that the competitors who had not

increased their prices would, at a minimum, not seek to take advantage of a competitor’s price

increase by competing for additional customers.

       289.    It is important to note that generic drug manufacturers could not always follow a

competitor’s price increase quickly. Various business reasons – including supply disruptions or

contractual price protection terms with certain customers that would result in the payment of

significant penalties – could cause such delays.      In those instances when a co-conspirator

manufacturer delayed following a price increase, the underlying understanding operated as a safety

net to ensure that the competitor not seek to take advantage of a competitor’s price increase by

stealing market share.

       290.    The following examples of drug-specific collusion, set forth alphabetically by drug,

demonstrate how the conspiracy pervaded the entire industry.




                                                111
       A.      Acetazolamide

       291.    Acetazolamide is sold in at least two formulations – tablets (manufactured by Taro

and Lannett) and sustained release capsules (manufactured by Heritage, Zydus, and Teva).

               1.     Acetazolamide Tablets

       292.    The market for Acetazolamide tablets is dominated by Taro and Lannett. Since at

least the spring of 2012, Taro and Lannett have coordinated pricing and market share on

Acetazolamide tablets.

       293.    These tablets come in two dosages: 125 mg and 250 mg. Both Taro and Lannett

make the 250 mg dosage, which is the predominant form. While only Taro makes the 125 mg

dosage, this formulation appears to be included in the agreement between Taro and Lannett to

elevate the prices of Acetazolamide.

       294.    In mid-2012, Taro and Lannett imposed list price increases of 40% to 50%, and

brought list prices for Acetazolamide 250 mg tablets to identical levels.

       295.    By mid-2013, Taro and Lannett appeared to have worked out a remarkably stable

split of the market, taking into account both 125 mg tablets and 250 mg tablets. On April 3, 2012

at 7:37 in the morning, Blashinsky, then a senior Taro marketing executive, called             at

Lannett. The call lasted one minute. That same day, Taro increased its WAC price for the 250mg

dosage by 44.5% to $61.43. Lannett followed and matched Taro’s increase two days later on April

5, 2012.            and        would not speak again until May 9, 2012.

       296.    In late 2013, within weeks of each other, Taro and Lannett imposed identical list

prices for Acetazolamide 250 mg tablets. The increases were well over 200%. Taro imposed a

similarly large list price increase on 125 mg tablets around this time. Average wholesale prices

for both products increased dramatically. This price increase was coordinated by Aprahamian



                                               112
(who had just recently joined Taro) and                      , the CEO of Lannett, as well as other

executives from both companies (including executives from Sun) at the NACDS event in Las

Vegas, Nevada from August 10-13, 2013.

       297.    After the conference, on August 16, 2013,                      of Lannett had dinner

with           and                  of Sun.         followed up by e-mail a few days later thanking

       for dinner and also

       further noted that



       298.    On November 15, 2013,                of Lannett called Aprahamian twice. Both calls

lasted two minutes.             called Aprahamian again the next day, on November 16, 2013. The

call lasted one minute. According to available phone records, the calls on November 15, 2013

were the first calls between the two competitors since August 22, 2012, as well as the first time

that they had spoken by phone since Aprahamian joined Taro.

       299.    Shortly after these calls, on November 26, 2013, Lannett raised its WAC price on

Acetazolamide by 275.5% to $230.65.

       300.    Throughout these coordinated increases, Lannett and Taro captured stable shares

of the 250 mg tablet market. Lannett claimed approximately 56% and Taro claimed 44%. Taro

was the lone manufacturer of 125 mg tablets and had 100% of sales of that dosage. Interestingly,

the total dollar sales across both products was virtually identical. Lannett’s larger share of the 250

mg tablet market was offset by Taro’s sales of 125 mg tablets. Upon information and belief, this

was a result of an agreement between the companies that Lannett would not manufacture 125 mg

tablets, and in exchange, Taro would cede a slightly larger share of the 250 mg market to Lannett.




                                                 113
               2.      Acetazolamide Capsules

       301.    During the relevant time period, Heritage, Teva, and Zydus sold generic

Acetazolamide capsules to Plaintiff, its assignor, and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       302.    In April 2014, Malek of Heritage discussed the possibility of a collusive price

increase on Acetazolamide with a senior sales executive at Teva, Nisha Patel. (Heritage and Teva

controlled almost 80% of the market for Acetazolamide.) During an April 15, 2014 phone call,

Malek and the Teva sales executive, Patel, agreed that Heritage would lead the price increase

(which would be approximately 75%) and Patel would communicate the details of the price

increase to the sales executive at Zydus,             , who was responsible for Acetazolamide.

       303.    On April 16, 2014, the sales executives responsible for Acetazolamide at Teva and

Zydus (Patel and           discussed the collusive price increase by phone for approximately 20

minutes (on April 16) and for 12 minutes (on April 17).

       304.    On April 24, 2014, Malek reached out to             the Zydus sales executive, via

LinkedIn, and the two communicated the next day about the Acetazolamide price increase as well.

       305.    In order to ensure that the price increase was successful, Heritage, Zydus, and Teva

agreed that they would not underbid each other’s Acetazolamide business while they implemented

the price increase. Malek and          confirmed this agreement with each other by telephone on

May 7, 2014.

       306.    On June 26, 2014, as agreed with Zydus and Teva, Heritage began notifying its

customers that it was increasing prices of Acetazolamide by approximately 75%. Heritage fully

implemented this price increase on all its major accounts (at least 17 customers) by July 9, 2014.



                                               114
        307.    Following Heritage’s lead, Zydus and Teva increased prices of Acetazolamide by

approximately 75% as well.

        B.      Adapalene

        308.    Adapalene, also known by the brand name Differin, is a retinoid used to treat severe

acne. It is sold several formulations, including both gel and cream.

        309.    In October 2010, when Perrigo entered the market for Adapalene Cream, Fougera

and Perrigo colluded to allocate market share to Perrigo. Two years later, in November 2012,

Sandoz (which had acquired Fougera) left the Adapalene Cream market temporarily due to supply

issues. This left Perrigo as the sole manufacturer of the product for a brief window.

        310.    By early January 2013, Sandoz was making plans for its re-entry into the market.

On January 14, 2013, CW-3 provided                        , a Sandoz marketing executive, a list of

potential targets for Adapalene Cream stating that

                                                                 CW-3 further explained that



                                                      The list of potential targets was organized by

historical volume of units purchased and Walgreens was the first name on that list. Wal-Mart was

not listed as a target.

        311.    On June 24, 2013, approximately one month before Sandoz’s re-launch, CW-3 and

               of Perrigo had a ten minute phone call during which            shared Perrigo’s non-

public dead net pricing for Adapalene Cream for two customers – Walgreens and Optisource.

During that conversation, CW-3 recorded those prices in his Notebook as follows:




                                                115
       312.    On July 15, 2013, Sandoz held a Commercial Operations call during which they

discussed, among other things, the Adapalene Cream re-launch scheduled for July 26, 2013. That

same day,            and CW-3 exchanged two more calls, both lasting one minute.             After

exchanging a third call that lasted one minute on July 16, 2013, the two competitors connected on

July 17, 2013 and spoke for nineteen minutes. During this call,             provided CW-3 with

Perrigo's non-public pricing for Adapalene Cream for a list of customers.            also told CW-

3 that Perrigo was not willing to give up Walgreens to Sandoz. The purpose of conveying this

information was so that Sandoz, when it re-entered the market, could target and obtain specific

agreed-upon customers with the highest prices possible, to minimize price erosion.

       313.    Also, between July 16, 2013 and July 18, 2013, CW-3 and                    , a sales

executive at Perrigo, exchanged at least nineteen text messages.

       314.    On July 26, 2013, the day of Sandoz’s re-launch of Adapalene Cream, CW-3 called

CW-1 and they spoke for eight minutes. On this call, CW-3 provided CW-1 with the customer

pricing for Adapalene Cream that           had provided to him. Within minutes of hanging up

with CW-3, CW-1 sent an internal e-mail, including to Kellum, regarding Adapalene Cream. In

that e-mail, CW-1 recommended that Sandoz approach




                                               116
                                                                         CW-1 also provided the

following pricing information for those customers:




         315.   Notably, the price points matched exactly with the price points              had

provided to CW-3. In his e-mail, CW-1 also stated that Sandoz would need to bid 30% lower than

ABC's current price in order to win the business upon re-launch.

         316.   That same day, on July 26, 2013, Sandoz prepared and sent offers for Adapalene

Cream to the three customers CW-1 identified – ABC, McKesson, and Wal-Mart – as well as Rite

Aid and Morris & Dickson. Consistent with the prior conversations between CW-3 and

of Perrigo, Sandoz did not submit a bid to Walgreens.

         317.   Later that day, on July 26, 2013, Morris & Dickson accepted Sandoz’s bid for

Adapalene Cream. The following Monday (the next business day), on July 29, 2013,              of

Perrigo called CW-3 twice. Both calls lasted one minute. The next day, on July 30, 2013, CW-3

called          back and they spoke for thirteen minutes. CW-3 hung up and immediately called

CW-1 to report about his conversation with the competitor. The call lasted four minutes. That

same day, Rite Aid accepted Sandoz’s bid for Adapalene Cream.

         318.   The next day, on July 31, 2013, Sandoz sent an offer for Adapalene Cream to

Econdisc. The next morning, on August 1, 2013, Econdisc notified Perrigo of the offer and gave

the incumbent an opportunity to bid to retain the business. Within the hour,        called CW-3.

The call lasted one minute. Ten minutes later,          called CW-3 again and they spoke for five



                                                 117
minutes. Later that day, in an effort to avoid putting evidence of his collusive conversations in

writing, CW-3 e-mailed CW-1 to                                       The two then spoke for five

minutes.

         319.   On August 2, 2013, ABC accepted Sandoz’s bid for Adapalene Cream.

         320.   On August 6, 2013,           and CW-3 exchanged two calls lasting four minutes

and twelve minutes, respectively. Later that day,          and his colleagues at Perrigo, including

his supervisor, Wesolowski, had a conference call to discuss Adapalene Cream. That same

afternoon, Perrigo notified Econdisc that it was declining to bid to retain the customer’s business.

Later that day, Econdisc accepted Sandoz’s bid for Adapalene Cream.

         321.   The next day, on August 7, 2013, McKesson accepted Sandoz’s offer for Adapalene

Cream.

         322.           of Perrigo and CW-3 continued to talk throughout August 2013 to

coordinate Sandoz’s smooth entry into the market. For example, between August 12 and August

15, 2013, the two competitors exchanged at least eight calls, including two calls on August 15,

2013 lasting eight minutes and fourteen minutes, respectively. Later that day,                   ,a

Sandoz marketing executive, e-mailed CW-1 regarding Adapalene Cream stating that Sandoz’s

market share was now 25.5% and asking whether Walgreens could be                        As detailed

above, Sandoz had stayed away from Walgreens because Perrigo said they would not give up the

business.

         323.   Respecting the agreement that the two competitors had arranged, Sandoz stayed

away from Walgreens. However, as of December 2013, Sandoz had only obtained approximately

30% share of the Adapalene Cream market. This was well below its expected share in a two-

player market and less than the 47% market share that Sandoz had maintained prior to leaving the



                                                118
market in November 2012 due to supply issues, which caught the attention of high-level executives

at Sandoz.

       324.   On January 8, 2014, a Sandoz finance executive, convened a meeting to discuss the

Adapalene Cream re-launch and the issue of securing more market share on the product. By that

time, it had been decided internally by the sales team that Sandoz would pursue Walgreens, which

represented approximately 19% market share.

       325.   That same day, on January 8, 2014, CW-3 called           of Perrigo. The call lasted

one minute. First thing the next morning, CW-3 called           again and they spoke for sixteen

minutes.          and CW-3 would exchange two more calls the following week, on January 13

and January 16, 2013, lasting one minute and ten minutes, respectively. Immediately upon

hanging up from the ten minute call, CW-3 called CW-1 and they spoke for eight minutes.

       326.   On January 28, 2014, Sandoz held a follow-up meeting to discuss the Adapalene

Cream re-launch and Walgreens as Sandoz’s next target. Two days later, on January 30, 2014,

Sandoz met with Walgreens to discuss new product opportunities, including Adapalene Cream.

The next day, on January 31, 2014, CW-3 called           and they spoke for eight minutes. Upon

hanging up with          CW-3 called CW-1. The call lasted one minute.

       327.   After this series of communications between CW-3 of Sandoz and                   of

Perrigo, Sandoz submitted a bid to Walgreens for Adapalene on February 14, 2014. Perrigo

promptly conceded the customer and Walgreens awarded the business to Sandoz on March 5,

2014. This award brought Sandoz’s share back to 47% – the same percentage it had before exiting

the market in 2010.

       328.   As further detailed below, this collusion between Sandoz and Perrigo on Adapalene

Cream was facilitated by collusion between Teva, Glenmark, and Taro on Adapalene Gel during



                                              119
the same time period. Indeed, it was in the interest of all Defendants to keep prices on both

formulations at supracompetitive levels so that customers would not substitute between cream and

gel based on price.

          C.     Albuterol

          329.   The market for Albuterol is mature, as Albuterol has been available in the United

States for over twenty-five years. The World Health Organization (“WHO”) includes Albuterol

on its list of essential medicines. During the relevant time period, Mylan sold Albuterol pursuant

to an ANDA approved by the FDA in or around January 1991. Sun (either directly or through its

subsidiary Mutual) sold Albuterol to purchasers pursuant to ANDAs that were approved by the

FDA in or around December 1989. Both Mylan and Sun sold Albuterol to Plaintiff, its assignor,

and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.

          330.   At all times relevant to this lawsuit there has been more than one manufacturer of

Albuterol on the market. Defendants Mylan and Sun dominate the market for Albuterol.

          331.   For more than two years prior to the conspiracy period, Defendants’ average price

in the U.S. for Albuterol was remarkably stable. Beginning in March 2013, the prices rose abruptly

and, for the most part, in unison.

          332.   By way of example, available WAC data demonstrates that beginning in March

2013, Defendants selling generic Albuterol took substantial price increases on the 2 mg strength

that exceeded 3400%:

   Product                                                                  Date of    Percentage
                 Defendant           NDC       Old WAC        New WAC
     MG                                                                    Increase     Increase
 100 ct          Mylan         00378025501            $0.13       $5.88    6-Mar-13        4317%
 500 ct          Mylan         00378025505            $0.13       $5.88    6-Mar-13        4549%



                                                120
  Product                                                                   Date of    Percentage
                 Defendant        NDC          Old WAC        New WAC
    MG                                                                     Increase     Increase
 100 ct          Sun           53489017601            $0.13       $4.70   15-Apr-13        3485%
 500 ct          Sun           53489017605            $0.12       $4.70   15-Apr-13        3674%

          333.   There are no legitimate reasons or explanations for the unprecedented and dramatic

price increases of Albuterol. Demand for Albuterol has not materially changed between 2010 and

the present, nor does any change in input costs explain these price increases. Furthermore, at the

time Albuterol prices were increased in March 2013, there were no known raw material shortages

that would have constrained Defendants’ ability to supply the market.

          334.   Upon information and belief, the price increases on Albuterol were the result of

collusive agreements between and among Defendants to increase pricing and restrain competition

for the sale of Albuterol in the United States. These collusive agreements were furthered at least

in part, through in-person discussions conducted at meetings and industry events hosted by GPhA

and HDMA as well as other meetings and communications described below.

          335.   For example, on October 1-3, 2012, GPhA held a meeting in Bethesda, Maryland

that was attended by representatives from Defendants Mylan and Sun. See Ex. 1.

          336.   On April 20-23, 2013, NACDS held its 2013 Annual Meeting in Palm Beach,

Florida. NACDS’s 2013 Annual Meeting was attended by representatives from Mylan and Sun.

See Ex. 1.

          337.   On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida. This meeting

was attended by representatives from Mylan and Sun. See Ex. 1.

          338.   On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands Expo

Convention Center in Las Vegas, Nevada. This conference was attended by representatives from

both Mylan and Sun. See Ex. 1.



                                                121
       339.   In 2014, 2015, and 2016, Defendants continued to regularly attend trade association

meetings, conferences and events, including: (i) the February 19-21, 2014 GPhA Annual Meeting

in Orlando, Florida; (ii) the April 26-29, 2014 NACDS Annual Meeting in Scottsdale, Arizona;

(iii) the June 1-4, 2014 HDMA BLC in Phoenix, Arizona; (iv) the June 3-4, 2014 GPhA meeting

in Bethesda, Maryland; (v) the August 23-26, 2014 NACDS Total Store Expo in Boston

Massachusetts; (vi) the October 27-29, 2014 GPhA meeting in Bethesda, Maryland; (vii) the

February 9-11, 2015 GPhA Annual Meeting in Miami, Florida; (viii) the April 14, 2015 HDMA

Seventh Annual CEO Roundtable Fundraiser in New York, New York; (ix) the April 25-28, 2015

NACDS Annual Meeting in Palm Beach, Florida; (x) the June 7-10, 2015 HDMA BLC in San

Antonio, Texas; (xi) the June 9-10, 2015 GPhA meeting in Bethesda, Maryland; (xii) the August

22-25, 2015 NACDS Total Store Expo in Denver, Colorado; (xiii) the April 12, 2016 HDMA

Eighth Annual CEO Roundtable Fundraiser in New York; (xiv) the April 16-19, 2016 NACDS

2016 Annual Meeting in Palm Beach, Florida; (xv) the June 12-16, 2016 HDMA BLC in Colorado

Springs, Colorado; and (xvi) the August 6-9, 2016 NACDS 2016 Total Store Expo in Boston,

Massachusetts.

       D.     Alclometasone Dipropionate

       340.   Alclometasone Dipropionate (“Alclometasone”), also known by the brand name

Aclovate, is a lower-potency topical corticosteroid used to treat inflammation and itching caused

by skin conditions such as allergic reactions, eczema, and psoriasis. During the time period

relevant to this Complaint, Taro, Sandoz, and Glenmark dominated the market for Alclometasone

cream and ointment.

       341.   In May 2013, Sandoz was the exclusive generic manufacturer of Alclometasone

Ointment. The other competitors – Taro and Glenmark – had exited the market due to supply



                                              122
issues. However, around this time, Sandoz began experiencing supply issues of its own on

Alclometasone Ointment. As a result, Taro and Glenmark – in consultation with Sandoz – used

this as an opportunity to raise the price of the product and re-enter at that higher price.

       342.    The competitors were discussing their plans for Alclometasone Cream and

Ointment as early as April 2013. For example, on April 15 and April 16, 2013, CW- 3 of Sandoz

exchanged several calls with Aprahamian of Taro and Blashinsky of Glenmark. On these calls,

Blashinsky relayed that Glenmark expected to re-enter the Alclometasone ointment market in the

                                                percent share. CW-3 took contemporaneous notes

during these conversations, and his complete notes from those calls are pictured below:




       343.    Three days later, on April 19, 2013, CW-3 of Sandoz e-mailed                   ,a

Sandoz marketing executive, stating



                                               However, the true source of CW-3’s information was




                                                 123
Glenmark, not a customer. CW-3 wanted a breakdown of sales by customer so that he could

understand how best to divide up customers as Glenmark entered the market.

       344.     On May 23, 2013, Sandoz sent an internal e-mail advising that it could no longer

supply the 45gm formulation of Alclometasone Ointment. At that time, both the 15gm and 60gm

formulations were also on temporary back order. That same day, on May 23, 2013, CW-3 called

Blashinsky and they spoke for four minutes.

       345.     On May 29, 2013,                    , a Taro sales executive, forwarded Aprahamian an

e-mail he received from Cardinal regarding Sandoz’s supply issues on Alclometasone Ointment.

The next day, Aprahamian responded,




       346.     Over the next several days, Taro had several calls with Glenmark during which the

two competitors coordinated their plans to increase pricing in advance of their re-entry into the

Alclometasone Ointment market. These calls are detailed in the chart below:

  Date        Call Type   Target Name            Direction   Contact Name           Time       Duration
  5/31/2013   Voice       Blashinsky, Mitchell   Incoming    D.S. (Taro)            9:47:00    0:03:00
  5/31/2013   Voice       Blashinsky, Mitchell   Outgoing    D.S. (Taro)            11:00:00   0:19:00
  6/3/2013    Voice       Blashinsky, Mitchell   Outgoing    Taro Pharmaceuticals   13:03:00   0:06:00
  6/3/2013    Voice       Blashinsky, Mitchell   Outgoing    Taro Pharmaceuticals   13:09:00   0:14:00


       347.     On June 6, 2013, after exchanging e-mails with Taro’s supply chain regarding

Alclometasone Ointment, Aprahamian sent an internal e-mail stating,

                                                                       The next day, on June 7, 2013,

Aprahamian called CW-3 of Sandoz and they spoke for eleven minutes.




                                                    124
       348.    On June 10, 2013, Glenmark re-entered the Alclometasone Ointment market with

WAC pricing that was significantly higher than Sandoz's WAC pricing. The next day, on June 11,

2013, Taro issued notices to the three big wholesalers – ABC, Cardinal, and McKesson –

announcing it was re-entering the Alclometasone Ointment market at new WAC pricing that

matched Glenmark. Taro increased its WAC pricing between 201% and 239%, depending on the

formulation.

       349.    That same day, on June 11, 2013,                of Sandoz sent an internal e-mail

indicating that Taro had increased pricing on Alclometasone Ointment.




       350.    The next day, on June 12, 2013, Aprahamian e-mailed Perfetto and                ,

a Taro executive, regarding Alclometasone Ointment stating that Taro had launched the product

and




       351.    That same day,            , a Taro sales executive, e-mailed Aprahamian stating,




       E.      Allopurinol

       352.    Allopurinol, also known by the brand name Zyloprim, is a xanthine oxidase

inhibitor used to treat gout and kidney stones. During the period relevant to this Complaint,



                                             125
Actavis, Dr. Reddy’s, Mylan and Qualitest were the primary manufacturers of Allopurinol during

the conspiracy.

       353.    Prior to 2014, Qualitest, Actavis, Dr. Reddy’s and Mylan all offered prices for

Allopurinol for pennies per pill – indeed, even when Dr. Reddy’s exited the market in 2012, prices

from the other manufacturers remained low and stable. In the spring of 2014, Qualitest and Actavis

used brief supply disruptions for Allopurinol as a pretext for enormous price increases. Actavis

announced a WAC price increase of approximately 400%, and Qualitest announced a price

increase slightly higher than that of Actavis. Approximately six months after Actavis and Qualitest

announced their price increases, Mylan joined them, announcing list prices identical to those of

Actavis.

       354.    In August 2014, Dr. Reddy’s evaluated a possible re-entry into the Allopurinol

market, which – combined with the pending price increases – prompted significant communication

between senior sales executives from each of the manufacturers. For example, Mark Falkin of

Actavis spoke with                 of Dr. Reddy’s once and                  of Dr. Reddy’s at least

five times. For example, Falkin of Actavis spoke with Nesta of Mylan twice on September 23,

2014 (four days after Actavis announced its WAC price increases on Allopurinol on September

19, 2014). Falkin also communicated with                   of Dr. Reddy’s (the Senior Director of

National Accounts) on September 4th, 12th, 15th, 22nd and 23rd.

       355.    On September 26, 2014, a week after Actavis’s price increase,                    of

Actavis (the VP of Sales) spoke to                             of Qualitest (the VP of National

Accounts), for fourteen minutes and thirty-five seconds. Qualitest announced list (WAC) prices

for Allopurinol that were even higher than those of Actavis several days later.




                                               126
       356.    When Dr. Reddy’s did re-enter the market in January 2015, it did so while adhering

to the agreement among manufactures rather than lowering prices to compete for market share. Dr.

Reddy’s ultimately announced identical list (WAC) prices to Actavis. As




       357.    Internal documents reveal that Dr. Reddy’s was careful not to disrupt its

competitors’ pricing as it sought to add market share. For example, on January 19, 2015, when

Dr. Reddy’s internally discussed an Allopurinol opportunity, its Vice President and Head of

Prescription Drugs emphasized:

       358.    Falkin of Actavis again spoke to                of Dr. Reddy’s on January 5th, 8th,

15th and 21st as well as on February 12th. Falkin also spoke with                    of Dr. Reddy’s

on January 8th and on February 9th. Dr. Reddy’s announced its list (WAC) price increases on

January 26, 2015. Falkin also spoke to Nesta of Mylan on March 9, 2015 and again on March

10th. These calls were just after Mylan announced its list (WAC) price increases on Allopurinol.

       359.    As a result of this coordination, Defendants were able to charge Plaintiff, its

assignor, and others supracompetitive prices for Allopurinol in the United States.

       F.      Amantadine HCL

       360.    Amantadine HCL, also known by the brand name Symmetrel, is a medication used

to treat flu and Parkinson’s disease.

       361.    Sandoz, Upsher-Smith, Lannett, and co-conspirator Banner Pharmacaps were the

primary manufacturers of Amantadine HCL capsules during the conspiracy. Additionally, Mylan




                                               127
held an ANDA for Amantadine, but only maintained a market share of approximately 1-2%,

despite having capacity to produce and sell a substantially larger quantity.

       362.     Prior to 2012, Amantadine HCL capsules cost pennies per dose. However,

Beginning in late 2011, Sandoz and Upsher-Smith began coordinating to drive up the price of

Amantadine HCL by approximately 500%, with the average price per capsule increasing from

approximately                          Sandoz and Upsher-Smith matched also simultaneously

increased their WAC prices for Amantadine HCL. Lannett, which had the lowest market share of

the three companies, also announced an identical list price and complied with its conspiratorial

agreement by declining to take customers from Sandoz or Upsher-Smith. Lannett ultimately

matched the price increase in December 2012.

       363.     Sandoz, Upsher-Smith, Mylan, and Lannett communicated directly with each other

in furtherance of the conspiracy, including at the trade association events identified in Exhibit 1.

       364.     In the summer of 2013, co-conspirator Banner Pharmacaps entered the market for

Amantadine. Although the market price was significantly more profitable at this time than it had

been two years prior, Mylan, Sandoz, Upsher-Smith and Lannett arranged for Lannett to exit the

market. Indeed, in August 2013, Lannett forfeited virtually all of its market share to Banner.

       365.     Upon information and belief, this coordination reflected the overarching conspiracy

at work. At the same time that Banner had entered the market for Amantadine, Lannett, Mylan,

and Sandoz were coordinating to increase prices on Levothyroxine (one of the highest volume

generic drugs in the country). Upon information and belief, Lannett agreed to forfeit its share to

Banner (for the benefit of Upsher-Smith and Sandoz), and in return, Sandoz agreed not to seek

increased share in the Levothyroxine market (where Sandoz had a negligible share of the market).




                                                128
       G.        Amiloride HCL/HCTZ

       366.      The market for Amiloride HCL/HCTZ is mature, as the drug has been available in

generic form for more than thirty years to treat edema and hypertension. Moduretic 5-50, the

branded version of Amiloride HCL/HCTZ was patented by Merck prior to 1982.

       367.      At all times relevant to this lawsuit there has been more than one manufacturer of

Amitriptyline on the market. Defendants Mylan and Teva dominate the market for Amiloride

HCL/HCTZ.

       368.      Prior to June 2011, Amiloride HCL/HCTZ were stable at just a few cents per dose.

However, in Summer 2011, Mylan and Teva – applying their common understanding of

overarching agreement – conspired to implement an abrupt and substantial price increase of more

than 300%.

       369.      Mylan and Teva continued to conspire to stabilize and maintain this

supracompetitive price increase. Indeed, after Nisha Patel arrived at Teva, the Defendants targeted

Amiloride HCL/HCTZ for additional price increases in 2013 and 2014. As a result of this

collusion, by 2014, Teva and Mylan were able to charge prices for Amiloride that were up to 700%

higher than they were prior to June 2011.

       370.      These    price    increases     were   coordinated   by   telephone   and   in-person

communications by high-level sales executives at Teva and Mylan, including Patel, Rekenthaler,

and Green of Teva, and James Nesta and                        of Mylan.

       371.      As   a   result    of   these    collusive   communications,   Defendants    charged

supracompetitive prices for Amiloride HCL/HCTZ to Plaintiff, its assignor, and others in the

United States.




                                                    129
       H.        Amitriptyline

       372.      The market for Amitriptyline is mature, as Amitriptyline has been available in the

United States for over sixty years. Amitriptyline is on the WHO’s List of Essential Medicines.

During the relevant time period, Defendants Mylan, Qualitest, and Sandoz sold Amitriptyline to

Plaintiff, its assignor, and others in the United States at supracompetitive prices inflated by the

unlawful and anticompetitive agreements alleged in this Complaint.

       373.      At all times relevant to this lawsuit there has been more than one manufacturer of

Amitriptyline on the market. Defendants Mylan, Qualitest, and Sandoz dominate the market for

Amitriptyline.

       374.      In the years prior to the conspiracy period, Defendants’ average price in the U.S.

for Amitriptyline were remarkably stable. Beginning in May 2014, Defendants increased their

prices abruptly and, for the most part, in unison. Average prices for Amitriptyline increased 300%

to nearly 2,000% across dosage strengths. The Financial Times reported on May 12, 2015 that the

$1.07 price for a 100 mg pill of Amitriptyline “jumped by 2,487 per cent in under two years”

noting that “in July 2013, the same pill cost just 4 cents.”17 The Boston Globe similarly reported:

“The cost of the antidepressant drug Amitriptyline jumped 2,475 percent, from 4 cents for a 10-

milligram pill in 2014 to $1.03 in 2015.”18




______________________
       17
              David Crow, Teva bids for Mylan amid pressure on copycat drug makers, The
Financial Times (May 12, 2015), available at https://wvv\:v.ft.com/content/8ff2fc5a-f5 l 3-l l e4-
8a42-00l44feab7de.
       18
              Priyanka Dayal McCluskey, As competition wanes, prices.for generics skyrocket,
The Boston Globe (Nov. 6, 2015), available at https://www.bostonglobe.com/business
/2015/11/06/generic-drug-price-increases-alarm-insurers-providers-andconsumers/l-13 iA9CSxA
UylnCdGjLNKVN/story.html.


                                                130
          375.   Defendants’ WAC prices further illustrate these substantial price increases. By way

of example, beginning in May 2014, Defendants Sandoz, Mylan, and Qualitest set their WACs for

their 50 mg product in lockstep, increasing from previous WACs that exceeded 900%:


 Product 50                                                                Date of     Percentage
                 Defendant        NDC         Old WAC      New WAC
    MG                                                                    Increase      Increase
 100 ct          Sandoz        00781148801         $0.05         $0.57    23-May-14         1032%
 1000 ct         Sandoz        00781148810         $0.05         $0.48    23-May-14          945%
 100 ct          Mylan         00378265001         $0.05         $0.57     16-Jul-14        1032%
 1000 ct         Mylan         00378265010         $0.05         $0.57     16-Jul-14        1157%
 100 ct          Qualitest     00603221421             *         $0.57     26-Sep-14             *
 1000 ct         Qualitest     00603221432             *         $0.48     26-Sep-14             *

          376.   There are no legitimate reasons or explanations for the unprecedented and dramatic

price increases of Amitriptyline. Changes in demand for Amitriptyline do not justify the price

increases. If anything, the price should have gone down because demand was likely lower after

2012. In 2012, Amitriptyline was added to the American Geriatrics Society’s Beers list of drugs

that pose a high risk of adverse effects in seniors. When drugs are classified as high risk, doctors

tend to prescribe them to seniors less causing total demand to decline. Lower total demand

generally causes prices to drop. Here, the drop in demand does not explain the price increase.

          377.   Furthermore, at the time Amitriptyline prices were increased in May 2014, there

were no known raw material shortages that would have constrained Defendants’ ability to supply

the market. The huge increases on Amitriptyline were not due to supply disruptions.

          378.   Upon information and belief, the price increases on Amitriptyline were the result

of collusive agreements between and among Defendants to increase pricing and restrain

competition for the sale of Amitriptyline in the United States. These collusive agreements were




                                                 131
furthered at least in part through in-person discussions conducted at meetings and industry events

hosted by GPhA and HDMA as well as other meetings and communications described below.

       379.    For example, on February 20-22, 2013, GPhA held its 2013 Annual Meeting in

Orlando, Florida. GPhA’s 2013 Annual Meeting was attended by representatives of Sandoz and

Mylan, including key executives such as Mylan’s President, Tony Mauro and Sandoz’s President,

Don DeGolyer. See Ex. 1.

       380.    On June 2-5, 2013, the HDMA held a Business Leadership Conference (“BLC”) in

Orlando, Florida that was attended by representatives from Sandoz andMylan, including key

executives for generics prices and sales. For example, these Defendants sent their National

Account Directors. See Ex. 1.

       381.    On June 4-5, 2013, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives from Defendants Mylan, and Sandoz. See Ex. 1.

       382.    On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands Expo

Convention Center in Las Vegas, Nevada. NACDS’s August 2013 Total Store Expo was attended

by representatives from Mylan, and Sandoz. See Ex. 1.

       383.    On October 28-30, 2013, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Mylan, and Sandoz. See Ex. 1.

       384.    On December 3, 2013, NACDS held its 2013 Foundation Reception & Dinner that

was attended by representatives from Defendants Mylan and Sandoz. See Ex. 1.

       385.    On February 19-21, 2014, GPhA held its Annual Meeting in Orlando, Florida that

was attended by representatives from Defendants Mylan, and Sandoz. See Ex. 1.

       386.    On April 1, 2014, the HDMA held its Sixth Annual CEO Roundtable Fundraiser in

New York City that was attended by representatives of Mylan and Sandoz. See Ex. 1.



                                               132
         387.   On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale, Arizona.

NACDS’s 2014 annual meeting was attended by representatives from Mylan and Sandoz. See

Ex. 1.

         388.   On June 1-4, 2014, the HDMA held a BLC at the JW Marriott Desert Ridge in

Phoenix, Arizona. The June 1-4, 2014 BLC was attended by representatives from Mylan and

Sandoz. See Ex. 1.

         389.   On June 3-4, 2014, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives from Mylan, and Sandoz. See Ex. 1.

         390.   On August 23-26, 2014, NACDS held its 2014 Total Store Expo at the Boston

Convention Center in Boston, Massachusetts. NACDS’s August 2014 Total Store Expo was

attended by representatives from Mylan and Sandoz. See Ex. 1.

         391.   On October 27-29, 2014, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Mylan and Sandoz. See Ex. 1.

         392.   On December 3, 2014, NACDS held its 2014 Foundation Reception & Dinner that

was attended by Mylan and Sandoz employees. See Ex. 1.

         393.   The price increases on Amitriptyline closely followed Mylan and Sandoz’s

participation in the February 2014 GPhA Annual Meeting and their participation in the April 2014

Annual Meeting of the NACDS in Scottsdale, Arizona.

         394.   In 2015 and 2016, representatives of Mylan, Sandoz, and Par continued to regularly

attend trade association meetings and events, with Par’s employees participating in the conspiracy

on behalf of Qualitest and Endo.




                                               133
       I.      Amphetamine/Dextroamphetamine

       395.    Amphetamine/Dextroamphetamine Immediate and Extended Release, also known

by the brand name Adderall, is a medication used in the treatment of attention deficit hyperactivity

disorder (ADHD). The drug is comprised of a combination of dextroamphetamine salts and

levoamphetamine salts and is sometimes referred to as “Mixed Amphetamine Salts” or “MAS.”

       396.    During the time period relevant to this Complaint, Actavis, Impax, and Teva

dominated the marker for MAS Extended Release (“MAS-XR”), and Actavis, Aurobindo,

Mallinckrodt, Sandoz, and Teva dominated the market for MAS Immediate Release (“MAS-IR”).

       397.    On April 9, 2012, a large customer contacted Teva to request a price reduction

because a new competitor had expressed an interest in                of its MAS-XR business. The

new competitor was Actavis.

       398.    Teva deferred its decision on pricing until Actavis was in a position to ship the

product.

       399.    Actavis obtained FDA approval to manufacture various formulations of MAS-XR

on June 22, 2012. At 9:58 p.m. that same evening, Rekenthaler instructed Teva employees to find

out Actavis’s plans regarding its newly-approved generic, including shipping details and inventory

levels. At 8:32 a.m. the next morning, Teva employee                        responded that she had

spoken to                   , a senior Actavis sales and marketing executive, and conveyed to

Rekenthaler the details of their conversation:




                                                 134
       400.   The customer that had sought a price reduction from Teva in April 2012 was not

among those named by Actavis as its targets.

       401.   Upon learning which customers Actavis wanted,                warned colleagues that

this allocation of market share could be tricky. She cautioned that if Teva decided to concede a

particular wholesaler to Actavis, it needed to be             that the wholesaler also did product

warehousing for a different customer whose business Actavis was not soliciting.

       402.   In 2012, Mallinckrodt entered the market for MAS-IR and sought to add share. In

internal documents, Teva acknowledged that it had willingly conceded a number of accounts to

Mallinckrodt, the new competitor.

       403.   In March 2014, Aurobindo was making plans to enter the market with its MAS-IR

product. On March 18, 2014, Teva’s             shared with her colleagues that Aurobindo’s market

share target for the impending launch was 10%. Teva’s senior marketing operations executive,

          indicated that Teva was aware that both Aurobindo and Actavis were launching.

       404.   A flurry of telephone communications between Teva and these two competitors

took place on the days surrounding the foregoing e-mail. The day before, on March 17, 2014,

Patel had spoken to Actavis’s Director of Pricing, Rick Rogerson, three times. Rekenthaler and

Falkin of Actavis also spoke once on that day. On March 18, 2014, the day of the e-mail,

Rekenthaler and           a senior-most executive at Aurobindo, had a thirty minute telephone

conversation. Rekenthaler and Falkin spoke again seven times on March 20, 2014.

       405.   On April 16, 2014, Teva heard that a new competitor in the market had offered a

lower price than Teva’s current price for MAS-IR. Patel informed                that the challenge

was coming from Actavis and recommended that Teva concede that customer’s account. At 1:43

p.m., she communicated to another colleague that the decision had been made to concede.



                                                135
Apparently closing the loop, she called Rogerson at Actavis at 1:55 p.m. They spoke for just over

four minutes.

       406.     As a result of these collusive communications, Actavis, Aurobindo, Impax,

Mallinckrodt, Sandoz, and Teva were able to charge Plaintiff, its assignor, and others

supracompetitive prices for both MAS-XR and MAS-IR.

       J.       Atenolol Chlorthalidone

       407.     Atenolol Chlorthalidone, also known by the brand name Tenoretic, is a medication

used to treat high blood pressure.

       408.     During the period relevant to this Complaint, Actavis and Mylan were the primary

manufacturers of Atenolol Chlorthalidone tablets.

       409.     Mylan and Actavis sought to allocate the market for Atenolol Chlorthalidone

pursuant to the rules of the conspiracy, with each company entitled to 50% market share. Although

monthly fluctuations in the orders of customers allocated between the two companies occasionally

resulted in small fluctuations in total market share, the two companies communicated with each

other to ensure that they were following the conspiracy’s rules.

       410.     Actavis and Mylan communicated directly with each other in furtherance of the

conspiracy. For example, Nesta of Mylan and Falkin of Actavis spoke extensively through this

period, including: nine times in March 2014, four times in May, twenty times in June, nine times

in July and twice in September.

       411.     As a result of this coordination, beginning in March of 2014, Defendants were able

to impose a collusive price increase of more than 200%, and charge Plaintiff, its assignor, and

others supracompetitive pricing for Atenolol Chlorthalidone sold in the United States.




                                               136
       K.      Baclofen

       412.    The market for Baclofen is mature, as Baclofen has been available in the United

States for nearly 50 years. During the relevant time period and continuing today, Defendants

Lannett, Qualitest, Teva, and Upsher-Smith each sold Baclofen to Plaintiff, its assignor, and others

in the United States at supracompetitive prices inflated by the unlawful and anticompetitive

agreements alleged in this Complaint.

       413.    At all times relevant to this lawsuit, there has been more than one manufacturer of

Baclofen on the market. Defendants Lannett, Qualitest, Teva, and Upsher-Smith dominate the

market for Baclofen. In the years prior to the conspiracy period, Defendants’ average price in the

U.S. for Baclofen was remarkably stable. Beginning in February 2014, Defendants increased their

prices abruptly and in unison.

       414.    Baclofen is among the drugs identified by the GAO, which concluded that

Baclofen, in both the 10 mg and 20 mg tablet form “[e]xperienced and extraordinary price

increase” in 2014-2015. Similarly, American Pharmacies, a group of independent pharmacists

that monitors the pricing of generic drugs and issues notices to customers, warned in February

2014 of the recently announced “[m]arketwide price increases of more than 500% … occurring on

Baclofen tablets.”

       415.    Effective February 21, 2014, Defendant Upsher-Smith took a significant price

increase on Baclofen, ranging from 350-420% to the WAC price, depending on the formulation.

Prior to the increase, Baclofen was not a profitable drug for Upsher-Smith, and Upsher-Smith was

considering whether to exit the market or significantly raise price. It chose the latter.

       416.    The primary competitors in the market for Baclofen at this time were Teva (62.4%),

Qualitest (22.5%), and Upsher-Smith (6.8%).



                                                 137
       417.    Teva initially considered following the Upsher-Smith price increase quickly, as part

of its April 4, 2014 price increases – but decided against it. The primary reason was that Qualitest

was in the market, and Teva considered Qualitest a “low-quality” competitor. In other words,

Qualitest would likely compete for market share if Teva increased its price.

       418.    Starting on April 10, 2014, however, Teva learned that Qualitest was having supply

problems, and could exit the market for at least 3-4 months, if not permanently.

       419.    Upon learning that the only significant remaining competitor in the market would

now be Upsher-Smith – a high-quality competitor – Teva immediately decided to follow the price

increase. Patel asked one of her direct reports to start working up price increase scenarios for

Baclofen that same day.

       420.    Upsher-Smith was a highly-ranked competitor by Patel (+2) in large part because

of Patel’s relationship and understanding with                    , a national account executive at

Upsher-Smith. In the week before she started her employment at Teva (after leaving her previous

employment), Patel and            exchanged several text messages. During her first week on the

job, as she was beginning to identify price increase candidates and high quality competitors, Patel

spoke to             on April 29, 2013 for nearly twenty minutes.              During these initial

communications, Patel and            reached an understanding that Teva and Upsher-Smith would

follow each other’s price increases, and not compete for each other’s customers after a price

increase. Their agreement was further cemented in June and July 2013, when the two competitors

agreed to substantially raise the price of Oxybutynin Chloride.

       421.    There was no need for the two competitors to communicate directly in this situation

because it was already understood between them that Teva would follow an Upsher-Smith price




                                                138
increase based on Patel’s prior conversations with             and based on the history of collusion

between the two competitors.

          422.    Effective April 15, 2014, Teva raised its WAC and SWP pricing to match Upsher-

Smith’s pricing exactly. Teva increased its WAC pricing from 350-447%, depending on the

dosage strength.        Teva would not have increased its prices on Baclofen unless it had an

understanding in place with Upsher-Smith.

          423.    The chart below shows the increases by Teva and Upsher-Smith on 20 mg strength

doses of baclofen:

  Product                                         Old          New         Date of     Percentage
                   Defendant         NDC
  20 MG                                           WAC          WAC        Increase      Increase
 100 ct          Upsher-Smith      00832102500         $0.10    $0.49      21-Feb-14         420%
 1000 ct         Upsher-Smith      00832102510         $0.10    $0.49      21-Feb-14         420%
 100 ct          Teva              00172409760         $0.10    $0.49      15-Apr-14         420%
 1000 ct         Teva              00172409780         $0.09    $0.49      15-Apr-14         447%

          424.    Pursuant to the agreement between the companies, Teva did not seek to take any

customers from Upsher-Smith during the time period after Upsher-Smith’s increase and before

Teva could follow. Even after Teva’s increase, when Qualitest customers approached Teva for a

bid due to Qualitest’s supply problems, Teva deferred to Upsher-Smith. As Patel told




          425.    Upsher-Smith, on the other hand, was able to secure several new customers as a

result of the Qualitest exit. In short order, Baclofen became a very profitable product for Upsher-

Smith. On April 18, 2014 – only three days after the Teva price increase –                , a Senior

Director of Sales and Marketing at Upsher-Smith, made the following pronouncement:


                                                 139
        426.    Only two months later, Lannett would enter the market at the same WAC prices as

Teva and Upsher-Smith. Teva and Lannett colluded so that Lannett could enter the market

seamlessly without significantly eroding the high prices in the market.

        427.    These dramatic price increases were not the result of supply shortages or demand

spikes. There were no relevant labeling changes or reported drug shortages that might have led to

price increases. Nor was there a spike in demand that could explain these large price increases.

Instead, the increase was the product of the overarching agreement and also collusive

communications between Defendants.

        428.    In June 2014, Defendant Lannett was preparing to re-enter the market for Baclofen,

but was faced with limited supply. In an internal e-mail sent to his sales staff,          , a senior

sales executive at Lannett, stated:

                                       At that time, Teva had a large market share in relation to the

existing competitors in the market.

        429.    Sullivan, a Director of National Accounts at Lannett and a recipient of the e-mail,

promptly communicated with Patel (Teva was a competitor for Baclofen) using Facebook

Messenger. On June 12, 2014, Sullivan messaged Patel, stating:




                                                  140
       430.    The message was sent at 11:16 a.m. At 11:30 a.m., Patel called Sullivan and they

spoke for seven minutes. This was the first phone conversation between Sullivan and Patel since

Patel had joined Teva in April 2013. During the conversation, Sullivan informed Patel that Lannett

would be entering the market for Baclofen shortly. In a follow-up message through Facebook

Messenger later that afternoon, Sullivan confirmed:




       431.    True to her word, Sullivan called Patel on July 1, 2014 and left a voicemail. Patel

promptly returned the call, and the two spoke for almost seven minutes.

       432.    On July 11, 2014, as Teva was evaluating future forecasting and whether to try and

take on additional Baclofen business with a large wholesaler, Patel stated to a Teva colleague:



                                                                  That same day, Patel sent a text

message to Sullivan asking               Sullivan immediately called Patel and left a voicemail.

Patel called Sullivan back promptly, and they spoke for more than three minutes. After speaking,



                                               141
Patel sent another text message to Sullivan, stating:



       433.    Shortly thereafter, on July 22, 2014, Teva was approached by a customer stating:



The customer asked whether Teva wanted to exercise its right of first refusal (i.e., offer a lower

price to maintain the account). Even though the new manufacturer’s price was only slightly below

Teva’s price, Teva declined to bid. Patel specifically agreed with the decision to concede, stating:




       L.      Balsalazide Disodium

       434.    Balsalazide Disodium (“Balsalazide”), also known by the brand name Giazo, is an

anti-inflammatory drug used in the treatment of inflammatory bowel disease. During the period

relevant to this Complaint, Mylan, West-Ward and Apotex were the primary manufacturers of

Balsalazide Disodium.

       435.    As with other drugs identified in this Complaint, Defendants arranged for

manufacturers to exit the market so that they could increase prices. With respect to Balsalazide,

West-Ward, Apotex, and Mylan arranged for Mylan to exit the market, which it did in June 2013.

As detailed further below, Apotex, Mylan and West-Ward also controlled the market on

Butorphanol Tartrate and Mylan and West-Ward controlled the market for Captopril. Whereas

Mylan exited the Balsalazide, Apotex exited the market for Butorphanol, and West-Ward exited

the market for Captopril.

       436.    Additionally, in January 2014, Apotex briefly exited the market for Balsalazide

based on what it claimed to be a supply issue. West-Ward used this opportunity to increase prices



                                                142
by approximately 400%. And, upon its re-entry in February 2014, rather than compete for market

share, Apotex matched West-Ward’s price increase.

       437.    Upon information and belief, Apotex’s one month hiatus from the market was a

pretext that it coordinated with West-Ward to impose a substantial price increase. Upon its re-

entry into the market, Apotex arranged with West-Ward to concede to West-Ward several large

customers.

       438.    Senior sales executives from Mylan, West-Ward, and Apotex communicated

directly with each other in furtherance of the conspiracy in order to coordinate the price increases

and market allocation for Balsalazide Disodium, as well as Butorphanol Tartrate and Captopril.

For example,                        of West-Ward was in frequent contact with

(Mylan’s Director of National Accounts), with the two communicating by phone at least 20 times

between March and June of 2013. Executives from West-Ward, Apotex, and Mylan also met

regularly at trade association events frequently throughout this time period, as detailed in

Exhibit 1.

       M.      Benazepril HCTZ

       439.    Benazepril HCTZ, also known by the brand name Lotensin, is an angiotensin

converting enzyme (ACE) inhibitor that is used to treat high blood pressure.

       440.    The market for Benazepril HCTZ is mature, as Benazepril HCTZ has been available

in the United States for over 25 years. At all times relevant to this lawsuit there has been more

than one manufacturer of Benazepril HCTZ on the market. Defendants Mylan and Sandoz

dominate the market for Benazepril HCTZ, and co-conspirator Rising entered the Benazepril

HCTZ market following collusive discussions with Mylan and Sandoz during which Rising agreed

to follow the conspiracy pricing.



                                                143
       441.     At issue here are three dosage strengths of Benazepril HCTZ: 10 mg/12.5 mg, 20

mg/12.5 mg, and 20 mg/25 mg.

       442.     In the years prior to the conspiracy period, Defendants’ average price in the U.S.

for Benazepril HCTZ was remarkably stable. Beginning in August 2013, Defendants increased

their prices abruptly and in unison. This price increase was the result of an agreement reached

during discussions between Mylan and Sandoz.

       443.     In July 2013, Sandoz finalized its plan to re-launch Benazepril HCTZ. However,

because Sandoz executives knew that Mylan planned to increase price on this product, it chose to

wait to re-enter the market until after Mylan increased its price so that Sandoz could enter at the

higher price.

       444.     On July 12, 2013, a marketing executive at Sandoz sent an internal e-mail regarding



                Similarly, during a Commercial Operations meeting on July 15, 2013, it was

confirmed that Sandoz was just waiting for confirmation of a Mylan price increase before re-

entering the market.

       445.     The next day, on July 16, 2013, CW-4 spoke with Nesta and sent the July 2013 E-

mail outlining the Mylan price increase drugs that Nesta had provided to her (discussed more fully

above). That list did not include Benazepril HCTZ. CW-1 forwarded the July 2013 E-mail to

Kellum stating:




       446.     Over the next few days, CW-4 and Nesta communicated several times, during

which they discussed Benazepril HCTZ. These phone calls are detailed below:



                                                144
         447.    On August 2, 2013, CW-1 sent a spreadsheet to Kellum entitled,




         448.    One week later, on August 9, 2013, Mylan increased WAC pricing on Benazepril

HCTZ. The increase was large – nearly 334% on all dosage strengths.

         449.    On August 20, 2013, consistent with their agreement to maintain high prices,

Sandoz quickly re-entered the Benazepril HCTZ market and essentially matched Mylan’s WAC

pricing.

         450.    By way of example, in August 2013, Mylan and Sandoz set nearly identical WAC

prices on their 25 mg product for Benazepril HCTZ, reflecting increases of more than 300%:

  Product                                     Old                      Date of     Percentage
                 Defendant       NDC                     New WAC
  25 MG                                       WAC                     Increase      Increase
 20 ct          Mylan         00378477501        $0.38       $1.65      9-Aug-13         334%
 20 ct          Sandoz        00185027701        $0.32       $1.62     20-Aug-13         407%

         451.    A third competitor – Rising – entered the Benazepril HCTZ market on April 2,

2014 as the authorized generic. When Rising entered, it essentially matched the WAC pricing of

Sandoz and Mylan. Both before and after entering the market, CW-2 – then at Rising –

communicated with his former colleagues at Sandoz (CW-1, CW-3, and                     ) about

obtaining market share on Benazepril HCTZ. Through those communications, Sandoz ultimately




                                               145
agreed to relinquish ABC to Rising so that the new entrant would not erode the supracompetitive

price.

         452.   In December 2019, Co-conspirator Rising reached a deferred prosecution

agreement in which it admitted to price-fixing Benazepril HCTZ between at least April 2014 and

September 2015.

         453.   As a result of the overarching understanding and these collusive communications,

Mylan, Sandoz, and Rising sold Benazepril HCTZ to Plaintiff, its assignor, and others in the United

States at supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged

in this Complaint.

         N.     Betamethasone Dipropionate

         454.   Betamethasone Dipropionate is a topical steroid used to treat inflammation caused

by allergic reactions, eczema, psoriasis, fungal infections and a wide range of other skin

conditions. It is sold in a variety of formulations, including cream, lotion, and ointment. It is also

sold in an Augmented formulation, and a formulation that included Clotrimazole (“CBD”). During

the time period relevant to this Complaint, Sandoz/Fougera and Taro manufactured each

formulation. Additionally, Actavis manufactured cream, ointment, and CBD formulations, while

Perrigo manufactured Betamethasone Dipropionate lotion.

                1.     Lotion, Cream, and Ointment

         455.   In 2010, Fougera, Perrigo, and Teva were the only three competitors in the market

for Betamethasone Dipropionate lotion.

         456.   On December 16, 2010, CW-6 of Fougera e-mailed Kaczmarek to inform him that

Teva was exiting the market, leaving Fougera and Perrigo as the only competitors. With a strong

collusive understanding firmly in place between Fougera and Perrigo at that point, Kaczmarek was



                                                 146
thrilled with the news and immediately suggested that Fougera take advantage of Teva’s departure

by increasing pricing on the product:




       457.    Also on December 16, 2010, Perrigo held an internal meeting to discuss increasing

pricing on Betamethasone Dipropionate. Notes from that meeting stated:

                              That same day,           of Perrigo and CW-6 of Fougera exchanged

several calls. After hanging up with             CW-6 called Kaczmarek to update him on their

discussions. These calls are detailed in the chart below:

  Date       Call Type   Target Name       Direction   Contact Name             Time      Duration
  12/16/2010    Voice    T.P. (Perrigo)    Outgoing    CW‐6 (Fougera)             8:58:29    0:00:25
  12/16/2010    Voice    CW‐6 (Fougera)    Outgoing    T.P. (Perrigo)             9:12:49    0:05:32
  12/16/2010    Voice    CW‐6 (Fougera)    Outgoing    Kaczmarek, Walt (Fougera) 9:18:34     0:01:03
  12/16/2010    Voice    CW‐6 (Fougera)    Outgoing    T.P. (Perrigo)             9:20:00    0:03:51
  12/16/2010    Voice    CW‐6 (Fougera)    Outgoing    Kaczmarek, Walt (Fougera) 9:24:02     0:05:03
  12/16/2010    Voice    CW‐6 (Fougera)    Incoming    T.P. (Perrigo)            10:00:24    0:01:08
  12/16/2010    Voice    CW‐6 (Fougera)    Outgoing    Kaczmarek, Walt (Fougera) 10:34:32    0:01:04


       458.    After this series of phone calls, Perrigo also decided to raise prices – and did so

even before Fougera. On January 4, 2011, Perrigo increased its WAC pricing for Betamethasone

Dipropionate by 504% to           . That same day,           called CW-6 and they spoke for seven

minutes. Just minutes after hanging up, CW-6 again called Kaczmarek. The call lasted one minute.

       459.    Three days later, on January 7, 2011, the Fougera sales team held a conference call

during which they discussed the upcoming increase on Betamethasone Dipropionate, among other

products. That same day,            called CW-6 and they spoke for four minutes. Over the course




                                                147
of the day, the two competitors would exchange several more calls and CW-6 would continue to

keep Kaczmarek apprised of his discussions. This call pattern is detailed in the chart below:

   Date      Call Type   Target Name      Direction     Contact Name                Time       Duration
    1/7/2011    Voice    CW‐6 (Fougera)   Incoming      T.P. (Perrigo)                 5:02:00    0:04:00
    1/7/2011    Voice    CW‐6 (Fougera)   Outgoing      Kaczmarek, Walt (Fougera)      9:48:35    0:00:00
    1/7/2011    Voice    CW‐6 (Fougera)   Outgoing      T.P. (Perrigo)               10:21:00     0:01:00
    1/7/2011    Voice    CW‐6 (Fougera)   Outgoing      T.P. (Perrigo)               10:22:00     0:01:00
    1/7/2011    Voice    CW‐6 (Fougera)   Outgoing      T.P. (Perrigo)               11:17:00     0:02:00
    1/7/2011    Voice    CW‐6 (Fougera)   Outgoing      Kaczmarek, Walt (Fougera)    13:45:31     0:00:00
    1/7/2011    Voice    CW‐6 (Fougera)   Incoming      Kaczmarek, Walt (Fougera)    14:56:11      0:00:14
    1/7/2011    Voice    CW‐6 (Fougera)   Outgoing      Kaczmarek, Walt (Fougera)    15:00:53     0:20:39
    1/7/2011    Voice    CW‐6 (Fougera)   Outgoing      T.P. (Perrigo)               16:00:36     0:04:27
    1/7/2011    Voice    CW‐6 (Fougera)   Outgoing      Kaczmarek, Walt (Fougera)    16:05:31     0:01:57
    1/7/2011    Voice    T.P. (Perrigo)   Incoming      CW‐6 (Fougera)                16:17:40    0:01:15
    1/7/2011    Voice    CW‐6 (Fougera)   Outgoing      Kaczmarek, Walt (Fougera)    17:09:52     0:00:00


       460.    On January 12, 2011, Fougera followed Perrigo and increased its WAC pricing on

Betamethasone Dipropionate to $39.99 – slightly higher than Perrigo’s WAC pricing. The next

day, on January 13, 2011, CW-6 called                 again and they spoke for twelve minutes.

       461.    At the same time that Fougera was coordinating to raise prices on Betamethasone

Dipropionate lotion, it also coordinated with Actavis and Taro to increase prices on the ointment

and cream formulations. For example, Actavis increased prices on Betamethasone Dipropionate

cream in December 2010, and Fougera and Taro agreed to follow this increase in January 2011,

which they ultimately did within days of each other. At the same time that Actavis increased its

prices on cream, it also increased its prices on Betamethasone Dipropionate ointment. And

although Fougera did not follow this increase until late in 2011, it complied with the collusive

agreement to support Actavis’ price increase by refraining from taking any of Actavis’ customers

during this time period.




                                                      148
        462.   As further detailed below in Section XIII, in May 2013, Aprahamian and Perfetto

of Taro coordinated another round of price increases on Betamethasone Dipropionate cream and

lotion, and also augmented Betamethasone Dipropionate, shortly after leaving Actavis for Taro.

               2.      CBD

        463.   In early 2011, the competitors in the generic market for CBD Cream were Fougera,

Taro, and Actavis and the competitors in the generic market for CBD Lotion were Fougera and

Taro.

        464.   On March 9, 2011,                , a senior Actavis pricing executive, circulated

internally a proposed price increase plan for four products, including CBD Cream, to take effect

on March 28, 2011. Actavis planned to raise WAC prices for CBD Cream by 227% and to increase

contract prices to customers by as much as 1100%. Notably, Actavis had not yet conveyed the

proposed increases to its customers. In fact, in that March 9, 2011 e-mail,



        465.   Even though Actavis had not yet told its customers of these substantial price

increases, its competitors, Fougera and Taro, were already aware. For example, on March 9, 2011

– the same day that         circulated the price increase proposal internally at Actavis –

        a Fougera sales executive, sent a National Accounts Monthly Recap report for February

2011 to Kaczmarek. In that recap,



                    is a reference to all of Taro’s betamethasone products. Importantly, Taro had

not yet raised its prices on those products.




                                               149
       466.       Fougera was already aware of its competitors’ price increases for CBD products

because, in the preceding month, representatives of Actavis, Fougera, and Taro were in contact

with one another to ensure that each competitor would follow the other’s price increases.

       467.       For example, from February 1, 2011 to March 9, 2011, Perfetto, then a senior

Actavis sales and marketing executive, spoke with Blashinsky, then a senior Taro marketing

executive, eight times for a total of approximately fifty-two minutes. During that same time,

                   , a Taro sales executive, spoke with CW-6 of Fougera three times for a total of

approximately fifteen minutes.

       468.       On March 25, 2011, Actavis informed its customers of the price increases for CBD

Cream. By happenstance, just days before the announcement, Actavis learned that its API costs

for CBD Cream would increase. Actavis immediately recognized that it could use this news to

mislead its customers and provide cover for its illegal price-fixing conspiracy.

       469.       Before the announcements went out, Perfetto e-mailed the Actavis sales executives,

telling them to




                                                                                               .

       470.       In furtherance of their conspiracy to raise prices, Actavis, Taro, and Fougera

remained in contact during the days leading up to Actavis’s formal price increase announcement

on March 25, 2011, including calls between the following individuals:

  Date      Call Type   Target Name            Direction   Contact Name      Time      Duration
  3/17/2011    Voice    H.M. (Taro)            Outgoing    CW-6 (Fougera)     12:03:40        0:01:44
  3/21/2011    Voice    H.M. (Taro)            Outgoing    CW-6 (Fougera)     10:50:22        0:00:00
  3/21/2011    Voice    H.M. (Taro)            Outgoing    CW-6 (Fougera)     10:51:24        0:00:34



                                                  150
  3/21/2011   Voice   H.M. (Taro)                   Outgoing   CW-6 (Fougera)             12:27:28        0:02:38
  3/22/2011   Voice   H.M. (Taro)                   Outgoing   CW-6 (Fougera)             15:26:45        0:02:00
  3/23/2011   Voice   H.M. (Taro)                   Outgoing   CW-6 (Fougera)             12:31:15        0:00:24
  3/23/2011   Voice   Blashinsky, Mitchell (Taro)   Incoming   Perfetto, Mike (Actavis)   12:44:00        0:09:00
  3/23/2011   Voice   Blashinsky, Mitchell (Taro)   Incoming   Perfetto, Mike (Actavis)   13:07:00        0:15:00
  3/24/2011   Voice   Blashinsky, Mitchell (Taro)   Incoming   Perfetto, Mike (Actavis)    6:49:00        0:15:00


       471.    On March 30, 2011 – just three business days after Actavis sent out its price

increase notices for CBD Cream – Fougera sent out notices to its customers stating that it was

raising prices for CBD Cream. Those increases, which took effect April 1, 2011, increased

Fougera’s WAC prices for CBD Cream by 54% and increased contract prices across the board, in

some cases by over 1200%. The day after Fougera announced those price increases, CW-6 of

Fougera and                     of Taro spoke three separate times for a total of eighteen minutes.

       472.    Within days, on April 4, 2011, Taro implemented its own substantial price increases

across the board for both CBD Cream and CBD Lotion. For some customers, Taro raised prices

for CBD Cream by approximately 1350% and raised prices for CBD Lotion by approximately

960%. The next day,             called CW-6 and they spoke for eighteen minutes.

       473.    On April 14, 2011, Fougera followed Taro with a price increase on CBD Lotion –

raising its WAC by 71% and increasing its contract prices across the board, in some cases by over

900%. At the time, Fougera’s gross profit margin on CBD Lotion was already                           yet, with this

price increase, their gross profit percentage would soar to                      Fougera estimated that these

increases accounted for an extra $                   in profit for the rest of 2011 alone.

       474.    In furtherance of the conspiracy, Fougera refrained multiple times from taking

customers that approached it for bids. For example, after Taro’s increase, Wal-Mart, a Taro

customer for CBD Cream and Lotion, asked Fougera to bid for that business. Kaczmarek

cautioned




                                                      151
                                                                          Kaczmarek determined that Fougera

should opt for the latter.

         475.   Shortly after pulling off one massive coordinated price increase, Taro wasted no

time planning the next. In an e-mail to Kaczmarek on May 6, 2011,                               , a senior Fougera

executive, detailed how Taro had already approached Fougera about raising CBD prices again:




         476.   By March 5, 2012, Taro reignited its desire to raise prices on CBD Cream. Over

the next several weeks, representatives of Taro spoke several times with their contacts at Actavis

and Fougera. During these calls, Taro conveyed to its competitors its intentions to increase prices

and secured their commitments not to poach Taro’s customers. These calls are detailed in the chart

below:

  Date            Call   Target Name                   Direction   Contact Name               Time        Duration
                 Type
     3/7/2012   Voice    Blashinsky, Mitchell (Taro)   Incoming    Perfetto, Mike (Actavis)     6:29:00      0:07:00
     3/7/2012   Voice    D.S. (Taro)                   Incoming    K.K. (Fougera)              13:18:00      0:01:00
     3/7/2012   Voice    D.S. (Taro)                   Incoming    K.K. (Fougera)              13:27:00      0:02:00
     3/8/2012   Voice    D.S. (Taro)                   Incoming    K.K. (Fougera)              13:19:00      0:03:00
     3/9/2012   Voice    CW-6 (Fougera)                Incoming    H.M. (Taro)                  4:05:00      0:08:00
   3/12/2012    Voice    Blashinsky, Mitchell (Taro)   Outgoing    Perfetto, Mike (Actavis)     7:37:00      0:01:00
   3/12/2012    Voice    Blashinsky, Mitchell (Taro)   Outgoing    Perfetto, Mike (Actavis)     9:42:00      0:01:00




                                                        152
  3/12/2012   Voice   Blashinsky, Mitchell (Taro)   Incoming   Perfetto, Mike (Actavis)     9:49:00   0:02:00
  3/12/2012   Voice   Blashinsky, Mitchell (Taro)   Outgoing   Perfetto, Mike (Actavis)    15:34:00   0:01:00
  3/16/2012   Voice   Blashinsky, Mitchell (Taro)   Incoming   Perfetto, Mike (Actavis)     4:51:00   0:10:00
  3/17/2012   Voice   D.S. (Taro)                   Outgoing   K.K. (Fougera)              11:08:00   0:02:00
  3/20/2012   Voice   Blashinsky, Mitchell (Taro)   Incoming   Perfetto, Mike (Actavis)    11:11:00   0:05:00
  3/20/2012   Voice   Blashinsky, Mitchell (Taro)   Incoming   Perfetto, Mike (Actavis)    11:29:00   0:01:00
  3/22/2012   Voice   CW-3 (Fougera)                Outgoing   Aprahamian, Ara (Actavis)    7:32:00   0:13:00
  3/29/2012   Voice   Blashinsky, Mitchell (Taro)   Outgoing   Perfetto, Mike (Actavis)     8:49:00   0:05:00
  3/29/2012   Voice   CW-6 (Fougera)                Outgoing   H.M. (Taro)                 10:58:00   0:05:00


       477.   The day after the final calls detailed above, on March 30, 2012, Taro increased its

WAC prices for CBD Cream by approximately 7% and its contract prices by 15% for most of its

existing customers.

       478.   In May 2012, McKesson twice asked Taro to reduce its price based on comparable

sales by competitors. Both times Taro declined, comfortable that its competitors would not poach

its business. Taro’s confidence was well placed.

       479.   On May 23, 2012, McKesson contacted an Actavis sales executive, asking if

Actavis’s recent RFP bid still stood because




                                                                  The following day, Perfetto exchanged

three calls with Blashinsky of Taro, including one call lasting fourteen minutes. Following his

calls with Blashinsky, Perfetto instructed Aprahamian to call him. Aprahamian called Perfetto the

next morning on May 25, 2012. After that call, an Actavis employee suggested that Actavis should

stick by their RFP price and take the business because it was




                                                     153
       480.    In the Fall of 2012, a fourth competitor (Prasco) was entering the CBD Cream

market. However, Taro and Sandoz (which acquired Fougera in July 2012) were still the only

competitors in the CBD Lotion market. Facing new competition on CBD Cream, Sandoz and Taro

sought to maximize profits by raising the price of CBD Lotion.

       481.    Starting in late August 2012, Sandoz began planning a 100% price increase on CBD

Lotion to take place in October, which – assuming




including the following calls:

     Date           Call    Target Name     Direction   Contact Name     Time        Duration
                   Type
        9/6/2012   Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)       10:15:00      0:01:00
       9/20/2012   Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)        7:13:00      0:17:00
       9/21/2012   Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)        8:18:00      0:03:00
       9/28/2012   Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)        9:54:00      0:01:00
       9/28/2012   Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)       11:11:00      0:01:00
       9/28/2012   Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)       11:12:00      0:04:00
       9/28/2012   Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)       11:27:00      0:01:00
       9/28/2012   Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)       11:53:00      0:01:00
       10/1/2012   Voice    D.S. (Taro)     Incoming    CW-4 (Sandoz)      6:25:00      0:02:00
       10/1/2012   Voice    D.S. (Taro)     Incoming    CW-4 (Sandoz)      6:49:00      0:21:00
       10/2/2012   Voice    D.S. (Taro)     Outgoing    CW-4 (Sandoz)     10:11:00      0:02:00
       10/2/2012   Voice    D.S. (Taro)     Outgoing    CW-4 (Sandoz)     10:12:00      0:03:00
       10/8/2012   Voice    D.S. (Taro)     Incoming    CW-4 (Sandoz)     10:32:00      0:09:00
     10/11/2012    Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)        7:00:00      0:01:00
     10/11/2012    Voice    CW-3 (Sandoz)   Incoming    H.M. (Taro)       11:28:25      0:06:36
     10/11/2012    Voice    CW-3 (Sandoz)   Incoming    H.M. (Taro)       11:28:25      0:06:36
     10/11/2012    Voice    CW-3 (Sandoz)   Incoming    H.M. (Taro)       11:58:15      0:00:50
     10/11/2012    Voice    CW-3 (Sandoz)   Incoming    H.M. (Taro)       11:58:15      0:00:50
     10/12/2012    Voice    CW-3 (Sandoz)   Outgoing    H.M. (Taro)       11:12:00      0:01:00


       482.    On October 18, 2012, Sandoz increased prices for CBD Lotion, doubling its WAC

price (from $61.90 to $123.80) as well as its contract prices. As expected, Taro did not attempt to

poach Sandoz’s customers. For example, when a large purchases e-mailed Taro on October 26,



                                               154
2012 to request a bid from Taro for a dual award in light of Sandoz’s increase, Taro did not even

respond to the customer’s request.

       483.     Taro also made plans to follow the Sandoz price increase. On January 4, 2013,

         a senior Taro sales executive, instructed Taro sales executives, including             and

              , to gather competitive intelligence on CBD Lotion in anticipation of Taro’s planned

price increase. That same day,           spoke with CW-3 of Sandoz for five minutes. The pair

spoke again on January 7, 2013 for thirteen more minutes. Three days later, on January 10, 2013,

       spoke with CW-4 of Sandoz for twenty-three minutes.

       484.     On February 12, 2013, Taro instituted its price increase on CBD Lotion, raising

WAC by approximately 80% and contract prices by approximately 60%.

       485.     After Taro’s increase was issued, news of it spread throughout Sandoz. One Sandoz

employee remarked




       O.       Betamethasone Valerate

       486.     Betamethasone Valerate (“Beta Val”), also known by brand names such as

Betamethacot, Beta-Val and Betacort, among others, is a medium strength topical corticosteroid

prescribed for the treatment of skin conditions such as eczema and dermatitis, as well as allergies

and rashes. It is manufactured in various formulations, including cream, lotion, and ointment.

During the time period relevant to this Complaint, Sandoz manufactured each of the three




                                               155
formulations. Additionally, Taro manufactured cream; G&W and Teva manufactured lotion; and

Actavis manufactured both cream and ointment.

              1.     Lotion

       487.   In mid-2011, two companies shared the market for Beta Val Lotion – Fougera with

79% of the market, and Teva with 21% market share.

       488.   In early November 2011, however, Grauso at G&W contacted CW-6 with some

important news about G&W’s plans to enter the Beta Val Lotion market. Grauso called CW-6 late

in the afternoon of November 9, 2011. They also spoke three times the next morning. Later that

day, CW-6 informed his Fougera colleagues that G&W would be launching

and that he believed Teva had discontinued the product.         He opined that, under those

circumstances, Beta Val Lotion



       489.   Fougera promptly began preparing for an even larger price increase than CW-6 had

recommended. On December 13, 2011, CW-3, a Fougera sales executive, created a spreadsheet

detailing Fougera’s upcoming price increases, including a 200% increase in WAC pricing for Beta

Val Lotion from $20.00 to $60.00 per 60ml bottle. The average net sales price for the product

would go from $10.11 to $30.33.

       490.   With the Fougera price increase details now firm, CW-6 began coordinating the

price increase directly with G&W. Between December 14 through December 21, 2011, CW-6 and

Grauso spoke by phone 12 times. Fougera’s price increase to $60.00 for Beta Val Lotion, went

into effect on December 22, 2011.

       491.   CW-6 and Grauso remained in close contact in the days that followed the Fougera

price increase, as G&W also finalized plans for its Beta Val Lotion launch, including a twenty



                                             156
minute call on December 28, 2011, Grauso’s last day as a G&W employee. During these calls,

the competitors discussed G&W’s market share goals and identified customers for G&W to target

as it launched.

       492.       On January 9, 2012, Vogel-Baylor of G&W (who had just taken over for Grauso)

distributed to her colleagues a

                                     That same day, she sent an e-mail to Wal-Mart announcing the

G&W launch. On January 11, 2012, she followed up with a quote, offering to supply the product

for $10.40, far below Fougera’s newly increased average net sales price.

       493.       Vogel-Baylor directed her colleagues at G&W to generate a nearly identical offer

letter for another customer – Rite Aid – on January 10, 2012, offering a price of $10.20.

       494.       Something had clearly been lost in translation after Grauso’s departure, and CW-6

of Fougera set out to figure out what had happened. Late in the afternoon on January 11, 2012,

CW-6 placed an urgent call to Grauso, who had recently started at Aurobindo.

       495.       Grauso called him back quickly and the two spoke for five minutes. Immediately

upon ending that call, Grauso called his former colleague at G&W, Vogel-Baylor, to convey

Fougera’s concerns about G&W’s drastically underpriced offers. As soon as that call ended,

Grauso called CW-6 of Fougera to confirm that he had addressed the problem.

       496.       At 10:02 p.m. that same day, Vogel-Baylor e-mailed Orlofski with the news she

had just received about Fougera:




                                                 157
       497.    At 7:55 a.m. the following morning, Vogel-Baylor asked that the G&W team re-

submit the Rite Aid proposal with a new price of $20.00, bringing it more in line with Fougera’s

new price. That same day, G&W also issued a revised price proposal to Wal-Mart, quoting the

new price of $20.00.

       498.    Vogel-Baylor explained the sudden about-face to a colleague by saying that she

had revised the G&W launch pricing for this product                                 The modified

schedule included $30.00 for large chains, $32-$75 for small chains, and $38.53 for wholesalers,

closely paralleling the new Fougera prices.

       499.    One week later, on January 19, 2012, Vogel-Baylor announced to Orlofski that

G&W had already reached its target market share for Beta Val Lotion:

                                  By following Fougera’s price increase, that 45% share equated

to $1.6 million in total annual gross sales for G&W.

       500.    In a February 17, 2012 e-mail exchange with a distributor, Orlofski explained

G&W's rationale for not seeking additional market share on this product:




               2.      Ointment

       501.    As noted above with respect to Betamethasone Dipropionate, Sandoz/Fougera

coordinated large price increases across all formulations of Betamethasone beginning in late 2010.

For Betamethasone Valerate ointment, prices remained at the supracompetitive levels established

through this collusion, including during a brief period in 2012, when Sandoz stopped production.




                                               158
          502.   In early January 2013, Sandoz began making plans to re-enter the market for

Betamethasone Valerate and targeted February 15, 2013 as its re-launch date. At that time, Actavis

was the only other generic competitor in the market.

          503.   On January 21, 2013, Sandoz held a Commercial Operations call during which the

Betamethasone Valerate re-launch was discussed. During that call, CW-3 noted that Sandoz was

seeking 40% of the market – which was typical (and consistent with the conspiracy’s rules) for a

second entrant in a two-player market – and was looking for price points and customer information.

          504.   On February 4, 2013, CW-3 called Aprahamian, who at that time was still at

Actavis. The call lasted one minute.      The next day, February 5, 2013, CW-3 spoke with

Aprahamian two more times – with one call lasting twenty-three minutes. Immediately after each

call with Aprahamian, CW-3 called Kellum or CW-1 to report back what he had learned. These

calls are detailed in the chart below:

   Date           Call   Target Name     Direction    Contact Name                Time       Duration
                 Type
    2/5/2013     Voice   CW-3 (Sandoz)   Outgoing     Aprahamian, Ara (Actavis)   10:14:00      0:23:00
    2/5/2013     Voice   CW-3 (Sandoz)   Outgoing     Kellum, Armando (Sandoz)    10:38:00      0:01:00
    2/5/2013     Voice   CW-3 (Sandoz)   Outgoing     CW-1 (Sandoz)               10:39:00      0:01:00
    2/5/2013     Voice   CW-3 (Sandoz)   Outgoing     Aprahamian, Ara (Actavis)   11:24:00      0:03:00
    2/5/2013     Voice   CW-3 (Sandoz)   Outgoing     Kellum, Armando (Sandoz)    11:27:00      0:01:00


          505.   During these calls, Aprahamian provided CW-3 with Actavis's non-public pricing

for Betamethasone Valerate at its largest customers, as well as the percentage of the market that

each customer represented. The purpose of providing this specific information was so that Sandoz

would be able to price as high as possible while still obtaining business from specific, agreed-upon

customers that represented an agreed-upon market share.                  CW-3 took the following

contemporaneous notes in his Notebook, placing check marks next to Rite Aid and Walgreens,




                                                159
two of the customers that he and Aprahamian agreed that Sandoz would target. These notes are

pictured below:




       506.    Later in the evening on February 5, 2013,                      , a senior Sandoz

marketing executive, sent an internal e-mail, including to CW-3, stating:




       507.    Two days later, on February 7, 2013,              a pricing analyst at Sandoz, sent

an internal e-mail, including to CW-3, stating that Sandoz planned to send an offer to Walgreens

shortly and would send offers to additional targets once they received feedback from Walgreens.

CW-3 responded:

       508.    On February 13, 2013, CW-3 called Aprahamian and they spoke for nearly sixteen

minutes. That same day, on February 13, 2013, Rick Rogerson, a senior pricing executive at

Actavis, discussed ceding the Walgreens account to Sandoz, stating in an internal e-mail:




                                               160
       509.    Two days later, on February 15, 2013, Sandoz re-entered the market and published

WAC pricing that matched Actavis’s WAC pricing. That same day, on February 15, 2013, Sandoz

was awarded the Betamethasone Valerate business at Walgreens.

       510.    On February 19, 2013, Sandoz bid on the Betamethasone Valerate business at Rite

Aid. That same day, CW-3 called Aprahamian to let him know. The call lasted less than one

minute. On February 28, 2013, Rite Aid awarded the business to Sandoz.

       511.    On March 15, 2013, Sandoz bid on the Betamethasone Valerate business at

Cardinal. A few weeks later, on March 27, 2013, Cardinal awarded the business to Sandoz. These

three accounts – Walgreens, Rite Aid, and Cardinal – accounted for approximately 32% of the

Betamethasone Valerate market.

       512.    On April 1, 2013, Sandoz held a Commercial Operations call during which they

discussed, among other items, the status of the Betamethasone Valerate re-launch. CW-3’s notes

from that call reflect that Sandoz had been able to secure three customers, but was

one additional customer, OptiSource, to reach its original 40% market share goal. The next day,

April 2, 2013, CW-3 called and spoke with Aprahamian twice, with one call lasting six minutes.

       513.    On April 4, 2013, Sandoz submitted an offer to Optisource for its Betamethasone

Valerate business. Four days later, on April 8, 2013, Optisource awarded Sandoz the business.

       514.    As detailed further below in Section XIII, Sandoz and Taro then proceeded to

coordinate a second price increase on Betamethasone Valerate cream beginning in April 2013, and

culminating with a July 2013 collusive price increase.




                                               161
       P.      Bromocriptine Mesylate Tablets

       515.    Bromocriptine Mesylate Tablets (“Bromocriptine”), also known by the brand name

Parlodel, is used in the treatment of Parkinson’s disease, hyperprolactinemia (abnormally high

levels of prolactin in the blood), and acromegaly (a syndrome where the pituitary gland produces

excess growth hormones).

       516.    As of December 2012, the three competitors in the market for Bromocriptine were

Sandoz (with 65% share), Perrigo (with 30%), and Mylan (with 5%).

       517.    On March 1, 2013, Walgreens reached out to Sandoz asking for a one-time buy for

Bromocriptine because Mylan was having supply issues and would be out of the market for two

months. On March 4, 2013,                      responded to Walgreens stating that Sandoz could

not fill the customer’s request.

       518.    Viewing Mylan’s supply issues as an opportunity,                  forwarded his

exchange with Walgreens to Kellum asking,                                    Kellum responded

within the hour stating,           That same day, March 4, 2013, CW-4, a Sandoz senior sales

executive, spoke with Jim Nesta, a senior sales executive at Mylan, for nearly four minutes. The

two competitors spoke again on March 11, 2013 for nearly ten minutes.

       519.    On March 22, 2013, Kellum e-mailed the Pricing Committee recommending that

Sandoz increase prices on Bromocriptine, among other products. In particular, Kellum sought a

206% increase to Sandoz’s WAC pricing for Bromocriptine and noted the reason for the increase

was due to

       520.    By March 31, 2013, all members of the Sandoz Pricing Committee (which included

Kellum and CW-1, among others) had approved the increase. The very next day, on April 1, 2013,

CW-3, a Sandoz senior sales executive, called            of Perrigo – the other competitor on



                                              162
Bromocriptine – and they spoke for seventeen minutes. The next morning, on April 2, 2013, CW-

3 called          again and they spoke for five minutes. On this call, CW-3 conveyed to his

competitor a list of products that Sandoz planned to increase pricing on in April 2013, including

Bromocriptine, as well as the amount of those increases.

       521.   After hanging up with            CW-3 called Kellum. The call lasted one minute.

A few hours later, CW-3 called CW-1, a senior pricing executive at Sandoz, and they spoke for

eleven minutes.

       522.   The next day, on April 3, 2013, Sandoz held an internal meeting attended by sales

and pricing personnel, including CW-3, CW-4, CW-1, and Kellum, to discuss the upcoming

Sandoz price increases, including Bromocriptine.

       523.   Two days later, on April 5, 2013, Sandoz implemented the Bromocriptine increase

and raised WAC pricing on the product by 205%.

       524.   Throughout the first three weeks of May 2013, CW-4 spoke with Nesta of Mylan

regularly, including on May 8, 13, and 20.

       525.   By late May 2013, Mylan had resolved its supply issues on Bromocriptine and was

readying to increase its own price. To that end, on May 22, 2013, Mylan held an internal meeting

to discuss Bromocriptine.

       526.   That same day, on May 22, 2013, ABC e-mailed Sandoz to request a bid on

Bromocriptine, citing supply issues with its incumbent manufacturer.                  , a Sandoz

sales executive, who had a better idea of Mylan’s plans, forwarded the request to Kellum stating



       527.   Sandoz quickly set out to confirm the reason for ABC’s request. First thing the

next morning, on May 23, 2013, Kellum called               , a sales executive at Mylan. The call



                                               163
lasted two minutes. Notably, this was the only call ever between the two competitors according

to the available phone records. That same morning, CW-3 spoke twice with                            of Perrigo

and CW-4 exchanged two calls with Nesta of Mylan. These calls are detailed in the chart below:

  Date      Call Type   Target Name          Direction   Contact Name               Time          Duration
  5/23/2013    Voice    T.P. (Perrigo)       Outgoing    CW‐3 (Sandoz)                  8:04:00      0:05:00
  5/23/2013    Voice    L.W. (Mylan)         Incoming    Kellum, Armando (Sandoz)       8:33:00      0:01:55
  5/23/2013    Voice    Nesta, Jim (Mylan)   Incoming    CW‐4 (Sandoz)                 10:49:23      0:00:37
  5/23/2013    Voice    Nesta, Jim (Mylan)   Outgoing    CW‐4 (Sandoz)                 12:40:43      0:01:25
  5/23/2013    Voice    T.P. (Perrigo)       Outgoing    CW‐3 (Sandoz)                 14:48:00       0:03:00


       528.    After speaking with their competitors, CW-3 and                       reported back to their

superiors, CW-1 and Kellum of Sandoz and Wesolowski of Perrigo. During these calls, Sandoz

learned that ABC was in fact Perrigo’s customer, and that Perrigo might be leaving the market for

Bromocriptine due to supply problems. This call pattern is illustrated in the chart below:

   Date         Call Type Target Name        Direction   Contact Name              Time       Duration
   5/23/2013    Voice     T.P. (Perrigo)     Outgoing    CW‐3 (Sandoz)                8:04:00    0:05:00
   5/23/2013    Voice     CW‐3 (Sandoz)      Outgoing    CW‐1 (Sandoz)                9:13:00    0:07:00
   5/23/2013    Voice     CW‐3 (Sandoz)      Outgoing    Kellum, Armando (Sandoz)     9:20:00     0:01:00
   5/23/2013    Voice     T.P. (Perrigo)     Outgoing    Wesolowski, John (Perrigo) 10:26:00      0:01:00
   5/23/2013    Voice     T.P. (Perrigo)     Outgoing    CW‐3 (Sandoz)               14:48:00    0:03:00
   5/23/2013    Voice     T.P. (Perrigo)     Outgoing    Wesolowski, John (Perrigo) 14:51:00      0:01:00
   5/23/2013    Voice     T.P. (Perrigo)     Incoming    Wesolowski, John (Perrigo) 16:14:00      0:16:00


       529.    After this series of calls, Kellum called                    of Sandoz and they spoke for

twenty- one minutes. While on the phone with Kellum, sent the following internal e-mail, with a

copy to Kellum, regarding the reason for ABC’s bid request on Bromocriptine:




                                                     164
       530.    Not wanting to upset the market balance between the competitors, Sandoz

ultimately decided to submit an offer to ABC for a one-time buy. However, the customer declined

the offer because Sandoz’s pricing was too high.

       531.    Just one week later, on May 31, 2013, Mylan re-entered the market and published

WAC pricing for Bromocriptine that matched Sandoz’s increased pricing. In the days leading up

to, and on the day of, Mylan’s price increase, the competitors again exchanged several calls. These

calls are detailed in the chart below:

    Date      Call Type    Target Name          Direction   Contact Name    Time      Duration
    5/28/2013    Voice     L.W. (Mylan)         Outgoing    CW‐3 (Sandoz)     7:58:00    0:07:00
    5/29/2013    Voice     Nesta, Jim (Mylan)   Outgoing    CW‐4 (Sandoz)     9:46:30    0:12:51
    5/31/2013    Voice     Nesta, Jim (Mylan)   Incoming    CW‐4 (Sandoz)    11:46:43    0:08:32
    5/31/2013    Voice     Nesta, Jim (Mylan)   Outgoing    CW‐4 (Sandoz)    13:45:59    0:00:06
    5/31/2013    Voice     Nesta, Jim (Mylan)   Outgoing    CW‐4 (Sandoz)    13:54:01    0:00:04
    5/31/2013    Voice     Nesta, Jim (Mylan)   Incoming    CW‐4 (Sandoz)    13:54:45    0:03:01
    5/28/2013    Voice     L.W. (Mylan)         Outgoing    CW‐3 (Sandoz)    14:23:00    0:03:00
    5/28/2013    Voice     T.P. (Perrigo)       Incoming    CW‐3 (Sandoz)    15:29:00    0:04:00
    5/29/2013    Voice     T.P. (Perrigo)       Outgoing    CW‐3 (Sandoz)    16:21:00    0:02:00

       532.    As of June 2013, Sandoz decided not to pursue additional market share on

Bromocriptine because it had reached its




                                                  165
        533.    Perrigo did not quickly follow the price increases taken by Sandoz and Mylan, in

part due to their intermittent supply issues. As a result, Sandoz received several complaints from

its customers that Perrigo was selling the product at a cheaper price.

        534.    For example, on July 22, 2013, McKesson e-mailed Sandoz requesting a price

reduction for Bromocriptine because a competitor was selling the product at



of Mylan and they spoke for eight minutes. Within minutes of hanging up, CW-3 called CW-1.

The call lasted two minutes. Two days later, Sandoz responded to McKesson and declined to

lower its pricing stating,

        535.    On July 29, 2013, McKesson asked that Sandoz reconsider its decision because

otherwise it would need to request a bid from Perrigo. That same day,            of Perrigo called

CW-3 twice. Both calls lasted one minute. The next morning, CW-3 called                   and they

spoke for thirteen minutes. During these calls, the competitors discussed the fact that Perrigo had

not followed the Sandoz and Mylan price increases on Bromocriptine. However,               assured

CW-3 that Perrigo would not take Sandoz’s business at McKesson. CW-3’s contemporaneous

notes from his conversation with          are pictured below:




        536.    After hanging up with          CW-3 called CW-1 and they spoke for four minutes.

On this call, CW-3 conveyed to CW-1 what              had told him about Bromocriptine. According

to CW-3, it was not a question of whether Perrigo would follow, but when they would follow.



                                                166
Armed with this assurance from Perrigo, Sandoz responded to McKesson’s request by declining

to lower its pricing and reiterating

       537.    Similarly, on August 23, 2013, Omnicare, a Sandoz customer, e-mailed Perrigo

stating that they noticed Perrigo’s price for Bromocriptine was significantly lower than the other

competitors and asked




       538.    Sandoz and Mylan generated a substantial amount of money from Bromocriptine

sales in 2013. For example, on February 4, 2014, Sandoz released a business review report that

detailed how the 2013 price increases for certain drugs delivered upwards of $197 million of

revenue for Sandoz after price protection. Among the drugs mentioned, Bromocriptine realized

incremental net sales of $3.2 million after price protection.

       539.    Perrigo ultimately followed its competitors and implemented a price increase on

Bromocriptine in October 2014.

       540.    On October 2, 2014,             of Perrigo called CW-3 and they spoke for seven

minutes. Immediately upon hanging up with CW-3,                 called his supervisor, Wesolowski.

Less than one week later, on October 7, 2014, Perrigo sent letters to its customers notifying them

of the Bromocriptine increase. The next day, on October 8, 2014, CW-3 sent an internal e-mail to

Kellum and CW-1, among others, noting that Perrigo



                                                167
                        .

       Q.      Budesonide DR Capsules

       541.    Budesonide DR Capsules, also known by the brand name Entocort EC, is a steroid

used to treat Crohn’s disease and ulcerative colitis when taken orally.

       542.    Teva was preparing to enter the market for Budesonide DR in or about March 2014.

At that time, it was a 2-player market: Par had 70% market share and Mylan had the remaining

30%.

       543.    Shortly before Teva received approval to market Budesonide DR, Par decided to

increase the price of the drug. On April 1, 2014,             , a senior national account executive

at Par, called Rekenthaler at Teva. The two executives spoke for twenty-six minutes. The next

day, April 2, 2014 – which happened to be the same day that Teva received FDA approval to

market Budesonide DR – Par increased its price for Budesonide DR by over 15%.

       544.    That same day, Teva sales employees were advised to find out which customers

were doing business with Par and which were with Mylan, so that Teva would have a better sense

of which customers to target:



       545.    Par and Mylan were also communicating at this time. On April 3, 2014 – the day

after the Par price increase –

       , a senior account manager at Mylan, for fifteen minutes.

       546.    On April 4, 2014, Rekenthaler informed some members of Teva’s sales force that,

although the company had received approval to market and manufacture Budesonide DR, Teva

was not prepared to launch the product and he did not yet know when it would do so. Nonetheless,



                                                168
Rekenthaler spoke to both Nesta, the Vice President of Sales at Mylan, and                a similarly

high-level executive at Par, that same day.

       547.    Although Teva did not launch Budesonide DR until approximately June 2016,

company executives clearly attempted to coordinate pricing and market share with its competitors

in anticipation of its product launch date.

       R.      Budesonide Inhalation

       548.    Budesonide Inhalation, also known by the brand name Pulmicort Respules, is an

anti-inflammatory steroid, administered through inhalers or similar devices, used to prevent

asthma attacks. It belongs to a class of drugs called corticosteroids, and works directly in the lungs

to make breathing easier by reducing the irritation and swelling of the airways. During the period

relevant to this Complaint, Actavis, Sandoz, and Teva were the primary manufacturers of

Budesonide Inhalation.

       549.    Teva obtained approval to market Budesonide Inhalation in November 2008. As

of February 2013, Teva was the only company in the market for generic Budesonide Inhalation

Suspension. Teva knew, however, that a potential legal action challenging the validity of the patent

on the brand drug could allow additional competition into the generic market shortly. So before

any additional competition could enter the market, effective February 8, 2013, Teva raised the

WAC price for its Budesonide Inhalation Suspension by 9%. Although a very modest increase in

percentage terms, the 9% price increase added $              to Teva’s annual revenues.

       550.    On April 1, 2013, Actavis won a legal challenge in federal district court against the

brand manufacturer declaring the patent for the brand drug, Pulmicort Respules, invalid. Actavis

immediately began planning to launch the product “at risk,” which is when a generic manufacturer

puts the product on the market before all appeals in the patent lawsuit are formally resolved and



                                                 169
there is still a risk that the new generic entrant might ultimately be found to violate the patent.

That same day, David Rekenthaler of Teva called his counterpart at Actavis,              – a senior

sales and marketing executive – and they spoke for two minutes. This was the first-ever phone

call between them based on the phone records produced.

       551.    The next day, April 2, 2013, Rekenthaler spoke to        two more times, including

one call lasting eight minutes. Actavis then immediately began shipping the product. Instead of

competing to obtain market share as a new entrant, however, Actavis entered the market with the

exact same WAC price as Teva. Indeed, when Teva inquired of a customer that same day to

confirm Actavis’s pricing, Teva was informed by the customer that Actavis’s pricing was



       552.    At some point thereafter, further legal action from the brand manufacturer

prevented Actavis from permanently entering the market, but in the interim Teva was able to

continue to charge the agreed-upon prices. In addition, once Actavis entered the market in 2015,

Teva immediately conceded customers to Actavis in accordance with the collusive agreement –

after calls between Rekenthaler and Falkin, by then a Vice President at Actavis.

       553.    On February 13, 2015, Rekenthaler informed other Teva employees of Actavis’s

plans to enter the market, saying:                                                     Budesonide

Inhalation. Rekenthaler and Falkin of Actavis had spoken by phone three days earlier on February

10, 2015.

       554.    On February 16, 2015, Rekenthaler and Falkin had another lengthy telephone

conversation lasting twenty-three minutes. The following morning, Teva’s             confirmed to

her colleagues that Teva had conceded the Budesonide Inhalation accounts of two major customers

to Actavis. She explained that Actavis’s sense of urgency to obtain the accounts was due to



                                               170
concerns about getting its product into market before it faced legal action from the brand

manufacturer. Thus, she explained, she was working with the customers on an                     to

get Teva’s product out of the supply channel, so as to streamline Actavis’s entry into the market.

       555.    In late July 2015, Sandoz entered the market at the elevated prices established by

Teva and Actavis. Teva – which still had the largest share of the market – quickly conceded

several large accounts to Sandoz in order to prevent erosion of the supracompetitive price. And

because Actavis and Teva communicated to Sandoz which accounts to target, Sandoz was able to

add market share without decreasing the market price, in accordance with the conspiracy’s rules.

       S.      Buspirone Hydrochloride Tablets

       556.    Buspirone HCL is an antianxiety drug that was first approved for medical use in

the United States in 1986.

       557.    During the time period relevant to this Complaint, Actavis, Mylan, and Teva

dominated the market for Buspirone HCL.

       558.    Buspirone HCL was one of eight drugs that Teva targeted for a price increase

effective July 31, 2012. Prior to implementing the price increase for these drugs, Green and

Rekenthaler spoke with their competitors for each targeted drug to ensure that the understanding

to increase prices would hold, including Mylan, Actavis, Breckenridge, and Alvogen. For

example, in July 2012, Green spoke by phone with Nesta of Mylan, CW-2 of Sandoz, and

    of Alvogen. On July 31, Green and Nesta spoke five times, and immediately following some

of these calls, Green called     Also, Rekenthaler spoke with

        of Breckenridge. These communications solidified the agreement between the Defendants

that each would adhere to the price increases for the drugs that each manufactured.




                                               171
       559.    As a result of these collusive communications, Defendants charged Plaintiff, its

assignor, and others supracompetitive prices for Buspirone HCL.

       T.      Butorphanol Tartrate

       560.    Butorphanol Tartrate, also known by the brand name Stadol NS, is used to treat

moderate to severe pain. During the period relevant to this Complaint, Mylan, West-Ward and

Apotex were the primary manufacturers of Butorphanol Tartrate.

       561.    In December 2013, Apotex temporarily left the market in 2013. Rather than

compete on price to win Apotex’s customers, West-Ward and Mylan increased prices by more

than 200%, and divided Apotex’s share between them evenly.

       562.    In a familiar pattern, when Apotex re-joined the market in January 2015, it did not

attempt to compete on pricing to regain market share. On the contrary, it matched the existing

manufacturers’ increased prices, and in return, West-Ward and Mylan conceded to Apotex more

market share than it had in 2013.

       563.    Senior sales executives from Mylan, West-Ward, and Apotex communicated

directly with each other in furtherance of the conspiracy in order to coordinate the price increases

and market allocation for Balsalazide Disodium, as well as Butorphanol Tartrate and Captopril.

For example,                        of West-Ward was in frequent contact with

(Mylan’s Director of National Accounts), with the two communicating by phone at least 20 times

between March and June of 2013. Executives from West-Ward, Apotex, and Mylan also met

regularly at trade association events frequently throughout this time period, as detailed in

Exhibit 1.




                                                172
         564.    As a result of this coordination, Defendants were able to charge supracompetitive

pricing on Butorphanol Tartrate sold in the United States to Plaintiff, its assignor, and others in the

United States.

         U.      Cabergoline

         565.    Cabergoline, also known by the brand name Dostinex, is used to treat medical

problems that occur when too much of the hormone prolactin is produced. It can be used to treat

certain menstrual problems, fertility problems in men and women, and tumors of the pituitary

gland.

         566.    During the time period relevant to this Complaint, the market for Cabergoline was

dominated by Greenstone, Par, and Teva.

         567.    In December 2014, as Greenstone was preparing to enter the market for

Cabergoline, a senior Greenstone sales executive approached                 of Teva on Greenstone’s

behalf to discuss obtaining market share for Greenstone. The Greenstone executive made clear to

Teva that, in exchange for market share, Greenstone would adhere to the overarching agreement.

         568.    The same day that          e-mailed Greenstone, she also spoke with a senior sales

executive at Par. Upon information and belief, the purpose of this call was so that              could

inform Par that Teva was prepared to concede a large customer to Greenstone, consistent with the

overarching agreement.

         569.    The next day, after some internal conversation at Teva,



         570.    Pursuant to this agreement, Greenstone was able to acquire ABC as a customer for

Cabergoline without any fear that Teva (or Par) would compete to retain the business. In exchange,

Greenstone agreed not compete with Teva for other customers and drive prices down in the market.



                                                 173
       571.    As a result of these collusive communications, Teva, Par, and Greenstone charged

supracompetitive prices for Cabergoline to Plaintiff, its assignor, and others in the United States.

       V.      Calcipotriene

       572.    Calcipotriene Solution (“Calcipotriene”), also known by the brand name Dovonex

Scalp, is a form of vitamin D that impacts the growth of skin cells. This topical medication is

prescribed for the treatment of chronic plaque psoriasis of the scalp.

       573.    In early 2010, the market for generic Calcipotriene was shared by Defendants

Fougera, Hi-Tech, and Impax. Even with three competitors in the market, pricing remained high

and the product was                       for the sellers.

       574.    On July 23, 2010, however, Hi-Tech received a warning letter from the FDA

detailing numerous violations found during a recent manufacturing facility inspection. Even

though G&W was not in the Calcipotriene market at the time, Grauso knew his contact at Fougera

would be interested in the information. On July 28, 2010, he forwarded a copy of the FDA letter

to CW-6 at Fougera. Pleased with the news, CW-6 replied:

       575.    By the end of July 2010, Hi-Tech had discontinued the product, leaving its

approximate 35% market share open for competitors to claim.

       576.    One year later, on June 6 and 7, 2011, CW-6 and Grauso exchanged several phone

calls, with one call lasting eight minutes. During those calls, Grauso informed CW-6 that G&W

would soon be launching its own generic Calcipotriene. Shortly after speaking with Grauso, CW-

6 e-mailed Kaczmarek and other colleagues at Fougera sharing the news that he had just learned

from his competitor – G&W was launching that week.




                                                 174
       577.    G&W did, indeed, launch Calcipotriene that week – on June 10, 2011. As G&W

was entering the market, CW-6 and Grauso continued to speak, including exchanging two calls on

June 23, 2011 and one call on June 24, 2011 lasting sixteen minutes.

       578.    A few months later, between November 10 and November 17, 2011, CW-6 and

Grauso exchanged at least seven separate phone calls. The topic of conversation during these calls

was a G&W price increase that was about to become effective for Calcipotriene.

       579.    At the end of this series of phone communications between Grauso and CW-6,

G&W instituted a 54% price increase on Calcipotriene, effective November 18, 2011. Grauso sent

an internal e-mail advising the team to



       580.    Shortly after the G&W price increase became effective, on November 21, 2011,

CW-6 of Fougera called his supervisor, Kaczmarek. Immediately upon hanging up, CW-6 called

Grauso and they spoke for five minutes. Within minutes after that call ended, CW-6 called

Kaczmarek again to report the results of his call with the competitor. Almost simultaneously,

Grauso was also reporting the substance of his conversation with CW-6 to his G&W colleagues,

by placing calls to Orlofski and Vogel-Baylor.

       581.    Fougera acted quickly. Just two days later, it followed G&W’s price increase.

Fougera’s new WAC price on Calcipotriene went into effect on November 23, 2011.

       W.      Calcipotriene Betamethasone

       582.    Calcipotriene Betamethasone Dipropionate (“Cal Beta”), also known by the brand

name Taclonex Ointment, is a vitamin D analogue and corticosteroid combination product

indicated for the topical treatment of psoriasis vulgaris in adults 18 years of age and older. Cal

Beta Ointment is available in 60gm and 100gm dosages.



                                                 175
       583.    In early 2014, both Sandoz and Perrigo were preparing to launch CBD Ointment.

Sandoz was preparing to launch as the first-to-file generic and Perrigo was preparing to launch as

the authorized generic (the “AG”). Under the agreement that Perrigo had reached with the brand

manufacturer, Perrigo could not launch until Sandoz, the first filer, entered the market. Typically,

a first filer interested in gaining a competitive advantage would want to keep its launch date a

secret from the company launching the AG so that the first filer could catch the AG by surprise

and maintain market exclusivity for a longer period of time. But that was not the case with regard

to Cal Beta Ointment.

       584.                   , a sales executive at Perrigo, and CW-3, a senior sales executive at

Sandoz, exchanged two calls in late February 2014. On those calls,          told CW-3 that Perrigo

would be launching the AG of Cal Beta Ointment and asked CW-3 when Sandoz planned to launch

its generic version.

       585.    When first approached by            about Cal Beta Ointment, CW-3 was not aware

that Sandoz was planning to launch it. After being approached by              CW-3 reached out to

others at Sandoz to find out what Sandoz’s plans were. On March 4, 2014,                         ,a

senior Sandoz launch executive, confirmed to CW-3 that Sandoz would be launching Cal Beta

Ointment. Within minutes of receiving                 confirmation the night of March 4, 2014, CW-

3 e-mailed Kellum, stating:

       586.    The next day, on March 5, 2014, Sandoz held an internal

          teleconference to discuss its plans. Kellum,               CW-1, a Sandoz senior pricing

executive, and other members of the sales and launch teams attended the call. Additional meetings

were held on March 10 and March 13, 2014 to coordinate the Cal Beta Ointment launch.




                                                176
       587.    Also on March 13, 2014, CW-3 called              two times, with one of the calls

lasting twelve minutes. That same day, Perrigo scheduled its own teleconference for the following

day to discuss its Cal Beta Ointment launch.                his supervisor Wesolowski, a senior

executive at Perrigo, and over twenty other Perrigo sales and launch team members attended the

call. On the call, the Perrigo sales executives were directed to go after only six select customer

accounts, and no others. These accounts were referred to as



       588.    Promptly following the call,                    , a Perrigo marketing executive,

circulated a document that was discussed on the call. The document was internally prepared at

Perrigo and indicated that Sandoz may launch on March 31, 2014 and that Perrigo’s

was 50% of the market. Perrigo’s information was accurate. Sandoz ultimately launched the

100gm size on March 31, 2014 and the 60gm size on April 1, 2014. In harmony with Perrigo’s

target share goal of 50%, internal Sandoz e-mail correspondence circulated prior to launch stated

that Sandoz also had a target market share of 50% for Cal Beta Ointment.

       589.    While Perrigo planned to approach a small, select group of potential customers,

Sandoz was deciding which large customers to go after. Sandoz initially planned to target

Walgreens and ABC for Cal Beta Ointment. However, Sandoz remained involved in ongoing

business disputes with Walgreens and ABC in the middle of March 2014. Sandoz was concerned

that Walgreens and ABC would not award Sandoz their Cal Beta Ointment business if the disputes

were not resolved prior to launch.

       590.    On the night of Friday, March 14, 2014,                                           ,

the President of Sandoz US, stating that resolving the ABC and Walgreens disputes would be a

                        for the Cal Beta Ointment launch.                  responded by directing



                                               177
           to look for Cal Beta Ointment business



        591.              forwarded his e-mail correspondence with                 to Kellum and

others at Sandoz on the afternoon of March 16, 2014. Consistent with                    direction,

           Kellum, CW-3 and CW-1 immediately began to strategize how Sandoz could reach its

market share target of 50% without Walgreens and ABC.                 determined that in order to

reach that goal, Sandoz would need to have CVS as a customer. At an in-person meeting in

Sandoz’s Princeton offices, Kellum told CW-3 and CW-1 that he also wanted McKesson and Rite

Aid as customers.

        592.   On the next day, March 17, 2014, CW-3 called             at Perrigo to resume their

discussions about customer allocation and to exchange pricing information. Between March 17

and March 20, 2014, CW-3 and            exchanged more than ten phone calls, with one call lasting

eleven minutes and another call lasting seventeen minutes. Further,        reported the substance

of these calls to his supervisor, Wesolowski, seeking direction from him on how to respond to

CW-3.           often spoke with Wesolowski between calls with CW-3, sometimes even calling

him immediately after hanging up with CW-3. This call pattern is detailed in the chart below:




                                               178
        593.       Although most of            and CW-3’s calls were just between the two of them,

occasionally other colleagues would join them. For example, CW-3 made a call early in the week

of March 17, 2014 to                                 office in Princeton, and Kellum and CW- 1 also

joined the call.

        594.       As noted above, over the course of these calls,      and CW-3 discussed market

pricing and customer allocation. In a call early in the week of March 17, 2014,             shared

Perrigo’s proposed WAC pricing and AWP pricing for different types of customers. During that

call, CW-3 took the following contemporaneous notes in his Notebook:




        595.       When Perrigo launched Cal Beta Ointment about two weeks later, its WAC and

AWP matched those price points. The two rows of WAC prices in the Notebook represent the

different pricing for the 60gm and 100gm sizes. Sandoz’s WAC prices at launch were close but

slightly higher than Perrigo’s, at $657.45 for the 60gm size and $968.40 for the 100gm size.

        596.               also shared with CW-3 what Perrigo’s non-public, “dead net” pricing

would be for its customers. Perrigo ranked its customers into five           Customers in the same

tier were typically sold a drug at the same “dead net” price.           communicated the Cal Beta

Ointment pricing tiers to CW-3 by giving examples of the types of customers in a tier, such as

large wholesalers like ABC and Cardinal or regional wholesalers like HD Smith or Optisource,




                                                   179
and what the corresponding “dead net” pricing would be for that type of customer. CW-3’s

contemporaneous notes regarding Perrigo’s dead net pricing for Cal Beta Ointment are below:




         597.   The pricing tiers         gave to CW-3 matched the pricing tiers Perrigo planned

to use. The following rows are from an internally prepared spreadsheet that shows Perrigo’s main

pricing tiers for the two different sizes of Cal Beta Ointment:

         598.   Moreover, Perrigo’s offers to customers were in step with the “dead net” pricing

noted above. For example, Perrigo made offers to Wal-Mart and Meijer, both so-called

customers, that resulted in Wal-Mart and Meijer having “dead net” pricing of $426.31 and $627.94

for the 60g and 100g sizes respectively and offers to Optisource and Morris Dickson, both so-

called          customers, that resulted in Morris Dickson and Optisource having “dead net” pricing

of $448.75 and $660.99 for the 60g and 100g sizes respectively

         599.   As noted earlier,          and CW-3 did not just use these calls to share pricing

information in anticipation of their launches. They also used them to allocate the customers that

would be in the market. When CW-3 and                 spoke on calls early in the week of March 17,

2014, each shared his respective company’s position on how customers should be divided between




                                                180
them in accordance with the rules of the conspiracy. CW-3 told               that Sandoz wanted

McKesson, Rite Aid, Econdisc, CVS, Cardinal, Omnicare and Kaiser.

       600.            responded that Perrigo wanted Anda, Walgreens, ABC, Wal-Mart, Rite Aid

and McKesson. The purpose of reaching agreement on the list of customers was to avoid

competing with one another as both companies entered the market simultaneously.

       601.    As the lists above show, with the exception of Rite Aid and McKesson, Sandoz and

Perrigo were aligned on how significant customers should be allocated. In March 2014, Rite Aid

was purchasing generic drugs through McKesson’s “OneStop Generics” program, so Perrigo and

Sandoz viewed these customers as a package or, put another way, whoever got McKesson also got

Rite Aid as a customer. Both of the competitors wanted that business.

       602.    As the negotiations continued, Sandoz recognized that the list of customers it

wanted for Cal Beta Ointment was more than the rules of the conspiracy allowed. However, in

keeping with its general strategic preference for selling to a smaller number of large customers,

Sandoz did not want to give up McKesson, Rite Aid, CVS, or Cardinal. To resolve the issue,

Kellum, CW-3 and CW-1 brainstormed a list of other customers that, when combined, would have

about the same market share as Rite Aid and McKesson and that Sandoz was willing to give up to

Perrigo. Ultimately, the list of customers that Sandoz created included Optisource, Publix, Morris

& Dickson (MD), PBA Health (PBA), Meijer, and Kaiser.

       603.    Thereafter, CW-3 called          and proposed that Sandoz give up these customers

to Perrigo in exchange for McKesson and Rite Aid. Perrigo agreed.

       604.    Following the plan, Perrigo submitted offers to the customers listed above and was

awarded the business at Optisource, Publix, Morris & Dickson, Meijer, and Kaiser. In addition,




                                               181
and as planned, Perrigo bid on and won Anda, Walgreens, ABC and Wal-Mart, while Sandoz bid

on and won McKesson, Rite Aid, CVS, Cardinal, and Omnicare.

       605.    While Wesolowski encouraged the Perrigo sales team to go after their assigned

customers, he was also careful to make sure they adhered to the agreement reached with Sandoz.

For example, on March 21, 2014, Omnicare reached out to Perrigo asking for a bid on Cal Beta

Ointment. Omnicare was a customer allocated to Sandoz. Pete Haakenstad, a Perrigo sales

executive, forwarded the request to Wesolowski who responded,

               Consistent with Wesolowski’s direction, Haakenstad told Omnicare that Perrigo

was                                     even though Perrigo was actively sending offers to other

potential customers at that time.

       606.    On March 31, 2014, CW-3 called               The call lasted two minutes. That same

day, Sandoz officially launched the 100gm package size of Cal Beta Ointment and Perrigo

launched both the 100gm and 60gm package sizes. The next day, on April 1, 2014, Sandoz

launched the 60gm size. Early in the morning of April 1, 2014,                         , a Sandoz

marketing executive, e-mailed Kellum and                  to advise that she received an alert that

Perrigo had increased prices on Cal Beta Ointment. She noted that she was



       607.    On April 7, 2014, Douglas Azzalina, a Sandoz launch executive, noted in an

internal e-mail that Sandoz                                        At the end of April 2014, Sandoz

and Perrigo had a virtually even split of the market for that product.

       X.      Capecitabine

       608.    Capecitabine, also known by the brand name Xeloda, is an anti-cancer

chemotherapy drug used to treat a variety of cancers, including breast and colon cancer.



                                                182
       609.       To resolve patent litigation, the brand manufacturer, Roche Pharmaceuticals,

entered into settlement agreements with various generic manufacturers – including Teva and

Mylan – that would allow those generic manufacturers to sell generic Capecitabine after a certain

period of time.

       610.       As early as January 2014, both Teva and Mylan were making plans for their

eventual launch of Capecitabine. Part of this planning included the sharing of information so that

they could allocate the market between them. For example, in a January 31, 2014 e-mail,

       a national accounts executive at Teva, informed              Rekenthaler, and others at Teva

that Mylan was courting a specific customer, Armada Health Care, and that

                                                Teva incorporated this data it received from Mylan

into its own launch plan for Capecitabine.

       611.       On February 26, 2014, Nesta of Mylan called Rekenthaler of Teva and the two

spoke for sixteen minutes. Nesta informed Rekenthaler that Mylan would not be able to launch

on time with Teva. Rekenthaler immediately reported this news internally at Teva.

       612.       In early March 2014, Teva launched as the exclusive generic Capecitabine

manufacturer. Teva remained the exclusive generic Capecitabine manufacturer until Mylan

entered in August 2014.

       613.       On August 4, 2014, Nesta and Rekenthaler spoke by phone three times. On these

calls, Nesta informed Rekenthaler that Mylan would soon enter the Capecitabine market and the

pair discussed how to allocate the market.

       614.       For example, at 12:46 p.m. that day, Nesta called Rekenthaler and they spoke for a

little more than five minutes. Immediately after hanging up the phone, Rekenthaler sent the

following e-mail:



                                                 183
       615.     Cavanaugh responded that she would be in the office the next day and wanted to

discuss it with Rekenthaler in person.

       616.     Less than an hour later, Rekenthaler sent another e-mail, just to Patel, asking her to

run a customer report and indicating that Mylan will

                                                                    Mylan did seek the business for

each of these three companies and Teva conceded each of them, pursuant to the agreement

Rekenthaler had reached with Nesta.

       617.     On August 7, 2014, Teva was given the opportunity to bid to retain McKesson’s

business. Patel sent an e-mail to            Rekenthaler, and                    , a senior operations

executive at Teva, to ask if they had                                                         replied

that Teva did

                       to discuss it.            separately questioned whether the competitive bid

was coming from Mylan, and asked Rekenthaler whether he had any additional information.

Rekenthaler also did not want to put that                           in writing, so he responded:



       618.     The         was the market allocation scheme previously agreed to by Nesta and

Rekenthaler on behalf of Mylan and Teva. The same day that Mylan put a bid in to McKesson –

August 7, 2014 – Nesta and Rekenthaler spoke by phone for nearly thirteen minutes. On that call,



                                                 184
Rekenthaler and Nesta discussed Mylan’s bid to McKesson and reconfirmed their market

allocation scheme.

       619.   This market allocation         was highlighted in other e-mails as well. On August

10, 2014,         e-mailed Rekenthaler, Patel, and            about the plan.             stated that

her




      Rekenthaler knew Mylan was targeting Econdisc, even though Econdisc had not contacted

Teva, because he and Nesta had previously discussed it.

       620.   The next morning, at 8:30 a.m. on August 11, 2014, Rekenthaler alerted others at

Teva that Mylan had received formal approval to market Capecitabine and that he was

                     Five minutes later, Rekenthaler received a call from Nesta. After exchanging

voicemails, the two spoke at 8:52 a.m. The call lasted nearly six minutes. Shortly after hanging

up the phone, at approximately 9:02 a.m., Rekenthaler e-mailed             , Patel and others at Teva

to confirm that Mylan’s                                                         He added that Teva




       621.   In accordance with their market allocation scheme, Mylan targeted and Teva

conceded the Capecitabine business at ABC, Econdisc, and McKesson/Rite-Aid.

       622.   Teva also conceded some of the                     as well, pursuant to the agreement.

On August 14, 2014, for example, a smaller customer – Cigna – informed Teva that it received a

bid for Capecitabine. On August 18, 2014, Rekenthaler called Nesta to discuss the market

allocation scheme and Mylan’s bid to Cigna. The pair talked for thirteen minutes. The next day,



                                               185
              circulated an internal e-mail confirming that Teva                                   at

Cigna.

         Y.       Captopril

         623.     Captopril, also known by the brand name Capoten, is an angiotensin-converting

enzyme (ACE) inhibitor used for the treatment of hypertension and congestive heart failure.

During the period relevant to this Complaint, Mylan, West-Ward and Wockhardt were the primary

manufacturers of Captopril.

         624.     Prior to 2013, Captopril was priced competitively, and cost roughly one cent per

dose. However, as with Balsalazide and Butorphanol, Mylan and West-Ward agreed for West-

Ward to temporarily halt production in April 2013.            Mylan and Wockhardt followed the

conspiracy’s rules, and divided West-Ward’s market share roughly evenly between them. Further,

Mylan and Wockhardt increased prices by approximately 2000% by the end of 2013.

         625.     In March 2014, West-Ward re-entered the market (less than a year after it halted

production). Rather than compete for market share through competitive pricing, Mylan, West-

Ward, and Wockhardt increased prices substantially. For the 12.5 mg dosage, this resulted in an

increase of approximately one hundred times what it had been before West-Ward halted its

production in furtherance of the conspiracy.

         626.     Additionally, Wockhardt and Mylan conceded share to West-Ward in accordance

with the conspiracy’s rules. Mylan’s internal documents indicated that



         627.     Mylan, Wockhardt and West-Ward communicated directly with each other in

furtherance of the conspiracy. For example,                        of Mylan (the Director of National

Accounts) communicated by phone with                           of West-Ward (the National Account



                                                  186
Manager) more than 20 times during the spring, including at least six times in June 2013 and for

nearly twelve minutes on July 1st, in order to coordinate West-Ward’s exit and reentry. Mylan’s

price increase was announced on July 2, the day after this last call with            .

       628.    Additionally, Wockhardt and West-Ward sent representatives to the February 2014

ECRM Retail Pharmacy Efficient Program Planning Session in Amelia Island, Florida. In April,

both companies announced large WAC price increases on the heels of Mylan’s second list price

increase.

       629.    In mid-2015, Wockhardt exited the Captopril market, even though prices were

significantly more profitable than they had been just a few years earlier. Upon information and

belief, Wockhardt’s decision to exit was discussed with Mylan, which agreed to concede market

share to Wockhardt on Enalapril in late 2015.

       630.    As a result of this collusion, Defendants were able to charge supracompetitive

prices on Captopril to Plaintiff, its assignor, and others in the United States.

       Z.      Carbamazepine

       631.    Carbamazepine tablets, including regular tablets, chewable tablets, and extended

release tablets, are anticonvulsants used to prevent seizures and treat bipolar disorder.

       632.    During the period relevant to this Complaint, Apotex, Taro, Teva, and Torrent

dominated the market for Carbamazepine tablets (“Tablets”); Taro, Teva, and Torrent dominated

the market for Carbamazepine chewable tablets (“Chewable Tablets”); and Sandoz and Taro

dominated the market for Carbamazepine Extended Release tablets (“Carbamazepine ER”).

       633.    Taro was the first generic manufacturer to enter the market for Carbamazepine ER.

However, because Novartis – Sandoz’ parent – held the patent for branded Carbamazepine




                                                 187
(Tergetol), Novartis directed Sandoz to enter the market as an authorized generic during Taro’s

180-day exclusivity period.

       634.      Beginning in March 2009, Taro and Sandoz made plans to allocate the

Carbamazepine ER market between them in accordance with the rules of the conspiracy.

        of Taro and CW-4 of Sandoz spoke frequently by phone in 2009 to coordinate this

allocation.         informed CW-4 that Taro intended to secure 50%-60% of the market, and was

targeting Wal-Mart, Walgreens, and Supervalu. CW-4 reported this information to

at Sandoz.          and CW-4 continued to communicate competitively sensitive information about

the Carbamazepine ER market into 2010, such as Taro’s plans to delay the launch of the 100 mg

formulation.

       635.      Taro and Sandoz also refused to challenge each other’s accounts. For example, on

January 5, 2011, CVS provided Sandoz with a list of product opportunities for Sandoz to bid on,

including Carbamazepine ER. CW-2, then a senior sales executive at Sandoz, was hesitant, and

asked his colleagues if there was any appetite to compete for the business. The purpose for

pursuing CVS, he opined, would be

                                       He added:                                         Sandoz

ultimately declined to bid on the CVS account because it did not want to           the successful

collusion with Taro.

       636.      As a result of this collusion, Carbamazepine ER prices remained at

supracompetitive levels from the point of generic entry and did not drop significantly from the

branded price.

       637.      The companied continued to collude on other formulations of Carbamazepine.

               and CW-4 spoke by phone on May 16, 2013, and again on May 17, 2013.



                                               188
       638.    Upon information and belief, the purpose of these calls was to coordinate a price

increase on Carbamazepine ER.

       639.    Following these calls between               and CW-4, both Taro and Sandoz

implemented substantial and abrupt price increases on Carbamazepine ER of more than 50%.

       640.    One year later, in May 2014, Ara Aprahamian of Taro led price increases on all

three formulations of Carbamazepine.

       641.    Between May and July of 2014, Aprahamian texted or spoke with Nisha Patel of

Teva a number of times. Following their first series of communications in May 2014, Patel added

Carbamazepine to the list of drugs she was then targeting for price increases.

       642.    In early June 2014, Taro increased prices on all formulations of Carbamazepine

tablets, including price increases on the Carbamazepine Tablets and Chewable Tablets of between

200% and 1000%.

       643.    As a result of the overarching agreement, Aprahamian knew that his competitors

would follow these massive price increases – which each did for their respective formulations in

July 2014.

       644.    Aprahamian continued to speak with Patel by phone in June and July 2014.

Additionally, David Rekenthaler of Teva and                     (a senior vice president at Apotex)

texted and spoke by phone a number of times between June and September 2014. Further,

              of Torrent spoke by phone with                 of Teva on September 11, 2014.

       645.    Additionally, the competitors complied with the conspiracy’s rules during this time

period. As an internal Taro spreadsheet indicated in March 2014,

         on chewable tablets. Following this adjustment, the three competitors’ market shares for

chewable tablets were stable for the remainder of 2014, consistent with the rules of the conspiracy.



                                                189
        646.    Due to these collusive communications and each Defendant’s commitment to the

overarching agreement, Defendants charged supracompetitive prices for Carbamazepine to

Plaintiff, its assignor, and others in the United States.

        AA.     Cefpodoxime Proxetil

        647.    Cefpodoxime Proxetil (“Cefpodoxime”), also known by the brand name Vantin, is

an antibiotic used to treat a wide variety of bacterial infections. It is sold in both oral suspension

and tablet form. During the period relevant to this Complaint, Sandoz and Aurobindo dominated

the market for Cefpodoxime.

        648.    On January 3, 2013, CW-3 of Sandoz called CW-6 of Aurobindo. The call lasted

two minutes. The next day, on January 4, 2013, CW-6 called CW-3 twice, with one call lasting

three minutes. A few minutes after hanging up, CW-3 called Kellum and they spoke for nine

minutes. After that call, Kellum e-mailed




        649.    The following business day, on January 7, 2013, CW-6 of Aurobindo and CW-3 of

Sandoz exchanged three calls, including one lasting six minutes. On these calls, CW-6 confirmed

that Aurobindo planned to launch both formulations of Cefpodoxime that week. CW-3 told CW-

6 that Sandoz planned to increase pricing on both formulations by 20%. CW-6 advised that

Aurobindo was looking for 40% share and would start by targeting Cardinal and CVS. In turn,

CW-3 gave his competitor specific non-public contract price points that Sandoz was charging to

those customers.     CW-6 then stated:                                                       CW-3’s

contemporaneous notes from this call are pictured below:



                                                  190
       650.    Shortly after speaking with each other, CW-6 called Grauso and CW-3 called

Kellum to report back what they had discussed. This call pattern is detailed in the chart below:

   Date     Call Type   Target Name            Direction   Contact Name             Time       Duration
   1/7/2013    Voice    CW‐6 (Aurobindo)       Outgoing    CW‐3 (Sandoz)              4:44:00      0:02:00
   1/7/2013    Voice    CW‐6 (Aurobindo)       Incoming    CW‐3 (Sandoz)              4:47:00      0:06:00
   1/7/2013    Voice    CW‐6 (Aurobindo)       Outgoing    Grauso, Jim (Aurobindo)    4:53:00      0:01:00
   1/7/2013    Voice    CW‐3 (Sandoz)          Outgoing    Kellum, Armando (Sandoz)    4:53:00     0:07:00
   1/7/2013    Voice    CW‐6 (Aurobindo)       Incoming    CW‐3 (Sandoz)              5:00:00      0:02:00
   1/7/2013    Voice    CW‐6 (Aurobindo)       Incoming    Grauso, Jim (Aurobindo)    5:11:00      0:14:00


       651.    On January 9, 2013 and January 11, 2013, the day that Sandoz increased WAC

pricing on Cefpodoxime, CW-3 and CW-6 exchanged three more calls. After speaking with each

other, CW-3 called Kellum and CW-6 called Grauso to report back what they had discussed. This

call pattern is detailed in the chart below:

  Date      Call Type   Target Name            Direction   Contact Name             Time      Duration
   1/9/2013    Voice    CW‐6 (Aurobindo)       Incoming    CW‐3 (Sandoz)              6:39:00    0:07:00
   1/9/2013    Voice    CW‐3 (Sandoz)          Outgoing    Kellum, Armando (Sandoz)   6:47:00    0:01:00
   1/9/2013    Voice    CW‐6 (Aurobindo)       Outgoing    Grauso, Jim (Aurobindo)    7:26:00    0:01:00



                                                     191
  1/11/2013    Voice   CW‐6 (Aurobindo)   Outgoing   CW‐3 (Sandoz)               3:59:00   0:01:00
  1/11/2013    Voice   CW‐6 (Aurobindo)   Outgoing   Grauso, Jim (Aurobindo)     4:27:00   0:11:00
  1/11/2013    Voice   CW‐6 (Aurobindo)   Outgoing   Grauso, Jim (Aurobindo)     4:38:00   0:01:00
  1/11/2013    Voice   CW‐6 (Aurobindo)   Incoming   CW‐3 (Sandoz)               5:34:00   0:02:00
  1/11/2013    Voice   CW‐6 (Aurobindo)   Outgoing   Grauso, Jim (Aurobindo)     5:36:00   0:01:00


       652.    Due to an issue at its manufacturing facility, Aurobindo’s launch of Cefpodoxime

was delayed and the company was unable to launch in January 2013 as planned.

       653.    Between February 24 and February 27, 2013, ECRM held its annual Retail

Pharmacy Generic Pharmaceuticals Conference in Dallas, Texas.                  Representatives from

Aurobindo and Sandoz were in attendance, including CW-6 and Grauso of Aurobindo and Kellum,

CW-3, and CW-2 of Sandoz.

       654.    On February 26, 2013, CW-2, a Sandoz senior sales executive – while still at the

ECRM conference – sent the following e-mail to his Sandoz colleagues:




       655.    On April 17, 2013, CW-6 of Aurobindo called CW-3 of Sandoz. The call lasted

two minutes. Less than an hour later, CW-3 called CW-6 back and they spoke for six minutes.

The next day, on April 18, 2013, CW-6 called CW-3 and they spoke for ten minutes. That same

day, Aurobindo launched both formulations of Cefpodoxime and matched Sandoz’s increased

WAC pricing.




                                               192
       656.    On April 30, 2013, CW-3 and CW-6 exchanged three phone calls, including one

call lasting three minutes. On these calls, the competitors again discussed Aurobindo’s launch of

Cefpodoxime Tablets, including that Aurobindo was looking for 40-50% market share. The

competitors also discussed specific customers that Aurobindo was targeting.               CW-3’s

contemporaneous notes from these calls are pictured below:




       657.    In accordance with the plan, on May 22, 2013, Aurobindo made an offer to CVS

for Cefpodoxime Tablets and the customer accepted that offer the very next day on May 23, 2013.

       658.    Similarly, on August 29, 2013, Aurobindo made an offer to ABC for Cefpodoxime

Tablets. The next day, on August 30, 2013, ABC e-mailed Sandoz to advise that it had received a

competitive offer and asked whether Sandoz wanted to bid to retain the business. On September

4, 2013,                     , a Sandoz sales executive, responded to ABC and declined the

opportunity stating,                                                         Later that same day,

ABC awarded the business to Aurobindo.

       659.    Aurobindo would also win awards for Cefpodoxime Tablets at McKesson and

several other smaller customers, without substantially eroding the high pricing in the market.


                                               193
       660.    On September 9, 2013,                            , an Aurobindo sales and marketing

executive, pushed Grauso to submit a bid for Wal-Mart’s Cefpodoxime business. Grauso balked

at the request stating,



                                     Given the market share breakdown, Grauso gave his approval

to submit a bid to Wal-Mart. Thereafter, on September 30, 2013, the customer accepted the bid

and awarded Aurobindo its indirect business.

       661.    Later, in December 2013, when Sandoz was looking to identify additional products

to supply to Wal-Mart, Kellum noted with respect to Cefpodoxime:



              BB.    Cefuroxime Axetil

       662.    Cefuroxime Axetil, also known by the brand name Ceftin, is an antibiotic used to

treat a variety of bacterial infections.     Aurobindo, Citron, and Lupin were the primary

manufacturers of Cefuroxime Axetil during the conspiracy.

       663.    In February 2014, Lupin and Aurobindo were the primary manufacturers of the

drug and they began to coordinate to increased prices by 500%. Citron entered the market in April

2014, and it matched the WAC pricing of its competitors rather than compete for market share. In

exchange, Lupin and Aurobindo conceded to Citron several customers.

       664.    For example, when a customer came to Aurobindo in 2014 asking them to reduce

prices, their Director of National Accounts refused, stating:

                                                                      There are likewise indications

that manufacturers who had a much smaller share of the market were aware of the coordination.




                                                194
       665.    Lupin, Aurobindo and Citron communicated directly with each other in furtherance

of the conspiracy. For example, David Berthold of Lupin (the VP of sales) spoke with

        of Citron (the EVP of Sales) for nearly ten minutes on January 10, 2014, for over thirty

minutes on April 10, 2014, three times in June, on July 16, 2014 for fifteen minutes and on July

17, 2014 for fourteen minutes.

       666.    Lupin’s Berthold also communicated by phone multiple times in January and

February 2014 with                  of Aurobindo (the Senior Director of Commercial Operations).

Notably, they spoke on the days close to their coordinated WAC price increases. This included

conversations on January 23, 2014 for seven minutes; twice on February 4, 2014; three times on

February 5th; once on February 14th for over eight minutes; once on February 15th; three times

on February 18th; twice on February 20th; and once on February 25th.

       667.    As a result of this coordination, Defendants were able to charge supracompetitive

pricing on Cefuroxime Axetil to Plaintiff, its assignor, and others in the United States.

       CC.     Celecoxib

       668.    Celecoxib, also known by the brand name Celebrex, is a nonsteroidal anti-

inflammatory medication used in the treatment of pain and inflammation associated with arthritis,

juvenile rheumatoid arthritis, and other disorders.

       669.    Teva received approval to market generic Celecoxib in May 2014.

       670.    On November 20, 2014, as Teva was preparing to launch its generic Celecoxib

capsules, Teva heard that Actavis was vying for some Celecoxib business in an effort to generate

competition between the two manufacturers.

       671.    Rekenthaler took a cooperative – rather than competitive – stance upon hearing that

news and began to work to identify customers that Actavis should target.



                                                195
       672.    By December 1, 2014, however, the issue of where Actavis would obtain its desired

market share remained undecided. Rekenthaler’s strategy was consistent with the conspiracy,

                                                                                        ”

       673.    In the days leading up to Teva’s December 10, 2014 launch, Teva executives had

numerous telephone conversations with their counterparts at Actavis. Rekenthaler had a six

minute call with Falkin at Actavis on November 25. The two spoke twice more on December 3 –

once for two minutes and another time for one minute. Patel spoke to               , a senior sales

and marketing executive at Actavis, for over eight minutes on December 5, and for over sixteen

minutes on December 8. Rekenthaler and Falkin resumed their communications the day before

the Teva launch – December 9 – with a one minute phone call. On the day of the launch –

December 10 – Rekenthaler and Falkin spoke three times with calls of one minute, nine minutes,

and three minutes in duration.

       674.    As a result of these collusive communications, Defendants charged Plaintiff, its

assignor, and others in the United States supracompetitive prices for Celecoxib.

       DD.     Chlorpromazine

       675.    Chlorpromazine HCL is prescribed to treat psychotic disorders such as

schizophrenia, manic depression, and bipolar disorder. It is also used to treat nausea, vomiting,

anxiety, and other symptoms.

       676.    During the period relevant to this Complaint, Sandoz, Mylan, and Upsher-Smith

dominated the market for Chlorpromazine.

       677.    Beginning in approximately August of 2011, Sandoz, Mylan, and Upsher-Smith

colluded to implement a series of abrupt and substantial price increases.




                                               196
        678.    The companies also coordinated price increases through their common purchase of

the APIs for Chlorpromazine. For example, on July 1, 2013,                          of Upsher-Smith

emailed               , Armando Kellum,               , and others at Sandoz to discuss an increase in

the APIs for Chlorpromazine and other drugs. Although the price increase on the API for

Chlorpromazine represented a cost increase to the manufacturers of a fraction of a cent per tablet,

Sandoz’s procurement director asked internally on July 16, 2013, whether there was

                                                                                    And indeed there

was, as that very same day, Kellum circulated a list of drugs for which Sandoz would increase

prices that included Chlorpromazine (along with other drugs such as Betamethasone,

Cholestyramine, Clomipramine, Etodolac, and Methazolamide for which Kellum and others at

Sandoz also communicated with competitors to implement price increases).

        679.    Kellum was able to add Chlorpromazine to the list of pending price increase

because senior executives from Mylan, Sandoz, and Upsher-Smith had been in frequent contact

by phone during the two months prior to his email. For example,                     of Upsher-Smith

spoke with                   of Mylan and CW-3 of Sandoz a number of times between May and

August July 2013. During this same period, James Nesta of Mylan had dozens of calls with CW-

4 of Sandoz.

        680.           continued to speak with CW-3 of Sandoz and              of Mylan in 2014 and

2015, and the companies continued to coordinate additional price increases on Chlorpromazine.

Although Upsher-Smith led another price increase in August 2014, Sandoz and Mylan did not

follow it until early in 2015. However, upon information and belief,            confirmed with CW-

3 and          that the companies would comply with the conspiracy’s rules, and refrain from taking

Upsher-Smith’s customers.



                                                197
       681.     As a result of these communications, Sandoz, Mylan, and Upsher-Smith were able

to increase prices on Chlorpromazine by approximately 1000% between August 2011 and May

2015, and Plaintiff, its assignor, and others in the United States all paid supracompetitive prices

for the drug.

       EE.      Cholestyramine

       682.     Cholestyramine is prescribed to lower cholesterol levels and also to alleviate itching

associated with liver disease. During the period relevant to this Complaint, Sandoz, Upsher-Smith,

and Par dominated the market for Cholestyramine powder.

       683.     As noted above,               of Upsher-Smith was in frequent communication with

CW-3 of Sandoz between May and August of 2013, discussing Chlorpromazine.                       Upon

information and belief, these discussions also included collusion on Cholestyramine, which the

Defendants increased prices on at the same time as Chlorpromazine. Indeed, Cholestyramine was

included by Kellum on his list of drugs slated for increases in late July 2013.

       684.     In addition to the calls between         and CW-3,                  of Upsher-Smith

spoke with CW-3 on July 16 (the same day that Kellum created his list of price increase targets

that included Cholestyramine), and again on July 26. Three days later,                    of Upsher-

Smith spoke with                     of Par. The two spoke again on September 5, 2013.

       685.     Upon information and belief, through these calls, Par, Upsher-Smith and Sandoz

agreed to implement a price increase that Upsher-Smith led in June 2013. Sandoz followed this

increase in July 2013, and Par followed the increase in August 2013. Additionally, the competitors

agreed to comply with the market allocation rules in order to effectuate the price increase.

       686.     As a result, Defendants were able to increase prices by between 100-200%,

depending on the method of packaging. For example, between August and September 2013, Par



                                                   198
increased its prices of Cholestyramine cans from $22 to more than $63, and on Cholestyramine

packets from $43 to more than $107. Defendants charged these supracompetitive prices to

Plaintiff, its assignor, and others in the United States.

        FF.     Ciclopirox

        687.    Ciclopirox, also known by the brand names Loprox and Penlac, is an antifungal

medicine that is sold in a variety of formulations including cream, gel, shampoo, solution, and

suspension. During the period relevant to this Complaint, Actavis, Fougera/Sandoz, Glenmark,

G&W, Perrigo, and Taro.

        688.    In the summer of 2011, the market for Ciclopirox cream was evenly split between

four competitors – Perrigo with 26%; Paddock Laboratories, LLC – which was acquired by Perrigo

in July 2011 – with 30%; Fougera with 21%; and Glenmark with 21%. Defendant G&W was not

in the market at this time.

        689.    On September 21, 2011, however, Vogel-Baylor learned from a customer that

Fougera had temporarily discontinued Ciclopirox Cream.           Vogel-Baylor forwarded that

information to her supervisor, Grauso, who then called CW-6 at Fougera twice to confirm the

information. The two competitors also spoke again the next morning.

        690.    G&W saw Fougera’s exit as an opportunity to enter the market for Ciclopirox

Cream. After confirming Fougera’s plans to exit, G&W began making plans to enter the market.

        691.    On October 28, 2011, Vogel-Baylor e-mailed Grauso regarding a meeting she had

with Rite Aid concerning G&W's upcoming launches. Regarding Ciclopirox Cream, Vogel-Baylor

noted that Rite Aid’s current incumbent was Glenmark and stated that




                                                  199
         692.   Throughout January 2012, G&W began formalizing its strategy for the Ciclopirox

Cream launch and reached out to various customers to obtain incumbent information, usage, and

pricing intelligence.

         693.   On February 3, 2012, Vogel-Baylor e-mailed Orlofski, a senior G&W executive,

notifying him that Ciclopirox Cream was now available in small quantities and that several

additional batches would be ready for shipment in the next few weeks. She further stated that she

needed to sit down with him to discuss which customers G&W wanted to approach.

         694.   On February 20, 2012, Orlofksi e-mailed Vogel-Baylor with a list of the tasks that

she was accountable for. One of those responsibilities was to secure approximately 20% market

share of Ciclopirox Cream per the company’s launch plan.

         695.   The next day, on February 21, 2012, Orlofski exchanged eight text messages with

                , a high-level executive at Perrigo. Two days later, on February 23, 2012, the two

competitors exchanged an additional ten text messages.

         696.   As of March 2012, Glenmark had 60% share of the Ciclopirox Cream market,

Perrigo had 25%, and Fougera had the remaining share even as it was phasing out of the market.

         697.   By March 19, 2012, G&W had secured the Ciclopirox Cream business at

Walgreens. Walgreens was a Glenmark customer that accounted for slightly less than G&W’s

goal of 20% of the market for Ciclopirox Cream.

         698.   On March 23, 2012, Vogel-Baylor asked                      , a sales executive at

G&W, to reach out to Publix to see if the customer would be interested in a bid for Ciclopirox

Cream.




                                               200
       699.   On March 27, 2012,                 advised Vogel-Baylor that G&W should put

together a proposal for Publix and that the customer planned to award G&W the business before

the upcoming RFP. That same day, while they were both at a Rite Aid event in Las Vegas, Nevada,

Vogel-Baylor met CW-5, a senior executive at Glenmark, for the first time.

       700.   Two days later, on March 29, 2012, Vogel-Baylor e-mailed CW-5 stating,

                                                                       and asked the Glenmark

executive to send his full contact information. The next day, CW-5 responded to Vogel-Baylor’s

e-mail, providing his contact information and adding,

After exchanging a few more e-mails, the two then also exchanged several text messages.

       701.   On April 2, 2012, CW-5 e-mailed Vogel-Baylor stating that he had forgotten his

cell phone at home and was



       702.   Throughout the month of April 2012, Vogel-Baylor and CW-5 exchanged hundreds

of text messages and phone calls. During these communications, and others over the next several

months, G&W and Glenmark colluded to significantly raise their contract pricing on Ciclopirox

Cream almost simultaneously.

       703.   For example, on April 11 and April 12, 2012, Vogel-Baylor and CW-5 exchanged

more than fifty text messages and phone calls. In the early morning of April 12, 2012, Vogel-

Baylor e-mailed her supervisor, Orlofski, recommending that G&W increase contract pricing for




                                              201
Walgreens and Publix. She suggested a direct price increase for Publix between 57% and 82%

and between 233% and 408% for Walgreens, depending on the dosage size.

           704.   On April 18, 2012, Vogel-Baylor e-mailed             at G&W with specific pricing

to submit for the upcoming Publix RFP. Regarding Ciclopirox Cream, Vogel-Baylor advised that

because G&W was doing a price increase on the product, she was including increased pricing on

the bid. Vogel-Baylor further stated that              should discuss this with her before submitting

the bid. That same day, Vogel-Baylor exchanged at least twenty text messages and phone calls

with CW-5 of Glenmark.

           705.   That same day, Glenmark also began sending out notices to its customers that it

would be increasing its prices for Ciclopirox Cream.

           706.   From April 24 to April 27, 2012, the NACDS held its annual meeting in Palm

Beach, Florida. Representatives from Glenmark, G&W, and Perrigo all attended, including

           of Perrigo, Orlofksi and Vogel-Baylor of G&W, and CW-5 of Glenmark.

           707.           of Perrigo and Orlofski of G&W communicated several times by phone in

advance of the conference, as well as on the day the conference began. Between April 19 and 24,

2012, Orlofski and            exchanged at least fifteen text messages. Orlofski also called

once on April 24, 2012. The call lasted less than one minute. Vogel-Baylor and CW-5 of

Glenmark continued to communicate constantly throughout this time period. On April 24, 2012

alone, Vogel-Baylor exchanged eighty-eight text messages with CW-5.

           708.   That same day, April 24, 2012, Cardinal e-mailed G&W requesting a bid on

Ciclopirox Cream.                a sales executive at G&W, forwarded the request to Vogel-Baylor

stating:

G&W declined to bid on the opportunity.



                                                 202
         709.    The next day, on April 25, 2012, Vogel-Baylor e-mailed




         710.    Two days later, on April 27, 2012, Vogel-Baylor requested that G&W prepare a

price increase letter for Walgreens raising the prices for Ciclopirox Cream between 233% and

408% depending on the formulation.

         711.    On May 21, 2012, Kroger, a Glenmark customer, e-mailed Vogel-Baylor asking if

G&W would like to bid on Ciclopirox Cream. Vogel-Baylor declined to bid on the opportunity

claiming that G&W could not handle the volume.

         712.    On May 24, 2012, Vogel-Baylor e-mailed                     asking if he had heard whether

Publix would accept the price increase on Ciclopirox Cream.                        responded that Perrigo

had submitted low pricing on the RFP.

         713.    By this time, Vogel-Baylor had been introduced to CW-6 at Fougera and was

communicating with him directly (instead of through Grauso, as she had done previously). Vogel-

Baylor knew that CW-6 had a relationship with                at Perrigo, so she reached out to him that

same day to have CW-6 act as a conduit between her and                      at Perrigo. Immediately upon

hanging up with Vogel-Baylor, CW-6 called                   of Perrigo. After speaking with

CW-6 hung up and immediately called Vogel-Baylor back. This call pattern is detailed in the chart

below:

  Date    Call Type   Target Name              Direction   Contact Name              Time     Duration

  5/24/2012 Voice     Vogel‐Baylor, Erika (G&W) Outgoing   CW‐6 (Fougera)           17:35:03 0:01:01

 5/24/2012 Voice      CW‐6 (Fougera)           Outgoing    Vogel‐Baylor, Erika (G&W) 17:39:00 0:05:00




                                                   203
  5/24/2012 Voice     CW‐6 (Fougera)           Outgoing    T.P. (Perrigo)           17:43:00 0:02:00

  5/24/2012 Voice     CW‐6 (Fougera)           Outgoing    Vogel‐Baylor, Erika (G&W) 17:45:00 0:01:00

  5/24/2012 Voice     Vogel‐Baylor, Erika (G&W) Incoming   CW‐6 (Fougera)           17:46:02 0:00:44



        714.    Later that day, Vogel-Baylor replied to her colleague

                                                                                Vogel-Baylor forwarded

Perrigo's pricing to her supervisor, Orlofski.

        715.    On June 4, 2012, G&W sent its price increase notice to Walgreens. In an internal

pricing spreadsheet, Perrigo listed its direct pricing at one of its customers on the 15gm, 30gm,

and 90gm package sizes as $7.14, $11.22, and $19.39, respectively. Notably, this pricing was even

higher than the increased pricing G&W sent to Walgreens on June 4, 2012.

        716.    On June 6, 2012, Vogel-Baylor and CW-5 of Glenmark exchanged eight phone

calls. All of the calls lasted less than one minute.

        717.    On June 11, 2012,                of G&W e-mailed Vogel-Baylor stating that he had

spoken with Walgreens and the customer had told him



                                                                                             Vogel-Baylor

responded:                                                                                 That same day,

Vogel-Baylor and CW-5 of Glenmark exchanged more than eighty text messages.

        718.    Vogel-Baylor forwarded her exchange with                      to Orlofski. The next day,

on June 13, 2012, Vogel-Baylor exchanged eighteen text messages with CW-5 of Glenmark.

G&W ultimately retained the Walgreens business.




                                                   204
       719.    Between June 15, 2012 and June 26, 2012, Vogel-Baylor and CW-5 continued to

exchange multiple text messages each day.         During that time period, the two competitors

exchanged 545 text messages.

       720.    On June 29, 2012,                e-mailed Vogel-Baylor to advise her that MMCAP

was requesting a bid on Ciclopirox Cream. Vogel-Baylor asked:




       721.    As noted below in Section XIII, Defendants also conspired to fix prices of other

formulations of Ciclopirox.

       GG.     Clindamycin Phosphate

       722.    Clindamycin Phosphate (“Clindamycin”), also known by the brand names Cleocin

T, Clinda Max, and Clinda-Derm, among others, is a topical antibiotic used on the skin to stop the

growth of certain bacteria that cause acne. Clindamycin comes in several different formulations,

including a cream, gel, lotion, and solution.

       723.    At all times relevant to the Complaint, Fougera (and later Sandoz, after its

acquisition of Fougera) and Greenstone were the primary players in the markets for the four

different formulations of Clindamycin Phosphate. In each of those markets, the two competitors

adhered to the collusive understanding across all four product markets and coordinated several

significant price increases. In only one of those markets – Clindamycin Solution – did any

competitor ever enter. As discussed more fully below, Taro and Perrigo entered the market for



                                                 205
Clindamycin Solution in late 2013, coordinating to avoid competition and minimize price erosion

consistent with the unlawful understanding.

               1.      The First Coordinated Price Increase (60ml Solution – Fougera and
                       Greenstone)

       724.    In 2010, Defendants Fougera and Greenstone were the only suppliers in the market

for Clindamycin 60ml solution. Fougera – a separate entity that was subsequently acquired by

Sandoz in 2012 – temporarily discontinued the product in September 2010, leaving Greenstone as

the sole supplier in the market.

       725.    By late 2010, however, Greenstone also began to experience production problems,

although it did continue to supply certain select customers. Fougera immediately started preparing

to re-enter the market and significantly raise price – in direct coordination with Greenstone.

       726.    On November 1, 2010, Fougera learned that it had Clindamycin 60ml solution in

stock and that the product was available for shipping. That day, Kaczmarek stated internally that




                                                                              That same executive

initially suggested that Fougera double its WAC price, from $7.50 to $15.

       727.    Fougera did get the price point                  with the help of Greenstone. The

next day – November 2, 2010 – Fougera scheduled an internal

                                            for the call included Kaczmarek, CW-3 and CW-6,

among others. Before that conference call, CW-6 of Fougera called Jill Nailor of Greenstone –

someone he generally did not speak with on the phone for social reasons – and the two spoke for

nearly six minutes.




                                                 206
       728.     At some point that day, Fougera changed plans and decided to re-enter the market

with a much more dramatic WAC price increase than originally suggested the day before, going

from $7.50 to $31.50 – or a 320% increase. Customer contract prices increased even higher.

Within two days after the price increase, for example, during a conversation with a Fougera

national account representative, a customer complained that it had only just recently taken

Clindamycin off contract with Fougera but

                 That same day, November 4, 2010, CW-6 and Nailor of Greenstone exchanged

twenty-one text messages.

       729.     Based on their communications, Fougera knew that Greenstone would follow its

price increase – but it could not tell its customers that. For example, in January 2011, a large

wholesaler customer, ABC, approached Fougera asking if it knew whether Greenstone would be

following Fougera’s price increase on Clindamycin Solution. In an internal Fougera e-mail

exchange, CW-3 asked CW-6 (who, as stated above, had spoken with Nailor at Greenstone on the

day of the Fougera price increase) if there was

                                                        CW-6 responded that he did not have any new

information, other than that a Greenstone price increase                   When CW-3 pressed for

more detail about how quickly it would be coming, CW-6 responded:

              Indeed, CW-6 had called Nailor at Greenstone and left a 43-second voicemail

immediately before sending that e-mail to CW-3.

       730.     Over the ensuing months, Fougera was contacted by several customers requesting

price reductions due to the fact that Greenstone had not yet followed. Fougera continued to

coordinate regularly with Greenstone and did not reduce its price, but grew frustrated when its




                                                  207
competitor did not promptly follow as expected – internally stating that Greenstone was

                         and that they                   and that they were

       731.    Greenstone did ultimately follow Fougera’s price increase with an increase of its

own on Clindamycin Solution in July 2011, but it did not fully match Fougera’s public WAC

pricing. Nonetheless, Fougera refused to bid on any of Greenstone’s accounts as it did not want

to punish Greenstone for actually raising its prices.

       732.    During this time period, the anticompetitive understanding and coordination

between Fougera and Greenstone applied to the other formulations of Clindamycin as well. For

example, in May 2012 Greenstone notified customers that it would be raising the price of

Clindamycin Gel. Shortly after that, Fougera was approached by a customer asking for a bid on

Clindamycin Gel. In conveying the request to Kaczmarek, a Fougera senior executive explained

that

                                         Kaczmarek agreed.

       733.    The next day, CW-6 exchanged five text messages with Nailor of Greenstone,

likely to convey Fougera’s decision not to challenge Greenstone’s market share at that customer.

       734.    Similarly, on June 27, 2012, CW-3 at Fougera learned that ABC had put

Clindamycin Gel, Lotion and Cream out to bid                                          According

to CW-3,                                                That same day, CW-6 of Fougera placed a

call to Nailor at Greenstone and left a 31-second voicemail.

               2.      The Second Coordinated Increase (October 2012 – All Formulations –
                       Sandoz and Greenstone)

       735.    In late July 2012, Sandoz formally acquired Fougera. As discussed more fully

below, even before the acquisition Sandoz had been conspiring separately with Greenstone to fix

prices on Latanoprost Drops, and thus had its own separate relationships with Greenstone.


                                                208
       736.    After the merger, Sandoz began to scrutinize the Fougera business line and search

for ways to maximize revenue for Fougera products in order to meet its pre-merger expectations.

Starting in or about August 2012, Kellum (of Sandoz) and Kaczmarek (of Fougera, still with the

company during the transition) – now co-workers – were tasked with discussing and identifying a

list of price increase candidates from the Fougera drug portfolio.

       737.    By August 1, 2012, Greenstone had identified Clindamycin Solution as a

                      On August 7, 2012, Kellum called               and the competitors exchanged

six text messages. The next day, August 8, 2012, Kellum and             spoke for ten minutes.

       738.    Later that month, on August 22, 2012, Kellum identified Clindamycin, in all of its

various formulations, as a price increase candidate. In describing his reasoning, Kellum indicated

that the only competitor for all four formulations was Greenstone,

                                                     Kellum was referring to his recent successful

collusion with Greenstone on Latanoprost drops (discussed below) which had resulted in a

significant price increase. In response, Kaczmarek recalled his own experience of Greenstone’s

failure to follow Fougera’s Clindamycin Solution price increase as quickly as he wanted, stating



       739.    Kellum’s confidence in Greenstone was based on his own relationship with

of Greenstone, and his prior conversations with her. Kellum pushed forward with the planned

price increases for Clindamycin, noting in a late-August 2012 presentation that




       740.    As Sandoz was planning for the Clindamycin price increase in August 2012,

Kellum was coordinating with             For example, on August 29, 2012, a colleague at Sandoz



                                               209
sent Kellum a draft                                                  which included detailed information

about the proposed Clindamycin price increase. After speaking with                         of Greenstone that

same day for more than three minutes, Kellum responded to his colleague saying,



        741.    Similarly, in September 2012 when Kellum was asked for his                                for the

price increases on Clindamycin, he told colleagues that he expected Greenstone would

                                                        and follow the Sandoz price increase. Although

others at Sandoz expressed some concern that Greenstone might not follow, Kellum remained

confident in his agreement with            and Greenstone.

        742.    On October 19, 2012, Sandoz implemented price increases on all four formulations

of Clindamycin ranging from 77% for vaginal cream to 188% for gel.

        743.    In the days leading up to the price increases, Kellum continued his coordination –

by phone and text message – with               of Greenstone. As detailed in the table below, Kellum

reached out repeatedly by phone and text message to                  at Greenstone in the days leading up

to Sandoz’s announcement of the price increases. This culminated in a nearly four minute call

between the two competitors on October 19, 2012 – the day the Sandoz price increases became

effective:

 Date     Call Type   Target Name                  Direction   Contact Name               Time       Duration
 10/17/2012 Voice     Hatosy, Robin (Greenstone)   Incoming    Kellum, Armando (Sandoz)   13:10:55   0:00:00
 10/17/2012 Voice     Hatosy, Robin (Greenstone)   Incoming    Kellum, Armando (Sandoz)   19:03:16   0:00:00
 10/18/2012 Voice     Hatosy, Robin (Greenstone)   Incoming    Kellum, Armando (Sandoz)   9:38:07    0:00:00
 10/18/2012 Voice     Hatosy, Robin (Greenstone)   Incoming    Kellum, Armando (Sandoz)   13:37:57   0:00:00
 10/18/2012 Voice     Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz)   14:14:42   0:00:33
 10/18/2012 Voice     Hatosy, Robin (Greenstone)   Incoming    Kellum, Armando (Sandoz)   16:46:17   0:00:00
 10/18/2012 Voice     Hatosy, Robin (Greenstone)   Incoming    Kellum, Armando (Sandoz)   17:58:49   0:00:00
 10/18/2012 Text      Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz)   17:59:38   0:00:00
 10/18/2012 Text      Hatosy, Robin (Greenstone)   Incoming    Kellum, Armando (Sandoz)   18:24:33   0:00:00
 10/19/2012 Voice     Hatosy, Robin (Greenstone)   Incoming    Kellum, Armando (Sandoz)   8:23:59    0:03:56




                                                     210
       744.    During these communications, the competitors confirmed their understanding that

Greenstone would follow the Sandoz price increases. With the agreement in hand and understood

between the two competitors, Kellum and            would not need to speak again by phone or text

message for nearly a year-and-a-half, until March 18, 2014 – as Sandoz was preparing for another

large increase on Clindamycin (discussed below).

       745.    Greenstone followed the price increases quickly this time, notifying its customers

of a price increase on all of Clindamycin formulations on November 27, 2012 – although the WAC

price increases did not become effective and publicly visible until December 27, 2012. In the

interim period before Greenstone publicly followed the Sandoz price increases, Sandoz made sure

to avoid disrupting the market.

       746.    When Greenstone’s customers approached Sandoz looking for a lower price,

Sandoz refused to bid. Kellum, in particular,                          that Sandoz avoid bidding

as a result of the Greenstone price increases.

       747.    During that same time period, Sandoz’s own customers also approached the

company, seeing lower public prices from Greenstone and requesting that Sandoz reduce its

pricing because they were not yet aware that Greenstone had followed. Knowing that Greenstone

would follow, however, Sandoz refused. For example, in early December 2012 Sandoz was

approached by its customer McKesson asking Sandoz to reduce its pricing for Clindamycin

because Greenstone was offering significantly lower pricing in the market. A Sandoz pricing

employee initially responded to the customer by refusing to lower the price, saying



                                                               your e-mail. When the customer

challenged those responses and asked for additional details about what intelligence Sandoz was



                                                 211
referring to, the pricing employee forwarded the e-mail string to Kellum and CW-1, asking for

advice on how to avoid referring to the illegal understanding between the two companies by

                                                                            Kellum responded by

instructing the employee to call McKesson and                                          Knowing

that a Greenstone increase would be coming, Kellum concluded:



       748.     The Greenstone Clindamycin WAC price increases became effective and publicly

visible on December 27, 2012. Greenstone followed Sandoz’s WAC price increases to the penny

on every formulation, with Greenstone’s prices on Clindamycin Solution increasing by 416%.

       749.     The coordinated price increases were a success. In a May 2013 Sandoz Planning

Meeting, Sandoz noted with respect to Clindamycin:

              By May 2014, those price increases had resulted in an additional $61,000,000 in net

sales to Sandoz.

                3.      New Entrants on Clindamycin Solution – Actavis, Perrigo and Taro – Do
                        Not Significantly Erode Pricing

       750.     The late-2012 Sandoz and Greenstone price increases got the attention of two

competitors – Taro and Perrigo – that had previously obtained approval to market Clindamycin

Solution but had not recently been active in the market.

       751.     For example, in a January 2013 internal e-mail Perrigo employees noted that they

had                                                   on Clindamycin Solution. They noted that

Perrigo already possessed approved ANDAs for the product that were



          Perrigo did indeed begin making plans to return to the market; and was in frequent

communication with its competitors at every important step throughout the process.


                                                212
       752.     Taro similarly had approval to sell Clindamycin Solution; but had not been

marketing the product. As early as April 2013, however, Taro began taking steps to bring the

product back to market, which included reaching out to competitors. For example, on April 17,

2013, Taro circulated an internal e-mail about a                        for Clindamycin Solution,

requesting specific information about material availability in order to estimate an available launch

date. That same day, Aprahamian called his contact at Sandoz, CW-3, and the two spoke for four

minutes.

       753.     Similarly, Aprahamian scheduled a meeting with colleagues at Taro on June 6,

2013 to discuss Taro’s entry into the market for Clindamycin Solution. The day before that

meeting, he sent an e-mail internally saying,




           The day after his internal meeting – June 7, 2013 – Aprahamian called CW-3 at Sandoz

and the two competitors spoke for nearly eleven minutes.

       754.     Starting in July 2013, Sandoz started having temporary supply problems for

Clindamycin Solution, due to a change in the adhesive label which required additional testing. The

disruption was temporary, and Sandoz expected to be back in the market by the end of the year.

However, this left Greenstone as the only viable competitor while Taro and Perrigo were planning

to enter the market.

       755.     Because it was well understood that Greenstone would have to concede market

share as these new competitors entered the market (and as Sandoz subsequently re-entered the

market), it was important for Taro, Perrigo and Sandoz to coordinate with each other in order to

avoid competition and minimize price erosion as they re-entered the market.



                                                213
       756.      Perrigo started preparing in earnest to enter the market for Clindamycin Solution in

August 2013. Over the next several weeks, executives at Perrigo, Taro and Sandoz were in almost

constant communication, as set forth below:

 Date         Call Type   Target Name                 Direction   Contact Name             Time       Duration
 8/1/2013     Voice       T.P. (Perrigo)              Outgoing    CW‐3 (Sandoz)            13:32:00       0:01:00
 8/1/2013     Voice       T.P. (Perrigo)              Outgoing    CW‐3 (Sandoz)            13:42:00       0:05:00
 8/5/2013     Voice       CW‐3 (Sandoz)               Outgoing    Aprahamian, Ara (Taro)   17:54:00       0:05:00
 8/5/2013     Voice       CW‐3 (Sandoz)               Outgoing    Aprahamian, Ara (Taro)   17:07:00       0:01:00
 8/6/2013     Voice       T.P. (Perrigo)              Outgoing    CW‐3 (Sandoz)            13:22:00       0:04:00
 8/6/2013     Voice       T.P. (Perrigo)              Incoming    CW‐3 (Sandoz)            14:27:00       0:12:00
 8/7/2013     Voice       CW‐3 (Sandoz)               Outgoing    Aprahamian, Ara (Taro)   11:45:00       0:03:00
 8/7/2013     Voice       Boothe, Douglas (Perrigo)   Outgoing    Perfetto, Mike (Taro)    14:33:00       0:13:00
 8/7/2013     Voice       Boothe, Douglas (Perrigo)   Outgoing    Perfetto, Mike (Taro)    18:19:00       0:02:00
 8/8/2013     Voice       CW‐3 (Sandoz)               Outgoing    Aprahamian, Ara (Taro)      8:47:00     0:01:00
 8/8/2013     Voice       Boothe, Douglas (Perrigo)   Incoming    Perfetto, Mike (Taro)    10:32:00       0:06:00
 8/8/2013     Voice       CW‐3 (Sandoz)               Outgoing    Aprahamian, Ara (Taro)   16:42:00       0:04:00
 8/8/2013     Voice       CW‐3 (Sandoz)               Outgoing    Aprahamian, Ara (Taro)      8:37:00     0:08:00
 8/12/2013    Voice       T.P. (Perrigo)              Incoming    CW‐3 (Sandoz)               6:42:00     0:03:00
 8/12/2013    Voice       T.P. (Perrigo)              Outgoing    CW‐3 (Sandoz)            11:04:00       0:01:00
 8/12/2013    Voice       T.P. (Perrigo)              Outgoing    CW‐3 (Sandoz)            14:39:00       0:02:00
 8/12/2013    Voice       T.P. (Perrigo)              Outgoing    CW‐3 (Sandoz)            16:04:00       0:01:00
 8/12/2013    Voice       T.P. (Perrigo)              Incoming    CW‐3 (Sandoz)            16:22:00       0:01:00
 8/14/2013    Voice       T.P. (Perrigo)              Outgoing    CW‐3 (Sandoz)            13:01:00       0:01:00
 8/15/2013    Voice       T.P. (Perrigo)              Incoming    CW‐3 (Sandoz)            12:53:00       0:08:00
 8/15/2013    Voice       T.P. (Perrigo)              Outgoing    CW‐3 (Sandoz)            13:09:00       0:14:00
 8/21/2013    Voice       Boothe, Douglas (Perrigo)   Outgoing    Perfetto, Mike (Taro)    13:51:00       0:08:00
 8/21/2013    Voice       Boothe, Douglas (Perrigo)   Incoming    Perfetto, Mike (Taro)    19:41:00       0:05:00
 8/26/2013    Voice       CW‐3 (Sandoz)               Outgoing    Aprahamian, Ara (Taro)   15:54:00       0:03:00


       757.      On August 28, 2013, at 1:30 p.m. ET, the Perrigo sales team held an internal launch

meeting regarding Clindamycin Solution.                In advance of that meeting, a Perrigo executive

circulated pricing and market share information to the team, including a pricing grid with proposed

Perrigo pricing for different            of customers. One of the attached documents listed Perrigo’s

                                    This led to several more phone calls between Taro, Perrigo, and

Sandoz that same day. Aprahamian of Taro and                       of Perrigo both spoke to CW-3 of Sandoz

in the morning before the 1:30 p.m. ET Perrigo launch meeting. Shortly after the meeting, at 2:36



                                                        214
p.m., Boothe of Perrigo called the Taro main line and spoke to someone at Taro – likely Perfetto

– for approximately thirteen minutes.

       758.     Perrigo formally launched and entered the market for Clindamycin Solution on

Monday, September 9, 2013 – a week earlier than expected. The week before the launch, as

Perrigo was deciding which customers to approach, executives at the company were again in

frequent contact with competitors Taro and Sandoz. On Wednesday, September 4, 2013, a Perrigo

executive sent an e-mail to the Perrigo sales team about Clindamycin Solution, stating:

                                                      The next day,              of Perrigo called his contact

at Sandoz, CW-3, and the two spoke for approximately ten minutes. The day after that – Friday

September 6, 2013 –Boothe of Perrigo spoke to Perfetto of Taro for nearly two minutes.

       759.     Perrigo was quickly able to obtain ABC and Walmart as customers, allowing the

company to even exceed its initial market share targets.

       760.     Shortly after Perrigo entered the market, on September 12, 2013, Aprahamian of

Taro sent an internal e-mail announcing that




       761.     Over the next several weeks, executives at Taro communicated frequently with

their counterparts at Perrigo and Sandoz to determine which customers to target, and how to avoid

competing with each other. At least some of those communications are set forth below:

  Date        Call Type   Target Name                 Direction   Contact Name              Time Duration
  9/17/2013   Voice       T.P. (Perrigo)              Incoming    CW‐3 (Sandoz)           15:10:07   0:16:39
  9/17/2013   Voice       Boothe, Douglas (Perrigo)   Outgoing    Perfetto, Mike (Taro)   19:08:00   0:02:00
  9/18/2013   Voice       T.P. (Perrigo)              Incoming    CW‐3 (Sandoz)           11:52:11   0:11:14
  9/19/2013   Voice       Boothe, Douglas (Perrigo)   Outgoing    Perfetto, Mike (Taro)   14:41:00   0:17:00
  9/19/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    CW‐3 (Sandoz)           15:23:00   0:01:00
  9/23/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    CW‐3 (Sandoz)           13:24:00   0:01:00
  9/24/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    CW‐3 (Sandoz)           11:42:00   0:15:00



                                                      215
   9/26/2013   Voice    T.P. (Perrigo)              Incoming   CW‐3 (Sandoz)           14:37:17   0:06:44
   9/26/2013   Voice    Aprahamian, Ara (Taro)      Incoming   CW‐3 (Sandoz)           15:22:00   0:15:00
   9/27/2013   Voice    Aprahamian, Ara (Taro)      Outgoing   CW‐3 (Sandoz)           16:00:00   0:05:00
   10/1/2013   Voice    Aprahamian, Ara (Taro)      Outgoing   CW‐3 (Sandoz)           17:56:00   0:01:00
   10/2/2013   Voice    Aprahamian, Ara (Taro)      Incoming   CW‐3 (Sandoz)           12:41:00   0:10:00
   10/3/2013   Voice    Aprahamian, Ara (Taro)      Incoming   CW‐3 (Sandoz)           16:13:00   0:05:00
   10/3/2013   Voice    Boothe, Douglas (Perrigo)   Outgoing   Perfetto, Mike (Taro)   18:16:00   0:01:00
   10/4/2013   Voice    T.P. (Perrigo)              Incoming   CW‐3 (Sandoz)           14:32:20   0:00:12
   10/4/2013   Voice    T.P. (Perrigo)              Incoming   CW‐3 (Sandoz)           14:32:52   0:04:51
   10/4/2013   Voice    Aprahamian, Ara (Taro)      Incoming   CW‐3 (Sandoz)           15:37:00   0:02:00


       762.      As can be seen in the table above, Aprahamian called CW-3 at Sandoz on October

1, 2013, most likely leaving a voicemail. CW-3 called Aprahamian back the next day, and the two

spoke for ten minutes. During that call, Aprahamian and CW-3 talked about specific pricing in

the market and which customers Taro should approach as it entered the market. That same day –

October 2, 2013 – Aprahamian created a spreadsheet titled

                which documented some of the information he had received during that call. In that

document, Aprahamian created an initial pricing model for Taro’s upcoming launch of

Clindamycin Solution, based on his conversations with CW-3. The spreadsheet included not only

public WAC pricing for Sandoz, Greenstone and Perrigo, but also in a separate tab of the

spreadsheet titled                 – non-public price points for three potential customers: Rite Aid,

Publix, and ABC:




                                                    216
       763.    On October 8, 2013, Taro was busy preparing for the launch. Aprahamian sent an

e-mail to the Taro sales team indicating that Taro was planning to launch Clindamycin Solution

                   and asking those sales executives to reach out to customers and

              Aprahamian said he was

                                                      Consistent with the collusive understanding,

Aprahamian indicated that                                                        meaning that Taro

would only target Greenstone customers – not Perrigo – due to Greenstone’s very high market

share. Another Taro employee was concurrently creating a

with information about the product, recent price trends in the market, competitors, and Taro’s

                            of 20%. That same day, Aprahamian called CW-3 at Sandoz and left

a message. CW-3 returned the call immediately and the two spoke for approximately three

minutes.

       764.    Taro also scheduled an internal meeting regarding the Clindamycin launch for

October 11, 2013. The day before and the day of that meeting, Aprahamian was again busy

communicating with CW-3 of Sandoz. On October 10, 2013, Aprahamian called CW-3 twice –

first on CW-3’s office line, leaving a message, and then immediately after on his cell phone,

leaving another message. The next day – the day of the Taro internal launch meeting – the two

competitors spoke three times, with calls lasting three, one, and five minutes, respectively.

       765.    As Aprahamian kept speaking to CW-3 at Sandoz, who was in turn speaking with

        at Perrigo, he continued compiling competitively sensitive, non-public price points for

various customers. For example, by October 25, 2013, the                      tab of Aprahamian’s

Clindamycin Solution pricing spreadsheet had grown:




                                                217
       766.    Having this competitively sensitive, non-public information allowed Taro to price

as high as possible while still obtaining new business, but minimizing price erosion as it entered

the market.

       767.    Taro entered the market for Clindamycin Solution on October 28, 2013, matching

Sandoz, Greenstone and Perrigo’s WAC pricing exactly. When launching, Taro quickly targeted

and obtained Rite Aid – not ABC or Walmart – to avoid competing with Perrigo for market share.

This gave Taro approximately 13% market share immediately, almost reaching its target goal with

just one customer.

       768.    When Sandoz subsequently re-entered the market for Clindamycin Solution in early

2014, it also did so in coordination with its competitors. For example, on Monday, February 10,

2014, members of the Sandoz sales team had a conversation about the company’s upcoming re-

launch of Clindamycin Solution. As a result of that discussion, it was decided that




                                               218
        769.     That same day, Kellum sent an internal e-mail to the Sandoz sales team reminding

them of the important understanding already in place with Greenstone across all of the

Clindamycin formulations, not just the Solution:




        770.     Two days later, on February 12, 2014, CW-3 of Sandoz called Aprahamian of Taro

and the two spoke for seventeen minutes. They spoke again on February 13 for one minute. That

same day – February 13, 2014 – CW-1 of Sandoz sent an internal e-mail again stressing the broader

relationship with Greenstone and the desire not to disrupt that relationship:




        771.     Over the next several weeks until Sandoz re-launched, the four competitors for

Clindamycin Solution – Sandoz, Taro, Perrigo and Greenstone – coordinated through numerous

phone calls, in order to minimize any disruption that might be caused by Sandoz’s re-entry:

 Date    Call Type    Target Name              Direction     Contact Name            Time       Duration
 2/14/2014 Voice      Boothe, Douglas (Perrigo) Incoming     Perfetto, Mike (Taro)   13:04:00   0:17:00
 2/19/2014 Voice      Boothe, Douglas (Perrigo) Outgoing     Perfetto, Mike (Taro)   15:42:00   0:02:00
 2/20/2014 Voice      T.P. (Perrigo)              Incoming   CW‐3 (Sandoz)           4:56:11    0:00:34
 2/20/2014 Voice      D.S. (Taro)                Outgoing    CW‐4 (Sandoz)           9:21:00    0:03:00
 2/20/2014 Voice      D.S. (Taro)                 Incoming   CW‐4 (Sandoz)           9:24:00    0:11:00
 2/24/2014 Voice      CW‐3 (Sandoz)              Outgoing    T.P. (Perrigo)          12:38:00   0:01:00
 2/26/2014 Voice      Boothe, Douglas (Perrigo) Outgoing     Perfetto, Mike (Taro)   3:52:00    0:02:00



                                                    219
 3/1/2014 Voice         Boothe, Douglas (Perrigo) Incoming     Perfetto, Mike (Taro)        18:06:00   0:01:00
 3/5/2014 Voice         Boothe, Douglas (Perrigo) Incoming     Perfetto, Mike (Taro)        6:48:00    0:12:00
 3/11/2014 Voice        Nailor, Jill (Greenstone)  Outgoing    Wesolowski, John (Perrigo)   8:18:40    0:00:16
 3/11/2014 Text         Nailor, Jill (Greenstone)   Outgoing   Wesolowski, John (Perrigo)   8:23:15    0:00:00
 3/11/2014 Voice        Nailor, Jill (Greenstone)  Outgoing    Wesolowski, John (Perrigo)   9:02:21    0:00:09
 3/11/2014 Voice        Nailor, Jill (Greenstone)   Incoming   Wesolowski, John (Perrigo)   11:51:57   0:00:00
 3/11/2014 Voice        Nailor, Jill (Greenstone)  Outgoing    Wesolowski, John (Perrigo)   11:53:16   0:02:38
 3/13/2014 Voice        CW‐3 (Sandoz)               Outgoing   T.P. (Perrigo)               4:05:00    0:01:00
 3/13/2014 Voice        CW‐3 (Sandoz)              Outgoing    T.P. (Perrigo)               9:42:00    0:12:00
 3/18/2014 Voice        Hatosy, Robin (Greenstone) Outgoing    Kellum, Armando (Sandoz)     11:43:38   0:00:31
 3/18/2014 Voice        Hatosy, Robin (Greenstone) Incoming    Kellum, Armando (Sandoz)     12:22:44   0:07:39


       772.        Sandoz set its target market share at 25%, choosing to target 20% from Greenstone

and 5% from Perrigo. In a May 2014 internal Sandoz presentation, Sandoz laid out its plan for re-

entry, specifically referring to one of its competitors as                 rather than




Ultimately, these coordinated efforts to minimize price erosion were very successful. Even after

both Taro and Perrigo’s entry, and Sandoz’s re-entry, prices for Clindamycin Solution remained

significantly higher than they had been prior to the first coordinated price increase. In a

          presentation to Pfizer in 2017, Greenstone summarized the lock-step price increases in

the market for Clindamycin Solution, while also showing relatively minimal price erosion even

after two additional competitors had entered the market:




                                                      220
       773.    Indeed, even when Actavis entered the market in early 2015, the competitors’

commitment to the conspiracy allowed a fifth entrant without materially affecting market prices.

This was because Aprahamian coordinated Actavis’ entry with                     of Actavis during

several lengthy calls in January 2015. Through these calls, Actavis identified which customers to

target, which allowed Actavis to gain share at the same supracompetitive pricing as the existing

competitors.

               4.     The Third Coordinated Price Increase (2014 – All Formulations Except
                      Solution – Sandoz and Greenstone)

       774.    Starting in April 2014, Sandoz decided to raise prices on the three formulations of

Clindamycin where Greenstone was still its only competitor. This led to a quick flurry of phone




                                               221
calls between Greenstone and Sandoz in early April 2014 to confirm the understanding, as shown

below:

  Date       Call Type   Target Name                Direction Contact Name               Time       Duration
  4/2/2014   Voice        Nailor, Jill (Greenstone)   Outgoing Kellum, Armando (Sandoz) 13:49:38 0:06:59
  4/2/2014   Voice        Hatosy, Robin (Greenstone) Outgoing Kellum, Armando (Sandoz) 14:52:52 0:03:05
  4/4/2014   Voice        Hatosy, Robin (Greenstone) Outgoing   Kellum, Armando (Sandoz) 10:50:27 0:00:25
  4/4/2014   Voice        Hatosy, Robin (Greenstone) Incoming Kellum, Armando (Sandoz) 11:36:07 0:03:04


         775.     The phone call between Nailor and Kellum listed above was the first phone call

ever between the two, according to phone records. As a result of these calls, Sandoz understood

that Greenstone would follow its price increases. During these calls, the competitors also

discussed a separate price increase on Eplerenone Tablets, discussed more fully below.

         776.     Sandoz moved quickly, raising its WAC prices on Clindamycin Gel, Clindamycin

Lotion, and Clindamycin Cream by approximately 20%, effective April 18, 2014. Shortly after

the Sandoz increase, on April 23, 2014, Nailor of Greenstone and Kellum spoke again for nearly

fifteen minutes.

         777.     By now, Greenstone understood the need to follow the Sandoz price increases

quickly – and did so. It followed the Sandoz WAC increases to the penny less than a month-and-

a-half later, with an effective date of June 2, 2014. Shortly before Greenstone followed the Sandoz

Clindamycin increases – on May 22, 2014 –                   of Greenstone called Kellum of Sandoz twice,

leaving him a forty-seven second voicemail. They did not speak again for nearly three months.

Similarly, three days before the increases became effective, on May 29, 2014, Nailor of Greenstone

called Kellum of Sandoz, leaving him a twenty-six second voicemail. As part of that same price

increase, Greenstone also raised its pricing on Eplerenone Tablets.

         778.     Sandoz honored the agreement to raise prices on Clindamycin. For example, when

approached by a customer, Omnicare, on May 28, 2014 to provide a bid for Clindamycin Gel, the



                                                      222
first reaction from a Sandoz marketing manager was that Kellum

                      Omnicare approached Sandoz again in August, asking if Sandoz had enough

supply to meet the customer’s needs. The e-mail from Omnicare followed a flurry of phone calls

between Kellum and             of Greenstone only a few days prior, on August 14, 2014 (their first

calls since May 2014). After receiving the e-mail from Omnicare, CW-3 of Sandoz informed the

customer that Sandoz would not do anything that would disrupt the market.

        HH.     Clobetasol

        779.    The market for Clobetasol is mature, as Clobetasol has been available in the United

States for decades. During the relevant time period, Defendants Actavis, Akorn, Hi-Tech, Sandoz,

Fougera, Perrigo, Taro, Wockhardt, and Morton Grove sold Clobetasol to Plaintiff, its assignor,

and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.

        780.    For more than two years prior to June 2014, Defendants’ average price in the U.S.

for Clobetasol was remarkably stable.

        781.    Beginning in approximately June 2014, Defendants abruptly increased their prices

for Clobetasol on multiple formulations and sizes. By way of example, Taro, Sandoz, Hi-Tech,

Actavis, and Wockhardt all took price increases on their 0.05% cream product in near lockstep

reflecting increases of more than 800%:

  Product                                                    New          Date of      Percentage
                Defendant         NDC         Old WAC
 crm .05%                                                    WAC         Increase       Increase
 15gm          Taro             51672125801        $0.38       $6.84       3-Jun-14        1684%
 15gm          Sandoz           00168016315        $0.73       $6.84       18-Jul-14        833%
 15gm          Hi-Tech          50383026715        $0.37       $6.84      9-Aug-14         1732%
 15gm          Actavis          00472040015            *       $6.84     10-Mar-15              *
 30gm          Taro             51672125802        $0.33       $6.84       3-Jun-14        1993%



                                                223
  Product                                                    New          Date of      Percentage
                Defendant         NDC         Old WAC
 crm .05%                                                    WAC         Increase       Increase
 30gm          Sandoz          00168016330         $0.50       $6.84       18-Jul-14        1268%
 30gm          Hi-Tech         50383026730         $0.32       $6.84       9-Aug-14         2026%
 30gm          Actavis         00472040030             *       $6.84      10-Mar-15              *
 45gm          Taro            51672125806         $0.33       $6.84        3-Jun-14        1971%
 45gm          Sandoz          00168016346         $0.59       $6.84       18-Jul-14        1057%
 45gm          Hi-Tech         50383026745         $0.31       $6.84       9-Aug-14         2138%
 45gm          Actavis         00472040045             *       $6.84      10-Mar-15              *
 60gm          Taro            51672125803         $0.32       $6.12        3-Jun-14        1832%
 60gm          Sandoz          00168016360         $0.50       $6.12       18-Jul-14        1124%
 60gm          Hi-Tech         50383026760         $0.29       $6.12       9-Aug-14         2016%
 60gm          Actavis         00472040060             *       $6.12      10-Mar-15              *

        782.    Upon information and belief, between June and August 2014, Akorn, Morton

Grove, Fougera, and Perrigo all increased their list prices for Clobetasol by similar amounts, even

though these prices were not publicly reported.

        783.    Clobetasol was one of the drugs identified in the GAO Report as having

experienced an “extraordinary price increase” in 2014-15.

        784.    Defendants’ dramatic price increases were not due to supply disruptions because

there is no indication that there was a drug shortage. These dramatic increases cannot be explained

by any other market feature or shock.

        785.    Upon information and belief, the price increases on Clobetasol were the result of

collusive agreements between and among Defendants to increase pricing and restrain competition

for the sale of Clobetasol in the United States. These collusive agreements were furthered, at least

in part, through in-person discussions conducted at meetings and industry events hosted by GPhA

and HDMA as well as other meetings and communications described below.




                                                224
       786.   For example, on April 20-23, 2013, NACDS held its 2013 Annual Meeting in Palm

Beach, Florida. NACDS’s 2013 Annual Meeting was attended by representatives from Actavis,

Perrigo, Sandoz, Taro, and Wockhardt. See Ex. 1.

       787.   On June 4-5, 2013, GPhA held a meeting in Bethesda, Maryland, which was

attended by representatives from Actavis, Fougera, Hi-Tech, Morton Grove, Perrigo, Sandoz, and

Taro. See Ex. 1.

       788.   On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands Expo

Convention Center in Las Vegas, Nevada. Representatives from Actavis, Akorn, Perrigo, Sandoz,

Taro, and Wockhardt attended the Expo. See Ex. 1.

       789.   On February 19-21, 2014, GPhA held its Annual Meeting at the JW Marriott in

Orlando, Florida that was attended by representatives from Actavis, Sandoz, Hi-Tech, Perrigo,

Taro, and Wockhardt. See Ex. 1.

       790.   On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale, Arizona.

NACDS’s 2014 annual meeting was attended by representatives from Actavis, Perrigo, Sandoz,

Taro, and Wockhardt. See Ex. 1.

       791.   On June 1-4, 2014, the HDMA held a BLC at the JW Marriott Desert Ridge in

Arizona. The June 1-4, 2014 BLC was attended by representatives from Actavis, Hi-Tech, Sandoz,

Taro, and Wockhardt. See Ex. 1.

       792.   On June 3-4, 2014, GPhA held a meeting at the Bethesda North Marriott Hotel in

Bethesda, Maryland that was attended by representatives from Actavis, Fougera, Perrigo, Sandoz,

Hi-Tech, and Taro. See Ex. 1.

       793.   On August 23-26, 2014, NACDS held its 2014 Total Store Expo at the Boston

Convention Center in Boston, Massachusetts. NACDS’s August 2014 Total Store Expo was



                                             225
attended by representatives from Actavis, Hi-Tech, Perrigo, Sandoz, Taro, and Wockhardt. See

Ex. 1.

         794.   On October 27-29, 2014, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Actavis, Sandoz, Fougera, Perrigo, Taro, and Wockhardt. See

Ex. 1.

         795.   On December 3, 2014, NACDS held its 2014 NYC Week and annual foundation

dinner, which was attended by representatives from Actavis, Sandoz, and Perrigo. See Ex. 1.

         796.   On February 9-11, 2015, GPhA held its Annual Meeting in Miami Beach, Florida.

Representatives from Actavis, Sandoz, Akorn, Perrigo, Taro, and Wockhardt attended. See Ex. 1.

         797.   On April 25-28, 2015, NACDS held its 2015 annual meeting at The Breakers in

Palm Beach, Florida. NACDS’s 2015 annual meeting was attended by representatives from

Actavis, Akorn, Perrigo, Sandoz, Taro, and Wockhardt. See Ex. 1.

         798.   The June 7-10, 2015 HDMA BLC was held in San Antonio, Texas. The June 2015

BLC was attended by representatives from Actavis, Sandoz, and Wockhardt. See Ex. 1.

         799.   On June 9-10, 2015, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives from Actavis, Fougera, Sandoz, Perrigo, Taro and Wockhardt. See Ex. 1.

         800.   On August 22-25, 2015, NACDS held its 2015 Total Store Expo at the Denver

Convention Center. Representatives from Actavis, Akorn, Perrigo, Sandoz, Taro, and Wockhardt

attended. See Ex. 1.

         801.   In 2016, Actavis, Akorn, Fougera, Perrigo, Sandoz, Taro, and Wockhardt continued

to attend trade association meetings and events. See Ex. 1.




                                               226
       II.      Clomipramine

       802.     Clomipramine HCL, also known by the brand name Anafranil, is used for the

treatment of obsessive-compulsive disorder, panic disorder, major depressive disorder, and

chronic pain. The market for Clomipramine is mature, as Clomipramine has been available in the

United States for over 20 years. The World Health Organization (“WHO”) includes Clomipramine

on its list of essential medicines. During the relevant time period, Mylan sold Clomipramine

pursuant to ANDAs approved by the FDA in or around January 1998. Sandoz sells Clomipramine

to purchasers pursuant to ANDAs that were approved by the FDA in or around June 1997 and

March 1998. Taro sells Clomipramine to purchasers pursuant to ANDAs approved by the FDA in

December 1996.

       803.     At all times relevant to this lawsuit there has been more than one manufacturer of

Clomipramine on the market. Defendants Mylan, Sandoz, and Taro sold Clomipramine to

Plaintiff, its assignor, and others in the United States at supracompetitive prices inflated by the

unlawful and anticompetitive agreements alleged in this Complaint.

       804.     For more than two years prior to the conspiracy period, Defendants’ average price

in the U.S. for Clomipramine was remarkably stable. Beginning in approximately May 2013,

Mylan, Sandoz, and Taro increased their prices abruptly and, for the most part, in unison.

       805.     In addition to Defendants Sandoz and Mylan, Taro also manufactured

Clomipramine HCL. Indeed, it was Taro that led a price increase on this product on May 1, 2013.

The price increase was striking – more than a 3,440% increase to Taro’s WAC pricing on certain

formulations.

       806.     In the weeks leading up to the Taro price increase on Clomipramine, Aprahamian

of Taro spoke several times with both CW-3 at Sandoz and                      , a national account



                                               227
manager at Mylan. In fact, on several occasions during this time period, Aprahamian hung up the

phone with one competitor and immediately called the next. At the same time, CW-4 of Sandoz

was also speaking with              , a senior sales and national account executive at Taro. During

these conversations, Defendants Taro, Sandoz, and Mylan agreed to raise the price of

Clomipramine HCL.

       807.    CW-3 of Sandoz also took contemporaneous notes of some of his conversations

with competitors. For example, after speaking with Aprahamian of Taro twice on April 30, 2013,

CW-3 made the notes identifying Clomipramine HCL as one of the products that Taro planned to

increase on May 1.

       808.    Indeed, there are notations in CW-3’s notebook that demonstrate that he began

communicating with Aprahamian about Taro’s May 1 increase as early as April 2, 2013.

       809.    As part of the agreement to raise prices and not poach each other’s customers on

Clomipramine, Sandoz consistently refused to bid for Taro’s customers after Taro raised its price.

For example, on April 30, 2013, Publix e-mailed Sandoz stating that it had received a price increase

letter from Taro regarding several Sandoz overlap products, including Clomipramine, and asked

whether Sandoz wanted to bid for the business. Kellum e-mailed CW-4 stating:




       810.    Taro did agree to concede one customer to Sandoz. On May 1, 2013, Rite Aid e-

mailed Sandoz asking for a bid on Clomipramine. Kellum responded:




                                                228
       811.    The next day, on May 2, 2013, Aprahamian of Taro called CW-3 at Sandoz and

they spoke for five minutes. CW-3 hung up the phone and then immediately called Kellum. The

two spoke for eight minutes. First thing the next morning – on May 3, 2013 – CW-3 called

Aprahamian back and they spoke for another five minutes. Within a half hour, CW-3 again

contacted Kellum and spoke for two minutes. Later that day, CW-4 of Sandoz e-mailed Kellum

regarding an upcoming call with Rite Aid stating:




       812.    Ultimately, Sandoz was awarded the Clomipramine business at Rite Aid. When

Rite Aid notified Taro, Aprahamian forwarded the e-mail to Michael Perfetto, stating:



       813.    Mylan was the next to increase price on Clomipramine HCL. On May 16, 2013,

Mylan increased to the same WAC per unit cost as Taro. In the days leading up to the Mylan price

increase, all three competitors were in contact with each other by telephone to coordinate efforts.

       814.    On July 3, 2013, HEB informed Taro that Mylan was on back order for

Clomipramine HCL and asked Taro to bid for the business. Aprahamian responded that he was




       815.    On July 16, 2013, CW-4 of Sandoz sent the July 2013 e-mail identifying

Clomipramine HCL as a Mylan price increase product. By this time, Sandoz knew that Mylan had

increased its price on this product.




                                               229
       816.    On July 20, 2013, Taro received a                      notification that Sandoz was

increasing price on Clomipramine HCL. Aprahamian forwarded the notice to Perfetto stating:




       817.    Two days later – on July 22, 2013 – Sandoz increased its WAC pricing to match

the per unit cost of Taro and Mylan.

       818.    On August 5, 2013, Walgreens – a Mylan customer – e-mailed Sandoz and

requested a bid on Clomipramine HCL.                             , a national account executive at

Sandoz, sent an internal e-mail asking

Kellum responded negatively, based on the agreement in place with Mylan, stating:

                                        On August 6, 2013, Nesta of Mylan called CW-4 at Sandoz

twice. Both calls lasted less than a minute (likely voicemails). The next day, on August 7, 2013,

           replied to Kellum’s e-mail, stating:



       819.    In October 2013, CW-4 and Nesta spoke by phone several times, including multiple

calls on October 3rd and 4th.

       820.    After this series of calls, during the morning of October 15, 2013, CW-4 of Sandoz

called Kellum. The call lasted one minute. Approximately one half hour later, Kellum e-mailed

McKesson and asked if Sandoz could submit a bid for Clomipramine HCL.

       821.    On October 23, 2013, Sandoz submitted a bid to McKesson and the customer

responded that a reduction was needed to bring the pricing in line with their current supplier, Taro.

CW-1 was surprised and forwarded the request to CW-4, copying Kellum, stating:



                                                  230
          822.    In December 2013, Sandoz received an inquiry from a Bloomberg reporter who

questioned the propriety of the large increases that Sandoz had taken in recent months on a whole

host of drugs, including Clomipramine HCL. Kellum prepared a response claiming that Sandoz

had simply followed the market price increase after learning of it through public sources.

          823.    As is clear from the above allegations, Kellum’s statement was a lie. In reality,

Sandoz had raised its prices after coordinating the increases with Taro and Mylan in advance, and

stayed true to its commitments to keep those prices high.

          824.    By way of example, beginning in May 2013, Mylan, Sandoz, and Taro set their

WACs in lockstep on their 25 mg product, reflecting increases from previous WACs of, more than

2,700%:

  Product                                        Old                      Date of     Percentage
                  Defendant        NDC                     New WAC
   25 mg                                         WAC                     Increase      Increase
 30 ct           Taro            51672401106       $0.25        $8.99     1-May-13           3441%
 90 ct           Taro            51672401105       $0.25        $8.99     1-May-13           3441%
 100 ct          Mylan             378302501       $0.30        $8.99    16-May-13           2853%
 100 ct          Sandoz            781202701       $0.31        $8.99     22-Jul-13          2778%

          825.    In the Fall of 2014, Senator Bernie Sanders and Representative Elijah Cummings

requested information from manufacturers of ten drugs, including Clomipramine, which had

experienced extraordinary price increases. In response to a Congressional request from Senators

Susan Collins, Claire McCaskill, Bill Nelson, and Mark Warner, in August 2016, the GAO issued

a report in which Clomipramine was identified as experiencing an “extraordinary price increase.”




                                                 231
       826.    There are no legitimate justifications for these price hikes. There were no supply

shortages or disruptions, no new patents or formulations, and no changes in drug labeling that

explain these abrupt increases.

       827.    The price increases on Clomipramine were the result of collusive agreements

between and among Defendants to increase pricing and restrain competition for the sale of

Clomipramine in the United States.

       828.    These collusive agreements were also furthered at least in part, through in-person

meetings at industry events hosted by GPhA and HDMA.

       829.    For example, on October 1-3, 2012, GPhA held a meeting in Bethesda, Maryland

that was attended by representatives from Taro, Sandoz, and Mylan. See Ex. 1.

       830.    On February 20-22, 2013, GPhA held its 2013 Annual Meeting in Orlando,

Florida. GPhA’s 2013 Annual Meeting was attended by representatives of Taro, Sandoz, and

Mylan. See Ex. 1.

       831.    On April 20-23, 2013 NACDS held its 2013 Annual Meeting at The Breakers in

Palm Beach, Florida. NACDS’s Annual Meeting was attended by representatives from Taro,

Sandoz, and Mylan. See Ex. 1.

       832.    On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida.          HDMA’s

June 2013 BLC was attended by representatives from Sandoz and Mylan. See Ex. 1.

       833.    On June 4-5, 2013, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives from Taro, Sandoz, and Mylan. See Ex. 1

       834.    On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands

Expo Convention Center in Las Vegas, Nevada. NACDS’s August 2013 Total Store Expo was

attended by representatives from Taro, Sandoz, and Mylan. See Ex. 1.



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       835.     On October 28-30, 2013, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Taro, Sandoz, and Mylan. See Ex. 1.

       836.     On December 3, 2013, NACDS held its 2013 NACDS Foundation Reception and

Dinner, which was attended by representatives from Defendants Mylan and Sandoz. See Ex. 1.

       JJ.      Clonidine-TTS Patch

       837.     Clonidine-TTS Patch – also known by the brand name Catapres-TTS – is a

medication in the form of a transdermal patch used to treat high blood pressure.

       838.     As of September 2011, Mylan and Teva were at rough parity in the market for

generic Clonidine-TTS, with Mylan having approximately 48.4% market share and Teva having

approximately 44.4% market share. At the end of 2011 and beginning of 2012, however, Teva

began to take more market share than the rules of the conspiracy allowed.

       839.     In November 2011, Teva took over Mylan’s business for Clonidine-TTS at

Walgreens after Walgreens solicited Teva to provide a bid. Then, in late January 2012, Cardinal

Health solicited a bid from Teva for a one-time-buy to cover an alleged short-term

              that Mylan was experiencing. A few days after Teva submitted its offer to Cardinal

for the one-time-buy, Cardinal asked Teva to become Cardinal’s primary supplier for Clonidine-

TTS. Believing that Cardinal’s request was prompted by Mylan having supply issues, Teva

accepted and took over the primary position at Cardinal for Clonidine-TTS.

       840.     On February 10, 2012, the move of Cardinal’s business to Teva prompted

of Teva to order his colleagues to get intelligence on the extent of Mylan’s alleged supply issues.

That same day, Rekenthaler called              , a senior national accounts executive at Mylan, to

obtain the information and they spoke for six minutes. Later that day, Rekenthaler reported back

to his Teva colleagues that, contrary to Teva’s assumptions,                                   and



                                               233
cautioned that Teva should                      Rekenthaler was concerned that Mylan might

retaliate against Teva for adding customers without consulting with Mylan. With the awards from

Walgreens and Cardinal, Teva was projected to have between 65%-70% market share for

Clonidine-TTS.

       841.   To gain back some market share, Mylan challenged Teva’s Clonidine-TTS business

at McKesson. To de-escalate the situation, Teva

Then, in April 2012, Mylan aggressively challenged Teva’s Clonidine-TTS business at CVS to

gain back market share and further signal its displeasure with Teva for taking the Cardinal

business. Internally, Teva lamented that Mylan was



       842.   Teva heard Mylan’s retaliatory message loud and clear. On May 4, 2012, just a

few days after losing the CVS Clonidine-TTS business to Mylan, Teva was approached by

Cardinal about a different drug, Doxazosin. At the time, Mylan was the primary supplier for

Doxazosin at Cardinal. Cardinal representatives told Teva that Mylan was on backorder for one

of the four Doxazosin dosage strengths until the end of June 2012, but Cardinal wanted to move

the entire Doxazosin line to Teva. Rather than take this business,               cautioned his

colleagues that Teva




       843.   On July 18, 2012, Eugene Cioschi, a senior Teva product manager, circulated an

internal e- mail to Teva’s national account managers that the

                                        Teva learned of this         directly from Mylan over




                                              234
the course of at least two calls between Green and Nesta on July 17 and the morning of July 18,

2012. Those calls lasted three minutes and five minutes, respectively.

       844.    On the morning of September 28, 2012, Nesta and Green spoke by phone at least

twice, once for four minutes and once for fourteen minutes. On those calls, Nesta informed Green

of Mylan’s impending temporary exit from the Clonidine-TTS market. As expected, later in the

day on September 28, 2012, Teva began getting solicitations from Mylan customers, such as Wal-

Mart and CVS, seeking a bid from Teva for Clonidine-TTS because Mylan had just issued a

temporary discontinuation notice.

       845.    Mylan’s exit from the Clonidine-TTS market presented an opportunity to raise

prices and collusively reallocate the market at the inflated prices when Mylan fully reentered the

market. For example, in April 2012, before Mylan had challenged Teva’s Clonidine-TTS business

at CVS, Teva’s direct invoice price to CVS for the .1mg, .2mg, and .3mg Clonidine-TTS was

$22.13, $37.81, and $54.41, respectively. Mylan’s retaliation against Teva drove the prices for

CVS down to below $10.49, $18.17, and $26.51 for those dosages, respectively. Because of

Mylan’s exit from the market, however, when Teva took back the CVS business in October 2012,

Teva was able to charge CVS a direct invoice price of $33.28, $56.08, and $80.76, respectively.

       846.    Mylan and Teva maintained regular contact as former Mylan customers came to

Teva because of Mylan’s supply issues with Clonidine-TTS. For example, Teva submitted bids

to CVS and Wal-Mart – which were ultimately accepted by those companies – on October 4, 2012

and October 5, 2012, respectively. In the days leading up to those bids, Teva and Mylan

representatives had at least the following phone calls:




                                                235
       847.     Teva and Mylan representatives continued to keep in contact going forward so that

if Mylan reentered the Clonidine-TTS market, Mylan could regain market share without eroding

price through competitive bidding. For example, on October 10, 2012, Green and Nesta spoke for

ten minutes. That same day,                     of Teva sent an e-mail to Teva national account

managers and other senior representatives reiterating that Teva representatives should



       848.     In or about February 2013, Mylan relaunched Clonidine-TTS and began seeking

market share. In early March 2013 Mylan sought to secure the Clonidine-TTS business at

Econdisc. Rather than competitively bid for the business, Teva’s internal documents state that

they chose to             Econdisc back to Mylan. By April 2013 Teva also



       849.     In a stark admission of Teva’s willingness to help Mylan regain market share

without competition, Rekenthaler acknowledged in an internal e-mail dated February 28, 2013,

that Teva was                                                      to Mylan. Because Teva had

been able to increase the price at CVS following Mylan’s exit, Mylan gave a bid to CVS that was

higher than Mylan’s                                                   For its part, Teva was

                                                                                         if CVS

brought Mylan’s price challenge to Teva’s attention. CVS pushed Mylan to lower its bid in light




                                               236
of its prior prices but, confident that its brinkmanship would work because of Teva’s cooperation,

Mylan would not do so. Ultimately, CVS declined Mylan’s bid because of Mylan’s refusal to

lower its bid in light of its prior pricing. Nonetheless, because Mylan’s bid to CVS was not

competitive – but rather an effort to allocate the market without eroding price – Teva was able to

maintain artificially higher prices at CVS.

          850.   To carry out their scheme to allocate the Clonidine-TTS market without eroding

price, representatives of Teva and Mylan remained in regular contact. In February and March

2013 alone, Teva and Mylan representatives called each other at least 33 different times and spoke

for nearly 2 hours and 45 minutes.

          851.   By April 2013, Teva had

Having successfully allocated the market, however, Mylan and Teva were now conspiring to raise

prices on Clonidine-TTS. On April 8, 2013,                      , a marketing manager at Teva,

reported internally to his Teva colleagues, including Rekenthaler, that Mylan had agreed to raise

prices:




          852.   Green knew that Mylan would follow a price increase on Clonidine-TTS because

earlier that day, Green had two phone calls with Nesta (Mylan), with one lasting one minute and

the other lasting eight minutes. In a follow up call the following day between Green and Nesta


                                               237
lasting eleven minutes, Mylan and Teva reconfirmed their agreement that Mylan would follow a

Teva price increase on Clonidine-TTS.

       853.    On May 6, 2014, Actavis was granted approval to market Clonidine-TTS. Teva

and Actavis immediately commenced an extensive negotiation over price and market share.

Rekenthaler and Falkin spoke by phone three times that day for fifteen minutes, one minute, and

three minutes, respectively.

       854.    The next day, Rekenthaler announced to his colleagues that Actavis was entering

the market.           of Teva responded by requesting that Patel come up with a recommendation

as to which customers Teva should concede to Actavis. At the same time, Teva employees

bemoaned Actavis’s



       855.    On May 8, 2014, Teva personnel accelerated their efforts to convince Actavis to

revise its pricing and market share plans for Clonidine-TTS to more acceptable levels with another

flurry of phone calls. On that day, Rekenthaler spoke to Falkin three more times (5-, 10-, and 8-

minute calls). Patel spoke to Rogerson at Actavis four times, the last call coming at 9:54 a.m. At

10:02 a.m., she informed her colleagues of the results of the negotiations, instructing them:



       856.    The following day, May 9, 2014, Patel learned from yet another customer of a

                               on this drug. Suspecting the source of the challenge was Actavis,

Patel called Rogerson three times. Following those conversations, Patel informed her colleagues

that Actavis wanted 25% of the market. She also stated that Actavis would likely want 10%-15%

of that share from Teva. During those conversations, she also likely conveyed her displeasure to

Rogerson about how low Actavis’s pricing was, because not long after those phone calls, she



                                                238
conveyed to her supervisor,

Shortly after that, Patel also learned that Actavis had



       857.    Rekenthaler described to his colleagues the agreement he was willing to strike with

Actavis over market share, saying:




       858.    The market share give-and-take between Teva and Actavis continued over the

coming weeks, with Teva conceding accounts to the new entrant in order to allow Actavis to gain

market share without eroding the supracompetitive price. On May 14, 2014, for example, Patel

told colleagues that Teva must be                  and concede a particular wholesaler’s account to

Actavis. On May 17, 2014, Teva conceded a large retailer account to Actavis. On May 20, 2014,

Patel again declined to bid at another customer due to the new entrant Actavis, stating:



       859.    When                , Teva’s analytics manager, recommended giving up yet another

Clonidine-TTS account to Actavis on May 23, 2014, after several conversations between Patel and

Rogerson the prior day,              of Teva reluctantly approved, saying:



       KK.     Clotrimazole

       860.    Clotrimazole, also known by the brand name Lotrimin, is an antifungal medication

used to treat yeast infections, oral thrush, diaper rash, pityriasis versicolor, and various types of



                                                 239
ringworm including athlete’s foot and jock itch. It is available in a variety of formulations

including cream and solution.

       861.      As detailed further below in Section XIII, Taro and Teva led price increases on

Clotrimazole solution in June 2014.

       862.      In early January 2015, Sandoz was readying to re-launch into the Clotrimazole

cream market. At that time, there were three other competitors in the market – Taro, Glenmark,

and Major Pharmaceuticals. Sandoz had some supply constraints and was only targeting between

15% and 20% market share as the fourth entrant.

       863.      On the evening of January 7, 2015,           , a senior Sandoz launch executive,

sent an internal e-mail to the Sandoz launch team, stating that the Pricing Department was

preparing pre-launch offers for Clotrimazole Cream to be sent the following week.

       864.      First thing the next morning, on January 8, 2015, CW-3 of Sandoz called

Aprahamian of Taro. Aprahamian called him back shortly thereafter. Both calls lasted one minute.

That same day,               , a Sandoz launch executive, told his colleague CW- 1, a Sandoz senior

pricing executive, that CW-3 was getting an additional price point for the Clotrimazole cream

launch. The next day, on January 9, 2015, Aprahamian called CW-3. CW- 3 called him back and

they spoke for four minutes.

       865.      First thing the next business day, Monday January 12, 2015,




                                                240
       866.   That same day, CW-3 called Aprahamian. Aprahamian returned the call and they

spoke for seven minutes. On that call, Aprahamian provided CW-3 with Taro’s non-public pricing

for two different categories of customer – wholesalers and retailers. CW-3 told Aprahamian that

Sandoz had limited supply of Clotrimazole cream and that it planned to target Wal-Mart and

Walgreens only. CW-3’s contemporaneous notes from the call are detailed below:




       867.   Immediately after his call with Aprahamian, CW-3 called CW-1. The call lasted

one minute. Also, later that day CW-3 sent the following e-mail to             at Sandoz, with

a copy to CW-1, conveying the competitively sensitive information he had learned from

Aprahamian:




       868.   The prices matched exactly the prices that CW-3 had written down in his Notebook.




                                             241
       869.    The next day, on January 13, 2015, CW-3 spoke with CW-1 for sixteen minutes.

Later that afternoon, Aprahamian called CW-3. CW-3 returned the call and they spoke for eight

minutes.

       870.    On January 29, 2015, Sandoz bid on Clotrimazole cream at Wal-Mart, a Taro

customer. Wal-Mart e-mailed Aprahamian to inform him of the bid and asked if Taro wanted to

bid to retain the business. Aprahamian responded,

                 That same day, Aprahamian called CW-3 and they spoke for nine minutes.

       871.    The following Monday, February 2, 2015, Aprahamian e-mailed Wal-Mart and

declined the opportunity, explaining that



                                                                    Aprahamian then forwarded

his response along internally stating:



                                 15, Wal-Mart e-mailed Sandoz to notify the company that it had

won the Clotrimazole cream business.

       873.    In March 2015, and consistent with its plans, Sandoz also bid on Clotrimazole

cream at Walgreens, a Glenmark customer. On March 27, 2015, Walgreens awarded the business

to Sandoz.

       LL.     Desogestrel/Ethinyl Estradiol Tablets (Kariva)

       874.    Desogestrel/Ethinyl Estradiol (“Kariva”) is a combination pill containing two

hormones: progestin and estrogen. This medication is an oral contraceptive. These drugs are also

known by various brand names such as Viorele and Mircette. During the period relevant to this

Complaint, Actavis, Glenmark, and Teva were the primary manufacturers of Kariva.



                                              242
       875.    During the morning of May 19, 2014, Patel learned that Glenmark had bid a low

price for its own version of Kariva – Viorele – at Publix, a retail pharmacy purchaser. Stephanie

Brady, an analyst at Teva, e-mailed Patel a list of suggested re-bid prices to send to Publix for

various drugs, including Kariva. The chart included a suggested re-bid price for Kariva of $76.14

– which was $52.64 higher than the $23.50 price that Glenmark had offered Publix.

       876.    This sparked a flurry of communications that same day between Patel and three

different Glenmark representatives – Brown and Grauso, and                          , a sales and

marketing executive – and also with Rick Rogerson of Actavis. Indeed, Patel had previously been

communicating with Rogerson on May 8, 9, and 12.

       877.    After this flurry of communications between the three competitors, Patel decided

that Teva would offer Publix a re-bid price with a nominal 10% reduction off the originally

proposed re-bid price of $76.14 – virtually guaranteeing that the business would be awarded to

Glenmark.

       MM. Desonide

       878.    The market for Desonide is mature, as both the ointment and cream form of the

drug have been available in the United States since the 1970s, and generic Desonide has been

available in the United States since 1994.

       879.    During the relevant time period, Defendants Actavis, Perrigo, Sandoz, Fougera, and

Taro sold Desonide to Plaintiff, its assignor, and others in the United States at supracompetitive

prices inflated by the unlawful and anticompetitive agreements alleged in this Complaint.

       880.    At all times relevant to this lawsuit there has been more than one manufacturer of

Desonide on the market. Defendants Actavis, Perrigo, Sandoz, Fougera, and Taro dominate the

market for Desonide.



                                               243
       881.    For at least five years prior to May 2013, Defendants’ prices for Desonide in the

United States remained stable. In May 2013, however, Defendants abruptly began implementing

substantial price increases.

       882.    By way of example, Defendants all set the same WACs for their ointment products

beginning in May 2013, reflecting increases from previous WACs of more than 140%:

                                             Old                       Date of      Percentage
  Product     Defendant          NDC                    New WAC
                                             WAC                      Increase       Increase
 15 GM        Taro             51672128101      $0.84        $3.21      1-May-13         282%
 60 GM        Taro             51672128103      $0.53        $3.21      1-May-13         501%
 15 GM        Perrigo          45802042335      $1.30        $3.21    21-May-13          146%
 60 GM        Perrigo          45802042337      $0.31        $3.21    21-May-13          932%
 15 GM        Sandoz           00168030915          *        $3.21      17-Jan-14            *
 60 GM        Sandoz           00168030960          *        $3.21      17-Jan-14            *

       883.    In August 2013, Actavis entered the market for Desonide and implemented the

supracompetitive prices as well. Upon information and belief, just as the Defendants did with

Glyburide and Doxy DR, Actavis communicated its intention to enter the market to Perrigo,

Sandoz, Fougera, and Taro well in advance of its actual entry, and the Defendants reached an

agreement on the supracompetitive pricing that each would charge its customers. This agreement

on Desonide was facilitated by the overarching market allocation agreement that was followed by

all Defendants and conspirators and it prevented Actavis’ entry into the market from eroding the

conspiratorial pricing on Desonide.

       884.    Desonide was one of the drugs identified in the GAO Report as having experienced

an “extraordinary price increase.”

       885.    No competitive justifications explain the abrupt increase in price. Changes in

ingredient costs do not explain Defendants’ price increases. The gel and lotion formulations of



                                              244
Desonide did not experience the same coordinated and extraordinary price increases in May 2013

that the cream and ointment formulations experienced, even though all formulations have the same

active ingredient.

       886.    The abrupt price increases were not due to supply disruptions.

       887.    Upon information and belief, the price increases on Desonide were the result of

collusive agreements between and among Defendants to increase pricing and restrain competition

for the sale of Desonide in the United States. These collusive agreements were furthered, at least

in part, through in-person discussions conducted at meetings and industry events hosted by GPhA

and HDMA as well as other meetings and communications, some of which are described below.

       888.    For example, on October 1-3, 2012, GPhA held a meeting in Bethesda, Maryland

that was attended by representatives from Actavis, Perrigo, Sandoz, and Taro. See Ex. 1.

       889.    On February 20-22, 2013, GPhA held its Annual Meeting at the JW Marriott

Orlando Grand Lake in Orlando, Florida that was attended by representatives from Actavis,

Perrigo, Sandoz, and Taro. See Ex. 1.

       890.    On April 20-23, 2013, shortly before the drastic May 2013 price increases, NACDS

held its annual meeting at The Breakers, Palm Beach, Florida. This event was attended by

representatives from Actavis, Perrigo, Sandoz, and Taro. See Ex. 1.

       891.    On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida. HDMA’s June

2013 BLC was attended by representatives from Actavis and Sandoz. See Ex. 1.

       892.    On June 4-5, 2013, GPhA held a CMC Workshop meeting at Bethesda North

Marriott Hotel, Bethesda, Maryland, that was attended by representatives from Actavis, Perrigo,

Sandoz, and Taro. See Ex. 1.




                                               245
       893.    On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands Expo

Convention Center. NACDS’s August 2013 event was attended by representatives from Actavis,

Perrigo, Sandoz, and Taro. See Ex. 1.

       894.    On October 28-30, 2013, GPhA held its 2013 Fall Technical Conference in

Bethesda, Maryland that was attended by representatives from all Defendants. See Ex. 1.

       895.    On December 3, 2013, NACDS held its 2013 NACDS Foundation Reception and

Dinner, which was attended by representatives from Actavis, Sandoz, and Perrigo. See Ex. 1.

       896.    On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale, Arizona.

This event was attended by representatives from Actavis, Perrigo, Sandoz, and Taro. See Ex. 1.

       897.    These Defendants continued to attend trade association meetings and events

between 2014 and 2016. See Ex. 1.

       NN.     Desoximetasone Ointment

       898.    Desoximetasone Ointment (“Desoximetasone”), also known by the brand name

“Topicort,” is a corticosteroid used to treat a variety of skin conditions, including eczema and

dermatitis. Desoximetasone reduces the swelling, redness and itching associated with those

conditions.

       899.    As of the summer of 2012, Taro was the only manufacturer of Desoximetasone

Ointment.     However, starting in August 2012, Sandoz began making plans to enter the

Desoximetasone market. Because it would be a 2-player market upon Sandoz’s entry, and because

Sandoz was the second manufacturer to enter the market, Sandoz initially decided – consistent

with the understanding outlined above – to target 40% market share.

       900.    On the evening of August 21, 2012, Sandoz held an internal meeting to discuss its

                                        regarding Desoximetasone. Shortly after the meeting, a



                                              246
Sandoz executive sent an initial list of eight customers that Sandoz should consider approaching.

The executive indicated that Sandoz’s success would depend




        901.   First thing the next morning, Sandoz began to coordinate with Taro.                   ,

a national account executive at Sandoz, called                 , a senior sales executive at Taro, and

the two spoke for nine minutes.

        902.   On August 30, 2012, Sandoz held another internal meeting to discuss its

Desoximetasone launch. That same day,                  of Sandoz spoke again to         of Taro, this

time for two minutes. The day after this internal Sandoz meeting and the phone conversation with

Taro, on August 31, 2012, CW-1 of Sandoz sent Kellum a                          for Desoximetasone,

which included specific pricing         and a more refined list of customers that would provide

Sandoz with its target market share.

        903.   As the Sandoz launch date approached, CW-3 of Sandoz also began speaking to

                , an account executive at Taro, to coordinate Sandoz’s entry into the market. The

two competitors were not friends, and nearly all their conversations were collusive in nature.

According to phone records, the first ever call between the two competitors was on September 6,

2012. They spoke again on September 21, 2012, as Sandoz was finalizing its launch plan. During

these calls,        provided CW-3 with Taro price points for various customers so that Sandoz

could bid as high as possible and avoid price erosion, while still obtaining new customers as it

entered the market. CW-3 passed that pricing information and list of customer targets on to CW-

1 and Kellum at Sandoz. That same day,             also sent an internal e-mail relaying a




                                                 247
that Sandoz would be entering the Desoximetasone market                                         and

suggesting six accounts as possible targets.

         904.   Sandoz received FDA approval and formally launched Desoximetasone on

September 28, 2012, matching Taro’s WAC pricing exactly. That same day, CW-3 of Sandoz also

called          at Taro and left a message;            returned the call almost immediately, leaving

CW-3 a voicemail.

         905.   Based on the conversations with Taro, Sandoz decided to take a




         906.   Shortly after receiving approval, on October 1, 2012, Sandoz began approaching a

limited set of customers, per its agreement with Taro. That same day, CW-4 of Sandoz reached

out to          at Taro – someone CW-4 had colluded with in the past – and spoke two times,

including one call lasting twenty-one minutes.

         907.   Consistent with the understanding in place between the two competitors, Taro

immediately started conceding customers to Sandoz. For example, on October 11, 2012, a high-

ranking Taro executive sent an internal e-mail discussing Sandoz’s launch of Desoximetasone. In

the e-mail, the executive indicated that Taro had been aware of Sandoz’s launch

and that Taro had just conceded two large customers to Sandoz, with the expectation of

relinquishing                                                                         of Taro called

CW-3 of Sandoz, likely to let him know that the customers had been conceded and confirm the

plan moving forward. They spoke twice that day, including one call lasting more than six minutes.




                                                 248
          908.       Sandoz was able to obtain most of its targeted market share quickly, without any

market disruption. By October 12, 2012, for example,                                                    , a senior sales and

marketing executive at Sandoz, provided a summary of the Desoximetasone launch, stating:




          909.       At that point, Sandoz decided it needed to obtain at least one more customer to meet

its market share goals. Internally, Sandoz discussed sending a message to Taro that

                                              On October 23, 2012, CW-1, CW-3 and Kellum scheduled a

conference call to discuss which customers to approach to

                                             at Taro and the two competitors spoke several times, including

two separate fifteen minute calls.

          910.       As a result of these conversations, Taro agreed to relinquish additional customers

to Sandoz. By February 2013, Sandoz had captured its original goal of 40% of the Desoximetasone

market, without any significant disruption.

          911.       Glenmark received FDA approval to sell Desoximetasone on September 20, 2013.

In the days and weeks leading up to the Glenmark launch, Perfetto of Taro was also communicating

with                        , a senior-most executive at Glenmark, through e-mail. Additionally, senior

sales executives from each company were speaking frequently to coordinate Glenmark’s entry,

including at least the following calls and text messages:

       Date          Call Type   Target Name                       Direction   Contact Name                 Time Duration
         8/15/2013   Voice       Blashinsky, Mitchell (Glenmark)   Incoming    Aprahamian, Ara (Taro)   13:33:00    0:08:00
         8/20/2013   Voice       Blashinsky, Mitchell (Glenmark)   Incoming    Aprahamian, Ara (Taro)    9:40:00    0:02:00
         8/20/2013   Voice       S.G. (Sandoz)                     Outgoing    D.I. (Glenmark)          13:45:00    0:01:00
         8/20/2013   Voice       S.G. (Sandoz)                     Outgoing    D.I. (Glenmark)          13:56:00    0:02:00
         8/21/2013   Voice       Blashinsky, Mitchell (Glenmark)   Outgoing    Aprahamian, Ara (Taro)   11:37:00    0:07:00
         8/22/2013   Text        CW-3 (Sandoz)                     Incoming    D.C. (Glenmark)          13:29:19    0:00:00
         8/22/2013   Text        CW-3 (Sandoz)                     Incoming    D.C. (Glenmark)          13:29:19    0:00:00
         8/26/2013   Voice       CW-3 (Sandoz)                     Outgoing    Aprahamian, Ara (Taro)   15:54:00    0:03:00



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      8/27/2013   Voice       Blashinsky, Mitchell (Glenmark)   Outgoing   Perfetto, Mike (Taro)     17:48:00     0:03:00
      8/28/2013   Voice       Blashinsky, Mitchell (Glenmark)   Incoming   Perfetto, Mike (Taro)     13:29:00     0:01:00
      8/28/2013   Voice       CW-3 (Sandoz)                     Outgoing   Aprahamian, Ara (Taro)    11:36:00     0:15:00
       9/4/2013   Voice       Blashinsky, Mitchell (Glenmark)   Outgoing   Taro Pharmaceuticals      15:08:00     0:01:00
       9/4/2013   Voice       Blashinsky, Mitchell (Glenmark)   Outgoing   Taro Pharmaceuticals      15:26:00     0:01:00
       9/5/2013   Voice       Blashinsky, Mitchell (Glenmark)   Outgoing   Aprahamian, Ara (Taro)    15:29:00     0:03:00
       9/6/2013   Voice       D.S. (Taro)                       Outgoing   CW-4 (Sandoz)             11:05:00     0:01:00
       9/6/2013   Voice       D.S. (Taro)                       Incoming   CW-4 (Sandoz)             11:07:00     0:10:00
      9/17/2013   Voice       Blashinsky, Mitchell (Glenmark)   Incoming   Taro Pharmaceuticals      11:24:00     0:01:00
      9/17/2013   Voice       Blashinsky, Mitchell (Glenmark)   Outgoing   Taro Pharmaceuticals      12:35:00     0:01:00


       912.       Glenmark’s approval came on Friday, September 20, 2013.                                   The following

Monday, there was a flurry of additional communications between the three competitors to

coordinate Glenmark’s entry.

       913.       The day after that, September 24, CW-3 of Sandoz spoke to Aprahamian at Taro

again for fifteen minutes. CW-3 then sent an e-mail to his superiors, including CW-1 and Kellum,

alerting them to the situation:



       914.       On September 26th, there was another torrent of phone calls between Glenmark,

Taro and Sandoz:

  Date         Call Type   Target Name                        Direction    Contact Name                Time      Duration
   9/26/2013   Voice        Blashinsky, Mitchell (Glenmark)    Outgoing     Aprahamian, Ara (Taro)       8:45:00    0:04:00
   9/26/2013   Voice        Blashinsky, Mitchell (Glenmark)    Outgoing     CW‐3 (Sandoz)               11:35:00    0:06:00
   9/26/2013   Voice        CW‐3 (Sandoz)                      Outgoing     Aprahamian, Ara (Taro)      15:22:00    0:15:00
   9/26/2013   Voice        Blashinsky, Mitchell (Glenmark)    Outgoing     Taro Pharmaceuticals        15:32:00    0:02:00
   9/26/2013   Voice        CW‐3 (Sandoz)                      Outgoing     Aprahamian, Ara (Taro)      15:44:00    0:01:00


       915.       During these calls, the competitors reached an understanding about which

customers Glenmark would target and what prices it would offer in order to avoid price erosion.

That same day, September 26, 2013, CW-5, a senior-most executive at Glenmark, described

Glenmark’s launch strategy as a

       916.       Because Taro still had a majority of the market share, it understood pursuant to the

collusive understanding that Glenmark would target Taro’s customers, and Taro would have to



                                                              250
relinquish market share to Glenmark as it entered. Internally, Taro executives commented that it



       917.    Taro began to concede customers to Glenmark immediately. By October 17, 2013,

CW-5 reported internally that Glenmark had already been able to obtain 30% market share for

Desoximetasone.

       918.    Because of the discussions between the competitors in advance, and because prices

remained high, Taro was not upset about conceding this business to Glenmark. Taro executives

continued to stress that



       919.    In early November 2013, Taro was approached by a customer to bid on

Desoximetasone as part of an RFP. In deciding whether to provide a bid, Taro executives noted

that the company had already                                        so that Glenmark could obtain

market share. Nonetheless, Taro still decided not to bid, stating



       OO.     Dexmethylphenidate HCL Extended Release

       920.    Dexmethylphenidate HCL Extended Release (“Dexmeth ER”) is a generic version

of the drug Focalin, and it is used to treat attention deficit hyperactivity disorder (ADHD).

       921.    As Sandoz was preparing to enter the market on the 40mg strength of Dexmeth ER

in February 2014, Patel of Teva spoke frequently with CW-1 at Sandoz about how to divide the

market so that Sandoz could obtain customers without significantly eroding the price. On February

10, 2014, for example, CW-1 began internal preparations to pursue the Rite Aid account for

Dexmeth ER 40mg. Later that night, CW-1 called Patel and the two spoke for more than thirteen




                                                251
minutes. On February 18, Patel left a voicemail for CW-1. That same day, Teva conceded the Rite

Aid account to Sandoz. Patel and CW-1 then spoke again by phone on February 20, 2014.

       922.    Similarly, on February 12, 2014, Sandoz submitted a bid to ABC for the 40mg

strength of Dexmeth ER. After Patel spoke with CW-1 on February 10 and again on February 12,

2014, Teva agreed to let Sandoz have the business. In an e-mail to her team on February 12, Patel

summarized the understanding that Teva had reached with Sandoz:




       923.    One of the Teva national account managers on the e-mail responded by confirming

that the approach

       924.    On February 14, 2014, Teva also refused to lower its price for Dexmeth ER when

approached by a GPO customer, Anda, even though Sandoz’s price was not significantly lower

than Teva’s – essentially conceding the business to Sandoz.

       925.    Further, on February 20, 2014, another large retail customer approached Teva

indicating that because a new competitor had launched for Dexmeth ER, the customer was entitled

to certain price protection terms (i.e., a lower purchase price for the drug). Patel spoke to CW-1

the same day for almost twenty-one minutes. The next day, February 21, Patel responded

internally about the customer’s request, with additional inside information from Sandoz, stating:




                                               252
       926.    Also on February 21, 2014, Patel sent a calendar invite to Rekenthaler and other

team members for a meeting on February 24 where one of the topics to be discussed was

                                                                                               Not

surprisingly, she called CW-1 a few days later, on February 27, to further coordinate about

Dexmeth ER.

       927.    Throughout this time period, Sandoz abided by the conspiracy’s principles and its

ongoing understanding with Teva. In February 2014, Sandoz’s target market share for varying

strengths of Dexmeth ER varied by how many manufacturers were in the market. Teva and Sandoz

were not alone in allocating customers for certain formulations of Dexmeth ER. The agreement

was also carried out by other manufacturers allowing Sandoz to take share from them. In February

2014, for example, as Sandoz was seeking share on the 15mg dosage strength of Dexmeth ER, Par

                                                           As Sandoz was entering the market,

Rekenthaler of Teva was speaking to              , a senior national account executive at Par, right

around the same times that Patel had been speaking to CW-1 – including two calls on February 10

(18 and 3 minutes), two calls on February 19 (2 and 22 minutes), and calls on February 24 and 25,

2014 – in order to effectuate the scheme.

       928.    The market allocation scheme between Teva and Sandoz on Dexmeth ER continued

through at least mid-2015. On May 6, 2015, for example, Teva declined to submit a bid to

Walgreens for Dexmeth ER 5mg on the basis that

               Similarly, on June 30, 2015, Sandoz declined to put in a bid to Managed Health

Care Associates, a large GPO, on Dexmeth ER 20mg, on the basis that Sandoz already had 57%

market share – greater than its sole competitor on this dosage strength, Teva. When a Sandoz




                                              253
national account representative communicated this decision to the customer, he lied and explained

that the decision not to bid was based on limited supply.

       PP.     Dextroamphetamine Sulfate Extended Release

       929.    Dextroamphetamine Sulfate Extended Release, also known by the brand name

Dexedrine® and sometimes referred to as “Dex Sulfate XR,” is a medication used to stimulate the

central nervous system in the treatment of hyperactivity and impulse control.

       930.    During the relevant time period, Actavis, Teva, Impax, and Mallinckrodt dominated

the market for Dex Sulfate XR capsules, with Teva having by far the largest share as the first

generic entrant. Additionally, during the period relevant to this Complaint, Aurobindo, Teva, and

Mallinckrodt were the primary manufacturers of Dex Sulfate XR tablets.

       931.    Impax prepared to enter the capsules market in August 2011 and communicated

these plans to Teva, which allowed Teva to increase prices substantially even prior to Impax’s

entry. Consistent with the conspiracy’s rules, Impax then entered the market at the

supracompetitive prices established by Teva.

       932.    In 2012, as Mallinckrodt entered the market for both capsules and tablets, internal

Teva documents acknowledged that Teva had                       (i.e., willingly) conceded a large

number of accounts for the drug to Mallinckrodt solely because it was entering the market and

sought to add share. Moreover, with respect to tablets, Teva increased prices substantially in

advance of Mallinckrodt’s entry, based on the assurances it received from Mallinckrodt that it

comply with the conspiracy’s rules. Indeed, internal Teva documents indicate that it repeatedly

conceded share to Mallinckrodt between 2012 and 2014, in order to ensure that Mallinckrodt

supported the conspiracy pricing.




                                               254
       933.    On June 19, 2014, as Actavis was entering the market for Dex Sulfate XR capsules,

Patel reviewed a profitability analysis for that drug and asked Rekenthaler what share of the market

Actavis was targeting. Rekenthaler responded:                 Rekenthaler knew Actavis’s market

share goals because he and Falkin of Actavis had spoken twice by phone that morning – once for

more than eleven minutes and again for more than nine minutes.

       934.    Five days later on June 24, 2014, Teva employee                     confirmed to her

colleagues in an e-mail that Actavis had entered the market for Dex Sulfate XR. She remarked

that Teva had a 72.2% share of this                       and thus recommended giving up a large

customer to Actavis and reducing Teva’s market share to           – in accordance with the industry

understanding to allocate the market, and Teva’s ongoing agreement with Actavis. Later internal

e-mails confirmed Teva’s decision to concede that customer to Actavis because



       935.    Once again, when Aurobindo entered the market for tablets in mid-2014, Teva

again conceded share to the new entrant, and communicated to Aurobindo which customers it

would concede. Moreover, these communications with Aurobindo overlapped with collusion

between the two companies (and others) with respect to Glyburide and other drugs during this

same timeframe.

       QQ.     Digoxin

       936.    The market for Digoxin is mature, as Digoxin has been available in the United

States for more than a decade. Generic Digoxin is prescribed to approximately 6.5 million patients

in the United States and it is considered an essential medicine by the World Health Organization.

Variants of the drug have been in existence since the 18th century. Because Digoxin was in




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existence prior to the 1938 passage of the Federal Food, Drug, and Cosmetic Act, the drug was

manufactured and sold by a large number of companies outside the NDA/ANDA process.

       937.    In 1997, GlaxoSmithKline obtained an NDA authorizing it to market Lanoxin, a

branded version of Digoxin. Because Digoxin was not a new chemical compound, its NDA

allowed for just a three-year period of exclusivity, and by 2003 there were at least eight

manufacturers of generic Digoxin in the United States, including Defendants Impax, Lannett,

Mylan, Par, and West-Ward.

       938.    During the relevant time period, Defendants Impax, Lannett, Mylan, Par, and West-

Ward sold Digoxin to Plaintiff, its assignor, and others in the United States at supracompetitive

prices inflated by the unlawful and anticompetitive agreements alleged in this Complaint.

       939.    At all times relevant to this lawsuit there has been more than one manufacturer of

Digoxin on the market. Defendants Impax, Lannett, Mylan, Par, and West-Ward dominate the

market for Digoxin.

       940.    Due to industry consolidation and manufacturing difficulties experienced by

Mylan, Par, and West-Ward, by the end of 2012, just Lannett and Impax remained active in the

market for generic Digoxin. Despite the existence of a duopoly, until October 2013, the price of

Digoxin charged by Lannett and Impax remained stable.

       941.    Beginning in October 2013, however, Defendants issued abrupt and substantial

price increases.

       942.    Defendants continued to increase the prices they charged to Plaintiff and others for

Digoxin during the first six months of 2014, despite Par’s entry into the Digoxin market in early

2014 and West-Ward’s re-entry soon after. Mylan also re-entered in early 2015 and followed the

pricing agreed to by the conspirators. Upon information and belief, Par, West-Ward, and Mylan



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each communicated their entry into the generic Digoxin market to their co-conspirators well in

advance of the date each entrant began marketing the drug, so that agreements could be reached

on price without any disruption to the prevailing supracompetitive prices.

          943.    By way of example, with respect to WAC pricing, in October 2013, Lannett and

Impax implemented lockstep WAC prices on their 0.125 mg products, reflecting increases of more

than 630%. Instead of competing on price, Par, West-Ward, and Mylan reported the same WAC

benchmarks as Lannett and Impax as they entered the market:

 Product                                         Old                       Date of     Percentage
                 Defendant         NDC                      New WAC
 0.125 mg                                        WAC                      Increase      Increase
 100 ct          Lannett        00527132401         $0.14        $1.19     16-Oct-13          734%
 1000 ct         Lannett        00527132410         $0.12        $0.99     16-Oct-13          738%
 100 ct          Impax          00115981101         $0.14        $1.19     22-Oct-13          734%
 1000 ct         Impax          00115981103         $0.12        $0.99     22-Oct-13          738%
 100 ct          Par            49884051401             *        $1.19     17-Jan-14              *
 1000 ct         Par            49884051410             *        $0.99     17-Jan-14              *
 100 ct          West-Ward      00143124001         $0.16        $1.19     14-Apr-14          638%
 1000 ct         West-Ward      00143124010         $0.13        $0.99     14-Apr-14          687%
 100 ct          Mylan          00378615501             *        $1.19    17-Nov-14               *
 1000 ct         Mylan          00378615510             *        $0.99    17-Nov-14               *

          944.    There were no legitimate justifications for these abrupt shifts in pricing conduct.

There were no drug shortages or supply disruptions which would cause large price spikes.

          945.    Defendants’ pricing of Digoxin is the exact opposite of what one would expect to

see in a competitive market, where the entry of new manufacturers brings the price down. Instead,

as a result of their collusion, Defendants’ pricing for Digoxin in the United States increased as the

number of “competitors” in the market grew. Thus, the pricing of Digoxin mirrors Defendants’




                                                  257
collusion on Glyburide, where Mylan, Heritage, and Mayne agreed to increase prices on the

diabetes drug in advance of the entry into the market by Heritage and Mayne.

       946.   In early 2015, Mylan re-entered the market and Defendants continued to adhere to

their anticompetitive agreements on pricing.

       947.   Upon information and belief, the price increases on Digoxin were the result of

collusive agreements between and among Defendants to increase pricing and restrain competition

for the sale of Digoxin in the United States. As a result, Defendants have sold Digoxin at

supracompetitive levels since October 2013.

       948.   These collusive agreements were furthered at least in part, through in-person

discussions conducted at meetings and industry events hosted by GPhA and HDMA as well as

other meetings and communications, some of which are described below.

       949.   For example, on April 20-23, 2013, NACDS held its 2013 Annual Meeting at the

Sands Expo Convention Center in Palm Beach, Florida.           This meeting was attended by

representatives from Defendants Mylan and Par. See Ex. 1.

       950.   On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida. This meeting

was attended by representatives from Impax, Lannett, Mylan, Par, and West-Ward. See Ex. 1.

       951.   On August 10-13, 2013, NACDS held its 2013 Total Store Expo at the Sands

Expo Convention Center in Las Vegas, Nevada. This TSE was attended by representatives from

Impax, Lannett, Mylan, Par, and West-Ward. See Ex. 1.

       952.   On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale,

Arizona. Representatives from Mylan and Par attended this meeting. See Ex. 1.




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       953.   On June 1-4, 2014, the HDMA held a BLC at the JW Marriott Desert Ridge in

Phoenix, Arizona. The meeting was attended by representatives from Impax, Lannett, Mylan,

Par, and West-Ward. See Ex. 1.

       954.   On August 23-26, 2014, NACDS held its 2014 TSE at the Boston Convention

Center in Boston, Massachusetts. This TSE was attended by representatives from Impax, Lannett,

Mylan, Par, and West-Ward. See Ex. 1.

       955.   On February 16-18, 2015 the National Pharmacy Forum (“NPF”) took place at the

Marriott Waterside Hotel & Marina in Tampa, Florida. The speaker topics included: “current

pricing and spending trends”; “a critique of the rationale for high prices offered by

manufacturers;” and “the U.S. pharmaceutical market and the ongoing changes within the

pharmaceutical world,” including “market trends.” The NPF was attended by representatives

of Defendants Mylan and West-Ward. See Ex. 1.

       956.   On April 25-28, 2015, NACDS held its 2015 annual meeting at The Breakers,

Palm Beach, Florida. This meeting was attended by representatives from Defendants Mylan,

Par, and West-Ward. See Ex. 1.

        957. Defendants continued to regularly attend trade association meetings, conferences

 and events in 2015-16, including: (a) the June 7-10, 2015 HDMA BLC in San Antonio, Texas;

 (b) the June 9-10, 2015 GPhA meeting in Bethesda, Maryland; (c) the August 22-25, 2015

 NACDS Total Store Expo in Denver, Colorado; (d) the November 2-4, 2015 GPhA meeting

 in Bethesda, Maryland; (e) the February 8-10, 2016 NPF meeting in Scottsdale, Arizona; (f)

 the April 12, 2016 HDMA Eighth Annual CEO Roundtable Fundraiser in New York; (g) the

 April 16-19, 2016 NACDS 2016 Annual Meeting in Palm Beach, Florida; (h) the June 12-




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 16, 2016 HDMA BLC in Colorado Springs, Colorado; and (i) the August 6-9, 2016 NACDS

 2016 Total Store Expo in Boston, Massachusetts.

        RR.    Diphenoxylate Atropine

        958.   Diphenoxylate Atropine, also known by the brand name Lomotil, is used to treat

and prevent diarrhea. During the period relevant to this Complaint, Mylan and Greenstone were

the primary manufacturers of Diphenoxylate Atropine tablets.

        959.   In April 2014, Mylan and Greenstone coordinated to impose substantial price

increases on Diphenoxylate Atropine tablets of more than 100%.

        960.   Senior sales executives from Mylan and Greenstone communicated directly with

each other in furtherance of the conspiracy. For example,                    of Mylan (the National

Account Director) communicated by phone with                        of Greenstone (the Director of

National Accounts), on April 3rd, 4th, 22nd, 28th and 29th. Mylan announced its WAC price

increases on April 17th.

        961.   When Greenstone followed the increase on June 2, 2014, with pricing that exactly

matched Mylan’s,                   of Greenstone again spoke to                   of Mylan on June

24th.

        962.   As a result of this collusion, Defendants charged supracompetitive pricing on

Diphenoxylate Atropine tablets to Plaintiff, its assignor, and others in the United States.

        SS.    Divalproex ER

        963.   The market for Divalproex ER is mature, as generic versions of the drug have been

available in the United States for almost a decade. Valproate, the base compound in Divalproex

ER, has been in use for more than a century and is recognized as an essential medicine by the

World Health Organization.



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       964.    In 1999, Abbot Laboratories received FDA approval to market Depakote ER, a

branded version of the drug.      Depakote ER was a blockbuster drug that achieved nearly

$1,000,000,000 in sales for Abbot.

       965.    Between January and May of 2009, Mylan, Zydus, and Par (through Anchen

Pharmaceuticals, its predecessor-in-interest) all received ANDAs authorizing them to market

Divalproex ER as generic versions of Depakote ER. Dr. Reddy’s sells Divalproex ER pursuant to

ANDAs approved by the FDA in March 2012.

       966.    During the relevant time period, Defendants Mylan, Zydus, Dr. Reddy’s and Par

sold Divalproex ER to Plaintiff, its assignor, and others in the United States at supracompetitive

prices inflated by the unlawful and anticompetitive agreements alleged in this Complaint.

       967.    At all times relevant to this lawsuit there has been more than one manufacturer of

Divalproex ER on the market. Defendants Mylan, Zydus, Dr. Reddy’s and Par dominate the

market for Divalproex ER.

       968.    Between 2009 and June 2013, Defendants’ prices for Divalproex ER remained

relatively stable. However, in early July 2013, Defendants implemented in unison abrupt and

substantial price increases on Divalproex ER. For example, Defendants increased the price for a

bottle of 500 pills at 250 mg strength from approximately $30 to more than $200 per bottle. Bottles

of 500 mg strength pills increased at even greater rates, increasing from approximately $130 per

bottle to more than $1600 per bottle, an increase of more than 1100%.

       969.    By way of example, with respect to WAC pricing, Mylan and Par set identical

WAC prices within a couple weeks of each other in June 2013; and Dr. Reddy’s and Zydus

matched those WACs in August 2013, around the time they each entered the market. As noted




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below, the new WACs for 100 and 500 count bottles of 500 mg pills reflected increases of more

than 300%:

  Product
                                                  Old                       Date of     Percentage
  500 mg          Defendant         NDC                     New WAC
                                                  WAC                      Increase      Increase
    ER
 100 ct          Mylan           00378047301        $0.74        $3.26      14-Jun-13         338%
 500 ct          Mylan           00378047305        $0.71        $3.26      14-Jun-13         361%
 100 ct          Par             10370051110        $0.74        $3.26      26-Jun-13         338%
 500 ct          Par             10370051150        $0.71        $3.26      26-Jun-13         361%
 100 ct          Zydus           68382031501            *        $3.26     14-Aug-13              *
 500 ct          Zydus           68382031505            *        $3.26     14-Aug-13              *
 100 ct          Dr. Reddy’s     55111053401            *        $3.26     19-Aug-13              *
 500 ct          Dr. Reddy’s     55111053405            *        $3.26     19-Aug-13              *

          970.    There are no legitimate justifications for the abrupt increases in 2013. Divalproex

ER was not listed on the FDA’s list of Current and Resolved Drug Shortages and Discontinuations

Reported to the FDA. Furthermore, the large price spike cannot be attributed to an increase in

demand. If anything, in defiance of rational economic behavior, demand for Divalproex ER was

actually decreasing when prices were increasing.

          971.    Upon information and belief, the price increases on Divalproex ER were the result

of collusive agreements between and among Defendants to increase pricing and restrain

competition for the sale of Divalproex ER in the United States. These collusive agreements were

furthered, at least in part, through in-person discussions conducted at meetings and industry events

hosted by GPhA and HDMA as well as other meetings and communications described below.

          972.    For example, on October 1-3, 2012, GPhA held a meeting in Bethesda, Maryland

which was attended by representatives from Dr. Reddy’s and Mylan. See Ex. 1.




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       973.   On February 20-22, 2013, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2013 GPhA Annual Meeting in Orlando, Florida. See Ex. 1.

       974.   On April 20-23, 2013, representatives of Dr. Reddy’s, Mylan, Par, and Zydus,

attended the NACDS 2013 Annual Meeting in Palm Beach, Florida. See Ex. 1.

       975.   Shortly before Mylan’s and Par’s Divalproex ER prices increased, Dr. Reddy’s,

Mylan, Par, and Zydus, attended the HDMA 2013 BLC in Orlando, Florida on June 2-5, 2013.

See Ex. 1.

       976.   On June 4-5, 2013, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2013 GPhA CMC Workshop in Bethesda, Maryland. See Ex. 1.

       977.   On August 10-13, 2013, representatives from Dr. Reddy’s, Mylan, Par, and Zydus,

attended the NACDS 2013 Total Store Expo in Las Vegas, Nevada. See Ex. 1.

       978.   On October 28-30, 2013, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2013 GPhA Fall Technical Conference in Bethesda, Maryland. See Ex. 1.

       979.   On February 19-21, 2014 representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2014 GPhA Annual Meeting in Orlando, Florida. See Ex. 1.

       980.   On April 26-29, 2014, NACDS held its 2014 Annual Meeting in Scottsdale,

Arizona. NACDS’s 2014 Annual Meeting was attended by representatives from Dr. Reddy’s,

Mylan, Par, and Zydus. See Ex. 1.

       981.   On June 1-4, 2014, the HDMA held a BLC in Arizona. This event was attended by

representatives from Dr. Reddy’s, Mylan, Par, and Zydus. See Ex. 1.

       982.   On June 3-4, 2014, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the 2013 GPhA CMC Workshop in Bethesda, Maryland. See Ex. 1.




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       983.   On August 23-26, 2014, NACDS held its 2014 Total Store Expo at the Boston

Convention Center. This Expo was attended by representatives from Dr. Reddy’s, Mylan, Par,

and Zydus. See Ex. 1.

       984.   On October 27-29, 2014, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the GPhA Fall Technical Conference. See Ex. 1.

       985.   On October 27-29, 2014, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the GPhA Fall Technical Conference. See Ex. 1.

       986.   On February 9-11, 2015, representatives from Dr. Reddy’s, Mylan, Par, and Zydus

attended the GPhA Annual Meeting in Miami Beach, Florida. See Ex. 1.

       987.   On June 9-10, 2015, representatives from Dr. Reddy’s, Mylan, Par, and Zydus,

attended the GPhA CMC Workshop. See Ex. 1.

       988.   On November 2-4, 2015, representatives of Dr. Reddy’s, Mylan, Par, and Zydus,

attended the 2015 GPhA Fall Technical Conference in North Bethesda, Maryland. See Ex. 1.

       TT.    Doxycycline

       989.   The Doxycycline market is mature, as generic Doxycycline – which includes

generic versions of branded Doxycycline such as Vibramycin, Vibra-Tabs, and Monodox – has

been available in the United States since the mid-1980s in tablet and capsule form. Doxycycline

has been designated by the WHO as an essential medicine. Doxy DR is the generic version of the

branded acne medication, Doryx, for which Warner Chilcott received an NDA in May 2005.

Although Doxy Hyclate and Doxy Mono are not bioequivalent drugs, doctors will often simply

write a prescription for Doxycycline, which allows pharmacists to supply consumers with either

Doxy Hyclate or Doxy Mono.




                                             264
       990.    Although there were, at one point, approximately 20 manufacturers of

Doxycycline, by early 2012, the primary manufacturers were Actavis, Par, Sun (including its

subsidiaries Mutual and Caraco), and West-Ward (for Doxy Hyclate), and Heritage, Lannett,

Mylan, and Par (for Doxy Mono). In 2012, Mylan received authorization to market both Doxy

Hyclate and Doxy DR. Because Mylan was the first generic manufacturer to receive an ANDA

for Doxy DR, it received 180 days of exclusivity as the sole authorized generic manufacturer, a

benefit that expired in early 2013. Mylan remained the only generic manufacturer of Doxy DR

until Heritage and Mayne entered the market in 2013. Historically, Doxy Mono cost more than

Doxy Hyclate, and for that reason, Doxy Hyclate was the most commonly used version of

Doxycycline.

       991.    Defendants Actavis, Heritage, Lannett, Mayne, Mylan, Par, Sun (including Mutual

and Caraco), and West-Ward each sold at least one variation of Doxycycline to Plaintiff, its

assignor, and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.

               1.     The Doxy Hyclate Collusive Price Increase

       992.    Although prices of Doxycycline had remained stable for several years, beginning

in approximately November 2012, Defendants implemented an abrupt and substantial price

increase across all doses of Doxy Hyclate. By May 2013, Defendants’ prices for Doxy Hyclate

increased on certain strengths by as much as 8,000%. For example, in mid-January 2013, West-

Ward and Sun raised prices for a bottle of 500 tablets of 100 mg strength Doxy Hyclate pills from

an average of less than $25 per bottle to approximately $2,000 per bottle.

       993.    Upon information and belief, the agreement to increase prices on Doxy Hyclate was

discussed at the GPhA meetings in October 2012 in Bethesda and February 2013 in Orlando. The



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October 2012 meeting was attended by Actavis, Teva, Sun, and Mylan, in addition to the other

conspiring Defendants identified in Exhibit 1. The February 2013 meeting was attended by

Actavis, Mylan, and Teva, in addition to the other conspiring Defendants identified in Exhibit 1.

          994.    By way of example, Defendants raised Doxycycline WACs on the 100 mg capsules

to identical benchmark prices over a two-week period reflecting increases of more than 2,500%:

  Product
                                               Old                      Date of      Percentage
  100 mg         Defendant        NDC                      New WAC
                                               WAC                     Increase       Increase
    cap
 50 ct           West-Ward     00143314250        $0.10       $4.43     21-Jan-13         4326%
 500 ct          West-Ward     00143314205        $0.10       $4.43     21-Jan-13         4370%
 50 ct           Actavis       00591544050        $0.10       $2.74      1-Feb-13         2515%
 500 ct          Actavis       00591544005        $0.10       $2.74      1-Feb-13         2663%
 50 ct           Sun           53489011902        $0.10       $4.92      5-Feb-13         4847%
 500 ct          Sun           53489011905        $0.06       $4.92      5-Feb-13         7844%

          995.    In addition, Defendants increased WACs on the 100 mg tablets within a few days

of each other, reflecting increases of more than 2,500%:

 Product
                                               Old          New         Date of     Percentage
 100 mg          Defendant        NDC
                                               WAC          WAC        Increase      Increase
   tab
 50 ct           Actavis      00591555350        $0.10        $2.74     1-Feb-13         2515%
 500 ct          Actavis      00591555305        $0.10        $2.74     1-Feb-13         2663%
 50 ct           Sun          53489012002        $0.09        $4.92     5-Feb-13         5631%
 500 ct          Sun          53489012005        $0.08        $4.92     5-Feb-13         6268%

          996.    In May 2013, after the price increases had been implemented, Teva discontinued

production of Doxy Hyclate – a product that it had manufactured for three decades. This act was

against Teva’s individual self-interest (given that pricing for Doxy Hyclate had been raised by

orders of magnitude above Defendants’ marginal costs) and in furtherance of Defendants’

conspiracy.


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       997.    By April 2014, DAVA launched Doxy Hyclate pursuant to an exclusive supply and

distribution agreement with Chartwell Therapeutics Licensing, LLC and Chartwell

Pharmaceuticals, LLC (“Chartwell”). Around this time, Endo was in discussions with DAVA to

acquire it, which it did in August 2014.

       998.    Following DAVA’s acquisition by Endo, Chartwell and Endo sued each other in

New York state court for alleged failures to comply with the terms of the supply and distribution

agreement for Doxycycline.19 Chartwell alleged that DAVA, DAVA’s former President Aram

Moezinia, and Endo (through its generics subsidiaries) were refusing to take delivery of

Doxycycline shipments from Chartwell despite the fact that there was demand for Doxycycline in

the market. Because Endo (through its generics subsidiaries including DAVA) refused to accept

the available Doxycycline supply, Chartwell attempted to rescind its agreement with DAVA in

order to find other generic drug marketers, which Chartwell claims it was able to accomplish.

       999.    Chartwell recognized that its supply of Doxycycline provided an opportunity to

“reduc[e] prices for consumers, all while earning significant profits.”          But Endo (and,

subsequently, Par) withheld Doxycycline supply from the U.S. market and priced its Doxycycline

at the supracompetitive price of its co-conspirators. Chartwell suggested a reason for Endo’s

economically irrational decision to withhold additional Doxycycline supply when there was ample

demand in the market. It accused Endo and its generic subsidiaries of engaging in an illegal price-

fixing and market allocation scheme: “Having bought DAVA, Endo implemented its withhold-

and-price-gouge scheme, did virtually nothing to sell the Chartwell Entities’ Doxycycline, and, in

collusion with its alleged ‘competitors,’ set Doxycycline’s price at the exact same level its


______________________
      19
             See Dava Pharm., LLC v. Chartwell Therapeutics Licensing, LLC, Index No.
502775/15 (N.Y. Supreme Court, County of Kings).


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competitors were charging for the drug.” (Emphasis in original). Chartwell further alleged that

“DAVA and Moezinia dedicated efforts to withhold [Doxycycline] from the marketplace..., to

keep the overall price of Doxy high.” (Emphasis in original). For example, Chartwell cited an e-

mail dated on or about July 11, 2014 where Moezinia e-mailed Chartwell and stated that DAVA’s

plan was to sell Doxycycline “slowly not to disturb pricing.” Upon information and belief, all

actions taken by DAVA as described in Chartwell’s complaint were done at the direction of Endo

and targeted at the U.S. market.

       1000. Chartwell sought discovery of the materials that Par and Endo have produced to the

DOJ and the States. Notably, the regulators’ inquiries to Endo have focused on at least three drugs

that Endo acquired rights to via DAVA: Doxy Hyclate, doxazosin mesylate, and methotrexate

sodium. Chartwell and Endo settled their claims in November 2016.

               2.     The Doxy Mono Collusive Price Increase

       1001. In February 2013, because the abrupt and substantial price increase on Doxy

Hyclate led it to cost more than Doxy Mono, large purchasers of Doxycycline (such as Plaintiff)

began to increase their purchases of Doxy Mono, so that they could supply their customers with

the cheaper drug.    In February and March of 2013, Heritage and Lannett recognized this

opportunity to implement a substantial collusive price increase on Doxy Mono as well.

       1002. In February 2013, Heritage believed that demand for some Doxycycline products

was increasing, and wanted to use this as a pretext to raise the prices of Doxy Mono. Accordingly,

Heritage began reaching out to Lannett, Mylan, and Par to institute a price increase for Doxy

Mono. These pricing discussions occurred at the same time as Heritage and Dr. Reddy’s were

discussing pricing and market share for Zoledronic Acid and Meprobamate, as discussed below.




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       1003. Starting in March 2013, Heritage’s                    , began communicating with

Lannett about pricing for Doxy Mono.

       1004. On March 7, 2013,           spoke with a senior sales executive from Lannett, Tracy

Sullivan by telephone for approximately fourteen minutes, and executives from both companies

followed up on March 13, 2013, through e-mail and a five-minute phone call.

       1005. Throughout the next several months,              and Sullivan communicated about

Doxy Mono by phone, text message, and in person.

       1006. On April 25, 2013,           and Sullivan spoke on the phone for more than eight

minutes.

       1007. Heritage’s           and Lannett’s Sullivan attended a conference together on May

14, 2013. At the conference, they discussed a possible price increase on Doxy Mono.

       1008. On June 4, 2013,           called and texted with another Lannett employee,

       a Director of National Accounts at Lannett.

       1009. Upon information and belief, these communications resulted in an agreement

between Heritage and Lannett to increase prices on Doxy Mono by approximately 400%.

       1010. However, before they could implement the price increase, Lannett and Heritage had

to confirm that Mylan and Par were on board as well. During a series of industry events in May

and June, executives from all four companies met in person to discuss the Doxy Mono price

increase. Lannett agreed to lead the price increase on June 12, 2013, and communicated this

intention to Mylan, Par, and Heritage. For example, a Lannett executive,            , met with a

Heritage executive,       , to discuss the price increase during a trade association event on June

4. Sales executives from Mylan,                  , and Par,                 , spoke several times

about the price increase by telephone on June 7, and on June 11, a Heritage executive,       , and



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a Mylan executive,            spoke by phone, while Lannett’s Sullivan and a Par’s

communicated through at least nine text messages. The following day, when Lannett announced

the price increase, Lannett’s Sullivan and Par’s          texted at least another nine times.

        1011. Upon information and belief, these communications by Mylan, Par, Lannett, and

Heritage resulted in an agreement that each would follow Lannett’s price increase of

approximately 400% on Doxy Mono, which each Defendant did. For example, Par provided

instructions to its sales employees to begin implementing the price increase on August 13, 2013.

And upon information and belief, Mylan began announcing price increases on Doxy Mono to

customers during Summer 2013 as well.

        1012. Although Heritage had supply chain issues for Doxy Mono for a brief period in

2013 (and had to delay the implementation of the price increase), these issues arose after

Defendants had reached the agreement to increase prices. By October 2013, Heritage began

announcing the price increase on Doxy Mono and fully implemented the price increase by March

2014.

        1013. Additionally, during the period that it delayed announcing the price increase,

Heritage continued to speak with Lannett, Mylan, and Par to ensure that it remained committed to

the price increase, notwithstanding its delay in implementation. For example, Heritage’s

met with Par’s            and Lannett’s Sullivan at a conference in August 2013, and Par, Mylan,

Lannett, and Heritage continued to communicate about the pricing of Doxy Mono throughout the

Summer of 2013. Additionally, consistent with the overarching agreement that governed each

Defendant’s market share of each drug in the industry, Mylan, Heritage, and Par agreed to refrain

from competing for any of Lannett’s Doxy Mono business after Lannett led the price increase.




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               3.     Collusion on Doxy DR

       1014. With respect to Doxy DR, as the sole generic manufacturer of the drug for a period

of time in 2012, Mylan was able to charge a supracompetitive price during the period of generic

exclusivity. (As explained in ¶ 80, the FDA estimates that, in a market with one generic

manufacturer, the generic drug will typically sell at 94% of the branded drug.)

       1015. In April 2013, Malek and then-Heritage CEO Jeffrey Glazer traveled to India and

met with two executives of Heritage’s parent company, Defendant Emcure, to discuss, among

other things, their plans to enter the Doxy DR market and to coordinate how Heritage and Mylan

could minimize competition between them. It was decided that Satish Mehta, the CEO of Emcure,

would reach out first to a high-level counterpart at Mylan, Rajiv Malik, in order to facilitate

subsequent communications between Glazer and Malek and their Mylan counterparts.

       1016. Beginning in May 2013, Heritage reached out to Mylan for the purpose of colluding

to allocate the Doxy DR market without disturbing the supracompetitive price. On May 2, 2013,

Malek of Heritage contacted a senior executive at Mylan through the social networking website

LinkedIn, and on May 7 and 8, 2013, Glazer of Heritage spoke with Rajiv Malik senior executive

by e-mail and then by telephone, first writing: “Rajiv: Would like to schedule a time for a call to

catch up and discuss some recent Heritage news. Please let me know when you are available and

we'll pencil it in.” Malik responded with a phone number where he could be reached in England,

and the two spoke the next day.

       1017. Upon information and belief, these discussions between Glazer and Malik – which

were facilitated by Satish Mehta of Emcure – resulted in an agreement that Mylan would concede

significant business in the Doxy DR market that accounted for approximately 30% of that market.




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Malik noted that Mylan was agreeing to concede this business to Heritage because Heritage had

previously agreed to concede market share to Mylan for another generic drug.

       1018. In July 2013, Heritage began to sell Doxy DR to Plaintiff, its assignor, and others

in the United States subject to the terms of its unlawful agreement with Mylan. Again, Satish

Mehta of Emcure spoke with Rajiv Malik of Mylan on July 18, 2013, to coordinate Heritage’s

entry into the market. Following Mehta’s entreaty, Glazer spoke with Malik again to finalize the

details. Following these calls between Mehta, Glazer, and Malik, Mylan arranged to put in a bid

at Walgreens that it knew would be above Heritage’s bid, so that Heritage could take this business

without eroding the market price.

       1019. In January 2014, Mayne informed Heritage and Mylan that it planned to enter the

Doxy DR market as well. For example, a senior executive from Mayne spoke with a senior

executive from Heritage on January 7, 2014, about making room for Mayne in the market

allocation agreement between Heritage and Mylan.

       1020. Senior executives from Heritage, Mylan, and Mayne communicated frequently via

e-mail, text, and phone about their collusive market allocation agreement throughout 2014.

Executives from Heritage and Mayne also met in person at the American Society of Health System

Pharmacist’s conference in Anaheim, California in December 2014.

       1021. Mayne, Emcure, Heritage, and Mylan continued to adhere to their collusive

agreements. For example, in May 2014, Heritage walked away from a large account so that Mayne

could win the bid. Similarly, in January 2015, Heritage submitted a bid to Econdisc, a group

purchasing organization, which it knew would be above Mayne’s bid, so that Mayne could win

the Econdisc business.




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       1022. As a result of their collusion, the price in the United States for Doxy DR has

remained at elevated and supracompetitive levels since 2013, despite the entry of two additional

generic manufacturers. Indeed, whereas the FDA study mentioned in ¶ 80 would predict a market

price of 44% of the branded price, Mylan, Emcure, Heritage, and Mayne, charged Plaintiff the

same or similar price that Mylan charged during its period of generic exclusivity. Accordingly,

Plaintiff has paid substantial overcharges to Defendants on Doxy DR.

       1023. The market allocation agreement on Doxy DR and the price-fixing agreements on

Doxy Hyclate and Doxy Mono resulted in customers in the United States – including Plaintiff and

its assignor paying supracompetitive prices for Doxy DR, Doxy Hyclate, and Doxy Mono.

       UU.    Drospirenone and ethinyl estradiol (Ocella)

       1024. Drospirenone and ethinyl estradiol, commonly known by the brand name Ocella®,

is a pair of drugs used in combination as an oral contraceptive. This drug is also marketed under

the brand names Yaz, Yasmin and Gianvi.

       1025. Barr Pharmaceuticals received approval to market generic Ocella in 2008, and Teva

continued to market the drug after the acquisition of Barr in 2011 under the name Gianvi.

       1026. In late 2012, Lupin received approval to market a generic Ocella product.

       1027. By April 2013, Lupin was making plans for a summer 2013 entry into the market

and contacted Teva to initiate negotiations on how the competitors would allocate customers

between themselves. On April 24, 2013, Berthold of Lupin called Green at Teva. The two spoke

for over three minutes. Berthold called Green two more times the following day.

       1028. The negotiations intensified the following week among Teva, Lupin, and a third

competitor – Actavis. In preparation, on April 29, 2013,           of Teva asked a colleague for




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current market share figures along with a list of Teva’s generic Ocella customers. The colleague

responded with a customer list, estimating Teva’s current share of the market at 70-75%.

       1029. The next day, April 30,                 , a senior sales and marketing executive at

Actavis, and              of Teva spoke twice by phone. That same day, Patel of Teva also called

        On May 1, Patel sent        four text messages.

       1030. The competitors’ communications continued into early May. On May 6, Patel and

Berthold spoke twice by phone; the second call lasting twenty-two minutes. Green and Berthold

also spoke that same day. On May 7, Patel and Berthold had yet another call, this one lasting over

ten minutes. Patel also placed a call to Rogerson at Actavis, which lasted thirty-nine seconds.

       1031. Faced with the news it had received from a major customer on May 8 – that Actavis

had bid for that customer’s business for generic Ocella – Teva doubled down on its efforts to reach

a deal with its competitors that would prevent competition betweem them. Patel called Rogerson

on May 8, and they spoke for nineteen minutes. On May 9, Green spoke with Berthold twice, for

one and twelve minutes, respectively.

       1032. The following day, Teva’s                 complied with Rekenthaler’s request for an

analysis of the business Teva would lose by conceding its two major customers for this drug to

Actavis and/or Lupin. Armed with that analysis, Patel spoke to Berthold three times that afternoon

– with one call lasting over seventeen minutes. Patel also called Rogerson at Actavis and the two

spoke for more than five minutes.

       1033. On May 14, 2013,                  of Teva recommended to Rekenthaler that Teva

concede the business to Actavis. Rekenthaler replied simply:




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       1034. On July 10, 2013, Green spoke to Berthold twice (for more than eight minutes and

more than two minutes). After the first of those calls, Green requested specific information from

a colleague to help him continue to negotiate with Lupin:




       1035. Later that day, Green called and spoke to Patel for more than seven minutes,

conveying what he had learned from Berthold. During that call, the two decided that Patel would

call Berthold back and confirm the agreement between Teva and Lupin. Patel called Berthold

shortly after and the two spoke for more than four minutes. They spoke again first thing the next

morning, for nearly one minute.

       1036. The next day, Patel e-mailed Green, saying:

                                                                        Patel confirmed that she

had indeed called her counterpart at Lupin:

       1037. Discussions between Teva and Lupin continued on July 17, 2013 with a call

between Green and Berthold that lasted twenty minutes.

       1038. On July 29, 2013, Green announced to his colleagues:



       1039. The lines of communication between competitors Teva and Lupin remained open

and active over the next few months as they worked on the details of which company would take


                                              275
which generic Ocella accounts. On September 5, 2013, for example, Rekenthaler conveyed to a

colleague the importance of retaining a particular customer’s account, along with his

understanding of Green’s discussions with Berthold about Lupin’s desired market share. Green

spoke to Berthold by phone twice the following day to confirm the understanding between the two

companies.

       1040. On September 9, 2013,                of Teva sent an internal e-mail to his colleagues

conveying his thoughts about Lupin’s bid for a portion of another customer’s generic Ocella

business. He informed them that because Teva had secured two other significant customers,



       1041. In mid-October 2013, as Teva and Lupin finalized the allocation of accounts

between them,             sent a word of caution to a co-worker, reminding her of the parameters

of the furtive arrangement. He told her to be careful before conceding large customers on a

      rather than drug-by-drug in order to



       VV.      Econazole

       1042. The market for Econazole is mature, as Econazole has been available in the United

States for almost 20 years. Defendants Taro and Fougera sell generic Econazole pursuant to

ANDAs approved by the FDA in November 2002. Perrigo sells Econazole pursuant to an ANDA

approved in 2004. Teligent sells Econazole pursuant to an ANDA it acquired in February 2013.

       1043. During the relevant time period, Defendants Sandoz/Fougera, Perrigo, Taro, and

Teligent sold Econazole to purchasers throughout the United States.

       1044. At all times relevant to this lawsuit there has been more than one manufacturer of

Econazole on the market. Defendants sold Econazole to Plaintiff, its assignor, and others in the



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United States at supracompetitive prices inflated by the unlawful and anticompetitive agreements

alleged in this Complaint.

       1045. Between 2009 and September 2013, Defendants’ prices for Econazole remained

relatively stable. However, beginning in September 2013 and continuing thereafter, Defendants

began implementing abrupt and substantial price increases on Econazole.

       1046. Between September 2013 and the Summer of 2014, Econazole, which had cost

roughly 12 cents/unit shot up to more than four dollars/unit.

       1047. This skyrocketing price cannot be explained by supply shortages or other market

events. The only material change in the months preceding the price increases was Teligent’s entry

into the market.

       1048. On February 1, 2013, Teligent acquired an ANDA for Econazole from Prasco LLC.

During that month, the CEO of Teligent attended trade conferences with Perrigo and Taro, where

the three Defendants had an opportunity to discuss Teligent’s entry into the market.

       1049. During this same time period, Teligent also became interested in entering the

market for other generic pharmaceuticals. Teligent launched its first topical generic drug in late

2012, followed by its acquisition of the Econazole ANDA in February 2013. By September 2013,

Teligent had 12 ANDAs pending for FDA approval. By June 20, 2014, that number had jumped

to 17, with four additional ANDAs submitted under joint-development plans with other

manufacturers and another five ANDAs planned for submission by the end of 2014.

       1050. When Teligent acquired the right to sell Econazole from Prasco LLC, it was the

beginning of a publicly announced plan that would place Teligent in direct competition with Taro

and Perrigo across numerous drugs. Teligent now makes 20 topical drugs. Seventeen of these

drugs are also made by Taro; fifteen are made by Perrigo.



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        1051. Teligent launched Econazole under its own label in September 2013.               In a

competitive generic drug market, new market entrants typically price their product below the

prevailing market price in order to gain market share. Teligent, however, announced a list price

(WAC) increase in July 2013, even before its first sale of Econazole under its own label. Rather

than competing for market share by lowering prices, Teligent made the economically irrational

decision to raise prices. Upon information and belief, Teligent’s conduct reflected an agreement

with Perrigo, Fougera, and Taro that Teligent would enter with higher – rather than lower – prices

in exchange for the incumbents’ promise to cede market share to Teligent.

        1052. On October 28-30, 2013, right before Teligent’s higher prices took effect in the

marketplace, representatives from Perrigo, Taro, Fougera and Teligent, met at a GPhA conference

where they had an opportunity to discuss Econazole market shares and pricing. See Ex. 1.

        1053. By January 2014, Teligent’s effective pricing for Econazole was more than double

that of Perrigo and Taro. Pursuant to their agreement, the incumbents also matched Teligent’s

high prices.

        1054. In February 2014, Perrigo began to increase its effective prices, and by March,

Perrigo’s effective prices had risen to the level of Teligent’s prices. Taro’s prices remained

relatively stable, but that changed after representatives from Perrigo, Teligent, and Taro, met at

the June 3-4, 2014 GPhA meeting in Bethesda, Maryland.

        1055. Consistent with their price-fixing agreement, in mid to late 2014, Teligent, Perrigo,

and Taro each implemented abrupt and substantial price increases on the Econazole products they

sold to Plaintiff, its assignor, and others in the United States in lockstep.

        1056. In June 2014, Perrigo began planning a price increase. On June 17, 2014, Boothe

of Perrigo called a Taro employee – likely Perfetto – and they spoke for forty-five minutes.



                                                  278
        1057. One week later, on June 25, 2014,                 , a sales executive at Taro, sent an

internal e-mail stating that

         and suggested bidding at Associated Pharmacies. On July 8, 2014, Taro put together an

offer for that customer. With regard to Taro’s pricing for the bid, Aprahamian stated:

                                                                                       Notably, the

price of Econazole had not yet gone up – and would not do so for another several weeks.

        1058. On July 18 and July 19, 2014, Boothe of Perrigo and Perfetto of Taro exchanged

three short calls. The next business day, on July 21, 2014, the two competitors spoke for twenty-

six minutes. On July 22, 2014,            of Perrigo spoke with S.M., a sales executive at Teligent,

for more than five minutes. Three days later, on July 24, 2014, Boothe called Perfetto again. The

call lasted two minutes. Perfetto returned the call and the two competitors spoke for seven minutes.

        1059. That same day, on July 24, 2014, Perrigo instituted a dramatic price increase for

Econazole. Customers saw increases ranging from 637% to 735%.

        1060. That morning, Aprahamian notified his colleagues at Taro of the development. He

instructed them not to capitalize on any opportunities that might come Taro’s way as a result of

Perrigo’s price increase, saying:

                                                Aprahamian further instructed his team to increase

Taro’s Econazole price to GPOs to $0.02 under its WAC price with just five days’ notice for all

such customers.



        1061. The next day, on July 25, 2014,                       , a Taro sales executive, placed

two calls to                     at Teligent.          called             again on August 12, 2014




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and they spoke for nearly five minutes. The next day, on August 13, 2014, Perfetto spoke with

Boothe for eleven minutes.

         1062. The coordination among the competitors bore fruit quickly. Just two weeks later,

on September 1, 2014, Teligent increased its WAC prices for Econazole to match Perrigo.

         1063. Taro’s price increases followed two months later, on November 18, 2014.

         1064. With respect to WAC pricing, Taro, Teligent, and Perrigo raised their WACs to

identical prices, reflecting increases of more than 600%:

  Product                                      Old                      Date of     Percentage
               Defendant        NDC                         New WAC
   CRM                                         WAC                     Increase      Increase
 15 gm        Perrigo         45802046635        $0.79         $5.80    24-Jul-14         637%
 30 gm        Perrigo         45802046611        $0.69         $5.80    24-Jul-14         736%
 85 gm        Perrigo         45802046653        $0.50         $4.09    24-Jul-14         719%
 15 gm        Teligent        52565002215        $0.82         $5.80    1-Sep-14          610%
 30 gm        Teligent        52565002230        $0.72         $5.80    1-Sep-14          704%
 85 gm        Teligent        52565002285        $0.52         $4.09    1-Sep-14          688%
 15 gm        Taro            51672130301        $0.66         $5.80   18-Nov-14          779%
 30 gm        Taro            51672130302        $0.59         $5.80   18-Nov-14          890%
 85 gm        Taro            51672130308        $0.42         $4.09   18-Nov-14          871%

         1065. By May 2015, Sandoz was making plans to re-enter the Econazole market, attracted

by the fact that the other players had instituted price increases. CW-3 advocated a re-launch

strategy that considered the conspiracy’s principles as well as Sandoz’s ongoing understanding

with Perrigo. He advised his colleagues:



         1066. On October 1, 2015, a Sandoz launch executive e-mailed CW-3 seeking intel on

current prices for various customer accounts in anticipation of the upcoming Econazole re-launch.

Less than an hour later, CW-3 called          at Perrigo and they spoke for twenty-seven minutes.



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       1067. Later that day, CW-3 responded to his colleague’s e-mail with details of Perrigo’s

pricing at Morris & Dickson. Not wanting to put additional details about his conversation with

        in writing, CW-3 copied CW-1, and wrote



       1068. On November 30, 2015, Sandoz bid on the Econazole business at Morris &

Dickson. Perrigo, however, refused to cede the business to Sandoz because it had already given

up one customer to the new entrant and was not inclined to hand over another.

       1069. Intent on working out a deal with the market share leader, CW-3 and              of

Perrigo exchanged four calls on December 16, 2015. The next day, on December 17, 2015, Sandoz

contacted Morris & Dickson and convinced the customer to consider a revised offer from Sandoz.

This time, Perrigo ceded the customer to Sandoz. Despite the fact that Perrigo initially fought

Sandoz on its attempt to take Perrigo’s market share, Sandoz did not target accounts held by

Teligent because this would not have been consistent with the conspiracy’s rules.

       1070. When Sandoz’s re-launch of Econazole finally came to fruition in late 2015, it

matched its competitors’ increased WAC prices.

       1071. Upon information and belief, the Defendants further coordinated this collusion at

numerous trade association meetings that each attended between 2013 and 2016. See Ex. 1.

       1072. Additionally, a number of individuals with leadership roles at Teligent have ties to

other Defendants that are implicated in the conspiracy. For example, Jason Grenfell-Gardner

joined Teligent as CEO in July 2012. Prior to that time, he had served in a number of roles at

West-Ward. Damian Finio, who worked with Grenfell-Gardner at West-Ward, served briefly on

Teligent’s Board in 2014 before leaving that job to become the CFO of Heritage. In 2018, he

returned to Teligent and is now Teligent’s CEO. Carole Ben-Maimon joined the Teligent Board



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in 2016. She has held leadership positions at Impax, Par, and Teva. Narendra Borkar served on

the Board of Teligent and is the former CEO of Aurobindo and Caraco (now part of Sun). Bhaskar

Chaudhuri served on the Teligent Board and previously worked for Valeant and Mylan.

       WW. Enalapril Maleate

       1073. Enalapril Maleate (“Enalapril”), also known by the brand name Vasotec, is a drug

used in the treatment of high blood pressure and congestive heart failure.

       1074. In 2009, Taro discontinued its sales of Enalapril under its own label and effectively

exited the market.    It continued supplying Enalapril thereafter only to certain government

purchasers under the “TPLI” label.

       1075. By mid-2013, the Enalapril market was shared by three players: Mylan with 60.3%,

Wockhardt with 27.5%, and Teva with 10.7%. Those three companies coordinated a significant

anticompetitive price increase for Enalapril in July 2013.

       1076. Shortly before the Teva and Wockhardt price increases, on or about July 12, 2013,

Aprahamian, the Vice President of Sales and Marketing at Taro, was considering whether to renew

or adjust Taro’s price on Enalapril for its national contract (for government purchasers), which

was slated to expire in September 2013.

       1077. In the midst of that coordinated price increase, however, Aprahamian was

communicating with both Patel of Teva as well as                   , a senior sales and marketing

executive at Wockhardt, about Enalapril. As a result of those conversations, Taro’s plans changed.

       1078. On July 17, 2013 – the same day that Teva was taking steps to implement the price

increase – Patel called Aprahamian and left a message. He returned the call and the two spoke for

almost fourteen minutes. Then, on July 19, 2013 – the day that both Teva and Wockhardt’s price

increases for Enalapril became effective – Aprahamian called           at Wockhardt on his office



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phone and left a message. He then immediately called                  cell phone, which

answered. They spoke for nearly eleven minutes.

       1079. On the morning of July 19, Aprahamian sent an internal e-mail to Taro colleagues

signaling a change in plans:




       1080. Aprahamian followed up with another e-mail shortly after, adding that Taro




       1081. In the coming months, both Teva and Taro engaged in intensive analyses of how

the market should look after Taro’s re-launch so that each competitor would have its desired, or

“fair,” share of the market.

       1082. On July 31, 2013, for example, Patel provided her analysis of the drugs Teva should

bid on in response to a request for bids from a major customer, which was largely based on whether

Teva had reached its market share targets. Enalapril was one of the drugs for which, according to

Patel, Teva was                  so she authorized the submission of a bid. Prior to sending that

e-mail, Patel had spoken to Aprahamian on July 30 (11 minute call) and July 31, 2013 (4 minute

call). Based on the agreement between the two companies, Taro understood that it would not take




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significant share from Teva upon its launch because Teva had a relatively low market share

compared to others in the market.

       1083. Meanwhile, as he worked on pricing for Taro’s upcoming re-launch, Aprahamian

emphasized to his colleagues that Taro’s final prices would be set largely based on



       1084. In early December 2013, Taro was fully ready to re-enter the Enalapril market. On

December 3, 2013, Aprahamian consulted twice by phone with Mylan’s senior account executive,

                , during conversations of two and eleven minutes.

       1085. On December 4, 2013, one customer that had recently switched from Wockhardt to

Teva expressed an interest in moving its primary business to Taro for the 2.5mg, 5mg, 10mg, and

20mg strengths. At 4:30 p.m. that afternoon, Aprahamian instructed a colleague to prepare a price

proposal for that customer for all four products.

       1086. Before sending the proposal to the customer, however, Aprahamian sought the

input of his competitor, Teva. On December 5, 2013, he and Patel spoke by phone for nearly five

minutes.

       1087. Taro’s fact sheet for the Enalapril re-launch generated on the day of Aprahamian’s

call with Teva showed a                               of 15%, with pricing identical to Teva’s and

nearly identical to Wockhardt’s and Mylan’s.

       1088. Taro began submitting offers on Enalapril the following day, December 6, 2013.

But even with the bidding process underway, Aprahamian made certain to communicate with

Mylan’s         during a brief phone conversation that afternoon. This particular communication

was important since Mylan was the market share leader and Taro was targeting more of Mylan’s

customers than those of other competitors.



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       1089. Over the next ten days, the discussions between Taro and Mylan continued over

how to allocate the Enalapril market. Aprahamian and         talked for ten minutes on December

11, and for seven minutes on December 12.

       1090. Thereafter, and with the likely consent of Mylan, Aprahamian reported on an

internal Sales and Marketing call on December 16, 2013, that Taro’s prior target Enalapril market

share goal of 15% had been raised to 20%.

       1091. Taro continued to gain share from both Mylan and Wockhardt, and to coordinate

with both. For example, in late December, Taro submitted a competitive offer to Morris &

Dickson, a Wockhardt customer. This caused                  of Wockhardt to call Aprahamian on

December 31, 2013, to discuss the situation. During the call,            agreed that so long as

Wockhardt was able to retain McKesson as a customer, it would concede Morris & Dickson to

Taro. In an e-mail on January 2, 2014,                 of Wockhardt conveyed the details to his

colleagues:




       1092. By May 2014 the market was stable, and market share for Enalapril was reasonably

distributed among the companies. As Teva was considering whether to bid on specific drugs for

an RFP sent out by a large wholesaler customer, Patel provided the following caution with regard

to Enalapril:                                                                          The same




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day she sent that e-mail – May 14, 2014 – Patel spoke to Aprahamian for more than four minutes,

and exchanged eight text messages with him.

        1093. By June 2014, Taro had obtained 25% market share for Enalapril in a 4-player

market. Mylan and Teva each had approximately 28% market share.

        1094. In January 2015, Aprahamian conducted a market analysis of Enalapril and noted

that Teva might be leaving the market, but that Oceanside/Valeant would be                 In reality,

Valeant had always sold a small amount of Enalapril, with a market share of less than 1%. But

Valeant was able to get word to Aprahamian in January 2015 of its future plans, even though it did

not ramp up production of the drug until December 2015. Leveraging Teva’s exit from the market,

the competitors allowed Valeant to take the share forfeited by Teva, and in December 2015,

Valeant sold more Enalapril tablets than either Mylan or Taro, despite the fact that its market share

was less than 1% just a few months prior. Additionally, Valeant was able to ramp up production

substantially without disturbing price because it knew from its competitors which accounts to

target. Moreover, upon ramping up production, Valeant began charging prices that were higher

than the other competitors.

        1095. Moreover, as discussed earlier with respect to Captopril, Mylan agreed to concede

market share to Wockhardt for Enalapril after it exited the Captopril market, and as a result,

Wockhardt received the largest market share on Enalapril. Accordingly, as a result of the

conspiracy, Defendants were able to charge supracompetitive pricing on Enalapril tablets to

Plaintiff, its assignor, and others in the United States.

        XX.     Entecavir

        1096. Entecavir, also known by the brand name Baraclude, is a medication used to treat

chronic Hepatitis B.



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       1097. As Teva was preparing to enter the market for Entecavir in August 2014,

a senior sales and business relations executive at Teva, informed an executive at WBAD that Teva

was planning on launching Entecavir            depending on when the FDA approved the drug.




       1098. On August 28, 2014, Rekenthaler informed Teva sales employees that Teva had

received approval on Entecavir and would circulate offers later that day or the next day.

Rekenthaler noted:




       1099. The same day, August 28, 2014, Rekenthaler had three phone calls with

        a senior national account executive at Par. The two spoke two more times the next day,

August 29, 2014.

       1100. On August 29, a Teva sales employee reported that a customer had informed her

that Par was launching Entecavir at a lower price point than Teva. The employee inquired whether

Teva might consider reducing its price as well. Rekenthaler, after speaking with            at Par

several times on August 28 and 29, replied that Teva would remain firm on the price and noted

that he was                                         Despite Teva’s refusal to lower its price, that

customer signed an agreement with Teva to purchase Entecavir.



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        1101. Also on August 29, Rekenthaler e-mailed              asking if she had received any

feedback from CVS on Entecavir.             replied that she had not, and followed up later saying

that ABC had indicated that it would sign Teva’s offer letter. Rekenthaler replied:




        1102. Teva and Par both launched their respective Entecavir products on September 4,

2014.   Within days of its launch, Teva had captured 80% of the market for new generic

prescriptions and 90.9% of the total generic market (new prescriptions and refills).

        1103. Within a few weeks, however, Teva’s share of the market was much more in line

with the conspiracy’s principles – 52.6% for new generic prescriptions, and 47% of the total

generic market (new prescriptions and refills).

        1104. On October 9, 2014, another customer, who had already received a discount on

Entecavir, asked for an additional discount to




        1105. The two-player market for Entecavir remained stable over time. By January 2,

2015, Teva’s share of the market for new generic prescriptions was 52.2%, and its share of the

total generic market (new prescriptions and refills) was 46.7%.

        YY.    Eplerenone Tablets

        1106. Eplerenone, also known by the brand name Inspra, is an oral medication used alone

or in combination with other medicines to treat high blood pressure by blocking a chemical

(aldosterone) in the body that in turn lowers the amount of sodium and water the body retains.



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       1107. As of spring 2014, Sandoz and Greenstone were the only generic manufacturers of

Eplerenone Tablets.

       1108. As discussed above, while Greenstone was coordinating with Sandoz in April 2014

to follow Sandoz’s price increases on various formulations of Clindamycin, it was also

coordinating to lead a price increase on Eplerenone Tablets.

       1109. Originally, Greenstone planned its Eplerenone price increase to become effective

on May 1, 2014, but sometime in mid-April that increase was delayed. Shortly after the decision

was made to delay the Eplerenone price increase, on April 22, 2014, Nailor of Greenstone called

Kellum and left a message. They traded voicemails until they were able to speak the next day for

nearly fifteen minutes.

       1110. Greenstone planned its increases of Clindamycin and Eplerenone together, as it was

coordinating with Sandoz – and both increases ultimately became effective on June 2, 2014.

Shortly before the increases became effective, on May 29, 2014, Nailor of Greenstone called

Kellum of Sandoz, leaving him a twenty-six second voicemail.

       1111. Sandoz’s intent was always to follow Greenstone’s Eplerenone price increase,

rather than compete for market share. Sandoz began preparing to follow Greenstone’s Eplerenone

price increase in early July 2014. However, because of price protection terms with several of

Sandoz’s customers, the company decided to delay the roll-out of its Eplerenone price increase

(and several others) until it made more financial sense and Sandoz would be able to limit any

contractual penalties that would arise as a result of the increase.

       1112. Ultimately, Sandoz followed Greenstone’s price increase on Eplerenone on

October 10, 2014. Sandoz increased its pricing by as much as 270% to certain customers. During

the time period after Greenstone’s price increase and before Sandoz could follow, the two



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competitors continued to coordinate by phone, including a number of calls between Kellum and

        of Greenstone in August 2014. Shortly after the Sandoz price increase became effective,

on October 15, 2014, Kellum and Nailor of Greenstone also communicated briefly.

        ZZ.    Erythromycin Solution

        1113. Erythromycin Base/Ethyl Alcohol Solution (“Erythromycin Solution”) is a topical

medication used to treat acne.

        1114. In the summer of 2011, Defendants Fougera and Wockhardt were the only two

competitors in the market for Erythromycin Solution. However, both manufacturers would

experience intermittent supply issues that would require their exit from the market for periods of

time.   Because of these supply problems, extensive coordination was necessary between

competitors in order to maintain a stable market.

        1115. Between May 17 and May 19, 2011, Perrigo discussed internally whether to re-

enter the Erythromycin Solution market. The next day, May 20, 2011,                    of Perrigo

called CW-6 of Fougera and they spoke for seven minutes. Immediately after that call,

called his supervisor, Wesolowski, and they spoke for three minutes. The following Monday, on

May 23, 2011, Wesolowski gave the green light to move forward with Perrigo’s plans to re-launch

the product within six months.

        1116. On August 5, 2011, CW-3 of Fougera e-mailed his supervisor, Kaczmarek, stating,




        1117. Thereafter, on August 9, 2011, CW-6 of Fougera called                           , a

Wockhardt sales executive, three times, including one call lasting ten minutes. Notably, these

were the first phone calls ever between the two competitors according to available phone records.



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Indeed, CW-6 and             were not friends and did not socialize together. If they did speak, it was

to coordinate anticompetitive conduct relating to products on which Fougera and Wockhardt

overlapped.

       1118. Over the next week, CW-6 exchanged several calls with                      of Wockhardt and

        of Perrigo, the prospective new entrant. Because                                     did not have an

independent relationship, CW-6 acted as the go-between – relaying information between the two.

After speaking with his competitors, CW-6 called his supervisor, Kaczmarek, to report back what

he had learned. These calls are detailed in the chart below:

   Date      Call Type    Target Name        Direction   Contact Name              Time        Duration
   8/15/2011    Voice     CW‐6 (Fougera)     Outgoing    T.P. (Perrigo)            6:35:00     0:01:00
   8/15/2011    Voice     M.C. (Wockhardt)   Outgoing    CW‐6 (Fougera)            7:31:00     0:02:00
   8/15/2011    Voice     CW‐6 (Fougera)     Outgoing    M.C. (Wockhardt)          7:39:00     0:06:00
   8/15/2011    Voice     CW‐6 (Fougera)     Outgoing    T.P. (Perrigo)            7:50:00     0:01:00
   8/15/2011    Voice     CW‐6 (Fougera)     Outgoing    Kaczmarek, Walt (Fougera) 8:11:37     0:11:55
   8/15/2011    Voice     CW‐6 (Fougera)     Outgoing    T.P. (Perrigo)            8:53:00     0:09:00
   8/15/2011    Voice     CW‐6 (Fougera)     Outgoing    Kaczmarek, Walt (Fougera) 8:58:18     0:10:00
   8/17/2011    Voice     CW‐6 (Fougera)     Outgoing    T.P. (Perrigo)            6:48:00     0:05:00
   8/19/2011    Voice     CW‐6 (Fougera)     Outgoing    T.P. (Perrigo)            6:07:00     0:01:00


       1119. On August 19, 2011, after the final call listed above, Fougera held an internal

meeting to discuss Erythromycin Solution and the intelligence that CW-6 had gained from phone

calls with competitors.

       1120. On November 15, 2011, Wesolowski of Perrigo sent an internal e-mail to the

Perrigo sales team, including to               stating that Perrigo planned to launch Erythromycin

Solution the following month in December 2011. Wesolowski stated,

                                                                Beginning that day, and over the next

few days,          exchanged several calls with CW-6 of Fougera. At the same time, CW-6 was

speaking with            of Wockhardt. These calls are detailed in the chart below:




                                                   291
     Date       Call Type   Target Name        Direction   Contact Name       Time     Duration
     11/15/2011 Voice       CW‐6 (Fougera)     Outgoing    T.P. (Perrigo)     5:57:00  0:07:00
     11/17/2011 Voice       CW‐6 (Fougera)     Incoming    T.P. (Perrigo)     11:23:00 0:06:00
     11/17/2011 Voice       CW‐6 (Fougera)     Outgoing    M.C. (Wockhardt)   11:29:00 0:02:00
     11/17/2011 Voice       CW‐6 (Fougera)     Outgoing    M.C. (Wockhardt)   11:37:00 0:01:00
     11/17/2011 Voice       M.C. (Wockhardt)   Outgoing    CW‐6 (Fougera)     11:38:00 0:01:00


       1121. The next day, on November 18, 2011,                          , another Wockhardt sales

executive, called CW-3 of Fougera. The call lasted two minutes. Later, CW-3 sent the following

e-mail to his supervisor, Kaczmarek:




       1122. It was CW-3’s customary practice to state that he learned information from a

customer when he actually learned it from a competitor because he wanted to keep that information

out of writing. In response to CW-3’s e-mail, Kaczmarek stated simply:

       1123. On November 30, 2011,               of Wockhardt called CW-6 and they spoke for four

minutes.   Later that same day, CW-6 sent the following e-mail to Kaczmarek regarding

Erythromycin Solution:




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           1124. Kaczmarek forwarded the e-mail along internally to                      , a Fougera

operations manager.               reminded Kaczmarek that Fougera was also having supply issues

and had temporarily exited the market.

           1125. A few weeks later, on December 19, 2011, Perrigo entered the Erythromycin

Solution market and set WAC pricing that was significantly higher – indeed, approximately 200%

higher – than the market WAC pricing at that time.

           1126. CW-6 of Fougera exchanged several calls with                of Perrigo in the weeks

leading up to, and surrounding, Perrigo’s launch, including on the date of the launch itself. On

these calls, the competitors discussed pricing and the allocation of market share to the new entrant,

Perrigo. These calls are detailed in the chart below:

      Date       Call Type     Target Name      Direction   Contact Name      Time      Duration
      12/12/2011    Voice      CW‐6 (Fougera)   Outgoing    T.P. (Perrigo)      4:40:00    0:04:00
      12/12/2011    Voice      CW‐6 (Fougera)   Outgoing    T.P. (Perrigo)      5:05:00    0:01:00
      12/12/2011    Voice      CW‐6 (Fougera)   Incoming    T.P. (Perrigo)      5:13:00    0:01:00
      12/19/2011    Voice      CW‐6 (Fougera)   Outgoing    T.P. (Perrigo)      8:10:00    0:05:00
      12/20/2011    Voice      CW‐6 (Fougera)   Outgoing    T.P. (Perrigo)     12:38:00    0:03:00
      12/21/2011    Voice      CW‐6 (Fougera)   Outgoing    T.P. (Perrigo)      6:35:00    0:01:00

           1127. Several months later, between April 24 and April 27, 2012, the NACDS held its

annual meeting in Palm Beach, Florida. Representatives from Fougera, Perrigo, and Wockhardt

attended, including CW-6 and CW-3 of Fougera, Wesolowski of Perrigo, and                             of

Wockhardt.

           1128. At that time, Fougera was readying to re-enter the Erythromycin Solution market.

Shortly after the NACDS annual meeting, on April 30, 2012, Kaczmarek e-mailed his sales team

stating,

             CW-3 responded with the following e-mail:




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        1129. Fougera’s re-launch caused a flurry of communications among the three

competitors on May 1 and May 2, 2013. Following his consistent practice, CW-6 reported these

conversations back to his boss, Kaczmarek. These calls are detailed in the chart below:

    Date     Call Type   Target Name        Direction   Contact Name                Time      Duration
    5/1/2012    Voice    K.K. (Wockhardt)   Outgoing    CW‐3 (Fougera)                6:56:00    0:02:00
    5/1/2012    Voice    CW‐6 (Fougera)     Incoming    CW‐3 (Fougera)               10:04:00    0:03:00
    5/1/2012    Voice    CW‐6 (Fougera)     Outgoing    T.P. (Perrigo)               10:07:00    0:02:00
    5/1/2012    Voice    K.K. (Wockhardt)   Outgoing    CW‐3 (Fougera)               13:12:00    0:01:00
    5/2/2012    Voice    CW‐6 (Fougera)     Outgoing    CW‐3 (Fougera)               15:20:00    0:04:00
    5/2/2012    Voice    CW‐6 (Fougera)     Outgoing    CW‐3 (Fougera)               15:24:00    0:01:00
    5/2/2012    Voice    CW‐6 (Fougera)     Outgoing    Kaczmarek, Walt (Fougera)    15:25:00    0:01:00


        1130. The next day, on May 3, 2012, Fougera re-entered the market and matched

Perrigo’s increased WAC pricing. That morning, Kaczmarek sent the following e-mail to his sales

team:




        1131. That same day, CW-3 of Sandoz spoke with                   of Wockhardt for five minutes

and called               , a sales executive at Perrigo. Further, CW-6 called his contact at Perrigo,




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          and the two competitors spoke for fifteen minutes. Immediately after hanging up with

          CW-6 again called his supervisor, Kaczmarek, and they spoke for five minutes.

         1132. The following Monday, on May 7, 2012, Wesolowski of Perrigo sent the following

e-mail regarding Erythromycin Solution to other Perrigo executives:




         1133. On that same day, Kaczmarek circulated a proposed customer pricing grid for

Erythromycin Solution to the Fougera sales team. Kaczmarek advised:




         1134. Over the next several days, CW-3 and CW-6 exchanged calls with their respective

contacts at Perrigo, Felix and               As was his practice, after hanging up with                 CW-6

immediately reported back to Kaczmarek what he had learned. These calls are detailed in the chart

below:

     Date       Call Type   Target Name         Direction   Contact Name                Time      Duration
     5/8/2012 Voice         CW‐3 (Fougera)      Outgoing    A.F. (Perrigo)              7:06:00   0:01:00
     5/8/2012 Voice         CW‐3 (Fougera)      Outgoing    A.F. (Perrigo)              7:08:00   0:01:00
     5/8/2012 Voice         A.F. (Perrigo)      Outgoing    CW‐3 (Fougera)              7:10:41   0:01:52
     5/8/2012 Voice         A.F. (Perrigo)      Incoming    CW‐3 (Fougera)              7:12:36   0:00:00
     5/8/2012 Voice         CW‐3 (Fougera)      Outgoing    A.F. (Perrigo)              8:05:00   0:01:00
     5/8/2012 Voice         A.F. (Perrigo)      Outgoing    CW‐3 (Fougera)              8:52:56   0:10:52
     5/8/2012 Voice         A.F. (Perrigo)      Outgoing    CW‐3 (Fougera)              9:29:30   0:01:34
      5/11/2012 Voice       CW‐6 (Fougera)      Outgoing    T.P. (Perrigo)              5:09:00   0:05:00
      5/11/2012 Voice       CW‐6 (Fougera)      Outgoing    Kaczmarek, Walt (Fougera)   5:13:00   0:01:00
      5/11/2012 Voice       CW‐6 (Fougera)      Incoming    T.P. (Perrigo)              8:24:00   0:01:00
      5/11/2012 Voice       CW‐6 (Fougera)      Outgoing    T.P. (Perrigo)              8:26:00   0:11:00
      5/11/2012 Voice       CW‐6 (Fougera)      Outgoing    Kaczmarek, Walt (Fougera)   8:38:00   0:02:00


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     5/11/2012 Voice     CW‐6 (Fougera)     Outgoing   T.P. (Perrigo)         12:10:00 0:01:00
     5/11/2012 Voice     CW‐6 (Fougera)     Incoming   T.P. (Perrigo)         12:39:00 0:02:00
     5/14/2012 Voice     CW‐6 (Fougera)     Outgoing   T.P. (Perrigo)         13:09:00 0:02:00


       1135. On May 14, 2012, the date of the last calls detailed above, Kaczmarek sent the

following internal e-mail to his sales team, lying about the source of his information to avoid

putting evidence of illegal conduct into writing:




       1136. Less than two months later, on June 7, 2012, Fougera recalled Erythromycin

Solution and again placed the product on back order. By that time, Fougera had approached and

secured approximately 12% market share on the product, including several customers on its target

list such as Rite Aid, Cardinal, Optisource, and SUPERVALU.

       1137. By August 2012, Fougera had resolved those supply issues. Around this same time,

Sandoz had completed its acquisition of Fougera. As Fougera (now Sandoz) prepared to re-enter

the Erythromycin Solution market, the company set an internal market share goal of 20% on the

product.

       1138. After the Fougera acquisition was completed, CW-6 left the company for another

position. At some point before he left Fougera, CW-6 introduced CW-3 – who would be remaining

at Sandoz after the acquisition – to           at Perrigo. This was the beginning of a collusive

relationship that would last several years and will be discussed in detail in subsequent Sections of

this Complaint.




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         1139. The first ever phone calls between CW-3 and              according to the available

phone records, were on August 8, 2012. They spoke two times that day. The competitors spoke

again on August 21, 2012, as Sandoz was preparing to re-enter the market for Erythromycin

Solution.

         1140. On September 5, 2012,                     a Sandoz sales executive, e-mailed CW-

3 and Kellum to advise them that Sandoz had an opportunity to bid on Erythromycin Solution at

Walgreens. Kellum responded,                                        On September 6, 2012, CW-3

called         of Perrigo and they spoke for eleven minutes.

         1141. The next day, on September 7, 2012, CW-3 sent an internal e-mail including to

CW-1, a Sandoz senior pricing executive, recommending that Sandoz target the same customers

that Fougera had targeted when it re-launched Erythromycin Solution in May 2012. Not wanting

to have a discussion in writing, CW-1 responded to CW-3 directly, stating,



         1142. On September 13, 2012, CW-3 called              of Perrigo and they spoke for three

minutes. CW-3 hung up and called                      , a senior sales and marketing executive at

Sandoz. The call lasted one minute. Later that day, CW-3 called           of Wockhardt. The call

lasted one minute.

         1143. The following Monday, on September 17, 2012, CW-1 instructed CW-3 to put

together offers for Cardinal and Wal-Mart and advised that they would be the only customers

Sandoz would be bidding on at this time. That same day,           of Wockhardt called CW-3 and

they spoke for four minutes.

         1144. Between September 20 and September 21, 2012, CW-3 and                   of Perrigo

exchanged six calls, including two calls lasting eight minutes and seven minutes, respectively. By



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October 2012, Perrigo had conceded the Erythromycin Solution business at Cardinal and Wal-

Mart to Sandoz.

           AAA. Estradiol Tablets

           1145. Estradiol is a form of estrogen that used to treat symptoms of menopause. During

the time period relevant to this Complaint, Actavis, Mylan, and Teva dominate the market for

Estradiol tablets.

           1146. Estradiol was one of eight drugs that Teva targeted for a price increase effective

July 31, 2012. Prior to implementing the price increase for these drugs, Green and Rekenthaler

spoke with their competitors for each targeted drug to ensure that the understanding to increase

prices would hold, including Mylan, Actavis, Breckenridge, and Alvogen. For example, in July

2012, Green spoke by phone with Nesta of Mylan, CW-2 of Sandoz, and                    of Alvogen.

On July 31, Green and Nesta spoke five times, and immediately following some of these calls,

Green called Hill. Also, Rekenthaler spoke with                    of Actavis and               of

Breckenridge. These communications solidified the agreement between the Defendants that each

would adhere to the price increases for the drugs that each manufactured.

           BBB. Estradiol/Norethindrone Acetate Tablets (Mimvey)

           1147. Estradiol/Norethindrone Acetate Tablets (“Mimvey”) contains estrogen and

progestin and is used to reduce the symptoms of menopause. During the time period relevant to

this Complaint, Breckenridge and Teva dominate the market for Estradiol/Norethindrone Acetate

tablets.

           1148. Estradiol/Norethindrone Acetate was one of eight drugs that Teva targeted for a

price increase effective July 31, 2012. Prior to implementing the price increase for these drugs,

Green and Rekenthaler spoke with their competitors for each targeted drug to ensure that the



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understanding to increase prices would hold, including Mylan, Actavis, Breckenridge, and

Alvogen. For example, in July 2012, Green spoke by phone with Nesta of Mylan, CW-2 of

Sandoz, and                 of Alvogen. On July 31, Green and Nesta spoke five times, and

immediately following some of these calls, Green called Hill. Also, Rekenthaler spoke with

         of Actavis and                 of Breckenridge. These communications solidified the

agreement between the Defendants that each would adhere to the price increases for the drugs that

each manufactured. For example, although Mylan did not manufacture Mimvey at the time, upon

information and belief, Nesta committed on these calls that Mylan would not enter the market for

Mimvey in exchange for considerations on other drugs such as Estradiol tablets and Loperamide.

Indeed, Mylan received an ANDA for Mimvey in February 2015, but delayed its entry into the

market until late 2017, in furtherance of the overarching conspiracy.

       1149. On November 14, 2013, Breckenridge increased its pricing on both Mimvey and

Cyproheptadine HCL Tablets. For Cyproheptadine, Breckenridge increased its WAC pricing by

as high as 150%, and raised its customer contract pricing even higher – 400%. The increases to

Mimvey were a more modest 20-27% for both the WAC and customer pricing.

       1150. In the weeks leading up to those increases – when Patel was still out on maternity

leave – Rekenthaler had several phone calls with           at Breckenridge to coordinate the price

increases. The two spoke twice on October 14, 2013 and had a twenty-six minute call on October

24, 2013. After those calls, they did not speak again until mid- January 2014, when Teva began

preparing to implement its increase.

       1151. Over the next several months – during the period of time before Teva was able to

follow the Breckenridge price increases – Teva followed the collusive understanding and refused

to increase market share while it had a lower price than its competitors.



                                               299
       1152. On April 4, 2014, Teva followed the Breckenridge price increases with a price

increase on Mimvey across all its customer contracts. In addition, Teva increased the WAC price

on Mimvey by 26% to exactly match Breckenridge’s WAC price.

       CCC. Ethambutol HCL Tablets

       1153. Ethambutol HCL Tablets (“Ethambutol”), also known by the brand name

Myambutol, is a drug used to treat tuberculosis. In 2012, G&W marketed the authorized generic

of Ethambutol for the manufacturer, STI Pharma (“STI”), and Lupin, VersaPharm, and Teva sold

the generic version.

       1154. By late 2012 and early 2013, however, both VersaPharm and Teva were

experiencing supply issues on Ethambutol. Viewing this as an opportunity, Lupin and G&W

colluded to significantly raise price on the product while their competitors were out of the market.

       1155. In November and December 2012, Orlofski and Vogel-Baylor of G&W exchanged

several calls with David Berthold of Lupin to discuss Ethambutol. At the same time, Berthold was

keeping Kevin Green, a sales executive at Teva, apprised of his discussions with G&W.

       1156. For example, on November 15, 2012, Orlofski exchanged at least eight text

messages with Berthold. The next day, on November 16, 2012, Orlofski and Berthold spoke for

nearly twelve minutes. Shortly thereafter, Berthold spoke three separate times with Green, with

the calls lasting five minutes, ten minutes, and five minutes, respectively.

       1157. That same day, G&W reached out to several VersaPharm customers, including

Econdisc, HealthTrust, and FW Kerr, to inquire whether they were interested in a new supplier for

Ethambutol due to VersaPharm’s supply issues.




                                                300
       1158. Over the next month, Berthold would continue to exchange numerous calls and text

messages with Vogel-Baylor and Orlofski during which they discussed a coordinated price

increase on Ethambutol. These communications are detailed in the chart below:

 Date         Call Type      Target Name               Direction   Contact Name                Time       Duration
 11/18/2012   Text           Berthold, David (Lupin)   Incoming    Vogel‐Baylor, Erika (G&W)     18:48:29     0:00:00
 11/18/2012   Text           Berthold, David (Lupin)   Incoming    Vogel‐Baylor, Erika (G&W)     18:48:33     0:00:00
 11/20/2012   Voice          Berthold, David (Lupin)   Incoming    Vogel‐Baylor, Erika (G&W)     12:55:26     0:00:03
 11/20/2012   Voice          Berthold, David (Lupin)   Outgoing    Vogel‐Baylor, Erika (G&W)     13:24:13     0:07:55
 11/20/2012   Voice          Berthold, David (Lupin)   Incoming    Vogel‐Baylor, Erika (G&W)     17:31:57     0:00:03
 11/20/2012   Voice          Berthold, David (Lupin)   Outgoing    Vogel‐Baylor, Erika (G&W)     17:57:55     0:03:11
 11/22/2012   Text           Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)          16:30:34     0:00:00
 11/22/2012   Text           Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)          16:30:36     0:00:00
 11/22/2012   Text           Berthold, David (Lupin)   Incoming    Orlofski, Kurt (G&W)          20:11:04     0:00:00
 11/22/2012   Text           Berthold, David (Lupin)   Incoming    Orlofski, Kurt (G&W)          20:11:08     0:00:00
 11/22/2012   Text           Berthold, David (Lupin)   Incoming    Orlofski, Kurt (G&W)          20:11:15     0:00:00
 11/22/2012   Text           Berthold, David (Lupin)   Incoming    Orlofski, Kurt (G&W)          20:11:19     0:00:00
 11/22/2012   Text           Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)          20:30:46     0:00:00
 11/22/2012   Text           Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)          20:30:48     0:00:00
  12/9/2012   Text           Berthold, David (Lupin)   Incoming    Orlofski, Kurt (G&W)          14:54:28     0:00:00
  12/9/2012   Text           Berthold, David (Lupin)   Incoming    Orlofski, Kurt (G&W)          14:54:33     0:00:00
  12/9/2012   Text           Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)          15:01:44     0:00:00
  12/9/2012   Text           Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)          15:01:45     0:00:00
  12/9/2012   Text           Berthold, David (Lupin)   Incoming    Orlofski, Kurt (G&W)          15:05:03     0:00:00
  12/9/2012   Text           Berthold, David (Lupin)   Incoming    Orlofski, Kurt (G&W)          15:05:08     0:00:00
  12/9/2012   Text           Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)          15:21:48     0:00:00
  12/9/2012   Voice          Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)          15:22:36     0:00:03
  12/9/2012   Text           Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)          15:57:26     0:00:00


       1159. On December 9, 2012, the day after the final call listed above,                                        ,a

finance executive at Lupin, e-mailed Berthold at 3:41 p.m. stating:



                          Three minutes later, at 3:44 p.m., Berthold called Orlofski. The call lasted less

than one minute. The next day, on December 11, 2012, Berthold called Vogel-Baylor and they

spoke for nearly six minutes. A short time later, Orlofski sent a text message to Berthold and the

two competitors exchanged two more calls that day, including one lasting nearly six minutes.

       1160. On December 17, 2012,                                 , a Lupin sales executive, sent an internal e-

mail including to Berthold, attaching the price increase letters for Ethambutol that Lupin planned



                                                          301
to send on December 18, 2012. Between December 17, 2012 and December 19, 2012, Berthold

again exchanged several calls and text messages with Orlofski and Vogel-Baylor. These are

detailed in the chart below:

  Date       Call Type   Target Name                Direction   Contact Name                Time      Duration
  12/17/2012    Voice    Berthold, David (Lupin)    Outgoing    Vogel‐Baylor, Erika (G&W)    17:32:53     0:00:14
  12/17/2012     Text    Berthold, David (Lupin)    Incoming    Orlofski, Kurt (G&W)         21:48:43     0:00:00
  12/17/2012     Text    Berthold, David (Lupin)    Incoming    Orlofski, Kurt (G&W)         21:51:13     0:00:00
  12/17/2012     Text    Berthold, David (Lupin)    Outgoing    Orlofski, Kurt (G&W)         21:54:44     0:00:00
  12/17/2012     Text    Berthold, David (Lupin)    Outgoing    Orlofski, Kurt (G&W)         21:54:48     0:00:00
  12/18/2012    Voice    Berthold, David (Lupin)    Outgoing    Orlofski, Kurt (G&W)          8:19:40     0:00:02
  12/18/2012    Voice    Berthold, David (Lupin)    Incoming    Orlofski, Kurt (G&W)         11:54:06     0:00:25
  12/18/2012    Voice    Berthold, David (Lupin)    Incoming    Vogel‐Baylor, Erika (G&W)    11:56:05     0:00:58
  12/19/2012    Voice    Berthold, David (Lupin)    Outgoing    Orlofski, Kurt (G&W)         15:12:46     0:00:02
  12/19/2012    Voice    Berthold, David (Lupin)    Outgoing    Vogel‐Baylor, Erika (G&W)    15:13:09     0:00:07
  12/19/2012    Voice    Berthold, David (Lupin)    Incoming    Orlofski, Kurt (G&W)         15:56:16     0:13:10
  12/19/2012    Voice    Berthold, David (Lupin)    Incoming    Vogel‐Baylor, Erika (G&W)    16:56:44     0:04:12
  12/19/2012    Voice    Berthold, David (Lupin)    Outgoing    Vogel‐Baylor, Erika (G&W)    17:06:52     0:04:52
  12/19/2012    Voice    Berthold, David (Lupin)    Incoming    Vogel‐Baylor, Erika (G&W)    17:25:24     0:00:02
  12/19/2012    Voice    Berthold, David (Lupin)    Outgoing    Vogel‐Baylor, Erika (G&W)    17:30:08     0:04:19


        1161. On January 2, 2013, Orlofski e-mailed Vogel-Baylor suggesting that they discuss

the Ethambutol price increase during their meeting scheduled for the next day. That same day,

Vogel-Baylor called Berthold and they spoke for eleven minutes. Later that evening, Vogel-

Baylor e-mailed Orlofski a price increase analysis for Ethambutol.

        1162. On January 14, 2013, another customer, Morris & Dickson, e-mailed Lupin asking

for a bid on Ethambutol. The customer explained that both VersaPharm and Teva were having

supply issues. That same day, Orlofski sent a text message to Berthold. Berthold also called Green

of Teva and they spoke for nine minutes.

        1163. On January 28, 2013, the manufacturer of G&W’s authorized generic, STI, e-

mailed Vogel-Baylor to inform her that it would be shipping Ethambutol to G&W the following

day stating:                                                                     Vogel-Baylor then forwarded

the e-mail to Orlofski as an                       Later that day, Vogel-Baylor sent her Ethambutol price



                                                        302
increase analysis to the sales team and asked them to draft letters to their customers advising them

of the increases. The next day, on January 29, 2014, Orlofski sent a text message to Berthold and

Berthold spoke two times with Green of Teva by phone, with calls lasting three minutes and more

than five minutes, respectively.

        1164. On January 31, 2013, Vogel-Baylor called Berthold and they spoke for three

minutes. The next day, on February 1, 2013, Vogel-Baylor called Berthold again. Berthold

returned the call and they spoke for five minutes. The following Monday, on February 4, 2013,

Vogel-Baylor e-mailed Orlofski to inform him that G&W planned to send the Ethambutol price

increase letters on February 7, 2013 and would call customers in advance to advise that they would

be coming.

        1165. Consistent with the plan, on February 6, 2013, G&W reached out to its customers

to advise them of the Ethambutol increases. As Vogel-Baylor explained in her e-mail to Wal-

Mart:



        1166. Berthold continued to communicate with Orlofski and Vogel-Baylor over the next

several weeks.

        1167. On April 1, 2013, STI began notifying customers that it was terminating its

relationship with G&W regarding Ethambutol. STI advised that it would be taking over the

marketing and distribution of the product effective April 15, 2013. Between April 2, 2013 and

April 15, 2013, Berthold exchanged several calls with Orlofski and Vogel-Baylor. The calls are

detailed in the chart below:

  Date        Call Type   Target Name               Direction   Contact Name              Time      Duration
   4/2/2013   Voice       Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)       10:38:29    0:00:03
   4/2/2013   Voice       Berthold, David (Lupin)   Outgoing    Vogel‐Baylor, Erika (G&W) 10:38:57     0:03:49
   4/2/2013   Voice       Berthold, David (Lupin)   Outgoing    Orlofski, Kurt (G&W)       16:48:27    0:00:07



                                                       303
   4/2/2013   Voice    Berthold, David (Lupin)   Incoming   Orlofski, Kurt (G&W)        17:09:30   0:04:19
   4/2/2013   Voice    Berthold, David (Lupin)   Incoming   Orlofski, Kurt (G&W)        17:09:30   0:04:18
   4/2/2013   Voice    Berthold, David (Lupin)   Outgoing   Vogel‐Baylor, Erika (G&W)   20:47:56   0:00:04
   4/5/2013   Voice    Berthold, David (Lupin)   Incoming   Vogel‐Baylor, Erika (G&W)   17:04:58   0:03:24
   4/5/2013   Voice    Berthold, David (Lupin)   Outgoing   Vogel‐Baylor, Erika (G&W)   17:24:05   0:00:08
   4/5/2013   Voice    Berthold, David (Lupin)   Incoming   Vogel‐Baylor, Erika (G&W)   17:24:29   0:02:27
  4/13/2013   Text     Berthold, David (Lupin)   Outgoing   Orlofski, Kurt (G&W)        11:33:02   0:00:00
  4/13/2013   Text     Berthold, David (Lupin)   Outgoing   Orlofski, Kurt (G&W)        11:35:51   0:00:00
  4/13/2013   Text     Berthold, David (Lupin)   Incoming   Orlofski, Kurt (G&W)        11:48:32   0:00:00
  4/13/2013   Text     Berthold, David (Lupin)   Outgoing   Orlofski, Kurt (G&W)        11:49:08   0:00:00
  4/13/2013   Text     Berthold, David (Lupin)   Incoming   Orlofski, Kurt (G&W)        11:49:40   0:00:00
  4/13/2013   Text     Berthold, David (Lupin)   Outgoing   Orlofski, Kurt (G&W)        11:50:02   0:00:00
  4/13/2013   Text     Berthold, David (Lupin)   Incoming   Orlofski, Kurt (G&W)        11:50:42   0:00:00
  4/13/2013   Text     Berthold, David (Lupin)   Outgoing   Orlofski, Kurt (G&W)        11:51:24   0:00:00
  4/15/2013   Text     Berthold, David (Lupin)   Outgoing   Vogel‐Baylor, Erika (G&W)   21:37:55   0:00:00
  4/15/2013   Text     Berthold, David (Lupin)   Outgoing   Vogel‐Baylor, Erika (G&W)   21:38:21   0:00:00


        1168. Notably, after April 15, 2013, the date of the last two text messages listed above,

Berthold and Vogel-Baylor would never communicate by phone again, according to the phone

records available to Plaintiff.

        DDD. Ethinyl Estradiol and Levonorgestrel

        1169. Ethinyl estradiol and levonorgestrel, when used in combination, is an oral

contraceptive used to prevent pregnancy. During the relevant time period, both Teva and Sandoz

marketed ethinyl estradiol and levonorgestrel under multiple names – including both Portia and

Jolessa.

        1170. In or around May 2012, Teva had much higher market share than Sandoz for both

Portia and Jolessa. Teva’s market share for Portia was 37% compared to Sandoz’s 17%, while

Teva’s market share for Jolessa was 43% compared to Sandoz’s 11%.

        1171. On May 11, 2012, Walmart contacted Teva with a right of first refusal and

explained that another supplier had made an offer for the sale of four drugs,

       .




                                                    304
          1172. After sending out a competitive offer for the sale of three drugs, including Portia

and Jolessa, to the customer on May 16, 2012 and an even more competitive offer on May 18 –

Teva abruptly backtracked on May 23, 2012 and removed Portia and Jolessa from the offer. The

night before this change in plans, on May 22, Green of Teva spoke on the phone with CW-2, then

at Sandoz, for five minutes, and agreed to withdraw the offer for Portia and Jolessa. The decision

to concede the Walmart business to Sandoz led to a more equal share split between the companies

for both Portia and Jolessa. Teva discussed the decision internally and explained that the reason

for the

          1173. Sandoz continued to coordinate with Teva to obtain customers for both Portia and

Jolessa. On July 2, 2013, another key customer contacted Teva stating it had received bids on

Portia and Jolessa and in order for Teva to retain the business, Teva would need to submit its

          On July 9, 2013, CW-1 of Sandoz called Patel and left a voicemail. Shortly thereafter, they

connected for a sixteen minute call. On July 10, Teva learned that the challenger was Sandoz. At

12:16 p.m., Rekenthaler forwarded an e-mail to Patel and posed the question:

                  Patel did not respond by e-mail, but due to the close proximity of their offices she

likely related her conversation with CW-1 directly to Rekenthaler.

          1174. Rekenthaler then called CW-2 at Sandoz at 1:26 p.m. that same day and they spoke

for two minutes. CW-2 called Rekenthaler back a few minutes later and they spoke for nine

minutes. CW-2 and Rekenthaler would speak once more later that day, at 4:48 p.m., for seven

minutes. Later that same evening, Teva submitted a cover bid to the customer for Portia and

Jolessa, which the customer described as                              for their primary supply. Teva

submitted an intentionally inflated bid for the two drugs in order to ensure that Sandoz obtained

the primary award with the customer.



                                                  305
       EEE. Etodolac

       1175. Etodolac, also known by the brand name Lodine, is a medication known as a non-

steroidal anti-inflammatory drug (NSAID). It is used to reduce pain, swelling and joint stiffness

from arthritis. It works by blocking the body’s production of certain natural substances that cause

inflammation. An extended release version of Etodolac – Etodolac ER –also known by the brand

name Lodine XL, is also available.

       1176. Apotex, Taro, Teva and Sandoz dominated the market for Etodolac tablets; Teva,

Taro, and Zydus dominated the market for Etodolac ER tablets; and Apotex, Teva, and Taro

dominated the market for Etodolac capsules.

       1177. In early 2012, Apotex (which had received an ANDA to market Etodolac capsules

in 2000) was planning to re-enter the market for the drug while Teva was planning to exit the

market. Although the number of competitors in the market would remain the same, Apotex and

Taro were able to coordinate a large price increase due to the overarching agreement.

       1178. As a result of this coordination, Taro was able to lead a price increase that more

than tripled its previous price for Etodolac capsules from early 2012, while Apotex was able to

enter the market at the higher price.As a result, between May and August of 2012, Taro and Apotex

were able to coordinate to increase prices by more 200%.

       1179. This coordination paved the way for a subsequent price increase on the tablet

formulations of the drug. One year later, when Patel first began planning for            of Teva’s

price increases, Etodolac and Etodolac ER were not slated for increases. For example, when she

circulated a long list of potential           increases on July 11, 2013 (that would later be cut

down substantially) – neither of those drugs was on the list.




                                                306
       1180. Around that time, Sandoz began identifying a list of drugs where it believed it could

increase price by the end of July. Etodolac was on the list, primarily because Sandoz would be

able to implement a substantial increase without incurring significant price protection penalties

from its customers.

       1181. On July 16, 2013, CW-3, then a senior executive at Sandoz, reached out to

Aprahamian at Taro and they spoke for sixteen minutes. Aprahamian called CW-3 back the next

day and the two spoke again for eight minutes. After hanging up the phone with CW-3,

Aprahamian immediately called Patel. They exchanged voicemails until they were able to connect

later in the day for nearly fourteen minutes. On July 18, 2013, Patel called CW-1 at Sandoz and

the two spoke for more than ten minutes.

       1182. During this flurry of phone calls, Defendants Sandoz, Taro and Teva agreed to raise

prices for both Etodolac tablets and Etodolac ER.

       1183. On July 22, 2013 – before any price increases took effect or were made public,

Patel added both Etodolac tablets and Etodolac ER to her price increase spreadsheet for the first

time, with the following notations:




       1184. Based on her conversations with CW-1 and Aprahamian, Patel understood that

Sandoz planned to increase its price on Etodolac tablets, and that Taro would follow suit and raise

its price for Etodolac ER. During those conversations, Teva agreed to follow both price increases.

       1185. That same day, Sandoz sent out a calendar notice to certain sales and pricing

employees for a conference call scheduled for July 23, 2013 to discuss planned price increases,

including for Etodolac tablets. Prior to the conference call on July 23, CW-1 called Patel at Teva.



                                               307
After exchanging voice mails, the two were able to connect for more than fourteen minutes that

day. During that call, CW-1 confirmed the details of the Sandoz price increase on Etodolac tablets.

Similarly, CW-3 of Sandoz called Aprahamian at Taro that same day and the two spoke for more

than three minutes.

       1186. The Sandoz price increase for Etodolac tablets became effective on July 26, 2013.

That same day, Taro received a request from a customer for a one-time buy on Etodolac 400mg

Tablets. After learning of the request, Aprahamian responded swiftly internally:



       1187. When Taro received another request on July 30 from a large wholesale customer

for a bid due to the Sandoz price increase, Aprahamian’s internal response was equally short:




       1188. Also on July 26, Patel sent an e-mail to others at Teva – including her supervisor

           Rekenthaler and others – informing them of the Sandoz increase on Etodolac IR

(immediate release). She instructed them to



       1189. Patel continued to coordinate with both Sandoz and Taro regarding the Etodolac

tablet and Etodolac ER price increases (among other things). Between July 29 and August 2, 2013,

for example, Patel engaged in the following series of calls with CW-1 of Sandoz and Aprahamian

at Taro:



                                               308
       1190. Aprahamian was also speaking to his contact at Sandoz – CW-3 – during this time,

including the following calls:




       1191. On August 1, 2013 - shortly after speaking with Patel – Aprahamian instructed a

colleague at Taro to begin implementing a price increase on Etodolac tablets and Etodolac ER.

Aprahamian stated:



       1192. By August 5, 2013, it was well known internally at Teva that Taro would soon be

raising prices on both Etodolac tablets and Etodolac ER. The minutes from a Teva

     meeting on August 5, 2013 – which Patel attended – reflect the following:




       1193. When Patel sent the                                 spreadsheet to her supervisor

          on August 7, 2013, summarizing Teva’s upcoming August 9 price increases, she again


                                             309
made it clear that the reason Teva was increasing its prices for Etodolac tablets and Etodolac ER

was because Teva senior executives knew that Taro would be raising its prices on both drugs

                   quickly instructed Patel to delete those entries, but never instructed her to stop

communicating with the company’s competitors, including Taro.

       1194. Teva and Taro raised prices for Etodolac tablets and Etodolac ER simultaneously,

with the price increases effective on August 9, 2013. Both their AWP and their WAC prices were

increased to the exact same price points. The increases were substantial. For Etodolac tablets,

Teva’s average increase was 414%; for Etodolac ER, the average increase was 198%.

       1195. This substantial price increase resulted in Zydus entering the market for Etodolac

ER, which should have led to price competition. Instead, Teva and Taro willingly gave up

customers to Zydus so that they could maintain the supracompetitive price. For example, Nisha

Patel, Ara Aprahamian, and Kevin Green discussed a plan to cede a large wholesale client to Zydus

in May 2014, and Teva then ceded a second customer to Zydus a few months later. Some of these

conversations are reflected in the chart below:




                                                  310
       1196. Defendants continued to allocate the market. On May 14, 2014, Anda, a wholesaler

customer of Teva, notified Teva that Zydus had submitted a bid for its Etodolac ER business. That

same day, Patel exchanged eight text messages and had a four minute call with Aprahamian. The

next day, on May 15, 2014, Green called Patel and they spoke for twenty minutes.

       1197. On May 20, 2014, Green called Patel and they spoke for four minutes. That same

day,              , a senior sales executive at Zydus, also exchanged two text messages and had a

39-second call with Maureen Cavanaugh of Teva. The next day – May 21, 2014 – Green called

Patel again and they spoke for twenty-eight minutes. That same day,                    of Zydus and

Cavanaugh of Teva exchanged four text messages.

       1198. The next day, on May 22, 2014,                  , Senior Analyst, Strategic Support at

Teva, sent an internal e-mail to certain Teva employees, including Patel, stating:



                                                                            Patel responded:



       1199. Similarly, on June 27, 2014, Econdisc, a Teva GPO customer, notified Teva that it

had received a competitive offer for its Etodolac ER business. Later that day, Patel spoke with

Aprahamian at Taro for fourteen minutes.

       1200. On July 2, 2014, Patel called Green and left a four-second voicemail. The next day,

on July 3, 2014, Patel sent an internal e-mail advising that:                         Later that day,

Teva told Econdisc that it was unable to lower its pricing to retain the business.

       1201. When Patel’s supervisor,                   learned that Teva had lost the Econdisc

business, he sent an internal e-mail asking                                          Patel responded:




                                                311
       FFF. Fenofibrate

       1202. Fenofibrate – also known by brand names such as Tricor – is a medication used to

treat cholesterol conditions by lowering “bad” cholesterol and fats (such as LDL and triglycerides)

and raising “good” cholesterol (HDL) in the blood.

       1203. By the end of 2012, Teva and Lupin were the only major suppliers of generic

Fenofibrate 48mg and 145mg tablets, with Teva having approximately 65% market share and

Lupin having approximately 35% market share.

       1204. Based on the agreement, between late 2012 and March 2014, three new competitors

entered the Fenofibrate market – Mylan, Perrigo, and Zydus. Consistent with the conspiracy, the

existing manufacturers coordinated to cede market share to the new entrant.

       1205. On February 27, 2013,                      , a senior marketing executive at Teva, e-

mailed multiple Teva colleagues asking them to provide

                                                                                      Specifically,

          was seeking                                on Mylan’s potential entry to the market. In

order to get this information, Green called Mylan’s Vice President of National Accounts, Jim

Nesta. Over the course of that day, Green and Nesta spoke at least four different times. That same

day, Green reported back to              and other Teva colleagues what he had learned: Mylan

planned to launch Fenofibrate 48mg and 145mg sometime around November 2013.

       1206. A few months later, however, Teva learned that Mylan was moving up its launch

date for Fenofibrate. In advance of this launch, Teva, Lupin, and Mylan conspired to allocate the

market for Fenofibrate. On May 8, 2013, Green e-mailed his colleagues at Teva that

                                                      To assist in Teva’s efforts to allocate the

Fenofibrate market, Green asked a colleague for the                                   This request



                                               312
for information was reiterated – and its purpose made clear – the following day when

sent an internal e-mail stating that Mylan expected to launch Fenofibrate 48mg and 145mg tablets

                         and that he needed Teva’s Fenofibrate sales and profitability information

                                                                   to Mylan.

       1207. Up to this point, executives for Teva, Mylan, and Lupin had all been in regular

contact by phone. These calls include at least those listed below. On these calls, Teva, Mylan,

and Lupin executives shared information about Mylan’s Fenofibrate launch and the plan to allocate

market share to Mylan.




       1208. In one striking example of the coordination between the three companies, Nesta

called Green at 2:42 p.m. on May 7 and they spoke for more than eleven minutes. Immediately

after hanging up the phone – at 2:54 p.m. – Nesta called Berthold and spoke for nearly three

minutes.

       1209. On May 10, 2013,                received the Teva sales and profitability information

he requested. After having the information for barely a half hour, and before there was even a

formal price challenge by Mylan at any of Teva’s customers,              concluded that


                                               313
                                                                                       By conceding

Econdisc to Mylan, Teva would walk away from its single biggest customer (in terms of gross

profit) for the 48mg tablets and the third largest out of six customers (in terms of gross profit) for

the 145mg tablets. Patel, who had been at Teva for only two weeks at that point, said she

                                                                        The logic, of course, was to

allocate a customer of sufficient size to Mylan so that Mylan would not need to compete on price

to acquire market share.

       1210. Teva executives immediately reached out to executives at Mylan and Lupin through

a series of phone calls. These calls include at least those listed below. On these calls, executives

of Teva, Mylan, and Lupin confirmed the market allocation scheme.




       1211. Teva made good on its agreement to concede Econdisc to Mylan. On May 15,

2013, Econdisc informed Teva that a new market entrant had submitted a competitive offer for

Fenofibrate 48mg and 145mg tablets and asked Teva for a counteroffer to retain Econdisc’s

business. Less than an hour after receiving the notice of the price challenge, Green recommended

conceding Econdisc based on



       1212. Following Teva’s internal confirmation of the market allocation scheme, Teva

executives spoke with executives at Mylan and Lupin numerous times. These calls include at least



                                                 314
those listed below. On these calls, executives of Teva, Mylan, and Lupin confirmed that Teva was

sticking to the market allocation scheme by conceding Econdisc to Mylan.




       1213. In February 2014, Zydus was preparing to launch into the Fenofibrate market.

Green, now at Zydus, colluded with Patel, Rekenthaler, Nesta, Berthold, and Perrigo’s

        to share pricing information and allocate market share to his new employer, Zydus.

       1214. On February 21, 2014, Teva’s Patel sent a calendar invite to Rekenthaler and to her

supervisor,            Senior Director, Marketing Operations, for a meeting to discuss

                                       on February 24, 2014. One discussion item was Zydus’s

anticipated entry into the Fenofibrate market. Notably, Zydus did not enter the Fenofibrate market

until a few weeks later on March 7, 2014.

       1215. In the days leading up to the meeting, between February 19 and February 24, Patel

and Green spoke by phone at least 17 times – including two calls on February 20 lasting twenty-




                                               315
seven minutes and nearly nine minutes, respectively; one call on February 21 lasting twenty-five

minutes; and a call on February 24 lasting nearly eight minutes.

       1216. On or about March 7, 2014, Defendant Zydus entered the Fenofibrate market at

WAC pricing that matched Defendants Teva, Mylan, and Lupin. In the days leading up to the

launch, Defendants from all four competitors were in regular contact with each other to discuss

pricing and allocating market share to Zydus. Indeed, between March 3 and March 7, these

competitors exchanged at least 26 calls with each other. These calls are detailed in the table below:




       1217. During the morning of March 17, 2014, Patel and Green had two more phone calls,

lasting nearly six minutes and just over five minutes. During those calls they were discussing how

to divvy up the market for several products where Zydus was entering the market. A half an hour

after the second call, Patel e-mailed her supervisor,



                                                316
for several products on which Teva overlapped with Zydus – including Fenofibrate. With respect

to Fenofibrate, Patel recommended                                Later that same day, Patel called

Green again and they spoke for more than eleven minutes.

       1218. In the months that followed, Teva                              several customers to

Zydus in accordance with the agreement they had reached.

       1219. For example, on Friday March 21, 2014,                      , a Director of National

Accounts at Teva, sent an internal e-mail to certain Teva employees, including Patel and

Rekenthaler, notifying them that Zydus had submitted an unsolicited bid to a Teva customer,

OptiSource. Patel responded that Teva was

       1220. That morning, Patel sent a calendar invite to Rekenthaler and to

scheduling a meeting to discuss                                           One item on the agenda

was

       1221. The following Monday – March 24, 2014 – Patel sent internal e-mails directing that

Teva             OptiSource and Humana to Zydus. Patel further stated that Teva provided a

                      to a third customer, NC Mutual, but stated that Teva should

                                      That same day, Patel called Green and they spoke for more

than fourteen minutes. She also spoke with Berthold of Lupin for nearly twelve minutes.

       1222. In the meantime, Zydus bid at another Teva customer, Ahold. On March 25, 2014,

Patel e-mailed Rekenthaler stating:

                           Patel then sent an internal e-mail directing that Teva             the

Ahold business. Later that day, Patel called Green. He returned the call and they spoke for nearly

eight minutes. Patel also called Berthold of Lupin and they spoke for five minutes.




                                               317
       1223. On May 13, 2014, Zydus bid on Fenofibrate at Walgreens, which was also Teva’s

customer. The next day, on May 14, 2014, Patel forwarded the bid to her supervisor,

and explained




       1224.             agreed with the approach and on May 15, 2014, Patel sent an internal e-

mail directing that Teva reduce its price to Walgreens, but explained that




         Later that day, Green called Patel and they spoke for twenty minutes.

       1225. On June 2, 2014, Green called Patel and they spoke for nearly six minutes. He also

called Rekenthaler, and they spoke for two minutes. Two days later, on June 4, 2014, Zydus

submitted an unsolicited bid for Fenofibrate at Anda, a Teva customer.

       1226. On June 10, 2014,                             , Senior Analyst, Strategic Support at

Teva e-mailed                , Director of National Accounts, stating:

                                                                         forwarded the e-mail to

           copying Patel and Rekenthaler, asking to




                                               318
             responded that Anda would maintain Teva on secondary and award the primary

position to Zydus. Anda was fully aware that Teva was conceding Anda’s business to Zydus

because it was a new entrant.

       1227. The next day, on June 11, 2014, Green called Rekenthaler and they spoke for eight

minutes. Later that day, Patel called Green. He returned the call and they spoke for nearly fifteen

minutes.

       GGG. Fluocinolone Acetonide

       1228. Fluocinolone Acetonide (“Fluocinolone”) is a steroid that reduces inflammation.

In its topical formulations (cream – 0.025%, 0.01% and ointment – 0.025%), it is prescribed for

the treatment of skin conditions such as eczema and psoriasis.

       1229. In early 2011, Fougera had 100% share of the market for these products and was

making plans to implement a price increase.

       1230. At an October 3, 2011 meeting of the Fougera Pricing Committee, members

discussed their confidence that they were nearly ready to execute the planned increase. Moreover,

they discussed the possibility that Fougera could use the impending entry of a competitor into the

Fluocinolone market to ensure the success of the price hike, saying:



       1231. The market intelligence that the Fougera Pricing Committee had when it convened

was the result of at least a week’s worth of preparatory conversations that CW-6 had in late

September 2011 with the entering competitor – G&W.            Between September 20, 2011 and

September 27, 2011, CW-6 and Grauso at G&W exchanged five phone calls, speaking for a total

of forty-six minutes.




                                               319
       1232. The conversations between CW-6 and Grauso continued at a vigorous pace over

the coming weeks as Fougera moved towards its price increase, and G&W planned for its launch.

The two exchanged sixteen calls during October and November 2011:

       Date       Call Type       Target Name     Direction   Contact Name     Time      Duration
        10/7/2011    Voice    Grauso, Jim (G&W)   Incoming    CW‐6 (Fougera)    11:10:00    0:06:00
        10/7/2011    Voice    Grauso, Jim (G&W)   Incoming    CW‐6 (Fougera)    12:10:00    0:01:00
        10/7/2011    Voice    Grauso, Jim (G&W)   Incoming    CW‐6 (Fougera)    13:08:00    0:14:00
       10/10/2011    Voice    Grauso, Jim (G&W)   Incoming    CW‐6 (Fougera)    14:22:00    0:01:00
       10/10/2011    Voice    Grauso, Jim (G&W)   Outgoing    CW‐6 (Fougera)    14:53:00    0:01:00
       10/11/2011    Voice    Grauso, Jim (G&W)   Incoming    CW‐6 (Fougera)    14:39:00    0:02:00
       10/31/2011    Voice    Grauso, Jim (G&W)   Outgoing    CW‐6 (Fougera)     4:01:00    0:06:00
        11/2/2011    Voice    Grauso, Jim (G&W)   Outgoing    CW‐6 (Fougera)     9:49:00    0:10:00
        11/9/2011    Voice    Grauso, Jim (G&W)   Outgoing    CW‐6 (Fougera)    12:22:00    0:01:00
       11/10/2011    Voice    Grauso, Jim (G&W)   Outgoing    CW‐6 (Fougera)     4:29:00    0:02:00
       11/10/2011    Voice    Grauso, Jim (G&W)   Outgoing    CW‐6 (Fougera)     5:56:00    0:07:00
       11/11/2011    Voice    Grauso, Jim (G&W)   Outgoing    CW‐6 (Fougera)     9:55:00    0:04:00
       11/17/2011    Voice    Grauso, Jim (G&W)   Outgoing    CW‐6 (Fougera)    14:37:00    0:02:00
       11/17/2011    Voice    Grauso, Jim (G&W)   Incoming    CW‐6 (Fougera)    14:54:00    0:11:00
       11/17/2011    Voice    Grauso, Jim (G&W)   Incoming    CW‐6 (Fougera)    15:04:00    0:04:00
       11/21/2011    Voice    Grauso, Jim (G&W)   Incoming    CW‐6 (Fougera)     8:37:00    0:05:00


       1233. On the morning of December 14, 2011, Fougera learned that G&W had launched

Fluocinolone the preceding day and, importantly, that it had done so at nearly the same pricing as

Fougera’s current (pre-increase) price.

       1234.                    , a senior executive at Fougera, was quite displeased with the

development considering Fougera’s impending price increase, saying:




       1235. Less than a half hour later, Kaczmarek called CW-6. The call lasted two minutes.

Immediately after hanging up, CW-6 placed a call to Grauso. They spoke for six minutes. Later

that day, the competitors exchanged two more calls lasting nine minutes and eighteen minutes,

respectively.




                                                   320
          1236. Having received some peace of mind from the conversations between CW-6 and

Grauso,           of Fougera sent an internal e-mail recommending that Fougera move forward with

the planned price increase on Fluocinolone, adding

          1237. To solidify the plan, CW-6 and Grauso placed three more calls to each other that

afternoon. Less than an hour after his final call with CW-6, Grauso initiated the first of three calls

to his superior, Orlofski, to update him on the Fluocinolone discussions with Fougera. CW-6 also

called to update his supervisor, Kaczmarek.

          1238. Six more calls followed between CW-6 and Grauso in the days that followed

between December 15, 2011 and December 21, 2011.

          1239. At the conclusion of that series of calls, on December 22, 2011, Fougera increased

WAC pricing on Fluocinolone Cream and Ointment by 200%.

          1240. Fougera knew from its discussions with G&W that G&W would follow the price

increase. On the morning of December 28, 2011,             of Fougera instructed a co-worker to find

out whether G&W had followed Fougera’s price increase yet. The co-worker reported that the

competitor had not.

          1241. Shortly before noon that day, CW-6 and Grauso had a twenty minute phone

conversation. Immediately after that call ended, Grauso called his colleague at G&W, Vogel-

Baylor.

          1242. Less than a week later, on January 3, 2012, G&W followed through with its

assurances to Fougera, increasing WAC prices on Fluocinolone Cream and Ointment to within

pennies of Fougera’s prices.            was delighted by the news and agreed with a colleague’s

suggestion that Fougera would




                                                 321
       1243. Fougera was satisfied with G&W’s compliance and promptly gave up its Wal-Mart

business to G&W, quoting intentionally high prices on this drug to allow the rival to

        Specifically, Kaczmarek recommended giving G&W 30-35% share of the market, adding



       1244. In early February 2012, the two companies continued to collaborate on allocating

the market between themselves. CW-6 called Orlofski on the morning of February 1, 2012,

because his regular contact at G&W – Grauso – had left the company for employment at Aurobindo

a few weeks earlier. Less than one hour later, Orlofski called CW-6 back. On February 8, 2012,

Orlofski called Kaczmarek. Kaczmarek called Orlofski back on February 9, 2012, and the

competitors exchanged two more calls the following day, including one call lasting over twenty-

five minutes.

       1245. At the conclusion of these communications, on February 14, 2012, Fougera ceded

another large customer, Cardinal, to G&W.

       1246. In late 2012, Sandoz (having recently acquired Fougera) learned that Teligent was

planning to enter the market. In advance of Teligent’s entry, Sandoz raised its WAC prices again,

and also made plans to concede customers to Teligent in accordance with the rules of the

conspiracy. For example, when Ahold sought to negotiate lower pricing from Sandoz based on

Teligent’s entry on March 6, 2013, CW-1 of Sandoz notified others internally that Sandoz



                                      In exchange for Sandoz and G&W conceding market share,

Teligent agreed to match the WAC price increases announced by Sandoz and G&W on each

formulation.




                                              322
       1247. Upon information and belief, the Defendants coordinated these price increases with

Teligent by phone and also at the trade association events identified in Ex. 1. For example, Erika

Vogel-Baylor of G&W spoke with                                     (Teligent’s CEO) and

            (Teligent’s Director of National Accounts) several times each between November

2013 and May 2014, in order to coordinate Teligent’s customer allocation and also Teligent’s entry

into the market for Fluocinolone cream (which it did in early 2014).

       1248. Additionally, when Taro entered the market for Fluocinolone in 2015, it did so at

the prices set by Sandoz, G&W, and Teligent, and in return, the existing competitors conceded

customers to Taro.

       HHH. Fluocinonide

       1249. Fluocinonide, also known by the brand name Lidex, is a topical corticosteroid used

for the treatment of a variety of skin conditions, including eczema, dermatitis, psoriasis, and

vitiligo. It is one of the most widely prescribed dermatological drugs in the United States.

       1250. There are several different formulations of Fluocinonide including, among others:

Fluocinonide cream, Fluocinonide gel and Fluocinonide ointment.

       1251. On January 14, 2014, Perrigo launched Fluocinonide .1% as the first-to-file generic,

giving it 180 days of exclusivity against all other generic competitors, except for the authorized

generic. Two weeks later, on January 31, 2014, Valeant launched the AG of Fluocinonide .1%

and published WAC pricing that matched Perrigo.

       1252. When Valeant entered the market, the company submitted a bid to Publix for

Fluocinonide .1%. After consultation with            a sales executive at Perrigo, and Wesolowski,

a senior Perrigo executive, the company decided to “play fair” and gave up the business to Valeant.




                                               323
         1253. On June 25, 2014, Taro submitted an offer to Publix, a Valeant customer, for

Fluocinonide .1%. On June 30, 2014, Publix e-mailed Valeant asking whether the company

wanted to bid to retain the business.                        , a sales executive at Valeant, forwarded the

request along internally stating that he had spoken with his contact at Publix who told him that

Taro



                                After discussing the issue internally,                          , a marketing

executive at Valeant, responded with his agreement to act in accordance with the larger collusive

understanding among the Defendants:

         Thereafter, on July 7, 2014, Publix awarded the business to Taro.

         1254. Around this same time, Glenmark entered the market for 0.1% Fluocinonide. In

the days leading up to Taro’s and Glenmark’s Fluocinonide .1% launch, Aprahamian of Taro and

Grauso of Glenmark exchanged several calls, including two calls on July 14, 2014 – the day that

both competitors launched the product. These calls are detailed in the chart below:

  Date           Call   Target Name              Direction     Contact Name             Time        Duration
                Type
    7/1/2014   Voice    Aprahamian, Ara (Taro)   Outgoing      Grauso, Jim (Glenmark)    13:33:00      0:18:00
    7/8/2014   Voice    Aprahamian, Ara (Taro)   Incoming      Grauso, Jim (Glenmark)     6:11:00      0:07:00
    7/8/2014   Voice    Aprahamian, Ara (Taro)   Outgoing      Grauso, Jim (Glenmark)     6:21:00      0:01:00
    7/9/2014   Voice    Aprahamian, Ara (Taro)   Incoming      Grauso, Jim (Glenmark)    11:55:00      0:06:00
   7/14/2014   Voice    Aprahamian, Ara (Taro)   Outgoing      Grauso, Jim (Glenmark)    13:26:00      0:01:00
   7/14/2014   Voice    Aprahamian, Ara (Taro)   Incoming      Grauso, Jim (Glenmark)    13:31:00      0:02:00


         1255. On July 14, 2014, Taro and Glenmark published WAC pricing that essentially

matched each other. Prior to their entry, the generic market was evenly split between Perrigo (with

56%) and Valeant (with 44%). Through the end of July 2014, the competitors continued to talk

with each other. Aprahamian and Perfetto of Taro exchanged several calls with Grauso of

Glenmark and Perfetto exchanged several calls with Boothe of Perrigo. During this time, and in


                                                   324
accordance with the conspircy’s principles, Perrigo and Valeant both ceded several accounts to the

new entrants, Taro and Glenmark.

       1256. For example, on July 14, 2014, Meijer, a Perrigo customer, e-mailed Glenmark to

advise that it was interested in receiving an offer for Fluocinonide .1%. Jeffrey Johnson, a sales

executive at Glenmark, forwarded the e-mail to his colleague Jim Brown, a senior sales executive

at Glenmark, who responded:



       1257. Over the next several days, Glenmark secured awards for Fluocinonide .1% at

Econdisc, a Valeant customer, and Rite Aid and ABC, both Perrigo customers. With respect to

ABC, when                    , a Glenmark sales executive, received the customer’s acceptance she

forwarded it along internally, stating,



       1258. After securing these accounts,           of Glenmark followed up with his colleague

       regarding Meijer, asking

                                           Brown replied to Johnson’s e-mail stating



       1259. With respect of 0.05% formulations of the drug, Teva and Taro had divided the

market evenly under the conspiracy’s principles prior to Sandoz’s entry in early 2013. On March

2, 2013, CW-3 and           exchanged three text messages. That same day,                      ,a

Taro sales executive, forwarded the customer request along internally and attached a spreadsheet

indicating that McKesson was Taro’s largest customer and including the notation:




                                               325
       1260. On March 5, 2013,                          confirmed that Taro supplied




                                            After confirming that Taro was primary on all three,




       1261. Looking for a creative way to communicate with Sandoz that Taro would rather it

approach ABC or Cardinal instead of McKesson, Perfetto reached out to his former colleague at

Actavis, Aprahamian (who would not leave for Taro for a few more weeks), who he knew had a

relationship with CW-3 at Sandoz. Perfetto asked Aprahamian to speak with CW-3 about

Fluocinonide Ointment. The two exchanged calls, and Aprahamian reported back to Perfetto what

they discussed. In accordance with the agreement between the two competitors brokered by

Aprahamian (still with Actavis), Sandoz bid on Fluocinonide Ointment at ABC and Taro promptly

conceded the business.

       1262. On June 11, 2014, Teva identified the market-share breakdown the formulations of

the drug that it manufactured as follows:




       1263. As discussed above, Teva coordinated with Taro and Sandoz to increase the price

of all four of those formulations of Fluocinonide in July 2013, based in part on discussions that


                                                326
started between Patel and Aprahamian even before Patel started her employment at Teva. The

increases to the WAC prices in 2013 were a modest 10-17%, depending on the formulation.

       1264. The second coordinated increase of Fluocinonide was much more significant. Taro

raised its prices for all four Fluocinonide formulations effective June 3, 2014. For each, the

increases to Taro’s WAC prices are set forth below:




Taro notified its customers of the increases the day before they became effective – June 2, 2014.

       1265. Patel knew of these (and other) Taro increases well in advance, and was prepared

so that Teva would be able to quickly follow the price increases. Patel was already preparing for

the next round of Teva price increases in June 2014, many of which would ultimately be

implemented by Teva in August.

       1266. On May 14, 2014, Patel and Aprahamian exchanged eight text messages, and had

one phone conversation lasting more than four minutes.

       1267. Subsequent to the May 14 communications, Patel directed a colleague to create a

list of future price increase candidates, based on a set of instructions and data she had given him.

On May 28, 2014, that colleague sent her a list titled

            The list included several drugs sold by Taro –including the four formulations of

Fluocinonide (plus Carbamazepine and Clotrimazole) – with the notation                        listed

as the reason for the increase, even though Taro had not yet increased its price on those drugs or




                                                327
notified its customers that it would be doing so. The relevant portions of that spreadsheet are set

forth below:




       1268. On June 3, 2014 – the day the Taro increases on Fluocinonide became effective –

CVS reached out to

                           on Fluocinonide 0.05% Cream and Fluocinonide 0.05% Emollient

Cream, but did not give a reason for providing that opportunity to Teva. The CVS representative

offered to move a significant amount of business from Taro to Teva, stating:

          The e-mail was forwarded to Patel, who responded:




                                               328
       1269. Of course Patel already knew the bid request was due to a price increase, because

she had spoken to Aprahamian in May and included Fluocinonide on her list of price increases

with a notation to                   But she still needed to determine the specific price points so

that Teva could follow quickly.

       1270.            stated that she had not heard about a price increase from anyone else, but

indicated that she would

       1271. Patel immediately began snooping around by exchanging five text messages with

Aprahamian at Taro. Later that afternoon, she reported that she had

            but that she was                                             at Teva suggested that it

might be a good opportunity to take some share from Taro – the market share leader on several of

the Fluocinonide formulations. He asked Patel to provide                  by the next day. Patel

responded at 4:23 p.m., making it clear that she had been talking to Aprahamian not only about

Fluocinonide, but other drugs as well:




       1272. Shortly after sending that e-mail Patel called Aprahamian and they spoke for nearly

seven minutes. As discussed more fully below, Taro had also increased its prices for Warfarin and

Carbamazepine on June 3. Teva followed those substantial Taro price increases with equally

substantial increases of its own in August.

       1273. First thing the next morning – June 4, 2014 – Patel exchanged two more text

messages with Aprahamian, and then the two spoke on the phone for more than twenty-five

minutes. Within minutes after hanging up the phone with Aprahamian, Patel sent the following e-




                                               329
mail to            , making it clear that she had obtained additional     that she did not want to

put in writing:




          1274. That same day, Teva received a bid request from another large customer, Walmart.

Shortly after that e-mail was forwarded to her, Patel responded by making it clear that Teva would

be “responsible in the market:”




                                                 330
After further deliberation, Teva decided not to bid on any of the Walmart business at all.

       1275. On June 23, 2014, as Teva was planning to implement a price increase on

Fluocinonide to follow the Taro increase, Patel forwarded a spreadsheet to a subordinate with

       she had obtained directly from Aprahamian. That spreadsheet contained specific Taro

customer price points for the different formulations of Fluocinonide for each of the various classes

of trade (i.e., wholesalers, chain drug stores, mail order and GPO). Prior to sending that

Patel had spoken to Aprahamian on June 17 for fifteen minutes, and June 19 for nearly fourteen

minutes. The contract price points obtained by Patel were not otherwise publicly available.

       1276. Sandoz was also a competitor on two formulations of Fluocinonide – Fluocinonide

ointment and Fluocinonide gel – but was only actively marketing the gel. Not coincidentally,

Aprahamian was having similar communications with his contact at Sandoz, CW-3, during this

time period. At least some of those calls are set forth below:




       1277. During one of the calls on June 20 referenced above, Aprahamian dictated to CW-

3 over the telephone specific Taro contract price points for each of the same classes of trade that

he had provided to Patel, for Fluocinonide ointment, Fluocinonide gel, and various other drugs

that Taro had increased that overlapped with Sandoz. CW-3 took very detailed notes of the pricing

information Aprahamian provided, which again were not publicly available. Based on a history

and pattern of practice between CW-3 and Aprahamian, it was understood that Sandoz would

follow the Taro price increase.


                                                331
          1278. On June 26, 2014, Teva sent out a calendar notice to a number of sales and pricing

employees- including Patel and Rekenthaler – for a 3:00 p.m. conference call that day. The notice

stated:



                                                                                 The next morning,

at 9:57 a.m., Patel and Aprahamian spoke again for nearly thirteen minutes.

          1279. Taro and Teva set identical WAC prices within a month of each other in the

Summer of 2014, reflecting increases of more than 200%:

  Product                                       Old                      Date of      Percentage
                 Defendant        NDC                     New WAC
 CRM .05%                                       WAC                     Increase       Increase
 15 gm           Taro         51672125301     $0.79      $2.43        3-Jun-14       206%
 30 gm           Taro         51672125302     $0.56      $2.43        3-Jun-14       337%
 60 gm           Taro         51672125303     $0.39      $2.43        3-Jun-14       524%
 15 gm           Teva         00093026215     $0.79      $2.43        1-Jul-14       206%
 30 gm           Teva         00093026230     $0.56      $2.43        1-Jul-14       337%
 60 gm           Teva         00093026292     $0.39      $2.43        1-Jul-14       524%

          1280. The Teva price increases on Fluocinonide became effective on July 1, 2014. Teva

increased its WAC pricing to match Taro’s pricing almost exactly. That same day, Patel spoke to

her contact at Sandoz – CW-1 – several times, including at least those calls set forth below:




                                                332
       1281. During those calls, Patel informed CW-1 of the Teva price increase and provided

specific price points to CW-1 so that Sandoz would be able to follow the price increase.

       1282. Sandoz was in the process of exiting the market for Fluocinonide ointment (it had

ceased its sales by September 2014, but followed the increase on the gel three months later, on

October 10, 2014). Sandoz increased its WAC pricing on the gel by 491%. That same day, Patel

spoke to CW-1 at Sandoz by phone for more than three minutes.

       1283. During this time period, Actavis had also started to re-enter the market for

Fluocinonide 0.05% cream, but had not yet gained any significant market share due to supply

problems. Nonetheless, Actavis still followed the Taro and Teva price increases in December

2014 by raising its prices to the exact WAC prices as Teva and Taro. The Actavis price increase

on Fluocinonide cream was effective December 19, 2014. Not surprisingly, in the days and weeks

leading up to the Actavis price increase, the co-conspirators at Actavis, Taro and Teva were all

communicating frequently. At least some of those communications are set forth below:




                                               333
        1284. Although the price increases on Fluocinonide were successful across all

formulations, Sandoz and Teva exited the market for Fluocinonide gel in late 2014, and Teva sold

its ANDA for the product to G&W. In the fall of 2015, however, G&W was making plans to join

Taro in the market by launching the product that November, after purchasing the product from

Teva. G&W built into its plans an assumption that Taro would cede approximately twenty-five

(25%) percent market share to G&W upon its launch.

        1285. By mid-November, G&W had bumped its product launch date back to December

because of a product testing problem at an outside lab. No longer content with assuming that Taro

would give it a quarter of the market when the launch came to fruition, G&W executives reached

out to the competitor to confirm. On November 17, 2015, Orlofski of G&W called Aprahamian

at Taro, and the two competitors spoke for seventeen minutes. Later that same day, Perfetto of

Taro placed a brief call to Orlofski.

        1286. On November 20, 2015, Vogel-Baylor of G&W worked on confirming that Taro

was, indeed, the only competitor with whom G&W had to confer, asking a colleague to pull

information for Fluocinonide Gel:

                       Orlofski placed another quick call to Perfetto on November 21, 2015. Two

days later, on November 23, 2015 at 11:25 a.m., Orlofski called Perfetto yet again. They spoke

for seven minutes. Less than two hours later, Vogel-Baylor sent Kroger an e-mail with news of

the G&W launch of Fluocinonide Gel and a request for information about the purchaser’s usage

numbers for the product. On November 24, 2015, Kroger responded that G&W would need to

offer all three sizes of the product – 15gm, 30gm, and 60gm – before it would consider moving

the business. G&W, however, would not be prepared to launch the two smaller sizes until May

2016.



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         1287. The Kroger response sent the competitors back to square one in figuring out how

to allocate the Fluocinonide Gel market between them. G&W set to work quickly exploring other

options. On November 25, 2015, Orlofski called Perfetto and the two competitors spoke for seven

minutes. On December 3, 2015, Vogel-Baylor reached out to Walgreens asking whether the

customer would entertain a bid for Fluocinonide Gel.

         1288. A few days later on December 8, 2015, Aprahamian and Orlofski had a twenty-

three minute phone conversation. Later that day, Vogel-Baylor moved forward, e-mailing her

Walgreens contact to ask where G&W should send its Fluocinonide Gel proposal soliciting

Walgreens’ business.

         1289. While Vogel-Baylor awaited Walgreens’ response, other G&W executives

continued their conversations with their counterparts at Taro. On December 13, 2015, Perfetto

called                 of G&W and they spoke for twenty-nine minutes. The following day,

December 14, 2015, Aprahamian called Orlofski and they spoke for nine minutes.

         1290. Having gotten the requested information from Walgreens late in the evening on

December 14, 2015, and having vetted the plan with its competitor, G&W sent its pricing proposal

on Fluocinonide Gel to Walgreens the following day.

         1291. Walgreens contacted Taro two days later, on December 17, 2015, to inform the

incumbent of G&W’s proposal and to find out whether Taro intended to defend. Taro sales

executive                  asked Aprahamian:                            Aprahamian responded

simply




                                               335
         1292. To keep the lines of communication open, Orlofski called Perfetto first thing the

following morning.

         1293. On January 4, 2016 the Walgreens representative again pressed for an answer on

what Taro’s approach would be on Fluocinonide Gel, asking:




         1294. The following day, January 5, 2016, a Taro pricing executive,                    ,

confirmed that Taro had voluntarily ceded its Walgreens business to the competitor, telling his

colleague:



         1295. That same day, a Taro pricing executive,

that he should have someone on the pricing team send e-mails to customers when Taro declines to

bid – like the one he sent to Walgreens for Fluocinonide Gel.




         1296. On January 6, 2016, the day after Taro declined to bid at Walgreens, Vogel-Baylor

called           at Taro and they spoke for twenty-five minutes. Notably, this was the only phone

call ever between these two competitors according to the available phone records.

         1297. Several months later, on April 26, 2016,




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          III.   Fluticasone Propionate

          1298. Fluticasone Propionate Lotion (“Fluticasone”), also known by the brand name

“Cutivate,” is a topical corticosteroid used to treat swelling and itching that result from various

chronic skin disorders, including atopic dermatitis.

          1299. Glenmark was the first generic manufacturer to enter the market for Fluticasone on

March 26, 2012. As the first generic manufacturer to file an approved ANDA, Glenmark enjoyed

a 180-day period of exclusivity during which time no other competitors could sell the product.

Even before Glenmark launched, Sandoz (then Fougera) was planning to enter the market for

Fluticasone after Glenmark’s exclusivity period ended in September 2012 and understood that

Perrigo was also planning to enter at the same time. Over the course of several months, Fougera

– in particular CW-6, at the direction of Kaczmarek – coordinated with Glenmark frequently about

Fluticasone, including market share targets and pricing, to prepare for its eventual Fluticasone

launch.

          1300. After the Sandoz acquisition of Fougera in July 2012, as the end of Glenmark’s

180-day exclusivity period approached, Sandoz continued to stay in communication with

Glenmark and Perrigo about Fluticasone. As part of its launch strategy, Sandoz planned to obtain

33% of the market. Perrigo, however, only anticipated taking about one-quarter of the market.

          1301. By mid-August 2012, Sandoz learned that its launch of Fluticasone would be

delayed until the end of November 2012 because of certain production problems. As a result of

this delay, Kellum was concerned that Perrigo would be able to launch earlier than Sandoz and

wanted to learn more about Perrigo’s launch strategy. On August 21, 2012, Kellum sent an e-mail

to his sales team asking about                         Within minutes of receiving the e-mail, CW-

3 reached out to           his contact at Perrigo, by phone.



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        1302. That same day, a customer sent an e-mail to a Perrigo sales executive, stating:

                                                                                             The

Perrigo sales executive informed the customer that Perrigo’s Fluticasone launch had now been

              to the first quarter of 2013.

        1303. Around this same time, Sandoz also began preparing to have conversations with

              about its Fluticasone launch while at the NACDS Conference in Denver in late

August 2012. It was at that same conference where CW-3 first spoke to Blashinsky at Glenmark

about working                                           In an internal e-mail to the Sandoz sales

team on August 25, 2012, in advance of the NACDS Conference,




        1304. As its launch date for Fluticasone approached, Sandoz began to think more

critically about which customers to target and began to communicate directly with Glenmark on

the subject. On November 26, 2012, Sandoz scheduled an internal meeting to discuss which

customers it should approach as part of its Fluticasone launch. That same day, CW-3 of Sandoz

spoke to Blashinsky of Glenmark twice, with one call lasting five minutes. After the second call

with Blashinsky, CW-3 e-mailed his Sandoz colleagues a list of six customers he thought Sandoz

should target. That list would later grow to eight customers. CW-3 also made it known to his

Sandoz colleagues that Glenmark was planning a potential price increase on Fluticasone at some

point in the future.




                                              338
       1305. The next day, November 27, 2012, a senior Sandoz marketing executive asked CW-

3 to get Fluticasone               for the customers Sandoz had agreed to target. CW-3 responded

that he was                                            As promised, the next morning (November

28) CW-3 called Blashinsky of Glenmark. The two spoke four times that day, including one call

lasting eight minutes. Later that same day, CW-3 was again asked if he had been able to




       1306. The next morning, CW-3 sent an updated list of nine customers that Sandoz should

target for Fluticasone – based on his conversations with Blashinsky – but he did not include the

pricing information that had been requested. The senior Sandoz marketing executive responded

immediately:              CW-3 countered by referring to one of the biggest pop songs of 2012,

suggesting that his boss should call him instead of asking for the information in writing:




       1307. As Sandoz continued to prepare for its imminent launch, it also began to evaluate

the usage expected from the nine customers that it had agreed with Glenmark to target. Sandoz

found that those nine customers would not allow the company to reach its desired market share

goals. As a result, on November 30, 2012 a senior Sandoz marketing executive suggested that

Sandoz approach two large wholesaler customers, instead of one as originally agreed. CW-3

responded immediately, saying                                               CW-3 then stated that




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                                                               A few hours later, CW-3 called

Blashinsky and left a message. Blashinsky promptly returned the call and the competitors spoke

for three minutes. Later that day, CW-3 also called and spoke to his contact at Perrigo,

twice.

         1308. Sandoz officially entered the market for Fluticasone on December 3, 2012,

matching Glenmark’s WAC pricing exactly. That same day, CW-3 of Sandoz called Blashinsky

of Glenmark and they had a two minute call. Also that day, Blashinsky directed the sales team to

relinquish the Publix and Optisource accounts to Sandoz, two of the nine customers that Glenmark

had agreed to give up to the new entrant.

         1309. Sandoz continued to coordinate with Glenmark to make sure that it was targeting

the appropriate customers and minimizing price erosion as it entered the Fluticasone market. For

example, on December 13, 2012, a large wholesaler that Sandoz had agreed not to target

approached Sandoz looking for an offer. That same day, CW-3 spoke to Blashinsky twice. When

Sandoz refused to respond to the customer, the customer followed up again on December 21, 2012.

Again, following the same pattern, CW-3 spoke to Blashinsky twice that day, including one call

lasting four minutes.

         1310. Although Sandoz made sure to coordinate extensively with Glenmark, it had initial

difficulty meeting its market share goal, in part because some of the customers already had a

significant amount of inventory on hand. On January 9, 2013, CW-3 had a conversation with

Blashinsky where the two competitors walked through a list of customers, identifying those that

Sandoz should target and those which it should not. CW-3 took detailed contemporaneous notes

of the conversation. Later in the day, after reviewing the list, CW-3 of Sandoz began to suspect




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that Glenmark may have oversold to certain customers in advance of Sandoz’s entry, stating in an

e-mail that he had

       1311. By January 11, 2013, CW-1 of Sandoz sent around a summary of




and that Sandoz should continue to press for its original market share goal.

       1312. During an internal Commercial Operations meeting on January 21, 2013, Sandoz

decided to approach another customer, CVS, in order to obtain additional market share. But before

doing so Sandoz wanted to confirm that it was acceptable with Glenmark. In his contemporaneous

notes of the meeting, CW-3 recorded in his Notebook that he was supposed to



       1313. Sandoz subsequently learned why Glenmark was reluctant to give up more market

share to Sandoz. There was a discrepancy between the two competitors about how much market

share Sandoz had already obtained. On January 29, 2013, a senior Sandoz marketing executive

reported that

                                                                               Two days later, on

January 31, 2013, CW-3 and Blashinsky spoke two more times, for five minutes each.

       1314. Over the next several months Sandoz and Glenmark continued to coordinate about

Fluticasone, including about a Glenmark price increase on that drug. For example, on April 16,

2013, as Glenmark was preparing for a large-scale price increase on several different drugs (in



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coordination with several different competitors), CW-3 of Sandoz had two separate calls with

Blashinsky of Glenmark, including one call lasting thirteen minutes. They talked about several

things, including Glenmark’s potential entry and market share targets on a different drug,

Alclometasone, as well as a price increase on Fluticasone, as recorded by CW-3 in his

contemporaneous notes of the call:




       1315. Blashinsky called CW-3 again on May 6, 2013, in advance of the Glenmark price

increase. He also called CW-3 on May 17, 2013 – the day after the Glenmark price increase on

Fluticasone became effective. In all, the two competitors spoke three times on May 17, 2013,

including two separate five minute calls.

       1316. Throughout this time period, Sandoz also kept in close communication with Perrigo

about the details of Perrigo’s anticipated entry into the Fluticasone market. For example, in early

April 2013 CW-3 of Sandoz spoke to                     of Perrigo multiple times, including calls

lasting seventeen and five minutes, respectively. CW-3 subsequently reported to his colleagues at

Sandoz that Perrigo would be delayed in entering the Fluticasone market

                          On April 9, 2013, a colleague at Sandoz followed up asking CW-3 for

additional information about whether Perrigo planned to enter

          The next day, CW-3 communicated directly with Perrigo to obtain the answer, calling

and speaking with           two times.

       1317. On May 21, 2013, as Perrigo was beginning to plan its entry into the market, a

Perrigo executive asked          to obtain                 for Fluticasone Lotion. Two days later,

on May 23, 2013,            called CW-3 at Sandoz. They ended up speaking twice that day, for


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five and three minutes, respectively. Immediately after their second call, CW-3 called Blashinsky

at Glenmark – the other competitor on Fluticasone – and the two spoke for four minutes.

       1318. Similarly, on May 28, 2013 a senior Sandoz executive requested additional

             about Perrigo’s entry timing on Fluticasone. That same day, CW-3 called               at

Perrigo and they spoke for four minutes. The next day,            called CW-3 back and they spoke

again for two minutes.

       1319. By July 2013, Perrigo finally began preparing in earnest to enter the Fluticasone

market. As of that time Sandoz had been able to obtain 30% market share, reaching its initial

target goal for a 3-player market with Glenmark and Perrigo. Sandoz understood that, because

Glenmark still had a significant majority of the market share, Perrigo would target Glenmark

customers as it entered.

       1320. In the days and weeks leading up to Perrigo’s launch, Perrigo was in frequent

communication with Sandoz, as set forth below:

    Date        Call Type   Target Name      Direction   Contact Name      Time       Duration
    7/2/2013    Voice       CW‐3 (Sandoz)    Outgoing    T.P. (Perrigo)      11:13:00    0:01:00
    7/10/2013   Voice       T.P. (Perrigo)   Outgoing    CW‐3 (Sandoz)       16:14:00    0:01:00
    7/15/2013   Voice       T.P. (Perrigo)   Outgoing    CW‐3 (Sandoz)       12:06:00    0:01:00
    7/16/2013   Voice       T.P. (Perrigo)   Outgoing    CW‐3 (Sandoz)        9:22:00    0:01:00
    7/17/2013   Voice       T.P. (Perrigo)   Outgoing    CW‐3 (Sandoz)       11:22:00    0:19:00
    7/29/2013   Voice       T.P. (Perrigo)   Outgoing    CW‐3 (Sandoz)       10:27:00    0:01:00
    7/29/2013   Voice       T.P. (Perrigo)   Outgoing    CW‐3 (Sandoz)       13:11:00    0:01:00
    7/30/2013   Voice       T.P. (Perrigo)   Incoming    CW‐3 (Sandoz)       10:09:00    0:13:00
    8/1/2013    Voice       T.P. (Perrigo)   Outgoing    CW‐3 (Sandoz)       13:32:00    0:01:00
    8/1/2013    Voice       T.P. (Perrigo)   Outgoing    CW‐3 (Sandoz)       13:42:00    0:05:00

       1321. Perrigo held an internal meeting to discuss its Fluticasone launch on July 16, 2013.

As can be seen in the table above, on the day of the meeting              of Perrigo called CW-3 at

Sandoz and left a message. He called CW-3 again the next day, and they were able to speak for

nineteen minutes. During these conversations,             informed CW-3 that, consistent with the


                                                 343
collusive understanding, Perrigo was targeting specific Glenmark customers and looking for

approximately 25% market share. CW-3 took contemporaneous notes of his conversation with

       , as set forth below:




       1322. On July 30, 2013, Perrigo received FDA approval to begin selling Fluticasone.

That same day,           of Perrigo spoke to CW-3 of Sandoz for thirteen minutes. Perrigo then

formally launched the product on August 1, 2013, with the same exact WAC pricing as Glenmark

and Sandoz.           and CW-3 also spoke twice that day.

       1323. As Perrigo entered the market it planned only a                    targeting only $1

million per year in sales. In accordance with the conspiracy and the previous communications

between the competitors, Perrigo targeted – and Glenmark conceded – multiple customers

immediately.

       JJJ.    Fosinopril HCTZ

       1324. Fosinopril HCTZ is the generic version of Monopril HCT, a drug developed by

Bristol Meyers Squibb in 1994 to treat hypertension. The market for Fosinopril HCTZ is mature.

The primary marketers of Fosinopril HCTZ are Aurobindo, Citron, Glenmark, Heritage, and

Sandoz, and each sold Fosinopril HCTZ to Plaintiff, its assignor, and others in the United States

at supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.




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       1325. During an April 22, 2014 internal call at Heritage, Malek informed the sales team

that he wanted Heritage to take a price increase on Fosinopril HCTZ. Both Malek and Glazer

pushed the Heritage sales team members to communicate with their competitors to obtain

agreements to raise prices.

       1326. In early May 2014, sales executives with pricing authority for Fosinopril HCTZ

from Heritage, Glenmark, and Aurobindo began to discuss a collusive price increase for the drug.

For example, on May 2, 2014, the Heritage executive,                             reached out to his

counterpart at Glenmark, the Executive Vice President of Generics. On May 8, 2014, the

Fosinopril HCTZ sales executives from each of the three companies spoke several times by

telephone in order to discuss and coordinate the price increase.

       1327. On May 14, 2014, at the MMCAP conference, executives from Sandoz, Aurobindo,

and Heritage met in person to discuss raising prices on Fosinopril HCTZ. Heritage’s          spoke

with the Director of National Sales at Aurobindo,                  .       also spoke with CW-3,

a National Accounts Executive at Sandoz. The next day, Aurobindo’s Gustafson and Sandoz’s

CW-3 communicated by text messages about the price increase.

       1328. Also on May 15, 2014, Heritage agreed to walk away from a large pharmacy

account, so that it could concede this business to Aurobindo. This act against Heritage’s self-

interest was done to ensure that Aurobindo participated in the price increase.

       1329. On May 21, 2014, Heritage’s               exchanged texts with Sandoz’s CW-3 to

confirm that each had the other’s mobile phone numbers.

       1330. On June 3, 2014, following an HDMA conference held that day, Heritage’s

met for drinks with her counterpart at either Sandoz or Aurobindo (or both). During the week that

followed this conference, the sales executives from Aurobindo, Sandoz, and Glenmark spoke by



                                               345
phone at least nine times and also exchanged numerous text messages about the Fosinopril HCTZ

price increase.

       1331. On June 16, 2014, a different Glenmark employee called a different Aurobindo

employee and they spoke for twenty-two minutes. Again, these discussions were presumably

about the pricing of various drugs, including Fosinopril HCTZ.

       1332. On June 25, 2014, Heritage’s           and Aurobindo’s                     spoke by

phone for approximately 18 minutes. Upon information and belief, during that call, Heritage

informed the Aurobindo executive that Heritage would increase Fosinopril HCTZ prices by

approximately 200% beginning the next day, and the Aurobindo executive ensured Heritage that

each of Aurobindo, Glenmark, and Sandoz would follow Heritage’s price increase.

       1333. That same day, Glenmark’s sales executive spoke with the sales executive at Citron

with responsibility for both Glyburide and Fosinopril HCTZ,                    Upon information

and belief, during the discussion, Citron informed Glenmark that Citron would be entering the

Fosinopril HCTZ market, and Glenmark informed Citron about the agreement between Glenmark,

Heritage, Aurobindo, and Sandoz to follow Heritage’s forthcoming price increase.

       1334. Beginning on June 26, 2014, Heritage began to implement the 200% price increase

on Fosinopril HCTZ with its customers.

       1335. On June 27, 2014, executives from Aurobindo and Glenmark discussed the price

increase on Fosinopril HCTZ. Upon information and belief, each confirmed to the other that the

two companies would follow Heritage’s price increase.

       1336. On July 1, 2014, Citron’s          the Citron employee that had discussed the price

increase with Glenmark, reached out to Heritage’s                to discuss the price increases of

both Glyburide and Fosinopril HCTZ.                              that communications should not



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be done through e-mail (this would leave evidence of the conspiracy), and instead, Heritage should

communicate only by phone with a specific Citron executive,                  .

       1337. On July 2, 2014, Heritage’s             spoke with the specified Citron representative,

      for approximately 22 minutes. Upon information and belief, during that call, Citron agreed

to follow Heritage’s price increases on both Fosinopril HCTZ and Glyburide. The two executives

continued to speak frequently about both drugs for the rest of July 2014.

       1338. By July 9, 2014, Heritage had fully implemented the price increase of 200% on

Fosinopril HCTZ. That same day, Citron executives spoke internally about their intention to

follow through on their agreement to increase prices of Fosinopril HCTZ, as well as other drugs

(including Glyburide).

       1339. A few days later, on July 14, 2014, Citron’s                   spoke with a Glenmark

employee on the phone for about 20 minutes.

       1340. The next day, July 15, 2014, Citron began announcing to customers its pricing of

Fosinopril HCTZ (which was in line with the increased prices announced by Heritage).

       1341. The Defendants continued to communicate in mid- and late-July 2014 regarding

the Fosinopril HCTZ price increase. For example, Heritage’s              spoke with her Glenmark

counterpart for about 23 minutes on July 18 and for approximately 5 minutes on July 30, and

Aurobindo’s              and Citron’s         spoke for about 24 minutes on July 28. Upon

information and belief, Defendants communicated to each other during these calls their

commitment to the agreement to follow Heritage’s increased prices.

       1342. By January 2015, each of the Defendants fully implemented the increased pricing

on Fosinopril HCTZ.




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       1343. As alleged above, the price increases regarding Fosinopril-HTCZ were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Fosinopril HCTZ to Plaintiff, its assignor, and others in the

United States. These collusive agreements were furthered, at least in part, by the communications

between and among Defendants and co-conspirators alleged above.

       KKK. Gabapentin Tablets

       1344. Gabapentin, also known by the brand name Neurontin, is part of a class of drugs

called anticonvulsants. The medication is used to treat epilepsy and neuropathic pain.

       1345. During the time period relevant to this Complaint, Aurobindo, Glenmark, and Teva

dominate the market for Gabapentin 600mg and 800mg tablets.

       1346. On October 13 and 14, 2014, Patel attended the Annual Meeting of the

Pharmaceutical Care Management Association (“PCMA”) in Rancho Palos Verdes, California,

along with a number of Teva’s competitors, including executives at Glenmark and Aurobindo.

The PCMA described its Annual Meeting as “the ... ideal venue for senior executives from PBMs,

specialty pharmacy, payer organizations and pharmaceutical manufacturers to network, conduct

business and learn about the most current strategic issues impacting the industry.”

       1347. Shortly after returning from that meeting, during the morning of October 15, 2014,

Patel informed colleagues at Teva that Glenmark would be taking a price increase on Gabapentin,

and suggested that this would be a great opportunity to pick up some market share. The Glenmark

increase had not yet been made public, and would not be effective until November 13, 2014.

Nonetheless, Patel informed her colleagues in an e-mail that same day that there would be a WAC

increase by Glenmark effective November 13, and that she had already been able to obtain certain




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contract price points that Glenmark would be charging to distributors. At around the time she sent

the e-mail, Patel exchanged two text messages with Brown of Glenmark.

       1348. Also in October 2014, Jim Grauso of Glenmark was speaking frequently with

                , the CEO of Aurobindo, and                was speaking frequently with Teva’s

Rekenthaler.

       1349. Having relatively little market share for Gabapentin, Teva discussed whether it

should use the Glenmark price increase as an opportunity to pick up some market share. Over the

next several weeks, Teva did pick up                      to be more in line with the rules of the

conspiracy, but cautioned internally that it did not



       1350. These communications reflect that, even in instances when competitors took share

from each other, it was fully in line with the conspiracy. Indeed, the fact that these high-level

conspirators were actively communicating about confidential pricing information while also taking

market share from each other demonstrates that Teva’s act of taking market share from Glenmark

was the conspiracy functioning on a business as usual basis.

       LLL. Glipizide-Metformin

       1351. The market for Glipizide is mature, as the drug has been available in generic form

since 2005. During the relevant time period, Heritage, Teva, and Mylan sold Glipizide to Plaintiff,

its assignor, and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint.

       1352. During the same April 15, 2014 phone call between Malek and the Teva’s Patel

alleged above that resulted in an agreement between the two companies to increase prices on Doxy

Mono, Malek informed Teva’s Patel that Heritage wanted to raise prices on Glipizide. Teva agreed



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that it would either match Heritage’s price increase or commit to not bidding against Heritage’s

business.

       1353. Around the same time, a second Heritage employee,                   , who was tasked

with coordinating price increases with Mylan discussed the Glipizide price increase with his Mylan

contact,          On April 23, 2014, Heritage’s           e-mailed Malek to confirm to him that

Mylan agreed to the Glipizide price increase as well. (They also agreed to raise prices on Doxy

Mono and Verapamil in the same communication.)

       1354. Pursuant to the agreement with Teva and Mylan, Heritage began informing

customers of the price increase in late June, and had fully implemented the price increase by July

9, 2014.

       1355. In furtherance of the agreement, Teva and Mylan did not bid for any of Heritage’s

Glipizide business. Additionally, in those instances where Heritage’s customers sought out bids

from Teva, Teva responded with pricing that it knew was higher than Heritage’s pricing.

       1356. As alleged above, the price increases regarding Glipizide were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Glipizide to Plaintiff, its assignor, and others in the United

States. These collusive agreements were furthered, at least in part, by the communications between

and among Defendants and co-conspirators alleged above.

       MMM. Glyburide

       1357. The market for Glyburide is mature, as Glyburide has been available in the United

States for decades and has been available in generic form in the United States for more than 20

years. Prior to September 2015, the primary manufacturers were Heritage, Teva, Citron, and

Aurobindo (Citron entered the market in 2014 through a manufacturing partnership with



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Aurobindo), and each sold Glyburide to Plaintiff, its assignor, and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       1358. Glazer’s plea agreement with DOJ, which provided the factual basis for his felony

conviction imposed by Judge Surrick, states that: “[i]n furtherance of the conspiracy, [Glazer] and

his co-conspirators at [Heritage], including individuals the defendant supervised, engaged in

discussions and attended meetings with co-conspirators involved in the production and sale of

Glyburide. During such discussions and meetings, agreements were reached to allocate customers

and fix and maintain the prices of Glyburide sold in the United States.”

       1359. Similarly, Malek’s plea agreement with DOJ, which provided the factual basis for

his felony conviction imposed by Judge Surrick, states that: “[i]n furtherance of the conspiracy,

[Malek] and his co-conspirators at [Heritage], including individuals the defendant supervised,

engaged in discussions and attended meetings with co-conspirators involved in the production and

sale of Glyburide. During such discussions and meetings, agreements were reached to allocate

customers and fix and maintain the prices of Glyburide sold in the United States.”

       1360. On or about April 22, 2014, Heritage held an internal teleconference during which

Malek identified drugs that could be targeted for price increases. Glyburide was one of the drugs

on Malek’s list. During the call or shortly thereafter, Malek instructed Heritage sales executives

to contact their counterparts at Teva and Aurobindo and to reach an agreement to raise prices on

Glyburide.

       1361. Malek himself spoke to a senior executive at Teva, Patel, about Glyburide and

several other drugs on his list, including an 18 minute call on April 15, 2014 (one week before and

after the April 22 conference call). During Malek’s communications with Teva’s Patel, an



                                               351
agreement was reached that both companies would raise their prices on Glyburide sold to Plaintiff,

its assignor, and others in the United States.

          1362. After successfully reaching an agreement with Teva in late April, Malek and Glazer

pressured their sales executives to reach agreement with Aurobindo as well in order to allow the

collusive Glyburide price increase to succeed.

          1363. While Malek was responsible for communicating with Teva (among other

Defendants), Heritage’s                 was assigned to communicate with Aurobindo. Malek and

Glazer asked                 for updates about his communications with Aurobindo on April 28, 29,

and 30.                 eventually connected with his contact at Aurobindo on May 8, 2014, when

the two spoke for sixteen minutes. During this call, they agreed to raise the price of a number of

drugs, including Glyburide.

          1364. On May 9, 2014, Heritage’s sales team had another internal call to share the results

of their conversations with competitors and further discuss the contemplated prices increases for

other generic drugs, including Glyburide.

          1365. At the MMCAP conference in Bloomington, Minnesota, from May 12-15, 2014,

Heritage’s          met with a number of competitors and held collusive discussions on a number

of generic drugs.      Among her conspiratorial meetings,            met with an executive from

Aurobindo, Gustafson, who also attended the conference and confirmed that each of the three

generic manufacturers of Glyburide (Aurobindo, Heritage and Teva) would increase prices on

Glyburide sold in the United States.             confirmed that Aurobindo was committed to the

agreement in an e-mail to Malek on May 15, 2014.

          1366. But the Defendants were not done. On June 23, 2014, Heritage held another

teleconference during which the company determined that the price of Glyburide could be raised



                                                 352
by 200%, notwithstanding the fact that Citron was planning to enter the market through its

partnership with Aurobindo. (As noted earlier, the FDA has documented that, with each new

competitor that enters a market for a generic drug, the price of the drug typically declines

substantially.)

       1367. In June and July 2014, executives from Heritage communicated with executives

from Citron via text message, phone, and e-mail in order to ensure that Citron would abide by the

collusive agreement already in place between the three existing manufacturers of generic

Glyburide. Citron agreed to increase prices on Glyburide, but Citron’s            requested that there

be no communication to Citron via e-mail in order to prevent the unlawful agreement from being

exposed. Citron requested that the collusive communications be conveyed by telephone and

directed to a specific individual within the company,

       1368. By early July 2014, with Citron, Heritage, Aurobindo, and Teva all committed to

the collusive price increase, these four Defendants had successfully implemented the collusive

price increase and were able to raise their prices for Glyburide to Plaintiff, its assignor, and others

in the United States to supracompetitive levels.

       1369. Thereafter, Citron, Heritage, Aurobindo, and Teva adhered to the collusive

agreement. In July 2014, a purchaser of Glyburide sought a request for proposal from Teva on

Glyburide, in response to Heritage’s price increase. Teva sales executives declined to bid based

on their agreement with Defendants, and referenced the agreements on both Glyburide and another

drug as the basis for refusing to issue a competitive bid to the potential customer. Defendants also

engaged in discussions about how Citron could acquire market share without disrupting the

collusive conspiracy agreement.




                                                 353
       1370. Through their continued collusion, Citron, Heritage, Aurobindo, and Teva were

able to maintain their collusive pricing on Glyburide until at least December 2015. As a result,

Plaintiff paid supracompetitive prices for Glyburide in the United States.

       1371. As alleged above, the price increases regarding Glyburide were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Glyburide to Plaintiff, its assignor, and others in the United

States. These collusive agreements were furthered, at least in part, by the communications between

and among Defendants and co-conspirators alleged above, and at trade association events and

conferences.

       NNN. Glyburide-Metformin

       1372. The market for Glyburide-Metformin is mature, as the drug has been available in

generic form since 2004. During the relevant time period, Heritage, Teva, Aurobindo, Actavis,

and Citron sold Glyburide-Metformin to Plaintiff, its assignor, and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       1373. During the same April 15, 2014 phone call alleged above when they discussed a

number of other collusive price increases, Malek and the senior Teva sales executive, Patel, agreed

to increase prices on Glyburide-Metformin.

       1374. On April 22, 2014, Heritage held an internal call during which Malek identified a

large number of drugs that Heritage targeted for price increases, including Glyburide-Metformin.

After the call, Malek assigned              to contact Aurobindo about Glyburide-Metformin, and

       was assigned to Actavis to discuss Glyburide-Metformin.




                                               354
       1375. After the internal conference call, Heritage’s         spoke with a senior executive

at Actavis,                 , on April 22, 2014 about the Glyburide-Metformin price increase.

Upon information and belief, during this call, the executives from Heritage and Actavis agreed to

increase prices on both Glyburide-Metformin and another drug (Verapamil). As with all collusive

communications identified in this Complaint involving Actavis, the Actavis representative acted

on behalf of and reached an agreement that was followed by all Actavis entities identified in this

Complaint.

       1376. On May 8, 2014, Heritage’s                 spoke with Aurobindo’s              about

the Glyburide-Metformin price increase. Heritage and Aurobindo executives followed up this

phone call with an in-person meeting, during which – upon information and belief – the Glyburide-

Metformin price increase was discussed (along with price increases on other drugs).

       1377. Executives from the four companies continued to communicate regarding the price

increase for the next month. For example, the Actavis executive spoke with Teva by phone on

May 1 and May 6, and the two exchanged at least 30 text messages about pricing agreements on

Glyburide-Metformin and other drugs. The same Actavis executive also spoke with Aurobindo’s

CEO regarding the pricing agreement.

       1378. Heritage also communicated the terms of the agreement to Citron and Sun. Because

Citron had agreed to increase prices of Glyburide, Heritage sought to ensure that Citron (which

had authority to market Glyburide-Metformin, but did not actively manufacture the drug at that

time) did not take any steps that would undermine or reveal the collusion on Glyburide-Metformin.

Accordingly, a Heritage sales executive discussed the Glyburide-Metformin price agreement by

text. Additionally, to facilitate collusion on other drugs, Heritage informed Sun through a chain




                                               355
of text messages sent in August 2014 about the successful price increases on Glyburide-Metformin

and Verapamil.

       1379. In Summer 2014, Aurobindo, Actavis, Heritage, and Teva increased their WAC

pricing on Glyburide-Metformin.

       1380. In August 2014, Heritage’s               texted a Sun employee regarding agreements

Heritage had reached with Actavis to increase the prices of both Glyburide-Metformin and

Verapamil. Such a communication highlights the overarching nature of the conspiracy; Sun was

kept apprised of agreements (in this case between Actavis and Heritage) relating to drugs that it

did not market or sell.

       1381. By September 2014, Citron had mobilized to enter the Glyburide-Metformin

market. Instead of undercutting the prices of Actavis, Aurobindo, Heritage, and Teva in an effort

to gain market share, Citron announced list prices higher than all of them.

       1382. As alleged above, the price increases regarding Glyburide-Metformin were the

result of collusive agreements between and among Defendants and co-conspirators to increase

pricing and restrain competition for the sale of Glyburide-Metformin to Plaintiff, its assignor, and

others in the United States. These collusive agreements were furthered, at least in part, by the

communications between and among Defendants and co-conspirators alleged above.

       OOO. Halobetasol Propionate

       1383. Halobetasol Propionate, also known by the brand name Ultravate, is a strong

corticosteroid used to treat a variety of skin conditions, including eczema, dermatitis, psoriasis,

and rash. Halobetasol comes in both cream and ointment form.

       1384. As of June 2012, the market was split between Perrigo with 60% share and G&W

with 40%.



                                                356
                 1.    The First Coordinated Price Increase – September 2012

        1385. On September 25, 2012, both G&W and Perrigo announced price increases for

Halobetasol Cream and Ointment. G&W’s price increases took effect on September 28, 2012 and

Perrigo’s price increases took effect one month later on October 28, 2012.

        1386. In the days leading up to the price increases, both Vogel-Baylor of G&W and

         of Perrigo had numerous discussions with CW-6 of Aurobindo concerning Halobetasol.

Although Aurobindo did not manufacture either form of Halobetasol, Vogel-Baylor and

used CW-6 as a conduit to convey information between them about the price increases. As

discussed in detail above, CW-6 had formerly worked at Fougera and had developed relationships

with Vogel-Baylor and              of Perrigo during his tenure there.

        1387. For instance, on September 19, 2012, less than one week before the price increases,

Vogel-Baylor exchanged three text messages with CW-6. Then, CW-6 called Vogel-Baylor, hung

up, and immediately called              After speaking with                  CW-6 hung up and immediately

called Vogel-Baylor back, relaying the information he had learned from                          Indeed, within

a twenty-minute period, CW-6 had exchanged at least eight calls with Vogel-Baylor and

These calls are detailed in the chart below:

   Date   Call Type   Target Name                 Direction   Contact Name                Time      Duration
   9/19/2012 Text     Vogel‐Baylor, Erika (G&W)   Outgoing    CW‐6 (Aurobindo)             10:16:11    0:00:00
   9/19/2012 Text     Vogel‐Baylor, Erika (G&W)   Incoming    CW‐6 (Aurobindo)             10:17:50    0:00:00
   9/19/2012 Text     Vogel‐Baylor, Erika (G&W)   Outgoing    CW‐6 (Aurobindo)             10:18:49    0:00:00
   9/19/2012 Voice    CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)    13:44:00    0:01:00
   9/19/2012 Voice    CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)    13:45:00    0:04:00
   9/19/2012 Voice    CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)               13:48:00    0:04:00
   9/19/2012 Voice    CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)    13:52:00    0:03:00
   9/19/2012 Voice    CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)               13:54:00    0:04:00
   9/19/2012 Voice    CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)    13:57:00    0:02:00
   9/19/2012 Voice    CW‐6 (Aurobindo)            Incoming    T.P. (Perrigo)               14:03:00    0:02:00
   9/19/2012 Voice    CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)    14:04:00    0:02:00




                                                      357
       1388. After speaking with CW-6 for the final time on September 19, 2012, Vogel-Baylor

immediately called her boss, Orlofski and spoke to him for thirteen minutes. Similarly,

also reported back to his boss, Wesolowski, a senior executive at Perrigo, exchanging two calls

with him totaling roughly six minutes.

       1389. Further, two days later, on September 21, 2012, and then again on September 27,

2012, the day before the G&W price increase went into effect, the same call pattern occurred.

These calls are detailed in the chart below:

        Date      Call Type      Target Name        Direction              Contact Name       Time    Duration
     9/21/2012   Voice        CW‐6 (Aurobindo)     Incoming      Vogel‐Baylor, Erika (G&W)    6:30:00   0:03:00
     9/21/2012   Voice        CW‐6 (Aurobindo)     Outgoing      T.P. (Perrigo)               6:53:00   0:03:00
     9/21/2012   Voice        CW‐6 (Aurobindo)     Outgoing      Vogel‐Baylor, Erika (G&W)    6:56:00   0:03:00
     9/21/2012   Voice        CW‐6 (Aurobindo)     Outgoing      T.P. (Perrigo)               6:58:00   0:01:00
     9/21/2012   Voice        CW‐6 (Aurobindo)     Outgoing      T.P. (Perrigo)               7:04:00   0:02:00
     9/21/2012   Voice        CW‐6 (Aurobindo)     Outgoing      Vogel‐Baylor, Erika (G&W)    7:06:00   0:02:00
     9/21/2012   Voice        CW‐6 (Aurobindo)     Incoming      Vogel‐Baylor, Erika (G&W)   11:53:00   0:15:00
     9/27/2012   Voice        CW‐6 (Aurobindo)     Outgoing      Vogel‐Baylor, Erika (G&W)    4:02:00   0:04:00
     9/27/2012   Voice        CW‐6 (Aurobindo)     Outgoing      T.P. (Perrigo)               4:06:00   0:01:00
     9/27/2012   Voice        CW‐6 (Aurobindo)     Incoming      T.P. (Perrigo)               4:11:00   0:03:00
     9/27/2012   Voice        CW‐6 (Aurobindo)     Outgoing      Vogel‐Baylor, Erika (G&W)    4:16:00   0:03:00


       1390. In early November 2012, a customer reached out to G&W asking it to submit a bid

for Halobetasol Cream and Ointment because the customer believed its prices were inconsistent

with the market.

       1391. After receiving the request, Vogel-Baylor had several calls with CW-6 who, again,

served as a conduit between Vogel-Baylor and                        to discuss Halobetasol. These calls are

detailed in the chart below:

      Date        Call Type          Target Name     Direction            Contact Name       Time    Duration
    11/6/2012    Voice        CW‐6 (Aurobindo)     Outgoing      Vogel‐Baylor, Erika (G&W)   6:03:00   0:03:00
    11/6/2012    Voice        CW‐6 (Aurobindo)     Outgoing      T.P. (Perrigo)              6:05:00   0:05:00
    11/6/2012    Voice        CW‐6 (Aurobindo)     Outgoing      Vogel‐Baylor, Erika (G&W)   6:09:00   0:04:00
    11/6/2012    Voice        CW‐6 (Aurobindo)     Outgoing      T.P. (Perrigo)              6:13:00   0:01:00
    11/6/2012    Voice        CW‐6 (Aurobindo)     Outgoing      T.P. (Perrigo)              6:38:00   0:02:00
    11/6/2012    Voice        CW‐6 (Aurobindo)     Incoming      T.P. (Perrigo)              6:41:00   0:01:00
    11/6/2012    Voice        CW‐6 (Aurobindo)     Outgoing      Vogel‐Baylor, Erika (G&W)   6:42:00   0:03:00




                                                       358
       1392. After this call exchange, Vogel-Baylor sent the following directive to

          , a sales executive at G&W, instructing him to submit a cover bid to the customer in

order to create a false appearance of competition between G&W and Perrigo:




               2.       The Second Coordinated Price Increase – March/April 2013

       1393. The competitors colluded to raise the price of Halobetasol again in 2013. This time,

there were multiple channels of communication between the competitors. For example, on March

26, 2013, Boothe of Perrigo called Orlofski of G&W directly and they spoke for seven minutes.

That same day,           of Perrigo once again called CW-6. The call lasted two minutes. Right

after that call, CW-6 called Vogel-Baylor. That call lasted one minute.

       1394. The next day, on March 27, 2013, Perrigo increased its WAC pricing for

Halobetasol Cream and Ointment by over 250%.

       1395. Roughly two weeks later, on April 11, 2013, G&W also increased its contract and

WAC pricing for the two formulations. G&W’s contract price was now double what it had been

just the year before.

       1396. G&W told one of its customers, Morris & Dickson, that G&W increased prices in

                                                        Indeed, in the days leading up to the G&W

price increase, Vogel-Baylor and         had again engaged in a game of telephone with CW-6 to

coordinate their pricing actions. After speaking with          for four minutes on April 8, 2013,


                                              359
CW-6 immediately called Vogel-Baylor. The call lasted one minute. CW-6 then called Vogel-

Baylor a short while later and they spoke for four minutes. Immediately after that call, Vogel-

Baylor called her boss, Orlofski. The call lasted a little over one minute.

               3.      Sandoz Launches Halobetasol Cream

       1397. In December 2013, Sandoz began preparing to re-launch Halobetasol Cream. At

that time, G&W had 63% of the market and Perrigo had 36%. Sandoz was targeting 20% market

share. Because G&W was the market share leader, Sandoz wanted to



       1398. On December 11, 2013,                           , a senior Sandoz launch executive,

instructed Sandoz employees to reach out to Rite-Aid and Walgreens to learn who their suppliers

were for Halobetasol Cream and what their pricing was. Upon learning that both customers were

with G&W – the market share leader – Sandoz decided to target those customers.

       1399. On December 12, 2013, Walgreens reached out to G&W to advise that Sandoz had

expressed interest in its Halobetasol Cream business. When Vogel-Baylor shared this information

with Orlofski, he remarked that G&W

Although Sandoz submitted a bid for Halobetasol on December 16, 2013, Walgreens declined to

move the business because the price was slightly higher than G&W’s price.

       1400. On December 17, 2013, another one of G&W's customers, Ahold, informed G&W

that it had received a bid from Sandoz and was now seeking a lower price from G&W. Vogel-

Baylor e-mailed Orlofski stating,

                                                                      Orlofski responded by asking

Vogel-Baylor to call him, noting                                                    Later that day,




                                                360
Rite Aid also e-mailed Vogel-Baylor stating that Sandoz had submitted a bid for Halobetasol

Cream and requested that G&W lower its price to retain the business.

       1401. Vogel-Baylor tried calling Orlofski three times on December 17, 2013. After the

third call, Vogel-Baylor called           of Perrigo and they spoke for more than seven minutes.

Vogel-Baylor hung up with            and called Orlofski again. Orlofski returned her call later that

day and they spoke for five minutes.

       1402. After speaking with Orlofski, Vogel-Baylor e-mailed Rite-Aid stating,



                                                             Rite-Aid accepted Sandoz’s offer the

next day.

       1403. At the same time that Sandoz was going after G&W’s Halobetasol customers, it

was also approaching some Perrigo customers as well, albeit in coordination with Perrigo. On

December 17, 2013, CW-1, a senior Sandoz pricing executive, e-mailed CW-3, a senior Sandoz

sales executive, asking him to inquire whether Wal-Mart, a Perrigo customer, was interested in

receiving a bid from Sandoz for Halobetasol Cream. CW-3 happened to be meeting with Wal-

Mart at that time at its offices in Bentonville, Arkansas.

       1404. Wal-Mart told CW-3 that it was interested in receiving an offer. Thereafter, CW-

3 called         of Perrigo. During that call,          provided CW-3 with Perrigo’s price points

for Halobetasol Cream at Wal-Mart and Omnicare and agreed to give up Wal-Mart to Sandoz.

CW-3 took the following contemporaneous notes in his Notebook during that call:




                                                 361
       1405. Also on December 17, 2013, CW-3 responded to an e-mail exchange with CW-1

and Kellum regarding Halobetasol Cream, stating:



       1406. Two days later, on December 19, 2013, CW-3 called               again. The call lasted

one minute. After hanging up, CW-3 called CW-1, and they spoke for four minutes. That same

day, Sandoz sent offers to Wal-Mart and Omnicare. The next day, on December 20, 2014,

        a senior Sandoz launch executive, followed up with CW-3 regarding the Wal-Mart offer.

CW-3 responded,



       1407. That same day, Boothe of Perrigo called Orlofski of G&W. The call lasted two

minutes. Orlofski returned the call a half hour later and they spoke for eleven minutes. Later that

day, Orlofski called Vogel-Baylor and they spoke for more than seventeen minutes.

       1408. On January 8, 2014, CW-3 called              of Perrigo. The call lasted one minute.

Later that day, Wal-Mart accepted Sandoz's bid for Halobetasol Cream. CW-3 forwarded the

acceptance to his supervisor, CW-1, who asked,                                    CW-3 replied in

two separate e-mails sent simultaneously:

       1409. The next day, on January 9, 2014, CW-1 and CW-3 agreed that

                   That same day, CW-3 called              and they spoke for more than fifteen

minutes.

       1410. In early February 2014,                    joined G&W as a Director of Sales &

Marketing. Once at G&W,            wasted no time using his competitor contacts at Sandoz – CW-

3 and CW-4 to coordinate regarding Halobetasol.




                                               362
          1411. On February 18, 2014,        of G&W e-mailed Vogel-Baylor stating that Sandoz

had bid on Halobetasol at Walgreens again and the customer was providing G&W with an

opportunity to bid to retain the business. Less, than an hour later, Vogel-Baylor called       at

Perrigo and         called CW-3 at Sandoz to coordinate a response. The calls lasted one minute

and two minutes, respectively. Immediately after hanging up,               sent Vogel-Baylor the

following e-mail:




          1412. After receiving the e-mail, Vogel-Baylor called          He returned the call and

they spoke for sixteen minutes. Immediately after hanging up with             Vogel-Baylor sent a

text message to           of Perrigo. Later that day,        sent the following e-mail to Vogel-

Baylor:




                                               363
          1413. Two days later, on February 20, 2014,           had still not heard back from CW-3

and so he reached out to his other contact at Sandoz, CW-4, and the competitors spoke for four

minutes. Immediately after hanging up,               called Vogel-Baylor and they spoke for four

minutes. Later that morning, Vogel-Baylor and              exchanged two more calls lasting thirteen

minutes and three minutes, respectively. Upon hanging up with Vogel-Baylor,                  sent an

internal e-mail, including to Vogel-Baylor, stating




                          Vogel-Baylor later responded:

          1414. A few minutes after receiving          ’s e-mail, Vogel-Baylor sent a text message to

           of Perrigo. A half hour later, she called           and they spoke for more than seven

minutes. At around the same time, CW-3 of Sandoz called                 and they spoke for minutes.

Immediately after hanging up with CW-3,             called Vogel-Baylor to report back what he had

learned. That call lasted nineteen minutes.

          1415. Later that afternoon, Vogel-Baylor called her supervisor, Orlofski, to apprise him

of the situation and they spoke for twenty-one minutes. Upon hanging up, Vogel-Baylor called

         and they spoke for nearly twelve minutes. Immediately after talking to        Vogel-Baylor

called           of Perrigo one more time that day. The call lasted less than one minute.

          1416. That evening, after his conversation with G&W, CW-3 emailed CW-1 and asked

that he call him                           Within a half hour of receiving the e-mail, CW-1 called

CW-3 and they spoke for twenty minutes.

          1417. The next morning, on February 21, 2014, CW-3 and CW-1 spoke again for fourteen

minutes. CW-3 hung up and immediately called                 of G&W. The call lasted one minute.



                                                 364
Immediately after that call,      called Vogel-Baylor. The call lasted one minute. That same

day,        sent the following response to Walgreens (which accounted for more than 33% of

G&W’s business for Halobetasol Cream:




               4.     Taro Launches Halobetasol Cream and Ointment

       1418. In mid-March 2014, Taro was making plans to re-launch Halobetasol Cream and

Ointment. Although its launch was ultimately delayed until May 2014 due to issues relating to the

FDA, Aprahamian called Vogel-Baylor on March 27, 2014 and they spoke for fourteen minutes.

Notably, this was the first phone call ever between these two competitors, according to the

available phone records. Four days later, on March 31, 2014, Vogel-Baylor called Aprahamian

and they spoke for over five minutes.

       1419. On May 13, 2014, Taro re-entered the Halobetasol Cream and Ointment markets

and published WAC pricing that matched its competitors. In the days leading up to the re- launch,

all four competitors were speaking frequently by phone. At least some of those calls are detailed

in the chart below:




                                              365
   Date          Call Type   Target Name              Direction   Contact Name                 Time      Duration
      5/7/2014   Voice       Aprahamian, Ara (Taro)   Outgoing    Vogel‐Baylor, Erika (G&W)      7:28:00     0:04:00
      5/7/2014   Voice       Aprahamian, Ara (Taro)   Incoming    Vogel‐Baylor, Erika (G&W)      7:57:00     0:14:00
      5/8/2014   Voice       CW‐3 (Sandoz)            Outgoing    K.K. (G&W)                     8:23:00     0:05:00
      5/8/2014   Voice       CW‐3 (Sandoz)            Outgoing    T.P. (Perrigo)                 8:28:00     0:02:00
      5/8/2014   Voice       CW‐3 (Sandoz)            Outgoing    K.K. (G&W)                     8:30:00     0:01:00
      5/8/2014   Voice       CW‐3 (Sandoz)            Outgoing    K.K. (G&W)                     8:31:00     0:01:00
      5/8/2014   Voice       K.K. (G&W)               Outgoing    CW‐3 (Sandoz)                  8:39:00     0:01:00
      5/9/2014   Voice       Aprahamian, Ara (Taro)   Outgoing    Wesolowski, John (Perrigo)     7:18:00     0:01:00
      5/9/2014   Voice       Aprahamian, Ara (Taro)   Outgoing    Wesolowski, John (Perrigo)     7:24:00     0:02:00


        1420. After the phone calls detailed above, Aprahamian would not speak to Vogel-Baylor

again until September 2015. Similarly, the two calls between Aprahamian and Wesolowski of

Perrigo are the only calls ever exchanged between the two competitors, according to the available

phone records.

        1421. On May 11, 2014, Aprahamian circulated a Fact Sheet including details regarding

the Halobetasol re-launch. Taro stated that



                         The Fact Sheet detailed the following market share breakdown and set Taro’s

target market shall goal at 15%:




        1422. On June 10, 2014, Aprahamian instructed a colleague to put together offers for

Halobetasol at Publix (a G&W and Perrigo customer) and HD Smith (a Perrigo customer).

Aprahamian cautioned                                                                             That same day,

Perfetto of Taro exchanged three text messages with Orlofski of G&W.


                                                        366
           1423. On June 11, 2014, Vogel-Baylor called                of Perrigo. The call lasted one

minute. The next day, on June 12, 2014, HD Smith informed Taro that Perrigo had proactively

revised its pricing shortly after Taro submitted the bid and asked Taro to lower its bid to win the

business.

           1424. On June 17, 2014, Boothe of Perrigo called a Taro employee on his office line. The

call lasted forty-five minutes. Later that day,                     , a Taro pricing executive, sent an

internal e-mail stating,

               The next day, June 18, 2014, Perfetto called Boothe. That call lasted two minutes.

           1425. Around that same time, G&W employees were having a similar exchange over e-

mail. On June 17, 2014,             sent an internal e-mail to Orlofski stating:




           1426. On June 18, 2014, Orlofski sent a text message to Perfetto and also called him. The

call lasted two minutes. The next morning, on June 19, 2014, Orlofski replied to                 e-mail

stating:



                                             then sent an internal e-mail directing that G&W should

cede the Publix and Morris & Dickson accounts to Taro. As                explained to his colleagues, it

was

           1427. On June 20, 2014, Orlofski exchanged two text messages and two calls with

Perfetto, including one call lasting nearly thirty-eight minutes.



                                                  367
       1428. At the same time, G&W was also careful not to take any steps that would throw off

its market share balance with Perrigo. For example, on June 18, 2014, HEB, a Perrigo customer,

asked G&W to bid on their Halobetasol business.             responded,




       PPP. Hydralazine

       1429. Hydralazine HCL is a drug used to treat high blood pressure. It is also known by

the brand names Apresoline and Dralzine.

       1430. During the relevant time period, Teva, Par, Heritage, Strides, Camber, and

Glenmark dominated the market for Hydralazine tablets.

       1431. In approximately August 2014, Defendants applied the collusive understanding to

the market for Hydralazine in order to prevent any price erosion for the drug.

       1432. As of August 2014, Defendant Strides was in the process of ramping back up its

domestic operations, following its 2013 sale of its specialty injectable business to Defendant

Mylan. As a result of this ramp up, Strides sought to obtain customers for Hydralazine, consistent

with the principles of the conspiracy. As a company with more share for Hydralazine than the

market allocation scheme allowed, it was up to Heritage to concede business to Strides.

       1433.              joined Defendant Heritage as VP of Marketing on August 1, 2014. One

of his first acts of business for Heritage was to facilitate an agreement to allow Defendant Strides

to obtain market share for Hydralazine.

       1434. In early August 2014,           spoke to                  , an executive working with

co-conspirator TruPharma, who relayed the message that Strides would submit an unsolicited bid




                                                368
to Morris & Dickson, a wholesaler, for its Hydralazine business. Through Randazzo, Strides

requested that Heritage concede the business.

       1435. On August 20, 2014,                informed Malek that Strides wanted Morris &

Dickson’s Hydralazine business.          advised Malek that Heritage should concede this business

to Strides. Malek also looped in                 , who was responsible for the Morris & Dickson

account.

       1436. On September 5, Morris & Dickson informed                      that it had received a

competing bid for its Hydralazine business and asked for Heritage to provide a better price for

Hydralazine.

       1437. Consistent with the collusive understanding, Heritage declined to match Strides’

bid and instead conceded the Morris & Dickson business to Strides.

       1438. Upon information and belief, Heritage’s decision to concede this business to Strides

was communicated to Teva, Par, Camber, and Glenmark, so that each of these Defendants would

know that Heritage was complying with the overarching agreement for the benefit of each

Defendant.

       1439. As a result of the overarching agreement, Defendants have been able to maintain

the market allocation agreement for Hydralazine tablets since at least August 2014, which has

allowed them to sell Hydralazine at supracompetitive prices to Plaintiff, its assignor, and others in

the United States.

       QQQ. Hydrocortisone Acetate Suppositories (Anucort HC)

       1440. Hydrocortisone Acetate Suppositories (“Hydrocortisone Acetate”), also known by

the G&W brand name Anucort-HC, are used to treat itching or swelling caused by hemorrhoids as




                                                369
well as ulcerative colitis, proctitis, and other inflammatory conditions of the intestines, rectum, or

anus. Hydrocortisone Acetate is a corticosteroid.

       1441. During the time period relevant to this Complaint, Hydrocortisone Acetate was

G&W’s top-selling product. As of January 2016, the 25mg formulation of Hydrocortisone Acetate

accounted for nearly half of all of G&W’s moving annual sales, totaling more than $119.7 million.

Similarly, Hydrocortisone Acetate was Perrigo’s second-best selling product. During that same

time period, Perrigo’s moving annual sales for the 25mg and 30mg formulations accounted for

approximately $78.3 million of Perrigo’s total sales.

       1442. In 2013, the Hydrocortisone Acetate market was split between G&W with 41%

market share, Perrigo with 32%, and County Line Pharmaceuticals with 25%. However, by late

June 2013, County Line made the decision to exit the market for Hydrocortisone Acetate.

       1443. County Line's exit created an opportunity for Perrigo and G&W to collude to

significantly raise the price of Hydrocortisone Acetate in July 2013, and then again one year later

in July 2014.

       1444. On June 25, 2013, Vogel-Baylor of G&W e-mailed Wal-Mart, a County Line

customer, stating that she had heard that County Line was discontinuing Hydrocortisone Acetate

and asked whether Wal-Mart was interested in a new supplier.

       1445. Similarly, on June 26, 2013, ABC, also a County Line customer, e-mailed G&W

requesting a bid on Hydrocortisone Acetate due to a                                    Vogel-Baylor

forwarded the request to her supervisor, Orlofski, explaining:




                                                 370
       1446. Between June 27 and June 30, 2013, representatives from Perrigo and G&W,

including Vogel-Baylor, attended an annual trade show at the Venetian hotel in Las Vegas,

Nevada.

       1447. While at the trade show, on June 27, 2013, Vogel-Baylor received a call from

               , a sales executive at Perrigo. The call lasted approximately one minute. A few

hours later, Vogel-Baylor called Orlofski and they spoke for nearly fifteen minutes. Shortly

thereafter, Vogel-Baylor sent an internal e-mail to her team notifying them that G&W would be

implementing a price increase for Hydrocortisone Acetate and requesting that they draft customer

notifications to that effect. The price increase included a 200% increase to WAC and would result

in an estimated $27.9 million in increased sales for G&W.

       1448.                           , an operations manager at G&W, responded to Vogel-

Baylor's e-mail stating,



       1449. The next day, on June 28, 2013, Vogel-Baylor contacted Orlofski three more times

from the trade show, including exchanging two text messages and one call lasting more than

nineteen minutes.

       1450. On July 8, 2013,          of Perrigo and Vogel-Baylor exchanged two calls and then

connected for a call lasting more than seven minutes, during which they coordinated their price

increases on Hydrocortisone Acetate. After that call, both          of Perrigo and Vogel-Baylor

reported the substance of their conversations back to their supervisors. Immediately upon hanging

up with             Vogel-Baylor called Orlofski and they spoke for more than six minutes.



                                              371
Similarly,         called Wesolowski three times after speaking with Vogel-Baylor, including two

calls lasting one minute and a third lasting six minutes.

       1451. The G&W price increases on Hydrocortisone Acetate went into effect on July 9,

2013. That same day, Perrigo issued a product announcement notifying its customers that it was

also increasing its pricing on Hydrocortisone Acetate effective July 11, 2013. Perrigo increased

its WAC by 473% on the 25mg formulation to essentially match G&W's WAC. That same day,

July 11, 2013,         of Perrigo called Vogel-Baylor. The call lasted one minute.

       1452. Also on July 11, 2013, ABC e-mailed Vogel-Baylor asking G&W to lower its dead

net pricing for Hydrocortisone Acetate to match Perrigo’s slightly lower dead net pricing. Vogel-

Baylor forwarded the request to Orlofski who responded:                     Vogel-Baylor replied,

                         Later that day, Vogel-Baylor responded to ABC and declined to lower its

pricing.

       1453. On July 19, 2013, Harvard Drug Group e-mailed Vogel-Baylor asking why G&W

was increasing its price on Hydrocortisone Acetate. Vogel-Baylor replied:




                                                   This was, of course, a lie as Vogel-Baylor had

learned of Perrigo’s pricing plans when she discussed the matter directly with Polman.

       1454. Several months later, on April 9, 2014,                 , a G&W sales executive, e-

mailed Vogel-Baylor regarding bidding on several products at Kaiser, including Hydrocortisone

Acetate.     Vogel-Baylor responded that G&W could not disrupt the market and pursue the

customer, reasoning that Kaiser




                                                372
         1455. On June 11, 2014, Vogel-Baylor e-mailed Orlofski recommending that G&W

increase McKesson’s contract pricing for Hydrocortisone Acetate. That same day, Vogel-Baylor

called          of Perrigo. The call lasted less than one minute. Two days later, on June 13, 2014,

Vogel-Baylor tried to reach          again by phone. The call lasted less than one minute.

         1456. Less than a week later, on June 26, 2014, Perrigo generated its own internal price

increase analysis for Hydrocortisone Acetate. The analysis assumed zero percent unit loss as a

result of the planned increase.

         1457. On July 22, 2014, Perrigo notified its customers that it was increasing pricing on a

list of products, including Hydrocortisone Acetate. This included a 235% increase to WAC for its

25mg formulation, effective on July 24, 2014.

         1458. At the time the increase was announced, representatives from Perrigo and G&W,

including Vogel-Baylor, attended an annual trade show at the Gaylord Palms Hotel in Orlando,

Florida.

         1459. Over the next several days, G&W heard from multiple customers that Perrigo had

increased pricing on Hydrocortisone Acetate.

         1460. In accordance with their ongoing understanding to follow each other’s price

increases, and consistent with past practice on this product and others, G&W went to work

implementing a comparable price increase of its own.

         1461. On July 29 and July 30, 2014, Vogel-Baylor and Orlofski exchanged e-mails

finalizing the details of the price increase for Hydrocortisone Acetate. The increase included an

increase to WAC for the 25mg, 12 count bottle that essentially matched Perrigo pricing.




                                                373
       1462. Also on July 30, 2014, Vogel-Baylor learned of pricing that Perrigo had offered to

Schnucks and sent a text message to her superiors:



       1463. The next day, on July 31, 2014,                          , a senior G&W executive, e-

mailed Vogel-Baylor stating:



                        Vogel-Baylor responded,




       1464. The next day, on August 1, 2014, G&W began notifying its customers of the price

increase on Hydrocortisone Acetate. Vogel-Baylor sent an internal e-mail advising the team that,



                                                                                    G&W sent out a

second wave of letters to additional customers on August 5, 2014.

       1465. The increase included a 200% increase to WAC for all three package sizes.

According to an internal analysis, G&W projected an increase in Hydrocortisone Acetate sales

from $41.3 million to $111.3 million as a result of the increase, or a total of $70 million in sales.

       1466. The two competitors continued to coordinate after the price increases. On August

11, 2014,          of Perrigo called Vogel-Baylor and they spoke for more than sixteen minutes.

One week later, on August 18, 2014, Vogel-Baylor called               and they spoke for more than

ten minutes.




                                                 374
        1467. Several customers did not react kindly to the increase. For example, when Vogel-

Baylor e-mailed Econdisc to notify the customer of the price increase, Econdisc responded by

stating that G&W’s conduct was

        RRR. Hydrocortisone Valerate Cream

        1468. Hydrocortisone Valerate Cream is a topical corticosteroid used to treat a variety of

skin conditions including eczema, dermatitis, allergies, and rash.

        1469. The two competitors on Hydrocortisone Valerate Cream were Taro and Perrigo.

Boothe of Perrigo colluded with Perfetto of Taro to raise the price of Hydrocortisone Valerate

Cream in August 2013, including raising WAC pricing by 351% on certain formulations. Building

on this success, the competitors colluded to raise the price again in June 2014.

        1470. As detailed above, on June 3, 2014, Taro published increased WAC pricing for the

June 2014 Increase products, including Hydrocortisone Valerate. That same day,                     ,a

sales executive at Perrigo, sent an internal e-mail advising of the Taro price increases.

Wesolowski, a senior executive at Perrigo, responded stating:

        That same day, Boothe and Perfetto exchanged four phone calls, including one call lasting

five minutes. Two days later, on June 5, 2014, Boothe followed up with Perfetto again. The call

lasted two minutes.

        1471. On July 14, 2014,                , a sales executive at Perrigo, sent an internal e-mail

asking for a list of products that were due for a price increase. The next day, on July 15, 2014,

               , a Perrigo pricing executive responded

                                                                      Hydrocortisone Valerate was

on the list.




                                                375
       1472. Over the next several days, Boothe and Perfetto exchanged several calls during

which they discussed the price increase on Hydrocortisone Valerate, as well as other products.

These calls are detailed in the chart below:

      Date Call Type          Target Name              Direction       Contact Name         Time    Duration
   7/18/2014 Voice     Boothe, Douglas (Perrigo)     Outgoing      Perfetto, Mike (Taro)   12:10:00   0:01:00
   7/19/2014 Voice     Boothe, Douglas (Perrigo)     Outgoing      Perfetto, Mike (Taro)    3:51:00   0:01:00
   7/19/2014 Voice     Boothe, Douglas (Perrigo)     Outgoing      Perfetto, Mike (Taro)    3:52:00   0:02:00
   7/21/2014 Voice     Boothe, Douglas (Perrigo)     Incoming      Perfetto, Mike (Taro)   14:20:00   0:26:00
   7/24/2014 Voice     Boothe, Douglas (Perrigo)     Outgoing      Perfetto, Mike (Taro)   10:40:00   0:02:00
   7/24/2014 Voice     Boothe, Douglas (Perrigo)     Incoming      Perfetto, Mike (Taro)   15:03:00   0:07:00


       1473. After the lengthy twenty-six minute call between Boothe and Perfetto on July 21,

2014, Perrigo notified its customers on July 22, 2014 that it would be increasing its WAC pricing

on a list of products, including Hydrocortisone Valerate, effective July 24, 2014. Notably, Perrigo

was also colluding with competitors regarding other products on its list – Econazole Nitrate Cream

(Taro and Teligent) and Hydrocortisone Acetate Suppositories (G&W). These products are

discussed in detail below in other subsections of this Complaint.

       1474. Indeed, Teligent’s role in agreeing to the price increase on Econazole is reflective

of its knowledge of and support for the overarching conspiracy. Without Teligent’s support for

the Econazole price increase – which Shawn McMorrow promised during his conversations with

               of Perrigo and                      of Taro in July 2014 – the Econazole price increase

would have failed, but so would the market allocation agreements and collusive price increases on

those products for which Taro, Perrigo, and Sandoz overlapped, such as Clobetasol,

Hydrocortisone Valerate, Halobetasol Propionate, and Imiquimod. This allowed the competitors

to implement the                     in which Sandoz would exit the market for certain drugs and

Taro would lead price increases with the remaining competitors in those markets. And in return




                                                     376
for its express support of the overarching conspiracy, Teligent was rewarded upon Sandoz’s

reentry into the Econazole market, as Sandoz knew to take share from Perrigo and not Teligent.

       SSS.     Imiquimod Cream

       1475. Imiquimod Cream, also known by the brand names Aldara and Zyclara, is a topical

medication used to treat actinic keratosis, or precancerous growths on the skin. Imiquimod Cream

was a high-priced, large volume drug that provided a significant source of revenue for its

manufacturers. In 2012, the annual market for Imiquimod Cream in the United States exceeded

$200 million.

       1476. On February 25, 2010, Fougera received FDA approval to market Imiquimod

Cream. At that time, Fougera was the only generic manufacturer in the market and it used that as

an opportunity to set a high price for the product.

                1.     Perrigo Entry (April 2010)

       1477. Less than two months later, on April 13, 2010, Perrigo announced that it would be

the AG for Imiquimod Cream. That same day,                 , a senior Fougera executive, sent the

following e-mail to Kaczmarek, also a senior Fougera executive:




Later that same day, Kaczmarek called CW-6, a senior sales executive at Fougera, and they spoke

for nearly four minutes. CW-6 hung up and immediately called                , a sales executive at


                                                377
Perrigo, and they spoke for nearly nine minutes. When CW-6 hung up with                          he promptly

called Kaczmarek back. That call lasted less than one minute.

       1478. It is rare that the entry of a generic competitor would cause prices to actually

increase – but it did so in this case. Three days later, on Friday April 16, 2010, in advance of

Perrigo’s entry into the market, Fougera increased its WAC pricing for Imiquimod Cream. That

same day, CW-6 called                The call lasted more than two minutes. Immediately after hanging

up, CW-6 called his supervisor, Kaczmarek, and they ultimately spoke for more than six minutes.

Immediately after hanging up with Kaczmarek, CW-6 called                           back. The call lasted one

minute.

       1479. The next business day, Monday April 19, 2010, Perrigo sent an internal e-mail

stating that

                 As a result of the increase, Perrigo’s WAC pricing would end up even slightly higher

than Fougera’s. That same day, John Wesolowski, a senior executive at Perrigo, called

and they spoke for nearly six minutes. This set off another rush of communications between

          of Perrigo and CW-6 of Fougera, with each of them concurrently reporting the results of

those communications to their superiors, Wesolowski and Kaczmarek. These calls, which all

occurred within the span of less than an hour, are detailed in the chart below:

     Date          Call Type Target Name      Direction    Contact Name                 Time      Duration
     4/19/2010     Voice     T.P. (Perrigo)   Incoming     Wesolowski, John (Perrigo)    16:04:44     0:05:51
     4/19/2010     Voice     T.P. (Perrigo)   Outgoing     CW-6 (Fougera)                16:16:56     0:00:26
     4/19/2010     Voice     T.P. (Perrigo)   Incoming     CW-6 (Fougera)                16:34:36     0:03:48
     4/19/2010     Voice     CW-6 (Fougera)   Outgoing     Kaczmarek, Walt (Fougera)     16:39:16     0:07:13
     4/19/2010     Voice     T.P. (Perrigo)   Outgoing     CW-6 (Fougera)                16:48:29     0:03:42
     4/19/2010     Voice     T.P. (Perrigo)   Outgoing     Wesolowski, John (Perrigo)    16:52:43     0:03:16
     4/19/2010     Voice     CW-6 (Fougera)   Outgoing     Kaczmarek, Walt (Fougera)     16:54:33     0:08:49
     4/19/2010     Voice     T.P. (Perrigo)   Incoming     Wesolowski, John (Perrigo)    16:56:29     0:06:39


       1480. The following week, between April 24 and April 27, 2010, the NACDS held its

annual meeting in Palm Beach, Florida. Several executives from Fougera and Perrigo were in


                                                     378
attendance, including Kaczmarek,                      , and CW-6 from Fougera and Wesolowski and

                  , senior executives from Perrigo.

       1481. Fougera and Perrigo executives were speaking about Perrigo’s launch throughout

the conference. On April 26, 2010,                    and CW-6 spoke by phone for seven minutes.

Immediately after that call, CW-6 hung up and called Kaczmarek, speaking for four minutes.

       1482. Similarly, on April 27, 2010,               e-mailed Kaczmarek while they were still at

the NACDS meeting, stating that he needed




       1483. On April 28, 2010, Perrigo officially entered the Imiquimod Cream market and

published WAC pricing that was slightly higher than Fougera’s. That same day,               e-mailed

Fougera executives with an update regarding his conversations at the NACDS meeting. With

respect to Imiquimod Cream,             stated,

                                            explained that Fougera gave up McKesson and ABC to

Perrigo because



                                  CW-3, a sales executive at Fougera, expressed confusion that

Fougera had lost ABC’s business. Kaczmarek explained that                                       CW-

3 replied:

       1484. On April 30, 2010, a senior Fougera executive,                    , demanded an urgent

explanation from            as to why Fougera was willing to give up both McKesson and ABC.

       reminded            that it was inevitable that Perrigo would take some of the market.

also explained:



                                                  379
                                                     stated that Perrigo’s share would likely settle

in the range of 30-40%



       1485. Consistent with the conspiracy’s principles and the prior discussions between the

competitors, by April 30, 2010 Fougera had given up more than ten of its Imiquimod customers to

Perrigo.

       1486. On May 16, 2010, Fougera was preparing an internal presentation regarding

Imiquimod Cream, which included a statement that

           While reviewing the presentation, Boesch challenged          about the statement, asking



                     assured Boesch that




       1487. The next day, on May 17, 2010, CW-6 and                   exchanged at least six calls,

including one lasting more than six minutes, likely to confirm (again) the agreement in place

between the two competitors.

       1488. Several months later, on September 8, 2010, CW-6 circulated a press release to the

Fougera sales team announcing that Perrigo had received its own ANDA approval to market

generic Imiquimod Cream. Previously, Perrigo had been selling the AG through a license with a

branded manufacturer. That same day, CW-6 called                 That call lasted less than a minute.

           called CW-6 back almost immediately, and they spoke for more than two minutes.



                                               380
         1489. On September 27, 2010, CW-6 gave a presentation to Fougera’s parent company

titled                                       during which he noted that Fougera had given up

Imiquimod share to Perrigo. Later that year, in November 2010, CW-6 also noted in his monthly

recap that                                in the Imiquimod market.

         1490. Fougera also continued to monitor the status of other competitors’ plans to enter

the Imiquimod market. For example, on February 7, 2011, a Glenmark employee called CW-6,

and they spoke for four minutes. Later that day, CW-6 e-mailed Kaczmarek and            regarding

Imiquimod Cream that

responded,

                2.     Sandoz Entry (February 2011)

         1491. Although Fougera was fortunate that Glenmark had no near-term plans to enter the

Imiquimod Cream market, another competitor – Sandoz – did receive FDA approval on February

28, 2011 to launch the product. That same day, CW-6 of Fougera and                     of Perrigo

exchanged at least five calls, including two calls lasting two minutes each.

         1492. On March 1, 2011, one of Fougera’s customers, NC Mutual, also e-mailed CW-3,

a sales executive at Fougera, to tell him that Sandoz was launching Imiquimod. CW-3 promptly

forwarded the e-mail to Kaczmarek. That same day, CW-6 called              and they spoke for more

than three minutes.

         1493. When Sandoz entered the market, it did so seamlessly – initially taking comparable

share from the existing competitors Fougera and Perrigo.

         1494. For example, in late February and early March, Sandoz made offers to ABC, a

Perrigo customer, and Rite Aid, a Fougera customer. In total, the customers accounted for

approximately 13% of the Imiquimod Cream market (ABC at 8% and Rite Aid at 5%).



                                               381
       1495. On March 3, 2011, Fougera declined to bid to retain the Rite Aid business and gave

up its primary position to Sandoz. The next day, on March 4, 2011, Kellum of Sandoz followed

up with                     , a sales executive at Sandoz, stating,

                                                                                           Later

that day, Perrigo followed suit and declined to bid to retain the ABC business. That same day,

CW-6 called             and they spoke for four minutes. A few minutes later, Kaczmarek called

CW-6 and they spoke for nearly five minutes.

       1496. Around this same time, Taro was also starting to make plans to enter the market.

Between March 6 and March 10, 2011, representatives from Fougera, Perrigo, Sandoz, and Taro

were all in attendance together at the ECRM Retail Pharmacy Generic Pharmaceutical Conference

in Champions Gate, Florida. These representatives included CW-6 from Fougera,

from Perrigo, CW-4 and Kellum from Sandoz, and                          and                 sales

executives from Taro.

       1497. On March 7, 2011, while at the ECRM conference, CW-4 of Sandoz and               of

Taro spoke on the phone for four minutes. Later that day, Kellum – CW-4’s boss sent an internal

e-mail from ECRM stating that he had           Taro may be entering the Imiquimod Cream market.

Also, while at the ECRM conference, CW-6 of Fougera and               of Perrigo spoke once by

phone on March 9, 2011. The call lasted one minute. By March 9, 2011, Sandoz had acquired

approximately 13% of the Imiquimod Cream market and Kellum recommended that they

                                                                              referred to a group

of direct purchasers including HEB, Ahold, Schnucks, and Giant Eagle. These were all Perrigo

customers, and Sandoz intended to obtain their Imiquimod business




                                                382
Those customers were the only additional customers whose business Sandoz was seeking. To that

end, Kellum conveyed to                     , a sales executive at Sandoz, that



                                        Ultimately, on March 17, 2011, Perrigo conceded the

consortium business to Sandoz.

        1498. On March 10, 2011, Kellum provided additional color for his recommendation that

Sandoz only go after smaller Fougera customers moving forward, explaining that




               3.     Taro Entry (July 2011)

        1499. A month or so later, on April 15, 2011, Taro received FDA approval to market

Imiquimod Cream. Taro immediately began coordinating its entry with competitors. On April 17,

2011,         of Taro and CW-4 of Sandoz exchanged two calls, with one call lasting twelve

minutes. Within an hour of ending the second call, CW-4 called her supervisor, Kellum, and they

spoke for five minutes. The next day, on April 19, 2011,              called CW-4 again. The call

lasted one minute.

        1500. On these calls,         conveyed to CW-4 that Taro had gotten FDA approval for

Imiquimod Cream but advised that Taro would not formally launch until June.               also told

CW-4 that Taro had already received a pre-commitment from Econdisc, a large GPO customer,

and now would only go after smaller customers. CW-4 understood that                    shared this

information with her so that she knew Taro would not attack Sandoz at large accounts and, if it did

compete for smaller customers, it would do so without eroding the supracompetitive price. CW-4




                                               383
also understood that Sandoz should not compete for the Econdisc business, and in return, Taro



          1501. Perrigo and Fougera were also simultaneously coordinating how they would react

to Taro’s entry.      For example, on April 18, 2011, Kaczmarek informed the Fougera sales

executives that Taro had received FDA approval to market Imiquimod Cream and asked,

                                This set off a flurry of communications that same day between CW-6 of

Fougera and               of Perrigo, who were both concurrently reporting to, and taking direction

from, their supervisors, Kaczmarek and Wesolowski. These calls are detailed in the chart below:

         Date          Call    Target Name      Direction   Contact Name                  Time        Duration
                      Type
         4/18/2011   Voice     T.P. (Perrigo)   Incoming    CW-6 (Fougera)                 12:17:23      0:00:27
         4/18/2011   Voice     T.P. (Perrigo)   Outgoing    Wesolowski, John (Perrigo)     16:43:08      0:04:09
         4/18/2011   Voice     T.P. (Perrigo)   Outgoing    CW-6 (Fougera)                 16:56:57      0:02:44
         4/18/2011   Voice     T.P. (Perrigo)   Outgoing    Wesolowski, John (Perrigo)     17:00:05      0:00:08
         4/18/2011   Voice     T.P. (Perrigo)   Incoming    Wesolowski, John (Perrigo)     17:08:22      0:03:25
         4/18/2011   Voice     CW-6 (Fougera)   Outgoing    Kaczmarek, Walt (Fougera)      21:41:15      0:06:03


          1502. Three days later, on April 21, 2011, CW-6 decided to reach out to Taro directly and

called                        , a sales executive at Taro. The two men spoke for eight minutes. Upon

hanging up, CW-6 called Kaczmarek. The call lasted one minute. First thing the next morning,

CW-6 sent a text message to                        of Perrigo.

          1503. By early July 2011, Taro was finally starting to enter the Imiquimod Cream market.

On July 5, 2011,                reached out to CW-6 of Fougera. The call lasted only two minutes, but

it set off another rush of communications among the three competitors – Perrigo, Fougera, and

Taro – to make sure they were on the same page regarding Taro’s entry. These calls, which all

occurred within the span of approximately fifteen minutes, are detailed in the chart below:

           Date     Call Type Target Name    Direction             Contact Name          Time      Duration
           7/5/2011     Voice  CW-6 (Fougera) Incoming             T.P. (Perrigo)          9:12:00    0:02:00
            7/5/2011    Voice  CW-6 (Fougera) Outgoing             H.M. (Taro)             9:13:00    0:01:00
           7/5/2011     Voice  CW-6 (Fougera) Incoming             H.M. (Taro)             9:18:00    0:06:00


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            7/5/2011   Voice    CW-6 (Fougera)   Outgoing      T.P. (Perrigo)     9:23:00    0:02:00
           7/5/2011    Voice    CW-6 (Fougera)   Outgoing      H.M. (Taro)        9:25:00    0:02:00


         1504. At the same time,             of Taro was coordinating with CW-4 of Sandoz. On July

7, 2011,          of Taro called CW-4 of Sandoz. The call lasted two minutes. CW-4 returned the

call and they spoke for sixteen minutes. A few hours later, CW-4 called               and they spoke for

another four minutes.

         1505. On July 14, 2011, CW-6 of Fougera called                     at Taro again and they spoke

for nine minutes. As soon as CW-6 hung up he called his boss, Kaczmarek, and the two spoke for

five minutes. Later that day, Kaczmarek e-mailed the Fougera sales team stating,



         1506. On July 26, 2011, a customer, MedCo, informed Perrigo that it had received a

competitive offer for Imiquimod Cream and asked if Perrigo could match the price. MedCo

declined to disclose who made the offer. This sparked another flurry of phone communications

starting first thing the next morning between Perrigo, Taro and Fougera, as detailed in the chart

below:

   Date      Call Type      Target Name      Direction   Contact Name              Time      Duration
   7/27/2011      Voice     H.M. (Taro)      Outgoing    CW-6 (Fougera)              5:52:47    0:00:25
   7/27/2011      Voice     CW-6 (Fougera)   Outgoing    H.M. (Taro)                 6:19:00    0:05:00
   7/27/2011      Voice     CW-6 (Fougera)   Outgoing    H.M. (Taro)                 6:39:00    0:01:00
   7/27/2011      Voice     CW-6 (Fougera)   Outgoing    H.M. (Taro)                 6:40:00    0:05:00
   7/27/2011      Voice     CW-6 (Fougera)   Outgoing    T.P. (Perrigo)              6:55:00    0:01:00
   7/27/2011      Voice     H.M. (Taro)      Outgoing    CW-6 (Fougera)              7:00:17    0:00:25
   7/27/2011      Voice     CW-6 (Fougera)   Outgoing    T.P. (Perrigo)              7:27:00    0:08:00
   7/27/2011      Voice     CW-6 (Fougera)   Outgoing    H.M. (Taro)                 7:40:00    0:04:00
   7/27/2011      Voice     CW-6 (Fougera)   Outgoing    Kaczmarek, Walt (Fougera)   8:06:05    0:04:17


         1507. The next day, on July 28, 2011, Perrigo declined to bid to retain the MedCo

business. That same day, CW-6 of Fougera called                  of Perrigo. The call lasted one minute.

           returned the call and they spoke for six minutes.



                                                   385
       1508. On August 8, 2011,            of Taro called CW-4 of Sandoz again. They ultimately

spoke for seventeen minutes. On that call,           informed CW-4 that Taro had officially been

awarded the Econdisc business and the secondary position at Cardinal and that Taro could not

support any more customers. CW-4 understood this to mean that the market would remain strong

with no price erosion and Sandoz would not have to relinquish any additional customers to Taro.

Later that evening, on August 8, 2011, CW-4 passed along competitive intelligence to the effect

that Taro

       1509. On August 19, 2011, Hannaford – a retail pharmacy customer – advised CW-6 that

it had received a competitive offer for Imiquimod Cream, but similarly would not identify which

competitor made the offer. Thereafter, CW-6 spoke several times with                    (Perrigo) and

        (Taro), in an effort to discover which competitor made the offer. These calls are detailed

in the chart below:

    Date        Call Type Target Name        Direction   Contact Name         Time      Duration
    8/19/2011    Voice    CW-6 (Fougera)     Outgoing    T.P. (Perrigo)         6:07:00    0:01:00
    8/19/2011    Voice    CW-6 (Fougera)     Outgoing    H.M. (Taro)            6:07:00    0:02:00
    8/19/2011    Voice    CW-6 (Fougera)     Outgoing    H.M. (Taro)            6:09:00    0:01:00
    8/19/2011    Voice    CW-6 (Fougera)     Incoming    H.M. (Taro)            6:10:00    0:06:00

       1510. During those calls, CW-6 was able to confirm that Taro had in fact made the offer.

Later that day, CW-6 sent the e-mailed Kaczmarek that Hannaford received a competitive offer on

Imiquimod, but would not tell him                                         Despite not getting this info

from the customer, CW-6 reported                                          CW-5 responded again that

he thought they should                                    Kaczmarek ultimately agreed with this

assessment, and Fougera conceded the account to Taro.

       1511. The goal of these communications between the various competitors on Imiquimod

Cream – Fougera, Perrigo, Sandoz, and Taro – was always to avoid competition and minimize the



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price erosion that would sometimes come with the entry of new competitors. The results were

highly successful.

       1512. The next day, on August 20, 2011,             a senior executive at Fougera, sent an

e-mail to other senior Fougera executives regarding Imiquimod Cream stating,




       1513. Throughout September 2011,                      of Taro, CW-6 of Fougera, and

        of Perrigo spoke several times by phone during which they discussed, among other things,

Taro’s new capacity to take on additional market share for Imiquimod Cream and how that should

be accommodated in the market. As always, CW-6 and              kept their supervisors, Kaczmarek

and Wesolowski, informed of the content of those conversations. Some of these calls are detailed

in the chart below:

    Date      Call Type   Target Name      Direction   Contact Name              Time      Duration
    9/21/2011     Voice   CW-6 (Fougera)   Incoming    H.M. (Taro)                 6:22:00    0:01:00
    9/21/2011     Voice   CW-6 (Fougera)   Outgoing    H.M. (Taro)                 6:24:00    0:04:00
    9/21/2011     Voice   CW-6 (Fougera)   Outgoing    H.M. (Taro)                 6:49:00    0:02:00
    9/23/2011     Voice   CW-6 (Fougera)   Outgoing    T.P. (Perrigo)              6:46:00    0:03:00
    9/23/2011     Voice   CW-6 (Fougera)   Incoming    Kaczmarek, Walt (Fougera) 11:31:14     0:12:10
    9/26/2011     Voice   CW-6 (Fougera)   Outgoing    T.P. (Perrigo)             12:23:00    0:04:00
    9/26/2011     Voice   CW-6 (Fougera)   Outgoing    H.M. (Taro)                12:29:00    0:01:00
    9/26/2011     Voice   CW-6 (Fougera)   Outgoing    H.M. (Taro)                12:39:00    0:03:00
    9/26/2011     Voice   CW-6 (Fougera)   Incoming    H.M. (Taro)                12:46:00    0:04:00
    9/26/2011     Voice   CW-6 (Fougera)   Outgoing    T.P. (Perrigo)             12:49:00    0:01:00
    9/26/2011     Voice   CW-6 (Fougera)   Outgoing    H.M. (Taro)                13:12:00    0:01:00
    9/26/2011     Voice   CW-6 (Fougera)   Outgoing    H.M. (Taro)                13:19:00    0:01:00
    9/26/2011     Voice   CW-6 (Fougera)   Outgoing    H.M. (Taro)                13:26:00    0:03:00
    9/27/2011     Voice   CW-6 (Fougera)   Outgoing    H.M. (Taro)                 4:05:00    0:08:00
    9/27/2011     Voice   CW-6 (Fougera)   Incoming    H.M. (Taro)                 5:48:00    0:03:00
    9/27/2011     Voice   CW-6 (Fougera)   Outgoing    T.P. (Perrigo)              5:50:00    0:01:00
    9/27/2011     Voice   CW-6 (Fougera)   Outgoing    T.P. (Perrigo)              6:16:00    0:01:00
    9/27/2011     Voice   CW-6 (Fougera)   Outgoing    T.P. (Perrigo)              6:16:00    0:04:00
    9/27/2011     Voice   CW-6 (Fougera)   Outgoing    Kaczmarek, Walt (Fougera) 8:46:35      0:05:01
    9/27/2011     Voice   CW-6 (Fougera)   Outgoing    T.P. (Perrigo)              9:05:00    0:03:00
    9/27/2011     Voice   T.P. (Perrigo)   Outgoing    Wesolowski, John (Perrigo) 8:42:00     0:01:00
    9/27/2011     Voice   CW-6 (Fougera)   Outgoing    T.P. (Perrigo)             12:24:00    0:01:00




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       1514. After this series of calls, on September 30, 2011, Kaczmarek e-mailed other

Fougera sales executives, including            to advise them that Taro had made an offer for

Imiquimod Cream at Wal-Mart, a Fougera customer. Kaczmarek explained that




Kaczmarek reluctantly recommended that Fougera give up Wal-Mart’s business and

                            Kaczmarek noted that, if Fougera defended Wal-Mart’s business, Taro

would likely just go after other customers at lower and lower prices

         On the other hand, if Fougera gave up Wal-Mart, Taro would hopefully



agreed with Kaczmarek’s recommendation and Fougera ultimately ceded the business to Taro in

order to keep the market stable.

       TTT. Irbesartan

       1515. Irbesartan is a drug used in the treatment of hypertension. It prevents the narrowing

of blood vessels, thus lowering the patient’s blood pressure. Irbesartan is also known by the brand

name Avapro.

       1516. Teva received approval to manufacture generic Irbesartan in March 2012.

       1517. On March 6, 2012, Teva’s                     polled the Teva sales team seeking

information about competitors that were also making offers to supply Irbesartan.

       1518. At 11:27 a.m.,                  , an account manager at Teva responded:

                         Less than twenty minutes later, Green placed a call to Berthold at Lupin.




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They talked for seventeen minutes. Shortly after hanging up the phone, Green e-mailed his

colleagues with the information he obtained:




       1519. That same day, Rekenthaler informed the group that he still had not received

                                               He received an immediate response from a senior

commercial operations executive at Teva, expressing his displeasure:




       1520. At 10:54 a.m. the next day, Green called Berthold again. They spoke for nearly

seven minutes. At 12:20 p.m.,             of Teva shared with the sales team the competitively

sensitive information Green had obtained. Included were the details Berthold had shared with

Green about which competitors were launching/not launching the drug, and the identity of the

customers that received offers.           stated that Teva was in a position to take up to a 40%

market share when it launched Irbesartan on March 30, 2012.




                                               389
       UUU. Isosorbide Dinitrate

       1521. Isosorbide Dinitrate, also known by the brand name Sorbitrate, is used to prevent

chest pain by relaxing and widening blood vessels so blood can flow more easily to the heart.

During the period relevant to this Complaint, Sandoz, Par and West-Ward were the primary

manufacturers of Isosorbide Dinitrate tablets.

       1522. In July 2012, due to claimed supply disruptions, both Sandoz and West-Ward

dramatically increased their prices by approximately 1000%. Following these price increases,

internal Sandoz documents kept by Armando Kellum and CW-3 concluded that Sandoz had its

“fair share” of the market for Isosorbide Dinitrate and did not seek more share for this reason.

       1523. Following this price increase, Par sought to increase its presence in the market for

Isosorbide Dinitrate. Rather than compete for price, Par knew that Sandoz and West-Ward would

concede share. Accordingly, Par matched the 1000% price increase announced by Sandoz and

West-Ward.

       1524. These price increases were coordinated by senior sales executives from each of

Sandoz, Par, and West-Ward. For example,                             of West-Ward spoke to

           of Sandoz for nearly twenty minutes on September 5, 2012. Likewise, on June 6, 2012,

Sandoz’s CW-3 spoke for approximately twenty-five minutes to                        , West-Ward’s

Director of National Accounts. The next week, on June 15th, Sandoz announced its price increases

on Isosorbide. The two executives next spoke for approximately twenty-one minutes on October

11th, and West-Ward announced its Isosorbide Dinitrate list price increases the next day.

       1525. Par announced its WAC price increases on March 11, 2013. Not long after, on

March 26th,                    of Par (the VP of National Accounts) spoke to CW-1 of Sandoz for

approximately twenty-five minutes.



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          1526. As a result of this coordination, Defendants increased prices on Isosorbide Dinitrate

by more than 1000% and charged supracompetitive prices to Plaintiff and other in the United

States.

          VVV. Labetalol

          1527. Labetalol, also known by brand names such as Normodyne and Trandate, is a

medication used to treat high blood pressure. Labetalol, like Nadolol, is in a class of drugs called

beta blockers, and it works by relaxing blood vessels and slowing heart rate to improve blood flow

and decrease blood pressure.

          1528. Labetolol was one of eight drugs that Teva targeted for a price increase effective

July 31, 2012. Prior to implementing the price increase for these drugs, Green and Rekenthaler

spoke with their competitors for each targeted drug to ensure that the understanding to increase

prices would hold, including Mylan, Actavis, Breckenridge, and Alvogen. For example, in July

2012, Green spoke by phone with Nesta of Mylan and CW-2 of Sandoz. On July 31, Green and

Nesta spoke five times, and immediately following some of these calls, Green called            Also,

Rekenthaler spoke with                      of Actavis and                 of Breckenridge. These

communications solidified the agreement between the Defendants that each would adhere to the

price increases for the drugs that each manufactured.

          1529. After Teva increased its pricing on Labetalol on July 31, 2012, it continued to

coordinate with its competitors to maintain that supra-competitive pricing for that drug. For

example, in October 2012, Teva learned that Sandoz was                                       but that

                               (i.e., did not have enough supply to meet all of its demand). In an

internal e-mail sent on October 16, 2012,                     , a senior analyst at Teva, questioned




                                                 391
whether Teva should consider lowering                                  in order to retain its market

share.

         1530. That same day, Green spoke to CW-2 of Sandoz two times. After those calls with

CW-2, Green responded to the analyst’s question:




         1531.          of Teva agreed:

         1532. Rekenthaler was not satisfied, however. In order to confirm that Actavis was also

still committed to maintain high pricing on Labetalol, Rekenthaler called and spoke to

         , a senior sales executive at Actavis, four times on October 18, 2012.

         1533. As Alvogen/County Line prepared to enter the market in late 2014, Michael

Dorsey, a National Account Manager at Actavis and                    , County Line’s Vice President

of Sales and Marketing spoke by phone on October 27, 2014, for 35 minutes. Dorsey also spoke

with              , County Line’s Executive VP and Founder, several times in August, October and

December 2014. On December 1, 2014, County Line announced WAC pricing for 100 mg, 200

mg, and 300 mg Labetalol tablets that was identical to the WAC pricing of Teva, Actavis, Sandoz,

and Par. Upon information and belief, County Line’s pricing was agreed upon during the

discussions between                   , and Dorsey.

         WWW. Lamivudine/Zidovudine (Generic Combivir)

         1534. Lamivudine/Zidovudine, also known by the brand name Combivir, is a

combination of medications used in the treatment of human immunodeficiency virus infection.

This combination of drugs is often prescribed to decrease the chances that an HIV-positive patient

will develop acquired immunodeficiency syndrome or other related illnesses.



                                                392
       1535. Teva launched its generic Combivir product in December 2011.

       1536. In mid-May 2012, two competitors – Lupin and Aurobindo – received FDA

approval for generic Combivir and were preparing to enter the market.

       1537. Even before those two companies obtained FDA approval, Teva was

communicating with both about how to share the market with the new entrants. Rekenthaler was

speaking to               , a senior-most executive at Aurobindo, while Green was speaking to

Berthold of Lupin and Grauso of Aurobindo.

       1538. For example, on April 24, 2012,             of Teva asked her co-workers whether

they had heard about any new entrants to the market for generic Combivir. Rekenthaler responded

immediately that Aurobindo was entering. When             questioned that information based on

her understanding of how quickly the FDA typically approved new product applications,

Rekenthaler assured her that the information was coming from a reputable source:




       1539. That                was Aurobindo’s Cunard, who had previously worked with both

        and Rekenthaler while at Teva. Rekenthaler was reluctant to identify Cunard in writing

as it would evidence conspiratorial communications between the two competitors. To confirm this

information, Green also called and spoke to Grauso of Aurobindo that same day for twelve minutes

and Berthold of Lupin for four minutes.




                                              393
       1540. After speaking with Berthold, Green responded separately to              , providing

specific information regarding Lupin’s entry plans, including commercially sensitive intelligence

about Lupin’ s anticipated bid at a large wholesaler. Green and Berthold then spoke again the next

day, April 25, 2012, for seven minutes.

       1541. In early May, with the Lupin and Aurobindo launches just days away,

communications among all three competitors accelerated noticeably. Over the four-day period

from May 7 to May 10, for example, the three companies spoke at least 32 times, as set forth in

the table below:




       1542. During this four-day period, the three individuals were negotiating and discussing

the specific customers that Teva would concede and retain in order to make Lupin and Aurobindo’s


                                               394
entry into the generic Combivir market as seamless as possible. The phone records demonstrate

several instances during this 4-day period where two of the individuals referenced above (Green,

Berthold and/or Grauso) would speak, followed by a phone call by one of those two individuals to

the individual that was not part of the original conversation.

         1543. On May 10, 2012, at the conclusion of this four-day period of intensive

communications,                of Teva informed his colleagues of the results. He confirmed that

                                                          Importantly, he went on to list the specific

accounts that Teva had negotiated to retain in order to hold on to a 40% market share in generic

Combivir.                also identified the specific accounts that Teva would concede to its

competitors Aurobindo and Lupin.

         1544. Even before the negotiations with Aurobindo and Lupin were finalized,

made it clear to the sales team that Teva would be cooperating with its competitors to concede

customers for generic Combivir. On May 9, 2012, when a major customer was pressing Teva for

a bid,            instructed         that Teva did not plan to keep that customer. When

asked if she should provide any bid at all,           directed her to provide a sham bid, saying:




         1545. Three days later, when preparing the bid for that customer,           pushed back on

           ’s directive on price, asking:

           But           refused, responding that they could not go any lower or else Teva might


                                                395
risk actually winning the business. He concluded:



       1546. In a separate e-mail exchange with               on that same day, May 11, 2012,

          told         that another of her major customers was not on the list for Teva to retain

with respect to generic Combivir. He reminded her of the goal of the overarching conspiracy,

stating that Teva should concede that customer

                      pointed out that such a move would give Teva more market share than the

conspiracy’s rules allowed:                                                                  then

informed that customer that Teva would not compete for its business.

       1547. Lupin was able to enter the market for generic Combivir and obtain more than a

30% market share without significantly eroding the price due to the collusive understanding with

Teva and Aurobindo.

       XXX. Latanoprost Drops

       1548. Latanoprost, also known by the brand name Xalatan (manufactured by Pfizer), is

an ophthalmic solution, in the form of eye drops, used to treat high blood pressure inside the eye

due to glaucoma (open angle type) or other eye diseases including but not limited to ocular

hypertension. In 2013, the annual market for Latanoprost Drops in the United States exceeded

$100 million.

       1549. As of March 2012, there were three generic manufacturers in the market for

Latanoprost Drops: Sandoz, Greenstone, and Valeant (sometimes referred to as Bausch & Lomb

(“B&L”)). Greenstone had the largest market share with 42%, followed by Valeant with 30% and

Sandoz with 19%. In April 2012, all three manufacturers raised their prices in direct coordination

with one another.



                                               396
       1550. In early April 2012, Greenstone informed its customers that it would be taking a

price increase on Latanoprost Drops. In the days and weeks leading up to the Greenstone price

increase notice, Robin Hatosy of Greenstone acted as the conduit, sharing information between

Sandoz and Valeant in order to secure an agreement from both to raise prices, through phone and

text message exchanges with Kellum of Sandoz and                                    of Valeant:

   Date         Call Type   Target Name                  Direction   Contact Name             Time      Duration
     3/1/2012   Voice       Hatosy, Robin (Greenstone)   Incoming    B.P. (Valeant)            12:35:30    0:00:00
     3/1/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            12:38:54    0:00:29
     3/1/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            12:39:39    0:00:46
     3/5/2012   Voice       Hatosy, Robin (Greenstone)   Incoming    Kellum, Armando (Sandoz)   9:30:16    0:05:18
    3/16/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz) 21:26:02     0:00:00
    3/16/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz) 21:27:11     0:00:00
    3/17/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz) 16:21:54     0:00:00
    3/17/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz) 20:13:55     0:00:00
    3/17/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz) 21:08:36     0:00:00
    3/30/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            11:07:59    0:00:00
    3/30/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            12:03:57    0:00:00
    3/30/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            12:07:02    0:00:00
    3/30/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            12:11:17    0:00:00
    3/30/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            12:15:28    0:00:00
    3/30/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            12:49:42    0:00:00
    3/30/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            12:51:14    0:00:00
    3/30/2012   Text        Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            12:52:14    0:00:00


       1551. On the day that Greenstone sent out the price increase notices, April 3, 2012, both

CVS and Walgreens approached Sandoz looking for a lower price on Latanoprost Drops. That

same day,             and Kellum exchanged five text messages while Kellum replied internally to his

colleagues at Sandoz, stating:

                                                                                     Later that evening, Kellum

instructed his sales team not to make any                            for Latanoprost and to put the product on

                        Kellum also instructed                             , one of his sales executives, to lie to

Walgreens about why Sandoz was unable to bid, instructing him to                                       even though

Sandoz had plenty of supply.




                                                          397
       1552. Sandoz immediately began preparing an increase of its own. On April 4, 2012,

Kellum called         but was unable to connect. He called her again on April 5, 2012, and the

two competitors spoke for nearly two minutes.

       1553. On April 6, 2012, Kellum requested a customer list from a colleague so that he

could begin calculating the financial impact of a Sandoz price increase. He also added the item



            After some quick calculations, Kellum determined that a Sandoz increase on

Latanoprost Drops could increase the company’s revenues by up to $14,900,000 per year.

       1554. In a presentation he created that same day to support the Latanoprost price increase,

Kellum was intentionally opaque about why Sandoz should take the increase, stating that



                                      But that was a lie. Kellum had first learned of the Greenstone

price increase directly from          not a customer. In addition, the Valeant price increase had

not even happened yet. In fact, it would not be effective until April 24, 2012, three weeks in the

future; Kellum’s inside information instead came directly from his prior conversations with his

competitor, Greenstone.

       1555. While he was in the midst of planning the Sandoz price increase on April 6, 2012,

Kellum also exchanged two more text messages and had a nearly seven minute call with

of Greenstone.            in turn, then called         at Valeant and the two spoke for nearly five

minutes. Later that evening, Kellum told colleagues:



       1556. Things moved quickly from there. On April 9, 2012, Kellum sent around an agenda

for the Pricing Committee meeting the next day. The agenda included



                                                 398
                            He also called            of Greenstone but was unable to reach her.

Kellum quickly obtained approval for the Latanoprost price increase; customers were notified of

the increase on April 11, 2012, and it became effective on April 13, 2012. As a result of this quick

action, Sandoz’s price increase became effective even before Greenstone’s.

       1557. On April 12, 2012, a large retail pharmacy customer, Rite-Aid, sent Greenstone a

request for a bid on Latanoprost. Knowing that this was likely an indication that Sandoz had

followed Greenstone’s price increase,           (then using a different surname) forwarded the e-

mail directly to Kellum with an approving message:




       1558. That same day, a different customer, Optisource, approached Sandoz – angry that

it was not notified in advance of Sandoz’s Latanoprost price increase. A Sandoz sales executive

told the customer that Sandoz was simply                                            but Optisource

challenged that idea, saying that Valeant – which was also on a secondary contract with that

customer – had not raised its price. Questioning Kellum’s intel about the price increases, a senior

sales and pricing executive at Sandoz forwarded the e-mail string directly to Kellum on Friday,

April 13, 2012, asking:

                 Kellum’s understanding, of course – based on his conversations with              –

was that Valeant would be raising, or already had raised, its price.




                                                399
       1559. The following Monday, April 16, 2012, Kellum called               She called him back

the next day, but they were unable to connect. On April 18 and 19, 2012,             and         of

Valeant then communicated several times by phone and text message, including one call lasting

nearly fourteen minutes.

       1560. On April 24, 2012, Valeant raised its WAC pricing on Latanoprost to a point even

higher than Sandoz’s. That same day,            of Valeant called          of Greenstone, likely to

report the news.

       1561. Three price increases in the span of roughly three weeks caused a lot of customer

activity and confusion – which in turn required additional coordination among the three

manufacturers to make sure prices stayed high and the market remained stable. For the most part,

Sandoz tried to avoid taking any of its competitors’ customers after the price increases, but it did

want to pick up one customer.

       1562. For example, on Friday May 4, 2012 – shortly after the Greenstone and Valeant

price increases became effective – Cardinal approached Sandoz with an opportunity to bid and

take the business with a lower price. Kellum called             that day, but they were unable to

connect. He called her again on Monday, and they spoke for more than six minutes. They spoke

about Sandoz’s desire to obtain another customer, and which customer it should target. Monday

morning, before speaking to          Kellum responded to the internal Sandoz e-mail saying,




                                 The next day, after speaking to           Kellum followed up the

e-mail, confirming that Sandoz should pass on Cardinal, stating

                                                       Consistent with the agreement reached with



                                                400
Greenstone, Sandoz retained its secondary position with Cardinal, instead of bidding for the

primary position, and decided to wait until ABC put its Latanoprost business out to bid and let

Greenstone concede that customer instead.

       1563. Around this same time, CW-1 started at Sandoz. He had previously worked with

        at a prior employer and thus had a pre-existing relationship with the Greenstone sales

executive. When some confusion arose later in May 2012 around the Cardinal business,

communicated with both CW-1 and Kellum from Sandoz, as well as               of Valeant, in order

to enforce the agreement already in place among the three manufacturers.

       1564. For example, on the morning of May 31, 2012,              of Valeant and         of

Greenstone exchanged one text message and had several phone calls of varying lengths. In the

midst of those communications with                     was simultaneously communicating with

CW-1 of Sandoz using iPhone chat, resulting in the following message exchange:




       1565. As           explained to CW-1, Valeant (B&L) had the Cardinal business, not

Greenstone, but Cardinal was telling Valeant that Sandoz had a lower price in the market.

expressed the need to call “Armando” [Kellum] because CW-1 had only recently started at Sandoz

and thus did not completely understand the scope of the prior collusive communications between

       and Kellum about the Latanoprost price increases.




                                              401
       1566. Immediately following this exchange,                       did call Kellum, setting off a flurry

of calls between the three competitors that day, as set forth below:

   Date        Call Type   Target Name                  Direction   Contact Name            Time       Duration
   5/31/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz) 8:31:29      0:00:02
   5/31/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz) 8:31:50      0:01:57
   5/31/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)             8:34:24     0:03:15
   5/31/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)             8:39:30    0:00:59
   5/31/2012   Voice       Hatosy, Robin (Greenstone)   Incoming    B.P. (Valeant)             8:43:46     0:00:00
   5/31/2012   Voice       Hatosy, Robin (Greenstone)   Incoming    B.P. (Valeant)             8:44:31    0:00:26
   5/31/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    Kellum, Armando (Sandoz) 8:45:15      0:02:26
   5/31/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)             9:17:22    0:02:29
   5/31/2012   Voice       Hatosy, Robin (Greenstone)   Outgoing    B.P. (Valeant)            10:38:48    0:01:01


       1567. Over the next several weeks,                     went to great lengths to make sure Sandoz and

Valeant lived up to their agreement to keep prices high across the board for Latanoprost. For

example, between June 26 and 28, 2012,                        and         of Valeant exchanged twelve text

messages.

       1568. After that series of communications, on June 29, 2012,                        reached out again to

CW-1 via iPhone chat (At the exact same time that                        was exchanging these iPhone chat

messages with CW-1 at Sandoz, she was also exchanging separate text messages with                               of

Valeant):




       1569. Those efforts were successful. On July 3, 2012, CW-1 followed up with

via iPhone chat message confirming that Sandoz’s pricing for Latanoprost was not low at Cardinal

– or any other customer for that matter:



                                                        402
       1570. Again, shortly after receiving this information from CW-1 about Sandoz’s pricing,

       sent a text message to       at Valeant. They exchanged several other text messages that

same day.

       1571. Greenstone similarly lived up to its agreement to concede the ABC business to

Sandoz. On June 22, 2012, ABC requested a bid from Sandoz on Latanoprost, as expected, due

to the Greenstone price increase. Consistent with the agreement, Greenstone quickly conceded the

customer to Sandoz, allowing Sandoz to obtain the business



       1572. Remarkably, the Defendants were able to implement this price increase despite the

fact that Akorn launched Latanoprost in July 2012 as well. Each of the competitors conceded

market share to Akorn, and in return, Akorn entered the market at the price set by Sandoz,

Greenstone/Pfizer, and Valeant.

       1573. As discussed above, this successful effort at price fixing convinced Kellum to

recommend further efforts at price fixing with Greenstone on various formulations of Clindamycin

beginning in August 2012, continuing through 2014. That history also paved the way for another

successful price fixing agreement between Sandoz and Greenstone on Eplerenone Tablets,

discussed above.


                                              403
       YYY. Leflunomide

       1574. The market for Leflunomide is mature, as the drug has been available in generic

form since 2005. During the relevant time period, Defendants Apotex, Heritage, and Teva sold

Leflunomide to Plaintiff, its assignor, and others in the United States at supracompetitive prices

inflated by the unlawful and anticompetitive agreements alleged in this Complaint.

       1575. During their April 15, 2014 phone call alleged above, Malek and the Teva’s Patel

also discussed Leflunomide and targeted it for a price increase.

       1576. During the first week of May 2014, executives from Teva, Heritage and Apotex

spoke several times by telephone. During these phone calls, all three companies agreed to increase

prices on Leflunomide and to refrain from submitting competitive bids to each other’s customers.

These conversations also resulted in an agreement that Apotex would lead the price increase, which

it did on May 9, 2014.

       1577. Pursuant to the agreement between the three companies, Heritage began to

announce the price increase in June, and had fully implemented the price increase on all its major

Leflunomide accounts by early July.

       1578. In early July, after the price increase on Leflunomide was implemented, Teva exited

the market for the drug. Because the price increase was successful, this action was against Teva’s

self-interest. Upon information and belief, Heritage induced Teva’s exit by agreeing to concede

market share to Teva on other drugs.

       1579. As alleged above, the price increases regarding Leflunomide were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Leflunomide to Plaintiff, its assignor, and others in the United




                                                404
States. These collusive agreements were furthered, at least in part, by the communications between

and among Defendants and co-conspirators alleged above.

       ZZZ. Levothyroxine

       1580. Levothyroxine is a synthetic form of the thyroid hormone thyroxine used to treat

hypothyroidism, goiter, thyroid cancer, and cretinism. The market for Levothyroxine is mature,

as Levothyroxine has been available in the United States for over 50 years. Levothyroxine is on

the WHO’s list of essential medicines. Levothyroxine is often featured on lists of the top ten most

prescribed generic drugs and, as of June 2015, it was the most prescribed generic drug in the United

States and constituted 2.7% of the entire generic drug market by number of prescriptions. Over

120 million prescriptions are written annually for Levothyroxine in the United States, treating 15%

of the population over the age of 55.

       1581. Since approximately December 2010, Defendants Mylan, Sandoz, and Lannett

have dominated the generic Levothyroxine market.

       1582. In 2013 and 2014, the three competitors coordinated to significantly raise the price

of Levothyroxine. Nesta of Mylan spearheaded the discussions by speaking with                     a

senior sales executive at Lannett, and with CW-4 of Sandoz. In addition to communicating directly

with CW-4 on this drug, Nesta also communicated indirectly with Sandoz through a mutual contact

at a competitor company – Green of Teva. Notably, Levothyroxine was not a drug that Teva sold.

       1583. As detailed above, Mylan increased prices on a number of drugs on January 4, 2013,

including Levothyroxine. The day before the Mylan increase, on January 3, 2013, Nesta of Mylan

and Green of Teva spoke at least four times by phone. The next morning – the day of the Mylan

price increases – Green spoke twice with Kellum, including a six minute call at 9:34 a.m.




                                                405
        1584. Shortly after hanging up the phone with Green, Kellum sent an internal e-mail

stating, among other things, that he

                                       and Kellum advised his team to                        on this

product. As the phone records demonstrate, Kellum’s source for the information was not

            but rather Green of Teva.

        1585. That same morning,             of Lannett called Nesta of Mylan. The phone call lasted

44 seconds. Then, on January 10, 2013, Nesta called           back and they spoke for more than six

minutes.   That same day, McKesson e-mailed Sandoz and requested a price reduction on

Levothyroxine. Kellum responded internally:



        1586. The following Monday – January 14, 2013 – Lannett raised its WAC pricing for

Levothyroxine to match Mylan. Notably, after these phone calls, Nesta would not speak again

with         of Lannett until August 6, 2013 – three days before Mylan increased its prices for

Levothyroxine a second time.

        1587. On July 16, 2013 – as detailed above – CW-4 spoke with Nesta and sent the July

2013 E-mail identifying the Mylan price increases. The price list included Levothyroxine and

noted that Lannett had followed.

        1588. On August 6, 2013, Nesta called CW-4 two times. Both calls lasted less than a

minute. A few minutes after the second call, Nesta called            at Lannett. The call lasted 24

seconds (likely a voicemail). Three days later, on August 9, 2013, Mylan increased WAC pricing

on Levothyroxine for a second time.

        1589. On August 10, 2013,                         , a national account executive at Sandoz,

sent an internal e-mail that stated:



                                                 406
                                                                     CW-4 replied to            ’s

e-mail stating:

       1590. Pursuant to their ongoing understanding, Lannett followed quickly and matched

Mylan’s WAC pricing on August 14, 2013.

       1591. On August 14, 2013,                       sent an e-mail to Kellum, copying CW-1,

regarding                           and asked                                   CW-1 responded:

                  In response,              replied:

                   CW-1 answered:

       1592. On September 5, 2013, Cigna – a Mylan customer – contacted Lannett and

requested a bid on Levothyroxine.                         , a national account manager at Lannett,

forwarded the request to         stating:



explained that

                           Nonetheless, on September 12, 2013, Lannett declined the opportunity

and blamed supply issues stating:



       1593. During a September 10, 2013 earnings call, Lannett’s CEO,                       , was

asked for his reaction to Mylan’s Levothyroxine price increase.            responded:




                                                407
          1594. On September 13, 2013, Sandoz did indeed act                   and, consistent with

the understanding it had with its competitors, raised WAC pricing to match Mylan and Lannett.

          1595. By way of example, Defendants set matching WAC prices on their 0.05 mg tablet

in quick succession in August and September 2013:

  Product
                                                Old                        Date of     Percentage
   .05 mg       Defendant         NDC                      New WAC
                                                WAC                       Increase      Increase
     tab
 1000 ct       Mylan            00378180310        $0.18        $0.27      9-Aug-13           45%
 100 ct        Lannett          00527134201        $0.18        $0.27     14-Aug-13           46%
 1000 ct       Lannett          00527134210        $0.18        $0.27     14-Aug-13           46%
 90 ct         Sandoz           00781518192        $0.12        $0.27      13-Sep-13         120%
 1000 ct       Sandoz           00781518110        $0.12        $0.27      13-Sep-13         120%

          1596. The three competitors – Defendants Mylan, Lannett, and Sandoz – did not stop

there. They coordinated again to raise price on Levothyroxine in April/May 2014.

          1597. Consistent with the 2013 increases, Mylan was the first to raise its WAC pricing on

Levothyroxine on April 25, 2014. In the two days leading up to the increase, Nesta and

         of Lannett spoke by phone several times. These calls are listed below. Notably, these calls

are the last documented telephone calls between these two executives.




          1598. On April 25, 2014, Mylan increased its pricing for Levothyroxine.Sullivan of

Lannett had              about the Mylan increase from her supervisor,                   , who had

communicated with Nesta only days prior.




                                                 408
           1599. Lannett quickly followed with a price increase of its own - raising its WAC pricing

to match Mylan on April 28, 2014. In accordance with their ongoing agreement, and consistent

with past practice, Sandoz followed shortly thereafter on May 23, 2014 and matched the WAC

pricing of its competitors. The following chart reflects Defendants’ price increases on .05 mg

tablets:

  Product
                                                 Old                       Date of     Percentage
   .05 mg        Defendant         NDC                      New WAC
                                                 WAC                      Increase      Increase
     tab
 1000 ct        Mylan           00378180310         $0.27        $0.41     25-Apr-14          54%
 100 ct         Lannett         00527134201         $0.27        $0.41     28-Apr-14          55%
 1000 ct        Lannett         00527134210         $0.27        $0.41     28-Apr-14          54%
 90 ct          Sandoz          00781518192         $0.27        $0.41    23-May-14           54%
 1000 ct        Sandoz          00781518110         $0.27        $0.41    23-May-14           54%

           1600. As a result of the overarching understanding and these collusive communications,

Defendants Lannett, Mylan, and Sandoz all sold Levothyroxine to Plaintiff, its assignor, and others

in the United States at supracompetitive prices inflated by the unlawful and anticompetitive

agreements alleged in this Complaint.

           AAAA. Lidocaine Ointment

           1601. Lidocaine Ointment (“Lidocaine” or “Lido”), also known by brand names such as

Xylocaine Topical Solution, among others, is an anesthetic used to temporarily numb and relieve

pain from minor burns, skin abrasions, insect bites, and other painful conditions affecting mucous

membranes.

           1602. In late 2011, Hi-Tech began making plans to launch Lidocaine Ointment. At that

time, Fougera was the sole generic manufacturer in the market.




                                                 409
       1603. On November 21, 2011,                           , a Fougera sales executive, forwarded

an invitation to CW-6, among others, for a conference call on November 28, 2011 to discuss

                                                                            – a product on which

Fougera and G&W overlapped and where CW-6 was colluding with Grauso of G&W at the same

time. That anticompetitive conduct is discussed above in an earlier Section of this Complaint.

       1604. The next day, on November 22, 2011,                  of Hi-Tech called CW-6 and they

spoke for seven minutes. Immediately after hanging up, CW-6 called his supervisor, Kaczmarek,

and they spoke for four minutes. The November 2011 call between CW-6 and                   was the

first time that the two competitors had ever spoken by phone (according to the available phone

records). During these calls, the two competitors discussed Hi-Tech’s entry into the market and

Fougera’s plan to raise its prices before Hi-Tech entered.

       1605. Fougera held its internal strategy meeting on November 28, 2011. A few days later,

on December 2, and then again on December 5, 2011, CW-6 called                 The calls lasted one

minute each.

       1606. Later that month, on December 22, 2011, and consistent with the competitors’

discussions, Fougera increased WAC pricing for Lidocaine Ointment by 200%.

       1607. Starting in February 2012, as Hi-Tech began preparing in earnest to enter the

market,         and CW-6 began speaking more frequently. On February 23, 2012,               of Hi-

Tech called CW-6 and they spoke for seven minutes. Immediately upon hanging up, CW-6 called

his supervisor, Kaczmarek, to report the conversation. That call lasted one minute. An hour later,

Kaczmarek called CW-6 back and they spoke for six minutes. Further, on March 7, 2013,

called CW-6 and they spoke for five minutes. CW-6 called             back a few minutes later. The




                                               410
call lasted one minute. During these calls, the competitors discussed which customers Hi-Tech

should target as it entered the Lidocaine market, as well as pricing.

          1608. One week later, on March 13, 2012, Hi-Tech entered the Lidocaine Ointment

market and matched Fougera’s increased WAC pricing.

          1609. After Hi-Tech entered, and consistent with the rules of the conspiracy, Fougera

gave up several of its Lidocaine Ointment customers to the new entrant. For example, on March

22, 2012, ABC e-mailed Fougera

                                                                    . CW-3, then a sales executive at

Fougera,          Kaczmarek

      .

          1610. Similarly, on March 27, 2012, CW-6 advised Kaczmarek that Hi-Tech had

                                                               . CW-6 suggested that Fougera

                                                  to which Kaczmarek replied:

          1611. On May 17, 2012, Wal-Mart e-mailed                          , another Fougera sales

executive,

                                                                .             forwarded Wal-Mart’s

request to Kaczmarek,                                  .

          1612. First thing the next morning, Kaczmarek called CW-6 and they spoke for ten

minutes. A few hours later, Kaczmarek called CW-6 again and they spoke for three minutes.

Immediately upon hanging up, CW-6 called               of Hi-Tech. The call lasted one minute. A

half hour later, CW-6 called           again. The call lasted one minute. That same morning,

Kaczmarek responded to            ’s e-mail stating,




                                                411
       1613. Later that day, Kaczmarek e-mailed the sales team



             , and advised that Fougera was                                        A Fougera sales

executive,

       Therefore, Kaczmarek recommended that Fougera

                   The next day, on May 19, 2012, CW-6 called             speaking for four minutes

– likely letting him know that Fougera was now done conceding customers to the new entrant.

       1614. One year later, in March 2013, Taro began preparing to re-launch into the Lidocaine

Ointment market. At that time, Sandoz (which by that point had acquired Fougera) had

approximately 56% market share and Hi-Tech had 42%.

       1615. On March 18, 2013, the same day that Aprahamian started at Taro, Perfetto sent an

internal e-mail,



       1616. Over the next several days, Aprahamian and CW-3 of Sandoz exchanged several

calls, including a call on March 19, 2013 lasting sixteen minutes and a call on March 21, 2013

lasting twelve minutes.

       1617. Later in the day on March 21, 2013, after Aprahamian’s conversations with CW-

3,             , a senior Taro sales executive, sent an internal e-mail

                                                      and stating:




                                                412
                                          The next day, on March 22, 2013, Aprahamian called CW-

3 again. CW-3 returned the call and the two competitors spoke for seventeen minutes.

       1618. During these calls in March 2013, Aprahamian informed CW-3 that Taro would be

re-entering the Lidocaine Ointment market. CW-3, in turn, provided Aprahamian with non-public

price points that Sandoz was charging to its customers for the product.

       1619. Armed with this competitively sensitive information, on or about March 23, 2013,

Taro re-launched Lidocaine Ointment and matched Sandoz and Hi-Tech WAC pricing. Over the

next two weeks, Aprahamian and CW-3 exchanged numerous calls during which they discussed,

among other things, the allocation of customers to the new entrant, Taro. These calls are listed in

the chart below:

   Date         Call Type   Target Name               Direction   Contact Name    Time      Duration
    3/25/2013   Voice       Aprahamian, Ara (Taro)    Incoming    CW-3 (Sandoz)     9:14:00    0:05:00
    3/28/2013   Voice       Aprahamian, Ara (Taro)    Outgoing    CW-3 (Sandoz)     6:49:00    0:06:00
    3/28/2013   Voice       Aprahamian, Ara (Taro)    Outgoing    CW-3 (Sandoz)    13:51:00    0:01:00
    3/29/2013   Voice       Aprahamian, Ara (Taro)    Incoming    CW-3 (Sandoz)     9:51:00    0:05:00
    3/29/2013   Voice       Aprahamian, Ara (Taro)    Incoming    CW-3 (Sandoz)    10:06:00    0:06:00
    4/2/2013    Voice       Aprahamian, Ara (Taro)    Incoming    CW-3 (Sandoz)     6:12:00    0:06:00
    4/2/2013    Voice       Aprahamian, Ara (Taro)    Outgoing    CW-3 (Sandoz)    12:56:00    0:06:00
    4/4/2013    Voice       Aprahamian, Ara (Taro)    Outgoing    CW-3 (Sandoz)    10:15:00    0:02:00
    4/4/2013    Voice       Aprahamian, Ara (Taro)    Outgoing    CW-3 (Sandoz)    10:16:00    0:06:00

       1620. Although Aprahamian wanted CW-3 to tell him which customers to target, CW-3

had a difficult time obtaining that guidance from Kellum. Aprahamian told CW-3 that Taro would

be taking two customers from Sandoz – CW-3 understood that to mean that Taro planned to take

one wholesaler and one retailer.

       1621. On April 5, 2013,                         , a senior Sandoz marketing executive, sent an

internal e-mail

            CW-3 responded:

                                                                        replied by asking Kellum,


                                                     413
                      Kellum

                  :

                                        Later that day,           sent another e-mail to others at

Sandoz stating:

         1622. On April 8, 2013, Taro held a Sales and Marketing conference call. According to

the meeting minutes, Perfetto reported the following:

                                                                                              The

next day, on April 9, 2013, CW-3 called Aprahamian and they spoke for seven minutes.

         1623. On April 15, 2013, Aprahamian and CW-3 exchanged three calls, including one

lasting eighteen minutes and another lasting nine minutes. Later that day, Aprahamian sent an

internal e-mail attaching a                                          The

consistent with the conspiracy, Taro’s                    was              and they had achieved

           share. For pricing,



         1624. The next day, on April 16, 2013, CW-3 called Aprahamian. Aprahamian returned

the call and the two competitors spoke for eleven minutes. At the same time,              of Taro

called                , a senior Hi-Tech sales and marketing executive, and they spoke for eight

minutes. Throughout the rest of April, CW-3 and Aprahamian would exchange at least ten more

phone calls.

         1625. In June 2013, Taro circulated a spreadsheet detailing its gains and losses for May

2013 for various products. With respect to Lidocaine Ointment,




                                                 414
        1626. By January 2014, Sandoz held a                                  which included a

presentation on                                                    The presentation contained a

slide titled,                                 which               , and

                                           . Sandoz described Taro’s

           as a

        1627. Throughout 2014, Sandoz was careful not to disrupt the market balance it had

achieved with Taro and Hi-Tech with regard to Lidocaine Ointment. For example, in March 2014

Sandoz created a list of products to target at Wal-Mart in 2014. With regard to Lidocaine

Ointment, CW-3 responded that Sandoz had




        BBBB. Lidocaine-Prilocaine

        1628. The market for Lidocaine-Prilocaine is mature, as Lidocaine-prilocaine has been

available in the United States for decades. It is marketed in the United States under the brand

name EMLA. Defendants Akorn, Hi-Tech, Impax, Sandoz, and Fougera have all sold Lidocaine-

prilocaine throughout the United States.

        1629. At all times relevant to this lawsuit there has been more than one manufacturer of

Lidocaine-prilocaine on the market. Defendants Akorn, Hi-Tech, Impax, Sandoz, and Fougera

sold Lidocaine-prilocaine to Plaintiff, its assignor, and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.




                                              415
       1630. For more than two years prior to the conspiracy period, Defendants’ average price

in the U.S. for Lidocaine-prilocaine was remarkably stable. Beginning in mid-2014, Defendants

increased their prices abruptly and, for the most part, in unison.

       1631. Upon information and belief, Akorn, Hi-Tech, Impax, Sandoz, and Fougera

reached an agreement to increase prices for Lidocaine-Prilocaine in the United States from an

average of 47 cents per dose in April 2014 to an average price of $1.20 by January 2015.

       1632. These extraordinary price increases were not the result of supply shortages, demand

spikes, or other competitive market conditions. There were no relevant labelling changes or

reported drug shortages that might have led to price increases. Nor was there a spike in demand

that could explain the price hikes.

       1633. Upon information and belief, this agreement to increase prices on Lidocaine-

Prilocaine was the result of collusive communications between and among Defendants that were

initiated by Sandoz and Fougera to increase pricing and restrain competition for the sale of

Lidocaine-Prilocaine in the United States, and this agreement to increase prices was facilitated

because each adhered to the overarching price agreement in the generic drug industry. The

collusive agreement to increase prices on Lidocaine-Prilocaine was furthered, at least in part,

through in-person discussions conducted at meetings and industry events hosted by GPhA and

HDMA as well as other meetings and communications such as those described below.

       1634. For example, on October 1-3, 2012, representatives from Fougera, Impax, and

Sandoz attended the GPhA Annual Meeting in Orlando, Florida. See Ex. 1.

       1635. On February 20-22, 2013, GPhA held its Annual Meeting in Orlando, Florida that

was attended by Akorn, Impax, and Sandoz. See Ex. 1.




                                                416
       1636. On June 2-5, 2013, HDMA held its 2013 BLC in Orlando, Florida, which was

attended by Akorn, Impax, and Sandoz. See Ex. 1.

       1637. On June 4-5, 2013, GPhA held a meeting in Bethesda, Maryland that was attended

by Fougera, Hi-Tech, Impax, and Sandoz. See Ex. 1.

       1638. On August 10-13, 2013, NACDS held its 2013 Total Store Expo in Las Vegas. This

event was attended by representatives from Akorn, Hi-Tech, Impax, and Sandoz. See Ex. 1.

       1639. On October 28-30, 2013, GPhA held a meeting in Maryland that was attended by

Akorn, Fougera, Hi-Tech, Impax, and Sandoz representatives. See Ex. 1.

       1640. On February 28-30, 2013, GPhA held its Annual Meeting in Orlando, Florida that

was attended by representatives from Hi-Tech, Impax, and Sandoz. See Ex. 1.

       1641. On June 1-4, 2014, HDMA held a BLC in the Marriott in Phoenix, Arizona.

Representatives from Akorn, Sandoz, and Impax attended. See Ex. 1.

       1642. On June 3-4, 2014, GPhA held a meeting in Maryland that was attended by

representatives from Hi-Tech, Fougera, Impax, and Sandoz. See Ex. 1.

       1643. On August 23-26, 2014, NACDS held its 2014 Total Store Expo in Boston.

Representatives from Akorn, Impax, and Sandoz attended. See Ex. 1.

       1644. On October 27-29, 2014, GPhA held its Fall Conference in Bethesda, Maryland.

Representatives from Impax, Fougera, and Sandoz attended. See Ex. 1.

       1645. Akorn, Hi-Tech, Impax, Sandoz, and Fougera continued to attend trade association

events in 2015 and 2016.

       CCCC. Loperamide HCL Capsules

       1646. Mylan and Teva dominate the market for Loperamide HCL capsules.




                                            417
       1647. Loperamide HCL was one of eight drugs that Teva targeted for a price increase

effective July 31, 2012. Prior to implementing the price increase for these drugs, Green and

Rekenthaler spoke with their competitors for each targeted drug to ensure that the understanding

to increase prices would hold, including Mylan, Actavis, Breckenridge, and Alvogen. For

example, in July 2012, Green spoke by phone with Nesta of Mylan, CW-2 of Sandoz, and

    of Alvogen. On July 31, Green and Nesta spoke five times, and immediately following some

of these calls, Green called Hill. Also, Rekenthaler spoke with               of Actavis and

       of Breckenridge. These communications solidified the agreement between the Defendants

that each would adhere to the price increases for the drugs that each manufactured.

       1648. As a result of these collusive communications, Mylan and Teva were able to

increase prices on Loperamide HCL. By adhering to the overarching agreement and through the

numerous other examples of collusion between Teva and Mylan, Defendants have been able to

maintain prices for Loperamide HCL at supracompetitive levels since July 2012.

       DDDD. Meprobamate

       1649. The market for Meprobamate is mature, as the drug has been available in the United

States since 1955. Heritage and Dr. Reddy’s sold Meprobamate to Plaintiff, its assignor, and others

in the United States at supracompetitive prices inflated by the unlawful and anticompetitive

agreements alleged in this Complaint.

       1650. On March 21, 2013, Heritage’s Malek e-mailed                   and

                                                                      .

       1651. On March 22, 2013, Heritage’s               e-mailed a senior sales executive at Dr.

Reddy’s,               to propose that both companies increase their prices for Meprobamate in

the United States.



                                               418
       1652. On March 22, 2013, Heritage’s                 spoke with the Dr. Reddy’s              by

phone for about nine minutes. Upon information and belief, during the phone call, the two

companies agreed to increase prices on Meprobamate in the United States. The terms of the

agreement were further confirmed in e-mails exchanged between               and Dr. Reddy’s

between March 22 and March 25, 2013.

       1653. On March 27, 2013, Malek forwarded an RFP to                  that Heritage had received

from a prospective purchaser of Meprobamate. Through e-mails that followed and through about

a four minute phone call on March 29, 2013 between                   and           Heritage and Dr.

Reddy’s took steps to ensure that neither submitted bids that undercut the other’s pricing for

Meprobamate.

       1654. In April 2013, Dr. Reddy’s requested that Heritage allow Dr. Reddy’s to increase

its market share for Meprobamate. Dr. Reddy’s wanted to achieve this by reaching an agreement

that Heritage would walk away from its existing Meprobamate business with a national pharmacy

chain. Heritage quickly agreed to give this business to Dr. Reddy’s, and by April 2013, Heritage

took steps to give up this business so that Dr. Reddy’s could take it.

       1655. Malek and other employees continued to e-mail and speak by phone throughout

May 2013 to ensure that the market for Meprobamate in the United States was allocated to the

liking of both Dr. Reddy’s and Heritage.

       1656. As a result of this anticompetitive conduct, Heritage and Dr. Reddy’s increased the

prices for Meprobamate sold to Plaintiff, its assignor, and others in the United States to

supracompetitive levels. This market allocation and price-fixing agreement and the ensuing

supracompetitive pricing continued in either force or effect (or both) until at least the end of 2016.




                                                 419
       EEEE. Metformin ER

       1657. Metformin ER, the generic version of Fortamet, is prescribed to treat adult-onset

diabetes.

       1658. During the time period relevant to this Complaint, Actavis, Amneal, Lupin, Sun,

and Teva dominated the market for Metformin ER tablets.

       1659. Lupin led the price increase in August 2015, by raising prices by approximately

200%. Between August 2015 and January 2016, Actavis, Amneal, Sun, and Teva all supported

Lupin’s price increase by following it themselves and by refraining from competing for additional

customers.

       1660. Senior sales executives from each Defendant were in active contact with each other

during the period in which they implemented the price increase, both by telephone and at trade

shows and industry events.

       1661. For example, and as detailed in the phone records tables depicted throughout this

Complaint, between July 2015 and February 2016, David Berthold of Lupin was in frequent

contact with                  (of Amneal); and with Mark Falkin and                   of Actavis.

Similarly, during this same time period, Ara Aprahamian (on behalf of Taro’s corporate parent,

Sun) was in frequent contact with Rick Rogerson, Mark Falkin, and                     of Actavis;

and Nisha Patel of Teva.

       1662. As a result of these collusive communications, Defendants have been able to

maintain prices at supracompetitive levels on Metformin ER tablets since July 2015.

       FFFF. Methadone HCL

       1663. Methadone HCL is an opioid used by cancer patients and others to manage

moderate to severe pain. It is also used to treat addiction to opioids by stopping withdrawal



                                              420
symptoms. During the period relevant to this Complaint, West-Ward and Mallinckrodt were the

primary manufacturers of Methadone HCL tablets.

       1664. Prior to 2014, West-Ward and Mallinckrodt both sold Methadone HCL tablets for

pennies per pill. However, in June 2014 both manufacturers significantly increased their WAC

prices by approximately 200%.

       1665. West-Ward and Mallinckrodt communicated directly with each other in furtherance

of the conspiracy. For example,               , West-Ward’s Senior Director and Head of Sales,

and               , Mallinckrodt’s National Account Director, both attended a February 2014

ECRM event at the Omni Amelia Island Plantation Resort in Amelia Island, Florida. They spoke

by phone on May 15, 2014, and attended the August 2014 NACDS Total Store Expo in Boston.

Upon information and belief,           and          agreed that West-Ward would lead the price

increase and Mallinckrodt would follow it. After the meeting in Boston, this is exactly what

happened; in September 2014, West-Ward announced its WAC price increases for Methadone,

and Mallinckrodt followed this price increase in October 2014.

       1666. As a result of this collusion, Defendants charged Plaintiff, its assignor, and others

supracompetitive prices for Methadone HCL tablets sold in the United States.

       GGGG. Methazolamide Tablets

       1667. Methazolamide, also known by the brand name Neptazane, is used to treat ocular

conditions where lowering intraocular pressure would be beneficial, including several types of

glaucoma. Methazolamide Tablets are available in 25mg and 50mg dosages.

       1668. By the fall of 2013, there were two manufacturers marketing Methazolamide –

Defendant Sandoz and Fera Pharmaceuticals, Inc. (“Fera”). Both competitors had posted nearly

identical WAC pricing for the 25mg and 50mg dosage sizes, respectively.



                                              421
        1669. In early 2014, Sandoz began experiencing issues with its API supplier and was

forced to temporarily withdraw from the market. At that time, Sandoz expected that its supply

problems would be resolved in June 2014 and it would re-enter then.

        1670. At the same time that Sandoz was experiencing supply problems, Perrigo acquired

Fera’s right to distribute Methazolamide. As a result of Perrigo’s acquisition, Fera left the

Methazolamide market.

        1671. On March 6, 2014, Perrigo formally launched Methazolamide. Perrigo knew prior

to its launch that Sandoz, its only competitor, was out of the market and was not expected to re-

enter until the summer of 2014. Perrigo leveraged its temporary position as the only manufacturer

with the ability to supply by implementing a large price increase. Perrigo’s WAC pricing when it

entered was 136% higher than Sandoz’s. An internal Perrigo document circulated approximately

one month prior to the launch

                                                                        On June 17, 2014, Perrigo

learned from a customer that Sandoz was back in the Methazolamide market. That same day,

         of Perrigo called CW-3, a Sandoz senior sales executive. The call lasted one minute. After

that call,        called his supervisor, Wesolowski, and they spoke for three minutes. The next

day, on June 18, 2014,           and CW-3 exchanged two more calls, with one call lasting three

minutes. On Monday, June 23, 2014,             e-mailed Wesolowski the following:

        1672. Indeed, Sandoz had re-entered the market for the 25mg with a WAC price of

$129.84 – which was significantly lower than Perrigo’s WAC price of $306.47. Wesolowski was

upset that Sandoz did not reach out to Perrigo before re-entering the market. Had it done so,

Sandoz would have known to raise its price, and to what level. Wesolowski forwarded




                                                422
e-mail above to Boothe, a senior Perrigo executive, and others at Perrigo with the following cover

note:




        1673. In the meantime, Perrigo would make sure that Sandoz did its                 before

re-entering on the 50mg, and that it would correct its prior mistake on the 25mg.

        1674. On October 21, 2014, CW-3 and               spoke for fifteen minutes. During that

call,         provided CW-3 with Perrigo’s increased WAC pricing for the 25mg and 50mg

package sizes of Methazolamide to ensure that Sandoz would match those prices when it re-entered

the market. CW-3’s contemporaneous notes from that call are pictured below:




        1675. Shortly after the call, in early November 2014, Sandoz began ramping up for its re-

entry into the Methazolamide market. On November 3, 2014, Sandoz held a Commercial

Operations meeting during which Sandoz discussed its plans for the Methazolamide re-launch,

including implementing significant price increases to align with Perrigo’s pricing.

        1676. The next day, on November 4, 2014, CW-1, a senior Sandoz pricing executive, sent

an internal e-mail                              the                                 if

                                  . The next day, CW-3 called                   at Perrigo and the



                                               423
two competitors spoke for twelve minutes. Also on that day, CW-1 directed the Sandoz pricing

team to remove Methazolamide from any existing contracts. CW-1 explained that




         1677. The two competitors continued to coordinate over the next several weeks as Sandoz

made final preparations to re-enter the market and raise prices. On November 10, 2014, CW-3

called           twice with one call lasting two minutes and the other call lasting three minutes.

         1678. On December 4, 2014, CW-3 e-mailed Kellum, CW-1, and others at Sandoz



                              :




         1679.

                                                                                       . This pricing

information was not publicly available.

         1680. On December 5, 2014, Sandoz re-launched its 50mg dosage with a WAC price of

$612.97, which matched Perrigo’s WAC price. At the same time, Sandoz increased the WAC

price on its 25mg dosage by 136% to match Perrigo’s pricing.

         HHHH. Methylphenidate

         1681. Methylphenidate – the generic version of the branded drug Ritalin – is a central

nervous system stimulant prescribed to treat attention deficit disorder.

         1682. During the time period relevant to this Complaint, Actavis, Impax, Mallinckrodt,

Par, Sandoz, and Sun dominated the market for Methylphenidate.




                                                 424
       1683. In early March 2013, Mallinckrodt announced that it would have a temporary

supply disruption. Whether Mallinckrodt truly had a supply disruption or not remains unclear;

what is clear though, is that immediately after this announcement, Sandoz and Mallinckrodt began

coordinating to exploit this purported supply disruption to raise prices.

       1684. Between March 1, 2013, and March 8, 2013, CW-3 (a senior sales executive at

Sandoz) and Walt Kaczmarek (a Vice President of Mallinckrodt) spoke by phone four times and

exchanged. Following their fourth call of the week on March 8, 2013, Sandoz announced that it

was raising its prices on Methylphenidate by 400%.

       1685. Following Sandoz’s announcement,                               , a Director of National

Accounts at Watson (later Actavis) spoke with                  , the VP of Generic Sales of Sandoz

for more than 20 minutes on April 21, 2013. Upon information and belief,                   confirmed

to        that Actavis would follow Sandoz’s price increase.

       1686. Two days after the call between                  and                             of Sun

reported to her superior that Actavis/Watson would raise price effective May 25 (even though

Actavis had not yet announced a price increase) and that Mallinckrodt would follow this price

increase when it resolved its supply issue.

       1687. Sure enough, on April 25, 2013, Actavis/Watson announced that it was matching

Sandoz’s 400% price increase.

       1688. Less than a week later, Mallinckrodt sought to re-enter the market and regain the

share that it had forfeited during the period of its claimed supply disruption – which lasted just two

months. Despite selling the product at competitive levels in February 2013, Mallinckrodt reentered

the market at the elevated price set by Sandoz and Actavis.




                                                 425
       1689. The day after Mallinckrodt announced that its supply disruption had been resolved,

                – a national accounts director at Mallinckrodt – spoke by phone with CW-3, his

former colleague from Sandoz. Upon information and belief, the purpose of this call was to

determine which customers that Sandoz would concede to Mallinckrodt so that it could regain its

market share.

       1690.     And that is just what happened. In August 2013, CW-2 and Armando Kellum –

both of Sandoz –



       1691. In late 2014, Sun’s market share was well below the approximnately 17% that the

conspiracy allowed in what was then a five-manufacturer market.                       and

of Sun then coordinated with the other Defendants to arrange for Sun to increase its market share

on Methylphenidate.

       1692. In 2014 and 2015, Impax and Par entered the Methylphenidate market at the

elevated prices set by Sandoz, Actavis, and Mallinckrodt. Consistent with the overarching

agreement, Impax and Par communicated with the existing manufacturers to arrange for the

seamless transfer of certain customers without disrupting the price.          For example,

             Sun’s Manager of National Accounts, spoke with                    and

– both senior sales executives at Par – to coordinate Par’s entry into the market and arrange for Par

to receive customers in mid-2015.

       1693. As a result of these collusive communications, Defendants charged Plaintiff, its

assignor, and others in the United States supracompetitive prices for Methylphenidate.




                                                426
       IIII.   Methylprednisolone

       1694. Methylprednisolone, the generic version of the branded drug Medrol manufactured

by Defendant Pfizer, is a corticosteroid that is prescribed to reduce inflammation and treat a wide

range of conditions including arthritis, ulcerative colitis, psoriasis, and endocrine disorders.

Methylprednisolone is most typically sold in 4 mg tablets, but is also occasionally sold in higher-

dose tablets ranging from 8 mg to 32 mg.

       1695. The market for Methylprednisolone is mature, as the drug has been available in the

United States for more than 60 years.

       1696. During the time period relevant to this Complaint, Breckenridge, Cadista,

Greenstone, Qualitest, and Sandoz dominated the market for Methylprednisolone.

       1697. In early 2011, Methylprednisolone cost just a few cents per tablet. For example,

Cadista sold packages of 21 4 mg tablets for 85 cents each. Between March and June 2011,

however, Defendants colluded to implement a massive price increase.

       1698. Cadista and Sandoz both raised their prices by more than 2000%. For example, the

same 21 tablet package that Cadista sold for 85 cents in March cost more than $19.00 by June.

Sandoz concurrently imposed the same price increase as Cadista.

       1699. Qualitest – which was obligated by contractual price protections to maintain its

current prices for large customers – complied with the conspiracy’s agreement by declining to

supply Cadista’s and Sandoz’s customers.        As Qualitest’s contractual price obligations for

Methylprednisolone phased out, Qualitest also raised its prices in accordance with Sandoz and

Cadista.

       1700. Between October 2011 and October 2012, Greenstone and Breckenridge entered

the market for Methylprednisolone. Consistent with the overarching agreement, Greenstone and



                                               427
Breckenridge communicated with the other Defendants and confirmed their intentions to enter the

market at the elevated price. In return, and Cadista, Qualitest, and Sandoz conceded market share

to the new entrants.

       1701. In response to this price increase, customers pushed back on the Defendants to

lower their pricing on Methylprednisolone. For example, Walgreens – who was supplied by

Cadista – solicited Sandoz to submit a bid in December 2012. Upon learning that Walgreens was

soliciting bids, Richard Tremonte, the Vice President of Sales & Marketing at Sandoz,

                   that

                                                            Of course, the     was the collusion

between the competitors that led to the price increase in the first place, which Tremonte was

unwilling to put in writing.                                                                    .

       1702. Walgreens continued to seek a lower price on Methylprednisolone in 2013. In

September 2013, Kellum of Sandoz

                                                    . Upon learning that a sales executive was

working on a bid for Walgreens for Methylprednisolone, Kellum                            :



                                        Kellum’s

Kellum

Kellum                                                  :

       1703. Qualitest and Endo also

       prepared in July 2013, that they had




                                              428
         .

       1704. As a result of these collusive communications and each Defendants’ adherence to

the overarching agreement, the price increase on Methylprednisolone stuck, and Defendants have

been able to sell the drug at supracompetitive levels ever since. Indeed, in August 2012, roughly

a year after the initial Methylprednisolone price increase, Kellum of Sandoz




                                                            .

       JJJJ. Metronidazole

       1705. The market for Metronidazole is mature, as the drug has been available in the

United States since the 1970s. Defendants Actavis, G&W, Impax, Sandoz, Teva, and Valeant sold

Metronidazole to Plaintiff, its assignor, and others in the United States at supracompetitive prices

inflated by the unlawful and anticompetitive agreements alleged in this Complaint. There are

several formulations of Metronidazole including cream, gel, lotion, and vaginal formulations.

               1.      Metronidazole Gel

       1706. Metronidazole Gel (“Metro Gel” also known by the brand name Metrogel) is a

topical antibiotic prescribed for the treatment of skin lesions in patients suffering from rosacea.

Defendants G&W, Sandoz, Taro, and Teva were the primary manufacturers of the gel formulation

in 2011. Impax entered the market in 2012.

       1707. Beginning around July 2011, G&W, Sandoz/Fougera, and Taro engaged in price

increases of Metronidazole Gel of more than 400%. When Impax entered the market in 2012, it

did not disturb the artificially inflated pricing because it adhered to the collusive understanding.



                                                429
         1708. In the summer of 2011, Sandoz was seeking opportunities to increase prices on its

products. In pursuit of that goal, on July 6, 2011, James Park, a product manager at Sandoz, sent

an internal e-mail

                                                                      . The




         1709. That same day, July 6, 2011, CW-4, a senior sales executive at Sandoz, exchanged

three calls with               at Taro, including one call lasting sixteen minutes. During these

calls,        informed CW-4, among other things, that Taro would be raising prices on Metro Gel

.75%. Based on their prior conversations and understanding, CW-4 knew that Sandoz was

expected to follow the price increase.

         1710. Later that day, CW-4                  Park’s e-mail




         1711. Over the coming months, Sandoz kept watch on the market, waiting to follow

Taro’s expected price increase on Metro Gel .75%. In the interim, on July 20, 2011, a fourth

competitor, G&W, entered the Metro Gel .75% market. Despite only recently entering the market,

G&W quickly got to work coordinating a price increase on Metro Gel .75%. For the increase to

succeed, G&W would need to ensure that the other competitors in the market would follow – and

follow they did.

         1712. From January 29 to February 1, 2012, the ECRM held its Retail Pharmacy Generic

Pharmaceuticals Conference in Atlanta, Georgia. Representatives from all four competitors in the

Metro Gel .75% market – Fougera, Sandoz, Taro, and G&W – were in attendance. These



                                               430
representatives included CW-6 and Kaczmarek of Fougera, CW-4 of Sandoz,                           of Taro, and

Vogel-Baylor and Orlofski of G&W. Grauso, then at Aurobindo, was also in attendance.

       1713. On February 2, 2012, the day after the conference concluded, G&W generated a

price increase analysis for Metro Gel .75%, which included a 245% increase to the WAC price

from $39.99 to $137.99. That same day, Vogel-Baylor used her former colleague Grauso (then at

Aurobindo) to convey information to CW-6 at Fougera regarding the Metro Gel .75% price

increase.

       1714. For example, on February 2, 2012, Vogel-Baylor called Grauso and they spoke for

eight minutes. Grauso hung up and immediately called CW-6 of Fougera. The two men spoke for

four minutes. Immediately upon hanging up, Grauso called Vogel-Baylor back and they spoke for

eleven minutes. Grauso then called CW-6 again and spoke to him for five minutes. Grauso hung

up, received a call from Orlofski at G&W, and the two men spoke for thirteen minutes. These

calls, which all occurred within the span of less than an hour, are detailed in the chart below:

   Date        Call Type   Target Name             Direction   Contact Name             Time      Duration
     2/2/2012    Voice     Grauso, Jim (Aurobindo) Incoming    Vogel-Baylor, Erika (G&W) 9:29:00    0:08:00
      2/2/2012   Voice     Grauso, Jim (Aurobindo) Outgoing    CW-6 (Fougera)             9:36:00    0:04:00
     2/2/2012    Voice     Grauso, Jim (Aurobindo) Outgoing    Vogel-Baylor, Erika (G&W) 9:40:00    0:11:00
      2/2/2012   Voice     Grauso, Jim (Aurobindo) Outgoing    CW-6 (Fougera)            10:14:00    0:05:00
     2/2/2012    Voice     Grauso, Jim (Aurobindo) Incoming    Orlofski, Kurt (G&W)      10:19:00   0:13:00


       1715. Later that evening, CW-6 e-mailed his boss at Fougera, Kaczmarek,

               . CW-6 and Kaczmarek spoke by phone three times the following day.

       1716. On February 7, 2012, Vogel-Baylor e-mailed Orlofski her latest price increase

analysis for Metro Gel .75%. The next day, on February 8, 2012, Orlofski called Kaczmarek at

Fougera. The two competitors exchanged two more calls over the next few days and finally

connected on February 10, 2012 for a twenty-five minute call.




                                                      431
       1717. The communications intensified on February 14, 2012 as G&W made final

preparations for its price increase announcement. As they had done previously, Vogel-Baylor and

CW-6 used Grauso as the conduit to coordinate their plans on Metro Gel .75%. These calls are

detailed in the chart below:

  Date        Call Type Target Name             Direction   Contact Name                Time     Duration
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Incoming    Vogel-Baylor, Erika (G&W)    8:42:00    0:25:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Incoming    CW-6 (Fougera)              11:34:00    0:02:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Outgoing    CW-6 (Fougera)              11:56:00    0:13:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Outgoing    Orlofski, Kurt (G&W)        12:09:00    0:01:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Outgoing    Vogel-Baylor, Erika (G&W)   12:10:00    0:01:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Incoming    Vogel-Baylor, Erika (G&W)   12:19:00    0:04:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Outgoing    CW-6 (Fougera)              12:22:00    0:04:00
  2/14/2012     Text    Vogel-Baylor, Erika     Incoming    Grauso, Jim (Aurobindo)     12:26:30    0:00:00
                        (G&W)
  2/14/2012     Text    Vogel-Baylor, Erika     Outgoing    Grauso, Jim (Aurobindo)     13:25:08    0:00:00
                        (G&W)
  2/14/2012     Text    Vogel-Baylor, Erika     Incoming    Grauso, Jim (Aurobindo)     13:25:59    0:00:00
                        (G&W)
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Outgoing    Vogel-Baylor, Erika (G&W)   13:40:00    0:05:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Outgoing    CW-6 (Fougera)              13:44:00    0:06:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Outgoing    Vogel-Baylor, Erika (G&W)   13:49:00    0:04:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Incoming    CW-6 (Fougera)              13:55:00    0:01:00
  2/14/2012     Voice Grauso, Jim (Aurobindo)   Incoming    Vogel-Baylor, Erika (G&W)   14:39:00    0:08:00


       1718. Similarly, the next day, on February 15, 2012, Vogel-Baylor called Grauso and they

spoke for eleven minutes. Less than ten minutes later, Grauso called Vogel-Baylor back and they

spoke for forty-one minutes. Grauso hung up the phone and immediately called CW-6 at Fougera.

That call lasted one minute. The next day, Vogel-Baylor instructed her team to generate price

increase letters for Metro Gel .75%, and to issue them by 1:00 p.m. on February 17, 2012.

       1719. Even before G&W notified its customers of the increase, other competitors in the

market knew that G&W would be increasing price and planned to do the same. For example, on

February 15, 2012, two days before G&W sent its notice letters to its customers, Blashinsky, then

a senior marketing executive at Taro,

                                                                                                   he added.



                                                    432
             , a senior executive at Taro,



       1720. On February 17, 2012, Orlofski e-mailed Blashinsky of Taro

                                                             . Orlofski stated,

                                  Blashinsky

                The next day, Orlofski e-mailed          a senior Taro executive,




       1721. On February 17, 2012, G&W sent out letters notifying its customers of the Metro

Gel .75% price increase. That same day, Grauso called Vogel-Baylor and they spoke for sixteen

minutes. Following the now normal pattern, Grauso hung up and called CW-6 at Fougera. The

two men spoke for five minutes. Immediately upon hanging up, Grauso called Vogel-Baylor

again. That call lasted two minutes.

       1722. On February 18, 2012, Kroger

              asking,

                                                                                    Vogel-Baylor

responded,

                                                   Of course, Vogel-Baylor already knew that her

competitors would follow G&W’s price increase, but she could not tell the customer that.

Ultimately, the customer

                        On February 20, 2012, Blashinsky

                                                                and that Taro




                                                  433
       1723. From February 22 to February 24, 2012, the GPhA held its annual meeting in

Orlando, Florida. Senior executives from all four competitors in the Metro Gel .75% market –

Fougera, Sandoz, Taro, and G&W – were in attendance. These representatives included

Kaczmarek and           a senior executive at Fougera, Tremonte of Sandoz,          of Taro, and

Orlofski of G&W. During the conference, the competitors were actively discussing and agreeing

on the details of the Metro Gel .75% price increase.

       1724. On February 22, 2012, the first day of the GPhA meeting, Orlofski e- mailed

again, stating

                                         replied,

       1725. Immediately after meeting with Orlofski on February 22,                    e-mailed

Blashinsky                            stating:

    Blashinsky responded,                           replied,                            to which

Blashinsky answered,                                           further inquired,

                       and Blashinsky replied,                                        Of course,

Fougera and Sandoz had not increased their Metro Gel .75% pricing yet – but                 of Taro

understood that they would from his conversation with Orlofski.

       1726. Similarly, that same evening, on February 22, 2012, Kaczmarek of Fougera (who

was also at the GPhA conference) sent an e-mail to the Fougera Pricing Committee stating:



                                                                                                  r




                                                 434
       1727. On March 9, 2012, Rite Aid e-mailed Sandoz asking for a bid on Metro Gel .75%.

CW-4 of Sandoz forwarded the invitation to Kellum with the simple comment

Kellum wasted no time in telling his colleagues that Sandoz should stay clear of the Rite Aid bid,

as Sandoz intended to follow the price increase that he believed spawned the opportunity, saying:



       1728. One week later, when Rite Aid pressed again for a Sandoz bid, CW-4 contacted

Kellum                                           . Kellum

                                                      ”                                   , CW-4

responded to Rite Aid:



       1729. Within the next several weeks, all three competitors followed G&W's increase on

Metro Gel .75% as agreed and essentially matched G&W's WAC pricing. Fougera increased on

March 16, 2012, Taro increased on March 23, 2012, and Sandoz increased on April 6, 2012. On

March 22, 2012, the day before Taro increased its price, Orlofski at G&W received two phone

calls from a Taro employee lasting twelve minutes and two minutes, respectively. Customers

began to react immediately to the dramatic price hikes by seeking price quotes from the

competitors. The competitors, however, refused to break ranks. On April 3, 2012, for example,

Fougera received a request from a Taro customer to bid on Metro Gel .75% in light of the Taro




                                               435
increase. CW-6                                  Kaczmarek, saying:                               Kaczmarek



        1730. The following day, on April 4, 2012, CW-6 sent Kaczmarek an

                                                     . CW-6




        1731. Two years later, in June 2014, Taro began making plans to enter the market for

Metro Gel 1% and, on July 1, 2014, Taro launched the product and matched Sandoz’s WAC

pricing.

        1732. In the days leading up to the launch, CW-3 of Sandoz and Aprahamian of Taro

exchanged several calls during which they discussed the launch and Sandoz’s allocation of

customers to the new entrant, Taro. Further, during these calls, Aprahamian told CW-3 that Taro

was targeting 35% market share and identified the customers that it planned to target. Immediately

upon hanging up with Aprahamian, CW-3 reported this information back to his superiors, CW-1

and Kellum. This call pattern is detailed in the chart below:

   Date    Call Type   Target Name              Direction   Contact Name               Time      Duration
   6/17/2014 Voice     Aprahamian, Ara (Taro)   Outgoing    CW-3 (Sandoz)               13:44:00    0:01:00
   6/18/2014 Voice     Aprahamian, Ara (Taro)   Outgoing    CW-3 (Sandoz)               12:03:00    0:01:00
   6/18/2014 Voice     Aprahamian, Ara (Taro)   Outgoing    CW-3 (Sandoz)               12:18:00    0:01:00
   6/19/2014 Voice     Aprahamian, Ara (Taro)   Outgoing    CW-3 (Sandoz)                9:55:00    0:01:00
   6/20/2014 Voice     Aprahamian, Ara (Taro)   Outgoing    CW-3 (Sandoz)               11:40:00    0:02:00
   6/20/2014 Voice     CW-3 (Sandoz)            Outgoing    Kellum, Armando (Sandoz)    11:42:00    0:01:00
   6/20/2014 Voice     CW-3 (Sandoz)            Outgoing    Kellum, Armando (Sandoz)    11:43:00    0:01:00
   6/20/2014 Voice     Aprahamian, Ara (Taro)   Incoming    CW-3 (Sandoz)               11:56:00    0:04:00
   6/20/2014 Voice     Aprahamian, Ara (Taro)   Outgoing    CW-3 (Sandoz)               12:40:00    0:10:00
   6/20/2014 Voice     CW-3 (Sandoz)            Outgoing    Kellum, Armando (Sandoz)    12:50:00    0:01:00
   6/25/2014 Voice     Aprahamian, Ara (Taro)   Outgoing    CW-3 (Sandoz)               13:02:00    0:13:00
   6/25/2014 Voice     CW-3 (Sandoz)            Outgoing    Kellum, Armando (Sandoz)    13:15:00    0:01:00
   6/25/2014 Voice     CW-3 (Sandoz)            Outgoing    CW-1 (Sandoz)               13:18:00    0:01:00




                                                    436
       1733. On June 18, 2014, Aprahamian sent an internal e-mail to                     , a pricing

executive at Taro, stating



                                    On June 25, 2014, Taro submitted an offer to Walgreens. A few

days later, on June 30, 2014, Taro submitted a separate offer to ABC.

       1734. On the same day that ABC received the offer from Taro, the customer notified

Sandoz that it had received a competitive bid from Taro and asked whether Sandoz would lower

its price to retain the business.                      , a sales executive at Sandoz, forwarded the

request along internally, including to CW-1 and Kellum. CW-1 responded to                  stating:




                                        Kellum

       1735. The next day, July 1, 2014, Anuj Hasija, a sales executive at Sandoz, sent an internal

e-mail stating that Taro was                                                               Kellum

responded,



                        CW-1 replied:



       1736. Walgreens accepted Taro’s bid on July 2, 2014 and ABC accepted Taro’s bid on

July 7, 2014. Together, the two customers represented approximately 20% of Sandoz's volume

and sales for Metro Gel 1%.




                                                 437
        1737. On July 8, 2014, Taro also submitted a bid to Wal-Mart for Metro Gel 1%. That

same day, Aprahamian called CW-3 of Sandoz twice. Both calls lasted one minute. Two days

later, on July 10, 2014, Aprahamian e-mailed                            , a Taro sales executive, asking

her to follow up with Wal-Mart regarding the offer. The next day, on July 11, 2014, CW-3 and

Aprahamian exchanged four calls. After the last call, CW-3 hung up and immediately called

Kellum. These calls are detailed in the chart below:

   Date    Call Type   Target Name              Direction   Contact Name               Time     Duration
   7/11/2014 Voice     CW-3 (Sandoz)            Outgoing    Aprahamian, Ara (Taro)      8:31:00    0:01:00
   7/11/2014 Voice     CW-3 (Sandoz)            Outgoing    Aprahamian, Ara (Taro)      8:49:00    0:01:00
   7/11/2014 Voice     Aprahamian, Ara (Taro)   Incoming    CW-3 (Sandoz)              10:05:00    0:03:00
   7/11/2014 Voice     Aprahamian, Ara (Taro)   Incoming    CW-3 (Sandoz)              12:52:00    0:05:00
   7/11/2014 Voice     CW-3 (Sandoz)            Outgoing    Kellum, Armando (Sandoz)   12:57:00    0:01:00


        1738. The following Monday, on July 14, 2014, Wal-Mart notified Sandoz that it had

received a competitive bid on Metro Gel 1% that was 10% lower than Sandoz’s pricing and asked

whether it would bid to retain the business.

        1739. On July 18, 2014,                      , a pricing executive at Sandoz,

                   , including to CW-1 and Kellum, stating



                                                  CW-1 responded by




                                                                                Kellum then replied,



        1740. Notably, after sending this e-mail,

                                                                  to




                                                  438
       1741. Although Sandoz gave up the business, Wal-Mart was unexpectedly reluctant to

stop ordering Metro Gel 1% from Sandoz. On August 7, 2014,                    , a sales executive at

Sandoz, sent an internal e-mail



                                                                                                 of

Sandoz replied,




       1742. On August 4, 2014, McKesson also notified Sandoz that it had received an

unsolicited bid for the Rite Aid portion of its Metro Gel 1% business and gave Sandoz the

opportunity to bid to retain the business.



       1743. As                 , a pricing executive at Sandoz, explained in an internal e-mail on

August 8, 2014:



       1744. On August 11, 2014, McKesson awarded the Rite Aid portion of its Metro Gel 1%

business to Taro. Two days later, on August 13, 2014, Aprahamian called CW-3 and they spoke

again for seven minutes.




                                               439
               2.      Metronidazole Cream and Lotion

       1745. During the period relevant to this Complaint, Defendants Sandoz and Actavis were

the primary generic manufacturers of Metronidazole Lotion in 2011, and Sandoz, G&W, and

Actavis dominated the market for Metronidazole Cream.

       1746. Beginning in early July 2011, Actavis initiated its plan to raise the prices of both

products by reaching out to its rival G&W. On July 6, 2011, Mike Perfetto, then a senior sales and

marketing executive at Actavis, called Grauso at G&W twice. The calls lasted four minutes and

twenty-one minutes. The next day, on July 7, 2011, the conversation continued, with Perfetto

initiating a six minute call to Grauso.

       1747. Confident that at least G&W was on board with the planned increase, Actavis raised

the price of Metro Cream and Lotion effective July 22, 2011. The new WAC price for Metro

Cream was $153.33 for a 45gm tube, an increase of 278%. The WAC price for Metro Lotion

increased by 189% to $208.03 for a 59ml bottle.

       1748. That same day,                    , a Fougera marketing executive, e-mailed several

colleagues, including Kaczmarek,                                                    . Kaczmarek



                                   . He inquired



       1749. The next morning, on Saturday July 23, 2011, Fougera utilized one of its most

reliable sources of information – the relationship between Fougera’s CW-6 and Grauso at G&W.

CW-6 called Grauso and the two competitors spoke for four minutes. A few minutes later, CW-6

called Grauso again and they spoke for fourteen minutes.Just after 9:00 a.m. on Monday, July 25,

2011, Kaczmarek cautioned his team at Fougera to consult with management before quoting a



                                               440
price to any customer on Metro Cream or Metro Lotion, saying:



        1750. By 10:31 a.m. that morning, Kaczmarek had already decided on the exact amount

by which Fougera should increase its price on these products to stay in lockstep with Actavis. He

told his colleagues:



                                 By early afternoon, a

                                                                 Kaczmarek’s



        1751. Meanwhile, CW-6 and Grauso continued their discussions that same morning.

CW-6 initiated calls to Grauso at 9:55 a.m. and 12:21 p.m. Less than twenty minutes after the

second call with Grauso ended, CW-6 called his boss, Kaczmarek, to report the information he

had obtained. A total of eight calls were exchanged between CW-6 and Kaczmarek on the

afternoon and early evening of July 25, 2011.

        1752. During those calls – only 3 days after the Actavis increase and before G&W had

even been able to follow – Kaczmarek informed the Fougera team that



        1753. In the early afternoon of Monday, July 25, 2011, a large customer reached out to

CW-6 at Fougera seeking a new source of supply for Metro Lotion and another product. CW-6

asked                                                     or                                 The

                                                                            . CW-6

Kaczmarek’s




                                                441
       1754. That same day, Fougera informed its customers that it was increasing its pricing for

both Metro Cream and Metro Lotion effective July 26, 2011, closely tracking Actavis’s new prices.

The new WAC price for Metro Cream was $151.80 for a 45gm tube. The new WAC price for

Metro Lotion was $205.95 for a 59ml bottle.

       1755. Customers quickly began to complain to Fougera about the sharp price increase,

                                                                 Kaczmarek




       1756. Undaunted by the obvious dissatisfaction of its customers, Fougera’s singular focus

was on ensuring that the competitors all followed the price increases.

                                           , Kaczmarek

                                       :

       1757. Kaczmarek did not have to worry for long, however, as G&W’s plans to follow the

Actavis and Fougera price increases on Metro Cream were already in full swing. On July 26, 2011

– the day of the Fougera increase – Grauso of G&W called CW-6 of Fougera. The call lasted one

minute. CW-6 hung up and immediately called Kaczmarek.

       1758. Meanwhile, less than ten minutes after ending his call with CW-6, Grauso brought

Actavis into the conversation, initiating a two minute call to Perfetto. Orlofski of G&W similarly

followed up with a text message to Perfetto at Actavis roughly a half hour after that. Grauso called

CW-6 at Fougera again a few hours later, and the resulting call lasted seven minutes. Within five

minutes of the end of that call, Grauso had placed yet another call to Perfetto at Actavis, this one

lasting five minutes.




                                                442
       1759. By that evening, Grauso had spoken to Perfetto by phone for thirty-five more

minutes, and had sent him a text message, while CW-6 of Fougera had conferred twice more with

his boss, Kaczmarek. Over the next two days, July 27 and July 28, 2011, Grauso spoke to Perfetto

at Actavis four more times and to CW-6 at Fougera six more times.

       1760. With its competitors fully apprised, G&W raised the price of Metro Cream on July

28, 2011, following close on the heels of the Actavis and Fougera increases.

       1761. As the news of yet another Metro Cream price increase hit the market, customers

again scrambled to find more reasonably priced sources of supply. One large customer reached

out to Fougera and Actavis on the same day as the G&W increase seeking quotes. Fougera sales

executive         contacted Kaczmarek about the request, surmising both that the customer was

currently supplied by G&W and that G&W must be implementing a price increase.

       1762.                                                                                CW-

6, Kaczmarek




       1763. Finally, just four days later on August 1, 2011, the remaining competitor, Harris (a

co-conspirator), fell in line with an increase of its own on Metro Cream. The new Harris WAC

price was $135.00, an increase of 437%.

       1764. On August 2, 2011, a customer informed G&W that its increase would bump G&W

from its primary position on Metro Cream, but only by a small margin considering the market-

wide increases. Vogel-Baylor promised the customer a slight price adjustment in order to maintain

the primary position.




                                              443
                3.     Metronidazole Vaginal

         1765. Defendants Sandoz and Valeant were the primary generic manufacturers of generic

Metronidazole Vaginal in 2015.

         1766. Prior to January 2015, prices for Metronidazole Vaginal remained stable for years.

         1767. Beginning in around February 2015, Defendants Sandoz and Valeant engaged in

price increases of more than 300%.

         1768. Notably, the price increase on Metronidazole Vaginal occurred around the same

time that news sources reported that Valeant was dramatically increasing prices on other drugs.

         1769. These price increases were not the result of supply shortages, demand spikes,

increased input costs, or other competitive market conditions. There were no reported drug

shortages nor was there a spike in demand that could explain the price hikes.

         1770. Upon information and belief, the agreement to increase prices on all formulations

of Metronidazole was the result of collusive communications between and among Defendants, and

this agreement to increase prices was facilitated because each Defendant adhered to the

overarching market allocation agreement in the generic drug industry. The collusive agreement to

increase prices on Metronidazole was furthered, at least in part, through in-person discussions

conducted at meetings and industry events hosted by GPhA and HDMA as well as other meetings

and communications such as those described below.

         1771. For example, on August 30-31, 2010, representatives from G&W, Sandoz, and

Teva attended the NACDS Pharmacy and Technology Conference in San Diego, California. See

Ex. 1.

         1772. On August 27-30, 2011, NACDS held a Pharmacy and Technology Conference in

Boston. Representatives from G&W, Sandoz, and Teva attended. See Ex. 1.



                                               444
       1773. On April 24-27, 2012, NACDS held its Annual Meeting. Representatives from

G&W, Impax, Sandoz, and Teva attended. See Ex. 1.

       1774. On February 20-22, 2013, GPhA held its annual meeting in Orlando, Florida.

Representatives from G&W, Impax, Sandoz, and Teva attended. See Ex. 1.

       1775. On December 3, 2014, NACDS held its Foundation and Reception Dinner in New

York City. Representatives from Sandoz, Valeant, and Teva attended. See Ex. 1.

       1776. On April 25-28, 2015, NACDS held its annual meeting in Florida. Representatives

from G&W, Impax, Sandoz, Teva, and Valeant attended. See Ex. 1.

       KKKK. Moexipril Hydrochloride Tablets

       1777. Moexipril Hydrochloride (“Moexipril”), also known by the brand name Univasc, is

part of a class of drugs called angiotensin-converting enzyme (ACE) inhibitors. It is used to treat

high blood pressure by reducing the tightening of blood vessels, allowing blood to flow more

readily and the heart to pump more efficiently. Glenmark entered the market for the 7.5mg and

15mg tablets of Moexipril on December 31, 2010.

       1778. As discussed more fully below, Glenmark and Teva coordinated with each other to

raise pricing on two different formulations of Moexipril between May and July, 2013. When Patel

colluded with CW-5, a senior-most executive at Glenmark, to raise prices on Moexipril, one of the

fundamental tenets of that agreement was that they would not try to poach each other’s customers

after the increase and would instead refrain from competition in order to maintain the

supracompetitive price.

       1779. On August 5, 2013, Teva learned that it had been underbid by Glenmark at one of

its largest wholesaler customers, ABC. Upon hearing this news, Rekenthaler, the Vice President




                                               445
of Sales at Teva,

                                                                   :




       1780. Rekenthaler

                                                              .

       1781. Five minutes after receiving the e-mail from Rekenthaler, Patel responded:




       1782. The call that Patel had made earlier that day was to CW-5, a senior executive at

Glenmark, to find out why Glenmark sought to underbid Teva at ABC.

       1783. Patel spoke to CW-5 three times that day. The following day – August 6, 2013 –

Jim Brown, the Vice President of Sales at Glenmark, called Patel at 9:45 a.m. but did not reach

her. Patel returned Brown’s call at 10:08 a.m. and the two spoke for approximately thirteen

minutes. Later that day, at 1:11 p.m., the two spoke again for approximately fifteen minutes.



                                             446
During these calls, Patel reminded Brown and CW-5 of their prior agreement not to poach each

other’s customers after a price increase.

       1784. As a result of these communications, Glenmark decided to withdraw its offer to

ABC and honor the agreement it had reached with Teva not to compete on Moexipril. Later that

same day – August 6, 2013 – a Teva executive informed colleagues that




       LLLL. Nadolol

       1785. As early as 2012, Teva was speaking to competitors about the drug Nadolol.

Nadolol, also known by the brand name Corgard, is a “beta blocker” which is used to treat high

blood pressure, reducing the risk of stroke and heart attack. It is also used to treat chest pain

(angina).

       1786. In 2012 and 2013, Teva’s only competitors for Nadolol were Mylan and Sandoz.

All three companies experienced supply problems of some sort during that time period, but they

were in continuous communication to coordinate pricing and market allocation in order to maintain

market stability. Nadolol was a high volume drug and one of the most profitable drugs where

Teva, Mylan and Sandoz overlapped, so it was very important that they maintain their

coordination.

       1787. Teva’s relationships with Mylan and Sandoz are discussed more fully below, but

by 2012 an anticompetitive understanding among those companies was firmly entrenched.

       1788. Teva raised its price on Nadolol on July 31, 2012. In the days leading up to that

increase – following a pattern that would become routine and systematic over the following years

Kevin Green, at the time in the sales department at Teva, was in frequent communication with



                                              447
executives at both Sandoz and Mylan. Green spoke to CW-2 from Sandoz twice on July 29, 2012,

and again on the day of the price increase, July 31, 2012. Similarly, Green was communicating

with Nesta of Mylan often in the days leading up to the increase, including five calls on the day of

the price increase.

       1789. Sandoz followed with its own increase on August 27, 2012. The increases were

staggering – varying from 746% to 2,762% depending on the formulation. The day before the

Sandoz increase, Armando Kellum, then the Senior Director of Pricing and Contracts at Sandoz,

called Green. They had also spoken once earlier in the month, shortly after the Teva increase.

CW-2 also called Green twice on August 21, 2012 – the same day that Sandoz requested approval

from its Pricing Committee to raise the Nadolol price. The day after the Sandoz increase, Green

– acting as the conduit of information between Sandoz and Mylan – called Nesta of Mylan twice,

with one call lasting fourteen minutes.

       1790. Mylan, which returned to the market after a brief supply disruption, followed and

matched the Teva and Sandoz increases on January 4, 2013. In what had become a routine

component of the scheme, the day before the Mylan increase Nesta spoke to Green four times.

The next day, Green conveyed the information he had learned from Nesta directly to his

counterpart at Sandoz. On January 4, 2013 – the day of the Mylan increase Green called Kellum

twice in the morning, including a six minute call at 9:43 a.m. Shortly after hanging up with Green,

Kellum reported internally on what he had learned – but concealing the true source of the

information – a convention that was frequently employed by many Sandoz executives to avoid

documentation of their covert communications with competitors:




                                                448
       1791.



       1792. Kellum’s phone records demonstrate that he did not speak with any customers

during the morning of January 4, 2013. At 11:50 a.m. the same morning, Green also called CW-

2 at Sandoz and they spoke for fifteen minutes.

       1793. Significantly, Green was not speaking with his Sandoz contacts solely about

Nadolol, the common drug between Teva and Sandoz, but was also conveying information to

Sandoz about a Mylan price increase on another drug that Teva did not even sell – Levothyroxine.

Such conversations further demonstrate the broad, longstanding agreement among each of these

competitors to share market intelligence in order to facilitate the scheme.

       1794. In 2014, Greenstone entered the market for Nadolol while being careful not to lower

market prices. Jill Nailor of Greenstone was in frequent contact with Kellum of Sandoz, Nesta of

Mylan, and Patel of Teva around the time that Greenstone entered the market. Through these

conversations, the competitors arranged for Greenstone to enter the market at the existing

supracompetitive price.

       1795. To put the Nadolol price increases into context, the Connecticut Attorney General’s

Office received a complaint from a Connecticut resident who has been prescribed Nadolol for



                                                449
approximately the last 15 years. In or about 2004, that individual paid between $10 and $20 in

out-of-pocket costs for a 90-day supply of Nadolol. Today, that same 90-day supply of Nadolol

would cost the complainant more than $500.

       1796. As discussed more fully below, Teva continued to conspire with Mylan and Sandoz

about Nadolol and many other drugs throughout 2013 and into the future.

       MMMM. Naproxen Sodium

       1797. Naproxen Sodium is a nonsteroidal anti-inflammatory drug (NSAID) used to treat

pain, menstrual cramps, inflammatory diseases such as rheumatoid arthritis and fever. During the

period relevant to this Complaint, Amneal and Glenmark were primary manufacturers of Naproxen

Sodium tablets.

       1798. Prior to 2015, Naproxen Sodium cost pennies per tablet. However, in March 2015,

Amneal and Glenmark imposed abrupt and substantial price increases of more than 1000%.

       1799. Amneal and Glenmark communicated directly with each other in furtherance of the

conspiracy. For example, Jim Brown of Glenmark (the VP of Sales) and                             of

Amneal (the Senior Director of Sales) frequently communicated during the period when Glenmark

and Amneal raised and maintained the prices of Naproxen Sodium.                The two executives

communicated by phone multiple times per month in every month of 2015 – including before and

after their respective price increases – which allowed the companies to increase prices and maintain

the rules of the conspiracy.

       1800. As a result of this collusion, Defendants charged supracompetitive pricing on

Naproxen Sodium to Plaintiff, its assignor, and others in the United States.




                                                450
       NNNN. Niacin ER

       1801. Niacin Extended Release, also known by the brand name Niaspan Extended

Release, is a medication used to treat high cholesterol.

       1802. Defendant Teva entered the Niacin ER market on September 20, 2013 as the first-

to-file generic manufacturer and was awarded 180 days of exclusivity. Teva’s exclusivity was set

to expire on March 20, 2014.

       1803. Teva had advance knowledge that Defendant Lupin planned to enter on March 20,

2014 and that Lupin would have 100 days or until June 28, 2014 before a third generic

manufacturer would be allowed to enter. Teva also knew that Defendant Zydus planned to enter

on June 28, 2014.

       1804. Armed with that knowledge, Teva increased price on Niacin ER on March 7, 2014

in advance of the competitors’ entry. In the days leading up to the price increase, all three

competitors exchanged several calls during which they discussed, among other things, the price

increase on Niacin ER and the allocation of customers to the new entrants, Zydus and Lupin. The

communications between Green and Patel and Rekenthaler of Teva, and Berthold of Lupin are

detailed in the chart below.




                                                451
       1805. Similarly, in the days leading up to the Lupin launch on March 20, 2014, all three

competitors spoke again to discuss their plans for Niacin ER. The communications between Green

and Rekenthaler and Patel of Teva, and Berthold of Lupin, are detailed in the chart below.




       1806. In May 2014, Zydus began readying to enter the Niacin ER market. On May 5,

2014, Zydus bid on the Niacin ER business at ABC – a Teva customer. The next day, on May 6,

2014, Green called Rekenthaler and they spoke for three minutes. Less than an hour later, Green

called Patel and they spoke for eight minutes. A few minutes later, Green called Patel again and

left a twelve-second voicemail. Later that evening, Patel e-mailed

                         .




                                              452
       1807.



       1808. Over the next several days, Patel and Rekenthaler exchanged several calls with

Green. Green also exchanged several calls with Berthold of Lupin.

       1809. Ultimately, the competitors agreed that Teva would retain ABC and concede

McKesson, another large wholesaler, to Zydus.

       1810. On May 29, 2014, Cassie Dunrud, an Associate Director of National Accounts at

Teva, sent an internal e-mail to certain Teva employees, including Patel and Rekenthaler, stating:



           After receiving the e-mail, Rekenthaler called Green. The call lasted two minutes.

Green returned the call a few minutes later and they spoke for twenty-eight minutes. Later that

day, Patel called Green and they spoke for nearly twenty-one minutes.

       1811. On June 2, 2014,                    , a Director of National Accounts at Teva, sent an

internal e-mail stating:



                           Patel replied,

          Later that morning, Green called Rekenthaler. The call lasted two minutes. Green then

called Patel and they spoke for nearly six minutes.

       1812. On June 5, 2014,               sent an internal e-mail regarding




                                                 453
       1813. On June 28, 2014, Zydus formally launched Niacin ER and published WAC pricing

that matched the per-unit cost for both Teva and Lupin.

       OOOO. Nimodipine

       1814. The market for Nimodipine is mature, as the drug has been available in the United

States in generic form for more than 10 years. Heritage, Sun (through Caraco), and Teva sold

Nimodipine in the United States to Plaintiff, its assignor, and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       1815. In June 2012, Malek instructed a Heritage employee,            to reach out to a sales

executive at Caraco to discuss an agreement to raise prices and confirm the market allocation that

the two companies would abide by in the U.S. market for Nimodipine.                 The ensuing

communications between Heritage’s              and Caraco’s                       resulted in an

agreement to increase prices on Nimodipine.

       1816. In furtherance of this agreement to increase prices, Heritage agreed to submit a

sham bid to an RFP from Cardinal, with Heritage intentionally quoting a price to Cardinal that

Heritage knew was higher than the price that Caraco was quoting.

       1817. In late 2012, the FDA issued a recall on the Nimodipine that Caraco was selling in

the United States, which required Caraco to briefly exit the market.

       1818. In late April or early May 2013, Malek learned that Caraco would seek to re-enter

the Nimodipine market by July 2013. Malek initiated discussions with Caraco that resulted in an

agreement that both companies would continue charging elevated prices on Nimodipine, and

Heritage would allow Caraco to retake a certain percentage of the market.




                                               454
       1819. Caraco ultimately reentered the Nimodipine market in November 2013 and

implemented the agreement with Heritage by charging the agreed-upon prices. Upon information

and belief, Heritage reciprocated by allowing Sun and Caraco to retake the agreed-upon percentage

of the Nimodipine market.

       1820. These anticompetitive agreements by Heritage and Sun (through Caraco) resulted

in supracompetitive prices for Nimodipine in the United States that have persisted since June 2012.

       1821. As alleged above, the price increases regarding Nimodipine were the result of

collusive agreements between and among Defendants and co-conspirators to increase pricing and

restrain competition for the sale of Nimodipine to Plaintiff, its assignor, and others in the United

States. These collusive agreements were furthered, at least in part, by the communications between

and among Defendants and co-conspirators alleged above.

       PPPP. Nitrofurantoin Macrocrystal Capsules

       1822. Nitrofurantoin Macrocrystal, also known by the brand name Macrodantin, is a

medication used to treat certain urinary tract infections.

       1823. In 2012, Mylan and Teva dominated the market for Nitrofurantoin Macrocrystal

capsules, and Alvogen also maintained approximately 10% market share.

       1824. Nitrofurantoin Macrocrystal was one of eight drugs that Teva targeted for a price

increase effective July 31, 2012. Prior to implementing the price increase for these drugs, Green

and Rekenthaler spoke with their competitors for each targeted drug to ensure that the

understanding to increase prices would hold, including Mylan, Actavis, Breckenridge, and

Alvogen. For example, in July 2012, Green spoke by phone with Nesta of Mylan, CW-2 of

Sandoz, and                  of Alvogen. On July 31, Green and Nesta spoke five times, and

immediately following some of these calls, Green called Hill. Also, Rekenthaler spoke with



                                                 455
         of Actavis and                  of Breckenridge. These communications solidified the

agreement between the Defendants that each would adhere to the price increases for the drugs that

each manufactured.

       1825. Teva’s July 31, 2012 price increase on Nitrofurantoin Macrocrystal was between

90-95% depending on the dosage and formulation. After that increase, Teva continued to

coordinate with Mylan and Alvogen to maintain those high prices.

       1826. For example, on October 10, 2012, a distributor customer approached Teva

requesting a lower price for Nitrofurantoin MAC because it was having difficulty competing with

the prices being charged by the distributor’s competitors (i.e., other distributors). At 9:49 a.m. on

October 10, 2012,              of Teva sent an internal e-mail to the Teva sales team, including

Green and Rekenthaler, among others, saying:




       1827. Immediately after receiving that e-mail, Green reached out to both Nesta at Mylan

and              , his counterpart at Alvogen. At 10:01 a.m., Green called Nesta and the two spoke

for ten minutes. After hanging up – at 10:11 a.m. – Green called         at Alvogen for the first of

three calls that day, including one call lasting fourteen minutes. To close the loop, Nesta also

separately spoke to Hill two times that same day, including a call lasting almost ten minutes. Teva

did not lower its price.




                                                456
        QQQQ. Norethindrone Acetate

        1828. Norethindrone Acetate, also known by the brand name Primolut-Nor among others,

is a female hormone used to treat endometriosis, uterine bleeding caused by abnormal hormone

levels, and secondary amenorrhea.

        1829. On September 9, 2014, a customer approached Teva asking if Teva would lower its

pricing on certain drugs, including Norethindrone Acetate. One of Teva’s competitors for

Norethindrone Acetate was Defendant Amneal. The same day, Patel received phone calls from

                   , a senior sales executive (call lasting more than three minutes). These were the

first calls Patel had with         since she joined Teva in April 2013.

        1830. After speaking with the two Amneal executives, Teva refused to significantly

reduce its price to the customer; instead providing only a nominal reduction so as not to disrupt

the market. At that time, market share was almost evenly split between the three competitors.

When discussing it later, Patel




        RRRR. Norethindrone/ethinyl estradiol (Balziva®)

        1831. Norethindrone/ethinyl estradiol, also known by the brand name Ovcon®35, is a

combination of medications used as an oral contraceptive. Teva markets its generic version of this

combination medication under the name Balziva.




                                                457
          1832. On January 23, 2014, a customer informed Teva that a new market entrant was

seeking a share of its business. Teva employees surmised that the entrant was Lupin, as it had

recently obtained approval to begin marketing its generic of Ovcon-35.

          1833.

       , with one expressing



          1834.

                                     , however, on January 24, 2014, Patel spoke to Berthold at

Lupin twice by phone.

          1835. Five days later, on January 29, Patel informed Rekenthaler

                                                                                               ,

saying:



          1836. On February 4, Patel received the

                                                                      . That same day, she spoke

to Berthold two more times to further coordinate Lupin’s seamless entry into the market.

          SSSS. Nortriptyline Hydrochloride

          1837. Nortriptyline Hydrochloride (“Nortriptyline”), also known by the brand name

Pamelor, is a drug used to treat depression.

          1838. While Taro was approved in May 2000 to market generic Nortriptyline, it

subsequently withdrew from the market. As of early 2013, the market was shared by only two

players – Teva with a 55% share, and Actavis with the remaining 45%.




                                                458
       1839. By February 2013, Taro personnel

                       , one opining that



       1840. In early November,                                                    a




       1841. On November 6, 2013, Aprahamian              his team to

                        He emphasized



       1842. Two days later, on November 8, Aprahamian received confirmation that McKesson

was a Teva customer.

       1843. Several days of conversations ensued among the affected competitors in an effort

to sort out how Teva and Actavis would make room for Taro in this market. For example,

Rekenthaler of Teva and Falkin of Actavis spoke twice by phone on November 10, 2013.

       1844. Then, on November 12, 2013, Taro’s Aprahamian called Patel at Teva. Their

conversation lasted almost eleven minutes.   That same day, Aprahamian announced to his

colleagues that

                              Accordingly,



       1845. The discussions of how to accommodate Taro into the Nortriptyline market were

far from over, however. Falkin of Actavis and Rekenthaler of Teva spoke on November 14, 15

and 18. Falkin also exchanged two text messages with Maureen Cavanaugh of Teva on November

17, and one on November 18, 2014.



                                             459
       1846. Immediately following this series of discussions, Aprahamian began delivering a

new message to his team:

                            . On November 19, 2013




       1847. The next day, November 20, 2013, another Taro employee succeeded in finding an

Actavis customer that Taro might pursue. Armed with this new information, Aprahamian wasted

no time in seeking Actavis’s permission, placing a call to                  , a senior national

account executive at Actavis, less than four hours later. They ultimately spoke on November 22,

2013 for more than eleven minutes.

       1848. Meanwhile, Teva employees finalized plans to cede Cardinal to Taro as discussed

in the negotiations with Actavis and Taro. On November 21, 2013,



       1849. The competitors continued consulting with each other over the coming months on

Nortriptyline. On December 6, 2013, for example, Aprahamian called           at Actavis and the

two spoke for over thirteen minutes.    On December 10, 2013, a Taro colleague informed

Aprahamian that HEB, a large customer, was with Actavis for all but one of the Nortriptyline

SKUs, and that HEB was interested in moving the business to Taro.

       1850. Having already cleared the move with Actavis during his December 6 call with

        Aprahamian put the wheels in motion the next day for Taro to make an offer to HEB.

       1851. Aprahamian also continued to coordinate with Teva. He called Patel on January 28,

2014, but she did not pick up. The dialogue continued on February 4, 2014 when Patel called

Aprahamian back. The two talked for nearly twenty-four minutes.



                                             460
       1852. Two days later, on February 6, a potential customer solicited Taro to bid on its

business. When a colleague informed Aprahamian of that fact and asked if he wanted to pursue

the opportunity, Aprahamian responded firmly that Teva had already done enough to help Taro

with its re-launch and thus only Actavis accounts should be pursued.

       1853. Over the first ten days of March, executives at Teva, Taro and Actavis called and

texted each other frequently in their continuing efforts to work out the details of Taro’s re-entry.

These calls include at least those listed below:




       1854. At the end of this flurry of communications, Teva

                      . Prior to this time, particularly in early 2014,

                                                         . On March 10, 2014, however, as Patel was

revising that list of price increase candidates (and the same day she spoke to Aprahamian for more

than five minutes),




                                                                                       As discussed




                                                   461
more fully below, Teva subsequently raised the price of Nortriptyline on January 28, 2015 – in

coordination with both Taro and Actavis.

       1855. Green left Teva in November 2013 and moved to Zydus where he took a position

as an Associate Vice President of National Accounts. Once at Zydus, Green capitalized on the

relationships he had forged with his former Teva colleagues to collude with Teva (and other

competitors) on several Teva/Zydus overlap drugs.

       1856. In the spring/early summer of 2014 in particular, Zydus was entering four different

product markets that overlapped with Teva. During that time period, Green was in frequent contact

with Patel and Rekenthaler, and others, to discuss pricing and the allocation of customers to his

new employer, Zydus. Indeed, given the close timing of entry on these four products, Green, Patel,

and Rekenthaler were often discussing multiple products at any given time.

       TTTT. Nystatin

       1857. The market for Nystatin is mature, as the drug has been available in the United

States since 1950. The drug is considered an essential medicine by the World Health Organization.

Actavis, Qualitest, Perrigo, Sandoz, Taro, Teva, Heritage, and Sun (through Mutual) sold Nystatin

to Plaintiff, its assignor, and others in the United States at supracompetitive prices inflated by the

unlawful and anticompetitive agreements alleged in this Complaint.

       1858. During the relevant period, Defendants Actavis, Qualitest, Perrigo, Sandoz, and

Taro were the primary manufacturers of Nystatin external cream.

       1859. During the relevant period, Defendants Actavis, Perrigo, and Sandoz were the

primary manufacturers of Nystatin ointment.

       1860. During the relevant period, Defendants Teva, Heritage, and Sun (through Mutual)

were the primary manufacturers of Nystatin tablets.



                                                 462
               1.      Nystatin Cream

       1861. In late 2011, Taro, Perrigo, Qualitest, and Actavis all raised the list prices of

Nystatin cream. Taro and Perrigo increased their prices in very close succession in late 2011.

Qualitest followed the price increase in August and Actavis joined in November 2011. Sandoz

joined the price increase when it re-entered the market in 2013.

       1862. In June 2011, Taro announced a dramatic price increase of more than 600%. Rather

than compete on price in order to gain market share, Perrigo followed Taro’s increase and raised

its own prices to almost identical levels. Perrigo increased production and managed to gain some

market share from 2011-2013, butmarket prices remained relatively stable.

       1863. In August 2011, Qualitest, which only had about 1% of the market, followed the

Taro and Perrigo price increase. Rather than competing on price in order to gain market share,

Qualitest followed this price increase. Over the next few years Qualitest grew its market share,

but it did so without competing on price, just as the overarching agreement intended.

       1864. In November, Actavis ramped up production of Nystatin cream and re-joined the

market. It, too, immediately elevated its prices to match that of Taro, Perrigo and Qualitest,

also choosing to forgo price competition and the prospect of winning a larger share of the

market. Even a fourth entrant into the Nystatin cream market did not cause prices to erode.

Defendants’ agreement was working.

       1865. Sandoz’s share of the Nystatin cream market was close to 0% until the fall of

2013, at which point it ramped up production for re-entry into the market. Like Perrigo, Qualitest

and Actavis before it, rather than compete on price in order to regain lost market share,

Sandoz priced its Nystatin cream at the same inflated level as its co-conspirators. Prices remained

stable and elevated even with a fifth seller in the market.



                                                463
       1866. Upon information and belief, the price increases on Nystatin cream were the result

of collusive agreements between and among Defendants to increase pricing and restrain

competition for the sale of Nystatin in the United States. These collusive agreements were

furthered at least in part, through in-person discussions conducted at meetings and industry events

hosted by GPhA and HDMA as well as other meetings and communications described in Ex. 1.

               2.     Nystatin Ointment

       1867. In June 2011, after Sandoz and Actavis had ceded the Nystatin ointment market,

Perrigo implemented a more than 300% increase.

       1868. In early 2012, Actavis increased production of Nystatin ointment. Rather than

compete on price and try to steal market share from Perrigo, Actavis increased its list prices to

high levels to match Perrigo.

       1869. This pattern repeated in the Summer of 2012. Sandoz increased its production.

Rather than compete on price to gain market share, Sandoz raised its list price to identical levels

as Perrigo and Actavis.

       1870. Upon information and belief, the price increases on Nystatin ointment were the

result of collusive agreements between and among Defendants to increase pricing and restrain

competition for the sale of Nystatin in the United States. These collusive agreements were

furthered at least in part, through in-person discussions conducted at meetings and industry events

hosted by GPhA and HDMA as well as other meetings and communications described in Ex. 1.

               3.     Nystatin Tablets

       1871. Beginning in approximately April 2013, Sun (along with its subsidiary, Mutual)

sought to increase the prices of Nystatin. A senior executive from Sun,              discussed the

price increase with             of Heritage on April 16, 2013, during a phone call that lasted



                                                464
approximately 40 minutes. However, the newly hired senior executive at Teva responsible for

pricing of Nystatin (Nisha Patel) was initially leery about joining Sun’s price increase.

       1872. Malek sought to get Teva on board with the price increase. Malek spoke with

Teva’s Patel by telephone regarding a possible price increase on Nystatin several times in July

2013, including for about 21 minutes on July 9, 10 minutes on July 23 and for more than

approximately 20 minutes on July 30. Heritage’s           also discussed with Sun’s             the

conversations Heritage was having with Teva.

       1873. The discussions between the three companies were put on hold for a period of time

in late 2013, while Teva’s Patel went on maternity leave. Shortly after her return to work, she

spoke with Malek about finally implementing the Nystatin price increase during a February 4,

2014 telephone conversation. Malek and Teva’s Patel spoke several additional times about the

Nystatin price increase in February and March in order to confirm the agreement.

       1874. On April 4, 2014, Teva announced an increase of approximately 100% on its

Nystatin pricing. Around the same time, Malek renewed discussions with Sun to confirm the

timing of Sun’s and Heritage’s price increases. As it was Sun that began the collusive discussions

on Nystatin roughly one year prior, Sun quickly agreed to implement the price increase.

       1875. Beginning in late June 2014, Heritage began announcing to its customers an

increase on its Nystatin prices of almost 100%. Heritage confirmed to Sun the details of its pricing

announcements in a detailed text message sent on June 25, 2014. By July 9, 2014, Heritage had

fully implemented the Nystatin price increase.

       1876. After Heritage implemented its price increase on Nystatin, a large pharmacy sent

an RFP to Teva seeking a competitive bid on Nystatin pricing. Teva forwarded the RFP to

Heritage, confirming that Teva was following the conspiracy pricing.



                                                 465
        1877. In August 2014, as it had discussed with Teva and Heritage, Sun (and Mutual)

announced and implemented the increased pricing on Nystatin.

        1878. As a result of this collusive agreement on Nystatin pricing, Teva, Heritage, and Sun

(including Mutual) were able to roughly double the prices for generic Nystatin tablets that they

sold to Plaintiff, its assignor, and others in the United States.

        UUUU. Nystatin Triamcinolone

        1879. Nystatin Triamcinolone (“NT”) Cream and Ointment is used for the treatment of

cutaneous candidiasis, such as yeast infections and thrush.

        1880. By early 2011, Sandoz had discontinued NT Cream and Ointment leaving Taro as

the exclusive generic manufacturer of the products.

        1881. Capitalizing on this exclusivity, Taro took several significant price increases on NT

Cream and Ointment in 2011 and 2012, which resulted in a total WAC increase of more than 700%

on certain formulations.

        1882. Not surprisingly, during this time period, NT Cream and Ointment were Taro’s

highest grossing products and represented approximately 14.1% of the company’s consolidated

net sales for the year ending March 31, 2013.

        1883. Enticed by the high pricing, Sandoz began making plans to re-enter the NT Cream

and Ointment markets in late 2012 and began coordinating regularly with Taro. On November 12,

2012 – before Aprahamian had joined Taro – CW-3 of Sandoz called Marcus, a Taro sales

executive, three times with one call lasting four minutes, to alert him to the fact that Sandoz might

be entering the market. That same day, CW-3 e-mailed                          , a Sandoz marketing

executive,                            asking,




                                                  466
       1884. Two days later, on November 14, 2012,                   , a senior Taro executive, sent

an internal e-mail to other senior executives at Taro and Sun

                                                                                  .        explained

that




       1885. Sandoz's launch dates for NT Cream and Ointment would get pushed back, but

CW-3 continued to keep             informed. On January 4 and 7, 2013, CW-3 called                of

Taro. The calls lasted five minutes and thirteen minutes, respectively. One week later, on January

14, 2013, Taro held a Sales and Marketing conference call. During that call, Perfetto, then a Taro

senior executive,                                a                                         that Taro

was                                         on



       1886. Two days later, on January 16, 2013, Perfetto e-mailed                   , a senior Taro

sales executive,

                                         and asked

          .           then forwarded



       1887. On February 12, 2013, Taro increased WAC pricing on NT Cream by 25%. On

February 28, 2013, CW-3

                    . She responded:                 That same day, CW-3 called           of Taro to



                                                 467
keep him updated on Sandoz’s plans, and they spoke for eleven minutes. Two days later, on March

2, 2013, the two competitors exchanged three text messages.

         1888. The following Monday, March 4, 2013, Taro held a Sales and Marketing

conference call. During that call, Perfetto informed the team that Sandoz was



         1889.   On March 13, 2013,                  , a senior sales executive at Sandoz, sent an

internal e-mail to the sales team, including to CW-3, requesting




         1890. One week later, on March 18, 2013, Aprahamian started at Taro. Over the next

several days, Aprahamian and CW-3 exchanged several calls. These calls are detailed in the chart

below:

     Date    Call Type          Target Name           Direction     Contact Name        Duration
   3/19/2013      Voice     Aprahamian, Ara (Taro)    Outgoing      CW-3 (Sandoz)        0:16:00
   3/19/2013      Voice     Aprahamian, Ara (Taro)    Incoming      CW-3 (Sandoz)        0:01:00
   3/19/2013      Voice     Aprahamian, Ara (Taro)    Outgoing      CW-3 (Sandoz)        0:01:00
   3/21/2013      Voice     Aprahamian, Ara (Taro)    Incoming      CW-3 (Sandoz)        0:12:00
   3/22/2013      Voice     Aprahamian, Ara (Taro)    Outgoing      CW-3 (Sandoz)        0:01:00
   3/22/2013      Voice     Aprahamian, Ara (Taro)    Incoming      CW-3 (Sandoz)        0:18:00

         1891. On March 19, 2013,             sent CW-3 a                           stating:

                                                CW-3

                                                         CW-3 responded:




         1892. True to his word, on March 22, 2013, after the series of phone calls referenced

above, CW-3 stated:


                                               468
             Although CW-3

                   . CW-3                           Kellum and CW-1, a Sandoz senior pricing

executive. Kellum and CW-1 understood at the time that CW-3 obtained this information directly

from Taro.

       1893. The file attached to CW-3’s e-mail, which is pictured below,



                                                     Notably, CW-3

                                                                            CW-3

                                                          . The pricing information had been

provided directly by Aprahamian for the express purpose of allowing Sandoz to price as high as

possible when entering the market.




       1894. On the morning of April 15, 2013, Aprahamian called CW-3 and they spoke for

eighteen minutes. A few minutes after hanging up, CW-3 called Aprahamian back. The call lasted

one minute. During these calls, CW-3 told Aprahamian that Sandoz would be entering the market

for NT Cream shortly. Later that day, Taro held a Sales and Marketing conference call. The

minutes from the conference call stated:




                                             469
       1895. On that same day, April 15, 2013, Sandoz held its own Commercial Operations call

during which they discussed NT Cream. During that call, Sandoz identified ABC, Walgreens, Rite

Aid, Wal-Mart, and Omnicare as potential targets for the re-launch. CW-3’s contemporaneous

notes from that call are pictured below:




       1896. Later that same day, on April 15, 2013, CW-3 called Aprahamian to further discuss

the NT Cream launch. The two competitors spoke for nine minutes. CW-3’s contemporaneous

notes from that call are pictured below:




       1897. On the call, Aprahamian provided CW-3 with Taro’s non-public pricing at ABC,

Walgreens, Rite Aid, and Omnicare. Aprahamian also told CW-3 that Taro would not defend

these customers. CW-3 noted that by drawing arrows pointing at those customer names in his

Notebook.




                                             470
           1898. After hanging up with Aprahamian, CW-3 immediately called Kellum to report his

conversation with the competitor. The call lasted one minute. First thing the next morning, on

April 16, 2013, CW-3 called Kellum again and they spoke for five minutes.

           1899. From April 20 to April 23, 2013, NACDS held its annual meeting in Palm Beach,

Florida. Representatives from Taro, including Aprahamian and Perfetto, and Sandoz, including

                 and Richard Tremonte, attended.

           1900. The following day, on April 24, 2013, Aprahamian called CW-3 twice. The calls

lasted one minute and five minutes, respectively. On April 25, 2013, CW-3 called Aprahamian.

The call lasted one minute. That same day, Sandoz re-entered the NT Cream market and matched

Taro's increased WAC pricing.

           1901. On the day of Sandoz’s re-entry, Rite Aid e-mailed Taro



           of Taro                                                    , Perfetto, and Aprahamian

stating:                                                                             Aprahamian

responded:

           1902. The next day, on April 26, 2013, Aprahamian called CW-3 and they spoke for eight

minutes. Consistent with Taro’s agreement to cede that customer to Sandoz, Aprahamian e-mailed

           on April 27, 2013



           1903. Also on April 26, 2013, Omnicare e-mailed Taro

                                                                           .       forwarded the

           to Aprahamian who responded,




                                                   471
       1904. That same day, Perfetto sent an internal e-mail to Jim               and Michael Kalb,

two senior Taro executives, and others including Aprahamian,

                                                                                                    .

Perfetto concluded:

       1905. On May 8, 2013, Perfetto sent an internal e-mail to Taro executives

                                                               stating that

                           That same day, Aprahamian called CW-3 and they spoke for eight

minutes. CW-3 called Aprahamian back later that day and they spoke for another nine minutes.

       1906. On May 28, 2013, NC Mutual e-mailed Taro

                                                                                         .

        , a Taro sales executive,                                                 , but Aprahamian

          stating:

                                     Two days later, on May 30, 2013, Aprahamian called CW-

3. The call lasted one minute.

       1907. On June 4, 2013, Taro

                                              .                                                     ,

Taro noted                                                                                   and



       1908. Despite Sandoz’s entry, prices for NT Cream remained extremely high. Around this

same time,                , a policy executive at Taro, actually sent an internal e-mail to

       , Perfetto, and Aprahamian

                                                          because

                                                                              replied that Kaiser



                                              472
                                                           in

             .

       1909. Following Sandoz’s re-launch into the NT Cream market, Sandoz executives began

discussing a larger                 which involved

                                      The rationale was simple – allow Taro to grow these markets

by increasing prices and then Sandoz could re-enter later at the higher prices, in coordination with

Taro. Sandoz




                                                            .

       1910. Indeed, the following chart from a Credit Suisse Investor report graphically

illustrates the success of such an approach – depicting the price increases taken by Taro on NT

Cream while Sandoz was out of the market and Sandoz’s re-entry at the higher price:




       1911. In November 2013, Sandoz began readying to re-enter the NT Ointment market.

Sandoz executives, including Kellum, wanted to mirror the NT Ointment launch after the NT

Cream launch by targeting the same customers as it had for NT Cream. Kellum specifically

discussed this approach with CW-1.




                                                473
       1912. On November 13 and 15, 2013, Aprahamian and CW-3 exchanged several calls

during which they discussed NT Ointment. CW-3 then reported what he discussed on those calls

to CW-1. This call pattern is detailed in the chart below:

       Date       Call Type    Target Name          Direction    Contact Name    Time     Duration
    11/13/2013    Voice       Aprahamian, Ara (Taro) Outgoing   CW-3 (Sandoz)   8:00:00   0:01:00
     11/13/2013   Voice       Aprahamian, Ara (Taro) Incoming   CW-3 (Sandoz)   8:15:00   0:02:00
    11/13/2013    Voice       Aprahamian, Ara (Taro) Incoming   CW-3 (Sandoz)   8:32:00   0:08:00
     11/15/2013   Voice       CW-3 (Sandoz)          Outgoing   CW-1 (Sandoz)   6:33:00   0:08:00
    11/15/2013    Voice       Aprahamian, Ara (Taro) Incoming   CW-3 (Sandoz)   6:41:00   0:11:00
     11/15/2013   Voice       CW-3 (Sandoz)          Outgoing   CW-1 (Sandoz)   6:55:00   0:01:00


       1913. During his calls with Aprahamian, CW-3 took the following contemporaneous

notes in his Notebook regarding NT Cream and Ointment:




       1914. On these calls, CW-3 and Aprahamian discussed Sandoz's plan to target the same

customers that it had targeted on NT Cream – ABC, Walgreens, Rite Aid, and Omnicare. CW-3

drew an arrow from the customers listed under NT Cream to the NT Ointment pricing to

demonstrate this. As he had done before, Aprahamian agreed that Taro would not defend those

customers and provided CW-3 with Taro’s pricing at those accounts.

       1915. On November 22, 2013, Aprahamian called CW-3 and they spoke for seven

minutes. That same day, Sandoz re-entered the NT Ointment market and matched Taro’s increased




                                                  474
WAC pricing. Per the competitors’ agreement, Sandoz submitted offers to



       1916. The next day, on November 23, 2013,                               ., Sandoz’s President, e-

mailed Kellum and                                                          .



responded:



       1917. By December 2013, Sandoz had – as agreed – targeted and secured the NT

Ointment business at ABC, Walgreens, Rite Aid, and Omnicare.

       1918. In July 2015, Actavis entered the market for both NT Cream and Ointment, and

Sandoz and Taro promptly arranged to concede to Actavis approximately 10% of the market for

both formulations, and Actavis accepted this concession without disrupting pricing. Accordingly,

by following the rules of the conspiracy, Sandoz, Taro, and Actavis were able to maintain

supracompetitive pricing on NT Cream and Ointment, even as a third competitor entered the

market for the drug.

       VVVV. Omega-3-Acid Ethyl Esters

       1919. Omega-3-Acid Ethyl Esters, also known by the brand name Lovaza, is a lipid-

regulating agent used to lower levels of triglycerides.

       1920. Teva launched Omega-3-Acid Ethyl Esters on April 8, 2014. On the morning of

June 26, 2014, Patel e-mailed          a senior operations executive at Teva,

                                                                       .           responded

                                       . Patel replied at 10:24 a.m.




                                                475
       1921. Patel had indeed already started                         At 9:46 a.m., she had sent a

message to            , a senior-most executive at Par, through the website LinkedIn, stating:




       1922.        did not respond through LinkedIn, but texted Patel on her cell phone later that

day, initiating a flurry of ten text messages between them in the late afternoon and early evening.

Patel then followed up with



       1923. The next morning,          called Patel and they spoke for nearly thirty minutes. That

was the first and only voice call ever between the two according to the phone records. That same

morning, Patel informed            that she now had



                              . At 11:27 a.m. that same morning, Rekenthaler sent an e-mail to

         a Teva sales executive,

             :



                                                476
        1924. Par launched Omega-3-Acid Ethyl Esters Capsules the following Monday, June 30,

2014.

        1925. After the discussions between Patel and         at Par, Teva proceeded to concede

business to Par to ensure Par’s smooth entry into the market. As of July 11, 2014, Teva’s share of

the market for new generic prescriptions had dropped 15.9 points to 84.1% and its share of the

total generic market (new prescriptions and refills) had dropped 16.3 points to 83.7%.

        1926. As new competitors entered the market, Teva coordinated with them to avoid

competition and keep prices high. For example, in an internal e-mail on October 2, 2014, Teva’s

          stated that




                              .

        1927. Because of supply limitations, Par was not able to meaningfully enter the market

until late November 2014. On November 10, 2014, Patel and          exchanged five text messages.

On December 1, 2014, Teva was notified by a customer that it had received a price challenge on

Omega-3-Acid Ethyl Esters.

                                                              Rekenthaler informed            that

                                                                                          .




                                               477
       1928. By mid-February 2015, Teva had conceded several large customers to Par to

smooth Par’s entry into the market and maintain high pricing. During this time, Rekenthaler was

speaking frequently with              , a senior national account executive at Par, to coordinate.

       1929. By April 2015, Apotex had officially entered the market, and consistent with the

overarching understanding, Teva’s market share continued to drop. By April 25, Teva’s share of

the market for new generic prescriptions for Omega-3-Acid Ethyl Esters had dropped to 68.3%

and its share of the total generic market (new prescriptions and refills) had dropped to 66.8%.

Rekenthaler was speaking frequently with            at Apotex to coordinate during the time period

of Apotex’s entry in the market.

       WWWW. Oxaprozin Tablets

       1930. Oxaprozin, also known by the brand name Daypro, is a nonsteroidal anti-

inflammatory drug (NSAID). It is used to treat rheumatoid arthritis, osteoarthritis, and juvenile

rheumatoid arthritis.

       1931. Prior to July 2012, Teva and Dr. Reddy’s dominated the Oxaprozin market.

However, between July 2012 and March 2013, two additional competitors entered the market, yet

the price of the drug went up more than 500% in the process.

       1932. First, Sandoz entered the market in July 2012. Prior to Sandoz’s entry into the

market, Teva raised its prices by approximately 500%.

       1933. This price increase was made possible by the overarching agreement, as Teva knew

that it would not lose market share by raising prices, even with Sandoz’s pending entry into the

market. Indeed, when Sandoz did enter the market in July 2012, it matched Teva’s higher prices.

       1934. Greenstone entered the market for Oxaprozin 600mg Tablets on March 27, 2013.

It entered with the exact same WAC pricing as Teva. In the days and weeks leading up to



                                              478
Greenstone’s entry into the market, Green of Teva and                   , an account executive at

Greenstone, were in frequent communication by phone and text to coordinate the entry, as set forth

in more detail below:




       1935. During these communications, Teva agreed to concede specific customers to

Greenstone in order to avoid competition and price erosion resulting from Greenstone’s entry.

       1936. Part of the understanding between the companies was that Teva would concede at

least two large customers – CVS and Cardinal – to Greenstone, and that Teva would retain

Walmart as a customer. On March 27, 2013, however, Teva learned that Greenstone had either

misunderstood the deal or was trying to cheat on the agreement by approaching Walmart.

       1937. On March 27, 2013,            of Teva forwarded an e-mail that          had received

from Walmart to Green and Rekenthaler. The e-mail from Walmart, sent the same day,



                                                     .

       1938. Rekenthaler’s                                  ’s e-mail was

                    In subsequent e-mails between           and Rekenthaler,

Rekenthaler that,                                             :



                                               479
                Rekenthaler corrected her,

                Rekenthaler remarked that:

                        In her reply,




       1939. Teva took immediate steps to address the situation. That same day – March 27,

2013 – Green called          at Greenstone at 5:25 p.m. but she did not answer. The next morning,

at 8:06 a.m.,         sent an e-mail to Walmart stating:                              Less than a

half hour later, she sent an e-mail to Green, stating:



       1940. After Green spoke to               he immediately called         at Greenstone. She

relayed the information from Green to her boss, Nailor, in a series of conversations and text

messages over the course of that morning, and later in the day, as set forth below:




                                                 480
       1941. During those conversations, Greenstone agreed to withdraw the offer to Walmart

and honor the agreement with Teva.

       1942. At 1:22 p.m. that day, after several of the communications outlined above, Walmart

sent an e-mail to        at Teva



                                                              forwarded the e-mail to Green, with




       1943. Pursuant to the overarching agreement, there was very little price erosion as a result

of Greenstone’s entry. A couple of months later, as Defendant Dr. Reddy’s was preparing to

reenter the market for Oxaprozin (Dr. Reddy’s briefly exited the market after Sandoz’s entry in

2012), a Dr. Reddy’s                                                                            on

Oxaprozin.

       1944. In early 2013, Dr. Reddy’s began having internal discussions about re-launching

Oxaprozin in June of that year. In March 2013 – when Teva was still the sole generic in the market


                                               481
– the plan was to target one large chain and one large wholesaler in order to obtain at least 30%

market share. Two months later, in May 2013, Dr. Reddy’s adjusted its market share expectations

down to 20% after Greenstone and Sandoz both re-launched Oxaprozin.

       1945. On June 13, 2013, members of the Dr. Reddy’s sales force met for an

                              to



       1946. Dr. Reddy’s re-launched Oxaprozin on June 27, 2013 with the same WAC price as

Teva. At the time, Teva had 60% market share. Dr. Reddy’s almost immediately got the

Oxaprozin business at two customers, Keysource and Premier. Dr. Reddy’s also challenged for

Teva’s business at McKesson, but Teva reduced its price to retain that significant customer.

       1947. Eager to obtain a large customer, Dr. Reddy’s turned its sights to Walgreens. At a

July 1, 2013 sales and marketing meeting, there was an internal discussion among Dr. Reddy’s

employees about



                                                                                 .

       1948.                                                       . On or around July 14, 2013,

Walgreens informed Green, then a National Account Director at Teva, that Dr. Reddy’s had made

an unsolicited bid for the Oxaprozin business, at a price of roughly half of Teva’s current price.

Per Green, Walgreens

       1949. While the Dr. Reddy’s offer to Walgreens was still pending – on July 23, 2013 –

             of Dr. Reddy’s called Green. That phone call – the only one ever between the two

individuals that is identified in the phone records – lasted for nearly five minutes.




                                                482
         1950. Two days later, Green noted that:



         1951. While deciding whether to match the Dr. Reddy’s offer at Walgreens or concede

the business to Dr. Reddy’s, Teva engaged in internal discussions about strategy. On July 29,

2013,              at Teva



                                                          , Rekenthaler                asked Patel

to                                                                                  Rekenthaler’s




         1952. At 12:33 p.m. that day, Patel asked a colleague to



                                            At 2:20 p.m., that colleague

     Patel, copying Rekenthaler and

      , Rekenthaler placed a call to            , a Senior Director of National Accounts at Dr.

Reddy’s. The call lasted two minutes, and was their only telephone conversation in 2013.

         1953. After having this conversation with                  , Teva decided to maintain the

Walgreens business, but concede the Econdisc business to Dr. Reddy’s. Teva conceded the

Econdisc business on August 7, 2013. Green



         1954. By September 10, 2013, Dr. Reddy’s had achieved its goal of obtaining 20% share

of the Oxaprozin market. At that time, its customers included Econdisc, Keysource, and Premier.




                                              483
       1955. As a result of this collusion, Defendants were able to maintain pricing for

Oxaprozin sold to Plaintiiff, its assignor, and others in the United States at supracompetitive levels.

       XXXX. Oxycodone/Acetaminophen

       1956. Oxycodone/Acetaminophen, which is the generic version of Percocet and is

sometimes abbreviated as “Oxy/Apap,” is prescribed to treat chronic or severe pain.

       1957. During the time period relevant to this Complaint, Actavis, Alvogen, Amneal,

Aurobindo, Mallinckrodt, Mayne, Par, and Qualitest dominated the market for Oxy/Apap. Given

the large number of competitors that entered the market for the drug between 2011 and 2015,

pricing for Oxy/Apap should have fallen substantially over time. Instead, the opposite occurred.

For example, by December 2013, Mallinckrodt, Actavis, Alvogen, Amneal and Qualitest all sold

100-tablet bottles of 10/325 mg pills that had cost roughly $18 per bottle throughout 2011 and

2012 for more than $80.

       1958. Although the Defendants did not increase prices on the drug until late 2013,

Defendants ensured that the overarching agreement applied as new competitors entered the market.

For example, Alvogen received approval to launch Oxy/Apap in July 2012. Upon learning that

Alvogen was entering the market for Oxy/Apap, Dr. Reddy’s – which did not manufacture the

drug – reached out to               , Alvogen’s EVP of US Commercial Sales, to

                . Hill responded




       .




                                                 484
       1959. Between July and December 2013, Defendants coordinated to more than quadruple

their prices on Oxy/Apap. Mallinckrodt led the price increase, and Actavis, Alvogen, Amneal,

and Qualitest quickly followed. Upon information and belief, the campaign to increase prices on

the drug was spearheaded by Actavis and Mallinckrodt. Between July 2013 and December 2013,

Marc Falkin of Actavis spoke with                     , Alvogen’s EVP of US Commercial Sales;

                   , VP of Sales at Amneal;                   , the CEO of Aurobindo; and Walt

Kaczmarek, Vice President and General Manager at Mallinckrodt.                           (Alvogen)

coordinated with Aurobindo during this timeframe. Additionally, Falkin spoke with

       of Qualitest at least 10 times between May 2 and May 19, 2014.

       1960. On November 19, 2013, Qualitest received an inquiry from Econdisc to bid for

Oxy/Apap. Upon learning that the RFP was requested due to a price increase from the incumbent

supplier. Qualitest and Endo declined to bid for this business based on its commitment to the

conspiracy’s rules. Further, although sales executives from Qualitest participated in the collusion,

this was done on Endo’s behalf, as it was Endo that held the ANDA for the drug. And following

the acquisition of Par by Endo in May 2015, sales executives from Par began to sell

Oxycodone/APAP on behalf of Endo as well, adhering to the collusive pricing set before the

acquisition, and continuing to abide by the conspiracy’s rules.

       1961. As a Teva sales executive reported internally in a November 26, 2013 e-mail to

               ,                  , David Rekenthaler, Nisha Patel, and others, “




                     Notably,                  of Teva had spoked with                  of Qualitest

a number of times in the weeks prior to this exchange. Although Teva did not manufacture



                                                485
Oxycodone/Apap, it did manufacturer Codeine/Acetaminophen, which is prescribed for similar

uses. Reflecting the overarching nature of the conspiracy, Teva therefore communicated with

competitors about drugs that it did not manufacture, because it did make drugs that could be

substituted those drugs.

       1962. Mayne entered the market for Oxy/Apap in late 2014. In planning for the launch,

             , Mayne’s President, encouraged his sales team to engage in

                   with competitors to determine which customers Mayne should target. Indeed,

upon entry, Mayne received several customers, and despite being the eighth entrant into the

market, its entry did not disrupt the supracompetitive price, just as the conspiracy intended.

       1963. As      a     result   of   these   collusive   communications,     Defendants   charged

supracompetitive prices for Oxy/Apap to Plaintiff, its assignor, and others in the United States.

       YYYY. Paricalcitol

       1964. Paricalcitol, also known by the brand name Zemplar, is used to treat and prevent

high levels of parathyroid hormone in patients with long-term kidney disease.

       1965. Defendant Teva entered the market on Paricalcitol on September 30, 2013. As the

first generic to enter the market, it was entitled to 180 days of exclusivity.

       1966. In March 2014, with the end of the exclusivity period approaching, Teva began

planning which customers it would need to concede. Teva had advance knowledge that Defendant

Zydus and another generic manufacturer not named as a Defendant in this case planned to enter

the market on day 181, which was March 29, 2014.

       1967. Following its period of exclusivity, Teva’s

     but




                                                   486
       1968. In the month leading up to the Zydus launch, Patel and Rekenthaler spoke with

Green and discussed, among other things, which Paricalcitol customers Teva would retain and

which customers it would allocate to the new market entrant.

       1969. On February 28, 2014,                             , a Director of National Accounts at

Teva, sent an internal e-mail to certain Teva employees, including Patel and Rekenthaler,

                                                                                            . After

receiving that e-mail, Rekenthaler called Green. The call lasted less than one minute (likely a

voicemail). The next business day, on March 3, 2014, Rekenthaler called Green again and they

spoke for twenty minutes. Later that afternoon, Patel also called Green. The two exchanged four

calls that day, including one that lasted nearly twenty minutes. On March 4, Patel called Green

again and left a voicemail.

       1970. On March 12, 2014,                       e-mailed Patel and Rekenthaler

                                      . That same day, Patel sent an internal e-mail




                                                 .

       1971. On March 13, 2014, Patel directed that Teva retain ABC and match the Zydus

pricing. The next day, on March 14, 2014, Patel called Green. A few minutes later, Green returned

the call and they spoke for nineteen minutes. Rekenthaler then called Patel and they spoke for

eleven minutes.

       1972. During the morning of March 17, 2014, Patel and Green had two more phone calls,

lasting nearly six minutes and just over five minutes. During those calls they were discussing how

to divvy up the market for several products where Zydus was entering the market. A half an hour



                                               487
after the second call, Patel e-mailed her supervisor,



                             , Patel recommended that Teva

                                  Later that same day, Patel called Green again and they spoke for

more than eleven minutes.

       1973. Over the next several weeks, Defendant Teva would “strategically” concede several

customers to the new entrant Zydus.

       1974. For example, on March 27, 2014, Green called Patel. Patel returned the call and

they spoke for nearly nine minutes. The next day, on March 28, 2014, OptiSource, one of Teva’s

GPO customers, notified                   , a Director of National Accounts at Teva, that it had

received a competing offer from Zydus for its Paricalcitol business.               forwarded the

OptiSource e-mail to Patel. Within minutes, Patel responded

       1975. That same day, Defendant Teva was notified by another customer, Publix, that

Zydus had submitted a proposal for its Paricalcitol business. On April 1, 2014, Defendant Teva




       1976. Also on April 1, 2014, Defendant Zydus bid for the Paricalcitol business at NC

Mutual, another Teva customer. That same day, Patel called Green and left a 22-second voicemail.

The next day, on April 2, 2014, Patel tried Green twice more and they connected on the second

call and spoke for nearly ten minutes. Later that evening                , an Associate Manager,

Customer Marketing at Teva, sent an internal e-mail to                     , the Teva Director of

National Accounts assigned to NC Mutual, copying Patel, asking:




                                                488
                                            Patel responded:



       1977. On April 15, 2014, Walmart received a competitive bid for its Paricalcitol business

and provided Teva with the opportunity to retain. Two days later, on April 17, 2014,

                                               . Patel replied:



                                                      Later that day, Green called Patel. She returned

his call and they spoke for nearly twelve minutes. Later that day, after her discussion with Green,

Patel sent an internal e-mail stating:

               On April 22, 2014, Patel sent an internal e-mail



       1978. By May 2014, Dr. Reddy’s started preparing to enter the Paricalcitol market. On

May 1, 2014,                  of Dr. Reddy’s spoke with Rekenthaler of Teva for nearly eleven

minutes.

       1979. At a May 20 sales and marketing team meeting, the Dr. Reddy’s sales force was

instructed to find out which customers were currently purchasing Paricalcitol from which

manufacturers, and their prices. Dr. Reddy’s was targeting a 20% market share. At the time,

Teva’s share was 73%.

       1980. On June 10, 2014 – as Dr. Reddy’s was starting to approach certain customers –

Patel spoke with                , the Vice President of Sales for North American Generics at Dr.

Reddy’s, several times. At 8:50 a.m., Patel called            and left a voicemail.          returned

the call at 9:18 a.m., and the two spoke for more than ten minutes.




                                                489
       1981. By June 19, 2014, Dr. Reddy’s had made offers to Omnicare, Cardinal, ABC, and

Walgreens. The internal plan was that if Walgreens declined, then Dr. Reddy’s would make an

offer to CVS. That same day, Teva agreed to concede its Paricalcitol business at Omnicare,

dropping its market share by 3%.

       1982. Teva also strategically conceded what remained of its Cardinal business (it had

previously conceded some of that business to Zydus). Patel

                                   :

                                           Patel then

                                                        Brady subsequently e-mailed           Teva’s

Senior Director of Sales & Trade Relations:



                                                 .

       1983. Dr. Reddy’s also submitted a bid to ABC, which was one of the customers that

Teva had targeted to keep after losing exclusivity. After learning of the competitive bid, in internal

e-mails discussing this price challenge,



                               :




                                                 490
       1984. Despite the pricing challenge, Teva retained the ABC Paricalcitol business.

       1985. Dr. Reddy’s formally launched Paricalcitol on June 24, 2014. On or around that

date, it sent offers to, inter alia, Winn-Dixie, Giant Eagle, and Schnucks. On June 26, 2014, Teva’s

           told Patel that he was                                                            to Dr.

Reddy’s.

       1986. Winn-Dixie informed Teva that it had received a competing offer for Paricalcitol

from Dr. Reddy’s. Patel recommended that Teva concede the business. Teva did, and Winn-Dixie

informed Dr. Reddy’s that it had won its Paricalcitol business on July 9, 2014.

       1987. Giant Eagle informed Teva that it had received a competing offer on Paricalcitol

on July 10, 2014. That same day,           of Dr. Reddy’s called Patel and the two spoke for more

than twelve minutes. Shortly after getting off the phone with         Patel responded to a question

from a colleague regarding an RFP to another supermarket chain. One of the potential bid items

was Paricalcitol. Patel

                                                                                                Her

colleague responded:                                    .

       1988. The next day, Teva conceded the Giant Eagle business to Dr. Reddy’s. Stephanie

Brady, a Teva Strategic Customer Analyst, wrote in an internal e-mail:

                                                                Giant Eagle accepted Dr. Reddy’s

proposal the next day.

       1989. After receiving an offer from Dr. Reddy’s, Schnucks also asked Teva for reduced

pricing in order to retain the business. Teva




                                                491
              . Indeed, Schnucks was

                                       . When Patel learned of this, she remarked to a Teva

salesperson                                                            :




       1990. Schnucks accepted Dr. Reddy’s Paricalcitol proposal on June 30, 2014.

       1991. On July 16, 2014, Teva heard that McKesson had received a competing bid for

Paricalcitol. Teva initially decided to concede the One Stop portion of McKesson’s business only,

while retaining the Rite Aid portion. Patel wrote internally to her team that



                                                                              Patel further added

that Teva had been                                                                and that



       1992. On July 18, 2014 – a Friday – Patel called          at Dr. Reddy’s at 4:20 p.m. and

left a message.         returned the call on Monday morning, and the two spoke for more than

four minutes. They spoke again the next morning, July 22, 2014, for more than six minutes.

During these calls, Patel and        agreed that Dr. Reddy’s would stop competing for additional

market share (and driving price down further) if Teva conceded all of its McKesson business (One

Stop and Rite Aid) to Dr. Reddy’s.



                                              492
       1993. The next day, July 23, 2014, Teva decided to concede its entire McKesson business

– both Rite Aid and One Stop – to Dr. Reddy’s.




       1994. By early August 2014, Dr. Reddy’s had attained 15-16% of the total Paricalcitol

market, which it decided – pursuant to its understanding with Teva – it would

       ZZZZ. Paromomycin

       1995. The market for Paromomycin is mature, as the drug has been available in the United

States since 1960. The drug is considered an essential medicine by the World Health Organization.

Heritage and Sun sold Paromomycin to Plaintiff, its assignor, and others in the United States at

supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged in this

Complaint.

       1996. Until April 2014, pursuant to the conspiracy’s overarching agreement on market

allocation, Heritage maintained approximately a 65% market share for Paromomycin and Sun

maintained approximately a 35% market share.

       1997. During a lengthy phone call on April 22, 2014, Sun’s                 and Heritage’s

       discussed an agreement to raise prices on Paromomycin. Ultimately, it was agreed between

the two companies that Sun would exit the market for Paromomycin. Upon information and belief,

Heritage agreed to concede market share to Sun on another generic drug in exchange for Sun’s

agreement to stop manufacturing Paromomycin.

       1998. In May 2014, Sun stopped its production of Paromomycin (although it continued

to sell its surplus inventory of the drug until approximately January 2015).




                                               493
       1999. Knowing that it would have a complete monopoly for the manufacture of generic

Paromomycin in the United States, Heritage decided to raise prices, and on June 26, 2014, Heritage

notified its customers that its prices for Paromomycin would double going forward. Upon

information and belief, Heritage raised its prices by approximately 100%.

       2000. As a result of this unlawful agreement between Heritage and Sun, Defendants have

charged supracompetitive prices on generic Paromomycin sold to Plaintiff, its assignor, and others

in the United States since at least April 2014.

       AAAAA. Permethrin

       2001. Permethrin cream is used to treat scabies. During the period relevant to this

Complaint, Actavis, Perrigo and Mylan were the primary manufacturers of Permethrin cream.

       2002. Prior to 2010, Perrigo and Actavis sold Permethrin cream for pennies per dose.

However, beginning in May 2010, senior executives from Actavis and Perrigo began coordinating

to increase prices substantially. On May 27, 2010,                    of Actavis (the Director of

National Accounts) spoke by phone with Anthony (Tony)                 of Perrigo (the Director of

National Accounts). Upon information and belief, the two executives reached an agreement to

double their WAC prices for Permethrin by July 2010.

       2003. After successfully doubling their prices,         and          began speaking again

in August 2011 to discuss another price increase. The two spoke twice on August 5, and at least

four times on August 8, 2011. Upon information and belief, these conversations resulted in an

agreement that each company would increase their prices on Permethrin by at least an additional

200% (on top of the 2010 price increase).

       2004. In early 2013, Perrigo and Actavis learned that Mylan would be entering the market.

As a result,         and          spoke again on March 12, 14, and 18 to coordinate yet another



                                                  494
price increase of approximately 100%.            and          then spoke again on April 11, in order

to confirm their third successful price increase on Permethrin.

        2005. In June 2013, Mylan entered the market for Permethrin. Even though prices were

more than 1000% higher than they had been in 2010, Mylan entered the market at higher prices

than either Actavis or Perrigo. Pursuant to the conspiracy’s rules, Perrigo and Actavis conceded

market share to Mylan.

        2006. To coordinate Mylan’s entry and determine which customers Actavis and Perrigo

would concede, Jim Nesta of Mylan and                      of Perrigo called each other nine times

between August 27 and August 28, 2013. Nesta and                  then spoke again on November 15,

2013.          also acted as the intermediary between Nesta and             as he continued to speak

with         regularly about the Permethrin market, including multiple calls on August 21, August

23rd, September 6th, September 9th, and September 10th and once on September 11th, 2013.

        2007. As a result of this coordination between the three companies, Mylan, Actavis, and

Perrigo were able to implement the conspiracy’s rules and maintain supracompetitive pricing on

Permethrin cream that they sold to Plaintiff, its assignor, and others in the United States.

        BBBBB. Perphenazine

        2008. Perphenazine is used to treat certain mental health issues and mood disorders.

During the period relevant to this Complaint, Qualitest and Sandoz were the primary

manufacturers of Perphenazine.

        2009. Prior to 2009, the price of Perphenazine cost pennies per dose. However, Qualitest

left the market in 2009 due to a disruption in supply, and Sandoz dramatically increased prices.

When Qualitest re-entered in the summer of 2009, it matched Sandoz’s increased price.




                                                495
       2010. The market shares of Qualitest and Sandoz are wholly reflective of each company’s

adherence to the conspiracy’s rules. As of May 2010, Qualitest had less than 14% market share,

compared to Sandoz’s 86.1% share of the market.            Over the next year, Sandoz conceded

approximately 20% market share to Qualitest, and by May 2011, Qualitest’s share was more than

33% compared to 66% for Sandoz. But during this time, despite the fact that Qualitest increased

its market share from 13% to 33%, prices charged by both companies remained virtually

unchanged.

       2011. Indeed, between May 2011 and May 2014, the respective market shares of Qualitest

and Sandoz remained essentially fixed, with Par supply roughly one third of the market, and

Sandoz supplying the remaining two thirds. As a result of their adherence to the overarching rules,

the companies were able to increase prices twice (once in 2011 and again in 2013), and as a result,

their average prices roughly doubles from the supracompetitive pricing establishing by Sandoz in

2009. And although executives from Qualitest and Sandoz did communicate regarding their

pricing during this time, their adherence to the overall conspiracy rendered the price increases

virtually self-executing. Because each company knew that the other was committed to the

conspiracy, the communications about pricing were essentially a formality.

       2012. In mid-2014, the companies reallocated share to be more consistent with the

conspiracy, and Sandoz conceded additional share to Qualitest so that the two companies had

market share close to 50%. Following this reallocation, Sandoz and Qualitest maintained market

share within a few percentage points of 50% until at least the end of 2016.

       2013. As a result of this collusion, Sandoz and Qualitest were able to charge

supracompetitive prices for Perphenazine to Plaintiff, its assignor, and others in the United States.




                                                496
        CCCCC. Phenytoin Sodium Capsules

        2014. Phenytoin Sodium Extended Release Capsules (“Phenytoin Sodium”), also known

by the brand name Dilantin, is an antiepileptic drug that is used to prevent and treat seizures.

        2015. Throughout the spring and summer of 2014, there were four competitors in the

Phenytoin Sodium market: Taro, Mylan, Amneal, and Taro’s parent company, Sun.

        2016. In early April 2014, Taro began formulating its list of products for the June 2014

Increases. On April 3, 2014, Aprahamian exchanged an e-mail with                          , a pricing

executive at Taro,                                          and, by April 7, 2014, Taro had added

the product to its price increase list.

        2017. Three days later, on April 10, 2014, Aprahamian and                    , a Mylan sales

executive, exchanged two calls lasting two minutes and ten minutes, respectively. Notably, the

competitors would not speak again by phone until June 4, 2014, one day after Taro increased its

pricing on Phenytoin Sodium.

        2018.

                               After an internal discussion regarding market shares, Aprahamian

responded on April 20, 2014 stating:

          Similarly, on April 24, 2014, Walgreens also e-mailed Mylan, another competitor in the

market, asking for a bid on the product.

        2019. Between April 26 and 29, 2014, NACDS held its annual meeting in Scottsdale,

Arizona. Key representatives from Taro, Mylan, Amneal, and Sun all attended the conference.

The attendees included Aprahamian and Perfetto of Taro, Jim Nesta of Mylan, and                    a

senior executive at Sun.




                                                497
       2020. While attending the NACDS annual meeting, the competitors had numerous

opportunities at various programming and social events to discuss Phenytoin Sodium, along with

other products on which they competed. For example, on April 29, 2014, while still at the NACDS

meeting, Aprahamian sent an e-mail to an administrative clerk at Taro, asking,



       2021. One month later, on May 29, 2014, the Pricing and Contracts (“P&C”) team at

Mylan generated a Daily Report listing the Mylan opportunity at Walgreens on Phenytoin Sodium.

In the report, Mylan noted that it could supply in July 2014 and identified the product as

                             Notably, no generic manufacturer of Phenytoin Sodium had increased

pricing yet, including Amneal.

       2022. Ultimately, Mylan declined to bid on the Walgreens business, refusing to take the

business away from its competitor, Amneal.

       2023. As detailed above, on June 2, 2014 Taro notified its customers that it would be

increasing its prices on the June 2014 Increase products, including Phenytoin Sodium. Over the

next several days, all three competitors would exchange a number of calls, including the following

calls between Aprahamian and                 These are detailed in the chart below:

   Date      Call Type   Target Name              Direction    Contact Name       Time      Duration
    6/4/2014    Voice    Aprahamian, Ara (Taro)   Outgoing     M.A. (Mylan)        13:17:00    0:01:00
    6/6/2014    Voice    Aprahamian, Ara (Taro)   Outgoing     M.A. (Mylan)        12:41:00    0:09:00
    6/9/2014    Voice    Aprahamian, Ara (Taro)   Incoming     M.A. (Mylan)         9:02:00    0:04:00


       2024. On July 2, 2014,                          a sales executive at Sun, sent an internal e-mail

advising             , a senior executive at Sun, and others,



                                         .




                                                    498
        2025. On July 10, 2014,

                                                      . That same day,          of Mylan called

Aprahamian. The call lasted seven minutes. Later that day, Courtney Wilson, a pricing executive

at Mylan, sent an internal e-mail regarding the Wal-Mart opportunity stating:




        2026. On July 14, 2014, Sun followed its competitors and increased pricing on Phenytoin

Sodium. Similarly, Mylan followed suit on July 16, 2014, increasing its WAC pricing by 210%

to match market pricing.

        2027.

                                                            , a Taro sales executive, forwarded

the request along internally, asking

                                             , a Taro pricing executive,          that



                                                                                            To

that,

        2028. One month later, on September 1, 2014, Amneal followed and matched its

competitors’ WAC pricing.

        DDDDD. Pilocarpine HCL

        2029. Pilocarpine HCL tablets, also known by the brand name Salagen, is used to treat

dryness of the mouth associated with Sjogren’s syndrome (an immune disease), and also to treat

saliva gland damage after radiation treatment for cancer. During the period relevant to this



                                              499
Complaint, Actavis, Impax, and Lannett were the primary manufacturers of Pilocarpine HCL

tablets.

           2030. Prior to 2014, Pilocarpine tablets cost pennies per dose. However, when Impax

claimed to suffer a brief disruption in supply in late 2013, Lannett and Actavis conspired to

increase prices by approximately 200% in March 2014. When Impax re-entered the market in the

fall of 2015, it matched or exceeded the prices offered by Actavis and Lannett, but was still able

to recover several large customers, because Actavis and Lannett conceded these accounts back to

Impax in accordance with the conspiracy.

           2031. Senior sales executives from Actavis, Lannett and Impax communicated directly

with each other in furtherance of the conspiracy. For example, Falkin of Actavis spoke with

       of Lannett on November 10th, 22nd and 25th, and December 12th and 13th of 2013, while

the two companies were determining what to do in response to Impax’s claimed supply disruption.

They spoke again on January 17, 2014, twice on February 20th and once on February 27th, just

weeks before the two companies imposed their price increases. Likewise, Falkin and Michael

Grigsby of Impax spoke on November 11, 2013.               of Lannett and                of Impax

also spoke once January 15, 2014. Upon information and belief, during these calls, Defendants

promised to follow Lannett’s price increase upon Impax’s reentry into the market.

           2032. As a result of this coordination, Defendants were able to charge supracompetitive

prices on Pilocarpine HCL to Plaintiff, its assignor, and others in the United States.

           EEEEE. Pioglitazone HCL Metformin HCL Tablets

           2033. Pioglitazone HCL Metformin HCL (“Pioglitazone Metformin”), also known by the

brand name Actoplus Met, is used to control high blood sugar in patients with type 2 diabetes

mellitus.



                                                 500
       2034. Prior to February 2013, Mylan and Teva were the only competitors in the market

for Pioglitazone Metformin. As a result of settling patent litigation with the brand manufacturer,

Mylan was entitled to 180 days exclusivity as the first-to-file generic and Teva earned the right to

market the authorized generic. During that period, Mylan and Teva split the market equally with

Teva controlling 48% share and Mylan controlling 52%.

       2035. Mylan and Teva’s 180-day exclusivity period expired on February 13, 2013 and

Aurobindo and Torrent Pharmaceuticals entered the market on that date. Although Sandoz also

planned to enter at that time, the company ran into regulatory obstacles that delayed its launch

until April 16, 2013.

       2036. In advance of Aurobindo’s entry, CW-6 and Grauso were in frequent

communication with their contacts at Mylan and Teva to discuss, among other things, Aurobindo’s

entry into the Pioglitazone Metformin market. On these calls, the competitors spoke about pricing

and the allocation of market share to the new entrant.

       2037. For example, in the week leading up to Aurobindo’s entry on February 13, 2013,

CW-6 exchanged at least nine calls with Jim Nesta, a senior sales executive at Mylan. At the same

time, Grauso was communicating with his contacts at Teva, exchanging at least twenty-one calls

with sales executives Kevin Green and                                      These calls are detailed in the

chart below:

   Date      Call Type   Target Name               Direction   Contact Name          Time      Duration
    2/6/2013    Voice    Grauso, Jim (Aurobindo)   Outgoing    Green, Kevin (Teva)     9:23:00    0:06:00
    2/6/2013    Voice    Grauso, Jim (Aurobindo)   Outgoing    T.S. (Teva)            14:25:00    0:02:00
    2/7/2013    Voice    Grauso, Jim (Aurobindo)   Incoming    Green, Kevin (Teva)     4:33:00    0:22:00
    2/7/2013    Voice    Grauso, Jim (Aurobindo)   Outgoing    Green, Kevin (Teva)    12:12:00    0:07:00
    2/7/2013    Voice    Grauso, Jim (Aurobindo)   Outgoing    Green, Kevin (Teva)    15:20:00    0:03:00
    2/8/2013    Voice    Grauso, Jim (Aurobindo)   Incoming    Green, Kevin (Teva)     4:04:00    0:05:00
    2/8/2013    Voice    Grauso, Jim (Aurobindo)   Outgoing    Green, Kevin (Teva)     5:41:00    0:21:00
    2/8/2013    Voice    Grauso, Jim (Aurobindo)   Incoming    Green, Kevin (Teva)     9:56:00    0:08:00
    2/8/2013    Voice    Grauso, Jim (Aurobindo)   Outgoing    Green, Kevin (Teva)    10:34:00    0:01:00



                                                   501
    2/8/2013   Voice        Grauso, Jim (Aurobindo)      Outgoing    Green, Kevin (Teva)    10:40:00    0:01:00
    2/8/2013   Voice        Grauso, Jim (Aurobindo)      Incoming    Green, Kevin (Teva)    10:41:00    0:02:00
    2/8/2013   Voice        Grauso, Jim (Aurobindo)      Incoming    Green, Kevin (Teva)    11:21:00    0:11:00
    2/8/2013   Voice        Nesta, Jim (Mylan)           Outgoing    CW‐6 (Aurobindo)       13:55:05    0:00:19
    2/8/2013   Voice        Nesta, Jim (Mylan)           Incoming    CW‐6 (Aurobindo)       14:04:28    0:02:17
    2/8/2013   Voice        Nesta, Jim (Mylan)           Incoming    CW‐6 (Aurobindo)       15:38:09    0:00:04
    2/8/2013   Voice        Nesta, Jim (Mylan)           Outgoing    CW‐6 (Aurobindo)       15:41:26    0:00:03
    2/8/2013   Voice        Nesta, Jim (Mylan)           Incoming    CW‐6 (Aurobindo)       15:58:28    0:00:27
    2/8/2013   Voice        Nesta, Jim (Mylan)           Outgoing    CW‐6 (Aurobindo)       16:09:54    0:03:40
    2/8/2013   Voice        Nesta, Jim (Mylan)           Incoming    CW‐6 (Aurobindo)       16:19:22    0:00:04
   2/11/2013   Voice        Nesta, Jim (Mylan)           Incoming    CW‐6 (Aurobindo)       13:01:14    0:00:29
   2/11/2013   Voice        Nesta, Jim (Mylan)           Outgoing    CW‐6 (Aurobindo)       14:06:26    0:00:52
   2/12/2013   Voice        Grauso, Jim (Aurobindo)      Outgoing    Green, Kevin (Teva)     5:52:00    0:12:00
   2/12/2013   Voice        Grauso, Jim (Aurobindo)      Incoming    T.S. (Teva)             6:26:00    0:39:00
   2/12/2013   Voice        Grauso, Jim (Aurobindo)      Outgoing    T.S. (Teva)            13:35:00    0:45:00
   2/13/2013   Voice        Grauso, Jim (Aurobindo)      Incoming    Green, Kevin (Teva)     9:53:00    0:09:00
   2/13/2013   Voice        Grauso, Jim (Aurobindo)      Outgoing    T.S. (Teva)            11:11:00    0:01:00
   2/13/2013   Voice        Grauso, Jim (Aurobindo)      Incoming    T.S. (Teva)            12:19:00    0:02:00
   2/13/2013   Voice        Grauso, Jim (Aurobindo)      Outgoing    T.S. (Teva)            12:42:00    0:01:00
   2/13/2013   Voice        Grauso, Jim (Aurobindo)      Outgoing    T.S. (Teva)            13:58:00    0:01:00


       2038. Illustrating the substance of these calls, on February 12, 2013,

spoke to Grauso at Aurobindo for forty-five minutes.



                        .

       2039. At the same time, Mylan and Teva were communicating with each other. In the

week leading up to Aurobindo’s entry on February 13, 2013, Green of Teva exchanged at least

seventeen calls with Nesta of Mylan. These calls are detailed in the chart below:

  Date      Call Type        Target Name              Direction     Contact Name           Time      Duration
   2/7/2013    Voice         Nesta, Jim (Mylan)       Outgoing      Green, Kevin (Teva)      9:19:51    0:00:13
   2/7/2013    Voice         Nesta, Jim (Mylan)       Incoming      Green, Kevin (Teva)      9:29:54    0:00:05
   2/7/2013    Voice         Nesta, Jim (Mylan)       Outgoing      Green, Kevin (Teva)     10:01:05    0:00:07
   2/7/2013    Voice         Nesta, Jim (Mylan)       Incoming      Green, Kevin (Teva)     11:17:07    0:00:06
   2/7/2013    Voice         Nesta, Jim (Mylan)       Outgoing      Green, Kevin (Teva)     11:53:33    0:08:47
   2/7/2013    Voice         Nesta, Jim (Mylan)       Incoming      Green, Kevin (Teva)     12:16:25    0:00:10
   2/7/2013    Voice         Nesta, Jim (Mylan)       Incoming      Green, Kevin (Teva)     17:19:23    0:00:10
   2/8/2013    Voice         Nesta, Jim (Mylan)       Incoming      Green, Kevin (Teva)      8:26:12    0:00:05
   2/8/2013    Voice         Nesta, Jim (Mylan)       Outgoing      Green, Kevin (Teva)      9:08:59    0:29:51
   2/8/2013    Voice         Nesta, Jim (Mylan)       Incoming      Green, Kevin (Teva)     15:44:04    0:11:18
   2/8/2013    Voice         Nesta, Jim (Mylan)       Outgoing      Green, Kevin (Teva)     16:14:42    0:06:03



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   2/13/2013       Voice     Nesta, Jim (Mylan)   Outgoing        Green, Kevin (Teva)     9:31:39       0:00:04
   2/13/2013       Voice     Nesta, Jim (Mylan)   Incoming        Green, Kevin (Teva)     9:45:09       0:12:58
   2/13/2013       Voice     Nesta, Jim (Mylan)   Outgoing        Green, Kevin (Teva)    11:09:47       0:00:04
   2/13/2013       Voice     Nesta, Jim (Mylan)   Incoming        Green, Kevin (Teva)    11:18:15       0:08:38
   2/13/2013       Voice     Nesta, Jim (Mylan)   Incoming        Green, Kevin (Teva)    12:44:01       0:03:25
   2/13/2013       Voice     Nesta, Jim (Mylan)   Outgoing        Green, Kevin (Teva)    19:17:42       0:04:15


       2040. Similarly, Green of Teva exchanged several calls with his contacts at Sandoz,

Kellum and CW-2. These calls are detailed in the chart below:

  Date        Call Type    Target Name                Direction   Contact Name             Time      Duration
   2/7/2013   Voice        Green, Kevin (Teva)        Outgoing    CW‐2 (Sandoz)              4:24:00    0:05:00
   2/7/2013   Voice        Green, Kevin (Teva)        Outgoing    Kellum, Armando (Sandoz) 11:04:00     0:01:00
   2/7/2013   Voice        CW‐2 (Sandoz)              Outgoing    Green, Kevin (Teva)       12:29:00    0:02:00
  2/10/2013   Voice        Green, Kevin (Teva)        Incoming    Kellum, Armando (Sandoz)   9:09:00    0:06:00
  2/12/2013   Voice        Kellum, Armando (Sandoz)   Outgoing    Green, Kevin (Teva)        7:15:00    0:08:00


       2041. On February 7, 2013, the same day that Green talked to both Kellum and CW-2,

both of those Sandoz employees participated in a conference call in which they discussed

                   on Pioglitazone Metformin.

       2042. Finally, the new entrants, Sandoz and Aurobindo, were also communicating

directly with each other regarding Pioglitazone Metformin. For example, CW-3 of Sandoz and

CW-6 of Aurobindo exchanged at least six calls between February 13 and February 19, 2013.

These calls are detailed in the chart below:

   Date      Call Type        Target Name             Direction    Contact Name         Time      Duration
   2/13/2013    Voice         CW‐6 (Aurobindo)        Outgoing     CW‐3 (Sandoz)          3:51:00    0:01:00
   2/15/2013    Voice         CW‐6 (Aurobindo)        Outgoing     CW‐3 (Sandoz)          4:36:00    0:01:00
   2/15/2013    Voice         CW‐6 (Aurobindo)        Outgoing     CW‐3 (Sandoz)          7:33:00    0:16:00
   2/19/2013    Voice         CW‐6 (Aurobindo)        Outgoing     CW‐3 (Sandoz)          3:03:00    0:01:00
   2/19/2013    Voice         CW‐6 (Aurobindo)        Incoming     CW‐3 (Sandoz)          4:06:00    0:04:00
   2/19/2013    Voice         CW‐6 (Aurobindo)        Outgoing     CW‐3 (Sandoz)          5:52:00    0:01:00

       2043. During their calls on February 19, 2013, CW-6 and CW-3 discussed specific

customers and price points for Pioglitazone Metformin, and the fact that Aurobindo had already

picked up Cardinal as a customer.                                                                   :



                                                        503
       2044. By mid-April, Aurobindo had secured approximately 20% of the Pioglitazone

Metformin market, including Cardinal, a portion of the CVS business, Costco, and several other

smaller customers.

       2045. Between February 24 and February 27, 2013, ECRM held its annual Retail

Pharmacy Generic Pharmaceuticals Conference in Dallas, Texas.             Representatives from

Aurobindo and Sandoz attended, including CW-6 and Grauso from Aurobindo and CW-3 and

Kellum from Sandoz.

       2046. On February 28, 2013, Kellum sent an internal e-mail to other Sandoz executives

regarding the

                             :




       2047. A month and a half later, on April 16, 2013, Sandoz finally received FDA approval

to market Pioglitazone Metformin. The next day, CW-1, a Sandoz senior pricing executive, e-

mailed the sales team stating:



                Six minutes later, CW-1 e-mailed CW-3 individually, asking him to



       2048. That same day, CW-3 exchanged two calls with CW-6 of Aurobindo lasting two

minutes and six minutes. The next day, on April 18, 2013, the two competitors spoke again for

ten minutes. During that call, CW-6 provided CW-3 with Aurobindo’s dead net prices at several

customers, including Cardinal and CVS. CW-3’s contemporaneous notes from that call are

pictured below:



                                               504
         2049. At the same time, Sandoz was speaking with Teva. On April 18 and April 19, 2013,

CW-2, a Sandoz senior sales executive, spoke three times with Green of Teva, including two calls

lasting four minutes and one call lasting eight minutes.

         2050. Later in the evening on April 19, 2013, CW-1 e-mailed Kellum and others at

Sandoz                                     stating,



                                                                                 .

         2051. A few days later, on April 26, 2013,

                                                 that



                        That same day, ABC awarded the business to Sandoz.

         2052. Also, that same day, on April 26, 2013, Sandoz officially entered the market and

published WAC pricing that matched its competitors. Sandoz’s entry prompted even more


                                               505
communication between the competitors. Between May 8 and May 20, James Nesta of Mylan

spoke with CW-4 of Sandoz three times and with Kevin Green of Teva more than 20 times.

Additionally, Jim Grauso of Aurobindo spoke with Kelly Gegenheimer of Torrent on May 16,

2013.

        2053. Through this coordination, Teva and Mylan conceded significant market share of

Pioglitazone Metformin to Sandoz, Taro, Aurobindo, and Torrent, and in return, the new entrants

agreed to support the supracompetitive pricing and not compete for excess market share.

        FFFFF. Piroxicam

        2054. Piroxicam, also known by the brand name Feldene, is a nonsteroidal anti-

inflammatory drug (NSAID). Piroxicam is used to treat rheumatoid arthritis, osteoarthritis, and

juvenile rheumatoid arthritis. During the period relevant to this Complaint, Greenstone, Teva, and

Mylan were the primary manufacturers of Piroxicam.

        2055. Prior to 2010, prices for Piroxicam cost pennies per dose. However, in April 2010,

Rekenthaler of Teva and              of Mylan coordinated to increase prices by approximately

3000%. The two spoke by phone on April 27, 2010, and again on May 14, 2014.

        2056. On March 3, 2014, Greenstone received FDA approval to market Piroxicam

Capsules. It entered the market with the exact same WAC pricing as Teva for both the 10mg and

20mg capsules.

        2057. Greenstone immediately began seeking potential customers. At 10:07 a.m. on

March 5, 2014, Levinson of Teva sent an e-mail to Patel




                                               506
       2058. Before responding to that e-mail, Patel sought to negotiate strategy with

Greenstone. Patel called         at Greenstone at 10:55 a.m. and they spoke briefly. Shortly after

that call, Patel also called         boss, Nailor. At 2:14 p.m. that afternoon, Patel and Nailor

spoke briefly. Immediately after hanging up with Nailor, Patel responded to Levinson’s e-mail:




       2059. Teva immediately began preparing a strategy to deal with Greenstone’s entry into

the Piroxicam market. On March 6, 2014, Patel requested a customer profitability and share

analysis. During these negotiations with competitors regarding market entry, it was typical for

Teva employees to request a                                              (as Patel did here) so they

could easily determine which customers to concede when talking to competitors about dividing

the market.

       2060. That same day, Patel had multiple calls with Nailor and              at Greenstone to

discuss their plans for dividing the Piroxicam market. At least some of those calls are set forth in

the table below:




                                                507
       2061. The next day – March 7, 2014 – after the flurry of phone calls detailed above, Patel

sent an e-mail to               , a customer marketing manager at Teva,

                                     .




       2062. Additional challenges did come. On March 12, 2014, Patel learned that Greenstone

was challenging Teva at CVS – Teva’s largest account for Piroxicam. Teva refused to concede

CVS to Greenstone because CVS represented 26.1% of Teva’s total market share for that drug.

Teva lowered its price by 20%, and the next morning CVS notified Teva that it would retain the

account. The same day, after hearing that Teva was not going to back down on the CVS challenge,

        of Greenstone called Patel at 1:41 p.m. and they spoke briefly.

       2063. Mylan, Teva, and Greenstone continued to coordinate their allocation over the

coming days and weeks. On March 11, 2014,                      of Mylan spoke with         twice

by phone. On March 17, 2014, Patel called            and they spoke briefly.         called Patel

back at 11:35 p.m. that same day and they spoke for fifteen minutes. Immediately after speaking

to Patel,        called Nailor and they spoke for ten minutes. The following day, March 18,


                                               508
        spoke with          of Mylan twice. Teva retained the CVS account but conceded other

customers (representing less market share) to Greenstone through March and April.

       2064. For example, on March 25, 2014 Teva learned of a challenge from Greenstone at

Anda, a wholesaler distributor. Following an analysis of its market share, Teva determined that it

still had more market share than the conspiracy allowed. Pursuant to the understanding among

generic manufacturers alleged above, Teva determined that it was obligated under the unwritten

rules of the overarching agreement to concede the Anda business to Greenstone on Piroxicam.

                of Teva spoke with          by phone briefly the next day. Patel agreed with the

decision to concede on April 1, 2014.          then had a number of calls with          Nesta, and

Patel between April 2, and April 4.

       2065. As a result of this coordination, Teva, Mylan, and Greenstone charged

supracompetive prices on Piroxicam to Plaintiff, its assignor, and others in the United States.

       GGGGG. Potassium Chloride

       2066. Potassium Chloride is prescribed to treat hypokalemia, a condition occurring when

a patient’s blood levels have insufficient potassium.

       2067. During the time period relevant to this Complaint, Actavis, Mylan, Sandoz, Upsher-

Smith, and Zydus dominated the market for Potassium Chloride tablets and capsules.

       2068. In August 2010, Actavis, Sandoz, and Upsher-Smith each implemented abrupt and

substantial parallel price increases on Potassium Chloride. For example, bottles of 100 tablets of

8 MEQ dosage strength that sold for less than $7.00 at the end of July 2010 increased to more than

$42.00 by mid-August.

       2069. Upon information and belief, this price increase was agreed upon during telephone

calls between               , the Director of Contracts and Pricing at Sandoz, and Doug Zitnack,



                                               509
the Senior National Accounts Manager at Upsher-Smith, who spoke several times in August 2010,

including before and after price increase. Additionally, representatives of each of the three

companies met at trade shows and other industry events throughout Summer 2010.

       2070. In mid-2011, Zydus entered the market at the elevated prices established by

Actavis, Sandoz, and Upsher-Smith. Prior to Zydus’ entry,                      – the company’s

Associate Vice President of National Accounts – communicated frequently with CW-4 of Sandoz.

The purpose of these communications was to determine which accounts Zydus would add in

collusion with its competitors. In exchange for Zydus’ support of the supracompetitive conspiracy

pricing for Potassium Chloride, Actavis, Sandoz, and Upsher-Smith each conceded market share

to Zydus.

       2071. In late 2014, Mylan also entered the market for Potassium Chloride. Consistent

with the overarching agreement, Jim Nesta of Mylan reached out to Marc Falkin of Actavis in

September 2014 to coordinate Mylan’s entry without price erosion.. Like Zydus, Mylan agreed to

support the pricing as already fixed by Actavis, Sandoz, and Upsher-Smith, and in return, the

existing manufacturers of Potassium Chloride conceded market share to Mylan.

       2072.



                                and that                                                     The

document also

                                                                                          in part

because                                                                      and in part because




                                              510
       2073. As      a   result   of   these   collusive   communications,    Defendants    charged

supracompetitive pricies for Potassium Chloride tablets and capsules to Plaintiff, its assignor, and

others in the United States.

       HHHHH. Pravastatin

       2074. Pravastatin, also known by the brand name Pravachol, is a medication belonging to

a class of drugs called “statins,” and is used to treat high cholesterol and triglyceride levels. The

market for Pravastatin is mature, as generic Pravastatin has been available in the United States for

over 10 years.

       2075. In October 1991, Bristol Meyers Squibb received FDA approval to market

Pravachol, which is prescribed to control high cholesterol and triglycerides. Pravastatin is the

generic version of Pravachol. Upon the expiration of Bristol Meyers Squibb’s patent in 2006, a

number of generic manufacturers applied for ANDAs to market Pravastatin in the United States.

By 2010, Apotex, Glenmark, Teva, Dr. Reddy’s, Lupin, Zydus, and Mylan had all received

ANDAs to manufacture and sell generic Pravastatin and each sold Pravastatin to Plaintiff, its

assignor, and others in the United States at supracompetitive prices inflated by the unlawful and

anticompetitive agreements alleged in this Complaint. As a result, the average cost of a dose of

generic Pravastatin sold at a competitive price of less than 10 cents between January 2010 and

June 2013.

       2076. Beginning in May 2013, Defendants conspired to implement a series of collusive

price increases on Pravastatin. The price increases were taken in stair-step fashion and they could

not have been implemented without collusion between and among each of the eight generic

manufacturers of Pravastatin.




                                                 511
       2077. As early as May 2, 2013, Patel engaged in discussions regarding a price increase

for Pravastatin with CW-5, a senior executive at Glenmark. Early in the morning of May 2,




                                 Within minutes, she received a call from CW-5 and they discussed

price increases for a number of different drugs, including Pravastatin. Shortly after that call, Patel



                               . In all, Patel spoke to CW-5 four times throughout the day on May

2, 2013, as set forth below:




       2078. As of May 2013, the market for Pravastatin included five primary competitors:

Glenmark, Teva, Lupin, Zydus and Apotex. Additonally, Mylan continued to manufacture

Pravastatin, but maintained a tiny market share below 1%. (Indeed, there are a large number of

drugs identified in this Complaint for which Mylan maintained a small market share despite having

capacity to produce substantially more of the drug. This allowed Mylan to enforce the rules of the

conspiracy by retaliating against manufacturers that did not comply). The number of competitors

made it more difficult to coordinate a price increase. This difficulty stemmed in part because two

of those competitors – Zydus and Apotex – were also the two lowest quality competitors in Patel’s

quality of competition rankings, and any price increase for that drug would require significant

coordination and communication before Teva could feel comfortable raising its own price.




                                                 512
       2079. Teva was able to achieve a sufficient level of comfort and substantially raise prices

for Pravastatin by systematically communicating and reaching agreement with each and every

competitor on that drug over the next several months.

       2080. On May 3, 2013, Green called                      , a senior executive at Zydus, twice

with one call lasting four minutes. Over the next several weeks, Green communicated numerous

times with both          and              , a senior sales executive at Zydus, to coordinate a Zydus

price increase on Pravastatin.

       2081. On May 6 and 7, 2013, Patel communicated with her contacts at Lupin (Berthold)

and Glenmark                     , a national account executive) multiple times. Those calls are

detailed below:




       2082. During one or more of her calls with              and/or CW-5 of Glenmark in early

May 2013, Patel obtained specific price points from Glenmark for its Pravastatin (and other) price

increases – well before the Glenmark increases became public – and documented those price points

in her price increase spreadsheet.

       2083. By May 8, 2013, Teva executives clearly understood that Glenmark would be

leading the Pravastatin price increase,




                                               513
       2084. As the Glenmark increase for Pravastatin was approaching, Patel began preparing.

On May 15, 2013 – the day before Glenmark’s increase would become effective – a Teva executive

sent an e-mail out to the pricing team stating that:



                     . The Teva executive concluded:




       2085. That same day, Glenmark notified its customers that it would substantially raise the

price of Pravastatin, effective May 16, 2013.

       2086. As was now the practice among co-conspirators, the day before and the day of the

Glenmark increase brought a flurry of phone calls among several of the competitors, including

Teva executives. At least some of those calls are set forth below:




       2087. As of May 16, 2013, Patel was still considering whether Teva should increase its

price for Pravastatin, because she was concerned about whether Zydus would act responsibly and

follow a price increase.




                                                514
                            Patel later indicated that



       2088. Green was responsible for coordinating with Zydus. As seen in the table above, on

May 15, 2013, Green spoke with three Zydus employees, including a call with              of Zydus

lasting sixteen minutes. The next day, on May 16, Green spoke with            for 4 minutes. Later

that day,         called           and the two Zydus executives spoke for more than seventeen

minutes. Green also spoke to Rekenthaler and Patel the same day, conveying what he had learned

from his communications with the Zydus executives.

       2089. Also on May 16, Patel’s supervisor,                 sent an internal e-mail to several

colleagues, including Patel and Rekenthaler, stating:




            In response, Rekenthaler indicated that he was now comfortable with the price increase,

but he did not want to put his reasoning in writing:




       2090. The next day – May 17, 2013 – Patel continued to coordinate the price increase

with executives at both Glenmark and Lupin. For example, at 12:08 p.m., Patel called Berthold at

Lupin for eleven minutes. While she was on the phone with Berthold, CW-5 of Glenmark called

Patel (at 12:09 p.m.) and left a twenty-three second voice mail. Immediately after she hung up the




                                                 515
phone with Berthold, Patel returned the call to CW-5; they ultimately connected for nearly eight

minutes.

        2091. As of this point, Teva executives had spoken to all of their competitors about

Pravastatin except Apotex. From May 20-24, Patel had the following series of phone calls with

                 , a senior sales executive at Apotex, during which Apotex agreed to raise its price

for Pravastatin:




        2092. These were the first documented phone calls between Patel and                   since

Patel had joined Teva.

        2093. But even with this agreement in hand, Patel was still hesitant to add Pravastatin to

the price increase list until Apotex actually increased its price. For example, when she sent the

                   spreadsheet to her supervisor          on May 24, 2013, Pravastatin was still not

on the list.

        2094. That would change shortly.           On May 28, 2013, Apotex raised its price for

Pravastatin. That same day, Green also exchanged six text messages with              at Zydus. The

next day, after a conversation with Maureen Cavanaugh, Patel added Pravastatin to the Teva price

increase list.

        2095. The day after the Apotex increase, Green spoke to           at Zydus two more times,

and exchanged four more text messages. Zydus then quickly followed with a price increase of its

own on June 14, 2013.



                                                   516
       2096. Following the normal pattern, Green spoke to             and others at Zydus several

times in the days leading up to the Zydus increase, including at least the following calls and text

messages:




       2097. Teva ultimately followed Glenmark, Apotex and Zydus with a significant (653%)

price increase of its own on August 9, 2013. As described in more detail above, in the days and

weeks leading up to August 9, Patel and Green were communicating with all of Teva’s competitors

for Pravastatin to coordinate the increase.

       2098. When Patel sent the                               to her supervisor,

on August 7, 2013, two days in advance of Teva’s price increase, she included




       2099. A couple of days after Teva implemented its increase, a




                                               517
              :




          2100. Pursuant to that agreement, shortly after Teva’s increase – on August 28, 2013 –

Lupin raised its price to follow competitors Glenmark, Apotex, Zydus and Teva.

          2101. The extra work required to implement the Pravastatin price increase was well worth

it to Teva. On August 8, 2013 – the day before the Teva increase –

                                                                                              . She

estimated that,

          .

          2102. Between July 2013 and October 2013, Apotex, Glenmark, Teva, Lupin, Zydus, and

Mylan each increased their prices for generic Pravastatin sold to Plaintiff, its assignor, and others

in the United States. The Defendants continued to further raise prices throughout the remainder

of 2013.

          2103. By way of example, with respect to WAC pricing, Defendants reported nearly

identical WACs for their 10 mg products, reflecting increases of more than 100%:

  Product                                       Old                        Date of      Percentage
                  Defendant       NDC                     New WAC
   10 mg                                        WAC                       Increase       Increase
 90 ct            Apotex      60505016809     $0.26       $0.56         28-May-13      119%
 500 ct           Apotex      60505016805     $0.26       $0.56         28-May-13      119%
 90 ct            Zydus       68382007016     $0.17       $0.48         14-Jun-13      189%
 500 ct           Zydus       68382007005     $0.15       $0.48         14-Jun-13      222%
 90 ct            Teva        00093077198     $0.17       $0.48         9-Aug-13       189%
 1000 ct          Teva        00093077110     $0.15       $0.48         9-Aug-13       221%



                                                518
  Product                                      Old                       Date of        Percentage
                Defendant        NDC                     New WAC
   10 mg                                       WAC                      Increase         Increase
 90 ct         Lupin         68180048509     $0.17       $0.48        28-Aug-13        190%
 500 ct        Lupin         68180048502     $0.15       $0.48        28-Aug-13        222%

          2104. These price increases were not the result of supply shortages, demand spikes,

increased input costs, or other competitive market conditions. There were no reported drug

shortages nor was there a spike in demand that could explain the price hikes.

          IIIII. Prednisolone Acetate

          2105. Prednisolone Acetate suspension, also known by the brand names Omnipred and

Pred Forte (among others), is a medication used to treat eye conditions and relieve swelling,

redness, and itching in the eye. During the period relevant to this Complaint, Defendants Sandoz

and Greenstone were the primary manufacturers of Prednisolone Acetate suspension.

          2106. Prior to late 2013, prices for Prednisolone Acetate suspension cost approximately

$1 per package. However, in July 2013, Sandoz increased its WAC pricing by approximately

500%, and Greenstone followed this price increase in September 2013.

          2107. Senior sales executives from Sandoz and Greenstone communicated directly with

each other in furtherance of the conspiracy. As noted with respect to Clindamycin, Latanoprost,

and Eplerenone, Kellum of Sandoz was in frequent contact with                      and Jill Nailor of

Greenstone during this time period, and other executives from both companies also communicated

in furtherance of the conspiracy. Indeed, between 2011 and 2014, there were at least 360

communications between senior sales executives of the two companies in furtherance of the

conspiracy.

          2108. Throughout this time period, Sandoz consistently had more market share than the

rules of the conspiracy allowed. As the first generic entrant in what was essentially a two-player


                                                519
market, Sandoz was arguably entitled to 60% share under the conspiracy’s rules. However, Sandoz

consistently maintained market share above this threshold, and as such, it was cautious not to bid

for any new business on the drug. For example, on January 22, 2014, OptiSource approached

Sandoz to see if it was interested in supplying OptiSource members with Prednisolone Acetate.

Kellum



          , Sandoz                                                                  at Sandoz

                  , and                                                                         that

                                         Sandoz’s Kellum



                                                                                .

       2109. Through this collusion, Defendants were able to charge supracompetitive prices on

Prednisolone Acetate to Plaintiff, its assignor, and others in the United States.

       JJJJJ. Prednisone

       2110. Prednisone is a corticosteroid that is used to treat conditions such as arthritis, blood

disorders, breathing problems, severe allergies, skin diseases, cancer, eye problems, and immune

system disorders. During the period relevant to this Complaint, Actavis, Cadista, Qualitest and

West-Ward were the primary manufacturers of Prednisone tablets.

       2111. Prior to 2013, Prednisone tablets cost pennies per pill. However, beginning in

February of 2013, Actavis, Cadista, Qualitest, Roxane, and West-Ward colluded to raise their

prices by approximately 200%. In January 2013, a marketing manager at Actavis inquired about

the possibility of increasing prices on Prednisone. At the time, Cadista had exited the market




                                                520
temporarily, and Actavis knew from its regular communications with West-Ward that its supply

was limited.

       2112. In early March 2013, Qualitest submitted revised pricing to Rite Aid for Prednisone

knowing that it would be rejected, which allowed Qualitest to concede the account to Roxane in

accordance with the conspiracy’s rules, and in return, Roxane agreed to support the upcoming

price increase (which it did).

       2113. Between April and June, Actavis, Roxane, and Qualitest each increased their prices

on Prednisone by approximately 200%. Additionally, West-Ward was able to cure its supply

issues and followed the price increase as well during this same timeframe. And when Cadista

reentered the market in August, it followed the higher pricing as well. In accordance with the

conspiracy’s rules, Actavis, Qualitest, and Roxane conceded market share to West-Ward and

Cadista.

       2114. Senior sales executives continued to communicate to implement this agreement.

For example, shortly after joining Actavis in July 2013, Mark Falkin began communicating with

               of Cadista (the VP of Sales) to coordinate Cadista’s reentry into the market. Falkin

also spoke regularly with                  of Qualitest beginning in September 2013. Additionally,

Mark Falkin of Actavis spoke with                      of Qualitest twice on May 2, 2014.

       2115. As a result of this coordination, Defendants were able to charge supracompetitive

prices for Prednisone to Plaintiff, its assignor, and others in the United States.

       KKKKK. Prochlorperazine

       2116. Prochlorperazine Maleate (“Prochlorperazine”), also known by the brand names

Compro and Compazine, are used to treat nausea and vomiting.




                                                 521
       2117. Since at least 2011, G&W and Perrigo have been the only generic suppliers of

Prochlorperazine suppositories, while Teva, Cadista, Mylan, and Sandoz dominated the market for

Prochlorperazine tablets.

               1.     Suppositories

       2118. Throughout 2011 and 2012, G&W and Perrigo priced Prochlorperazine similarly

and maintained a virtually even split of the market. In mid-January 2013, Perrigo hired Boothe as

an executive. On January 25, 2013, Orlofski called Boothe for the first time ever, according to the

available phone records.

       2119. A little over one month later, on Friday, March 1, 2013, Boothe and Orlofski met

for lunch at an Italian restaurant, Al Dente Ristorante, in Piscataway, New Jersey.

       2120. The next business day, on Monday, March 4, 2013, Orlofski met with Vogel-Baylor

in his office at 1:00 p.m. Later that same day, Vogel-Baylor sent an internal e-mail to Michelle

Sisco, a sales analyst at G&W, asking her to run sales reports on Prochlorperazine in anticipation

of a price increase. Sisco provided the requested information to Vogel-Baylor on March 5, 2013.

       2121. On March 7, 2013, Vogel-Baylor e-mailed Orlofski a price increase analysis for

Prochlorperazine. Vogel-Baylor recommended increasing WAC pricing by 200% from $35.66 to

$106.98.

       2122. On March 19, 2013, G&W implemented the 200% increase. That same day,

Orlofski called Boothe. The two competitors would exchange two more phone calls later that day,

including one call lasting six minutes. These were the first calls exchanged between Orlofksi and

Boothe since their lunch on March 1, 2013, according to the available phone records. Orlofski and

Boothe would exchange one text message and one more phone call in March 2013 and would not

communicate by phone again until August 30, 2013, according to the available phone records.



                                               522
       2123. On April 11, 2013, Perrigo announced it would also be increasing its WAC price

for Prochlorperazine by 200% from $34.85 to $104.55. However, Perrigo waited to notify its

customers of the specific changes to its contract pricing until after attending the NACDS 2013

annual meeting.

       2124. The NACDS 2013 annual meeting was held at the Sands Expo Convention Center

in Palm Beach, Florida between April 20 and April 23, 2013. Boothe, Orlofksi, and Vogel-Baylor

attended the conference and had many opportunities to meet in person to discuss the

Prochlorperazine increases at various programming and social events.

       2125. For example, on Sunday, April 21, 2013, Boothe and Orlofski had dinner together

with a representative of Pfizer. That same evening, Boothe and Orlofski also attended a wine

tasting hosted by Upsher-Smith. Also on Sunday, Vogel-Baylor told a potential GPO customer

that G&W would need to understand who its incumbent supplier was for Prochlorperazine, among

other drugs, before participating in a bid for new business.

       2126. Over the next several days, Perrigo sent out price increase notices to its customers

for Prochlorperazine specifying its new contract pricing.

       2127. On May 7, 2013, Associated Pharmacies, a Perrigo customer, e-mailed

          , a sales executive at G&W,

                                 :




                                                523
       2128.



                      After trading these accounts, the competitors fell back in line with the

agreement. By the Fall of 2013, the Prochlorperazine Suppositories market was again virtually

evenly split between Perrigo and G&W.

               2.     Tablets

       2129. As detailed further below in Section XIII, in August 2014, Patel and Rekenthaler

of Teva led price increases on a number of drugs, including Prochlorperazine tablets.

       2130. In order to coordinate the price increase with Mylan, Cadista, and Sandoz,

Rekenthaler communicated with Nesta at Mylan on August 7 and August 11. Nesta, in turn,

communicated with                , a senior sales executive at Cadista Pharmaceuticals, on the same

days that he had been communicating with Rekenthaler.

       2131.




       LLLLL. Promethazine HCL

       2132. Promethazine HCL, also known by the brand name Promethegan, is an

antihistamine that is used to treat some allergies, nausea, and vomiting. In late 2012 and early

2013, the competitors in the market for Promethazine HCL were Actavis, Perrigo, and G&W.

       2133. Starting in late August 2012 – around the same time that Vogel-Baylor first met

Rogerson at Actavis – G&W began planning a price increase for Promethazine HCL. Prior to




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implementing that increase, and as it had done on other products, G&W reached out to its

competitors to coordinate plans.

         2134. On September 18, 2012, Vogel-Baylor sent an internal e-mail to Michelle Sisco, a

sales analyst at G&W,

                       That same day, Vogel-Baylor also responded to a request from her boss,

Orlofski,                                                                                        . Vogel-Baylor

stated                                                                                                           . The

next day, on September 19, 2012, Orlofski replied:



         2135. Meanwhile, Vogel-Baylor was actively communicating with Rogerson of Actavis

regarding the increases. Indeed, on September 18, 2012 alone, Vogel-Baylor exchanged thirty-

four text messages with Rogerson.

         2136. Similarly, on September 19, 2012, Vogel-Baylor used her contact at Aurobindo,

CW-6, as a conduit to communicate with                    of Perrigo, the other competitor on Promethazine

HCL. This call pattern is detailed in the chart below. Notably, these are the same calls that Vogel-

Baylor used to convey information regarding the price increase on Halobetasol, another product

on which Perrigo and G&W overlapped, which was happening at the same time. The collusion on

Halobetasol is discussed in detail in an earlier Section.


   Date    Call Type   Target Name                 Direction   Contact Name                Time       Duration
   9/19/2012 Text      Vogel‐Baylor, Erika (G&W)   Outgoing    CW‐6 (Aurobindo)            10:16:11   0:00:00
   9/19/2012 Text      Vogel‐Baylor, Erika (G&W)   Incoming    CW‐6 (Aurobindo)            10:17:50   0:00:00
   9/19/2012 Text      Vogel‐Baylor, Erika (G&W)   Outgoing    CW‐6 (Aurobindo)            10:18:49   0:00:00
   9/19/2012 Voice     CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)   13:44:00   0:01:00
   9/19/2012 Voice     CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)   13:45:00   0:04:00
   9/19/2012 Voice     CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)              13:48:00   0:04:00
   9/19/2012 Voice     CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)   13:52:00   0:03:00
   9/19/2012 Voice     CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)              13:54:00   0:04:00
   9/19/2012 Voice     CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)   13:57:00   0:02:00



                                                       525
   9/19/2012 Voice       CW‐6 (Aurobindo)          Incoming   T.P. (Perrigo)                14:03:00 0:02:00
   9/19/2012 Voice       CW‐6 (Aurobindo)          Outgoing   Vogel‐Baylor, Erika (G&W)     14:04:00 0:02:00


       2137. After speaking with CW-6 for the final time on September 19, 2012, Vogel-Baylor

immediately called her boss, Orlofski, and spoke to him for thirteen minutes.

       2138. While Vogel-Baylor was communicating with                                    of Perrigo through her

contact CW-6,              was also communicating directly with                                  a sales executive

at Actavis, and reporting that information back to his superior, Wesolowski. This call pattern,

including the calls between                 and CW-6, are detailed in the chart below:

 Date        Call Type   Target Name        Direction   Contact Name                       Time       Duration
 9/19/2012   Voice       T.P. (Perrigo)     Outgoing    M.D. (Actavis)                     13:38:00   0:11:00
 9/19/2012   Voice       T.P. (Perrigo)     Incoming    CW‐6 (Aurobindo)                   13:48:00   0:04:00
 9/19/2012   Voice       T.P. (Perrigo)     Incoming    CW‐6 (Aurobindo)                   13:54:00   0:04:00
 9/19/2012   Voice       T.P. (Perrigo)     Outgoing    Wesolowski, John (Perrigo)         13:58:00   0:02:00
 9/19/2012   Voice       T.P. (Perrigo)     Outgoing    Wesolowski, John (Perrigo)         13:59:00   0:04:00
 9/19/2012   Voice       T.P. (Perrigo)     Outgoing    CW‐6 (Aurobindo)                   13:02:00   0:02:00


       2139. Over the next week, G&W worked to finalize its price increase for Promethazine

HCL. On September 21, 2012, Vogel-Baylor forwarded her initial price increase analysis to

Orlofski and scheduled a one-on-one meeting to discuss it on September 24, 2012. Two days later,

on September 26, 2012, Vogel-Baylor e-mailed

                                                                                                           In her e-

mail, Vogel-Baylor



       2140. Throughout this time period, Vogel-Baylor stayed in constant communication with

Rogerson at Actavis. For example, between September 25, 2012 and October 5, 2012 – the day

the price increase notices were sent – Vogel-Baylor exchanged thirty-eight text messages with

Rogerson. Similarly, Vogel-Baylor continued to keep                          of Perrigo informed of G&W’s

plans through her conduit CW-6. This call pattern is detailed in the chart below:



                                                        526
   Date        Call Type     Target Name                 Direction   Contact Name                Time     Duration
   9/21/2012   Voice         CW‐6 (Aurobindo)            Incoming    Vogel‐Baylor, Erika (G&W)   6:30:00 0:03:00
   9/21/2012   Voice         CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)              6:53:00 0:03:00
   9/21/2012   Voice         CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)   6:56:00 0:03:00
   9/21/2012   Voice         CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)              6:58:00 0:01:00
   9/21/2012   Voice         CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)              7:04:00 0:02:00
   9/21/2012   Voice         CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)   7:06:00 0:02:00
   9/21/2012   Voice         CW‐6 (Aurobindo)            Incoming    Vogel‐Baylor, Erika (G&W)   11:53:00 0:15:00
   9/27/2012   Voice         CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)   4:02:00 0:04:00
   9/27/2012   Voice         CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)              4:06:00 0:01:00
   9/27/2012   Voice         CW‐6 (Aurobindo)            Incoming    T.P. (Perrigo)              4:11:00 0:03:00
   9/27/2012   Voice         CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)   4:16:00 0:03:00
   10/5/2012   Voice         Vogel‐Baylor, Erika (G&W)   Outgoing    CW‐6 (Aurobindo)            5:30:01 0:01:41
   10/5/2012   Voice         CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)              5:38:00 0:02:00
   10/5/2012   Voice         CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)   5:39:00 0:06:00


         2141. Throughout this time period, Vogel-Baylor stayed in constant communication with

Rogerson at Actavis. For example, between September 25, 2012 and October 5, 2012 – the day

the price increase notices were sent – Vogel-Baylor exchanged thirty-eight text messages with

Rogerson. Similarly, Vogel-Baylor continued to keep                              of Perrigo informed of G&W’s

plans through her conduit CW-6. This call pattern is detailed in the chart below:

Date     Call Type         Target Name                   Direction   Contact Name                  Time       Duration
9/21/2012 Voice            CW‐6 (Aurobindo)              Incoming    Vogel‐Baylor, Erika (G&W)     6:30:00    0:03:00
9/21/2012 Voice            CW‐6 (Aurobindo)              Outgoing    T.P. (Perrigo)                6:53:00    0:03:00
9/21/2012 Voice            CW‐6 (Aurobindo)              Outgoing    Vogel‐Baylor, Erika (G&W)     6:56:00    0:03:00
9/21/2012 Voice            CW‐6 (Aurobindo)              Outgoing    T.P. (Perrigo)                6:58:00    0:01:00
9/21/2012 Voice            CW‐6 (Aurobindo)              Outgoing    T.P. (Perrigo)                7:04:00    0:02:00
9/21/2012 Voice            CW‐6 (Aurobindo)              Outgoing    Vogel‐Baylor, Erika (G&W)     7:06:00    0:02:00
9/21/2012 Voice            CW‐6 (Aurobindo)              Incoming    Vogel‐Baylor, Erika (G&W)     11:53:00   0:15:00
9/27/2012 Voice            CW‐6 (Aurobindo)              Outgoing    Vogel‐Baylor, Erika (G&W)     4:02:00    0:04:00
9/27/2012 Voice            CW‐6 (Aurobindo)              Outgoing    T.P. (Perrigo)                4:06:00    0:01:00
9/27/2012 Voice            CW‐6 (Aurobindo)              Incoming    T.P. (Perrigo)                4:11:00    0:03:00
9/27/2012 Voice            CW‐6 (Aurobindo)              Outgoing    Vogel‐Baylor, Erika (G&W)     4:16:00    0:03:00
10/5/2012 Voice            Vogel‐Baylor, Erika (G&W)     Outgoing    CW‐6 (Aurobindo)              5:30:01    0:01:41
10/5/2012 Voice            CW‐6 (Aurobindo)              Outgoing    T.P. (Perrigo)                5:38:00    0:02:00
10/5/2012 Voice            CW‐6 (Aurobindo)              Outgoing    Vogel‐Baylor, Erika (G&W)     5:39:00    0:06:00


         2142. On October 8, 2012, G&W published increased WAC pricing for Promethazine

HCL, which included an 18% increase on the 25mg dosage and a 35% increase on the 12.5mg

dosage.

         2143. Perrigo followed suit on December 4, 2012, when it notified customers that it would

be increasing contract pricing on Promethazine HCL effective January 5, 2013. Similarly, on


                                                            527
February 12, 2013 and April 3, 2013, Actavis also followed and increased its WAC pricing to

match G&W on the 12.5mg and 25mg dosages, respectively. On February 12, 2013, Rogerson

called Vogel-Baylor and they spoke for nearly twenty-two minutes.

       2144. The competitors were not satisfied to stop there, however. Knowing now that all

three competitors were on board to increase prices, they began contemplating a second increase

on Promethazine HCL – and this time, it would be much larger.

       2145. On March 25, 2013, Michelle Sisco, a sales analyst at G&W, forwarded Vogel-

Baylor updated sales data for Promethazine HCL. That same day, Orlofski of G&W sent a text

message to Boothe, an executive at Perrigo. The next day, on March 26, 2013, Boothe called

Orlofski back and they spoke for six minutes. Similarly, Vogel-Baylor continued to communicate

with           of Perrigo through her conduit, CW-6, about Promethazine HCL. These calls are

detailed in the chart below:

  Date      Call Type   Target Name                 Direction   Contact Name                Time       Duration
  3/26/2013 Voice       Vogel‐Baylor, Erika (G&W)   Outgoing    CW‐6 (Aurobindo)              12:59:51     0:00:15
  3/26/2013 Voice       Vogel‐Baylor, Erika (G&W)   Incoming    CW‐6 (Aurobindo)              13:21:57     0:06:46
  3/26/2013 Voice       CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)                13:28:00     0:01:00
  3/26/2013 Voice       CW‐6 (Aurobindo)            Incoming    T.P. (Perrigo)                17:33:00     0:02:00
  3/26/2013 Voice       CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)     17:36:00     0:01:00
  3/27/2013 Voice       Vogel‐Baylor, Erika (G&W)   Outgoing    CW‐6 (Aurobindo)              20:04:10     0:00:00
  3/27/2013 Voice       Vogel‐Baylor, Erika (G&W)   Incoming    CW‐6 (Aurobindo)              20:05:10     0:01:37
  3/28/2013 Voice       Vogel‐Baylor, Erika (G&W)   Outgoing    CW‐6 (Aurobindo)              18:19:55     0:00:03
  3/28/2013 Voice       CW‐6 (Aurobindo)            Outgoing    T.P. (Perrigo)                18:41:00     0:05:00
  3/28/2013 Voice       CW‐6 (Aurobindo)            Outgoing    Vogel‐Baylor, Erika (G&W)     18:46:00     0:01:00


       2146. On March 28, 2013, the same day as the last calls listed above, Vogel-Baylor

finalized a price increase analysis for Promethazine HCL and, on April 1, 2013, she forwarded that

information to Orlofski. Vogel-Baylor and Orlofski discussed some revisions to the analysis and,

on April 10, 2013, Vogel-Baylor sent the revised analysis to Orlofski. G&W planned to implement

the price increase on April 15, 2013, but ultimately sent the notices on April 16, 2013.




                                                        528
          2147. Meanwhile, all three competitors continued to coordinate their plans on

Promethazine HCL. Vogel-Baylor of G&W was speaking with Rogerson at Actavis, while

at Perrigo was speaking to                               at Actavis. These calls are detailed in the chart below:

Date      Call Type    Target Name                  Direction     Contact Name                         Time       Duration
 4/1/2013 Voice        Vogel‐Baylor, Erika (G&W)    Incoming      Rogerson, Rick (Actavis)               15:11:49     0:00:26
 4/3/2013 Text         Vogel‐Baylor, Erika (G&W)    Outgoing      Rogerson, Rick (Actavis)               13:51:41     0:00:00
 4/4/2013 Voice        Vogel‐Baylor, Erika (G&W)    Outgoing      Rogerson, Rick (Actavis)               13:55:41     0:01:30
 4/4/2013 Text         Vogel‐Baylor, Erika (G&W)    Incoming      Rogerson, Rick (Actavis)               17:33:07     0:00:00
 4/4/2013 Text         Vogel‐Baylor, Erika (G&W)    Incoming      Rogerson, Rick (Actavis)               19:32:16     0:00:00
4/11/2013 Voice        Vogel‐Baylor, Erika (G&W)    Outgoing      Rogerson, Rick (Actavis)               13:51:47     0:08:15
4/11/2013 Voice        Vogel‐Baylor, Erika (G&W)    Outgoing      Rogerson, Rick (Actavis)               13:51:47     0:08:15
4/11/2013 Voice        T.P. (Perrigo)               Outgoing      M.D. (Actavis)                          7:35:00     0:01:00
4/12/2013 Voice        T.P. (Perrigo)               Outgoing      M.D. (Actavis)                         13:12:00     0:25:00


          2148. At the same time, Vogel-Baylor continued to use CW-6 as a conduit to

communicate with                      of Perrigo regarding Promethazine HCL. This call pattern is detailed

in the chart below:

   Date    Call Type        Target Name                  Direction       Contact Name                Time       Duration
   4/4/2013 Voice           CW‐6 (Aurobindo)             Incoming        Vogel‐Baylor, Erika (G&W)   11:37:55   0:07:00
   4/5/2013 Voice           CW‐6 (Aurobindo)             Outgoing        T.P. (Perrigo)              13:25:00   0:01:00
   4/5/2013 Text            Vogel‐Baylor, Erika (G&W)    Incoming        CW‐6 (Aurobindo)            13:30:28   0:00:00
   4/5/2013 Text            Vogel‐Baylor, Erika (G&W)    Outgoing        CW‐6 (Aurobindo)            13:36:07   0:00:00
   4/5/2013 Voice           CW‐6 (Aurobindo)             Outgoing        T.P. (Perrigo)              16:44:00   0:01:00
   4/8/2013 Voice           Vogel‐Baylor, Erika (G&W)    Outgoing        CW‐6 (Aurobindo)            11:59:40   0:00:00
   4/8/2013 Voice           CW‐6 (Aurobindo)             Outgoing        T.P. (Perrigo)              12:00:00   0:04:00
   4/8/2013 Voice           CW‐6 (Aurobindo)             Outgoing        Vogel‐Baylor, Erika (G&W)   12:03:00   0:01:00
   4/8/2013 Voice           Vogel‐Baylor, Erika (G&W)    Outgoing        CW‐6 (Aurobindo)            12:18:02   0:00:03
   4/8/2013 Text            Vogel‐Baylor, Erika (G&W)    Outgoing        CW‐6 (Aurobindo)            12:23:18   0:00:00
   4/8/2013 Voice           Vogel‐Baylor, Erika (G&W)    Outgoing        CW‐6 (Aurobindo)            12:36:24   0:00:03
   4/8/2013 Voice           CW‐6 (Aurobindo)             Outgoing        Vogel‐Baylor, Erika (G&W)   12:53:00   0:04:00
   4/8/2013 Voice           CW‐6 (Aurobindo)             Outgoing        Vogel‐Baylor, Erika (G&W)   13:26:00   0:02:00
   4/9/2013 Voice           CW‐6 (Aurobindo)             Outgoing        T.P. (Perrigo)              11:08:00   0:04:00
   4/11/2013 Voice          Vogel‐Baylor, Erika (G&W)    Outgoing        CW‐6 (Aurobindo)            13:50:56   0:00:29
   4/11/2013 Voice          CW‐6 (Aurobindo)             Outgoing        Vogel‐Baylor, Erika (G&W)   14:00:00   0:06:00
   4/11/2013 Voice          CW‐6 (Aurobindo)             Outgoing        T.P. (Perrigo)              14:09:00   0:01:00
   4/11/2013 Voice          CW‐6 (Aurobindo)             Outgoing        T.P. (Perrigo)              16:52:00   0:06:00
   4/11/2013 Voice          CW‐6 (Aurobindo)             Outgoing        Vogel‐Baylor, Erika (G&W)   16:59:00   0:01:00
   4/11/2013 Voice          CW‐6 (Aurobindo)             Incoming        Vogel‐Baylor, Erika (G&W)   17:05:00   0:02:00


          2149. According to the plan, on April 17, 2013 G&W published new WAC pricing for

Promethazine HCL, increasing WAC from $38.99 to $116.97 – an approximately 200% increase.




                                                                529
        2150.

                                                                                 . Sisco forwarded the

request to Vogel-Baylor who responded,




        2151. A few weeks later, Actavis followed G&W’s price increase on Promethazine HCL

and, on June 5, 2013, published WAC pricing that matched G&W. Prior to increasing its price,

and as it had now done several times before, Actavis spoke with both G&W and Perrigo. These

calls are detailed in the chart below:

        2152. On June 26, 2013, Vogel-Baylor e-mailed Orlofski

                               . Vogel-Baylor explained,




                                      The next day, Vogel-Baylor received a short phone call from

                , a sales executive at Perrigo. Several hours later, Vogel-Baylor placed a phone

call to Orlofski.

        2153. G&W had no reason to fear because a few weeks later, on July 30, 2013, Perrigo

notified its customers that it was increasing price on a list of products, including Promethazine

HCL, with an effective date of August 1, 2013. This included an increase to its WAC pricing that

matched G&W and Actavis. In the days leading up to Perrigo’s price increase, the three

competitors again spoke several times by phone. These calls are detailed in the chart below:

   Date       Call Type   Target Name                 Direction   Contact Name              Duration
    7/29/2013    Voice    Vogel‐Baylor, Erika (G&W)   Outgoing    Rogerson, Rick (Actavis)      0:01:11
    7/30/2013    Voice    T.P. (Perrigo)              Incoming    Vogel‐Baylor, Erika (G&W)     0:03:00




                                                  530
    7/30/2013    Voice   T.P. (Perrigo)               Outgoing   Vogel‐Baylor, Erika (G&W)     0:01:00
    7/30/2013    Voice   Vogel‐Baylor, Erika (G&W)    Outgoing   T.P. (Perrigo)                0:02:33
    7/30/2013    Voice   Vogel‐Baylor, Erika (G&W)    Incoming   T.P. (Perrigo)                0:00:00
    7/30/2013    Voice   Vogel‐Baylor, Erika (G&W)    Outgoing   T.P. (Perrigo)                0:09:06
    7/31/2013    Voice   T.P. (Perrigo)               Outgoing   M.D. (Actavis)                0:01:00
    7/31/2013    Voice   T.P. (Perrigo)               Outgoing   M.D. (Actavis)                0:01:00
    7/31/2013    Voice   T.P. (Perrigo)               Incoming   M.D. (Actavis)                0:21:00


        2154. Several months later, the collusion continued on Promethazine HCL. On March 5,

2014,              , a G&W sales executive, informed Vogel-Baylor that Walgreens had received

an offer from Actavis for a one time buy on the 25mg dosage at a significantly discounted price of

$42.08. G&W would later learn that Actavis had made the offer because it had an excess of short-

dated inventory on the 25mg dosage. This information stunned Vogel-Baylor, who asked



        2155. Despite her initial surprise, Vogel-Baylor                            to Orlofski:



                                             , Vogel-Baylor placed a call to Rogerson fifteen minutes

later. The two competitors continued to trade phone calls over the next several days, including a

call on March 6, 2014 that lasted eleven minutes.

        2156. Apparently, Vogel-Baylor’s communications with Rogerson did yield a solution to

her problem. On March 18, 2014, she e-mailed Walgreens

                                         .

        2157. Over the next several months, G&W would continue to decline to bid on new

opportunities for Promethazine HCL so as not to upset the market share balance it had achieved

with its competitors.

        2158. For example, on May 5, 2014,                             , a sales executive at G&W,

summed up G&W’s commitment to the conspiracy when she told a customer, PBA Health, that



                                                   531
she

                                            Similarly, on May 30, 2014, Vogel-Baylor



                                                                              Further, on August 8,

2014, Vogel-Baylor told




       2159. Lastly, on August 25, 2014, McKesson – an Actavis customer – e-mailed



                                        , asked Vogel-Baylor if

                                        . Vogel-Baylor

August 28, 2014 stating:



       MMMMM. Propranolol

       2160. The market for Propranolol is mature, as Propranolol has been available in the

United States for decades. Propranolol, also known by various brand names including Inderal LA,

Inderal XL, Hemangeol and InnoPran XL, is a beta-blocker used to treat high blood pressure,

irregular heartbeats, shaking (tremors), and other conditions. The drug is considered an essential

medicine by the World Health Organization, and is used by millions of patients in the United

States. The price for Propranolol had fallen steadily since its introduction in the 1960s, and as

recently as early 2013, a monthly prescription for Propranolol cost as little as $8.00.

       2161. Actavis, Breckenridge, and Upsher-Smith each manufacture Propranolol in capsule

form, while Actavis, Mylan, Teva, Pliva, UDL, Par, and Heritage manufacture Propranolol in



                                                532
tablet form. Each sold either Propranolol capsules or tablets (or both) to Plaintiff, its assignor, and

others in the United States at supracompetitive prices inflated by the unlawful and anticompetitive

agreements alleged in this Complaint.

                 1.     Propranolol Capsules

          2162. Actavis, Breckenridge, and Upsher-Smith implemented a collusive price increase

beginning in November 2013 on Propranolol capsules. Breckenridge, which had previously had

lower prices for Propranolol capsules, increased its prices for all dosages by 88% to 140%.

Upsher-Smith followed in December with a corresponding price increase on all dosages of

Propranolol capsules that ranged from 49% to 79%, depending on the dosage strength. In February

2014, Actavis increased prices for all dosages of Propranolol capsules by 64% to 81%, depending

on the dosage strength.       Although prices fell slightly from their peak in 2014, Actavis,

Breckenridge, and Upsher-Smith still continue to price Propranolol capsules at supracompetitive

levels.

          2163. Upon information and belief, the price increases on Propranolol capsules were the

result of collusive agreements between and among Defendants that were initiated by Actavis to

increase pricing and restrain competition for the sale of Propranolol capsules to Plaintiff, its

assignor, and others in the United States. These collusive agreements were furthered, at least in

part, through in-person discussions conducted at meetings and industry events hosted by GPhA

and HDMA as well as other meetings and communications as described in Ex. 1.

                 2.     Propranolol Tablets

          2164. Although the conspiring Defendants increased prices on Propranolol capsules by

early 2014, Defendants’ prices for Propranolol tablets remained stable throughout 2014.




                                                 533
       2165. Beginning in January 2015, however, Actavis, Mylan, Teva, Pliva, UDL, Par, and

Heritage colluded to increase prices on Propranolol tablets as well.

       2166. On January 15, 2015, Actavis sent a notice to its customers informing them of a

significant increase to its WAC and Suggested Wholesale Prices (SWP) for Propranolol. The

increases would not become effective (and thus publicly visible to the rest of the market) until

February 17, 2015.

       2167. In the days before Actavis sent this notice to its customers, Falkin of Actavis and

Rekenthaler of Teva spoke frequently. For example:




       2168. Indeed, the day before Actavis sent the price increase notice to its customers,

Rekenthaler coordinated the price increase with Falkin and Nesta of Mylan – the other quality

competitor in the market for Propranolol. The timing and duration of those phone calls are set

forth in the table below:




       2169. On January 16, 2015 – more than a month before the Actavis price increase for

Propranolol was disclosed to the public –



                  :



                                               534
       2170. Teva raised its pricing for Propranolol on January 28, 2015 – before the Actavis

price increase even became effective.       As discussed above, Rekenthaler was in constant

communication with Falkin of Actavis and Nesta of Mylan in the days leading up to Teva’s price

increase.

       2171. When the Actavis price increase on Propranolol did become effective – on February

17, 2015 – Rekenthaler and Falkin continued to discuss pricing. For example, the day before those

price increases became visible to the public – February 16, 2015 – Rekenthaler and Falkin spoke

two times, including one call lasting nearly twenty- three minutes. Rekenthaler then spoke to

Nesta twice on February 18, 2015 and again on February 19, 2015.

       2172. Heritage increased effective prices by 102%-151% in January 2015, and, a few

weeks later, Teva, Pliva, and Actavis increased their own prices in March 2015 by 566%-898%

and 395%-638%, respectively. Mylan and Par began increasing their prices soon after, by amounts

ranging from 55%-607% and 52%-216%, respectively. Actavis, Mylan, Teva, Pliva, Par, and

Heritage continued to increase prices throughout 2015, and by January 2016, Defendants had

increased their prices for some strengths of Propranolol tablets by more than 1700%. For example,

Actavis raised its prices of 80 mg Propranolol tablets from an average of $0.30 to $0.46 per tablet

between December 2014 and November 2015.


                                               535
       2173. With respect to both the capsule and the tablet price increases, even in those

instances in which the Defendants did not increase prices in perfect unison, they still managed to

align their pricing on a bi-monthly or quarterly basis, which is consistent with an illegal agreement.

       2174. Due to this coordination, Defendants charged supracompetitive pricing on

Propranolol to Plaintiff, its assignor, and others in the United States.

       NNNNN. Spironolactone HCTZ

       2175. Spironolactone HCTZ is used to treat high blood pressure, heart failure, and edema.

During the period relevant to this Complaint, Greenstone, Mylan, and Sun were the primary

manufacturers of Spironolactone HCTZ tablets.

       2176. Prior to 2013, Spironolactone HCTZ tablets cost pennies per pill. However,

beginning in February 2013, Defendants conspired to increase prices twice in the span of 18

months, and by the end of 2014, Spironolactone HCTZ tablets cost approximately 500% more than

they did in early 2013.

       2177. Greenstone, Mylan, and Sun and communicated directly with each other in

furtherance of the conspiracy. As noted elsewhere in this Complaint, Jim Nesta of Mylan was in

constant contact with Jill Nailor and                    of Greenstone throughout the conspiracy,

including during the periods that Defendants were implementing their price increases on

Spironolactone HCTZ. For example,               and Nesta spoke at least 12 times between February

2013 and April 2013. Nailor and               were likewise in frequent contact with Aprahamian,

Perfetto, and CW-1 of Sun’s subsidiary, Taro. Additionally, Gary Tighe of Mylan spoke with

Chris Urbanski of Sun/Taro for twenty-five minutes on March 17, 2014 and for five minutes on

March 18th.                     of Mylan and Aprahamian of Taro (and on behalf of Sun) spoke




                                                 536
several times during this period: on March 18, 2014, on June 4th, twice on June 6th, once on June

9th, at least three times on July 2nd and for seven minutes on July 10th.

       2178. Due to this coordination, Defendants charged supracompetitive pricing on

Spironolactone HCTZ tablets to Plaintiff, its assignor, and others in the United States.

       OOOOO. Tacrolimus Ointment

       2179. Tacrolimus Ointment (“Tacrolimus”), also known by the brand name Protopic, is a

secondary treatment option for moderate to severe eczema. Tacrolimus is available in 30gm, 60gm

and 100gm dosages. Recent annual sales of Tacrolimus Ointment in the United States exceeded

$100 million.

       2180. In August 2014, Sandoz and Perrigo were both preparing to launch Tacrolimus.

Sandoz was the first-to-file generic and Perrigo was the authorized generic.

       2181. On August 13, 2014 at 3:57 p.m.,                  , a Sandoz launch executive, sent an

internal e-mail

                                              . At 5:11 p.m. that same day, CW-3, a Sandoz senior

sales executive, called              , a Perrigo sales executive, and they spoke for fifteen minutes.

Notably, prior to this call, CW-3 and          had not spoken since June 18, 2014. Within a half

hour of hanging up with              CW-3 sent the following e-mail

         :




                                                537
       2182. On September 8, 2014, Sandoz held a Commercial Operations meeting during

which they discussed the Tacrolimus launch. That same day, CW-3 called                 four times,

with one call lasting eleven minutes and another six minutes. On those calls, CW-3 and

discussed the Tacrolimus launch and decided to model it after the Cal Beta Ointment launch. As

discussed above in the previous Section, in the spring of 2014 CW-3 and            had colluded on

Cal Beta Ointment when Sandoz was entering as the first-to-file generic and Perrigo as the AG.

By using Cal Beta Ointment as a model, the competitors would not have to spend significant time

negotiating the allocation of customers for Tacrolimus.

       2183. That same day, on September 8, 2014, CW-3 sent the following e-mail to Sandoz

launch executives,                and                     , with a copy to CW-1, a Sandoz senior

pricing executive:




       2184. Two days later, on September 10, 2014, CW-3 called                and they spoke for

fifteen minutes. During that call, the competitors again talked about the Tacrolimus launch.

Specifically, they discussed the allocation of certain customers to Sandoz and Perrigo so that each

competitor could reach 50% market share. Further,             provided CW-3 with




                                               538
                                              . CW-3’s contemporaneous notes from that call are

pictured below:




       2185. In his notes, CW-3

                                                                  . Sandoz planned to




       2186. On November 10, 2014,                       , a Perrigo sales executive, e-mailed

Wesolowski, a senior Perrigo executive, to

                    . In turn, Wesolowski e-mailed           and others at Perrigo

                              . That same day,          and CW-3 spoke two times, with one call

lasting two minutes and the second lasting three minutes. During those calls, CW-3 told

that Sandoz had not yet formally launched the product or started shipping to customers. Later that

afternoon,



                                                              .




                                               539
       2187. On November 19, 2014, Sandoz launched Tacrolimus and Perrigo launched on the

following day, November 20, 2014. Consistent with the competitors’ plans, Sandoz was awarded

CVS, Cardinal, Omnicare, and Econdisc, among other customers. As planned, Perrigo won

Walgreens, Walmart, ABC (secondary), Anda, Optisource, and Publix.

       2188. On November 20, 2014, Boothe, a senior Perrigo executive, sent around a

               e-mail to the Perrigo team                                      . He specifically

                                 , a Perrigo business development executive, and

                          A few days later, in

                                        Van Stedum replied,



       PPPPP. Temozolomide

       2189. Temozolomide, also known by the brand name Temodar, is used to treat

glioblastoma multiforme and refractory anaplastic astrocytoma, both cancers of the brain.

       2190. The patent on Temodar was set to expire in early 2014, but both Teva and Sandoz

had independently obtained the right to launch in August 2013 – six months prior to the patent

expiration. Leading up to the launch of the generic, Teva coordinated with Sandoz to divide up

the market.

       2191. On July 18, 2013, a large retail pharmacy customer submitted an RFP to Sandoz

for Temozolomide. Playing by the rules of the road, Sandoz waited to see what Teva was going

to do before submitting their own bid. That same day, CW-1 received a telephone call from Patel.

Patel sought information on Sandoz’s current customers and discussed options to allocate

customers for Temozolomide. Nothing was agreed to on that call.




                                              540
       2192. On July 22, 2013, Patrick Genestin, a senior Sandoz executive,




       2193. At the same time, CW-1 was reaching out to Teva directly to get more information.

CW-1 called Patel at approximately 1:45 p.m. on July 23, 2013. After exchanging voicemails,

they spoke for over fourteen minutes that same afternoon.

       2194. On July 30, 2013, another customer, CVS Caremark, contacted Teva

                        .                    , a senior sales executive at Teva,

                               , Rekenthaler,                                            Rekenthaler

responded by alluding to the




                      Rekenthaler most likely got his information from Patel. Just one day earlier,

on July 29, 2013, Patel had called CW-1 at Sandoz and spoke for nine minutes, where the two

discussed how to carve up the market for the drug.

       2195. Teva and Sandoz were also coordinating through other channels. After receiving

the RFP from Walgreens,                     of Sandoz coordinated with                     , a senior

account executive at Teva, on a seven minute call on July 29, 2013 followed by an eleven minute

call on July 31, 2013. After those calls,                        in an internal e-mail on July 31 that




                                                  541
       2196. Similarly, on July 29, 2013, Green spoke to CW-2 of Sandoz two times. The two

spoke again on July 31, 2013 for six minutes. During those calls, Green told CW-2 about Teva’s

launch plans and that Teva wanted Walgreens’ business. The next day, August 1, 2013,

       another Sandoz executive, e-mailed Kellum,                                   :




       2197.

                                             . On July 31, 2013,       of Sandoz e-mailed an

                          to his coworker, stating:



       2198. Going forward, Sandoz and Teva continued to coordinate with respect to

Temozolomide. On August 12, 2013, the same day as Teva’s launch, CW-2 met in person with

Rekenthaler at the Grand Lux Café in Las Vegas during the NACDS Total Store Expo conference.

There, Rekenthaler discussed, among other things, Temozolomide and informed CW-2 that Teva

had officially launched and shipped all formulations of the drug.

       2199. Although Teva initially obtained the CVS account in August 2013 due to Sandoz’s

inability to supply the 250mg strength of Temozolomide, the companies had agreed that the


                                               542
account would revert back to Sandoz once Sandoz could supply that dosage strength. In an internal

e-mail dated August 16, 2013, a Teva employee



       2200. CW-1 spoke to Patel both before and after Sandoz sent out any offers regarding

Temozolomide in an effort to develop and ensure the appropriate market share allocation between

the two competitors.

       QQQQQ. Theophylline ER

       2201. The market for Theophylline ER is mature, as Theophylline has been used to treat

various conditions since approximately 1900. Heritage and Teva sold Theophylline ER to

Plaintiff, its assignor, and others in the United States at supracompetitive prices inflated by the

unlawful and anticompetitive agreements alleged in this Complaint.

       2202. In February 2014, Teva’s Patel spoke with Heritage’s Malek for more than an hour

regarding a number of potential drugs on which prices could be increased. Upon information and

belief, during that conversation, Heritage and Teva agreed that they would increase prices for

Theophylline ER.

       2203. Teva agreed that it would lead the price increase for Theophylline ER. By late

April 2014, Teva fully implemented a price increase on the drug of approximately 150%.

       2204. During an internal company meeting on April 22, 2014, Malek informed sales

employees at Heritage that Heritage would follow Teva’s price increase and raise prices for

Theophylline ER by approximately 150%.

       2205. Heritage began announcing the price increase to customers in late June 2014, and

by July 9, 2014, it had fully implemented the collusive 150% price increase of Theophylline ER.




                                               543
       2206. As a result of the unlawful agreement on Theophylline ER between Teva and

Heritage, Defendants charged supracompetitive prices to Plaintiff, its assignor, and others in the

United States.

       RRRRR. Timolol Maleate

       2207. Timolol Maleate is used to treat high pressure inside the eye due to glaucoma or

other eye diseases. During the period relevant to this Complaint, Sandoz and Valeant were the only

manufacturers of Timolol Maleate gel, and they divided the market in accordance with the

conspiracy’s rules.

       2208.

        and – consistent with the conspiracy’s rules – declined to compete for business that would

have resulted in Sandoz getting more market share than the conspiracy’s rules allowed. For

example, in May 2013 Sandoz decided not to bid for one of Valeant’s accounts because

                 Similarly, following the successful price increase, a Sandoz executive advised

CW-1 and CW-3 that Sandoz



       2209. Beginning in November 2013, Sandoz and Valeant coordinated to increase their

prices on Timolol Maleate. Valeant first initiated a modest WAC price increase of approximately

25% in November 2013. In January 2014, Sandoz responded with a WAC increase of more than

200%. One month later, Valeant raised its prices again, matching Sandoz’s price increase.

       2210. Valeant and Sandoz communicated directly with each other in furtherance of the

conspiracy. For example, both companies sent representatives to the February 2014 ECRM Retail

Pharmacy Efficient Program Planning Session in Amelia Island, Florida. Sandoz had raised its




                                               544
list (WAC) prices before the conference, and Bausch announced the second portion of its price

increases in March.

       2211. As a result of this coordination and their commitment to the conspiracy’s rules,

Sandoz and Valeant were able to charge supracompetitive pricing for Timolol Maleate to Plaintiff,

its assignor, and others in the United States.

       SSSSS. Tobramycin

       2212. Tobramycin, also known by the brand name Tobi, is an eye drop used to treat

bacterial infections.

       2213. Beginning in October 2013, prior to the first generic launch of Tobramycin (for

which Teva would have 180-day generic exclusivity), Sandoz began making plans for its entry

after Teva’s exclusivity period.




       2214. As expected, Teva was

         Nearing Teva’s loss of exclusivity and Sandoz’s entry, on July 1, 2014, Teva and Sandoz

began sharing information and coordinating to divide up the market for Tobramycin. Patel

exchanged seven calls with CW-1 on July 1, during which they discussed Sandoz’s launch plans

and how to divide up the market for Tobramycin. Patel                                       in an

internal Teva e-mail the same day, writing:




                                                 545
                             The next day, Teva made the decision to concede two different

accounts for Tobramycin to Sandoz.

       2215. On July 7, 2014, Patel and CW-1 spoke five more times, including one call lasting

eleven minutes. On these calls, CW-1 and Patel discussed how to divide up the market for

Tobramycin, including specific accounts that each would maintain or concede to the other. Patel

then memorialized the agreement in an e-mail two days later. The result: Teva would take

Walgreens, McKesson, Econdisc, ABC, and Omnicare. Teva also planned to concede the Cardinal

business to Sandoz.

       2216. Patel told CW-1 specifically that Teva would not even submit a bid to CVS. This

was significant because Tobramycin was a very expensive product, and Sandoz was able to acquire

the CVS business by offering only a nominal reduction to the extremely high Teva price.

       2217. According to plan,

                                                                      . Rekenthaler wrote in an

internal e-mail:




       2218. CW-1, in turn, told Patel that Sandoz would not pursue business from ABC and

Walgreens. CW-1 spoke with Kellum about his conversations with Patel and the agreement to

stay away from Walgreens and ABC, and Kellum agreed with the plan. Pursuant to that agreement,

Sandoz made no effort to contact those two large customers when it entered the market.

       2219. CW-1 and Patel                                              . CW-1 informed Patel

that Sandoz                           , but Patel

                                                                      , Patel went back to CW-



                                             546
1                                                         Sandoz                               , as

Patel                 Sandoz

        2220. On July 9, 2014, one of the above allocated customers,

                                              . A Teva analyst stated in an internal e-mail,

                                                                        A Teva national accounts

director                                              :

                          The analyst responded and said,



                                                                                            Patel’s

           had come after she had called CW-1 at Sandoz twice on July 9, 2014 and left him a

voicemail. CW-1 then returned her call the same day and the two spoke for four minutes.

        TTTTT. Tolterodine

        2221. Tolterodine Tartrate, also known by the brand name Detrol, is in the antispasmodics

class of medications and is prescribed to treat an overactive bladder. Tolterodine Extended Release

(“Tolterodine ER”) – also known by the brand name Detrol LA – is an extended release version

of the drug used for the same purpose.

               1.       Tolterodine ER

        2222. Teva planned to launch the first generic version on January 2, 2014. During the

first half of December 2013, Teva was under the impression that Mylan was not in a position to

launch until 30 to 60 days after Teva launched. Nonetheless, Teva was considering how to allocate

the market with Mylan when it did eventually launch. On December 3, 2013,                       , a

marketing executive at Teva, sent an e-mail to Rekenthaler,                and several other Teva

colleagues stating:



                                               547
       2223. Through the first half of December 2013, as Teva was soliciting usage amounts

from potential customers, customers were asking Teva to send in pricing offers before the launch.

Teva resisted sending out those offers and instead did not plan to do so until the January 2, 2014

launch date. Teva’s delay in putting together pricing for potential customers was part of a plan to

drive up the amount it could charge for Tolterodine ER. Specifically, Teva expected that on

January 1, 2014, the price of branded Detrol LA was going to increase. This would allow Teva to

peg its price to the now inflated price of the branded drug and thereby command a higher price for

Tolterodine ER on the January 2, 2014 generic launch date.

       2224.            informed her Teva colleagues

                                                                                      of Teva then




       2225. On Monday, December 23, 2013, Rekenthaler, Patel,                                 and

several others at Teva had a telephone conference scheduled from 8:00 a.m. to 9:00 a.m. to discuss

the Tolterodine ER launch strategy. Just minutes before the meeting was to start, Rekenthaler tried

calling Nesta at Mylan. Nesta returned Rekenthaler’s call at 8:15 a.m., which was during Teva’s



                                               548
scheduled Tolterodine ER phone conference. Rekenthaler nonetheless answered Nesta’s call on

his cell phone and the pair spoke for 1 minute, 26 seconds. Immediately after Teva’s scheduled

Tolterodine ER phone conference, Rekenthaler tried calling Nesta two more times. At 10:22 a.m.,

Nesta returned Rekenthaler’s calls and the pair spoke for an additional 12 minutes, 2 seconds.

During these calls, Rekenthaler and Nesta exchanged the details about their offers to various

customers, including the specific contractual language used in their offers.

       2226. For example, at 10:33 a.m. – while Rekenthaler was still on the phone with Nesta,

           sent an e-mail to Rekenthaler and others asking

                                                              . Minutes after Rekenthaler finished

his call with Nesta,




       2227. Most importantly though, during these calls between Nesta and Rekenthaler, Teva

and Mylan reached an agreement to allocate the Tolterodine ER market on launch day so that Teva

and Mylan could reach their target share without eroding pricing.

       2228. At 12:12 p.m. on December 23, 2013,




                                               549
       2229. In exchange for Mylan either submitting cover bids or abstaining from bidding on

these customers, Teva reciprocated by submitting cover bids and/or refusing to submit bids to

customers that Mylan targeted. This is demonstrated by the fact that Teva’s newly revised pricing

plan now included considerably higher direct invoice prices for major customers located to Mylan;

Walgreens, Cigna, Humana, Prime Therapeutics, Optum, and Kaiser.

       2230. In addition to submitting inflated bids for the accounts listed above, Teva agreed to

refrain from bidding for certain customers, such as Publix, Ahold, Hannaford, and PVA Health.

       2231. The following day, on December 24, 2013, Rekenthaler and Nesta had two more

calls to confirm and refine Teva and Mylan’s market allocation agreement. Those calls lasted for

nine minutes and eight minutes, respectively.

               2.     Tolterodine Tartrate

       2232. Greenstone entered the market for Tolterodine Tartrate 1mg and 2mg Tablets

(“Tolterodine”) on January 23, 2014 with the exact same WAC prices as Teva for all formulations.

In the days leading up to Greenstone’s entry,           and Nailor of Greenstone were speaking

frequently to Patel and Rekenthaler of Teva to coordinate Greenstone’s entry into the market.

Those calls and text messages include at least those set forth below:




                                                550
       2233. During these calls and text messages, Teva and Greenstone agreed that Teva would

concede business to Greenstone in order to avoid significant price erosion in the market.

       2234. The day after Greenstone’s entry – January 24, 2014 – in a message to Teva national

account managers



                                       Patel stated:



       2235. On January 28, 2014, Teva

                                               Teva immediately asked:

            Rekenthaler

       :




                                               551
       2236. The next day, Patel and            of Greenstone tried to reach each other several

times, and were ultimately able to speak once, for more than two minutes.

       2237. On Monday, February 3, 2014,



                            of




       2238. The next day, Patel called             at Greenstone and the two spoke for nearly

sixteen minutes.

       2239.




                                              552
       UUUUU. Triamcinolone Acetonide

       2240. Triamcinolone Acetonide, also known by the brand names Aristocort, Aristocort

HP, Kenalog, and Triderm, is a corticosteroid that is used to treat a variety of skin conditions,

including eczema, dermatitis, allergies, and rashes. Triamcinolone Acetonide is available as both

a cream and an ointment. During the period relevant to this Complaint, Par, Perrigo,

Sandoz/Fougera, and Taro were the primary manufacturers of Triamcinolone Acetonide.

       2241. As of July 2010, Fougera and Perrigo were the only generic manufacturers in the

market for both Triamcinolone Acetonide Cream and Ointment. They took advantage of their

already ongoing collusive relationship to raise prices on both products. On July 1, 2010 and again

on July 20, 2010, Fougera raised WAC prices for various sizes and formulations of both the cream

and the ointment. CW-3, a sales executive at Fougera,

                      On July 21 and July 30, 2010, Perrigo increased its own WAC prices on the

same products to comparable levels.

       2242. In the days leading up to, and surrounding these increases, CW-6 and

(Perrigo) exchanged at least eight calls. These calls are detailed in the chart below:

      Date      Call Type     Target Name      Direction   Contact Name     Time      Duration
      6/30/2010      Voice    T.P. (Perrigo)   Incoming    CW-6 (Fougera)    12:29:36    0:00:59
       7/1/2010      Voice    T.P. (Perrigo)   Incoming    CW-6 (Fougera)    11:32:00    0:00:04
      7/21/2010      Voice    T.P. (Perrigo)   Incoming    CW-6 (Fougera)    11:43:00    0:00:07
      7/22/2010      Voice    T.P. (Perrigo)   Incoming    CW-6 (Fougera)    12:19:10    0:00:59
      7/22/2010      Voice    T.P. (Perrigo)   Incoming    CW-6 (Fougera)    18:22:47    0:04:38
      7/22/2010      Voice    T.P. (Perrigo)   Incoming    CW-6 (Fougera)    18:27:29    0:00:04
      7/22/2010      Voice    T.P. (Perrigo)   Incoming    CW-6 (Fougera)    18:28:03    0:03:23
      7/29/2010      Voice    T.P. (Perrigo)   Incoming    CW-6 (Fougera)    11:37:26    0:00:33
       2243. After the price increases, both companies adhered to their understanding not to

poach the other’s customers or improperly take advantage of the price increase by seeking

additional market share.



                                                  553
           CW-3 of Fougera e-mailed Kaczmarek, his supervisor, stating,




         2244. That same day, Kaczmarek called CW-6. The call lasted two minutes. CW-6 then

called          and they spoke for three minutes. CW-6 hung up with             called Kaczmarek

back, and they spoke for five minutes. Immediately upon hanging up, Kaczmarek responded to

CW-3's e-mail, with a copy to CW-6. Confident that the agreement with Perrigo was strong,

Kaczmarek stated,                                                               At the same time,

         called his supervisor, Wesolowski, and they spoke for five minutes.

         2245. The following week, on August 3 and 6,                     of Par spoke twice with

a sales executive from Taro calling from the company’s main line. Between October 2010 and

March 2011,              spoke at least 10 times with            of Taro, and also exchanged calls

with Taro’s main company line during this period as well (which makes it impossible to determine

from phone records whether she was speaking with              or someone else from Taro). Upon

information and belief,              communicated to           that Par was following the price

increase on Triamcinolone Acetate as well, and that Par would also follow the conspiracy’s rules

and not poach market share from the other manufacturers.

         VVVVV. Triamterene HCTZ

         2246. Triamterene HCTZ is a medication used to treat high blood pressure as well as other

ailments. During the period relevant to this Complaint, Actavis, Apotex, Lannett, Mylan, and

Sandoz were the primary manufacturers of Triamterene HCTZ. Sandoz and Mylan manufactured



                                                554
the drug in both tablet and capsule formulations, while Actavis and Apotex made just tablets, and

Lannett made just capsules.

        2247. In late 2011, Mylan led price increases on both capsules and tablets, and Sandoz

and Actavis followed shortly thereafter. Mylan’s price increases were between 100% and 300%,

depending on the strength and formulation. Throughout this time period, CW-1 of Sandoz was in

constant contact with Edgar Escoto, Mylan’s Director of National Accounts. Indeed, the two spoke

hundreds of times in 2011 and 2012. Additionally, Armando Kellum of Sandoz spoke with Rick

Rogerson of Actavis on May 5, 2011, July 28, 2011, and September 28, 2011, and

            of Mylan spoke with                   (Sandoz’s Executive Director of Marketing) in

November 2011. As a result of this coordination, each of the three companies announced their

price increases on the formulations of Triamterene HCTZ that each manufactured by November

2011.

        2248. Prior to 2012, neither Apotex nor Lannett manufactured Triamterene HCTZ.

However, in a familiar pattern, both entered the market in early 2012 after the existing

manufacturers imposed large price increases. However each company received its allocated share

of the market after the incumbent suppliers followed the overarching conspiracy rules, and both

Apotex (on tablets) and Lannett (on capsules) were able to enter the market at prices that were

higher than the existing market prices.

        2249. Additionally, to determine which tablet customers it should bid on,

of Actavis spoke with             (a National Account Manager at Apotex) on March 8 and March

16, 2012.




                                               555
       2250. Similarly,              (Mylan’s VP of Sales) coordinated with               (Lannett’s

VP of Sales) on April 19, 20, and 23, to determine which customers Lannett should bid on in

accordance with the rules of the conspiracy.

       2251. As a result of this coordination, Defendants were able to charge supracompetitive

prices on Triamterene HCTZ to Plaintiff, its assignor, and others in the United States.

       WWWWW. Ursodiol

       2252. Generic versions of Ursodiol have been available in the United States since 2000.

At all times relevant to this lawsuit there has been more than one manufacturer of Ursodiol on the

market. Defendants Actavis, Lannett, and Epic dominated the market for Ursodiol and sold it to

Plaintiff, its assignor, and others in the United States at supracompetitive prices inflated by the

unlawful and anticompetitive agreements alleged in this Complaint.

       2253. In the years prior to the conspiracy period, Defendants’ average price in the U.S.

for Ursodiol were remarkably stable. Beginning in or around May 2014, Defendants increased

their prices for Ursodiol abruptly and, for the most part, in unison.

       2254. By way of example, beginning in May 2014, Defendants selling generic Ursodiol

set their WACs in near lockstep, reflecting increases from previous WACs on the 300 mg capsule

of more than 560%:

  Product                                       Old                      Date of      Percentage
              Defendant          NDC                       New WAC
    Cap                                         WAC                     Increase       Increase
 300 mg      Lannett          00527132601              *        $5.11    1-May-14                *
 300 mg      Epic             42806050301          $0.45        $5.10    6-May-14           1034%
 300 mg      Actavis          00591315901          $0.77        $5.11    24-Jun-14           562%

       2255. Ursodiol was one of the drugs identified in the GAO Report as having experienced

an “extraordinary price increase.”



                                                 556
       2256. Furthermore, there are no legitimate reasons or explanations for the unprecedented

and dramatic price increases of Ursodiol. Demand for Ursodiol has not materially changed in the

last few years, nor does any change in input costs explain these price increases. Furthermore, at

the time Ursodiol prices were increased in Summer 2014, there were no known raw material

shortages that would have constrained Defendants’ ability to supply the market.

       2257. Upon information and belief, the price increases on Ursodiol were the result of

collusive agreements between and among Defendants that were initiated by Actavis to increase

pricing and restrain competition for the sale of Ursodiol in the United States. These collusive

agreements were furthered, at least in part, through in-person discussions conducted at meetings

and industry events hosted by GPhA and HDMA as well as other meetings and communications,

some of which are highlighted below.

       2258. For example, on October 1-3, 2012, GPhA held a meeting in Bethesda, Maryland

that was attended by representatives from Actavis and Lannett. See Ex. 1.

       2259. On June 4-5, 2013, the GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from Actavis and Lannett. See Ex. 1.

       2260. On June 2-5, 2013, HDMA held its 2013 BLC in Florida. Representatives from

Actavis and Lannett attended the event. See Ex. 1.

       2261. On August 10-13, 2013, NACDS held its 2013 Total Store Expo in Las Vegas.

Representatives from Actavis and Lannett attended. See Ex. 1.

       2262. On October 28-30, 2013, GPhA held a meeting in Maryland that was attended by

representatives from Actavis and Lannett. See Ex. 1.

       2263. On May 12-15, 2014, MMCAP held its National Member Conference which was

attended by representatives from Actavis and Lannett. See Ex. 1.



                                              557
       2264. On June 1-4, 2014, HDMA held its BLC at the JW Marriott in Arizona. This event

was attended by representatives from Actavis and Lannett. See Ex. 1.

       2265. On June 3-4, 2014, GPhA held a meeting in Maryland that was attended by

representatives from Actavis and Lannett. See Ex. 1.

       2266. On August 23-26, 2014, NACDS held its 2014 TSE in Boston. Representatives

from Actavis, Epic, and Lannett attended. See Ex. 1.

       2267. On October 27-29, 2014, GPhA held a meeting in Maryland that attended by

Actavis and Lannett. See Ex. 1.

       XXXXX. Valsartan HCTZ

       2268. Valsartan HCTZ works to lower blood pressure and relax blood vessels so that

blood can flow more easily, in order to prevent strokes, heart attacks, and kidney problems. Mylan

and Sandoz dominate the market for Valsartan HCTZ.

       2269. In September 2012, CW-4 was concerned about her job security at Sandoz and

sought to network with executives at competing companies in the hope of obtaining new

employment. CW-4 contacted Nesta because she was interested in potentially working at Mylan.

CW-4 obtained Nesta’s phone number from a mutual contact and called to introduce herself.

During that phone call, Nesta immediately started talking about competitively-sensitive

information. Although CW-4 was surprised that Nesta was being so blatant, she did not stop him.

       2270. In the year that followed, between September 2012 and October 2013, CW-4 and

Nesta developed an ongoing understanding that they would not poach each other’s customers and

would follow each other’s price increases. Notably, CW-4 and Nesta were not friends and

communicated almost exclusively by phone. Examples of their coordination with respect to

specific drugs are discussed in more detail below.



                                               558
       2271. The first drug that CW-4 and Nesta coordinated about was Valsartan HCTZ.

Valsartan HCTZ, also known by the brand name Diovan HCT, is used to treat high blood pressure.

       2272. Diovan was a large volume drug that had sales in the United States of

approximately $1.6 billion for the 12 months ending June 30, 2012.

       2273. Mylan was the first to file an abbreviated new drug application (ANDA) to market

the generic version – Valsartan HCTZ – which, if approved, would give Mylan 180 days of generic

exclusivity. Sandoz manufactured the authorized generic. This meant that Sandoz and Mylan

would be the only two manufacturers of the generic version of the drug for six months.

       2274. Mylan and Sandoz launched Valsartan HCTZ on the same day – September 21,

2012. In the days leading up to the launch, CW-4 and Nesta spoke at least twenty-one times by

phone during which they discussed, among other things, allocating market share for this product.

These calls are detailed in the table below:




                                               559
       2275. During these phone calls, Sandoz and Mylan- through CW-4 and Nesta – agreed to

divvy up the market so that each competitor obtained roughly a 50% market share.

       2276. Throughout this time, CW-4 also kept Kellum (her supervisor) regularly informed

of her discussions with Nesta and met with Kellum in person to discuss her customer accounts,

including a meeting on September 14, 2012.

       2277. On September 21, 2012 – the date of the Valsartan HCTZ launch – Richard

Tremonte, a senior sales and marketing executive at Sandoz, sent an internal e-mail stating:




       2278. That same day, Mylan issued a press release announcing that it had received final

FDA approval to market generic Valsartan HCTZ. In an internal series of e-mails reacting to this

news, a Sandoz employee remarked:

         , a senior-most executive of Sandoz North America,          :




       2279. Kellum                                                                         to the

Sandoz pricing and sales teams.                   , a national account executive at Sandoz, replied



       2280. On September 25, 2012 – only four days after the launch – ABC contacted Sandoz

                                             . Greenstein then discussed pricing with Kellum.

       2281. On November 16, 2012, Sandoz executives met to discuss increasing sales for

Valsartan HCTZ. Tremonte sent an internal e-mail in

                                                                     After a colleague responded

                                         , Kellum responded:


                                              560
                                                                                                ”

Tremonte then informed the Sandoz team:



       YYYYY. Verapamil

       2282. The market for Verapamil is mature, as the drug has been available in the United

States since 1981. The drug is considered an essential medicine by the World Health Organization.

Actavis, Heritage, and Mylan sold Verapamil to Plaintiff, its assignor, and others in the United

States at supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged

in this Complaint.

       2283. During phone calls with senior sales executives from Mylan and Actavis on April

22 and April 23, 2014, Heritage, Mylan, and Actavis agreed to raise prices on Verapamil in the

United States.

       2284. Heritage began announcing the price increase to its customers in late June 2014,

and had fully implemented the Verapamil price increase by July 9, 2014.

       2285. During the Summer of 2014, Mylan and Actavis also implemented the collusive

price increase on Verapamil, as agreed by the three Defendants. As a result of this agreement,

prices for Verapamil sold to Plaintiff were sold at supracompetitive levels.

       ZZZZZ. Zoledronic Acid

       2286. The market for Zoledronic Acid is mature, as the drug has been available in generic

form since 2013. The drug is considered an essential medicine by the World Health Organization.

Heritage and Dr. Reddy’s sold Zoledronic Acid to Plaintiff, its assignor, and others in the United

States at supracompetitive prices inflated by the unlawful and anticompetitive agreements alleged

in this Complaint.



                                               561
       2287. In early 2013, Heritage received approval to market Zoledronic Acid in the United

States. On January 21, 2013, Malek instructed members of his sales team to reach out to Dr.

Reddy’s – which at the time was the exclusive manufacturer of generic Zoledronic Acid in the

United States – to reach an agreement on the price that the two companies would charge once

Heritage entered the market.

       2288. Through a number of phone calls in late January 2013 between Heritage’s

and Dr. Reddy’s         , an agreement was reached that Heritage would be entitled to a 40%

market share and Dr. Reddy’s could keep the remaining 60% of the market. The two Defendants

also agreed not to compete on pricing for Zoledronic Acid.

       2289. Conversations between the two companies in furtherance of the agreement

continued in early March 2013, in preparation for Heritage’s entry into the market on March 13,

2013. For example, Heritage employees, at Malek’s direction, e-mailed and spoke by telephone

with Dr. Reddy’s employees on March 1, March 4, March 6, and March 12, 2013. Heritage

employees also exchanged a number of texts with their contacts at Dr. Reddy’s on March 12, 2013.

       2290. When Heritage began shipping Zoledronic Acid on March 13, 2013, Malek

confirmed this to Dr. Reddy’s, and he also confirmed the exact prices that Heritage was charging.

       2291. On April 19, 2013, in order to conceal the conspiracy, Malek instructed his sales

team not to reduce to writing any collusive discussions or agreements relating to Zoledronic Acid

or other drugs.

       2292.                                                                                    ,

Malek and his counterparts at Dr. Reddy’s discussed their bids to potential customers. For

example, in November 2013, Malek e-mailed Dr. Reddy’s




                                              562
       2293. As a result of these anticompetitive agreements and collusive communications,

Defendants charged supracompetitive prices for Zoledronic Acid to Plaintiff, its assignor, and

others in the United States.

XIII. THE CONSPIRATORS INCREASE PRICES IN BUNCHES

       2294. As discussed in detail in Section XIII, the overarching agreement allowed the

conspirators to maintain supracompetitive prices on numerous drugs, and implement massive price

increases on many others. Defendants were able to reach this common goal by adopting a set of

“rules” that all Defendants followed. These rules involved an agreement or understanding as to

the market allocation for each Defendant for each generic drug identified in this Complaint. Each

Defendant’s knowledge of the overarching conspiracy is demonstrated by the fact that the

numerous collusive agreements reached in furtherance of the conspiracy were discussed at the

same meetings and social gatherings, including the industry meetings alleged in Exhibit 1. Each

Defendants’ knowledge of the overarching conspiracy is further established by the fact that each

Defendant identified in this Complaint followed the rules of the conspiracy, both by applying

market allocation principles, and also by agreeing not to undercut each other’s price increases by

adding customers when a competitors’ price increase was pending. Further, this overarching

conspiracy contemplated a continuous result that would not continue without the continuous

cooperation of all Defendants.

       2295. In this Section, Plaintiff explains how the overarching agreement allowed

competitors to begin increasing prices on drugs in bunches. As detailed below – including by tying

in examples of price-fixing agreement discussed above in Section XIII – as the rules of the

conspiracy became more established, Defendants ramped up their price increase activity

substantially.



                                               563
       A.      Aprahamian and Perfetto of Taro Lead Price Increases on Alclometasone
               Dipropionate, Ammonium Lactate, Betamethasone Dipropionate,
               Betamethasone Valerate, Carbamazepine, Clomipramine HCL, Desonide,
               and Terconazole

       2296. In addition to the numerous examples of collusion involved Aprahamian and

Perfetto identified above, the pair also began planning significant price increases on a number of

products starting in early 2013. Although some of these price increases have been discussed

individually above, each price increase was the result of collusion across generic drugs, which was

made possible by the overarching conspiracy.

       2297. Aprahamian and Perfetto capitalized on these relationships to coordinate price

increases and avoid competing with each other in the markets for those overlap drugs.

       2298. One early example occurred in May 2013, when Taro increased its pricing on

twelve different products. As result of these price increases, Taro anticipated approximately $110

million in additional revenue. These products, their corresponding WAC increases, and Taro's

competitors for each product are detailed in the chart below:




       2299. In advance of the May 2013 Increases, Aprahamian and Perfetto spoke with their

competitors on those products – Sandoz, Perrigo, Actavis, Mylan, and Glenmark – to discuss the




                                               564
increases and limit competition between them.          Indeed, Taro began communicating with

competitors, and formulating its list of products for the increases, as early as April 2, 2013.

       2300. For example, on April 2, 2013, Aprahamian spoke with CW-3 of Sandoz for six

minutes. During that call, the two competitors discussed the price increases that Taro was planning

for May 2013 and CW-3 took the following contemporaneous notes in his Notebook:




       2301. Immediately upon hanging up with Aprahamian, CW-3 called another competitor,

              of Perrigo, and they spoke for five minutes. During that call, CW-3 discussed the

May 2013 Increases with            , who told CW-3 that he already knew about them. When CW-

3 hung up with          , he immediately called Aprahamian back. The call lasted one minute. A

few minutes after hanging up with Aprahamian, CW-3 called his superior Kellum. Later that

morning, Aprahamian called CW-3 and they spoke for another six minutes.

       2302. Two days later, on April 4, 2013, Aprahamian called               of Mylan and the two

competitors spoke for fifteen minutes. Immediately upon hanging up, Aprahamian called CW-3

of Sandoz and they spoke for six minutes. Mylan and Sandoz were competitors with Taro on

Clomipramine, one of the May 2013 Increase products.

       2303. The following Monday, April 8, 2013, Mylan circulated a list of products that it

wanted to focus on to increase its market share. For Clomipramine, Mylan noted that the product

should be removed, because Mylan


                                                565
        2304. The fact that Clomipramine was a                                                       had come directly

from          ’s conversation with Aprahamian, because Taro had not yet publicly announced its

price increase on this product and would not do so for several more weeks.

        2305. At the same time, Taro was communicating with Blashinsky of Glenmark. On both

April 2, 2013 and April 9, 2013, a Taro employee – likely Perfetto – called Blashinsky from his

office phone. The calls lasted twenty-eight minutes and twenty-three minutes, respectively. Also

on April 9, 2013, Aprahamian exchanged two calls with CW-3 of Sandoz, including one call

lasting seven minutes. Sandoz and Glenmark were competitors with Taro on Alclometasone

Dipropionate cream, one of Taro’s May 2013 Increase products.

        2306. Further, on April 15, 2013 and April 16, 2013, CW-3 exchanged several calls with

Aprahamian and Blashinsky. These calls are detailed in the chart below:

   Date    Call Type   Target Name                       Direction   Contact Name                    Time      Duration
   4/15/2013 Voice     Aprahamian, Ara (Taro)            Outgoing    CW-3 (Sandoz)                     5:26:00    0:18:00
   4/15/2013 Voice     Aprahamian, Ara (Taro)            Incoming    CW-3 (Sandoz)                     5:49:00    0:01:00
   4/15/2013 Voice     Aprahamian, Ara (Taro)            Incoming    CW-3 (Sandoz)                    11:58:00    0:09:00
   4/16/2013 Voice     Blashinsky, Mitchell (Glenmark)   Outgoing    CW-3 (Sandoz)                     6:29:00    0:01:00
   4/16/2013 Voice     CW-3 (Sandoz)                     Outgoing    Blashinsky, Mitchell (Glenmark)   6:32:00    0:12:00
   4/16/2013 Voice     CW-3 (Sandoz)                     Outgoing    Aprahamian, Ara (Taro)           10:38:00    0:01:00
   4/16/2013 Voice     Aprahamian, Ara (Taro)            Outgoing    CW-3 (Sandoz)                    11:04:00    0:11:00


        2307. During these calls, the three competitors discussed, among other things, Taro’s

planned price increase on Alclometasone Cream. During at least one of those calls, CW-3 recorded

the following contemporaneous notes in his Notebook:




                                                           566
       2308. At the same time, Perfetto and Aprahamian were communicating frequently with

their contacts at Perrigo and Actavis. Further, Perrigo and Actavis were also speaking directly

with each other during this time period. Perrigo and Actavis had at least two May 2013 Increase

products in common that overlapped with Taro, Ammonium Lactate Cream and Lotion.

       2309. While the competitors were communicating with each other, they kept their

colleagues apprised of their communications with competitors. For example, after several of CW-

3’s calls with competitors, he immediately called Kellum or CW-1 to inform them of what he had

learned. A few of these examples are detailed below:

      Date    Call Type   Target Name     Direction    Contact Name                    Time      Duration
       4/9/2013 Voice     CW-3 (Sandoz)   Outgoing     Aprahamian, Ara (Taro)            5:50:00    0:01:00
        4/9/2013 Voice    CW-3 (Sandoz)   Outgoing     Aprahamian, Ara (Taro)            5:51:00    0:07:00
       4/9/2013 Voice     CW-3 (Sandoz)   Outgoing     CW-1 (Sandoz)                     5:58:00    0:02:00
      4/15/2013 Voice     CW-3 (Sandoz)   Outgoing     Aprahamian, Ara (Taro)           11:58:00    0:09:00
      4/15/2013 Voice     CW-3 (Sandoz)   Outgoing     Kellum, Armando (Sandoz)         12:07:00    0:01:00
      4/16/2013 Voice     CW-3 (Sandoz)   Outgoing     Blashinsky, Mitchell (Glenmark)   6:32:00    0:12:00
      4/16/2013 Voice     CW-3 (Sandoz)   Outgoing     Kellum, Armando (Sandoz)          6:46:00    0:05:00


       2310. By April 17, 2013, Aprahamian and Perfetto had finalized their list of products for

the May 2013 Increases. That same day,                              , a sales executive at Sandoz, sent an

internal e-mail, including to CW-3 and CW-4, regarding potential supply issues on Carbamazepine

ER Tablets – a drug on Taro’s list. He stated,



       2311. After receiving the e-mail, CW-4 and                            of Taro spoke twice, with the

calls lasting twelve minutes and two minutes, respectively. On those calls,                      explained that

Taro did not have any long-term supply issues. After hanging up with                      for the second time,

CW-4 responded to                's e-mail stating:




                                                      567
        2312. At the same time, CW-3 forwarded                             ’s request regarding Carbamazepine

ER directly to Kellum in a separate e-mail stating,

                – likely referring to the impending Taro price increase. To that, Kellum responded

simply, “       .”

        2313. In the days leading up to the May 2013 Increases, the competitors continued to

communicate with each other in order to coordinate the price increases.                           Some of these

communications are detailed in the chart below:

  Date        Call Type   Target Name                 Direction   Contact Name                Time      Duration
  4/19/2013   Voice       Aprahamian, Ara (Taro)      Incoming    CW-3 (Sandoz)                10:28:00     0:13:00
  4/19/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    M.A. (Mylan)                 10:41:00     0:01:00
  4/19/2013   Voice       CW-3 (Sandoz)               Outgoing    Aprahamian, Ara (Taro)       11:13:00     0:01:00
  4/19/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    CW-3 (Sandoz)                11:30:00     0:09:00
  4/20/2013   Voice       Perfetto, Mike (Taro)       Outgoing    Boothe, Douglas (Perrigo)     5:12:00     0:01:00
  4/20/2013   Voice       Boothe, Douglas (Perrigo)   Outgoing    Perfetto, Mike (Taro)         7:24:00     0:01:00
  4/20/2013   Voice       Perfetto, Mike (Taro)       Outgoing    Boothe, Douglas (Perrigo)    10:44:00     0:02:00
  4/20/2013   Voice       Boothe, Douglas (Perrigo)   Outgoing    Perfetto, Mike (Taro)        11:48:00     0:02:00
  4/20/2013   Voice       Perfetto, Mike (Taro)       Outgoing    Boothe, Douglas (Perrigo)    11:49:00     0:02:00
  4/22/2013   Voice       Aprahamian, Ara (Taro)      Incoming    M.A. (Mylan)                  5:43:00     0:04:00
  4/22/2013   Voice       Perfetto, Mike (Taro)       Outgoing    Boothe, Douglas (Perrigo)     7:00:00     0:01:00
  4/22/2013   Voice       Boothe, Douglas (Perrigo)   Outgoing    Perfetto, Mike (Taro)        13:42:00     0:08:00
  4/23/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    A.G. (Actavis)               11:51:00     0:02:00
  4/24/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    CW-3 (Sandoz)                 7:42:00     0:01:00
  4/24/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    A.G. (Actavis)                7:52:00     0:02:00
  4/24/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    CW-3 (Sandoz)                13:34:00     0:05:00
  4/25/2013   Voice       CW-3 (Sandoz)               Outgoing    Aprahamian, Ara (Taro)       11:43:00     0:01:00
  4/26/2013   Voice       Aprahamian, Ara (Taro)      Outgoing    CW-3 (Sandoz)                 7:30:00     0:08:00


        2314. Also, between April 20 and April 23, 2013, the NACDS held its annual meeting at

the Sands Convention Center in Palm Beach, Florida. Representatives from Taro, Sandoz, Perrigo,

Actavis, Mylan, and Glenmark were all in attendance.

        2315. One week later, on April 29 and April 30, 2013, Taro sent notices to its customers

informing them of the May 2013 Increases. The next day, on May 1, 2013, Taro published

increased WAC pricing for the affected products.




                                                         568
       2316. During this time, Aprahamian and Perfetto continued to communicate with their

competitors. For example, on April 30, 2013, Aprahamian and CW-3 exchanged two calls lasting

fourteen minutes and two minutes, respectively. During those calls, Aprahamian and CW-3

discussed the May 2013 Increases and the seven Sandoz products that Taro had increased prices

on. CW-3’s notes from those phone calls are detailed below. The notes also include references to

the other competitors on these products. For example, CW-3 listed                                    which

stood for Taro and Glenmark:




       2317. After each call with Aprahamian, CW-3 hung up and immediately called Kellum

to inform him of what he had learned from Aprahamian. At the same time, Aprahamian and

Perfetto were also communicating with other competitors about the May 2013 Increases. In the

days leading up to the May 2013 Increases, the competitors continued to communicate with each

other in order to coordinate the price increases. Some of these communications are detailed in the

chart below:

     Date        Call Type   Target Name              Direction   Contact Name     Time      Duration
     4/30/2013   Voice       Aprahamian, Ara (Taro)   Outgoing    A.G. (Actavis)     6:30:00    0:01:00
     4/30/2013   Voice       Perfetto, Mike (Taro)    Incoming    A.B. (Actavis)     7:14:00    0:10:00
     4/30/2013   Voice       Aprahamian, Ara (Taro)   Incoming    M.D. (Actavis)    10:24:23    0:00:06
     4/30/2013   Voice       Aprahamian, Ara (Taro)   Incoming    CW-3 (Sandoz)     11:50:00    0:14:00



                                                            569
     4/30/2013    Voice   Aprahamian, Ara (Taro)   Outgoing    A.G. (Actavis)                     12:44:00   0:15:00
     4/30/2013    Voice   Aprahamian, Ara (Taro)   Incoming    CW-3 (Sandoz)                      13:37:00   0:02:00
       5/1/2013   Voice   D.S. (Taro)              Outgoing    Blashinsky, Mitchell (Glenmark)     9:32:00   0:01:00
       5/1/2013   Voice   D.S. (Taro)              Incoming    Blashinsky, Mitchell (Glenmark)     9:43:00   0:21:00
       5/1/2013   Voice   Aprahamian, Ara (Taro)   Incoming    M.D. (Actavis)                     10:35:00   0:11:00

       2318. Consistent with their ongoing understandings, Taro’s competitors uniformly

declined opportunities to bid on Taro’s customers after the May 2013 Increases.                                  Taro’s

competitors understood that to do so would violate the                                           and would disrupt the

market-share balance that they had worked so hard to achieve. Indeed, rather than compete, these

competitors began working on implementing price increases of their own.

       2319. For example, on April 30, 2013, Publix e-mailed Sandoz stating that Taro had

increased pricing on a number of Sandoz overlap products and asked whether Sandoz wanted to

bid on them. The products included Betamethasone Dipropionate Lotion, Clomipramine, and

Carbamazepine ER. Kellum e-mailed CW-4 stating,



                                                                  By                         Kellum and CW-4 both

meant that this was a chance for Sandoz to raise its prices on these products as well.

       2320. That same day, April 30, 2013, Publix e-mailed Actavis to notify it that Taro had

raised pricing on Terconazole Cream and asked whether Actavis wanted to bid for the business.

Two days later, and after several calls between Aprahamian and Perfetto and their former Actavis

colleagues,                      , a sales executive at Actavis, also refused to bid, stating:




       2321. Similarly, on May 7, 2013, CVS asked Sandoz if they would be interested in

bidding on several of the May 2013 Increase products.                                , a pricing analyst at Sandoz,

responded internally stating,


                                                         570
                                                                                         To that,

Kellum responded:



       2322. At the same time, Taro was confident based on its conversations with competitors

that its increases would stick. For example, when Kaiser gave Taro push back on the May 2013

Increases, including asking for

            Aprahamian saw no need for explanation and in an internal e-mail responded simply,

                                                        Ultimately, Aprahamian’s approach yielded

results and Taro retained the business at the higher pricing.

       2323. Further, by the time the May 2013 Increases were publicly announced, Taro’s

competitors were already well on their way to implementing comparable price increases of their

own. For example, by May 1, 2013, the day that Taro published its increased WAC pricing,

Actavis had already conducted its own price increase analysis for Terconazole Cream and had

revised its contract pricing to follow the Taro increase.

       2324. Similarly, one day later on May 2, 2013, Kellum e-mailed the Sandoz Pricing

Committee recommending that Sandoz increase prices on six of the seven Sandoz products on

Taro’s May 2013 Increase list. The power point presentation that Kellum submitted to the

Committee contained no detailed price increase analysis and noted simply that Sandoz should

increase because Taro had raised prices on those products.

       2325. Over the next several months, and consistent with their ongoing understandings,

Taro's competitors – Sandoz, Perrigo, Actavis, Mylan, and Glenmark – followed Taro’s May 2013

Increases with increases of their own.




                                                571
       2326. Consistent with past practice, the competitors also often spoke before they followed

with a price increase. By way of example, and as detailed in the chart above, Sandoz followed

Taro’s price increases on Alclometasone Cream and Carbamazepine ER with its own price

increases on May 10, 2013, and Glenmark followed Taro’s and Sandoz’s price increases on

Alclometasone Cream shortly thereafter, on May 16, 2013.

       2327. Similarly, Sandoz followed the Taro price increases on Betamethasone

Dipropionate Cream and Lotion and Betamethasone Valerate Cream on July 28, 2013. In the days

leading up to the Sandoz price increase, Aprahamian exchanged several calls with CW-3, including

a call on July 23, 2013 that lasted three minutes. During that call, CW-3 conveyed to Aprahamian

that Sandoz would be increasing prices on several Taro products, including the Betamethasone

products.

       2328. Lastly, Perrigo followed the Taro price increases on Desonide Cream and Ointment

on May 21, 2013 and Actavis re-entered the Desonide Cream market and matched the competitors’

pricing on August 15, 2013.

       2329. Consistent with their ongoing understandings, Taro exercised restraint, just as its

competitors had done, and did not poach customers from its competitors after they followed with

price increases of their own. For example, on May 23, 2013, Econdisc reached out to Taro asking

for a bid on Alclometasone Cream. Aprahamian asked               , a Taro sales executive, why

Econdisc was looking for a bid and       replied:




                          Consistent with Aprahamian’s directive, Taro subsequently declined to

bid on the business.



                                              572
           2330. The competitors continued to communicate about the May 2013 Increase products

even after the competitors had followed the increases. These open lines of communication were

important to ensure that the competitors did not run afoul of the delicate market share balance they

had achieved with each other.

           2331. For example, in September 2013,         of Taro called CW-4 of Sandoz to tell her

that Taro's Carbamazepine ER product was being held up at the border. As a result, Sandoz would

likely be receiving requests from Taro customers for the product. By conveying this to CW-4,

       was sending the message that Taro would lose customers if Sandoz sold too much and Taro

would have no choice but to compete to get its market share back. This would disrupt the market

and cause prices to deteriorate across the board.

           2332. After speaking with        , CW-4 sent an internal e-mail, including to Kellum,

stating:




           B.     Sandoz Coordinates with Aurobindo to Allocate Markets for Oxacillin
                  Sodium and Nafcillin Sodium Injectable Vials

           2333. Oxacillin Sodium (“Oxacillin”) and Nafcillin Sodium (“Nafcillin”) are separately

marketed antibiotics used to treat infections caused by penicillin-resistant staphylococci, among

other bacteria.

           2334. In 2012, Sagent Pharmaceuticals and Sandoz were the primary generic suppliers of

Oxacillin and Nafcillin. However, in December 2012, Aurobindo began making plans to enter the

Nafcillin and Oxacillin markets as a third entrant.




                                                573
         2335. In advance of Aurobindo’s entry into those markets, on December 26, 2012 for

Nafcillin and January 22, 2013 for Oxacillin, CW-6 and CW-3 spoke several times to discuss

pricing and the allocation of market share to the new entrant, Aurobindo. All the while, CW-6

kept his supervisor, Grauso, informed of his conversations with CW-3.

         2336. For example, on December 12, 2012, CW-6 called Grauso and they spoke for five

minutes. That set off a flurry of phone calls between CW-6 and CW-3, with nearly constant

reporting back by CW-6 to his supervisor, Grauso, as the two competitors orchestrated how to

avoid competition upon Aurobindo’s entry. These calls are detailed in the chart below:

   Date         Call Type     Target Name        Direction   Contact Name              Time       Duration
   12/12/2012   Voice         CW‐6 (Aurobindo)   Outgoing    Grauso, Jim (Aurobindo)   8:21:00    0:05:00
   12/12/2012   Voice         CW‐6 (Aurobindo)   Outgoing    CW‐3 (Sandoz)             8:25:00    0:01:00
   12/12/2012   Voice         CW‐6 (Aurobindo)   Outgoing    CW‐3 (Sandoz)             8:26:00    0:03:00
   12/12/2012   Voice         CW‐6 (Aurobindo)   Outgoing    Grauso, Jim (Aurobindo)   8:28:00    0:02:00
   12/12/2012   Voice         CW‐6 (Aurobindo)   Incoming    Grauso, Jim (Aurobindo)   11:41:00   0:04:00
   12/12/2012   Voice         CW‐6 (Aurobindo)   Incoming    CW‐3 (Sandoz)             11:50:00   0:04:00
   12/12/2012   Voice         CW‐6 (Aurobindo)   Outgoing    Grauso, Jim (Aurobindo)   12:43:00   0:05:00


         2337. Two weeks later, on December 26, 2012, Aurobindo received FDA approval to

market Nafcillin and published WAC pricing that essentially matched Sandoz’s WAC pricing. On

the date that Aurobindo received approval, and in the days surrounding the launch, CW-6 spoke

several more times with CW-3 during which they discussed the launch. As he had done before,

CW-6 reported back to Grauso what they had discussed. These calls are detailed in the chart

below:

   Date       Call Type     Target Name          Direction   Contact Name              Time       Duration
   1/7/2013   Voice         CW‐6 (Aurobindo)     Outgoing    CW‐3 (Sandoz)             4:44:00    0:02:00
   1/7/2013   Voice         CW‐6 (Aurobindo)     Incoming    CW‐3 (Sandoz)             4:47:00    0:06:00
   1/7/2013   Voice         CW‐6 (Aurobindo)     Outgoing    Grauso, Jim (Aurobindo)   4:53:00    0:01:00
   1/7/2013   Voice         CW‐6 (Aurobindo)     Outgoing    Grauso, Jim (Aurobindo)   4:53:00    0:01:00
   1/7/2013   Voice         CW‐6 (Aurobindo)     Incoming    CW‐3 (Sandoz)             5:00:00    0:02:00
   1/7/2013   Voice         CW‐6 (Aurobindo)     Incoming    Grauso, Jim (Aurobindo)   5:11:00    0:14:00
   1/9/2013   Voice         CW‐6 (Aurobindo)     Incoming    CW‐3 (Sandoz)             6:39:00    0:07:00
   1/9/2013   Voice         CW‐6 (Aurobindo)     Outgoing    Grauso, Jim (Aurobindo)   7:26:00    0:01:00
   1/9/2013   Voice         CW‐6 (Aurobindo)     Outgoing    Grauso, Jim (Aurobindo)   8:37:00    0:06:00



                                                    574
   1/11/2013   Voice         CW‐6 (Aurobindo)      Outgoing    CW‐3 (Sandoz)             3:59:00    0:01:00
   1/11/2013   Voice         CW‐6 (Aurobindo)      Outgoing    Grauso, Jim (Aurobindo)   4:27:00    0:11:00
   1/11/2013   Voice         CW‐6 (Aurobindo)      Incoming    CW‐3 (Sandoz)             5:34:00    0:02:00
   1/11/2013   Voice         CW‐6 (Aurobindo)      Outgoing    Grauso, Jim (Aurobindo)   5:36:00    0:01:00
   1/11/2013   Voice         CW‐6 (Aurobindo)      Outgoing    Grauso, Jim (Aurobindo)   8:32:00    0:08:00


       2338. The calls between the competitors continued into January 2013. On January 3,

2013, CW-6 spoke with Grauso three times for a total of twenty-five minutes. Twenty minutes

later, CW-3 called CW-6. The call lasted two minutes. The next morning, CW-6 spoke with

Grauso for four minutes. That same morning, CW-6 called CW-3 of Sandoz twice, with one call

lasting three minutes.

       2339. Two days later, on January 6, 2013, Sandoz put together a Monthly Business review

regarding its key products, including Nafcillin and Oxacillin. Regarding Oxacillin, Sandoz noted

that Aurobindo was                    to be entering the market. Sandoz stated that its




       2340. Over the next several days, between January 7, 2013 and January 11, 2013, CW-6

and CW-3 spoke several more times by phone. After those calls, CW-6 promptly called Grauso

to keep him apprised of his discussions. These calls are detailed in the chart below:

      Date       Call Type      Target Name        Direction   Contact Name              Time       Duration
      12/21/2012 Voice          CW‐6 (Aurobindo)   Incoming    Grauso, Jim (Aurobindo)   9:29:00    0:03:00
      12/21/2012 Voice          CW‐6 (Aurobindo)   Outgoing    CW‐3 (Sandoz)             9:46:00    0:01:00
      12/21/2012 Voice          CW‐6 (Aurobindo)   Incoming    CW‐3 (Sandoz)             12:26:00   0:08:00
      12/21/2012 Voice          CW‐6 (Aurobindo)   Outgoing    Grauso, Jim (Aurobindo)   12:43:00   0:01:00
      12/21/2012 Voice          CW‐6 (Aurobindo)   Outgoing    Grauso, Jim (Aurobindo)   12:49:00   0:02:00
      12/27/2012 Voice          CW‐6 (Aurobindo)   Outgoing    CW‐3 (Sandoz)             16:49:00   0:02:00
      12/28/2012 Voice          CW‐6 (Aurobindo)   Outgoing    Aurobindo Pharma          3:19:00    0:13:00
      12/28/2012 Voice          CW‐6 (Aurobindo)   Outgoing    Grauso, Jim (Aurobindo)   4:39:00    0:11:00
      12/28/2012 Voice          CW‐6 (Aurobindo)   Incoming    Grauso, Jim (Aurobindo)   5:24:00    0:01:00
      12/28/2012 Voice          CW‐6 (Aurobindo)   Outgoing    CW‐3 (Sandoz)             5:51:00    0:01:00
      12/28/2012 Voice          CW‐6 (Aurobindo)   Outgoing    CW‐3 (Sandoz)             7:32:00    0:01:00
      12/28/2012 Voice          CW‐6 (Aurobindo)   Incoming    CW‐3 (Sandoz)             8:01:00    0:04:00



                                                      575
       2341. Two weeks later, on January 22, 2013, Aurobindo entered the Oxacillin market and

again published WAC pricing that essentially matched Sandoz’s WAC pricing. That same day,

CW-6 spoke with Grauso for ten minutes. Ten minutes after hanging up, CW-6 called CW-3 of

Sandoz. The call lasted one minute. Over the next two days, CW-6 and CW-3 shared five more

phone calls.

       2342. In an e-mail dated January 30, 2013, Sandoz noted that it had                     its

Oxacillin contract at Walgreens to the new entrant, Aurobindo. That same day, CW-3 and CW-6

spoke by phone for four minutes.

       C.      Glenmark Leads Price Increases on Ciclopirox Cream and Mometasone
               Furoate

       2343. As noted above, after Fougera exited the Ciclopirox market in 2012, G&W colluded

with Perrigo, Glenmark, and Fougera to coordinate its own entry into the market and also to

allocate that market and increase prices. As of May 2013, the primary competitors for Ciclopirox

Cream were Glenmark with 44% market share, Perrigo with 38%, and G&W with 16%.

       2344. Mometasone Furoate (“Mometasone”), also known by the brand name Elocon, is a

medium-strength corticosteroid used to treat skin conditions such as eczema, psoriasis, allergies,

and rashes. Mometasone is available in several forms, including cream, ointment, and solution.

       2345. As of May 2013, the same three competitors – Glenmark, Perrigo, and G&W –

controlled a majority of the market share on the various formulations of Mometasone.

       2346. Beginning as early as May 2, 2013, Glenmark began communicating with its

competitors, including G&W, to coordinate its May 2013 price increases. Over the next several

weeks, CW-5 and Jim Brown, a senior sales executive at Glenmark, had multiple calls with Vogel-

Baylor of G&W during which they discussed and agreed to increase prices on Ciclopirox Cream



                                               576
and the various formulations of Mometasone. Notably, prior to these calls, Vogel-Baylor had

never spoken to Brown before, according to the available phone records. These calls are detailed

in the chart below:

  Date           Call       Target Name                   Direction    Contact Name            Time       Duration
                 Type
    5/2/2013     Voice      Vogel‐Baylor, Erika (G&W)     Incoming     CW‐5 (Glenmark)         18:10:31       0:00:33
    5/6/2013     Voice      Vogel‐Baylor, Erika (G&W)     Incoming     CW‐5 (Glenmark)          9:00:46       0:00:00
    5/6/2013     Voice      Vogel‐Baylor, Erika (G&W)     Outgoing     CW‐5 (Glenmark)          9:00:48       0:00:51
    5/7/2013     Voice      Vogel‐Baylor, Erika (G&W)     Incoming     Brown, Jim (Glenmark)   13:57:00       0:00:00
    5/7/2013     Voice      Vogel‐Baylor, Erika (G&W)     Outgoing     Brown, Jim (Glenmark)   15:27:37       0:02:50
    5/7/2013     Voice      Vogel‐Baylor, Erika (G&W)     Incoming     Brown, Jim (Glenmark)   16:01:30       0:00:00
    5/7/2013     Voice      Vogel‐Baylor, Erika (G&W)     Incoming     Brown, Jim (Glenmark)   16:05:56       0:03:42
    5/7/2013     Voice      Vogel‐Baylor, Erika (G&W)     Incoming     Brown, Jim (Glenmark)   16:27:03       0:00:55
   5/13/2013      Text      Vogel‐Baylor, Erika (G&W)     Outgoing     CW‐5 (Glenmark)         17:32:13       0:00:00
   5/13/2013      Text      Vogel‐Baylor, Erika (G&W)     Outgoing     CW‐5 (Glenmark)         17:32:14       0:00:00
   5/13/2013      Text      Vogel‐Baylor, Erika (G&W)     Outgoing     CW‐5 (Glenmark)         18:26:47       0:00:00
   5/14/2013     Voice      Vogel‐Baylor, Erika (G&W)     Incoming     Brown, Jim (Glenmark)   11:18:55       0:00:40
   5/15/2013     Voice      Vogel‐Baylor, Erika (G&W)     Outgoing     Brown, Jim (Glenmark)   12:04:27       0:00:14
   5/15/2013     Voice      Vogel‐Baylor, Erika (G&W)     Outgoing     Brown, Jim (Glenmark)   12:05:28       0:05:07
   5/16/2013     Voice      Vogel‐Baylor, Erika (G&W)     Outgoing     Brown, Jim (Glenmark)   12:12:12       0:06:33


         2347. Similarly, Vogel-Baylor, as she had done in the past, used her contact, CW-6 – then

at Aurobindo – to communicate with                         of Perrigo regarding the increases. As discussed

above, CW-6 had formerly worked at Fougera and developed relationships with Vogel-Baylor and

         of Perrigo during his tenure there. At this time, G&W and Aurobindo had no products

that overlapped and CW-6 and Vogel-Baylor were not social friends. These communications are

detailed in the chart below:

    Date        Call Type     Target Name                  Direction    Contact Name           Time       Duration
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       7:43:12    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       7:45:35    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       7:47:58    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       7:50:22    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       7:52:45    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       7:55:08    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       8:05:32    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       8:18:21    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       8:20:44    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       8:23:08    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       8:25:31    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       8:27:54    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       8:30:19    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       8:40:42    0:00:00
    5/3/2013    Text          Vogel‐Baylor, Erika (G&W)    Incoming     CW‐6 (Aurobindo)       8:50:48    0:00:00



                                                           577
    5/3/2013   Voice    CW‐6 (Aurobindo)           Outgoing     T.P. (Perrigo)              12:47:00   0:01:00
    5/3/2013   Voice    CW‐6 (Aurobindo)           Outgoing     Vogel‐Baylor, Erika (G&W)   12:48:00   0:02:00
    5/3/2013   Voice    CW‐6 (Aurobindo)           Outgoing     T.P. (Perrigo)              12:50:00   0:01:00
    5/3/2013   Voice    CW‐6 (Aurobindo)           Incoming     T.P. (Perrigo)              13:02:00   0:07:00
    5/3/2013   Voice    CW‐6 (Aurobindo)           Outgoing     Vogel‐Baylor, Erika (G&W)   13:09:00   0:06:00


       2348. As a result of these conversations, Glenmark increased prices on Ciclopirox Cream

and Mometasone Cream, Ointment, and Solution on May 16, 2013. Soon thereafter, G&W would

follow with comparable increases of its own on Ciclopirox Cream and the various formulations of

Mometasone and Perrigo would follow with an increase on Ciclopirox Cream.

       2349. Over the next several weeks, G&W consistently declined opportunities to reduce

pricing on the various formulations of Mometasone so as not to take advantage of the Glenmark

price increases.

       2350. For example, on May 15, 2013 – the day before the Glenmark price increases would

become effective and publicly visible –                       , a G&W sales executive, e-mailed Vogel-

Baylor to inform her that ANDA was requesting decreased pricing on several products because

the prices were higher than their competitors. The list included Mometasone Solution and listed

Glenmark’s pre-increase pricing for Cardinal as the comparison price point. Knowing that

Glenmark was increasing pricing on this product, Vogel-Baylor advised                                  that G&W

would not lower its pricing.

       2351. Similarly, on May 17, 2013, the day after the Glenmark increases became effective,

McKesson sent G&W a request for a bid on Mometasone Ointment because it

                                           Vogel-Baylor then called CW-5 of Glenmark, who was the

incumbent. The call lasted less than one minute. She then hung up and called Brown of Glenmark.

That call lasted less than one minute. Fifteen minutes later, Brown called Vogel-Baylor back and

they spoke for twelve minutes. Later that day, Vogel-Baylor responded to McKesson and declined




                                                  578
the opportunity, stating



       2352. The next business day, on May 20, 2013,             e-mailed Vogel-Baylor asking,



                                                       Vogel-Baylor responded by sending the

following e-mail to          and others on the sales team:




       2353. Later that day, ANDA e-mailed              asking if G&W was interested in bidding

on Ciclopirox Cream.            responded:

         ANDA provided the usage information and, the next day, on May 22, 2013,

forwarded the request to Vogel-Baylor, along with some additional bid requests it had received

from other customers on other products. With regard to Ciclopirox Cream,            stated:




Vogel-Baylor responded:



                                             579
       2354. On May 23, 2013, Vogel-Baylor e-mailed price increase analyses for Ciclopirox

Cream and the Mometasone line to her supervisor, Orlofski. The next day, May 24, 2013, Vogel-

Baylor called CW-5 at Glenmark twice. The calls lasted less than one minute each.

       2355. On May 29, 2013, Vogel-Baylor exchanged five calls with CW-5 and Brown of

Glenmark. That same day, G&W finalized its price increase notifications for Ciclopirox Cream

to send to its customers, including Publix and Wal-Mart. Vogel-Baylor sent an internal e-mail to

the team stating:




       2356. Also on May 29, 2013, Target e-mailed                   of G&W stating that the

customer had received a 250% price increase on another drug, Halobetasol, and asking whether

          could provide any insight into why.           responded,




       2357. On May 30 and May 31, 2013, Brown called Vogel-Baylor twice. The calls lasted

four minutes and less than one minute, respectively.

       2358. On June 4, 2013, G&W sent price increase notifications to its customers regarding

the various Mometasone formulations. That same day, Vogel-Baylor called Brown. The call

lasted less than one minute.



                                                580
       2359. On June 5, 2013, Pharmacy Select e-mailed                regarding the notification

and asked him to provide new WAC pricing for the Mometasone line of products.

forwarded the request to Vogel-Baylor asking,



       2360. G&W and Glenmark continued to coordinate even after their price increases. For

example, on June 5, 2013, Rite Aid, a G&W customer for Mometasone, asked Glenmark whether

it wanted to bid for the business because G&W had increased price. The next day, on June 6,

2013, Brown of Glenmark called Vogel-Baylor and they spoke for six minutes. On June 7, 2013,

Vogel-Baylor called Brown back. The call lasted less than one minute. That same day, CW-5 e-

mailed his colleagues Brown and Blashinsky regarding the Rite Aid opportunity stating



       2361. After preparing the bid for Rite Aid, Brown e-mailed CW-5 and Blashinsky on

Saturday, June 8, 2013 stating:                                                             The

following Monday, on June 10, 2013, Brown called Vogel-Baylor. Vogel-Baylor returned the call

and they spoke for more than six minutes. Within ten minutes of hanging up, and having confirmed

the pricing with his competitor, Brown e-mailed his colleagues with specific price points that

Glenmark should use to bid high and not take the Rite Aid business from G&W.

       D.     Nisha Patel’s First List of Increase Candidates: Adapalene Gel;
              Nabumetone; Fluconazole Tablets; Ranitidine; Moexipril; Moexipril HCTZ;
              Pravastatin; and Ondansetron

       2362. As noted above, Patel’s first task at Teva was to identify drugs for which Teva

could increase prices by colluding with its competitors. Through her communications with her

competitors, Patel learned more about their planned price increases and entered into agreements

for Teva to follow them. For example, a number of the drugs identified in Patel’s internal



                                                581
document containing the list of drugs for which she was planning price increases were targeted

because of the Glenmark price increases on Ciclopirox Cream and Mometasone Ointment on May

16, 2013 (which Teva did not manufacture). On May 2, 2013, Patel spoke to her contacts at

Glenmark, Actavis and Sandoz several times:




        2363. After one of her calls with CW-5 of Glenmark, Patel sent an internal e-mail to one

of her subordinates directing him to add six different Glenmark drugs to Teva’s

price increase list: Adapalene Gel; Nabumetone; Pravastatin; Ranitidine; Moexipril; and Moexipril

HCTZ. As discussed more fully below, these are all drugs that Glenmark eventually increased

prices on two weeks later, on May 16, 2013, and Teva followed with its own price increases shortly

thereafter.

        2364. Patel completed and sent her first formal list of recommended price increases to her

supervisor,            on May 24, 2013. She sent the list via e-mail, with an attached spreadsheet

entitled                           The attached list included twelve different drugs where Patel

recommended that Teva follow a “high quality” competitor’s price increase as soon as possible.

The spreadsheet also revealed competitively sensitive information about future pricing and bidding

practices of several of Teva’s high quality competitors – information that Patel could have only

learned through her discussions with those competitors.        The relevant columns from that

spreadsheet are set forth below:



                                                582
       2365. For every one of the relevant drugs on the list, Patel or another executive at Teva

spoke frequently with Teva’s competitors in the days and weeks leading up to May 24, 2013. (The

increases on Fluocinonide and Pravastatin have been discussed in more detail above.) During

these communications, Teva and its competitors agreed to fix prices and avoid competing with

each other in the markets for the identified drugs. For some of these drugs including the multiple

formulations of Fluocinonide – Patel knew before she even began her employment at Teva that

she would be identifying those drugs as price increase candidates because of communications she

had already had with Aprahamian of Taro.

       2366. The following graphic summarizes some of the calls related to each of the

respective competitors leading up to May 24, 2013:




                                               583
       2367. The                          including the competitively sensitive information Patel

had obtained from competitors, was sent by Patel’s supervisor            to Maureen Cavanaugh

– at that time the Senior Vice President of Sales and Marketing at Teva – on May 27, 2013.

Cavanaugh adopted and approved Patel’s price increase recommendations on May 28, 2013.

       2368. The Teva price increases for the drugs identified in Patel’s May 24, 2013

                     went into effect on July 3, 2013. Patel went to great lengths to coordinate

these price increases with competitors prior to sending the list to           on May 24, 2013.

Some illustrative examples of that coordination are set forth below.

               1.     Glenmark

       2369. As noted above, a number of the drugs identified in the                        were

targeted because of the Glenmark price increases on Ciclopirox Cream and Mometasone Ointment




                                               584
on May 16, 2013 (described above). As soon as Patel started at Teva, she began to identify price

increase candidates through her conversations with various sales and marketing executives at

Glenmark, including:

                      CW-5: 4 calls on 5/2/13 (5:02; 0:06; 7:18 and 11:39), 2 calls on 5/3/13 (1:53
                       and 0:06); 1 text message on 5/3/13;

                                        : 3 calls on 5/6/13 (6:45; 20:44; 8:39); 2 calls on 5/7/13
                       (7:59 and 1:03). For example, early in the morning on May 2, 2013, Patel
                       informed a colleague that she expected to have some new drugs to add to
                       the price increase list imminently:




       2370. Less than fifteen minutes later, Patel received a call from CW-5 of Glenmark and

the two spoke for just over five minutes. Shortly after that call, at 7:44 a.m., Patel sent a follow-

up e-mail where she identified six different                   Glenmark drugs to add to the price

increase list, including: Adapalene Gel; Nabumetone; Pravastatin; Ranitidine; Moexipril; and

Moexipril HCTZ. Glenmark had not yet increased price on any of those drugs, nor had it sent any

notices to customers indicating that it would be doing so (and would not send such notices until

May 15, 2013).

       2371. As the Glenmark price increases were approaching, Patel took steps to make sure

that Teva did not undermine its competitor’s action. During the morning on May 15, 2013, in

anticipation of the Glenmark price increases that had not yet been implemented or made public,



                                                585
Patel instructed her Teva colleagues to alert her of any requests by customers for pricing relating

to eight different Glenmark drugs:




        2372. In accordance with the understanding outlined above, Patel wanted to be careful to

avoid obtaining any market share from Glenmark after the price increases.

        2373. Following the normal pattern, Patel also spoke to CW-5 of Glenmark for nearly six

minutes the next day, May 16, 2013 – the day of the Glenmark price increases. Effective that day,

Glenmark increased price on the following drugs where there was an overlap with Teva: Adapalene

Gel; Nabumetone; Fluconazole Tablets; Ranitidine; Moexipril; Moexipril HCTZ; Pravastatin; and

Ondansetron. Patel also spoke to CW-5 and                at Glenmark multiple times on May 17,

2013.

        2374. After the implementation of the Glenmark price increases on May 16, 2013, and

before Teva had the opportunity to follow those increases, Teva was approached by several

customers looking for a lower price. Teva refused to bid on most of these solicitations in order to



                                               586
maintain market stability. When it did provide a customer with a bid, Teva intentionally bid high

so that it would not win the business. As Patel stated to a Teva colleague when a large wholesaler

approached Teva about bidding on several Glenmark increase drugs:



       2375. Patel did not immediately include all of the Glenmark price increase drugs on

Teva’s price increase list, however, because certain drugs involved competitors that were not of

the highest           For these drugs, a little more work (and communication) was required before

Patel would feel comfortable moving forward with a price increase.

       2376. For example, the market for Fluconazole Tablets included Greenstone as a

competitor (albeit with relatively low market share) in addition to Teva and Glenmark. As of

Friday May 17, 2013, Patel had not yet decided whether Teva should follow the Glenmark price

increase on Fluconazole, fearing that Greenstone might not be a responsible competitor. In an

internal e-mail that day, Patel indicated to colleagues – including her supervisor,          – that

she was                                   about Fluconazole in order to determine next steps. The

following Monday, May 20, Patel called                  , a national account manager at Greenstone

but was unable to connect. Patel was ultimately not able to communicate with             by phone

until May 28, 2013 when the two had a twenty-one minute call. The next day after speaking to

       – May 29, 2013 – Patel promptly added Fluconazole to the Teva price increase list.

       2377. As discussed more fully below, Teva followed the Glenmark price increase for

Fluconazole Tablets on July 3, 2013. That same day, Patel spoke to               for nearly sixteen

minutes; she also spoke to CW-5 at Glenmark for almost five minutes. The Teva price increases

were a staggering 875% – 1,570%, depending on the dosage strength. Greenstone then followed




                                                587
with an increase of its own on August 16, 2013. Patel coordinated those increases with both

Glenmark and Greenstone.

       2378. The price increase on Fluconazole Tablets is also reflective of how the overarching

conspiracy operating. The massive price increase on Fluconazole Tablets led to two additional

market entrants: Citron and Dr. Reddy’s. When both of these competitors entered the market for

Fluconazole Tablets, they spoke with the existing entrants to determine which customers to target

and to prevent competition for the drug. For example,               and              (both senior

sales executives at Citron) spoke with                   of Teva and Jim Grauso of Glenmark to

coordinate Citron’s entry into the market. Similarly, Nisha Patel spoke with                   (a

senior sales executive at Dr. Reddy’s) to coordinate Dr. Reddy’s entry. As a result of these

communications and the overarching agreement, the market for Fluconazole Tablets went from

three competitors to five, but the supracompetitive pricing remained in effect.

                2.    Sandoz

       2379. In her May 24                                Patel included competitively sensitive

information about the drug Nabumetone, indicating that she was confident following Glenmark’s

increase because Sandoz was                   on that drug. In other words, Sandoz would provide

cover bids that were too high to be successful, so that Sandoz would not take its competitors’

market share even if it did not take its own price increase. Patel had spoken to CW-1 for nearly

twenty-five minutes on May 15, 2013, and again for more than eighteen minutes on May 20, 2013,

during which time she learned this information.

       2380. Patel also likely gained comfort from the fact that Sandoz had, one year earlier,

colluded with Dr. Reddy’s to increase prices on Ranitidine HCL capsules, when

of Sandoz and                 of Dr. Reddy’s twice in March 2012, just after the companies had



                                               588
announced 50% price increases on that drug. Thus, Sandoz’s collusion with another competitor

helped facilitate collusion between Sandoz and Teva on Nabumetone and Ranitidine HCL.

       2381. In May 2013, Sandoz was also internally discussing its                      strategy for

Nabumetone. Two days before Patel sent the                              to her supervisor, a Sandoz

pricing analyst sent the following e-mail to Kellum and CW-1 confirming the strategy:




       2382. Patel continued to coordinate with CW-1 and other competitors about increasing

prices for drugs on the list even after she sent it to           on May 24, 2013. For example, at

8:15 a.m. on May 30, 2013, Patel spoke to CW-5 at Glenmark for nearly twelve minutes.

Immediately after hanging up the phone, Patel called CW-1 at Sandoz to discuss Glenmark’s

increase on the drug Ranitidine and Teva’s plans to follow that increase (Sandoz was also in the

market for Ranitidine). She left CW-1 a voicemail, and he called her back promptly. Patel and

CW-1 then had several substantive telephone calls over the next half hour.

       2383. After these conversations with Patel, at 10:02 a.m., CW-1 sent an e-mail to Kellum

indicating that he believed there would be price increases in the pipeline with respect to Ranitidine,

and suggesting a potentially substantial increase in Sandoz’s price:




                                                 589
       2384. Concurrent to Patel’s outreach to Sandoz and Glenmark, Rekenthaler reached out

to his friend                  , the VP of sales at Amneal to confirm that it would also follow

Glenmark’s price increase on Ranitidine HCL capsules. Rekenthaler received confirmation from

Amneal that it was also on board in late May 2013.

       2385. The communication between Patel and CW-1 about competitively sensitive

information was constant and unrelenting during this period. For example, in June 2013 Teva was

                                                                                             On

June 11, 2013,             , a Teva marketing representative, asked Patel whether she was

                                                      According to the marketing representative,

Sandoz was also in the market for Isoniazid and had                                   in January

2013. Patel responded:



       2386. The next day – June 12, 2013 – Patel exchanged at least five calls with CW-1 at

Sandoz, including those listed below:




                                              590
       2387. At 8:27 a.m., after the first two of the phone calls listed above, Patel sent the

following e-mail clarifying some of the information that            had provided, reflecting some

of the conversations about market share she was having with CW-1:




       2388. Later that day, at 3:21 p.m., Patel passed along additional information with specific

price points she had received from CW-1 at Sandoz:




                                               591
       2389. As discussed more fully below, Teva ultimately increased price on Isoniazid on

January 28, 2015 – in coordination with Sandoz. Patel spoke to CW-1 for more than sixteen

minutes shortly before the increase, on January 22, 2015.

               3.     Taro

       2390. Patel noted in her May 24, 2013                          that for the drug Adapalene

Gel, she was confident in following the Glenmark price increase because there were also

                     on that drug. In addition to Teva and Glenmark, Taro was the only other

competitor in the market for Adapalene Gel at that time. Patel had heard the “            ” about a

Taro increase directly from Ara Aprahamian, the Vice President of Sales and Marketing at Taro.

During a nearly eleven minute phone conversation between the two on May 22, 2013, the

competitors agreed to follow the Glenmark increase. This was the first call between Patel and

Aprahamian since Patel joined Teva.

       2391. Shortly after the phone call with Patel, Aprahamian made an internal request for a

report with specific information about Adapalene Gel in order to evaluate a potential Taro increase

on the drug, including volume and pricing. Aprahamian indicated that the reason for his request

was that the

       2392. The next day, May 23, 2013, Aprahamian directed a Taro employee to implement

a price increase on Adapalene Gel:




                                               592
       2393. Exactly one week after the call between Patel and Aprahamian, on May 29, 2013,

Taro increased its price on Adapalene Gel. As discussed below, Teva followed with its own price

increase on July 3, 2013, which was coordinated with both Glenmark and Taro.

       E.      Nisha Patel’s July 3, 2013 Price Increases: Adapalene Gel, Cefaclor ER
               Tablets, Cefadroxil Tablets, Cefdinir Capsules and Oral Suspension,
               Cefprozil Tablets, Cimedine Tablets, Doxazosin Mesylate Tablets,
               Fluconazole Tablets, Fluocinonide Cream, Gel, and Ointment, Methotrexate
               Tablets, Moexipril HCL Tablets, Moexipril HCL/HCTZ Tablets,
               Nabumetone Tablets, Nadolol Tablets, Oxybutynin Chloride Tablets,
               Prazosin HCL Capsules, and Ranitidine HCL Tablets

       2394. Teva implemented its first formal set of price increases using Patel’s high-quality

competitor formula on July 3, 2013, relating to twenty-one different generic drugs. Many of the

drugs slated for price increases were from the May 24, 2013                             but several

others had been added in the interim. Patel scheduled a conference call for the day before the price

increases to discuss those increases with members of Teva’s sales and pricing departments:




                                                593
       2395. Following the now-established pattern, Patel and/or Green spoke to every important

competitor in the days and weeks leading up to the July 3, 2013 Teva price increase to coordinate

the increases and reiterate the understanding already in place with those competitors.

       2396. The following graphic details some of the calls between Teva representatives and

Teva’s competitors in the days and weeks leading up to the July 3, 2013 price increase; color coded

to show the calls with specific competitors relating to each drug:




       2397. The only drugs that Patel or Green did not coordinate with Teva’s competitors

(those not highlighted in the graphic above) were drugs where Teva was exclusive – i.e., had no

competitors.




                                               594
       2398. Patel – and other executives at Teva –went to great efforts to coordinate these price

increases with competitors prior to July 3, 2013. Some illustrative examples of generic drugs that

were added to the list after May 24, 2013 are set forth in more detail below.

               1.     Upsher-Smith

       2399. On June 13, 2013, as Patel was in the process of finalizing the Teva price increase

list, she learned that Defendant Upsher-Smith had increased its listed WAC prices for the drug

Oxybutynin Chloride Tablets.

       2400. Oxybutynin Chloride, also known by the brand name Ditropan XL, is a medication

used to treat certain bladder and urinary conditions. Belonging to a class of drugs called

antispasmodics, Oxybutynin Chloride relaxes the muscles in the bladder to help decrease problems

of urgency and frequent urination.

       2401. Apotex, Par, Teva, and Upsher-Smith dominated the market for Oxybutynin

Chloride during the time period relevant to this Complaint.

       2402. On June 13, 2013,                of Teva sent an e-mail to several Teva employees,

including Patel, asking them to

regarding Oxybutynin Chloride. At that time, Teva had been considering whether to delete the

drug from its inventory, due to low supply and profitability. One factor that could potentially

change that calculus for Teva was the ability to implement a significant price increase. On June

14, 2013, while considering whether to change Teva’s plan to delete the drug, a Teva employee

asked Patel whether she could

       2403. On June 15, 2013, Patel exchanged six text messages with                 , the Senior

Director of National Accounts at Upsher-Smith. Around this same time,                    – a Vice




                                               595
President of Sales at Par – was in contact with                  , the Senior National Accounts

Manager at Upsher-Smith.

       2404. Patel deemed Upsher-Smith a highly-ranked competitor (+2) in large part because

of her relationship and understanding with                  . In the week before she began her

employment at Teva (after leaving her previous employment), Patel and                    exchanged

several text messages. During her first week on the job, as she was beginning to identify price

increase candidates and high quality competitors, Patel spoke to            on April 29, 2013 for

nearly twenty minutes. During these initial communications, the two competitors reached an

understanding that Teva and Upsher-Smith would follow each other’s price increases. This

understanding resulted in Upsher-Smith receiving a +2 “quality competitor” ranking from Patel.

       2405. On June 19, 2013, Teva learned that Apotex also increased its price for that drug.

As a result, a national account executive at Teva sent an e-mail to Patel stating:

                                                                           Patel responded:

                                                                                     That same day,

Patel instructed a colleague to add Oxybutynin Chloride to the Teva price increase list and began

taking steps to implement the increase.

       2406. On July 3, 2013, Teva implemented a price increase ranging between 1,100%-

1,500% increase on Oxybutynin Chloride, depending on the dosage strength. Like the other drugs

on the list, Teva would not have increased its price without the existence of the overarching

agreement, which provided the rules for the industry and generally prevented competitors from

stealing market share from each other.




                                               596
                2.     Mylan

         2407. Immediately after she began at Teva, Patel began to investigate Mylan drugs as a

potential source for coordinated price increases. For example, on May 6, 2013, as she was creating

the list of                 candidates, Patel sent Green an e-mail with an attached spreadsheet

titled                                                      Patel asked Green to

                                   for certain, specific items that she had highlighted in blue,

including nine Mylan drugs: Tolmetin Sodium Capsules; Doxazosin Mesylate Tablets;

Methotrexate Tablets; Diltiazem HCL Tablets; Flurbiprofen Tablets; Nadolol Tablets; Amiloride

HCL/HCTZ Tablets; Cimetidine Tablets; and Estradiol Tablets.

         2408. The next day, May 7, 2013, Green spoke to Nesta at Mylan three times, including

one call lasting more than eleven minutes. Green also called Patel twice that day to report on what

he had learned. Green and Nesta also spoke a number of times over the next several days, including

on May 8, May 9, and May 10, 2013.

         2409. On May 14, 2013, Patel asked several Teva national account managers, including

Green, to obtain                  on certain Mylan drugs including Cimetidine and Nadolol in

preparation for a potential price increase. She indicated internally to another Teva colleague that

she was expecting                               and that she was expecting Mylan

                     on those items. On May 17, 2013, Green spoke to Nesta six times, including

calls lasting 11:50, 2:23, 4:25 and 16:02.

         2410. On May 29, 2013, after a discussion with Cavanaugh, Patel added four Mylan drugs

to the Teva price increase list: Nadolol, Cimetidine, Prazosin and Methotrexate.

         2411. For Methotrexate, Par had already increased its prices in February 2013 and West-

Ward followed this price increase on May 15, 2013. Consistent with the overarching agreement,



                                               597
Par knew it could lead this price increase without losing market share, and West-Ward knew that

it could follow Par’s increase without losing share to Mylan or Teva as well.

        2412. Discussions between Green and Nesta about specific drugs continued into June, as

Mylan was also preparing for its own major price increase on a number of drugs. From June 24

through June 28, 2013, for example, Green and Nesta had at least the following telephone calls:




        2413. On June 26, 2013, in the midst of this flurry of communications between Teva and

Mylan (and the same day that Green and Nesta had a one-hour phone call), one of Patel’s

colleagues sent her a suggestion with the following list of potential drugs to add to the price

increase list:




                                               598
       2414. In response, Patel’s supervisor,               of Teva, commented that

                                            Patel also responded favorably with regard to some of

the drugs, alluding to the fact that she had inside information about at least Ketoprofen:




       2415. At that time, Nystatin was not considered a strong candidate for a price increase

because of the quality of the competitors in the market. As discussed more fully below, those

dynamics would later change after Patel struck up a collusive relationship with a high-level

executive at Heritage.

       2416. Not surprisingly given the               Mylan raised its price for both Ketorolac and

Ketoprofen (the two Mylan drugs on the list above) six days later, on July 2, 2013. Teva then

quickly followed with its own price increase for both drugs (and others) on August 9, 2013. As

discussed more fully below, those price increases were closely coordinated and agreed to by Teva

and Mylan.

       2417. At the end of the flurry of phone communications between Teva and Mylan

described above – on June 28, 2013 – Green and Nesta had a four minute call starting at 10:59

a.m. Within minutes after that call, Patel sent the following e-mail internally at Teva:




                                                599
       2418. Patel obtained this information directly from Green, but got one significant point

wrong (which confirms that she had advance notice of the Mylan increase). In actuality, Mylan

did not announce the price increases until the following Monday, July 1, 2013 – with an effective

date of July 2, 2013.

       2419.              was a term consistently used by Patel in e-mails to camouflage the fact

that she and her co-conspirators within Teva were communicating with competitors about future

price increases. She used the term when discussing Taro in the May 24, 2013

spreadsheet, after speaking with Aprahamian and before Taro raised its price on Adapalene Gel.

She used it again on June 26, 2013 – after Green and Nesta spoke several times in advance of

Mylan’s price increase on Ketoprofen.

       2420. Similarly, on July 2, 2013 – the day before Teva’s price increases (including for the

drug Methotrexate) went into effect, a colleague asked Patel how Teva’s competitors’ pricing

compared with regard to Methotrexate. Patel responded that Mylan’s pricing was a little low on

that drug,                                                               so Teva felt comfortable

increasing the price of that drug on July 3, 2013. These         – which were based on the direct



                                               600
communications between Green and Nesta noted above – again turned out to be accurate: Mylan

increased its price of Methotrexate, pursuant to its agreement with Teva, on November 15, 2013.

       2421. Moreover, this collusion between Teva and Mylan – two of the largest generic

manufacturers in the country – facilitated collusion with smaller companies as well. At the same

time that senior executives from Teva and Mylan were speaking, both companies were also

coordinating with other competitors (and potential competitors) for the drugs being allocated

between Teva and Mylan. For example, Rekenthaler of Teva spoke a number of times with

       of Par at the same time that Patel and Green were discussing the Doxazosin Mesylate price

increase with Nesta of Mylan. When Par – which already had an ANDA for the drug – reentered

the market in early 2014, it matched the supracompetitive pricing set by Teva, Mylan, and Apotex.

Similarly,                   of Mylan coordinated Greenstone’s entry into the market through

discussions with                of Greenstone. The two spoke a number of times between April

and July 2014, in advance of Greenstone’s August 2014 entry into the Doxazosin Mesylate market.

And in both instances, this coordination between Mylan and Teva allowed the new competitors to

enter the market and gain market share without disturbing the supracompetitive pricing.

               3.      Sandoz

       2422. After the large Teva and Mylan price increases on July 2 and 3, 2013, Sandoz

sought to obtain a                                   increased so that it would

                       by inappropriately competing for market share on any of those drugs.

Sandoz executives had previously conveyed to their counterparts at both Mylan and Teva that

Sandoz would follow their price increases and not steal their customers after an increase.

Obtaining the comprehensive list of price increase drugs was an effort by Sandoz to ensure it was

aware of every increase taken by both competitors so it could live up to its end of the bargain.



                                               601
       2423. On July 9, 2013, CW-1 stated in an internal Sandoz e-mail that he would




       2424. Pursuant to that direction, on July 15, 2013 CW-2 of Sandoz called Rekenthaler at

Teva and left a message. Rekenthaler called CW-2 back immediately and the two had a three

minute conversation during which CW-2 asked Rekenthaler to provide him with a full,

comprehensive list of all the Teva price increase drugs – not just those drugs where Teva

overlapped with Sandoz. Rekenthaler complied. Understanding that it was improper to share

competitively sensitive pricing information with a competitor, and in an effort to conceal such

conduct, Rekenthaler first sent the Teva price increase list from his Teva work e-mail account to a

personal e-mail account, and then forwarded the list from his personal e-mail account to CW-2’s

personal e-mail account:




                                               602
       2425. CW-2 later called CW-1 and conveyed the information orally to CW-1, who

transcribed the information into a spreadsheet.

       2426. One of the drugs that both Teva and Mylan increased the price of in early July 2013

was Nadolol. Sandoz was the only other competitor in that market. Shortly after the Teva increase,

CW-1 sent Patel a congratulatory message regarding the increase.

       F.      Summer 2013: Sandoz and Mylan Coordinate to Orchestrate Price Increases
               on Diltiazem HCL, Haloperidol, Clomipramine, Tizanidine, Levothyroxine,
               and Nadolol

       2427. Patel’s efforts to coordinate the July 2013 Price increases also helped facilitate

additional collusion between Mylan and Sandoz. After Mylan and Teva implemented significant

price increases in early July 2013, Sandoz executives sought to obtain a                       of

those Teva and Mylan price increases. Sandoz sought this information because it did not want to

accidentally compete for market share on any of the Teva or Mylan drugs that overlapped with

Sandoz.

       2428. To that end, on July 15, 2013, Sandoz executives held an internal meeting during

which CW-1 instructed members of the Sandoz sales team, including CW-2 and CW-4,



       2429. That same day, as detailed above, CW-2 contacted his counterpart at Teva,

Rekenthaler, and obtained the list of drugs that Teva increased on July 3, 2013, along with the

percentage increases for each. Similarly, on July 16, 2013, CW-4 called her contact at Mylan,

Nesta. The call lasted more than two minutes. Thirty minutes later, Nesta returned the call and

they spoke for nearly nineteen minutes.

       2430. During those two calls, CW-4 asked Nesta to identify the drugs Mylan had

increased prices on so that Sandoz could follow with its own price increase. Nesta provided CW-



                                                  603
4 with a list of drugs, highlighting that the Nadolol price increase would be large. Nesta also

emphasized that Mylan did not appreciate having its prices challenged and that prices should be

kept high. After the phone call ended, CW-4 sent the following e-mail to her superiors:




       2431. For at least one drug on the list – Haloperidol – Mylan had yet to raise price at the

time of the July 2013 e-mail. Indeed, Mylan would not raise price on this product until August 9,

2013. On that date, Mylan also raised the price on Levothyroxine – a drug on the list that was also

increased by Mylan in January 2013 – and at least two other Sandoz overlap drugs not on the list

– Trifluoperazine HCL and Benazepril HCTZ.

       2432. Over the next several months, and consistent with their understanding, Sandoz

declined to bid and take business from Mylan customers (except in one instance where Sandoz had

sufficient share) and raised prices to match Mylan on a number of products. Some examples of

this conduct are detailed below.

       2433. Additionally, consistent with the overarching conspiracy’s principles, the price

increases attracted new market entrants without any resulting price competition. For example,




                                               604
Zydus entered the market for Haloperidol in late 2014, and Kevin Green communicated frequently

with Nesta to ensure that Zydus obtained market share without eroding market pricing.

               1.     Haloperidol and Trifluoperazine HCL

       2434. Haloperidol, also known by the brand name Haldol, and Trifluoperazine HCL, also

known by the brand name Stelazine, are antipsychotic drugs that are used to treat disorders such

as schizophrenia and Tourette syndrome.

       2435. On August 6, 2013, Nesta of Mylan called CW-4 at Sandoz twice. Both calls were

less than a minute long. Three days later, on August 9, 2013, Mylan implemented significant price

increases on both Haloperidol and Trifluoperazine HCL. For Haloperidol, Mylan increased the

WAC price by 250% on several formulations. For Trifluoperazine HCL, Mylan increased the

WAC price by 80% on all formulations.

       2436. On August 19, 2013,                        , a national account executive at Sandoz,

sent an internal e-mail stating that Mylan increased its prices on Haloperidol and Trifluoperazine

and that Sandoz needed to

       2437. On August 22, 2013, CW-2 e-mailed Kellum stating that CVS



Kellum forwarded the request to CW-1 and                   , a pricing manager at Sandoz.



                                             CW-1 replied that he would obtain the pricing data,



       2438. On September 18, 2013, CW-1 e-mailed Kellum with his price increase analyses

for Haloperidol and Trifluoperazine HCL. For Haloperidol, CW-1 indicated that Mylan had 72%




                                               605
market share, Sandoz had 15%, and Zydus had 10%. For Trifluoperazine HCL, CW-1 stated that



       2439. On September 25, 2013, Walgreens – a Mylan customer – e-mailed Sandoz asking

for bids on Haloperidol and Trifluoperazine HCL. CW-1 sent an internal e-mail explaining that




       2440. On October 2, 2013, CW-1 e-mailed                         , the Sandoz national

account executive assigned to Walgreens, directing             to not only decline to bid at

Walgreens, but also lie about the reason for doing so:




       2441. Over the next several days, CW-4 and Nesta spoke by phone several times. These

communications are detailed in the table below. Prior to these calls, CW-4 and Nesta had not

communicated by phone since August 6, 2013.




                                               606
       2442. On October 15, 2013 (the day after the last of the phone calls noted above), CW-1

e-mailed the Sandoz Pricing Committee recommending that Sandoz increase pricing on

Haloperidol and Trifluoperazine HCL. After reviewing the e-mail,              , a senior executive

responsible for business planning at Sandoz, recommended approval of the Haloperidol price

increase, but advised that Sandoz wait to increase the price of Trifluoperazine HCL until January

2014 because of price protection penalties that would be triggered if Sandoz increased in October

2013. As         explained:




       2443. Ultimately, Sandoz followed                 recommendation and increased its WAC

pricing on Haloperidol to match Mylan’s pricing on October 25, 2013, but waited to follow on

Trifluoperazine HCL until January 31, 2014.

               2.      Tizanidine

       2444. Tizanidine, also known by the brand name Zanaflex, is used to treat muscle

spasticity due to spinal cord injury or multiple sclerosis.

       2445. Tizanidine was a drug that had been on the market for many years and whose price

had eroded as many competitors entered and exited the market depending on the profitability of

the drug. As of May 2013, Defendants Apotex, Dr. Reddy’s, Mylan, Sandoz, and Sun were in the



                                                 607
market for Tizanidine. Dr. Reddy’s led the increase on this product in early May 2013, increasing

its WAC price and raising contract pricing tenfold, and by July 2013, Apotex, Mylan, Sandoz, and

Sun each followed the price increase.

       2446. Sandoz was thrilled when it learned that Dr. Reddy’s had increased its price on

Tizanidine. For example, on May 10, 2013,                         , a national account executive at

Sandoz, sent an internal e-mail stating that:




       2447. On May 13, 2013, Dr. Reddy’s published its new WAC pricing for Tizanidine.

That same day, Nesta of Mylan called CW-4 at Sandoz and they spoke for 4 minutes. Two days

later, CW-1 of Sandoz sent an internal e-mail to Kellum regarding                   stating:



       2448. On May 24, 2013, Sandoz followed and matched Dr. Reddy’s WAC pricing on

several formulations, and even exceeded Dr. Reddy’s pricing on one formulation. Sandoz’s WAC

increases were significant – ranging from 248% to 344%, depending on the formulation. In the

days leading up to the Sandoz increase, Nesta of Mylan exchanged phone calls with both CW-4 of

Sandoz and                , a national account executive at Dr. Reddy’s, to coordinate the price

increase regarding Tizanidine. At least some of those calls are set forth in the table below:




                                                608
       2449. Notably, after this, Nesta would not speak with              again until three months

later in August 2013.

       2450. On May 29, 2013, customer Omnicare e-mailed Sandoz and asked whether it

wanted to submit a bid for Tizanidine. CW-3 of Sandoz forwarded the request internally to CW-

1 and Kellum asking:

                                                     A few minutes later, Nesta called CW-4 at

Sandoz and they spoke for nearly thirteen minutes. Later that day, CW-1 replied to CW-3’s e-

mail stating:                                  CW-3 then responded to Omnicare, stating that:




       2451. On June 11, 2013,                   , the VP of National Accounts at Dr. Reddy’s,

spoke to           , a National Accounts Manager at Apotex. Upon information and belief, the

purpose of this call was to confirm that Apotex would support the agreement and follow Dr.

Reddy’s price increase (which Apotex subsequently did).

       2452. On June 14, 2013, Anda, a wholesale customer, e-mailed                        of Dr.

Reddy’s asking                                               responded:

       had learned of Mylan’s intent to follow the price increase through his prior communications


                                              609
with Nesta. However, Mylan had not actually raised its price on Tizanidine at the time of the

inquiry, and would not do so until July 2, 2013.

       2453. On June 26, 2013, Meijer, a supermarket chain customer, e-mailed Dr. Reddy’s

requesting a bid for Tizanidine.         forwarded the request to                     , a marketing

executive at Dr. Reddy’s, stating:                                                        responded:



                                                                                             replied:

                                                                     Dr. Reddy’s informed Sun’s

Marketing Director that it would not bid for Meijer’s business two days later. A few weeks later,

Meijer forwarded the same request to Sandoz. Sandoz’s response was similar:



       G.      Enalapril Maleate

       2454. Immediately after the July 3, 2013 price increases, Patel began preparing for what

she called             – another large set of Teva price increases. In the interim, however, Teva

was presented with an opportunity to coordinate a price increase with competitors on a single drug

– Enalapril Maleate Tablets.

       2455. Enalapril Maleate (“Enalapril”), also known by the brand name Vasotec, is a drug

belonging to the class called ACE inhibitors, and is used to treat high blood pressure.

       2456. Mylan previously increased its price for Enalapril effective July 2, 2013. At that

time, there were only three manufacturers in the market: Mylan, Teva and Wockhardt. Enalapril

was on the list of drugs slated for a price increase that Teva had received from Mylan in June 2013,

before those price increases were put into effect.




                                                610
       2457. Shortly after the Mylan price increase, on July 10, 2013, Teva received a request

from a customer for a lower price on Enalapril. Interestingly, the customer indicated that the

request was due to Wockhardt having supply problems, not because of the Mylan increase.

          of Teva confirmed that Enalapril



       2458. The comment from the customer sparked some confusion at Teva, which Teva

quickly sought to clarify. That same day, Green and Nesta had two phone calls, including one

lasting almost sixteen minutes. The next day, July 11, 2013, Green and Nesta spoke two more

times. During these conversations, Nesta explained to Green that Wockhardt had agreed to follow

the Mylan price increase on Enalapril. This information sparked the following e-mail exchange

between Green and Patel (starting from the bottom):




       2459. As it turned out, there must have been a miscommunication between Green and

Nesta because although Wockhardt did in fact plan to follow Mylan’s price increase, it had not yet

had the opportunity to do so as of July 11, 2013.


                                               611
       2460. On Friday, July 12, 2013,                  , a national account executive at Teva,

asked Patel whether Teva was




       2461. That same day, Patel and Green each started                                     and

                     by reaching out to Teva’s two competitors for Enalapril. Patel called Nesta

of Mylan directly and they spoke three times, including calls lasting six and five minutes. Patel

likely called Nesta directly in this instance because Green was attending the PBA Health

Conference at the Sheraton Overland Park, Overland Park, Kansas, where he was participating in

a golf outing. Upon information and belief,              – a senior national account executive at

Wockhardt – attended the same conference, and likely spoke directly to Green either at the golf

outing during the day or the trade show at night, because at 12:40 a.m. that evening (now the

morning of July 13, 2013)          created a contact on his cell phone with Green’s cell phone

number in it.

       2462. On Sunday, July 14, 2013, after Green returned home from the conference, Green

and Patel spoke three times, including one call lasting twenty-one minutes. During these calls,

Green conveyed to Patel what he had learned from           that Wockhardt planned to follow the

Mylan price increase.

       2463. First thing the next morning, on Monday, July 15, 2013, Patel sent an e-mail to a

Teva executive stating:

                At the same time, Wockhardt began planning to raise the price of Enalapril and



                                              612
sought to confirm specific price points for the increase.      Internally, Wockhardt employees

understood that       would try to obtain price points from a competitor. That morning,         of

Wockhardt called Green for a one minute call; shortly thereafter, Green returned the call and they

spoke for two more minutes. At 9:57 a.m. that morning,             reported internally the specific

price ranges that he had obtained from Green.

       2464. Armed with this competitively sensitive information, and the understanding that

Wockhardt intended to follow the Mylan increase, Teva began to plan its own price increase. On

Tuesday, July 16, 2013, Patel sent the following internal e-mail to her supervisor           again

using the term           to obfuscate the true source of her information:




That same day, Nesta called Patel and left a voice mail.

       2465. Patel’s July 16, 2013 e-mail referred to above was forwarded to Cavanaugh, who

promptly approved the price increase. That same day, July 16, 2013, Patel then scheduled a




                                                613
                      with members of Teva’s sales and pricing teams, and sent the following

agenda:




       2466. Teva and Wockhardt simultaneously implemented price increases on July 19, 2013.

Although the timing of the price increase was coordinated among the competitors, Patel

nevertheless described the simultaneous increase as a coincidence in an internal e-mail that same

day:




                                              614
       2467. Within a few days after the increases, a customer complained to                 at

Wockhardt, asking:

response to the customer was direct:                                              Similarly, in

early August a different customer asked Wockhardt to reconsider its increase, suggesting that

Wockhardt’s competitors were offering a lower price point. Knowing this to be untrue,

replied again

       2468. In mid-2015, Valeant/Oceanside entered the market for Enalapril at higher prices

than the existing competitors were charging. Valeant did so because it knew that the existing

competitors would concede market share to Valeant, and this is precisely what happened.

       H.       August 9, 2013 Price Increases (“Patel’s Round 2”): Amiloride HCL/HCTZ
                Tablets, Clemastine Fumarate Oral Liquid and Tablets, Diclofenac Tablets,
                Diltiazem HCL Tablets, Etodolac ER Tablets, Ketoprofen Capsules,
                Ketorolac Tablets, Pravastatin Tablets, Tometin Sodium Capsules

       2469. On August 9, 2013, Teva raised prices on twelve different drugs. These increases

were again coordinated with a number of Teva’s competitors, including Defendants Mylan,

Sandoz, Taro, Lupin, Glenmark, Zydus and Apotex.




                                             615
        2470. Patel began planning for the increase shortly after the July 3 increases were

implemented. On July 11, 2013, Patel sent a preliminary draft list of price increase candidates to

a colleague for what she referred to as                For the drugs on the preliminary list, Patel

stated that



        2471. The list included a number of drugs involving the following competitors, primarily:

Actavis, Aurobindo, Glenmark, Heritage, Lupin, Mylan and Sandoz. In the days leading up to

July 11, 2013, Patel was communicating directly with executives at nearly all of those competitors,

including the following:




        2472. Patel was also communicating indirectly with Mylan through Kevin Green. For

example, on July 10, 2013 – the day before Patel sent the preliminary               increase list –

Green and Nesta spoke twice. Shortly after the second call, Green called Patel and the two spoke

for just over seven minutes. The next day, on July 11, Nesta and Green exchanged several more

calls. The timing of those calls is set forth below:




                                                 616
       2473. Patel and other Teva executives continued to coordinate with competitors over the

next several weeks, refining the list and preparing for the next large Teva increase.

       2474. By August 7, 2013, Patel had finalized the list. That day she sent an e- mail to her

supervisor,            with a                              spreadsheet which she had prepared for

Maureen Cavanaugh, summarizing the increases. As shown below, the spreadsheet included

competitively sensitive information about certain competitors’ plans regarding future price

increases that Patel and/or Green could have only learned from directly colluding with those

competitors.




                                                617
       2475.              immediately recognized that having such explicit evidence of a

competitor’s price increase plans in writing would be problematic for Teva. In response to the e-

mail, he politely asked Patel to remove some of the incriminating information.




In accordance with the executive’s request, Patel deleted the information.

       2476. Following the now common and systematic pattern, Patel and Green coordinated

the increases with every important competitor in the days and weeks leading up to the increase.

The following graphic details some of the calls with competitors in the days and weeks leading up

to the increases:




                                               618
       2477. The only drug on the list that Patel and/or Green were not coordinating with

competitors on in advance (Clemastine Fumarate Oral Liquids) was a drug where Teva was

exclusive and thus had no competitors. Interestingly, that drug was slated for the lowest increase

of all drugs on the list (7%).

       2478. The day before the price increase went into effect – August 8, 2013 – Patel was

particularly busy, spending most of her morning reaching out and communicating with several key

competitors:




       2479. As it turned out, Mylan was also in the process of implementing its own price

increases on August 9, 2013 on several drugs (including several sold by Teva), and it is likely that

Nesta reached out to Patel to coordinate those increases.

               1.      Mylan

        2480. Teva and Mylan were coordinating price increases consistently during this period,

including the time leading up to the August 9, 2013 increases. During each step in the process,

Teva and Mylan executives kept their co-conspirators apprised of their decisions.               The

communications were typically initiated by Patel, who asked Green to communicate with Nesta of

Mylan and obtain what she referred to as              on many different drugs. But at times, Patel

communicated directly with Nesta.




                                                619
       2481. For example, on July 22, 2013, Patel sent Green an e-mail with an attached

spreadsheet of             increase items. She indicated that she was                    for a group

of drugs in the attached spreadsheet with a highlighted yellow “x” and included in a column titled




A large majority were Mylan drugs.

       2482. The next day – July 23, 2013 – at 4:30 p.m., Green and Nesta spoke for more than

six minutes. Immediately after hanging up the phone, Green called Patel to convey the intel he

had obtained from Mylan. The call lasted more than three minutes.

       2483. On July 29, 2013, Green at Teva was approached by a large retail pharmacy asking

for bids on several of the drugs that Mylan had increased prices on in early July. Green’s first step

was to request market share information for those drugs so that Teva could make a decision on

how to respond to the customer’s inquiry based on the generally accepted rules of the conspiracy:




                                                620
         2484. The next day, July 30, 2013, Patel sent Green the          price increase file as an

attachment, saying that she                                                                  Patel

asked Green to obtain additional                for a group of seven Mylan drugs, some of which

varied slightly from the prior spreadsheet.

         2485. Following the same consistent pattern, Green and Nesta spoke six times over the

next two days. After hanging up from the last call between the two on August 1, 2013, Green

called Patel and conveyed the results of his conversations. This series of phone calls is detailed

below:




         2486. In the midst of the phone calls between Green and Nesta on July 31, 2013, Patel

sent the following e-mail with                about the customer request, with a particular focus




                                               621
on balancing Teva’s desire to increase prices against its commitment to adhere to the overarching

agreement and how that may affect its market share for certain products sold by Mylan:




       2487. Based on all of these communications between Teva and Mylan (and at times other

competitors), Teva was able to successfully increase price on seven different Mylan drugs on

August 9, 2013, as set forth above.

               2.     Etodolac

       2488. Etodolac, also known by the brand name Lodine, is a medication known as a non-

steroidal anti-inflammatory drug (NSAID). It is used to reduce pain, swelling and joint stiffness

from arthritis. It works by blocking the body’s production of certain natural substances that cause

inflammation. An extended release version of Etodolac – Etodolac ER –also known by the brand

name Lodine XL, is also available.




                                               622
       2489. Apotex, Taro, Teva and Sandoz dominated the market for Etodolac tablets; Teva,

Taro, and Zydus dominated the market for Etodolac ER tablets; and Apotex, Teva, and Taro

dominated the market for Etodolac capsules.

       2490. In early 2012, Apotex (which had received an ANDA to market Etodolac capsules

in 2000) was planning to re-enter the market for the drug while Teva was planning to exit the

market. Although the number of competitors in the market would remain the same, Apotex and

Taro were able to coordinate a large price increase due to the overarching agreement.

       2491. As a result of this coordination, Taro was able to lead a price increase that more

than tripled its previous price for Etodolac capsules from early 2012, while Apotex was able to

enter the market at the higher price and gain market share. As a result, between May and August

of 2012, Taro and Apotex were able to coordinate to increase prices by more 200%.

       2492. This coordination paved the way for a subsequent price increase on the tablet

formulations of the drug. One year later, when Patel first began planning for           of Teva’s

price increases, Etodolac and Etodolac ER were not slated for increases. For example, when she

circulated a long list of potential           increases on July 11, 2013 (that would later be cut

down substantially) – neither of those drugs was on the list.

       2493. Around that time, Sandoz began identifying a list of drugs where it believed it could

increase price by the end of July. Etodolac was on the list, primarily because Sandoz would be

able to implement a substantial increase without incurring significant price protection penalties

from its customers.

       2494. On July 16, 2013, CW-3, then a senior executive at Sandoz, reached out to

Aprahamian at Taro and they spoke for sixteen minutes. Aprahamian called CW-3 back the next

day and the two spoke again for eight minutes. After hanging up the phone with CW-3,



                                                623
Aprahamian immediately called Patel. They exchanged voicemails until they were able to connect

later in the day for nearly fourteen minutes. On July 18, 2013, Patel called CW-1 at Sandoz and

the two spoke for more than ten minutes.

       2495. During this flurry of phone calls, Defendants Sandoz, Taro and Teva agreed to raise

prices for both Etodolac tablets and Etodolac ER.

       2496. On July 22, 2013 – before any price increases took effect or were made public,

Patel added both Etodolac tablets and Etodolac ER to her price increase spreadsheet for the first

time, with the following notations:




       2497. Based on her conversations with CW-1 and Aprahamian, Patel understood that

Sandoz planned to increase its price on Etodolac tablets, and that Taro would follow suit and raise

its price for Etodolac ER. During those conversations, Teva agreed to follow both price increases.

       2498. That same day, Sandoz sent out a calendar notice to certain sales and pricing

employees for a conference call scheduled for July 23, 2013 to discuss planned price increases,

including for Etodolac tablets. Prior to the conference call on July 23, CW-1 called Patel at Teva.

After exchanging voice mails, the two were able to connect for more than fourteen minutes that

day. During that call, CW-1 confirmed the details of the Sandoz price increase on Etodolac tablets.

Similarly, CW-3 of Sandoz called Aprahamian at Taro that same day and the two spoke for more

than three minutes.

       2499. The Sandoz price increase for Etodolac tablets became effective on July 26, 2013.

That same day, Taro received a request from a customer for a one-time buy on Etodolac 400mg




                                               624
Tablets. After learning of the request, Aprahamian responded swiftly internally:



       2500. When Taro received another request on July 30 from a large wholesale customer

for a bid due to the Sandoz price increase, Aprahamian’s internal response was equally short:




       2501. Also on July 26, Patel sent an e-mail to others at Teva – including her supervisor

           Rekenthaler and others – informing them of the Sandoz increase on Etodolac IR

(immediate release). She instructed them to



       2502. Patel continued to coordinate with both Sandoz and Taro regarding the Etodolac

tablet and Etodolac ER price increases (among other things). Between July 29 and August 2, 2013,

for example, Patel engaged in the following series of calls with CW-1 of Sandoz and Aprahamian

at Taro:




                                              625
       2503. Aprahamian was also speaking to his contact at Sandoz- CW-3 - during this time,

including the following calls:




       2504. On August 1, 2013 – shortly after speaking with Patel – Aprahamian instructed a

colleague at Taro to begin implementing a price increase on Etodolac tablets and Etodolac ER.

Aprahamian stated:



       2505. By August 5, 2013, it was well known internally at Teva that Taro would soon be

raising prices on both Etodolac tablets and Etodolac ER. The minutes from a Teva

     meeting on August 5, 2013 – which Patel attended – reflect the following:




       2506. When Patel sent the                                     spreadsheet to her supervisor

          on August 7, 2013, summarizing Teva’s upcoming August 9 price increases, she again

made it clear that the reason Teva was increasing its prices for Etodolac tablets and Etodolac ER

was because Teva senior executives knew that Taro would be raising its prices on both drugs

                   quickly instructed Patel to delete those entries, but never instructed her to stop

communicating with the company’s competitors, including Taro.

       2507. Teva and Taro raised prices for Etodolac tablets and Etodolac ER simultaneously,

with the price increases effective on August 9, 2013. Both their AWP and their WAC prices were



                                                626
increased to the exact same price points. The increases were substantial. For Etodolac tablets,

Teva’s average increase was 414%; for Etodolac ER, the average increase was 198%.

       2508. Once again, this substantial price increase resulted in Zydus entering the market for

Etodolac ER in early, which should have led to price competition. Instead, Teva and Taro willingly

gave up customers to Zydus in accordance with the rules of the conspiracy. For example, Nisha

Patel, Ara Aprahamian, and Kevin Green discussed a plan to cede a large wholesale client to Zydus

in May 2014, and Teva then ceded a second customer to Zydus a few months later.

               3.     Impact of Price Increases

       2509. As she was preparing to implement Teva’s August 9, 2013 price increases, Patel

also calculated the quarterly increase in sales revenues resulting from the price increase taken by

Teva on July 3, 2013. The analysis also included the financial impact of the recent Pravastatin

increase. The results were staggering.

       2510. According to her analysis, the                                      as a result of the

July 3 price increases, plus Pravastatin and one other drug, was a staggering $937,079,079 (nearly

$1 billion) per quarter to Teva, as shown below:




       2511. Patel was rewarded handsomely by Teva for effectuating these price increases. In

March 2014, less than a year after starting at Teva, Patel was rewarded with a $37,734 cash bonus,

as well as an allocation of 9,500 Teva stock options.



                                               627
               4.      Price Increase Hiatus

       2512. Shortly after the August 9, 2013 price increase went into effect, Patel left the office

for several months while on maternity leave.

       2513. This slowed down Teva’s plans for its next round of price increases. During the

time period while Patel was out on maternity leave, Teva did not implement or plan any additional

price increases, instead waiting for Patel to return and continue her work. Patel began to return to

the office on a part-time basis beginning in November 2013.

       2514. During this time period, Kevin Green left Teva to join Defendant Zydus as the

Associate Vice President of National Accounts. His last day of employment at Teva was October

23, 2013.    This prompted Rekenthaler to assume the role of communicating with specific

competitors, including Mylan. Rekenthaler also identified and began communicating on a more

frequent basis with co-conspirators at different companies to facilitate the price increase process

for Teva.

       2515. As discussed more fully below, although Patel’s absence slowed Teva in its plans

for price increases on additional drugs, it did not stop certain competitors – in particular Lupin and

Greenstone – from attempting to coordinate with Teva regarding their own price increases. In

Patel’s absence, they simply communicated through different channels. These communications

were conveyed to Patel upon her return and she included the information in her efforts to identify

new price increase candidates.

       2516. As discussed more fully below, by early 2014 Patel had picked up right where she

left off planning for the next round of Teva increases.




                                                 628
       I.       March 7, 2014: (Niacin ER)

       2517. Niacin Extended Release (ER), also known by the brand name Niaspan Extended

Release, is a medication used to treat high cholesterol.

       2518. On September 20, 2013, Teva entered the market for Niacin ER as the first-to-file

generic manufacturer. As the first-to-file, Teva was awarded 180 days of exclusivity to sell the

generic drug before other generic manufacturers could enter the market.

       2519. Teva’s period of exclusivity for Niacin ER was scheduled to expire on March 20,

2014. As that date approached, Teva began to plan for loss of its exclusivity. By at least as early

as February, Teva learned that Defendant Lupin would be the only competitor entering the market

on March 20.

       2520. The first thing Teva sought to do – knowing that a high-quality competitor would

be the only new entrant – was to raise its price. On February 28, 2014, Maureen Cavanaugh

instructed              and others at Teva that

                                                           immediately forwarded the e-mail to Patel

with the instruction:

                 Later that day, Patel called Berthold at Lupin and the two spoke for nearly seven

minutes.

       2521. Within a week, Teva was ready to implement the price increase. On March 5, 2014,

Patel sent an e-mail to the Teva pricing group stating:

                                                                                                The

next day, March 6, Teva notified its customers that it would be implementing a price increase on

Niacin ER effective March 7, 2014.          The increase was for 10% across the board, on all

formulations.



                                                  629
       2522. Once Teva coordinated the price increase, it next began taking the necessary steps

to divvy up the Niacin ER market with new entrant Lupin so as to avoid competition that would

erode Teva’s high pricing. Patel scheduled a meeting with Rekenthaler for March 6, 2014 to

discuss an               for Niacin ER.                 in Teva parlance, is a plan detailing which

customers Teva would concede and which customers it would retain upon Teva’s

             in a pa1ticular generic drug market. Teva’s LOE plans were often secretly negotiated

directly with competitors as they were entering the market, consistent with the competitors’

understandings discussed above.

       2523. This situation was no different. During the morning of March 6, 2014, Patel called

Berthold and they spoke for more than seven minutes. During this and several subsequent calls,

discussed in more detail below, Teva and Lupin agreed on which specific customers Teva would

concede to Lupin when it entered the market on March 20, 2014. Teva agreed that it would

concede 40% of the market to Lupin upon entry.

       2524. When Lupin entered the market for Niacin ER on March 20, 2014, it entered at the

same WAC per unit cost as Teva, for every formulation. In the days leading up to Lupin’s entry,

Patel and Berthold were in frequent communication to coordinate the entry, as set forth below:




       2525. In addition, Lupin entered with customer pricing only 10% below Teva’s recently

increased pricing – so it was expected that pricing would remain at least at Teva’s pre-increase

exclusive pricing levels. In other words, there was little or no price erosion as a result of Lupin’s

anticompetitive entry into the market for Niacin ER.


                                                630
       2526. Over the next several days, Patel and Berthold continued to coordinate to make sure

Lupin obtained the agreed-upon customers. For example, on March 24, 2014, a Teva executive

received an e-mail from Cardinal indicating that Cardinal had received

                    Cardinal was one of the customers that Teva had already agreed to concede

to Lupin. The Teva executive forwarded the e-mail to several people internally at Teva, including

Patel, Rekenthaler and Cavanaugh, confirming the plan:




       2527. That same day, Patel spoke to Berthold at Lupin three times, as shown below:




Patel responded:




                                              631
       2528. The next day – March 25, 2014 –                    of Teva summarized the status of

Teva’s LOE Plan and the company’s agreement with Lupin on Niacin ER:




       J.     April 4, 2014 Price Increases: Azithromycin Suspension and Oral
              Suspension, Bumetanide Tablets, Cephalexin Suspension, Clarithromycin
              ER Tablets, Cyproheptadine HCL Tablets, Dicloxacillin Sodium Capsules,
              Diflunisal Tablets, Estazolam Tablets, Ethosuximide Capsules and Oral
              Suspension, Hydroxyzine Pamoate Capsules, Ketoconazole (Cream and
              Tablets), Medroxyprogesterone Tablets, Estradiol/Norethindrone Acetate
              Tablets, Nystatin Oral Tablets, Pentoxifylline Tablets, Tamoxifen Citrate
              Tablets, Theophylline ER Tablets

       2529. On April 4, 2014, Teva raised prices on twenty-two different generic drugs. Again,

nearly all of these increases were coordinated with a number of Teva’s high-quality competitors

who by now were familiar co-conspirators, including Defendants Sandoz, Taro, Actavis, Mylan,

Lupin, and Greenstone. But for this price increase, Teva also began coordinating with some of

what it regarded as “lesser-quality” competitors – such as Defendants Breckenridge and

Versapharm, as well as Heritage and Rising – as new sources for anticompetitive agreements. For

this price increase, Teva also decided to lead many more price increases – which was riskier for

Teva and required even greater coordination with competitors.

       2530. Leading more price increases was part of a strategy that Patel memorialized in

writing in January of 2014, documenting in many respects the successful strategy that she had

implemented in 2013, focused on leveraging Teva’s collusive relationships with high-quality

competitors. This strategy was well known, understood and authorized by individuals at much

higher levels at Teva, including Cavanaugh and Rekenthaler, and Patel’s direct supervisor

            For example, on January 16, 2014, Patel sent a document to              titled

                             where she outlined her plan for implementing price increases:


                                              632
       2531. Patel began planning for the next round of Teva price increases in early January

2014, shortly after returning to full-time status from maternity leave. On January 14, 2014, Patel

sent            a preliminary draft list of price



       2532. The initial list contained drugs sold by Actavis, Lupin and Greenstone, among

others. Not surprisingly, Patel was communicating frequently with each of those competitors

throughout December 2013 and into early January 2014.

       2533. On February 7, 2014, Patel created a formal list of                    in a spreadsheet.

In the days leading up to February 7, Patel was feverishly coordinating by phone with a number

of different competitors to identify price increase candidates, including at least the following:




                                                633
         2534. Those efforts were successful. By February 26, 2014, Patel had a more refined list

of                       which she forwarded to another colleague for his review. That list included

the following drugs and notes about each drug:




Patel continued to refine the list over the next several weeks.

         2535. On March 17, 2014, Patel sent a near final version of the “PI Candidates”

spreadsheet to               with the statement:

                    In a practice that had now become routine at Teva, Patel and Rekenthaler both

were communicating frequently with competitors- in this case Taro, Lupin, Actavis, Greenstone,

Zydus, Heritage, and Rising – to coordinate the price increases in the week before Patel sent the

price increase list to              At least some of those communications are reflected in the table

below:




                                                   634
       2536. Rekenthaler had also previously spoken with his contact at Versapharm –

        a senior national accounts executive – on January 22, 2014 (a five minute call) and March

7, 2014 (a three minute call) to secure Versapharm’s agreement to follow the Teva increase on two

drugs. Those were the only two identified telephone calls between Rekenthaler and          since




                                              635
2012. As discussed more fully below, Versapharm followed with its own price increase shortly

after the Teva increase.

       2537. In the days leading up to the price increase, Rekenthaler asked Patel for a list of

drugs and competitors associated with each of the increase items so that he could confirm that

Teva had successfully coordinated increases with everyone. On April 1, 2014, Patel responded by

providing a list of only those drugs where Teva was leading the price increase – i.e., the drugs with

the most risk if Teva did not secure an agreement beforehand with a competitor before raising its

own price.

       2538. Satisfied that Patel and Rekenthaler had confirmed agreement with all the

appropriate competitors, on April 4, 2014 Teva increased pricing on various dosage strengths of

the following drugs:




                                                636
       2539. These price increases were all coordinated and agreed to between Teva and its

competitors. As was now their standard procedure, Patel and/or Rekenthaler communicated

directly with all of their key competitors in the days and weeks leading up to the increase. Many

of those communications are set forth in the graphic below:




       2540. Patel and others at Teva again went to great efforts to coordinate these price

increases with competitors prior to April 4, 2014 – including during the time that Patel was out on

maternity leave. Some illustrative examples of those efforts are set forth below.




                                               637
                1.     Lupin (Cephalexin Oral Suspension)

       2541. Throughout 2013, David Berthold of Lupin colluded with two different individuals

at Teva: Patel and Green. As discussed above, at times Patel and Green would even coordinate

with each other regarding who would communicate with Berthold, and take turns doing so.

       2542. As of late October, 2013, however, neither of those options was available to

Berthold. Patel was out of the office on maternity leave, and Green had left Teva to join Zydus as

of October 23, 2013.

       2543. This did not deter Berthold; he merely went further down the Teva organizational

chart to find a Teva executive to communicate with. The ongoing understanding between Teva

and Lupin was institutional, not dependent upon a relationship between specific individuals. So

in October 2013, when Lupin decided to raise price on Cephalexin Oral Suspension – a drug where

Teva was the only other competitor in the market – Berthold already knew that Teva would follow

the increase.

       2544. On October 14, 2013, Berthold called Rekenthaler at Teva. They ultimately spoke

for sixteen minutes that day. Communication was rare between those two executives. Prior to

October 14, 2013, the last (and only) time they had spoken by phone was November 21, 2011

according to the phone records produced.

       2545. On October 31, 2013 – the day before Lupin was scheduled to increase its price on

Cephalexin Oral Suspension – Berthold also called                   , a national account executive

at Teva, to notify Teva of the price increase. He called                at 9:18 a.m. that morning

and left a message.                   returned the call at 9:57 a.m., and the two spoke for nearly

five minutes.




                                                638
        2546. Within minutes after hanging up the phone with Berthold,                   notified

others internally at Teva about the substantial increase Lupin was about to take:




        2547. The Lupin increase on Cephalexin Oral Suspension actually became effective the

next day, November 1, 2013 – demonstrating that                      had advance knowledge of the

increase. Shortly thereafter,                   followed up her own e-mail with specific price

points that Lupin would be charging for Cephalexin.

        2548.            of Teva responded later that day, asking:




        2549. On November 22, 2013, a large customer requested a bid from Teva on Cephalexin

due to the Lupin price increase.                      forwarded the e-mail from the customer to

Rekenthaler and others with the suggestion that, because Teva already had the majority share, it

should not bid for the business.             agreed, and simultaneously forwarded the e-mail to

Patel stating:                                             Patel called Berthold the same day and

left a message.




                                               639
       2550. And discuss they did. When Patel drafted her initial list of possible price increase

candidates and forwarded it to            in January 2014, Cephalexin Oral Suspension was on the

list. Patel coordinated the increase consistently with Berthold throughout the period.

       2551. On April 4, 2014, Teva raised its WAC prices on Cephalexin Oral Suspension to

match Lupin’s prices exactly. The increases to the WAC price ranged from 90% - 185%,

depending on the formulation.

               2.      Greenstone (Azithromycin Oral Suspension, Azithromycin Suspension,
                       and Medroxyprogesterone Tablets)

       2552. In November 2013, Greenstone began planning to increase prices on several drugs,

including some that overlapped with Teva: Azithromycin Oral Suspension, Azithromycin

Suspension and Medroxyprogesterone Tablets. Patel and                         , a national account

executive at Greenstone, were communicating frequently during that time, including exchanging

six text messages on November 16, 2013 and a phone call on November 23, 2013. Because

Greenstone was a high-quality competitor, and because the companies had successfully conspired

to raise prices previously, it was understood between the two that if Greenstone raised prices Teva

would follow and would not seek to poach Greenstone’s customers after the increase.

       2553. On December 2, 2013 - the same day that Greenstone was slated to send out notices

of the price increases to its customers – Patel spoke to        at Greenstone three times within a

span of twenty minutes, as set forth below:




                                                640
       2554. After the last of those three calls, Patel sent an e-mail to several colleagues at Teva

notifying them of an impending Greenstone price increase – one that would not be effective for

another month:




       2555. On December 5, 2013, Patel continued to communicate with                     about the

Greenstone increases, and how Teva would react to unsolicited customer requests for bids – trading

two voicemails. The next day, Patel sent another e-mail to                    about Azithromycin

Suspension:




                                               641
        2556.              agreed with Patel’s recommendation. Later that day, Levinson of Teva

sent the following notice to several Teva colleagues:




That same day, Teva declined to bid on Azithromycin at multiple customers.

        2557. Over the next several months – during the period of time before Teva followed

Greenstone’s price increases – Teva continued to refuse to bid (and avoid taking Greenstone’s

market share) when requested by customers, for both Azithromycin formulations and

Medroxyprogesterone Tablets. For example, on January 27, 2014, Teva was approached by a large

wholesaler asking for bids on both Azithromycin Suspension and Medroxyprogesterone due to a

                                   After speaking with         of Greenstone for more than five

minutes that same day, Patel agreed with the recommendation not to provide a bid to that customer.

        2558. Similarly, on March 17, 2014 – which was the same day that Patel sent a nearly

final price increase list to          – Teva was approached by another wholesaler requesting a

lower price for Azithromycin Oral Suspension. A national account executive at Teva asked Patel:



         Patel had spoken with           of Greenstone twice earlier that day, including one call



                                               642
lasting more than fifteen minutes. Patel’s response to the national account executive was:



       2559. Consistent with the understanding between the two companies, Teva followed

Greenstone’s price increases for Azithromycin Oral Suspension, Azithromycin Suspension and

Medroxyprogesterone Tablets on April 4, 2014. Patel spoke twice with               from Greenstone

that same day.

                 3.     Actavis (Clarithromycin ER Tablets, Tamoxifen Citrate and Estazolam)

       2560. Teva and Actavis were coordinating about several drugs increased by Teva on April

4, 2014. One of them was Clarithromycin ER Tablets. As of December 2013, Teva, Actavis and

Zydus were the only three generic manufacturers actively selling Clarithromycin ER.

       2561. On December 30, 2013, however, Cardinal approached Teva looking for a bid on

Clarithromycin ER. Teva informed Cardinal that it would not have adequate supply to be able to

take on this additional market share until April 2014, but if Cardinal could wait until then for Teva

to supply, Teva would make an offer. Cardinal agreed.

       2562. The Cardinal bid request was forwarded to Patel on the morning of January 2, 2014.

At 9:37 a.m. that morning,                  , a customer marketing manager at Teva, suggested

providing an offer to Cardinal at

                      also stated:



       2563. Immediately after receiving that e-mail, at 9:40 a.m., Patel called Rogerson at

Actavis and the two spoke for more than seventeen minutes. Shortly after hanging up the phone

with Rogerson, at 10:12 a.m., Patel responded to the e-mail, saying:




                                                643
        2564. On January 9, 2014, Teva learned that Cardinal had accepted Teva’s bid at the

higher price. At 9:19 a.m. that morning, Patel called Rogerson at Actavis and they spoke for more

than six minutes. Shortly after that call, at 9:45 a.m., Patel sent an e- mail internally at Teva stating:




        2565. When Patel sent her supervisor the initial list of                                       on

January 14, 2014, Clarithromycin ER was on the list.

        2566. Similarly, in March, 2014, Actavis implemented its own price increase on several

other drugs, including some that overlapped with Teva. Consistent with the ongoing understanding

between these high-quality competitors, Actavis understood that Teva would follow the increases

or, at a minimum, would not poach Actavis customers after the increase.

        2567. Following a now very familiar pattern, at 9:54 a.m. on March 14, 2014, Rogerson

called Patel and left a message. Patel called Rogerson back at 10:31 a.m., and the two spoke for

more than twelve minutes. Within minutes after hanging up with Rogerson, Patel informed others

at Teva about the Actavis increase:




                                                  644
       2568. In actuality, these increases would not become effective until April 15, 2014, again

demonstrating that Teva knew in advance of its competitors’ price increase plans.

       2569. Within half an hour of sending that e-mail, Patel instructed colleagues to add the

Actavis drugs to the Teva price increase list. She added:

       2570. Less than two hours later, at 12:37 p.m., Patel called Rogerson again. They spoke

for more than five minutes. Shortly after hanging up the phone, at 12:51 p.m., Patel wrote another

e-mail to certain colleagues at Teva, stating:



       2571. First thing the next business day – which was the following Monday, March 17,

2014 – Patel forwarded the                       list to        at Teva. The list included both

Tamoxifen Citrate and Estazolam. Later that morning, Patel called Rogerson. After quickly

exchanging voicemails, they spoke for more than nineteen minutes. Rekenthaler of Teva and

Falkin of Actavis also exchanged four text messages that day, and had one call lasting more than

six minutes.

       2572. Teva followed the Actavis price increases on Tamoxifen Citrate and Estazolam less

than three weeks later, on April 4, 2014. Patel and Rogerson spoke twice by phone that day.

Rekenthaler and Falkin also spoke by phone that day. Because Teva was able to follow the price

increase so quickly, Teva’s increase became effective even before the Actavis price increase for

those drugs.

       2573. After the price increases became effective, Teva took consistent steps not to disrupt

the market or steal market share from Actavis. For example, on May 14, Patel declined to bid at

ABC on both Tamoxifen Citrate and Estazolam, stating:




                                                 645
                        When Patel and her other conspirators at Teva used the term                  in

this context, it was code for the fact that there was an understanding in place with a competitor.

        2574. Similarly, on May 21, 2014, Teva received a request from a large customer for a

bid on Tamoxifen Citrate. As of that date, Teva had 58.4% of the market, and Actavis had 40.7%.

A Teva analyst forwarded the request to Patel and others, recommending (pursuant to the unlawful

understanding in the industry) that Teva not bid



                4.       Multiple Manufacturers (Ketoconazole Cream and Tablets)

        2575. Patel identified Ketoconazole Cream and Ketoconazole Tablets as price increase

candidates sometime in February 2014. They were not listed on her original

list that she sent to           on January 14, 2014, but they were on the list of

that she sent to a colleague on February 26, 2014, with the following notes about each:




        2576. Taro was a common competitor on both drugs, but there were different sets of

competitors for each formulation. For Ketoconazole Cream, Teva’s competitors were Taro and

Sandoz. For Ketoconazole Tablets, Teva’s competitors were Taro, Mylan and Apotex.

        2577. Teva led the price increases for both drugs, but made sure to coordinate with all of

its competitors before (and as it was) doing so. On April 4, 2014 – the day of the increases – Patel

spoke separately with both Aprahamian of Taro and CW-1 of Sandoz. During each call, she let

them know that Teva was increasing the price of Ketoconazole. The same day, Rekenthaler spoke

to Nesta of Mylan; he had previously communicated with                              , a senior sales

executive at Apotex, on March 20 and 25, 2014.




                                                646
        2578. On Ketoconazole Cream, co-conspirators at Taro and Sandoz were also

communicating directly with each other. On April 4, 2014, for example, Aprahamian spoke to

CW-3 at Sandoz for nineteen minutes. They discussed the Teva increase and the fact that Taro

would follow. CW-3 then sent an e-mail internally at Sandoz, alerting colleagues of the price

increase and conveying information about Taro’s price increase plans:




        2579. CW-1 at Sandoz immediately told his colleagues not to bid on any new

opportunities for the drugs, and instead put the products on                      until Sandoz

determined how to proceed.

        2580. That same day, Aprahamian sent a similar e-mail internally to his colleagues at

Taro.

        2581. The following Monday, April 7, 2014, Taro received a request from a customer –

the Minnesota Multistate Contracting Alliance for Pharmacy (“MMCAP”), seeking a competitive

bid on Ketoconazole Tablets due to the Teva price increase. After reviewing the request, a Taro

sales executive sent an internal e-mail stating:

                                      In a follow-up e-mail,                   , a Director of

Corporate Accounts at Taro, confirmed that Taro would decline to bid, but indicated that Taro

would need to lie about the reason:




                                                   647
        2582. Four days after the Teva increase, on April 8, 2014, Aprahamian called Patel and

the two spoke for more than nineteen minutes. Later that same day, he initiated a price increase

for all of Taro’s customers on both the Ketoconazole Cream and the Tablets. Aprahamian directed

that the notice letters be sent to customers on April 16, 2014, with an effective date of April 17,

2014.

        2583. Although Sandoz immediately understood that it would follow these price

increases, it was not able to implement them until October. The delay was due to the fact that

Sandoz had contracts with certain customers that contained price protection terms which would

impose substantial penalties on Sandoz if it increased its prices at that time – and those penalties

would have caused Sandoz to miss certain financial targets during the months after April 2014. At

Sandoz, senior management held monthly budget meetings where they analyzed whether it made

financial sense to implement a particular price increase. In this case, the ramifications of the price

protection terms did not make sense for Sandoz to follow until October 2014.

        2584. In the months after the Teva and Taro increases, Teva held up its end of the

agreement not to poach its competitors’ customers. For example, on May 14, 2014, Teva was

approached by Cardinal requesting a bid due to the Taro increase. The e-mail from Cardinal was

forwarded to Patel, who responded immediately:




                                                 648
         2585. Shortly before sending the e-mail, Patel exchanged several text messages with

Aprahamian at Taro. She would ultimately exchange eight text messages and had one phone call

lasting more than four minutes with Aprahamian on that day.

         2586. Later that same day, Patel also directed that Teva decline to bid for Ketoconazole

at ABC, citing the same logic:

         2587. Sandoz ultimately followed the Teva and Taro increases for Ketoconazole Cream

on October 10, 2014. That same day, Patel and CW-1 at Sandoz spoke for more than three minutes.

         2588. The Teva increases on Ketoconazole were significant. For the cream, Teva, Taro

and Sandoz all increased the WAC price by approximately 110%. For the tablets, Teva’s WAC

increases were approximately 250%, but its customer price increases were substantially larger –

averaging 528%.

         2589. Following this first successful price increase, Defendants were able to increase

prices again on Ketoconazole Cream when G&W entered the market. Consistent with the

overarching agreement, G&W entered the market at prices that were substantially higher than

those charged by the existing manufacturers. Notwithstanding the fact that it was a new market

entrant with a higher price, G&W was able to gain market share as Taro, Sandoz, and Teva ceded

market share to G&W. Further, Taro quickly matched G&W’s price increase. Upon information

and belief, this collusion was facilitated by communications between Aprahamian of Taro and high

level executives at G&W.

                5.     New Relationships Emerge

         2590. By early 2014, the generic drug industry was in the midst of a price increase

explosion. In an internal Teva presentation given shortly after the April 2014 price increases –

titled                             – Teva reflected on the current state of the industry, noting that



                                                649
the                                                                  In commenting on the future

implications for Teva’s pricing strategy, the company stated:

                                                                     Understanding that many more

competitors were enthusiastic about conspiring to raise prices, Teva began to develop new and

additional relationships with certain competitors when implementing its April 4, 2014 price

increases. Some illustrative examples are set forth below.

                      (a)     Breckenridge

       2591. On November 14, 2013, Breckenridge increased its pricing on both

Estradiol/Norethindrone Acetate Tablets (“Mimvey”) and Cyproheptadine HCL Tablets.20 For

Cyproheptadine, Breckenridge increased its WAC pricing by as high as 150%, and raised its

customer contract pricing even higher – 400%. The increases to Mimvey were a more modest 20-

27% for both the WAC and customer pricing.

       2592. In the weeks leading up to those increases – when Patel was still out on maternity

leave – Rekenthaler had several phone calls with             at Breckenridge to coordinate the price

increases. The two spoke twice on October 14, 2013 and had a twenty-six minute call on October

24, 2013. After those calls, they did not speak again until mid- January 2014, when Teva began

preparing to implement its increase.

       2593. Over the next several months – during the period of time before Teva was able to

follow the Breckenridge price increases – Teva followed the understanding to the letter.




______________________
       20
              Breckenridge had acquired the ANDA for Cyproheptadine HCL Tablets in
September 2013 from another manufacturer, and immediately sought to raise the prices previously
charged by the prior manufacturer as it began to sell the product under its own label.


                                              650
       2594. With respect to Cyproheptadine HCL, Teva had approximately 54% market share

in a two-player market. For that drug, Teva consistently refused to bid or take on any additional

market share after the Breckenridge increase. For example, on February 7, 2014, a customer gave

Teva an opportunity to pick up new business on Cyproheptadine. When she learned the news,

Patel called       at Breckenridge. They ended up speaking twice that day – the first and only

phone calls ever between them. After speaking to        Patel sent the following e-mail regarding

the customer’s request:




       2595. With regard to Mimvey, however, Teva only had 19% market share in a two-player

market. For that drug, Teva sought to pick a few customers to level the playing field – before

raising its own prices to follow Breckenridge.

       2596. On April 4, 2014, Teva followed the Breckenridge price increases with substantial

increases of Mimvey (contract increases of as much as 393%) and Cyproheptadine HCL Tablets

(contract increases of as much as 526%). In addition, Teva increased the WAC price on Mimvey

(Estradiol/Norethindrone Acetate Tablets) by 26% and the WAC price on Cyproheptadine HCL

Tablets by as much as 95% – to exactly match Breckenridge’s WAC price on both products.

       2597. Further demonstrating both Teva and Breckenridge’s adherence to the conspiracy,

when Impax entered the market in mid-2015, Teva and Breckenridge both coordinated to concede

market share to the new entrant, and Impax was able to enter the market at the same



                                                 651
supracompetitive WAC prices and net prices as those charged by Teva and Breckenridge. Once

again,         of Breckenridge brokered Impax’s entrance through a series of texts with Michael

Grigsby (a senior sales executive from Impax) on July 20, 2015.

                        (b)      Rising

         2598. Rising became a more appealing potential co-conspirator when CW-2, who had

formerly been employed at Sandoz, left to join Rising in August 2013. Rekenthaler had known

CW-2 for many years, going back to when they both worked together at Teva several years prior.

         2599. Of the drugs on the Teva April 4, 2014 price increase list, Rising was a competitor

on Diflunisal. For that drug, Rising had 21% market share in a two-player market with Teva as of

March 2014.

         2600. Rekenthaler spoke to CW-2 of Rising on December 5, 2013 for fourteen minutes.

When Patel sent her initial list of                    to          on January 14, 2014, Diflunisal

was on the list, with Teva expecting to lead the increase.

         2601. Teva and Rising continued to coordinate the increase over the next several months.

For example, when Patel sent a nearly final list of                 to her supervisor          on

March 17, 2014, she included the following notation about Diflunisal:




         2602. That same day, Rekenthaler spoke with CW-2 twice. During those calls, CW-2

informed Rekenthaler that Rising was having supply problems for Diflunisal and might be exiting

the market at some point in the future. CW-2 confirmed that it would be a good opportunity for

Teva to take a price increase.




                                                652
       2603. Rekenthaler and CW-2 spoke once again on March 31, 2014, shortly before the

Teva price increase for Diflunisal. On April 4, 2014, Teva increased is WAC pricing on Diflunisal

by as much as 30%, and its contract pricing by as much as 182% for certain customers.

       2604. Rising ultimately exited the Diflunisal market for a short period of time starting in

mid-July 2014. When Rising decided to exit the market, CW-2 called Rekenthaler to let him know.

Four months later – when Rising’s supply problems were cured – Rising re-entered the market for

Diflunisal. Consistent with the industry code of conduct among generic drug manufacturers

discussed more fully above, CW-2 and Rekenthaler spoke by phone on several occasions in

advance of Rising’s re-entry to identify specific customers that Rising would obtain and, most

importantly, to retain the high pricing that Teva had established through its price increase on April

4, 2014. On December 3, 2014, Rising re-entered the market for Diflunisal Tablets. Its new

pricing exactly matched Teva’s WAC price increase from April 2014.

                       (c)     Versapharm

       2605. On the April 4, 2014 Teva price increase list, Defendant Versapharm was a

competitor on Ethosuximide Capsules and Oral Solution.

       2606. When Patel began creating the price increase list, Ethosuximide was not considered

a candidate for an increase. For example, when Patel sent her initial                          list to

          in mid-January 2014, neither drug was on the list.

       2607. Versapharm was not considered a high-quality competitor. When Patel created the

quality competitor rankings in May 2013, Versapharm was given a -2 score in the rankings. That

did not stop Rekenthaler, however, from calling                , a senior national account executive

at Versapharm, and speaking for five minutes on January 22, 2014. When Patel sent the next




                                                653
             list to a colleague on February 26, 2014 – Ethosuximide Capsules and Oral Solution

were both on the list, with the following notation:




       2608. Rekenthaler called again and spoke with            at Versapharm on March 7, 2014.

Teva then raised prices on both drugs on April 4, 2014. For Ethosuximide Capsules, Teva raised

is WAC price by 87%, and its contract prices by up to 322%. For Ethosuximide Oral Solution,

Teva raised its WAC price by 20% and its contract prices by up to 81%.

       2609. If Versapharm was being tested by Patel and Teva, it passed with flying colors. On

April 9, 2014 – only five days after the Teva increase – Versapharm increased its pricing on both

Ethosuximide Capsules and Oral Solution to a nearly identical price to Teva.

       2610. Following their agreement on those two drugs, and with no reason to speak further,

Rekenthaler and          of Versapharm never spoke by phone again.

               6.      Valeant

       2611. As noted above in Section XII, senior sales executives from Valeant coordinated

with Teva and other companies to raise prices and allocate markets on a number of drugs, including

Enalapril Maleate, Fluocinonide, Metronidazole and Timolol Maleate. For example,

       and                  of Valeant spoke with executives at Greenstone, Mylan, Sandoz, Teva,

and other Defendant manufacturers with respect to these drugs.           Similarly, Valeant sent

representatives to the February 2014 ECRM Retail Pharmacy Efficient Program Planning Session

in Amelia Island, Florida, which led to successful collusion with Greenstone, Mylan, Sandoz and

Teva on other drugs.




                                                654
       2612. Thus, when Valeant entered the market for drugs in which Teva was already

present, relationships already existed to allow for the implementation of the conspiracy’s rules.

For example, when Valeant entered the market for Pentoxifylline in October 2014 – shortly after

Teva, Mylan, and Apotex led a price increase on this drugs – Valeant was able to coordinate with

these companies – through                          and others – to obtain market share without

disturbing the price increase. As a result, Valeant entered the market for Pentoxifylline at higher

prices than the incumbent suppliers, but was still able to obtain customers, because the

relationships existed between Valeant and the other conspirators to implement the rules of the

conspiracy.

               7.        Impact

       2613. A few weeks after Teva’s April 4, 2014 price increases went into effect, Patel

calculated the impact to Teva’s net sales as a result of the April 4 increase. Based on her analysis,

she found that the April 4, 2014 price increases resulted in a net increase in sales to Teva of

$214,214,338 per year.

       K.      August 28, 2014 Price Increases: Amiloride HCL/HCTZ Tablets,
               Amoxicillin/Clavulanate Chewable Tablets, Carbamazepine Chewable
               Tablets, Carbamazepine Tablets, Clemastine Fumarate Tablets,
               Clotrimazole Solution, Desmopressin Acetate Tablets, Diclofenac Potassium
               Tablets, Disopyramide Phosphate Capsules, Enalapril Maleate Tablets,
               Epitol Tablets, Flurbiprofen Tablets, Flutamide Capsules, Fluvastatin
               Sodium Capsules, Hydroxyurea Capsules, Loperamide HCL Capsules,
               Penicillin VK Tablets, Prazosin HCL Capsules, Prochlorperazine Tablets,
               Topiramate Sprinkle Capsules, Warfarin Sodium Tablets

       2614. On August 28, 2014, Teva raised prices on a number of different drugs, including

those set forth below:




                                                655
       2615. Following the normal pattern of the conspiracy, in the days and weeks leading up

to the price increase, Patel and Rekenthaler were communicating with every high-quality

competitor on those drugs to coordinate the increases in advance. At least some of those

communications are set forth in the graphic below:




                                              656
       2616. The day before the increase became effective – August 27, 2014 – Patel spent most

of her morning discussing the price increases with her contacts at Sandoz, Actavis, Taro, Zydus

and Glenmark:




                                             657
       2617. In addition to those phone communications noted above, representatives from Teva

and every other defendant met in Boston, Massachusetts shortly before the increase, from August

23-26, 2014, for the NACDS annual event, which was the largest pharmaceutical industry meeting

of the year. Cavanaugh, Rekenthaler and Patel, along with many other Teva executives, as well

as executives from every other corporate Defendant, attended.

       2618. For those few drugs where the phone records do not identify direct communications

between Teva executives and their competitors, these executives, at a minimum, communicated

through other competitors.

       2619. For example, with regard to Enalapril, Patel was speaking to Aprahamian at Taro

as shown above. Aprahamian, in turn, spoke to                   , the Vice President of Sales and

Marketing at Wockhardt, on August 8, 2014 for thirteen minutes, and again twice on August 14,

2014, including one call lasting eight minutes.

       2620. Similarly, with regard to the drug Prochlorperazine, Rekenthaler communicated

with Nesta at Mylan on August 7 and August 11, as shown above. Nesta, in turn, communicated




                                                  658
with               , a senior sales executive at Cadista Pharmaceuticals, on the same days that he

had been communicating with Rekenthaler.

       2621. A large number of the drugs on Teva’s August 28, 2014 price increase list were

selected because Teva was following a “high quality” competitor. The coordination between Teva

and certain co-conspirators regarding those drugs is discussed more fully below.

              1.      Mylan

       2622. Effective April 17, 2014, Mylan increased its WAC pricing on a number of different

drugs, including several that overlapped with Teva. Mylan also increased its contract prices, but

at least some of those price increases would not become effective until mid-May 2014.

       2623. Pursuant to the established understanding between the two companies, Teva

immediately decided that it would follow the Mylan increases. On April 21, 2014,

        a national account executive at Teva, forwarded to Patel two spreadsheets with WAC and

AWP pricing information for the price increases taken by Mylan. The spreadsheets were created

by Mylan personnel.

       2624. Patel, in turn, forwarded the e-mail to the Teva sales team and stated:




           The list that Patel referred to included the following products, several of which had

been the subject of coordinated price increases in 2013 as well: Amiloride HCL/HCTZ Tablets;

Cimetidine Tablets; Enalapril Maleate Tablets; Fluvastatin Sodium Capsules; Loperamide HCL

Capsules; Prazosin HCL Capsules; and Sotalol Hydrochloride Tablets.

       2625. Within days, Teva began receiving requests from its customers for bids due to the

Mylan price increases. On April 24, 2014, Patel began to formulate a



                                               659
in order to respond to those requests, but noted that Teva was                       about the Mylan

customer contract price points, which were not publicly available. Previously, Patel had relied on

Kevin Green to obtain specific Mylan customer price points (referred to as             ) through his

communications with Nesta of Mylan, which she used to follow Mylan’s pricing. The next day,

in a follow-up e-mail about the Mylan strategy, Patel noted that one of her Mylan increase

strategies would not have been appropriate for this situation, and concluded that:

                 about the Mylan contract price points.

       2626. Patel continued to push for specific contract price points from Mylan. On April 28,

2014, Patel sent an e-mail to the Teva sales team, stating:




       2627. On May 9, 2014, Patel sent another e-mail:




                                                660
        2628. Shortly after receiving that e-mail – at 11:15 a.m. that morning – Rekenthaler called

Nesta at Mylan and left a message. Nesta returned the call at 11:23 a.m., and the two spoke for

nearly eight minutes.

        2629. Separately, and before Rekenthaler was able to convey any information he had

obtained, Patel forwarded a customer request from ABC (relating to the Mylan increase items)

directly to                   at Teva, lamenting the absence of Green to obtain the Mylan intel:




        2630. The next day,                      sent Patel an e-mail with an attached spreadsheet

listing the Mylan contract price points for all of the recent increases:




        2631. The e-mail was unclear on where                        had obtained this      but the

spreadsheet attached to her e-mail was created by a Mylan employee.

        2632. Rekenthaler and Nesta spoke again on May 20, 2014. Armed with this new source

of            Patel was more confident that Teva could follow the Mylan price increases exactly,

without disrupting the market. That same day, as Patel began to create a new list of Teva price

increase candidates, she instructed a colleague to include the Mylan increase drugs – with specific




                                                 661
price points – as its own separate tab in the spreadsheet, called     Her colleague provided

the list, as requested, on May 21.

       2633. On May 27, 2014, Rekenthaler and Nesta spoke twice, including one call lasting

nearly four minutes. By May 28, Teva had a much more comprehensive list of price increase

items. On that list, seven of the Mylan items were prominently listed with a

notation listed next to each:




                                                662
       2634. Also on the list were three additional Mylan drugs for which Teva would be leading

the price increase: Diclofenac Potassium Tablets; Flurbiprofen Tablets; and Prochlorperazine

Tablets.

       2635. With the list firmly squared away at the end of May, Rekenthaler and Nesta had no

need to speak again until August, when Teva was preparing to implement the price increases. In

the weeks leading up to the August 28, 2014 Teva price increases, Rekenthaler and Nesta spoke

several times to coordinate, including at least the calls set forth below:




               2.      Taro

       2636. As discussed above, Taro implemented a substantial price increase on various

formulations of Fluocinonide on June 3, 2014. In addition to Fluocinonide, Taro also significantly

raised its prices on the following additional drugs, which overlapped with Teva: Carbamazepine

Chewable Tablets, Carbamazepine Tablets, Clotrimazole Solution and Warfarin Sodium Tablets.

       2637. Patel learned of the prices increases for certain of these drugs in advance, based on

her conversations with Aprahamian. It was understood that Teva would follow the Taro price

increases based on these and prior conversations. In fact, Teva agreed and made plans to follow

them before Taro had even put them into effect.




                                                 663
           2638. Specifically, on May 28, 2014,                    of Teva sent Patel the then-current

version of her                                          spreadsheet. That list included the following

Taro drugs, which had not yet been increased by Taro:




           2639. Patel likely obtained this information from Aprahamian on May 14, 2014, when the

two exchanged eight text messages and spoke for more than four minutes by phone.

           2640. On June 3, 2014 – the date of the Taro price increases on Fluocinonide,

Carbamazepine, Clotrimazole, Warfarin and other drugs – Patel and Aprahamian exchanged five

text messages. After exchanging those text messages, Patel confirmed to her supervisor

and another Teva representative that Taro had in fact raised its pricing on Fluocinonide. Patel then

added:



                                                                                   At 5:08 p.m. that

evening, Patel called Aprahamian and the two spoke for nearly seven minutes.

           2641. First thing the next morning, Patel and Aprahamian exchanged two text messages.

Then, at 9:56 am, the two spoke again for almost twenty-six minutes. Shortly after hanging up the

phone with Aprahamian, Patel sent an e-mail to                  making it clear that she had obtained

additional           regarding the Taro price increases that she did not want to put into writing,

stating:




                                                  664
       2642. On June 12, 2014, Teva internally discussed future projections regarding

Carbamazepine – including the fact that its API supplier might run out of supply sometime in 2015.

One of the options discussed was a price increase.               – aware that Patel had been in

discussions with Aprahamian and had          regarding the Taro price increase on Carbamazepine

(and other drugs) – stated:

                                                                              In fact, Patel had

communicated with Aprahamian earlier that same day for more than nine minutes.

       2643. One of the drugs that Taro increased on June 3, 2014 was Warfarin Sodium Tablets

(“Warfarin”). Also known by the brand name Coumadin, Warfarin is a blood thinner medication

used to treat and prevent blood clots.

       2644. As of June 2014, there were three competitors in the market for Warfarin: Teva,

Taro and Zydus. Ten days after Taro increased its price, Zydus quickly followed with a price

increase of its own on June 13, 2014. In the days between the Taro and Zydus price increases for

Warfarin, Teva, Taro and Zydus coordinated through various phone communications with each

other, including at least the following:




       2645. On June 13, 2014 – the date of the Zydus increase on Warfarin – Teva was

presented with an offer from a customer for a one-time buy on that drug. Patel responded that

                                                                                            Later



                                               665
that same day, Patel sent an internal e-mail ale1iing her group, including her supervisor

about a list of drugs on which Teva planned to raise prices. A number of them – including

Carbamazepine Chewable Tablets, Carbamazepine Tablets, Clotrimazole Topical Solution,

Fluocinonide Cream, Emollient Cream, Gel and Ointment, and Warfarin Sodium Tablets –

included the notation                          as the reason for the increase. For that list of drugs,

Patel directed that                                                                 Patel’s directive

meant that Teva would not seek to compete for market share against Taro or Zydus when

approached by customers due to those competitors’ price increases.

       2646. On June 18, 2014, Patel sent that same list to the entire sales team at Teva,

informing them of the status of Teva’s next price increase. She noted that Teva had already been

                                                                                                Patel

continued:



         Finally, Patel stated:




       2647. Some of the                     referred to by Patel was gathered during a phone

conversation she had with Aprahamian of Taro the day before, on June 17, 2014, which lasted

more than fifteen minutes.

       2648. The next day, Patel continued to gather                    and made concerted efforts

to simultaneously coordinate with both Aprahamian and Green at Zydus. The timing and duration

of those phone calls is set forth below:




                                                666
       2649. On August 28, 2014, Teva followed the Taro price increases on Carbamazepine

Chewable Tablets, Carbamazepine Tablets, Clotrimazole Topical Solution, and Warfarin Sodium

Tablets. As discussed more fully above, Teva coordinated those increases with Taro (and Zydus)

through direct communications with those competitors in the days leading up to the increase.

               3.      Zydus

       2650. In addition to their agreement on Warfarin, Teva also agreed with Zydus to raise

the price of Topiramate Sprinkle Capsules.

       2651. Topiramate Sprinkle Capsules, also known by the brand name Topamax, is a

medication used to treat seizures caused by epilepsy, and also to treat migraine headaches. As of

June 2014, Zydus and Teva had a large majority of the market share for Topiramate, while Actavis

had just 3% of the market.

       2652. In April 2014, Zydus raised its price for Topiramate Sprinkle Capsules. Patel was

in frequent communication with Green at the time of the Zydus price increase.

       2653. In the days leading up to the June 13 Zydus price increase on Warfarin, which is

discussed more fully above, Kevin Green coordinated with both Patel and Rekenthaler at Teva, as

set forth in the table below:




                                              667
       2654. Green was likely speaking to Patel and Rekenthaler about both Warfarin and

Topiramate Sprinkle Capsules during those calls because on June 13 – the same day the Zydus

price increase on Warfarin became effective, and after the conversations noted above – Patel added

Topiramate Sprinkle Capsules to Teva’s price increase list, with a notation:

         Two days before that – the same day that Green had extensive phone calls with both

Rekenthaler and Patel – Rekenthaler also spoke twice with Falkin of Actavis, the only other

competitor in the market for Topiramate Sprinkle Capsules.

       2655. Teva followed the Zydus price increase for Topiramate Sprinkle Capsules on

August 28, 2014. As noted above, Teva coordinated that increase with both Zydus and Actavis in

the days and weeks before it.

               4.     Competitors Follow Teva

       2656. For those drugs where Teva was leading the price increases on August 28, 2014,

several of Teva’s competitors followed in short order and those price increases were also

coordinated.

       2657. For example, on October 10, 2014 Sandoz followed Teva’s price increases on three

drugs: Amoxicillin/Potassium Clavulanate Chewable Tablets; Diclofenac Potassium Tablets; and

Penicillin V Potassium Tablets. Following the normal pattern, Patel of Teva spoke to CW-1 of

Sandoz on the day of the Sandoz price increases for more than three minutes.




                                               668
       2658. Then, on December 19, 2014, Actavis followed the Teva price increase on

Desmopressin Acetate Tablets. Rekenthaler of Teva and Falkin of Actavis spoke frequently in the

days and weeks leading up to the Actavis price increase, including calls on November 18,

November 21 and November 25, 2014.

       2659. Indeed, even before Actavis followed the Teva price increase, Teva knew that

Actavis planned to increase. For example, on October 15, 2014 – approximately six weeks before

Actavis raised its price – Teva received a request from a customer asking Teva to reduce its pricing

on Desmopressin Acetate because it was no longer offering competitive prices. Patel’s initial

response to the customer was:

                                                                                   In a subsequent

internal discussion, Patel expressed how difficult it was to actually keep track of all of Teva’s

different collusive agreements, saying:



       2660. Similarly, on March 4, 2015, Mylan followed the Teva and Sandoz price increases

on Diclofenac Potassium Tablets. Rekenthaler coordinated that price increase with Nesta of Mylan

during two phone calls on February 18 and one call on February 19, 2015.

       L.      January 28, 2015 Price Increases: Bethanechol Chloride Tablets,
               Ciprofloxacin HCL Tablets, Diltiazem HCL Tablets, Estradiol Tablets,
               Fluoxetine HCL Tablets, Glimepiride Tablets, Griseofulvin Suspension,
               Isoniazid, Ketoprofen Capsules, Ketorolac Tromethamine Tablets,
               Nortriptyline HCL Capsules, Propranolol

       2661. Shortly after the August 28, 2014 Teva price increases, Patel accepted a new

position at Teva. She left her position in the pricing department to take on the role of Director of

National Accounts at Teva. Her new position meant new responsibilities, necessitating more




                                                669
frequent travel to customer conferences and trade shows, giving her a greater opportunity to meet

and collude face-to-face with competitors instead of over the telephone.

       2662. When Patel left the pricing department at Teva her position was not re-filled.

           Patel’s former supervisor, assumed her role and became the executive responsible for

identifying price increase candidates and implementing price increases.

       2663. On January 28, 2015, Teva raised prices on a number of different drugs. Teva’s

price increase spreadsheet – now maintained by             at Teva, identified the following drugs,

among others, along with the price increase strategy and reasons for the increase:




       2664. Consistent with their normal pattern, Patel and Rekenthaler communicated with a

number of Teva’s significant competitors about these drugs in the days and weeks leading up to

January 28, 2015.     The relevant phone communications between Teva and several of its

competitors related to these drugs are set forth below:




                                               670
       2665. Upon information and belief, Patel also spoke in-person with many of these

competitors. For example, in her new role as a Director of National Accounts, Patel personally

attended the following trade association events and customer conferences in the fall of 2014 and

winter of 2014-15: NACDS, Boston, MA (August 23-26, 2014); Econdisc Bidders Meeting, St.

Louis, MO (September 17-19, 2014); PCMA Annual Meeting in Rancho Palos Verdes, CA

(October 13-14, 2014); Anda Strategy Meeting, Miami, FL (October 26-29, 2014); and the HDMA

Round Table, Washington, DC (January 8, 2015). These industry events were all well-attended

by Teva’s competitors.

       2666. Some specific examples of Teva’s coordination with competitors about its January

28, 2015 price increases are set forth below.

               1.      Ciprofloxacin HCL and Glimepiride

       2667. Ciprofloxacin HCL Tablets, also known by various brand names including

Cetraxal, Otiprio and Ciloxan, is an antibiotic that fights bacteria in the body. It is used to treat


                                                671
different types of bacterial infections, including skin infections, bone and joint infections,

respiratory or sinus infections, urinary tract infections, and certain types of diarrhea.

       2668. Glimepiride Tablets, also known by the brand name Amaryl, is a medication used

to control high blood sugar in people with type 2 diabetes.

       2669. Dr. Reddy’s significantly increased its pricing on both Ciprofloxacin HCL and

Glimepiride on August 18, 2014. The increases to the Ciprofloxacin HCL WAC were 201% –

533% depending on the dosage strength.             The increases to the Glimepiride WAC were

approximately 300% for all dosage strengths.

       2670. In the days and weeks leading up to the Dr. Reddy’s price increases for

Ciprofloxacin HCL and Glimepiride,                       , a senior sales executive at Dr. Reddy’s, spoke

frequently with Patel about the planned price increases, including calls on July 10, 18, 21, 22, and

24.

       2671.           continued to communicate with Patel after the Dr. Reddy’s price increases

became effective, in the hope that Teva would quickly follow with its own price increases. The

two exchanged four text messages on August 25, 2014 – only three days before Teva’s substantial

price increase on August 28, 2014 (discussed above).

       2672. Despite Dr. Reddy’s best efforts, Teva was unable to add Ciprofloxacin HCL or

Glimepiride to its August 28 price increase. On the same day that Teva sent its price increase

notices out to its customers,               , a senior account executive at Dr. Reddy’s, obtained a

complete list of Teva’s price increases (including a number of drugs not sold by Dr. Reddy’s).

Although unclear how                     obtained this information, the subject line of the e-mail

clearly identified the information as                                    In her message to several other

Dr. Reddy’s colleagues,                  stated:



                                                   672
       2673.                       , a senior marketing executive at Dr. Reddy’s, replied:




                                       Dr. Reddy’s anticipated that Teva would follow its price

increases based on the understanding that had been reached between           and Patel during their

various conversations.

       2674. In fact, Teva did follow the Dr. Reddy’s price increases – on both Ciprofloxacin

HCL and Glimepiride – during its next round of price increases on January 28, 2015. In the

interim,        and Patel continued to communicate, exchanging four text messages on October

10, 2014.

       2675. Actavis – the only other quality competitor in the market for Ciprofloxacin HCL –

increased its pricing for that drug on December 19, 2014 to exactly match Dr. Reddy’s WAC

pricing. In the days leading up to the Actavis price increase, Rekenthaler of Teva spoke to Falkin

of Actavis several times to coordinate the increase, including twice on December 17 (including

one call lasting nearly nine minutes) and once on December 18, 2014.

       2676. When Teva did follow the Dr. Reddy’s (and Actavis) price increases on

Ciprofloxacin HCL and Glimepiride, on January 28, 2015, Teva raised its WAC pricing to match

Dr. Reddy’s WAC prices exactly. That same day, Dr. Reddy’s was (again) able to obtain a full

copy of Teva’s price increase list. That list included many drugs that Dr. Reddy’s did not market.


                                               673
               2.      Griseofulvin

       2677. Griseofulvin Microsize, also known by the brand name Grifulvin V, is a medication

used to treat fungal infections of the skin, hair and nails that do not respond to creams or lotions.

The medication is sold in several formulations, including tablets and suspension, and works by

stopping the growth of fungi.

       2678. Throughout 2013, Rising had a virtual monopoly on the Griseofulvin tablet market,

with Valeant Pharmaceuticals maintaining only a small percentage of the share. On October 1

2013, Sandoz began planning its launch into the tablet market. On October 1 and October 2, CW-

2 of Rising exchanged several calls with CW-3 and                , a Sandoz sales executive, during

which they discussed pricing for Griseofulvin and the allocation of market share to the new entrant,

Sandoz. So that Sandoz could get customers without eroding price, Rising ultimately agreed to

concede Cardinal, CVS, McKesson, and Wal-Mart. After Rising conceded the Cardinal account

in late November, CW-2 and CW-3 spoke again Sandoz confirmed that it would not seek to add

any additional accounts.

       2679. On September 9, 2014, Actavis notified its customers of a price increase on

Griseofulvin Microsize Oral Suspension. In the days leading up to September 9, 2014, Patel and

Rekenthaler of Teva communicated with Falkin and Rogerson of Actavis to coordinate the

increase. Some of those calls are detailed below:




                                                674
       2680. The Actavis price increase for Griseofulvin became effective on October 6, 2014.

       2681. Teva promptly added Griseofulvin to its own price increase list, with the notation

                                 as the reason for the price increase.

       2682. Teva followed the Actavis increase for Griseofulvin during its next price increase

event on January 28, 2015. As discussed above, in the days leading up to that price increase

Rekenthaler of Teva and Falkin of Actavis coordinated frequently. Teva’s price increase for

Griseofulvin Microsize Oral Suspension matched Actavis’s WAC pricing exactly.

       2683. Additionally, Sandoz and Rising coordinated a price increase on Griseofulvin

tablets at the same time as Teva and Actavis were coordinating the increase on the suspension

formulation. Rising increased its prices in October 2014, and CW-2 communicated this to CW-3.

Although Sandoz did not follow the price increase until August 2015 due to price protection

penalties in certain contracts, it complied with the overarching agreement and did not take market

share from Rising after it announced the price increase.

XIV. AFTER SUCCESSFULLY COLLUDING, DEFENDANTS’ QUALITY
     RANKINGS IMPROVE

       2684. A little more than a year after she first circulated her Quality of Competitor List,

Patel finalized an updated list on May 9, 2014. This updated list reflected changes in Teva’s

conspiratorial relationships.

       2685. Although certain competitors retained a high-quality ranking throughout the entire

relevant time period – like Defendants Mylan, Sandoz, Actavis and Taro – other competitors saw

their ranking increase (sometimes dramatically) after successfully colluding with Patel or others

at Teva on one or more drugs during the prior twelve-month period. These changes demonstrate

that Teva’s quality competitor rankings were, in reality, a list of co- conspirators that Teva could

trust to adhere to the illegal agreements.


                                                675
        A.       Apotex

        2686. Apotex, for instance, was one of Teva’s two lowest-ranked competitors in May

2013 with a ranking of -3. When Patel updated her Quality Competitor rankings in May 2014,

however, Apotex was rated +2 – an increase in five points over that twelve-month period.

        2687. Apotex made this jump in Teva’s quality competitor rankings in large part due to

Patel’s coordination with                     , a sales executive at Apotex, and specifically the

successful coordination between Apotex and Teva in 2013 on Pravastatin and Doxazosin Mesylate.

        2688. As noted above, Patel revised her May 2013 price increase list on May 29, 2013 to

add, inter alia, Pravastatin. The day before – May 28 – Apotex increased its price on Pravastatin

by over 100%. Apotex’s new, higher prices for Pravastatin exactly matched Glenmark’s May 16,

2013 price increase.

        2689. In the days leading up to Patel’s decision to add Pravastatin to her list of price

increase candidates – and Apotex actually increasing its prices – Patel communicated frequently

with              at Apotex. Between May 20 and May 24, 2013, the two spoke five times.

        2690. Teva ultimately raised its prices on Pravastatin – to follow Glenmark, Apotex and

Zydus – on August 9, 2013. In the days leading up to the Teva price increase, Patel spoke to

             at Apotex three times to coordinate.

        2691. At the same time that Teva raised its prices on Pravastatin in August 2013, it also

increased its pricing on Doxazosin Mesylate. Teva’s new, increased price (a 1,053% increase)

matched Apotex’s (and Mylan’s) recent price increases. Apotex itself had increased the price of

this drug on July 23, 2013.             of Apotex and Patel of Teva had one conversation the week

before Apotex took the increase, in addition to coordinating before Teva followed on August 9,

2013.



                                                    676
       2692. Apotex soared dramatically in the quality competitor rankings for one additional

reason: in April 2013, Apotex hired               as a senior executive. Rekenthaler of Teva and

            began communicating regularly after           was hired by Apotex. There is no record

that they had ever communicated by phone before that.

       2693. That relationship continued through 2014. On April 4, 2014, Teva increased the

price on Pentoxifylline by as much as 69%. Despite the fact that Apotex was the market leader at

that time, Teva chose to lead the price increase on Pentoxifylline. In the weeks leading up to

Teva’s price increase, Rekenthaler of Teva engaged in numerous communications with

at Apotex. The two spoke twice on March 7, 2014, for two and three minutes, respectively. They

spoke again on March 20 for four minutes, and again on March 25 for two minutes. A week after

Teva increased its price – on April 11, 2014 – they spoke again for five minutes. During these

calls, Rekenthaler gathered Apotex’s pricing plans and conveyed them to Patel.

       2694. As a result of Patel and Rekenthaler’s successful coordination with Apotex

executives, Patel dramatically increased Apotex’s quality competitor ranking in May 2014.

       B.       Zydus

       2695. Zydus – like Apotex – had been one of Teva’s two lowest-ranked competitors in

May 2013 with a ranking of -3. But, when Patel updated her quality competitor rankings in May

2014, Zydus was rated +2, an increase in five points over a twelve-month period. While Apotex’s

increase in the ranking was due to Teva’s successful collusion with Apotex on several price

increases in 2013 and 2014, Zydus’s increase was related to Kevin Green, who had himself

conspired with a number of competitors while at Teva (at the direction of and in coordination with

Patel and Rekenthaler at Teva, among others) moved from Teva to Zydus in November 2013.




                                                  677
With Green firmly installed at Zydus, Patel was emboldened to more fully include Zydus in the

conspiracy.

       2696. Patel’s confidence was well-founded. In the year after Green joined Zydus, the two

companies successfully conspired to divide markets and allocate customers relating to Zydus’s

entry into the market for multiple drugs, including: Fenofibrate (February – March 2014),

Paricalcitol (March – April 2014), Niacin (May – June 2014), and Etodolac ER (May – July 2014).

       2697. Teva and Zydus also agreed to increase prices on Topiramate Sprinkles and

Warfarin Sodium tablets. Zydus increased the price for both of those drugs on June 13, 2014.

Teva followed with an increase on both drugs on August 28, 2014. With respect to the Topiramate

Sprinkles, Teva was explicit in its internal communications that its increase was to

              namely Zydus.

       2698. In the days leading up to both companies’ price increases, Green and Patel

communicated frequently to coordinate the price increases. On June 19, 2014 – four days before

Zydus increased its prices – Green and Patel spoke four times. And on August 27, 2014 – the day

before Teva raised its prices – Green and Patel spoke three times.

       2699. Green was also communicating frequently with Rekenthaler of Teva around the

time of the price increases on Topiramate Sprinkles and Warfarin Sodium tablets. On June 11,

2014, the two men spoke for eight minutes. On August 20, the two exchanged an additional pair

of phone calls.

       2700. Patel and Rekenthaler did not communicate with Green in isolation. The two Teva

executives made sure to keep each other apprised of their conversations with competitors,

including Green. In early 2014, Patel and Rekenthaler both worked largely out of Teva’s home

office. After either one of them engaged in a phone call with a competitor, he or she would be



                                               678
sure to provide an in-person debrief of the communication so as to avoid putting such information

in writing.

       2701. Even before Green joined Zydus in November 2013, Teva had some success in

coordinating price increases with Zydus. As discussed above, Patel decided to add Pravastatin to

her price increase list only after determining that Zydus agreed to the increase. In the week leading

up to Patel’s decision to revise her price increase list to include Pravastatin, Green (still at Teva)

spoke to                and                   , both senior executives at Zydus.

       2702. Just two weeks later, on June 14, 2013, Zydus increased its price on Pravastatin by

over 150%. Green similarly had numerous conversations with Zydus executives in the week prior

to that company’s Pravastatin increase, as shown in the table below:




       2703. As noted above, Teva ultimately raised its prices on Pravastatin on August 9, 2013.

At that time, Patel recommended that Teva follow the competitors that had already raised their

prices, including Zydus. Prior to Teva raising its prices on August 9, 2013, Green spoke to

       at Zydus three times – twice on August 4, 2013, and once on August 5.

       C.      Heritage

       2704. Heritage, like Apotex and Zydus, was not a highly-ranked competitor when Patel

first created the quality of competitor ranking list in May 2013. Initially, Patel gave Heritage a



                                                 679
ranking of “0.” However, when Patel updated her quality competitor rankings in May 2014,

Heritage received the highest possible ranking of +3.

       2705. The reason for Heritage’s significant improvement in Patel’s quality competitor

rankings was coordination between Patel and the Vice President of Heritage, Jason Malek. After

moving to Teva, Patel began communicating with Malek by phone as early as July 9, 2013. From

that date until July 25, 2014, the two spoke by phone at least 37 times.

       D.        Lupin

       2706. In Patel’s initial May 2013 quality competitor ranking list, Defendant Lupin was

given a ranking of +2. When Patel updated her quality competitor rankings a year later, Lupin

received the highest possible rating of +3.

       2707. Defendant Lupin was awarded the highest score in the quality competitor ranking

in 2014 because Berthold of Lupin earned Patel’s trust by consistently agreeing to her price

increase plans. From May 2013 through April 2014, for example, Patel and Berthold spoke at

least 76 times by phone. Green, while still at Teva, also had a very strong relationship with

Berthold. As discussed above, at times Patel and Green would even coordinate with each other

regarding which one of them should coordinate a price increase or customer allocation agreement

with Berthold.

       2708. As discussed more fully above, in 2013 – after Patel joined Teva – Teva and Lupin

conspired to fix and raise prices on at least the following drugs: Cefdinir Oral Suspension and

Capsules, Cefprozil Tablets, and Pravastatin. Then in early 2014, executives at the two companies

coordinated Lupin’s entrance into the market for Balziva.

       2709. The relationship between Teva and Lupin was so strong that even when Green left

Teva, and Patel was out of the office on maternity leave, Berthold still found other executives at



                                               680
Teva to communicate with regarding a price increase for the drug Cephalexin Oral Suspension.

As discussed above, in October 2013 Berthold called Rekenthaler and                   , a national

account executive at Teva, to coordinate Lupin’s November 1, 2013 price increase for Cephalexin

Oral Suspension. When Patel returned from maternity leave and began planning the next round of

Teva price increases, she continued these communications with Berthold until Teva followed

Lupin’s price increase on April 4, 2014.

       2710. Patel and Berthold also coordinated a price increase and market allocation scheme

with regard to the drug Niacin ER, as Lupin was entering the market in March 2014. Given the

successful track record between the two competitor companies, Lupin warranted a +3 in the quality

competitor rankings when Patel updated them in May 2014.

       E.      Par

       2711. In Patel’s initial May 2013 quality competitor ranking list, Defendant Par was given

a ranking of +1. When Patel updated her quality competitor rankings a year later, Par improved

to a ranking of +2.

       2712. Defendant Par rose in the rankings largely because of several strong relationships

between the two companies. For example,                     , a national sales executive at Teva,

had a strong relationship with                 , a senior sales executive at Par. The two began

communicating by telephone in September 2013. Between September 2013 and May 2014, the

two spoke at least twenty-seven times by phone.

       2713. Similarly, Rekenthaler at Teva had a very strong relationship with another senior

executive at Par,                , Rekenthaler spoke with       frequently throughout 2013 and

2014. From the beginning of 2013 through May 2014, Rekenthaler spoke to            at Par at least

thirty-two times by phone.



                                               681
        2714. Patel was well aware of these strong relationships, and relied on the information

that                   and Rekenthaler obtained from their communications with senior Par

executives in order to make pricing or bidding decisions for Teva’s drugs. One such example

occurred on Friday, February 7, 2014 when Teva received notice from a customer that it had

received a competitive challenge from Par on the drug Labetalol HCL Tablets. Patel forwarded

the e-mail to                       with three question marks.                            responded

immediately: “                  The message that                  had left was for            at Par,

and the two executives spoke five times that same day. After these calls with

        responded back to Patel saying:



        2715. The following Monday, Patel also forwarded the original e-mail (discussing the

competitive challenge from Par on Labetalol) to Rekenthaler, saying:

           One minute after receiving that e-mail, Rekenthaler called                , at Par and the

two spoke for eighteen minutes. Shortly after hanging up the phone with          Rekenthaler sent

another e-mail to Patel, stating:                                               Rekenthaler spoke

to        again later that afternoon for three minutes.

        2716. After these discussions between Teva and Par executives, Teva ultimately offered

only a nominal price reduction to that customer – knowing that this would likely concede the

business to Par.

        2717. As discussed more fully above, Teva continued to conspire with Defendant Par on

various market allocation and price fixing schemes throughout the remainder of 2014 and into

2015.




                                                682
       F.       Greenstone

       2718. Greenstone was not a highly-ranked competitor when Patel first created the quality

competitor ranking list in May 2013. Patel had, at that time, given Greenstone a ranking of “0.”

However, when Patel updated her quality competitor rankings in May 2014, Greenstone improved

to a +1 ranking.

       2719. One of the reasons for Greenstone’s improvement in the rankings was Patel’s

developing relationship with               , a national account executive at Greenstone. Patel and

       were former co-workers, and had a longstanding relationship. From the time Patel started

her employment at Teva in April 2013, through the time that she updated the quality competitor

rankings in May 2014, Patel and           communicated by phone or text at least 66 times. Patel

also spoke to            supervisor, Jill Nailor of Greenstone, numerous times in early 2014 to

coordinate Greenstone and Teva price increases and customer allocation agreements.

       2720. Patel and            of Greenstone spoke consistently at or around the time of every

price increase effectuated by either company on drugs where they overlapped, including for

example: July 3, 2013 – the day of Teva’s price increase on Fluconazole; December 2, 2013 the

day that Greenstone sent notices to customers of its price increases on Azithromycin Suspension,

Azithromycin Oral Suspension and Medroxyprogesterone; and April 4, 2014 – the day that Teva

followed Greenstone’s price increases on Azithromycin Suspension, Azithromycin Oral

Suspension and Medroxyprogesterone.

       2721. Given the willingness of Greenstone’s executives to coordinate price increases with

Teva, Patel increased Greenstone’s quality competitor ranking in May 2014.




                                               683
       G.      Amneal

       2722. In Patel’s initial May 2013 quality of competitor ranking list, Defendant Amneal

was given a ranking of +1. When Patel updated her quality competitor rankings a year later,

Amneal improved to a ranking of +2.

       2723. One of the reasons why Defendant Amneal rose in the rankings was because of

several strong relationships between executives at the two companies. For example, Rekenthaler

of Teva had a strong relationship with                 , a senior sales executive at Amneal. From

May 2013 to May 2014, they spoke eight times by phone, and attended many trade association

meetings and customer conferences together as well. Rekenthaler and                  were regular

participants in an annual golf outing hosted by a packaging contractor in Kentucky, where – as

discussed above – the generic drug manufacturer participants (competitors) played golf by day and

gathered socially by night, referring to each other as “friends” and “fraternity brothers.” (Green

and Ostaficiuk were also participants.) As noted above, Rekenthaler and                  coordinated

price increases on Ranitidine HCL in May 2013. The two coordinated again with respect to

Warfarin Sodium tablets several times between May and August 2014. (              also spoke with

               of Zydus, another manufacturer of Warfarin Sodium, days before his August

conversation with Rekenthaler). And after a brief exit by Amneal from the Warfarin Sodium

market in late 2014,            spoke with Rekenthaler again in early March 2015, days before

Amneal reentered the market at a higher price than it had charged just months earlier.

       2724. Similarly, Patel also developed strong relationships with           of Amneal. Patel

spoke to               regarding Norethindrone Acetate in September 2014, and continued to

communicate with                into at least 2015 – sometimes using alternative forms of

communication. In addition to their cell phones, the two executives also used Facebook Messenger



                                               684
to coordinate anticompetitive conduct. In the message exchange below (relating to a drug not

identified in this Complaint),        informed Patel that Amneal would concede one customer

– Econdisc (     ) – so long as Amneal could retain another large customer, Red Oak Sourcing

(     ):




       2725. On the day of this message exchange, Patel and            also spoke by phone for

nearly five minutes.

       H.      Rising – Hydroxyzine Pamoate & Diflunisal Tablets

       2726. In Patel’s initial May 2013 quality competitor ranking list, Rising was given a

ranking of +1. When Patel updated her quality competitor rankings a year later, Rising improved

to a ranking of +2.

       2727. Rising improved in the quality competitor rankings because of the relationship

between Rekenthaler and CW-2. In 2013, CW-2 left Sandoz to join Rising. At that time, Rising



                                             685
was already preparing to enter the market for a drug called Hydroxyzine Pamoate. Teva was one

of the competitors already in that market. During several calls in early October 2013, CW-2

coordinated with Green and Rekenthaler of Teva to acquire a large customer and facilitate Rising’s

entry into the Hydroxyzine Pamoate market.

       2728. Later, in March 2014, CW-2 sought to return the favor. At that time, Rising

experienced supply problems for the drug Diflunisal Tablets – a two-player market involving only

Teva and Rising. In an effort to further the ongoing understanding between the two competitors,

CW-2 contacted Rekenthaler of Teva and informed him of Rising’s supply problems and the fact

that Rising may have to leave the market at some point in the future. The purpose for the call was

to alert Rekenthaler that Teva would have the opportunity to take a price increase, as Rising would

not be in a position to take on any additional market share.

       2729. On April 4, 2014, Teva increased the price on Diflunisal Tablets (by as much as

182%), as well as Hydroxyzine Pamoate (by as much as 165%). In the weeks leading up to those

price increases, Rekenthaler communicated several times with CW-2 at Rising to coordinate the

increases. The two spoke by phone twice on March 17, 2014 and once on March 31.

       2730. When Rising decided to leave the Diflunisal market in mid-July 2014, CW-2 called

Rekenthaler to let him know. Four months later – after Rising remedied its supply problems –

Rising re-entered the market for Diflunisal. Consistent with the overall understanding discussed

above, and the rules of engagement that were generally followed in the industry, CW-2 and

Rekenthaler communicated in advance of Rising’s re-entry to identify specific customers that

Rising would obtain and, most importantly, to ensure the retention of the high prices that Teva had

established through its price increase in April 2014. On December 3, 2014, Rising re-entered the




                                               686
market for Diflunisal Tablets. Its new pricing matched Teva’s WAC price increase from April

2014.

        2731. Rekenthaler’s successful efforts to coordinate price increases and customer

allocation agreements with CW-2 of Rising led Patel to increase Rising’s quality competitor

ranking in May 2014.

        I.     Breckenridge

        2732. In Patel’s initial May 2013 quality competitor ranking list, she gave Breckenridge

a ranking of +1. When Patel updated her quality competitor rankings a year later, Breckenridge

improved to a ranking of +2.

        2733. Breckenridge improved in the quality competitor rankings largely because of the

strong relationship established between Patel and Rekenthaler and certain executives at

Breckenridge, which led to several successful price increases.

        2734. For example, on November 14, 2013, Breckenridge increased the WAC pricing of

both Mimvey and Cyproheptadine HCL Tablets. In the weeks leading up to those Breckenridge

price increases, Rekenthaler communicated by phone several times with                    , a sales

executive at Breckenridge. The two spoke twice on October 14, 2013 and once on October 24,

2013. The call on October 24 lasted twenty-six minutes.

        2735. On April 4, 2014, Teva followed the Breckenridge price increases on Mimvey

Tablets (increasing the WAC pricing by over 100%) and Cyproheptadine HCL Tablets (increasing

the WAC pricing by over 90%), to match Breckenridge’s WAC pricing on both products. Teva

raised prices even higher on its customer contracts. Teva increased the contract pricing of Mimvey

by as much as 393%, and the contract pricing of Cyproheptadine HCL Tablets by as much as

526%, depending on the dosage strength.



                                               687
       2736. As Patel planned for Teva’s April 4, 2014 price increases, both she and Rekenthaler

continued to communicate with their counterparts at Breckenridge. Rekenthaler spoke to

at Breckenridge on January 15, 2014 – the day after Patel sent her first list of

             to         – for nineteen minutes. Similarly, Patel spoke with               – a sales

executive at Breckenridge – two times on February 7, 2014, as she was determining whether Teva

should provide a bid to a customer. After her discussions with             Teva declined to bid for

the business in order to avoid taking market share away from Breckenridge as a result of the price

increases.

       2737. As a result of the successful coordination of these price increases between Teva and

Breckenridge, Patel increased Breckenridge’s quality competitor ranking in May 2014.

       J.         Glenmark

       2738. Not every Teva competitor saw its quality competitor ranking increase between

2013 and 2014. Defendant Glenmark, for example, declined slightly in the rankings. In Patel’s

initial May 2013 quality competitor ranking list, Glenmark was given a ranking of +3. When Patel

updated her quality competitor rankings a year later, Glenmark was given a ranking of +2.

       2739. The reason that Defendant Glenmark declined in the rankings was because Patel

lost her most valuable relationship at that company – CW-5. CW-5 left Glenmark in April 2014.

In the eleven-month period between Patel joining Teva in late April 2013 and CW-5 leaving

Glenmark in April 2014, the two competitors communicated by phone or text message 121 times.

They also communicated frequently using an encrypted messaging application, WhatsApp. As

discussed more fully above, starting in early May 2013 Teva and Glenmark conspired to fix and

raise prices on a number of drugs, including: Adapalene, Nabumetone, Fluconazole Tablets,

Ranitidine, Moexipril, Moexipril HCTZ and Pravastatin.



                                                688
       2740. In addition to CW-5, Patel also had other contacts at Glenmark – which is why

Glenmark did not fall dramatically in the quality competitor rankings when CW-5 left the

company. For instance, Patel exchanged 44 phone calls or text messages with                      ,a

sales and marketing executive at Glenmark, between May 2013 and July 2015. Similarly, Patel

exchanged 36 calls with Jim Brown, the Vice President of Sales at Glenmark, between August

2013 and October 2014. As discussed more fully above, Patel continued to coordinate with

         and Brown throughout 2014 on several drugs, including Kariva and Gabapentin Tablets

– demonstrating that Glenmark remained a quality competitor even after CW-5 left the company.

       K.      A Commitment to the Overarching Conspiracy Was Instrumental to the
               Success of the Price-Fixing Agreements

       2741. As detailed above, the overall understanding among the co-conspirators required a

commitment to a set of unwritten rules that prevented each Defendant from competing with each

of its competitors for each of the generic drugs identified in this Complaint. Because each of the

Defendants commited to these rules for each of the drugs identified in this Complaint, competition

for these drugs waned and prices rose. These rules of the conspiracy were the foundation upon

which the price increases were built. So long as each competitor followed these rules, no

competitor was incentivized to compete for business when another competitor increased price. In

short, competition resulted in lower prices; and as far as Defendants were concerned, nobody won

in that scenario. Indeed, it was generally understood that when a competitor increased price, the

other competitors in the same drug market would either decline to bid for the business or would

bid high so as not to punish the party that took the price increase. Often, the competitor would

then follow with a comparable price increase of its own.

       2742. There are numerous examples throughout this Complaint of competitors refusing

to compete in the face of a price increase so as not to “punish” the leader or “steal” market share.


                                                689
As just one example, when Defendant Teva was approached by a large retail customer in May

2013 to bid on a drug for which Greenstone had increased prices, Green expressed caution stating:

                                            Teva later declined to bid on the business.

       2743. The understood market allocations and price increases went hand in hand. For

example, as discussed above the ongoing understanding between Defendants Teva and Sandoz

that they would follow each other’s price increases was predicated on the agreement that the

follower would not poach the leader’s customers after the increase. The same was true for the

understanding between Sandoz and Mylan. As discussed above, Nesta specifically cautioned CW-

4 that Mylan did not appreciate having its prices challenged after an increase – i.e., Mylan did not

want Sandoz to steal its business by underbidding its customers. Similarly, Aprahamian of Taro

often spoke with CW-3 of Sandoz about coordinating price increases between the two companies.

Almost invariably, he would conclude the conversations with phrases like



       2744. Further, because of this understanding, it was not essential for the competitors to

communicate with each other in advance of every price increase, although they often did so

anyway. So long as the competitor knew before it was approached by customers that the reason

for the solicitation was due to a price increase by the incumbent supplier, the competitor knew not

to compete for the business. Similarly, the competitor knew it would have the opportunity, which

it often took, to follow the increase with a comparable price increase of its own.

       L.      “Quality Competitor” Rankings Relate to Price Increases, But Even “Low
               Quality” Competitors Comply With the Overarching Conspiracy

       2745. As a further demonstration that the collusive understanding was universally

accepted and understood in the generic pharmaceutical industry, even companies that Patel and




                                                690
Teva referred to as “low quality competitors” – because they were not viewed as strong leaders or

followers for price increases – consistently complied with the rules of the conspiracy.

               1.      Camber and Teva Fix Prices on Ranitidine HCL

        2746. When Patel first created the quality of competitor rankings in early May 2013, she

gave Defendant Camber a ranking of -2. When Patel revised those rankings one year later in May

2014, Camber’s ranking did not change. It remained one of the lowest ranked of all of Teva’s

competitors.

        2747. Nonetheless, Camber adhered to the understanding, and consistently applied those

rules in dealing with its competitors.

        2748. This was evident when, in September 2014, Camber entered the market for two

different drugs that overlapped with Teva.

        2749. One of those drugs was Raloxifene Hydrochloride Tablets (“Raloxifene”), also

known by the brand name Evista – a drug used in the treatment of osteoporosis in postmenopausal

women.

        2750. Teva had begun marketing Raloxifene in March of that year. Actavis had received

approval to begin marketing Raloxifene in 2014 as well, but had not yet entered by September

2014.

        2751. The other drug was a generic form of Lamivudine/Zidovudine – a combination

medication also known by the brand name Combivir. Generic Combivir is used in the treatment

of human immunodeficiency virus (HIV). Camber had received approval to market a generic form

of Combivir in February 2014, but as of September 2014 was still in the process of entering the

market. Already in the market were competitors Teva, Aurobindo and Lupin. As discussed more




                                               691
fully above, Defendants Teva, Lupin and Aurobindo agreed to divvy up the generic Combivir

market in 2012 when Teva was losing exclusivity on that drug.

       2752. As the anticipated product launches for Raloxifene approached, the new entrants

discussed an allocation strategy with Teva to ensure that they did not erode the supracompetitive

pricing. On September 9, 2014, Rekenthaler had a twenty-six minute phone call with               ,

a senior sales and marketing executive at Actavis. A short time later, a Teva executive told

colleagues that she had

       2753. Teva’s discussions with Actavis escalated over the coming week. On September

10, Rekenthaler exchanged two calls with Falkin of Actavis lasting fifteen minutes and one minute,

respectively. On September 11, the men talked for ten more minutes. On September 16,

Rekenthaler spoke by phone a total of six times with different Actavis personnel, including one

call with             lasting thirty-four minutes.

       2754. The following morning, in response to an inquiry regarding whether Teva intended

to retain a major customer’s Raloxifene business,                        of Teva replied in the

affirmative. Rekenthaler then shared the information he had gathered through his communications

with competitors:

                                                                    That same day, on September

17, 2014, Camber sent an offer for Raloxifene to a large Teva customer, Econdisc.

       2755. Rekenthaler and Kon Ostaficiuk, the President of Camber Pharmaceuticals, spent

the next three days – September 17 through September 19 – playing golf during the day and

socializing at night at an industry outing in Kentucky sponsored by a packaging vendor.

       2756. On September 21, 2014, Ostaficiuk called Rekenthaler and the two spoke for two

minutes. The next day, Rekenthaler initiated a series of four phone calls with Ostaficiuk. The two



                                               692
spoke for a total of thirty minutes that day. Notably, these are the first identified phone calls ever

between the two competitors. As a result, Camber sent a revised offer to its potential customer

that same afternoon, containing modified prices for Raloxifene.

       2757. On September 24, Patel discussed a Raloxifene allocation strategy with her Teva

colleagues in light of Camber’s offer to the large Teva customer, Econdisc. She recognized

Camber’s expressed commitment to the overarching conspiracy among the competitors – and

conveyed information she obtained from Rekenthaler during his conversations with Ostaficiuk –

explaining that           would not seek to add market share beyond the two customers it was

targeting.

       2758. As a part of this discussion,             considered whether Teva should just concede

Econdisc to Camber, and seek to recover that market share with another customer. At 9:07 a.m.

that morning, Patel informed her supervisor                   and numerous others at Teva, that

Rekenthaler planned to discuss the matter with Camber:




       2759. Indeed, at 9:28 a.m. that morning, Rekenthaler called Ostaficiuk and the two spoke

for two minutes. They spoke two more times that day, including one call that lasted eight minutes.

       2760. Some of these calls also related to Camber’s entry into the market for generic

Combivir. Teva and Lupin were already in the market for generic Combivir, and Ostaficiuk was


                                                 693
engaging in contemporaneous communications with Rekenthaler of Teva and Berthold of Lupin

to negotiate Camber’s entry into that market. At least some of those calls on September 24, 2014

are set forth below:




       2761. On that same day, Berthold also spoke with Paul                  a senior operations

executive at Aurobindo, for more than eighteen minutes, to close the loop on the generic Combivir

communications.

       2762. On September 25, after discussing with his colleagues which customers Teva

should concede to Camber and armed with the information Rekenthaler had gathered from

Camber’s President,             concluded:

                                                                                     Rekenthaler

and Ostaficiuk spoke again twice that day.

       2763. That evening, a Camber executive instructed a colleague to gather market

intelligence on possible additional customers for Camber’s new Raloxifene product, but stressed

that the company would not bid on any additional Teva accounts



       2764. On Friday September 26, 2014, Camber publicly announced that it was launching

Raloxifene, the generic version of Evista. Rekenthaler called Ostaficiuk that day, for a short one

minute call.




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       2765. From those telephone calls, Rekenthaler expressed to Ostaficiuk that Teva did not

want Camber challenging for any more of its customers, on Raloxifene or generic Combivir. As

a result of this communication, on Monday September 29, 2014 Ostaficiuk sent the following e-

mail to his colleagues at Camber:




       2766.                         , a senior sales executive at Camber, replied:



                                                                                             She also

added that

               Ostaficiuk replied:



       2767. About a week later,                    , a Director of National Accounts at Teva, sent an

e-mail to certain employees at Teva, including Rekenthaler, notifying them that Camber had made

an unsolicited bid for a customer’s Raloxifene business, expressing surprise given the agreement

Teva had previously reached with Camber. Based on his prior conversations with Ostaficiuk,




                                                  695
Rekenthaler doubted that Camber made an offer to another Teva customer, stating:



       2768. The overarching agreement continued to govern as usual until mid-December 2014,

when Camber learned of supply problems at Teva on Raloxifene. A Camber employee described

the prospect of Teva being on backorder for this drug as a                         Expressing her

understanding of the rules of the conspiracy, she pointed out:

                                   Ostaficiuk responded optimistically, but cautiously:



XV.    CONSCIOUSNESS OF GUILT

       2769. The Defendants were aware that their conduct was illegal. They all made consistent

efforts to avoid communicating with each other in writing, or to delete written electronic

communications after they were made. There are numerous examples, discussed throughout this

Complaint, where Teva employees indicated that they could not talk by e-mail, but had additional

information that they could only convey personally. This was part of a consistent effort by these

individuals, as well as individuals at other corporate Defendants, to avoid putting incriminating

information in writing, in order to evade detection.

       2770. Teva was aware of the antitrust laws, and paid them lip service in its Corporate

Code of Conduct. For example, Teva’s Code of Conduct from the summer of 2013 states

specifically:




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       2771. But high-level executives at Teva were aware that those laws were being violated

systematically and egregiously, and never instructed Teva employees to stop or to rescind the

agreements that Teva had reached with its competitors.

       2772. For example, when Patel started at Teva in late-April 2013, she immediately began

ranking Teva’s competitors by their “quality.” “Quality” was nothing more than a euphemism for

“good co-conspirator,” and it was well known internally at Teva that Patel was identifying price

increase candidates based on who Teva’s competitors were for those drugs, and whether she or

others at Teva had an understanding in place. Indeed, Patel already had a short list of price increase

candidates in place on the day she started at Teva, which was based at least in part on conversations

she had already been having with Teva’s competitors before she started, including Ara

Aprahamian at Taro.

       2773. As Patel was starting to create her ranking of quality competitors and identify

candidates for price increases, she sent her very first iteration of the quality competitor ranking to

her supervisor,                   – a senior marketing executive at Teva – on May 1, 2013. That



                                                 697
ranking included, within the category of                               the following competitors:

Mylan, Actavis, Sandoz, Glenmark, Taro and Lupin. The preliminary list of price increase

candidates also included the formula that Patel would use to identify price increase candidates

using the quality of competitor scores.

       2774. With                 approval of her methodology for identifying price increase

candidates, Patel continued communicating with competitors and agreeing to price increases. She

also routinely provided           with intelligence that she had received from her communications

with competitors. For example, when Patel sent her very first formal                  spreadsheet

to           on May 24, 2013, she identified, for example, that the drug Nabumetone was a price

increase candidate because, among other things,                                      For the drug

Adapalene Gel, Patel noted that there were                                – even though Taro had

not yet increased its prices for Adapalene Gel. Patel had obtained this competitively sensitive

information directly from her communications with competitors.

       2775.              immediately forwarded that information to Maureen Cavanaugh, the

Senior Vice President of Sales at Teva, who approved of the price increases based on the reasoning

that Patel provided for each drug. As discussed more fully above, Teva raised prices on those

drugs (and others) on July 3, 2013.

       2776. Cavanaugh was well aware that Patel was communicating with competitors about

price increases, and making recommendations based on those communications, because Patel told

her so directly. For example, during a 2013 meeting of Teva sales and pricing personnel where

Cavanaugh was present, Patel was discussing her communications with certain competitors about

price increases when Cavanaugh smiled, put her hands over her ears, and pretended that she could




                                               698
not hear what was being said. Not once, however, did Cavanaugh ever tell Patel or anyone else at

Teva to stop conspiring with Teva’s competitors or rescind the agreements that had been reached.

       2777. Patel continued to send intelligence that she had obtained from competitors to her

supervisor,           On August 7, 2013, Patel sent him a summary list of drugs slated for a price

increase on August 9, 2013. In the                          column, Patel again included specific

information that could only have come from her communications with competitors, including:




       2778. This time,              – recognizing that it was inappropriate for Teva to have this

information in writing – asked Patel to change those references above, to remove the offending

language:




       2779. As discussed more fully above, Teva increased prices on those three drugs two days

later. Not once did          ever tell Patel to stop communicating with competitors, or to rescind

any of the agreements she had reached on behalf of Teva.

       2780. Patel also spoke regularly to both Rekenthaler and Green about each other’s

communications with competitors. Patel was aware that both Rekenthaler and Green were

communicating with competitors, sometimes at her direction. Green and Rekenthaler, in turn,


                                               699
were also both aware that Patel was communicating with competitors and implementing price

increases based on those communications.

       2781. Rekenthaler – the Vice President of Sales at Teva – was aware that communicating

with competitors about pricing and market allocation was illegal, and took steps to avoid any

evidence of his wrongdoing. For example, as discussed more fully above, on July 15, 2013 CW-

2 of Sandoz called Rekenthaler at Teva and left a message. Rekenthaler called CW-2 back

immediately and they had a three minute conversation during which CW-2 asked Rekenthaler to

provide him with a full, comprehensive list of all drugs that Teva had recently increased pricing

on – not just those drugs where Teva overlapped with Sandoz.              Rekenthaler complied.

Understanding, however, that it was improper to share competitively sensitive pricing information

with a competitor, and in an effort to conceal such conduct, Rekenthaler first sent the Teva price

increase list from his work e-mail account to a personal e-mail account, then forwarded the list

from his personal e-mail account to CW-2’s personal e-mail account.

       2782. As another example, when Kevin Green wanted to speak with a particular

competitor, he would routinely send a text message to that competitor, saying only

Again, this was done to avoid putting any potentially incriminating communications in writing.

Patel learned this technique from Green, shortly after starting at Teva, and adopted a similar

strategy for communicating with competitors.

       2783. Armando Kellum of Sandoz was also aware that what he and others at Sandoz were

doing was illegal. Kellum had received antitrust training, and knew that conspiring with

competitors to fix or raise prices, or to allocate customers or markets, was a violation of the

antitrust laws.   Kellum would routinely admonish Sandoz employees for putting anything

incriminating into e-mails, and voiced concern that the conduct they were engaging in – if



                                               700
discovered – could result in significant liability. As a result of Kellum’s admonishments, Sandoz

employees (including Kellum himself) routinely lied in e-mails about the sources of their

information to camouflage their conduct, claiming they learned the information from a customer

instead of a competitor.

       2784. Similarly, Jill Nailor of Greenstone instructed her subordinates to avoid putting any

sensitive market intelligence in writing.

XVI. THE GENERIC DRUG INDUSTRY WAS SUSCEPTIBLE TO COLLUSION

       2785. Defendants’ anticompetitive conduct alleged in the Complaint constitutes a

conspiracy to fix prices and engage in market customer allocation, which is a per se violation of

Section 1 of the Sherman Act. Therefore, Plaintiff need not define a relevant market. There are,

however, features of the industry relevant to this case that show both: (i) that the industry is

susceptible to collusion, and (ii) that the price increases were in fact the result of collusion and not

the result of conscious parallelism.

       2786. Indeed, the U.S. market for each of the Price-Fixed Generic Drugs has been

characterized by numerous factors that facilitated Defendants’ conspiracy, including: (i) industry

concentration; (ii) sufficient numbers to drive competition; (iii) substantial barriers to entry; (iv)

demand inelasticity; (v) lack of substitutes; (vi) interchangeability; (vii) absence of non-conspiring

competitors; (viii) opportunities for contact and an extremely high level of inter-firm

communications; (ix) the magnitude of the price increases; and (x) the reimbursement of generic

drugs purchases by third parties.

       2787. Since 2005, consolidation has reduced the number of competitors in the generic

drug industry, which has rendered the market ripe for collusion. For example: Teva acquired Ivax

Corporation in 2006, Barr Laboratories in 2008 (including Defendant Pliva), Ratiopharm



                                                 701
(Germany’s second largest generic drug producer) in 2010, and Allergan’s generics business

(including Actavis) in 2016; Watson Pharmaceuticals acquired Andrx Corporation in 2006; Endo

acquired Qualitest in 2010; Perrigo acquired Paddock Laboratories, Inc. in 2011; and Sandoz

acquired Fougera in 2012. As a result of the industry-wide consolidation, for each of the Price-

Fixed Generic Drugs, there were between two and ten manufacturers of the generic drugs for sale

in the United States during the time period relevant to Plaintiff’s claims, thus rendering the market

for each drug concentrated.

       2788. Barriers to entry increase a market’s susceptibility to a coordinated effort to

maintain supracompetitive prices because it is difficult for new suppliers to enter the market and

destabilize coordinated supracompetitive prices. Costs of manufacture, intellectual property, and

expenses related to regulatory oversight create substantial barriers to entry in the generic

pharmaceutical industry.

       2789. Each of the Price-Fixed Generic Drugs is medically necessary to the health and

well-being of the patient for whom it is prescribed. For that reason, each demonstrates substantial

demand inelasticity.    Indeed, notwithstanding the substantial price increases alleged in this

Complaint, demand for each of the Price-Fixed Generic Drugs dropped very little following the

increase in price.

       2790. There are a lack of available substitute products for each of the Price-Fixed Generic

Drugs, because patients face substantial barriers to switching to other drugs, and because patients

often face little incentive to switch as a result of the disconnect described in ¶ 78.

       2791. Because a generic drug must be the therapeutic equivalent of its branded

counterpart, each generic drug that is approved for sale in the United States is interchangeable with

each other generic drug of the same dosage strength. For example, a 40 mg tablet of Pravastatin



                                                 702
manufactured by Glenmark is interchangeable with a 40 mg tablet of Pravastatin manufactured by

Teva. Accordingly, each of the Price-Fixed Generic Drugs is highly interchangeable from

Defendant to Defendant, and the only way that a Defendant can gain market share is by competing

on price.

       2792. The Defendants control the markets for each of the Price-Fixed Generic Drugs,

which enables them to increase prices without losing market share to non-conspirators.

       2793. As alleged throughout this Complaint, there was a high level of interfirm

communications within the generic pharmaceutical industry, and numerous opportunities for such

communications through various trade association and similar meetings.

       2794. The magnitude of the price increases involved in this case further differentiates

them from parallel price increases.

XVII. DEFENDANTS’ CONSPIRACY WAS EFFECTIVE

       2795. As a proximate result of this conspiracy, and during the time period relevant to

Plaintiff’s claims, Defendants and co-conspirators charged Plaintiff, its assignor, and others in the

United States supracompetitive prices (i.e., prices above a competitive level) for each of the Price-

Fixed Generic Drugs.

       2796. Defendants and co-conspirators’ conspiracy alleged in this Complaint overcharged

Walgreens on the Price-Fixed Generic Drugs that Plaintiff directly purchased from one or more

Defendants and co-conspirators. Even in those instances in which Plaintiff was able to negotiate

Defendants down from the full overcharge agreed to by conspirators, Defendants’ agreements still

impacted and artificially elevated the prices paid by Walgreens, because each Defendant knew that

Plaintiff would not be able to obtain a competitive price from the Defendant’s competitors for each

Price-Fixed Generic Drug. Defendants also knew that any new entrants to the market would also



                                                703
follow the conspiracy pricing (or even seek to increase it further) based on the conspiracy’s

overarching market allocation agreement.

          2797. As further evidence that the price increases discussed above were not the result of

normal market factors, the massive price spikes that were occurring in the industry in 2013 and

2014 slowed dramatically after the State of Connecticut commenced its antitrust investigation in

July 2014 (but prices remained steadily and artificially high). This was not a coincidence. Generic

drug manufacturers in the industry – including the Defendants in this case – understood that they

were under scrutiny and did not want to draw further attention to themselves.

          2798. In January 2015, Sandoz conducted an analysis of the price increases in the generic

drug industry in 2013 and 2014, with an early look toward 2015. In its report, Sandoz found that

                                                                           Specifically, the report

stated:



          2799. The report went on to state that

                           The following graphic, which was included in the Sandoz report, actually

demonstrates that the number of price increases started to decline dramatically after the second

quarter of 2014 – the same time that the States commenced their non-public investigation:




                                                   704
          2800. The massive price spikes in the industry may have declined, but the already-high

prices for most of these drugs did not go down. To date, prices for many of these drugs remain

at significantly inflated, anti-competitive levels.

          2801. As alleged in this Complaint, during the conspiracy, Defendants and co-

conspirators applied the overarching agreement to each of the Price-Fixed Generic Drugs. They

were successful in achieving price increases on numerous drugs and on allocating markets for all

Price-Fixed Generic Drugs, which enabled them to charge supracompetitive prices to Plaintiff and

others. Defendants’ coordinated price increases and market allocation agreements provided them

with a higher, unified starting point negotiating prices with Plaintiff and others for each Price-

Fixed Generic Drug than would have resulted if each Defendant had independently and unilaterally

set its own price increases for each Price-Fixed Generic Drug.

XVIII. TOLLING OF THE STATUTE OF LIMITATIONS

          2802. The statutes of limitation as to Defendants and their co-conspirators’ continuing

antitrust violations alleged in this Complaint were tolled because of one or more of the following

events:


                                                 705
                (a)     The pendency of one or more Class Action Complaints, and any

Amendments, against Defendants and their co-conspirators for conspiring to fix prices of each of

the Price-Fixed Generic Drugs tolled the running of the statute of limitations on Plaintiff’s claims;

                (b)     On December 12, 2016, the DOJ filed an Information charging Glazer with

the criminal offense of violating the U.S. antitrust laws by participating in a conspiracy to fix, raise

and maintain the prices of generic Doxycycline and Glyburide sold in the United States. The

Glazer criminal proceedings, and the Malek criminal proceedings that were filed one day later, toll

the running of the statutes of limitation on Plaintiff’s claims during the criminal proceedings and

for one year thereafter by operation of federal statute, under 15 U.S.C. § 16(i). Further, each of

the subsequent criminal enforcement actions filed by DOJ also tolls the running of the statutes of

limitation on Plaintiff’s claims under § 16(i); and/or

                (c)     Defendants’ affirmative and fraudulent concealment of the conspiracy

prevented Plaintiff from having notice of its claims more than four years before filing this

Complaint, and tolled the statute of limitations on Plaintiff’s claims.

        2803. Each of the overt acts in furtherance of the conspiracy alleged in this Complaint

was done for the purpose of concealing the conspiracy and preventing Plaintiff and other

purchasers of generic drugs from learning about the conspiracy’s existence. Accordingly, Plaintiff

did not know or reasonably suspect the existence of their claims more than four years before filing

this Complaint, nor were they aware of any facts more than four years before filing this Complaint

that would have put them on reasonable notice of their claims. More than four years before

Plaintiff filed this Complaint, Defendants and their co-conspirators fraudulently concealed the

existence of each Plaintiff’s antitrust claim so that each Plaintiff, acting as a reasonable person,

did not know of the existence of its claim at the time.



                                                  706
       2804. During the time period relevant to Plaintiff’s claims, including the time period more

than four years before Plaintiff filed this Complaint, Defendants and their co-conspirators

concealed the existence of Plaintiff’s antitrust claims from Plaintiff as a result of the self-

concealing nature of the conspiracy; and/or because Defendants and their co-conspirators engaged

in affirmative and deceptive acts of concealment as described throughout this Complaint. As a

result, Plaintiff did not know, and through the exercise of due diligence (which it exercised) could

not have known, about the existence of its antitrust claims more than four years before filing this

Complaint.

       2805. During the time period relevant to Walgreens’ claims, Plaintiff exercised diligence

in an effort to ensure that the prices that it was paying Defendants for each generic drug identified

in this Complaint were competitive. For example, Walgreens frequently submitted requests for

competitive bids on each of the Price-Fixed Generic Drugs to Defendants. Unbeknownst to

Plaintiff, Defendants shared these requests for quotations and took steps to coordinate with their

conspirators to ensure that the bids they provided in response to these requests were rigged and

were not competitive. In other instances, Defendants declined to bid at all based on the rules of the

conspiracy. In these instances, Defendants offered false and pretextual reasons for their failure to

bid, such as blaming an inability to supply Walgreens with the requested generic drug. Although

these pretextual explanations were outright lies, they had the effect of concealing the existence of

the conspiracy from Plaintiff.

       2806. Notwithstanding the self-concealing nature of their conspiracy, during the time

period relevant to Plaintiff’s claims, including more than four years before Plaintiff filed this

Complaint, Defendants and their co-conspirators affirmatively misled Plaintiff by wrongfully and

affirmatively concealing the existence of Plaintiff’s antitrust claims from Walgreens. In addition



                                                707
to the many overt acts alleged above that were undertaken for the purpose of concealing the

conspiracy, Defendants took additional steps to conceal their illegal conduct from Plaintiff and

others. For example:

               (a)     During the conspiracy alleged in this Complaint, and as alleged above,

Defendants and co-conspirators spoke and met in secret to affirmatively conceal the existence of

the conspiracy from Plaintiff and others. For each of the numerous meetings between Defendants

alleged in this Complaint, Defendants took steps to either conceal the existence of the meeting

from Plaintiff or others, or to create a pretextual explanation for why the meeting occurred.

               (b)     During the conspiracy alleged in this Complaint, Defendants made false and

pretextual statements about the bids they provided to Plaintiff and others in response to requests

from Walgreens and others for competitive bids. For example, when Walgreens requested that

Sandoz provide a competitive bid for Latanprost drops in April 2012, Sandoz recognized internally

that the rules of the conspiracy prevented it from offering a competitive bid to Walgreens. Because

Sandoz could not tell Walgreens this without exposing the conspiracy, Armando Kellum instructed

his sales associate to “blame supply” as the reason it could not submit a bid to Walgreens. In

reality, Sandoz recognized that it could have manufactured more than sufficient quantities of the

drug to supply Walgreens. And this was not an isolated occurrence. Sandoz falsely blamed supply

constraints as a reason it could not bid for Walgreens’ business on numerous other occasions

throughout the conspiracy, including in September 2013 for Methylphenidate and October 2013

for Haloperidol and Trifluoperazine HCL. Accordingly, Sandoz’s false statements to Walgreens

were intended to conceal from all purchasers of Latanaprost drops (and all other generic drugs) the

existence of the conspiracy.




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              (c)     During the conspiracy alleged in this Complaint, Defendants also

coordinated and rigged the bids they submitted to Walgreens and others for the purpose, and with

the effect, of concealing their conspiracy. For example, in December 2013, Teva and Mylan were

planning to enter the market for Tolterodine ER. Teva’s internal documents from late Decemver

reflect that it was planning to submit a bid to supply Walgreens. However, following a December

23 call between Rekentheler of Teva and Nesta of Mylan, the two companies agreed that Mylan

should receive Walgreens’ business. Following this call, Teva changed the amount it would bid to

Walgreens so that Mylan would win the bid, while Walgreens would believe that the two

companies were competing for its business. Thus, as a result of this rigged bid, Teva and Mylan

were able to conceal the conspiracy from Walgreens.

              (d)     This instance rigging the bids submitted to Walgreens was not an isolated

occurrence. In July 2013, following discussions between the senior-most executives at Heritage,

Mylan, and Emcure, Defendants agreed that Mylan would submit an inflated bid to Walgreens for

Doxy DR so that Heritage could win this business. That same month, Sandoz arranged to submit

a “cover bid” to Walgreens on Temozolomide so that it could concede this business to Teva while

concealing from Walgreens that the conspiracy was the real reason for this business decision.

              (e)     During the conspiracy alleged in this Complaint, Defendants frequently

discussed in secret the prices that they were charging Walgreens. For example, in June 2013, Tony

Polman of Perrigo conveyed to CW-3 of Sandoz the dead net prices that Perrigo was charging

Walgreens for Adapalene Cream. Sandoz also agreed during these discussions that it would not

target Walgreens at that time. By engaging in these secret communications and exchanging their

confidential prices for Walgreens, it thwarted Walgreens’ efforts to negotiate lower prices and

prevented Walgreens from learning of the conspiracy.



                                              709
               (f)     During the conspiracy alleged in this Complaint, Defendants took steps to

ensure that their communications in furtherance of the conspiracy were not recorded in writing.

For example, on April 19, 2013, Malek instructed his employees at Heritage not to keep in writing

any evidence of the agreements that Heritage was negotiating (and that it would soon reach) with

other Defendants relating to the Zoledronic Acid (and other drugs). Similarly, during the July 1,

2014 telephone conversation in which a senior sales executive at Heritage discussed the collusive

price increases of Glyburide and Fosinopril HCTZ with a senior sales executive at Citron, the

Citron representative told the Heritage representative not to communicate with Citron through e-

mail.

               (g)     During the conspiracy alleged in this Complaint, Defendants took steps to

confine knowledge of the conspiracy to a small group of senior executives for the purpose (and

with the effect) of concealing the conspiracy’s existence. For example, during the same July 1,

2014 telephone conversation between Heritage and Citron, the Citron representative told the

Heritage representative to communicate with a specifically designated employee of Citron that

was fully briefed on the conspiracy.

               (h)     During the conspiracy alleged in this Complaint, Defendants discussed and

coordinated the timing of their price increase announcements for the purpose of making each price

increase seem like it was each Defendant’s independent decision to raise prices even though, in

reality, it was not.   For example, Sandoz and Mylan coordinated their price increases on

Amitriptyline and Levothyroxine. For Levothyroxine, Mylan increased its prices on April 25,

2014, and Sandoz issued its matching price increase on May 23, 2014. Also on May 23, 2014,

Sandoz increased its price for Amitriptyline, an increase that Mylan matched on July 16, 2014. By

staggering the announcement of these price increases, Sandoz and Mylan intended to convince



                                              710
generic drug purchasers such as Plaintiff and others that the latter price increase was the

independent response to the initial price increase. As the allegations in this Complaint make clear

though, Defendants actively discussed, coordinated, and agreed to these price increases in secret,

in order to conceal the existence of the conspiracy.

               (i)     During the conspiracy, many of the individual participants, and other

employees of the various corporate Defendants, took active steps to delete their conspiratorial

communications with competitors, and destroy evidence of their illegal behavior.

                      (1)     For example, Nisha Patel produced text messages – in response to

                              the States’ subpoena – going back as far as early 2014. Prior to

                              producing those text messages, however, Patel had deleted all of her

                              text communications with competitors from the same time period,

                              including many text messages with Aprahamian, Brown,

                              Cavanaugh, Grauso, Green, Nailor, Rekenthaler and Sullivan; and

                              many other text messages with employees of Dr. Reddy’s,

                              Glenmark (including CW-5), Greenstone (including                   ),

                              Par, Sandoz, Upsher-Smith and Zydus.

                      (2)     Patel deleted these text messages after a conversation with

                              Rekenthaler in early 2015, when Rekenthaler warned Patel to be

                              careful about communicating with competitors. Rekenthaler was

                              aware of the government investigations that had been commenced,

                              and told Patel that the government was showing up on people’s

                              doorsteps. Sometime after that, Patel deleted her text messages with

                              competitors.



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                      (3)     Defendant Apotex also destroyed an entire custodial file for one of

                              its key employees (                 , a senior sales executive), after

                              the States requested it through an investigatory subpoena in July

                              2017. As discussed above,              was involved in coordinating

                              two significant price increases with Patel of Teva in 2013, which

                              resulted in Apotex soaring in the quality competitor rankings. After

                              the States’ subpoena was issued, Defendant Apotex destroyed

                                          custodial file – and did not inform the States that it had

                              done so for over a year.

               (j)     During the conspiracy, many of the Defendants have been coordinating to

obfuscate the facts of the conspiracy.

                      (1)     For example, when the federal government executed a search

                              warrant against Patel at her home on June 21, 2017, she immediately

                              called Rekenthaler (from another phone because her phone had been

                              seized) even though Rekenthaler was no longer employed at Teva

                              and was by that point the Vice President of Sales at Defendant

                              Apotex.    Rekenthaler then immediately called Cavanaugh and

                                               , another senior Teva executive. Rekenthaler spoke

                              several times to Cavanaugh before then calling his own attorney and

                              speaking twice. Later that day, Patel called Rekenthaler two more

                              times to coordinate her response to the government.

       2807. During the conspiracy, including more than four years before Plaintiff filed this

Complaint, Defendants and their co-conspirators’ affirmative acts of concealment were intended



                                               712
by them to conceal the existence of their unlawful actions from Plaintiff; and Plaintiff was

unaware, and had no reasonable basis to be aware, of Defendants and their co-conspirators’ acts

of concealment.

       2808. As a direct result of Defendants and their co-conspirators’ affirmative and

fraudulent acts of concealment alleged above, Plaintiff did not have actual or constructive

knowledge of its antitrust claim, or the facts that might reasonably have led Plaintiff (or a

reasonable purchaser in Walgreen’s position) to discover or suspect that it had the antitrust claim

against Defendants and their co-conspirators alleged in this Complaint, more than four years before

Plaintiff filed this Complaint. Before then, Plaintiff was not aware of the facts that would have

alerted it (or would have alerted a reasonably diligent purchaser in its position) of the need to

investigate whether it had the antitrust claim alleged in this Complaint.

       2809. Accordingly, Defendants and their co-conspirators’ fraudulent concealment of their

unlawful conduct tolled the statute of limitations for each of Plaintiff’s claims. Plaintiff’s claims

have been brought within the applicable statute of limitations period.

XIX. ANTITRUST VIOLATIONS

       A.      Count One – Overarching Conspiracy on all Price-Fixed Generic Drugs
               Against all Defendants

       2810. Plaintiff incorporates by reference ¶¶ 1 through 2809 above.

       2811. By 2010, as alleged above, the market for manufacture, pricing and sale of Price-

Fixed Generic Drugs had become conducive to cartelization.             The Defendants’ efforts to

manipulate the pricing and sale of some Price-Fixed Generic Drugs as alleged above infected and

over time spread to the pricing and sale of all Price-Fixed Generic Drugs as alleged above.

Beginning at a time yet to be determined, but no later than June 2011, and continuing in force or

effect, or both, through the date of filing of this Complaint, the Defendants engaged in a continuing


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agreement, understanding and conspiracy not to compete on the sale of the Price-Fixed Generic

Drugs in the United States in unreasonable restraint of trade and commerce in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1.

       2812. Each Defendant consciously committed to a common scheme, the ultimate

objective of which was to cartelize the Price-Fixed Generic Drugs in order to achieve substantial

supracompetitive profits. This objective was a common goal among all the Defendants. In

furtherance of the scheme, each Defendant consciously committed to an overarching market

allocation agreement that governed each of their respective market shares for the Price-Fixed

Generic Drugs.

       2813. Each Defendant had knowledge of the conspiracy to increase prices, allocate

markets, rig bids, and decrease production for each of the Price-Fixed Generic Drugs, and each

Defendant knowingly participated in the conspiracy’s common goal of cartelizing the Price-Fixed

Generic Drugs in order to achieve supracompetitive profits. Defendants were able to reach this

common goal by adopting a set of “rules” that all Defendants followed. These rules involved an

agreement or understanding as to the market allocation for each Defendant for each generic drug

identified in this Complaint. Each Defendant’s knowledge of the overarching conspiracy is

demonstrated by the fact that the numerous collusive agreements reached in furtherance of the

conspiracy were discussed at the same meetings and social gatherings, including the industry

meetings alleged in Exhibit 1. Each Defendants’ knowledge of the overarching conspiracy is

further established by the fact that each Defendant identified in this Complaint followed the rules

of the conspiracy, both by applying the market allocation principles, and also by agreeing not to

undercut each other’s price increases by adding customers when a competitors’ price increase was




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pending. Further, this overarching conspiracy contemplated a continuous result that would not

continue without the continuous cooperation of all Defendants.

       2814. For example, consistent with their ongoing understandings, Taro’s competitors

uniformly declined opportunities to bid on Taro’s customers after the May 2013 Increases. Taro’s

competitors understood that to do so would violate the “rules of the road” and would disrupt the

market-share balance that they had worked so hard to achieve. Indeed, rather than compete, these

competitors began working on implementing price increases of their own.

       2815. Every Defendant intended to join the all-Price-Fixed Generic Drugs conspiracy.

       2816. All Defendants named in this Complaint engaged in the conduct alleged in this

Complaint and were active participants in the overarching conspiracy, despite the fact that some

Defendants sold fewer Price-Fixed Generic Drugs than others. However, the participation of all

Defendants in the all-Price Fixed Generic Drugs conspiracy was necessary to increase the prices

of the generic drugs that they manufactured. Absent the participation of all Defendants, the

conspiracy would have been thwarted because it would have been in the independent interests of

each manufacturers to increase their market share by competing on price. A single overarching

market allocation agreement facilitated all of the collusive agreements alleged in this Complaint,

and this overarching agreement was negotiated and policed through the industry meetings attended

by all Defendants. In this way, and for the reasons explained below in ¶¶ 2818 to 2825, there was

substantial overlap between all Defendants in the overarching conspiracy.

       2817. By joining the all-Price-Fixed Generic Drugs conspiracy, the Defendants became

interdependent upon one another, in that their respective benefit depended on the success of the

all-Price-Fixed Generic Drugs Conspiracy. Indeed, each of the conspiratorial price increases and

price-fixing agreements alleged in this Complaint were interdependent for at least six reasons.



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       2818. First, every agreement on each of the Price-Fixed Generics was interdependent

because every agreement was the byproduct of the same overlapping overarching market

allocation agreement. Indeed, the interdependent nature of these agreements was what allowed

the Defendants to enforce and police every agreement reached in furtherance of the all-Price-Fixed

Generics Conspiracy. For example, Defendants with a proportionately smaller market shares of

certain drugs agreed not to compete for additional market share in return for an agreement that

their competitors would not compete for additional market share of other drugs for which they

enjoyed a proportionately larger market share. Further, because each Defendant knew that its

market share was safe from competition, market share itself became a fungible commodity that

could be traded. For example, as alleged in ¶ 1017, Mylan agreed to concede market share for

Doxycycline to Heritage in consideration for Heritage conceding market share to Mylan for a

second generic drug.

       2819. The overarching all-Price-Fixed Generics conspiracy also benefitted Defendants

that manufactured just a few, or even just one of the Price-Fixed Generics. For example, as alleged

in ¶¶ 1432-1437, when Strides sought to reenter the market for Hydralazine in 2014, it knew to

approach Heritage and arrange to receive market share. Because Strides knew that Heritage would

concede a customer to Strides, Strides was able to put in a bid to that customers at a

supracompetitive price, comfortable in the knowledge that Heritage would concede the account

and the inflated bid would be accepted. Similarly, when Mayne entered the Doxy DR market that

had been cartelized by Heritage and Mylan, the overarching conspiracy allowed Defendants to

reach an agreement that allocated to Mayne a percentage of the market and prevented price

competition that would have disturbed the prevailing supracompetitive prices on Doxy DR. The

portion of Doxy DR sales allocated to Mayne by agreement with Heritage and Mylan yielded



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profits sufficient to compensate Mayne for not competing on price to gain sales of Doxy DR at the

supracompetitive price level.

       2820. In this manner, the existence of the overarching conspiracy was what enabled it to

continue. Each member of the conspiracy was able to allocate sufficient sales to the extremely

high-margin drugs identified in this Complaint as subject to the conspiracy, which incentivized

each conspirator’s adherence to the scheme. Absent this incentive, non-conspiring manufacturers

would have acted in their unilateral self-interests by competing on price and gaining market share.

For example, the existence of the overarching conspiracy allowed Actavis to persuade

Breckenridge to lead a series of collusive price increases on Propranolol capsules and to persuade

Defendant Epic to raise its prices by more than 1000% on Ursodiol, notwithstanding the fact that

the actions taken by Breckenridge and Epic were against their respective self-interests and would

not have been taken absent collusion. Similarly, the existence of the overarching conspiracy

facilitated the ability of Defendants, including Actavis, Mylan, and Teva, to reach an agreement

with Defendant Lupin to triple its prices on Pravastatin. And, the overarching conspiracy

facilitated the collusive agreement of Defendants Morton Grove and Wockhardt to raise prices on

Clobetasol, and Defendant Teligent’s collusive agreement to raise prices on Econazole. Although

some Defendants were the primary facilitators of the collusive conduct alleged in this Complaint,

the success of the overarching conspiracy was also dependent on the agreement (or understanding)

that the other Defendants would participate in the overarching conspiracy as well. For example,

Breckenridge’s participation in the conspiracy was dependent on its knowledge – gained in part

from attending the many industry events alleged in Section VIII, supra – that each of the

Defendants would follow the conspiracy’s supracompetitive pricing and market allocation

agreements in the event that any entered the market for Propranolol.



                                               717
       2821. Second, the success of each conspiratorial price increase, each rigged bid, and/or

each individual market allocation agreement was interdependent, because a given Defendant’s

commitment to one price increase helped solidify and protect other conspiracy price increases that

were implemented. For example, as alleged in ¶ 1369, Teva declined to offer a competitive bid to

a customer that sought Glyburide based not only on its agreement with Heritage on Glyburide, but

also based on its collusion with Heritage on other drugs discussed in this Complaint. In other

words, Teva knew that undercutting the conspiratorial price increase on Glyburide would impact

not only Glyburide, but also the conspiratorial price increases on other drugs. Because most

Defendants manufactured multiple Price-Fixed Generic Drugs, a manufacturer who cheated on the

conspiracy as to one Price-Fixed Generic Drug would be subject or susceptible to punishment by

the cartel with respect to accounts for that drug, along with each of the other Price-Fixed Generic

Drugs that the cheater manufactured. Thus, the overarching conspiracy enhanced Defendants’

ability to enforce the conspiracy, both for conspirators that manufactured many Price-Fixed

Generic Drugs, and for those that manufactured just one.           For example, Mayne (which

manufactured only Doxycycline and Oxy/APAP) knew that Mylan and Heritage had an added

incentive to follow through on the unlawful agreements on Doxycycline, which helped to ensure

that Mayne also committed to the conspiracy. Indeed, Mylan and Heritage shared a strong

incentive to reward Mayne for its adherence to the overarching conspiracy.

       2822. Third, and along the same lines, the coordination of price increases and market

allocation agreements across multiple Price-Fixed Generic Drugs allowed Defendants to police

individual conspiratorial agreements and better conceal the conspiracy from Plaintiff and others.

For example, Sandoz and Mylan coordinated their price increases on Amitriptyline and

Levothyroxine. For Levothyroxine, Mylan increased its prices on April 25, 2014, and Sandoz



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increased its matching price increase on May 23, 2014. That same day, Sandoz increased its price

for Amitriptyline, an increase that Mylan matched on July 16, 2014. By staggering these price

increases in a “my turn, your turn” fashion, Sandoz and Mylan were able to ensure that each would

follow through with its promise to increase prices (as they had unlawfully agreed), while avoiding

announcing price increases on the same day or extremely close in time. And for the same reasons

explained in ¶¶ 2818-2821, the ability of Defendants such as Sandoz and Mylan to compel each

other’s compliance with the unlawful agreement helped to ensure that other Defendants, some of

whom manufactured fewer drugs – such as Lannett or West-Ward – would also commit to the

unlawful agreement, because they were promised a sufficient volume of profitable sales to

compensate for their forbearance.

       2823. Fourth, each successful conspiratorial price fixing agreement helped the

Defendants by reducing the quantity produced of the drug, which in turn reduced demand for the

raw materials required to manufacture that drug. Because all of the drugs involved in the

conspiracy shared common inputs such as binding agents, the reduction in supply of Propranolol

(for example) helped to reduce the demand for these inputs, which reduced the cost to produce not

only Propranolol, but also each of the other Price-Fixed Generic Drug that also used the same

binding agents.

       2824. Fifth, with each successful price increase, Defendants were able to commit a

portion of their production capacity to a drug priced substantially above marginal cost. However,

successful price increases also incentivized other manufacturers to substitute capacity towards the

high margin drugs. Accordingly, it was necessary for Defendants to implement the numerous

conspiratorial price increases and price-fixing agreements alleged in this Complaint, so that each

member of the conspiracy could enjoy supracompetitive profits. Further, in the instances, if any,



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that Defendants determined that excess capacity was devoted to a particular drug, one conspirator

would agree to discontinue production of that drug. For example, Fougera stopped production of

Fluocinonide in January 2015, after the collusive price increase had been implemented on the drug.

Similarly, Teva discontinued production of Doxy Hyclate in May 2013, after the collusive price

increase had been implemented on the drug.

       2825. Sixth, certain of the Price-Fixed Generic Drugs are subject to a degree of long-run

demand-side substitution. For example, the topical corticosteroids – Fluocinonide, Desonide, and

Clobetasol – are all used for similar purposes. The same is true of the oral diabetes drugs

(Glipizide, Glyburide, Glyburide-Metformin, and Metformin ER). Accordingly, the success of

certain of the conspiratorial price increases for the Price-Fixed Generic Drugs were relevant to the

long-term success of other of the conspiratorial price increases.

       2826. The contract, combination and conspiracy among Defendants consisted of a

continuing course, pattern, and practice of conduct regarding the production, pricing, marketing,

and/or sale of generic drugs in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       2827. The course, pattern and practice of conduct described above included, among other

things, a continuing agreement, understanding, and concert of action among Defendants, the

substantial terms and purpose of which were one or more of the following:

               (a)     To fix, stabilize, maintain, and/or raise prices of the Price-Fixed Generic

Drugs sold to Plaintiff, its assignor, and others in the United States;

               (b)     To allocate customers, the volume of sales, and/or market shares of the

Price-Fixed Generic Drugs sold to Plaintiff, its assignor, and others in the United States;

               (c)     To control the production and/or sale of the Price-Fixed Generic Drugs to

Plaintiff, its assignor, and others in the United States; and/or



                                                 720
               (d)     To earn supracompetitive profits on the price of the Price-Fixed Generic

Drugs sold to Plaintiff, its assignor, and others in the United States that resulted from the collusion

alleged in this Complaint.

       2828. In order to formulate and effect the foregoing illegal combination and conspiracy,

Defendants engaged in one or more of the following overt acts (including those overt acts alleged

above in this Complaint):

               (a)     They agreed to exchange, and did exchange, current and future price

information about the Price-Fixed Generic Drugs sold in the United States, including the prices

quoted or charged to Plaintiff for the sale of the Price-Fixed Generic Drugs;

               (b)     They agreed to coordinate, and did coordinate, price levels, price terms,

and/or price movements for sale of the Price-Fixed Generic Drugs sold in the United States;

               (c)     They agreed on prices, price levels, and/or production levels of the Price-

Fixed Generic Drugs in the United States; and/or

               (d)     They agreed not to compete for certain customers or sales on certain

products, and/or in certain regions of the United States.

       2829. Defendants entered into and refined their illegal combination and conspiracy

through, among other things, the overt acts described above, including, without limitation,

participating in conversations and meetings to discuss the prices of the Price-Fixed Generic Drugs

to be sold to Plaintiff and/or others in the United States; participating in conversations and

attending meetings concerning implementation of and adherence to their conspiracy; issuing price

announcements and/or price quotations in accordance with the conspiracy; and/or exchanging

confidential information on the pricing and/or sale of the Price-Fixed Generic Drugs to Plaintiff

and/or others in the United States.



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         2830. As a result of this conspiracy in violation of Section 1 of the Sherman Act, 15

U.S.C. § 1, and during the time period relevant to Plaintiff’s claims:

                (a)    Price competition in the sale of the Price-Fixed Generic Drugs among

Defendants to Plaintiff, its assignor, and others in the United States has been restrained,

suppressed, and eliminated;

                (b)    Prices for the Price-Fixed Generic Drugs sold by Defendants to Plaintiff, its

assignor, and others have been raised, fixed, maintained and/or stabilized at artificially high and

supracompetitive levels throughout the United States; and

                (c)    Plaintiff, its assignor, and other direct purchasers of the Price-Fixed Generic

Drugs produced and sold by Defendants have been deprived of the benefit of free and open

competition.

         2831. Plaintiff and its assignor have been injured in their business or property by reason

of the Defendants’ antitrust violations in amounts not yet ascertained. Walgreens’ injury and its

assignor’s injury as direct purchasers of the Price-Fixed Generic Drugs is an injury of the type the

antitrust laws were designed to prevent and flows from that which makes the Defendants’ conduct

unlawful.

         B.     Count Two (Pled in the Alternative to Count One) Against Teva, Actavis,
                Amneal, Apotex, Aurobindo, Breckenridge, Dr. Reddy's, Glenmark,
                Greenstone, Lannett, Lupin, Mylan, Par, Pfizer, Sandoz, Taro, Upsher-
                Smith, Wockhardt, and Zydus

         2832. Plaintiff incorporates by reference ¶¶ 1 through 2809 above.

         2833. For the purposes of this Count, the term “Specified Price-Fixed Generic Drugs”

means:




                                                722
Adapalene Gel                   Diflunisal Tablets             Lamivudine/Zidovudine
Amiloride HCL/HCTZ Tablets      Diltiazem HCL Tablets          (generic Combivir)
Amoxicillin/Clavulanate         Disopyramide Phosphate         Levothyroxine
Chewable Tablets                Capsules                       Loperamide HCL Capsules
Amphetamine/                    Doxazosin Mesylate Tablets     Medroxyprogesterone Tablets
Dextroamphetamine ER (aka       Drospirenone and ethinyl       Methotrexate Tablets
Mixed Amphetamine Salts)        estradiol (Ocella)             Mimvey
Amphetamine/                    Enalapril Maleate Tablets      (Estradiol/Norethindrone
Dextroamphetamine IR            Entecavir                      Acetate) Tablets
Azithromycin Oral Suspension    Epitol Tablets                 Moexipril HCL Tablets
Azithromycin Suspension         Estazolam Tablets              Moexipril HCL/HCTZ Tablets
Baclofen Tablets                Estradiol Tablets              Nabumetone Tablets
Benazepril HCTZ                 Ethinyl estradiol and          Nadolol Tablets
Bethanechol Chloride Tablets    levonorgestrel (Portia and     Niacin ER Tablets
Budesonide DR Capsules          Jolessa)                       Nitrofurantoin MAC Capsules
Budesonide Inhalation           Ethosuximide Capsules          Norethindrone/ethinyl estradiol
Bumetanide Tablets              Ethosuximide Oral Solution     (Balziva)
Buspirone Hydrochloride         Etodolac ER Tablets            Norethindrone Acetate
Tablets                         Etodolac Tablets               Nortriptyline Hydrochloride
Cabergoline                     Fenofibrate                    Capsules
Capecitabine                    Fluconazole Tablets            Omega-3-Acid Ethyl Esters
Carbamazepine Chewable          Fluocinonide Cream             Oxaprozin Tablets
Tablets                         Fluocinonide Emollient Cream   Oxybutynin Chloride Tablets
Carbamazepine Tablets           Fluocinonide Gel               Paricalcitol
Cefdinir Capsules               Fluocinonide Ointment          Penicillin VK Tablets
Cefdinir Oral Suspension        Fluoxetine HCL Tablets         Pentoxifylline Tablets
Cefprozil Tablets               Flurbiprofen Tablets           Piroxicam
Celecoxib                       Flutamide Capsules             Pravastatin Sodium Tablets
Cephalexin Suspension           Fluvastatin Sodium Capsules    Prazosin HCL Capsules
Cimetidine Tablets              Gabapentin Tablets             Prochlorperazine Tablets
Ciprofloxacin HCL Tablets       Glimepiride Tablets            Propranolol HCL Tablets
Clarithromycin ER Tablets       Glyburide                      Raloxifene HCL Tablets
Clemastine Fumarate Tablets     Griseofulvin Suspension        Ranitidine HCL Tablets
Clomipramine                    Haloperidol                    Tamoxifen Citrate Tablets
Clonidine TTS Patch             Hydroxyurea Capsules           Temozolomide
Clotrimazole Topical Solution   Hydroxyzine Pamoate Capsules   Tizanidine
Cyproheptadine HCL Tablets      Irbesartan                     Trifluoperazine HCL
Desmopressin Acetate Tablets    Isoniazid                      Tobramycin
Desogestrel/Ethinyl Estradiol   Ketoconazole Cream             Tolmetin Sodium Capsules
Tablets (Kariva)                Ketoconazole Tablets           Tolterodine ER
Dexmethylphenidate HCL ER       Ketoprofen Capsules            Tolterodine Tartrate
Capsules                        Ketorolac Tromethamine         Topiramate Sprinkle Capsules
Dextroamphetamine Sulfate ER    Tablets                        Valsartan HCTZ
Diclofenac Potassium Tablets    Labetalol HCL Tablets          Warfarin Sodium Tablets
Dicloxacillin Sodium Capsules
       2834. For the purposes of this Count, the term “Defendants” means Teva, Actavis,

Amneal, Apotex, Aurobindo, Breckenridge, Dr. Reddy’s, Glenmark, Greenstone, Lannett, Lupin,

Mylan, Par, Pfizer, Sandoz, Taro, Upsher-Smith, Wockhardt, and Zydus. For the the purpose of

this Count, Heritage and its officers – including Jason Malek and Jeffrey Glazer – are a co-

conspirator.

       2835. The market for manufacture, pricing and sale of the Specified Price-Fixed Generic

Drugs was conducive to cartelization. Beginning in 2012, and continuing in force or effect, or

both, through the date of filing of this Complaint, the Defendants engaged in a continuing

agreement, understanding and conspiracy not to compete on the sale of the Specified Price-Fixed

Generic Drugs in the United States in unreasonable restraint of trade and commerce in violation

of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       2836. Each Defendant consciously committed to a common scheme, the ultimate

objective of which was to cartelize the Specified Price-Fixed Generic Drugs in order to achieve

substantial supracompetitive profits. This objective was a common goal among all the Defendants.

In furtherance of the scheme, each Defendant consciously committed to an overarching market

allocation agreement that governed each of their respective market shares for the Specified Price-

Fixed Generic Drugs.

       2837. Each Defendant had knowledge of the conspiracy to increase prices, allocate

markets, rig bids, and decrease production for each of the Specified Price-Fixed Generic Drugs,

and each Defendant knowingly participated in the conspiracy’s common goal of cartelizing the

Specified Price-Fixed Generic Drugs in order to achieve supracompetitive profits.            Each

Defendant’s knowledge of the overarching conspiracy is demonstrated by the fact that the

numerous collusive agreements reached in furtherance of the conspiracy were discussed at the



                                               724
same meetings and social gatherings, including the industry meetings alleged in Exhibit 1. Further,

this overarching conspiracy contemplated a continuous result that would not continue without the

continuous cooperation of all Defendants.

       2838. Every Defendant intended to join the conspiracy to fix the prices of the Specified

Price-Fixed Generic Drugs.

       2839. Teva engaged in the conduct alleged in this Complaint and was a central catalyst

for the implementation of the conspiracy. However, all Defendants and co-conspirators engaged

in the conduct alleged in this Complaint and were active participants in the overarching conspiracy,

despite the fact that some Defendants sold fewer Price-Fixed Generic Drugs than Teva. However,

the participation of all Defendants in the all-Price Fixed Generic Drugs conspiracy was necessary

to increase the prices of the generic drugs that they manufactured.

       2840. By joining the conspiracy to fix the prices of the Specified Price-Fixed Generic

Drugs conspiracy, the Defendants and their co-conspirators became interdependent upon one

another, in that their respective benefit depended on the success of overarching conspiracy.

Indeed, each of the conspiratorial price increases and price-fixing agreements alleged in this

Complaint with respect to the Specified Price-Fixed Generic Drugs were interdependent for the

reasons explained above in Count One.

       2841. The contract, combination and conspiracy among Defendants and their conspirators

consisted of a continuing course, pattern, and practice of conduct regarding the production, pricing,

marketing, and/or sale of generic drugs in violation of Section 1 of the Sherman Act, 15 U.S.C. §

1.




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          2842. The course, pattern and practice of conduct described above included, among other

things, a continuing agreement, understanding, and concert of action among Defendants and their

co-conspirators, the substantial terms and purpose of which were one or more of the following:

                 (a)    To fix, stabilize, maintain, and/or raise prices of the Specified Price-Fixed

Generic Drugs sold to Plaintiff, its assignor, and others in the United States;

                 (b)    To allocate customers, the volume of sales, and/or market shares of the

Specified Price-Fixed Generic Drugs sold to Plaintiff, its assignor, and others in the United States;

                 (c)    To control the production and/or sale of the Specified Price-Fixed Generic

Drugs to Plaintiff, its assignor, and others in the United States; and/or

                 (d)    To earn supra-competitive profits on the price of the Specified Price-Fixed

Generic Drugs sold to Plaintiff, its assignor, and others in the United States that resulted from the

collusion alleged in this Complaint.

          2843. In order to formulate and effect the foregoing illegal combination and conspiracy,

Defendants and their co-conspirators engaged in one or more of the following overt acts (including

those overt acts alleged above in this Complaint):

                 (a)    They agreed to exchange, and did exchange, current and future price

information about the Specified Price-Fixed Generic Drugs sold in the United States, including the

prices quoted or charged to Plaintiff for the sale of the Specified Price-Fixed Generic Drugs;

                 (b)    They agreed to coordinate, and did coordinate, price levels, price terms,

and/or price movements for sale of the Specified Price-Fixed Generic Drugs sold in the United

States;

                 (c)    They agreed on prices, price levels, and/or production levels of the

Specified Price-Fixed Generic Drugs in the United States; and/or



                                                 726
               (d)     They agreed not to compete for certain customers or sales on certain

products, and/or in certain regions of the United States.

       2844. Defendants and their co-conspirators entered into and refined their illegal

combination and conspiracy through, among other things, the overt acts described above,

including, without limitation, participating in conversations and meetings to discuss the prices of

the Specified Price-Fixed Generic Drugs to be sold to Plaintiff and/or others in the United States;

participating in conversations and attending meetings concerning implementation of and

adherence to their conspiracy; issuing price announcements and/or price quotations in accordance

with the conspiracy; and/or exchanging confidential information on the pricing and/or sale of the

Specified Price-Fixed Generic Drugs to Plaintiff and/or others in the United States.

       2845. As a result of this conspiracy in violation of Section 1 of the Sherman Act, 15

U.S.C. § 1, and during the time period relevant to Plaintiff’s claims:

               (a)     Price competition in the sale of the Specified Price-Fixed Generic Drugs

among Defendants and their co-conspirators to Plaintiff, its assignor, and others in the United

States has been restrained, suppressed, and eliminated;

               (b)     Prices for the Specified Price-Fixed Generic Drugs sold by Defendants and

their co-conspirators to Plaintiff, its assignor, and others have been raised, fixed, maintained and/or

stabilized at artificially high and supracompetitive levels throughout the United States; and

               (c)     Plaintiff, its assignor, and other direct purchasers of the Specified Price-

Fixed Generic Drugs produced and sold by Defendants and their co-conspirators have been

deprived of the benefit of free and open competition.

       2846. Plaintiff has been injured in its business or property by reason of the Defendants’

antitrust violations in amounts not yet ascertained. Walgreens’ injury and its assignor’s injuury as



                                                 727
direct purchasers of the Specified Price-Fixed Generic Drugs is an injury of the type the antitrust

laws were designed to prevent and flows from that which makes the Defendants’ conduct unlawful.

        C.      Counts Three through One Hundred Ninety (Individual Conspiracies)

        2847. Plaintiff incorporates by reference ¶¶ 1 through 2809 above.

        2848. The individual product conspiracies alleged in Counts Three through One Hundred

Ninety involve only the specified individual generic drug and the specified Defendants, as

indicated on the table below. For the purposes of Counts Three through One Hundred Ninety, the

term “Defendants” refers to only those companies identified in each individual Count.

                                                                                 Beginning No
 Count                 Drugs                           Defendants
                                                                                 Later Than:
    3              Acetazolamide             Heritage, Lannett, Taro, Teva,       Spring 2012
                                                         Zydus
    4                Adapalene                Glenmark, Perrigo, Sandoz,           May 2013
                                                     Taro, Teva
    5                 Albuterol                        Mylan, Sun                 March 2013
    6        Alclometasone Dipropionate         Glenmark, Sandoz, Taro             April 2013
    7                Allopurinol             Actavis, Dr. Reddy’s, Mylan,          May 2014
                                                     Par, Qualitest
    8             Amantadine HCL            Lannett, Sandoz, Upsher-Smith       December 2011
    9        Amiloride HCL/HCTZ Tablets                Mylan, Teva                 May 2013

   10               Amitriptyline            Mylan, Par, Qualitest, Sandoz         May 2014
   11            Ammonium Lactate                Actavis, Perrigo, Taro            April 2013
   12          Amoxicillin/Clavulanate                Sandoz, Teva                August 2014
                 Chewable Tablets
   13     Amphetamine/Dextroamphetami         Actavis, Aurobindo, Impax,           June 2012
           ne (aka Mixed Amphetamine          Mallinckrodt, Sandoz, Teva
                      Salts)
   14          Atenolol Chlorthalidone                Actavis, Mylan              March 2014
   15               Azithromycin                     Greenstone, Teva           November 2013




                                               728
                                                                           Beginning No
Count               Drugs                           Defendants
                                                                           Later Than:
 16                Baclofen               Lannett, Par, Qualitest, Teva,   February 2014
                                                 Upsher-Smith
 17          Balsalazide Disodium          Apotex, Mylan, West-Ward         January 2014
 18            Benazepril HCTZ                     Mylan, Sandoz            August 2013
 19       Betamethasone Dipropionate Actavis, Perrigo, Sandoz, Taro        November 2010
        (including Augmented and CBD
                 formulations)
 20         Betamethasone Valerate         Actavis, G&W, Taro, Teva,       November 2010
                                                     Sandoz
 21      Bethanechol Chloride Tablets              Amneal, Teva             January 2015
 22         Bromocriptine Mesylate           Mylan, Perrigo, Sandoz        December 2012
 23        Budesonide DR Capsules                 Mylan, Par, Teva           April 2014
 24          Budesonide Inhalation           Actavis, Sandoz, Teva         February 2015
 25           Bumetanide Tablets                   Sandoz, Teva              April 2014
 26     Buspirone Hydrochloride Tablets       Actavis, Mylan, Teva           July 2012
 27          Butorphanol Tartrate          Apotex, Mylan, West-Ward,       December 2013
 28              Cabergoline                  Greenstone, Par, Teva        December 2014
 29              Calcipotriene                     G&W, Sandoz              March 2014
 30      Calcipotriene Betamethasone              Perrigo, Sandoz          February 2014
           Dipropionate Ointment
 31              Capecitabine                       Mylan, Teva             January 2014
 32                Captopril              Mylan, West-Ward, Wockhardt        May 2013
 33             Carbamazepine              Apotex, Sandoz, Taro, Teva,       May 2013
                                                     Torrent
 34                Cefdinir                   Lupin, Sandoz, Teva            May 2013
 35          Cefpodoxime Proxetil              Aurobindo, Sandoz            January 2013
 36            Cefprozil Tablets              Lupin, Sandoz, Teva            May 2013
 37           Cefuroxime Axetil             Aurobindo, Citron, Lupin       December 2013
 38               Celecoxib                        Actavis, Teva           November 2014
 39         Cephalexin Suspension                   Lupin, Teva             October 2013
 40          Chlorpromazine HCL           Mylan, Sandoz, Upsher-Smith       August 2011



                                            729
                                                                         Beginning No
Count               Drugs                          Defendants
                                                                         Later Than:
 41            Cholestyramine             Par, Sandoz, Upsher-Smith        May 2013
 42               Ciclopirox               Actavis, Fougera/Sandoz,      September 2011
                                         Glenmark, G&W, Perrigo, and
                                                     Taro
 43           Cimetidine Tablets                   Mylan, Teva             May 2013
 44      Ciprofloxacin HCL Tablets        Actavis, Dr. Reddy's, Teva      August 2014
 45       Clarithromycin ER Tablets          Actavis, Teva, Zydus          April 2014
 46      Clemastine Fumarate Tablets               Sandoz, Teva           August 2013
 47        Clindamycin Phosphate         Actavis, Greenstone, Perrigo,   November 2010
                                             Pfizer, Sandoz, Taro
 48               Clobetasol             Actavis, Akorn, Fougera, Hi-      June 2014
                                         Tech, Morton Grove, Perrigo,
                                           Sandoz, Taro, Wockhardt
 49             Clomipramine                 Mylan, Sandoz, Taro           May 2013
 50          Clonidine TTS Patch             Actavis, Mylan, Teva         October 2012
 51              Clotrimazole            Glenmark, Sandoz, Taro, Teva      May 2014
 52      Cyproheptadine HCL Tablets       Breckenridge, Impax, Teva      November 2013
 53     Desmopressin Acetate Tablets               Actavis, Teva          August 2014
 54      Desogestrel/Ethinyl Estradiol     Actavis, Glenmark, Teva         May 2014
              Tablets (Kariva)
 55               Desonide                 Actavis, Fougera, Perrigo,      May 2013
                                                 Sandoz, Taro
 56            Desoximetasone              Glenmark, Sandoz, Taro         August 2012
 57     Dexmethylphenidate HCL ER                Par, Sandoz, Teva       February 2014
                Capsules
 58     Dextroamphetamine Sulfate ER      Actavis, Aurobindo, Impax,       June 2014
                                              Mallinckrodt, Teva
 59     Diclofenac Potassium Tablets         Mylan, Sandoz, Teva          August 2013
 60     Dicloxacillin Sodium Capsules              Sandoz, Teva            April 2014
 61           Diflunisal Tablets                   Teva, Rising            April 2014
 62                Digoxin                Impax, Lannett, Mylan, Par,     October 2013
                                                 West-Ward



                                           730
                                                                             Beginning No
Count               Drugs                          Defendants
                                                                             Later Than:
 63         Diltiazem HCL Tablets                  Mylan, Teva                 May 2013
 64        Diphenoxylate Atropine             Mylan, Greenstone                April 2014
 65        Disopyramide Phosphate                 Actavis, Teva                July 2013
                  Capsules
 66             Divalproex ER           Dr. Reddy’s, Mylan, Par, Zydus         June 2013
 67      Doxazosin Mesylate Tablets     Apotex, Greenstone, Mylan, Par,        May 2013
                                                    Teva
 68              Doxycycline            Actavis, Heritage, Lannett, Mayne,    October 2012
                                          Mylan, Par, Sun, West-Ward

 69        Drospirenone and ethinyl          Actavis, Lupin, Teva              May 2013
              estradiol (Ocella)
 70               Econazole             Sandoz, Perrigo, Taro, Teligent        June 2014
 71        Enalapril Maleate Tablets      Mylan, Taro, Teva, Valeant,          July 2013
                                                  Wockhardt
 72                Entecavir                        Par, Teva                September 2014
 73             Epitol Tablets                Apotex, Taro, Teva              August 2014
 74               Eplerenone              Greenstone, Pfizer, Sandoz           April 2014
 75         Erythromycin Solution         Sandoz, Perrigo, Wockhardt           May 2011
 76           Estazolam Tablets                   Actavis, Teva                April 2014
 77            Estradiol Tablets             Actavis, Mylan, Teva              May 2013
 78     Estradiol/Norethindrone Acetate Actavis, Breckenridge, Impax,          July 2012
               Tablets (Mimvey)                  Mylan, Teva
 79        Ethambutol HCL Tablets       G&W, Lupin, Teva, VersaPharm         November 2012
 80           Ethinyl estradiol and                Sandoz, Teva                May 2012
           levonorgestrel (Portia and
                    Jolessa)
 81              Ethosuximide                    Teva, Versapharm              April 2014
 82                Etodolac              Apotex, Taro, Teva, Sandoz,           July 2013
                                                   Zydus
 83               Fenofibrate            Lupin, Mylan, Perrigo, Teva,        February 2013
                                                   Zydus




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                                                                         Beginning No
Count              Drugs                           Defendants
                                                                         Later Than:
 84          Fluconazole Tablets       Citron, Dr. Reddy’s, Glenmark,      May 2013
                                              Greenstone, Teva
 85        Fluocinolone Acetonide       G&W, Sandoz, Taro, Teligent      December 2011
 86             Fluocinonide              Actavis, G&W, Glenmark,         March 2013
                                         Sandoz, Taro, Teva, Valeant
 87        Fluoxetine HCL Tablets               Mylan, Par, Teva          January 2015
 88         Flurbiprofen Tablets                  Mylan, Teva              May 2013
 89          Flutamide Capsules                 Actavis, Par, Teva        August 2014
 90        Fluticasone Propionate      Glenmark, Perrigo, Sandoz, Taro     July 2012
 91      Fluvastatin Sodium Capsules              Mylan, Teva              April 2014

 92           Fosinopril HCTZ           Aurobindo, Citron, Glenmark,       April 2014
                                             Heritage, Sandoz
 93          Gabapentin Tablets          Aurobindo, Glenmark, Teva        October 2014

 94          Glimepiride Tablets                Dr. Reddy’s, Teva         August 2014

 95               Glipizide                Heritage, Mylan, Teva           April 2014
 96              Glyburide              Aurobindo, Citron, Heritage,       April 2014
                                                   Teva
 97         Glyburide-Metformin          Actavis, Aurobindo, Citron,       April 2014
                                               Heritage, Teva
 98             Griseofulvin           Actavis, Sandoz, Teva, Valeant    September 2014
 99             Halobetasol             G&W, Perrigo, Sandoz, Taro       September 2012
 100            Haloperidol                Mylan, Sandoz, Zydus           August 2013
 101            Hydralazine             Camber, Glenmark, Heritage,       August 2014
                                            Par, Strides, Teva
 102       Hydrocortisone Acetate                G&W, Perrigo              June 2013
 103       Hydrocortisone Valerate          G&W, Perrigo, Taro            August 2013
 104       Hydroxyurea Capsules                     Par, Teva             August 2014
 105    Hydroxyzine Pamoate Capsules    Actavis, Rising, Sandoz, Teva     October 2013
 106             Imiquimod                  Perrigo, Sandoz, Taro          April 2010



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                                                                          Beginning No
Count               Drugs                          Defendants
                                                                          Later Than:
 107              Irbesartan                       Lupin, Teva             March 2012
 108              Isoniazid                       Sandoz, Teva              June 2013
 109         Isosorbide Dinitrate           Par, Sandoz, West-Ward          July 2012
 110            Ketoconazole             Apotex, G&W, Mylan, Sandoz,      February 2014
                                                  Taro, Teva
 111         Ketoprofen Capsules                   Mylan, Teva              July 2013
 112    Ketorolac Tromethamine Tablets             Mylan, Teva              July 2013
 113        Labetalol HCL Tablets        Actavis, Alvogen, Par, Sandoz,     July 2012
                                                     Teva
 114    Lamivudine/Zidovudine (generic Aurobindo, Camber, Lupin, Teva       May 2012
                 Combivir)
 115             Latanoprost               Akorn, Greenstone, Pfizer,      March 2012
                                               Sandoz, Valeant
 116             Leflunomide                Apotex, Heritage, Teva          April 2014
 117            Levothyroxine               Lannett, Mylan, Sandoz         August 2013
 118       Lidocaine HCL Ointment            Hi-Tech, Sandoz, Taro        November 2011
 119         Lidocaine-Prilocaine          Akorn, Fougera, Hi-Tech,        March 2014
                                               Impax, Sandoz
 120      Loperamide HCL Capsules                  Mylan, Teva              April 2014
 121     Medroxyprogesterone Tablets             Greenstone, Teva         November 2013
 122            Meprobamate                  Dr. Reddy’s, Heritage         March 2013
 123            Metformin ER             Actavis, Amneal, Lupin, Sun,       July 2015
                                                    Teva
 124           Methadone HCL               Mallinckrodt, West-Ward         October 2014
 125           Methazolamide                     Perrigo, Sandoz            June 2014
 126         Methotrexate Tablets         Mylan, Par, Qualitest, Teva,    February 2013
                                                 West-Ward
 127           Methylphenidate           Actavis, Impax, Mallinckrodt,    February 2013
                                               Par, Sandoz, Sun
 128         Methylprednisolone             Breckenridge, Cadista,        February 2011
                                           Greenstone, Par, Qualitest,
                                                    Sandoz



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                                                                               Beginning No
Count               Drugs                            Defendants
                                                                               Later Than:
 129            Metronidazole             Actavis, G&W, Impax, Sandoz,         Summer 2011
                                             Taro, Teva, and Valeant
 130       Moexipril HCL Tablets                   Glenmark, Teva                May 2013
 131    Moexipril HCL/HCTZ Tablets                 Glenmark, Teva                May 2013
 132         Mometasone Furoate                    G&W, Glenmark                 May 2013
 133         Nabumetone Tablets             Actavis, Glenmark, Sandoz,           May 2013
                                                       Teva
 134           Nadolol Tablets              Greenstone, Mylan, Sandoz,           May 2013
                                                       Teva
 135               Nafcillin                     Aurobindo, Sandoz             December 2012
 136          Naproxen Sodium                    Amneal, Glenmark                April 2015
 137          Niacin ER Tablets                 Lupin, Teva, Zydus              March 2014
 138             Nimodipine                          Heritage, Sun               June 2012
 139    Nitrofurantoin MAC Capsules            Alvogen, Mylan, Teva              July 2012
 140        Norethindrone Acetate             Amneal, Glenmark, Teva           September 2014
 141    Norethindrone/ethinyl estradiol              Lupin, Teva               January 2014
                  (Balziva)
 142     Nortriptyline HCL Capsules             Actavis, Taro, Teva            November 2013
 143               Nystatin               Actavis, Heritage, Par, Qualitest,   Summer 2011
                                          Perrigo, Sandoz, Sun, Taro, Teva
 144       Nystatin Triamcinolone              Actavis, Sandoz, Taro           November 2012
 145     Omega-3-Acid Ethyl Esters                 Apotex, Par, Teva             June 2014
 146             Ondansetron                       Glenmark, Teva                May 2013
 147          Oxacillin Sodium                   Aurobindo, Sandoz               May 2013
 148          Oxaprozin Tablets               Dr. Reddy's, Greenstone,           July 2012
                                                   Sandoz, Teva
 149     Oxybutynin Chloride Tablets        Apotex, Par, Qualitest, Teva,        April 2013
                                                  Upsher-Smith
 150     Oxycodone/Acetaminophen            Actavis, Alvogen, Amneal,            June 2012
                                          Aurobindo, Endo, Mallinckrodt,
                                              Mayne, Par, Qualitest
 151             Paricalcitol                Dr. Reddy's, Teva, Zydus           March 2014



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                                                                         Beginning No
Count             Drugs                        Defendants
                                                                         Later Than:
 152           Paromomycin                     Heritage, Sun               April 2014
 153       Penicillin VK Tablets     Aurobindo, Greenstone, Sandoz,       August 2014
                                                 Teva
 154       Pentoxifylline Tablets     Apotex, Mylan, Teva, Valeant         April 2014
 155            Permethrin               Actavis, Perrigo, Mylan           May 2010
 156           Perphenazine               Par, Qualitest, Sandoz           July 2009
 157        Phenytoin Sodium            Amneal, Mylan, Sun, Taro           April 2014
 158         Pilocarpine HCL             Lannett, Actavis, Impax         December 2013
 159    Pioglitazone HCL Metformin     Aurobindo, Mylan, Sandoz,         February 2013
                                             Teva, Torrent
 160            Piroxicam               Greenstone, Mylan, Teva           March 2014
 161        Potassium Chloride       Actavis, Mylan, Sandoz, Upsher-       July 2010
                                              Smith, Zydus
 162            Pravastatin             Apotex, Glenmark, Lupin,           May 2013
                                          Mylan, Teva, Zydus
 163      Prazosin HCL Capsules                Mylan, Teva                 May 2013
 164       Prednisolone Acetate            Sandoz, Greenstone             August 2013
 165            Prednisone           Actavis, Cadista, Par, Qualitest,    Spring 2013
                                               West-Ward
 166         Prochlorperazine        Cadista, G&W, Mylan, Perrigo,         May 2014
                                              Sandoz, Teva
 167        Promethazine HCL             Actavis, G&W, Perrigo           September 2012
 168            Propranolol          Actavis, Breckenridge, Heritage,    November 2013
                                     Mylan, Par, Teva, Upsher-Smith
 169      Raloxifene HCL Tablets              Teva, Camber               September 2014
 170          Ranitidine HCL         Amneal, Dr. Reddy’s, Glenmark,        May 2013
                                             Sandoz, Teva
 171       Spironolactone HCTZ           Greenstone, Mylan, Sun          February 2013
 172       Tacrolimus Ointment                Perrigo, Sandoz             August 2014
 173     Tamoxifen Citrate Tablets        Actavis, Mylan, Teva            March 2014
 174          Temozolomide                     Sandoz, Teva                July 2013
 175        Terconazole Cream             Actavis, Sandoz, Taro            May 2013


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                                                                                 Beginning No
 Count                 Drugs                          Defendants
                                                                                 Later Than:
  176            Theophylline ER                     Heritage, Teva              February 2014
  177            Timolol Maleate                     Sandoz, Valeant             January 2014
  178               Tizanidine                Apotex, Dr. Reddy's, Mylan,          May 2013
                                                     Sandoz, Sun
  179               Tobramycin                        Sandoz, Teva               October 2013
  180       Tolmetin Sodium Capsules                  Mylan, Teva                  May 2013
  181               Tolterodine                 Greenstone, Mylan, Teva         December 2013
  182      Topiramate Sprinkle Capsules           Actavis, Teva, Zydus             April 2014
  183        Triamcinolone Acetonide           Par, Perrigo, Sandoz, Taro          July 2010
  184           Triamterene HCTZ           Actavis, Apotex, Lannett, Mylan,        May 2011
                                                       Sandoz
  185          Trifluoperazine HCL                   Mylan, Sandoz                January 2013
  186                Ursodiol                    Actavis, Epic, Lannett            May 2014
  187            Valsartan HCTZ                      Mylan, Sandoz              September 2012
  188                Verapamil                  Actavis, Heritage, Mylan           April 2014
  189        Warfarin Sodium Tablets          Amneal, Taro, Teva, Zydus            June 2014
  190             Zoledronic Acid                Dr. Reddy’s, Heritage            January 2013

        2849. Beginning on or about the time referenced in the table below, and continuing in

force or effect, or both, through the date of filing of this Complaint, Defendants and their co-

conspirators engaged in a continuing agreement, understanding and conspiracy not to compete on

the sale of the generic drug referenced on the table above in the United States in unreasonable

restraint of trade and commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

           2850. The contract, combination, and conspiracy among Defendants and their co-

  conspirators consisted of a continuing course, pattern, and practice of conduct regarding the

production, pricing, marketing, and/or sale of the specified generic drug in violation of Section 1

                                of the Sherman Act, 15 U.S.C. § 1.



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        2851. The course, pattern, and practice of conduct described above included, among other

things, a continuing agreement, understanding and concert of action among Defendants and their

co-conspirators, the substantial terms and purpose of which were one or more of the following:

                (a)     To fix, stabilize, maintain, and/or raise prices of the specified generic drug

sold to Plaintiff, its assignor, and others in the United States;

                (b)     To allocate customers, the volume of sales, and/or market shares of the

specified generic drug sold to Plaintiff, its assignor, and others in the United States;

                (c)     To control the production and/or sale of the specified generic drug and

others in the United States; and/or

                (d)     To earn supracompetitive profits on the price of the specified generic drug

sold to Plaintiff, its assignor, and others in the United States that resulted from Defendants’

collusion.

        2852. In order to formulate and effect the foregoing illegal combination and conspiracy,

Defendants and their co-conspirators engaged in one or more of the following overt acts (including

those overt acts alleged above in this Complaint):

                (a)     They agreed to exchange, and did exchange, current and future price

information about the specified generic drug sold in the United States, including the prices quoted

or charged to Plaintiff for the sale of the specified generic drug;

                (b)     They agreed to coordinate, and did coordinate, price levels, price terms,

and/or price movements for sale of the specified generic drug sold in the United States;

                (c)     They agreed on prices, price levels, and/or production levels of the specified

generic drug sold in the United States; and/or




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                 (d)    They agreed not to compete for certain customers or sales on certain

products, and/or in certain regions of the United States.

          2853. Defendants and their co-conspirators entered into and refined their illegal

combination and conspiracy through, among other things: the overt acts described above,

including, without limitation, participating in conversations and meetings to discuss the prices of

each the specified generic drug to be sold to Plaintiff and/or others in the United States;

participating in conversations and attending meetings concerning implementation of and

adherence to their conspiracy; issuing price announcements and/or price quotations in accordance

with the conspiracy; and/or exchanging confidential information on the pricing and/or sale of the

specified generic drug to Plaintiff and/or others in the United States.

          2854. As a result of Defendants and their co-conspirators’ conspiracy in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1, and during the time period relevant to Plaintiff’s

claims:

                 (a)    Price competition in the sale of the specified generic drug among

Defendants and their co-conspirators to Plaintiff, its assignor, and others in the United States has

been restrained, suppressed, and eliminated;

                 (b)    Prices for the specified generic drug sold by Defendants and their co-

conspirators to Plaintiff, its assignor, and others have been raised, fixed, maintained, and/or

stabilized at artificially high and supracompetitive levels throughout the United States; and

                 (c)    Plaintiff, its assignor, and other direct purchasers of the specified generic

drug produced and sold by Defendants and their co-conspirators have been deprived of the benefit

of free and open competition.




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        2855. Plaintiff and its assignor have been injured in their business or property by reason

of Defendants and their co-conspirators’ antitrust violations in amounts not yet ascertained.

Walgreens’ injury and its assignor’s injury as direct purchasers of the specified generic drug is an

injury of the type the antitrust laws were designed to prevent and flows from that which makes

Defendants and their co-conspirators’ conduct unlawful.

XX.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for the following relief:

        A.      A jury verdict in the amount of the compensatory damages sustained by Plaintiff.

        B.      A judgment against Defendants, jointly and severally, by the Court, in treble the

amount of the jury verdict, in accordance with Section 4 of the Clayton Act, 15 U.S.C. § 15, and

for attorney’s fees, costs, and interest as allowable by law.

        C.      A permanent injunction pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26,

enjoining Defendants from future violations of the antitrust laws and from practices which

facilitate those violations.

        D.      Such other and further relief as the Court may deem just and proper.

                                          JURY DEMAND

        Plaintiff demands a trial by jury of all issues so triable.




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Dated: December 11, 2020         Respectfully submitted,




                                 By:
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